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  8
                             UNITED STATES DISTRICT COURT
  9
                          SOUTHERN DISTRICT OF CALIFORNIA
 10

 11   MATTHEW JONES; THOMAS FURRH;                        Case No.: 19-cv-01226-L-AHG
      KYLE YAMAMOTO; PWGG, L.P.
 12                                                       Hon. Judge M. James Lorenz and
      (d.b.a. POWAY WEAPONS AND GEAR
                                                          Magistrate Judge Allison H. Goddard
 13   and PWG RANGE); NORTH COUNTY
      SHOOTING CENTER, INC.; BEEBE
 14
      FAMILY ARMS AND MUNITIONS                           DECLARATION OF DAVID T.
      LLC (d.b.a. BFAM and BEEBE FAMILY                   HARDY IN SUPPORT OF
 15
      ARMS AND MUNITIONS); FIREARMS                       PLAINTIFFS’ MOTION FOR
 16
      POLICY COALITION, INC.;                             PRELIMINARY
      FIREARMS POLICY FOUNDATION;                         INJUNCTION (Part 4 of 4)
 17
      THE CAL GUN RIGHTS FOUNDATION
 18
      (formerly, THE CALGUNS                              Complaint Filed: July 1, 2019
 19   FOUNDATION); and SECOND                             Amended Complaint Filed: July 30, 2019
      AMENDMENT FOUNDATION
 20
                                 Plaintiffs,
                                                          Date: November 18, 2019
 21   v.
                                                          Time: 9:00 a.m.
 22   XAVIER BECERRA, in his official                     Courtroom: Dept. 5B
      capacity as Attorney General of the
 23
      State of California, et al.,
 24                                  Defendants
 25

 26

 27

 28
                     DECLARATION OF DAVID T. HARDY IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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            EXHIBIT "17"




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                               The Second Amendment Rights of Young Adults
                                          By David B. Kopel1 & Joseph G.S. Greenlee2

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 Introduction
     Since the Supreme Court’s 2008 decision in District of Columbia v. Heller, lower courts have
 analyzed diverse Second Amendment issues. One question is whether young adults—that is,
 persons aged 18-to-20—have Second Amendment rights. This article suggests that they do.
 Indeed, under Heller’s originalist methodology, this is an easy question.
     Heller provided a methodology for determining whether a person, activity, or arm is protected
 by the Second Amendment.3 The Court analyzed founding-era sources, including constitutional
 text and history, to determine the scope of the Second Amendment at the time of ratification.4 The
 Court also looked to 19th century sources, but explained that these “do not provide as much insight
 into its original meaning as earlier sources.”5 We will take the same approach in this article to
 determine whether young adults aged 18-to-20 have the right to keep and bear arms.
     Part I examines what the Supreme Court has said, explicitly and implicitly, about the Second
 Amendment rights of young adults.
     Parts II and III survey colonial and founding-era sources. Part II begins with a glossary of
 various terms that were used in militia statutes. These show some of the arms and accoutrements
 that Americans were required to possess. The various items illustrate that the right to arms does
 not include only firearms and ammunition. The right also includes, for example, edged weapons
 and gun-cleaning equipment. Part II also describes the arms culture of early America, where it
 was a point of national pride that people were trained to arms “from their infancy.”
     Part III then surveys all the militia statutes from the earliest colonial days through 1800. The
 survey pays particular attention to two issues. The first is the age for militia service or for other
 forms of mandatory arms possession. As the statutes demonstrate, arms possession was mandatory
 for militiamen and for other categories of people. In some colonies, for example, every head of a
 house, regardless of gender, had to possess arms. So did men who were too old for militia service.
 The most common ages for mandatory militia service were from 16 to 60. But by the end of the
 eighteenth century, the militia mandate had been narrowed in most states to 18 until 45 or 50.
     The second issue in Part III is the types of arms that militiamen—and the many other people
 required to possess arms—were supposed to own. Part III tracks the evolution of these laws, as
 they become more specific about requiring various accoutrements—such as gun cleaning
 equipment, holsters, and ammunition storage devices—and the laws’ attempts to ensure that the
 public possesses modern arms.
     Part IV describes federal laws regarding the ages for arms possession. These include the 1792
 statute making 18-year-olds into members of the federal militia (as they are today, by statute), the
 1968 Gun Control Act setting age limits on purchases in gun stores, and the 1994 federal law
 restricting handgun possession by persons under 18.
     Part V covers the five leading post-Heller federal circuit court cases on age limits for exercising
 Second Amendment rights. Two of these cases relied heavily on cases and statutes from the
 nineteenth century; thus, in the course of discussing the cases, we survey the nineteenth century


 3
   District of Columbia v. Heller, 554 U.S. 570, 595 (2008).
 4
   Id. at 576 (“In interpreting this text, we are guided by the principle that ‘[t]he Constitution was written to be
 understood by the voters; its words and phrases were used in their normal and ordinary as distinguished from technical
 meaning.’”) (quoting United States v. Sprague, 282 U.S. 716, 731 (1931)).
 5
   Id. at 614.

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 developments. By the end of the century, a substantial minority of states that placed some
 restrictions on handgun acquisition by persons under 21.
     Finally, Part VI describes some of the present-day state laws that limit firearms acquisition or
 possession by young adults (18 to 20). Part VI also considers various past and present age limits
 in American law for different activities, such as voting, vices (e.g., alcohol, gambling), marriage,
 and the right to keep and bear arms.
     In conclusion, this article finds that there is some historical precedent for extra regulation for
 handgun acquisition by young adults, and very little for extra restrictions on long gun acquisition.
 Pursuant to Heller, extra regulations for young adults may be permissible, but prohibitions or
 quasi-prohibitions are not. The Second Amendment rights of young adults include a core right
 affirmed in Heller: acquiring and keeping a handgun in the home for lawful self-defense.

     I.       The Supreme Court
     Consider the following syllogism:

          1. The militia has the right to keep and bear arms;
          2. 18-to-20-year-olds are part of the militia;
          3. Therefore, 18-to-20-year-olds have the right to keep and bear arms.

     The Supreme Court’s precedents have held that items one and two are correct.6 As will be
 detailed in Part III, those precedents are correct because colonial and Founding Era militia statutes
 included young adults.
     The Heller case affirmed that militiamen have the right to arms and also held that the Second
 Amendment right is not exclusively for the militia.7 Further, according to Heller, whoever does
 have the right to arms has that right for all lawful purposes; these include not only militia service,
 but also self-defense, hunting, target practice, and so on.8




 6
   See discussion infra Part I.
 7
   Heller, 554 U.S. at 596; see also discussion infra Part IA.
 8
   Id. at 614 (“[T]he right to keep arms involves, necessarily, the right to use such arms for all the ordinary purposes,
 and in all the ordinary modes usual in the country, and to which arms are adapted, limited by the duties of a good
 citizen in times of peace.”) (quoting Andrews v. State, 50 Tenn. (3 Heisk.) 165, 178-79 (1871)). Cf. David B. Kopel
 & Joseph G.S. Greenlee, The Federal Circuits’ Second Amendment Doctrines, 61 ST. L.U.L.J. 193, 204-12 (2017)
 (surveying post-Heller federal Circuit Court decisions, which unanimously find that the right to arms includes self-
 defense, militia, hunting, target shooting, and all other lawful purposes).

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         A. District of Columbia v. Heller
     The Heller Court held that the Second Amendment guarantees an individual right, and the right
 is not dependent on service in a militia. But the Court made clear that the militia is protected.
 Indeed, all nine Justices agreed that individual militiamen are protected by the Second
 Amendment. The disagreement between the Justices was whether the right extends beyond the
 militia, with the majority holding that it does.
     The majority stated:

          the Second Amendment’s prefatory clause announces the purpose for which the
          right was codified: to prevent elimination of the militia. The prefatory clause does
          not suggest that preserving the militia was the only reason Americans valued the
          ancient right; most undoubtedly thought it even more important for self-defense
          and hunting. But the threat that the new Federal Government would destroy the
          citizens’ militia by taking away their arms was the reason that right—unlike some
          other English rights—was codified in a written Constitution.9

     The dissenting opinions similarly recognized that the Second Amendment prevented the militia
 from being disarmed. Justice Stevens’s dissent stated that “the purpose of the Amendment [was]
 to protect against congressional disarmament, by whatever means, of the States’ militias.”10 The
 Amendment protects “the collective action of individuals having a duty to serve in the militia that
 the text directly protects,”11 because the Amendment “was a response to concerns raised during
 the ratification of the Constitution that the power of Congress to disarm the state militias and create
 a national standing army posed an intolerable threat to the sovereignty of the several States.”12
     Justice Breyer’s dissent noted the “general agreement among the Members of the Court that
 the principal (if not the only) purpose of the Second Amendment is found in the Amendment's
 text: the preservation of a ‘well regulated Militia.’”13 After all, the first clause of “[t]he
 Amendment itself tells us that militia preservation was first and foremost in the Framers’ minds.”14
     Although the dissents disagreed with the majority that the right extends beyond the militia, the
 Court was unanimous that individuals in the militia were fully protected by the Second
 Amendment, and that the right was codified because the Founders and the public were horrified
 by the prospect of the government disarming the militia. As explained below, the militias of every
 colony and state, and the federal militia, included 18-to-20-year-olds. Young adults have been part
 of the militia from the seventeenth century through the twentyfirst. As Justice Breyer pointed out,
 the District of Columbia’s militia at the time Heller was decided included “[e]very able-bodied


 9
   Heller, 554 U.S. at 599. The majority added: “Does the preface fit with an operative clause that creates an individual
 right to keep and bear arms? It fits perfectly, once one knows the history that the founding generation knew and that
 we have described above.” Id. at 598. Because one reason the right was codified was to protect the militia, an
 interpretation that did not include the entire militia would destroy this “perfect fit.”
 10
    Id. at 660–61 (Stevens, J., dissenting). Justice Stevens’s dissent was joined by Justices Souter, Ginsburg, and
 Breyer.
 11
    Id. at 645.
 12
    Id. at 637.
 13
    Id. at 706 (Breyer, J., dissenting). Justice Breyer’s dissent was joined by Justices Souter, Ginsburg, and Stevens.
 14
    Id. at 715.


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 male citizen resident within the District of Columbia, of the age of 18 years and under the age of
 45 years.”15
     The Heller majority further indicated that 18-to-20-year-olds have Second Amendment rights
 by explaining:

          the ordinary definition of the militia [i]s all able-bodied men. From that pool,
          Congress has plenary power to organize the units that will make up an effective
          fighting force. That is what Congress did in the first Militia Act, which specified
          that “each and every free able-bodied white male citizen of the respective states,
          resident therein, who is or shall be of the age of eighteen years, and under the age
          of forty-five years (except as is herein after excepted) shall severally and
          respectively be enrolled in the militia.” Act of May 8, 1792, 1 Stat. 271. To be sure,
          Congress need not conscript every able-bodied man into the militia, because
          nothing in Article I suggests that in exercising its power to organize, discipline, and
          arm the militia, Congress must focus upon the entire body. Although the militia
          consists of all able-bodied men, the federally organized militia may consist of a
          subset of them.16

 Because the militia consists of “all able-bodied men,” because “Congress has plenary power to
 organize … an effective fighting force” “from that pool” of “able-bodied men,” and because “[t]hat
 is what Congress did in the first Militia Act” by organizing the able-bodied men between eighteen
 and forty-five, the Court recognized 18-to-20-year-olds as part of the militia; as such, they
 necessarily have the right to keep and bear arms.
      Perhaps, one could argue, that although 18-to-20-year-olds were part of the militia, they were
 not trusted with arms outside of their militia service. But the Heller majority rejects this, since it
 affirms the right to arms for all lawful purposes.17 While the English militia of the time was often
 supplied with centrally-stored arms that were only brought out for practice days, American
 militiamen were expected to keep their own arms at home, and to be proficient with those arms.18
      As Heller explained, “the conception of the militia at the time of the Second Amendment's
 ratification was the body of all citizens capable of military service, who would bring the sorts of
 lawful weapons that they possessed at home to militia duty.”19 The Court quoted with approval a
 previous Supreme Court decision, United States v. Miller, discussed infra, which stated that

 15
    D.C. CODE ANN. § 49-401 (West 1889); Heller, 554 U.S. at 707 (Breyer, J., dissenting).
 16
    Heller, 554 U.S. at 596.
 17
    Id. at 636-37 (“Whether [the Second Amendment] also protects the right to possess and use guns for nonmilitary
 purposes like hunting and personal self-defense is the question presented by this case. The text of the Amendment, its
 history, and our decision in United States v. Miller, 307 U.S. 174, 59 S.Ct. 816, 83 L.Ed. 1206 (1939), provide a clear
 answer to that question.” (citation omitted)). See also McDonald v. City of Chicago, 561 U.S. 742, 780 (2010) (“the
 Second Amendment protects a personal right to keep and bear arms for lawful purposes, most notably for self-defense
 within the home.”); Caetano v. Massachusetts, 136 S. Ct. 1027, 1028 (2016) (per curiam) (“the [lower] court used ‘a
 contemporary lens’ and found ‘nothing in the record to suggest that [stun guns] are readily adaptable to use in the
 military.’ But Heller rejected the proposition ‘that only those weapons useful in warfare are protected.’”) (citing
 Heller, 554 U.S. at 624–25) (internal citation omitted).
 18
    NICHOLAS J. JOHNSON, DAVID B. KOPEL, GEORGE A. MOCSARY & MICHAEL P. O’SHEA, FIREARMS LAWS AND THE
 SECOND AMENDMENT: REGULATION, RIGHTS, AND POLICY 110-11, 136-40, 175-86, 237-40 (2d ed. 2017) (comparing
 and contrasting English and American militia and arms cultures and laws).
 19
    Heller, 554 U.S. at 627.


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 “ordinarily when called for [militia] service [able-bodied] men were expected to appear bearing
 arms supplied by themselves and of the kind in common use at the time.”20
     The Court also quoted “the most famous” late 19th-century legal scholar: “judge and professor
 Thomas Cooley, who wrote a massively popular 1868 Treatise on Constitutional Limitations.”
 Cooley explained that “[t]he alternative to a standing army is ‘a well-regulated militia,’ but this
 cannot exist unless the people are trained to bearing arms.”21 Further, as quoted by the Court, “to
 bear arms implies something more than the mere keeping; it implies the learning to handle and use
 them in a way that makes those who keep them ready for their efficient use.”22
     Similarly, the Court quoted John Norton Pomeroy, another late-19th-century scholar, stating
 that the purpose of the Second Amendment is

         to secure a well-armed militia .... But a militia would be useless unless the citizens
         were enabled to exercise themselves in the use of warlike weapons. To preserve
         this privilege, and to secure to the people the ability to oppose themselves in
         military force against the usurpations of government, as well as against enemies
         from without, that government is forbidden by any law or proceeding to invade or
         destroy the right to keep and bear arms.23

      And the Court quoted Benjamin Vaughan Abbott, another late-19th-crentury scholar, who
 said: “Some general knowledge of firearms is important to the public welfare; because it would be
 impossible, in case of war, to organize promptly an efficient force of volunteers unless the people
 had some familiarity with weapons of war.”24
     The Heller dissent was of a similar mind, explaining that “the Framers recognized the dangers
 inherent in relying on inadequately trained militiamen ‘as the primary means of providing for the
 common defense.’”25 The dissent acknowledged that “during the Revolutionary War, ‘[t]his force,
 though armed, was largely untrained, and its deficiencies were the subject of bitter complaint.’”26
 The dissent quoted George Washington stating that, “The firmness requisite for the real business
 of fighting is only to be attained by a constant course of discipline and service.”27 And Alexander
 Hamilton, who wrote that “War, like most other things, is a science to be acquired and perfected
 by diligence, by perseverance, by time, and by practice.”28

 20
    Id. at 624 (quoting United States v. Miller, 307 U.S. at 179).
 21
    Heller, 554 U.S. at 616-17.
 22
    Id. at 617-18 (quoting THOMAS M. COOLEY, THE GENERAL PRINCIPLES OF CONSTITUTIONAL LAW IN THE UNITED
 STATES OF AMERICA 271 (1880)); Id. at 617 (“Cooley understood the right not as connected to militia service, but as
 securing the militia by ensuring a populace familiar with arms.”).
 23
    Id. at 618 (quoting J.N. POMEROY, AN INTRODUCTION TO THE CONSTITUTIONAL LAW OF THE UNITED STATES § 239
 152-53 (1868)).
 24
    Id. at 619 (citing B. ABBOTT, JUDGE AND JURY: A POPULAR EXPLANATION OF THE LEADING TOPICS IN THE LAW OF
 THE LAND 333 (1880)).
 25
    Id. at 653 (quoting Perpich v. Dep’t of Def., 496 U.S. 334, 340 (1990)).
 26
    Id. (citing Frederick Bernays Wiener, The Militia Clause of the Constitution, 54 HARV. L. REV. 181, 182 (1940)).
 27
    Id. at 654.
 28
    Id. at 653 n.17 (Stevens, J., dissenting) (The Federalist No. 25). While these statements from Washington and
 Hamilton expressed frustration with the militia, they nonetheless demonstrate that the Founders rejected the idea of
 disarming a substantial segment of the militia, leaving them largely untrained and unfamiliar with firearms when
 called to duty. See also MARK W. KWASNY, WASHINGTON’S PARTISAN WAR: 1775–1783, at 337-38 (1996)
 (“Washington learned to recognize both the strengths and the weaknesses of the militia. As regular soldiers,


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     These sources show that those in the militia were expected not only to provide their own arms,
 but also to practice with them frequently. All nine Justices shared that understanding.
     The majority made clear that the right included, but was not limited to, the militia. “‘Keep
 arms’ was simply a common way of referring to possessing arms, for militiamen and everyone
 else.”29 The Court cited an opinion by the Georgia Supreme Court which “perfectly captured the
 way in which the operative clause of the Second Amendment furthers the purpose announced in
 the prefatory clause…”:

          The right of the whole people, old and young, men, women and boys, and not militia
          only, to keep and bear arms of every description, and not such merely as are used
          by the militia, shall not be infringed, curtailed, or broken in upon, in the smallest
          degree; and all this for the important end to be attained: the rearing up and
          qualifying a well-regulated militia, so vitally necessary to the security of a free
          State.30

     Heller’s most definitive recognition that 18-to-20-year-olds have Second Amendment rights
 came in the Court’s discussion of who “the people” in the Second Amendment are. The operative
 clause of the Second Amendment states that “the right of the people to keep and bear arms, shall
 not be infringed.”31 As the Court observed, “the ‘militia’ in colonial America consisted of a subset
 of ‘the people’—those who were male, able bodied, and within a certain age range.”32 Thus,
 because 18-to-20-year-olds were part of the militia, 18-to-20-year-olds were also part of “the
 people.” It is “the right of the people to keep and bear arms” that the Second Amendment
 protects.33

 militiamen were deficient.…He therefore increasingly detached Continentals to support them when operating against
 the British army.…Militiamen were available everywhere and could respond to sudden attacks and invasions often
 faster than the army could. Washington therefore used the militia units in the states to provide local defense, to
 suppress Loyalists, and to rally to the army in case of an invasion.…Washington made full use of the partisan qualities
 of the militia forces around him. He used them in small parties to harass and raid the army, and to guard all the places
 he could not send Continentals.…Rather than try to turn the militia into a regular fighting force, he used and exploited
 its irregular qualities in a partisan war against the British and Tories.”).
 29
    Heller, 554 U.S. at 583 (emphasis in original).
 30
    Id. at 612–13 (quoting Nunn v. State, 1 Ga. 243, 251 (1846)) (emphasis added).
 31
    U.S. CONST., amend. II (emphasis added).
 32
    Heller, 554 U.S. at 580 (emphasis added). Elsewhere, the majority quoted Thomas Cooley with approval: “The
 meaning of the provision undoubtedly is, that the people, from whom the militia must be taken, shall have the right to
 keep and bear arms.” Id. at 617 (emphasis added). The quotation similarly treats the militia as a subset of “the people.”
 33
    The Court’s full discussion on “the people”:

          What is more, in all six other provisions of the Constitution that mention “the people,” the term
          unambiguously refers to all members of the political community, not an unspecified subset. As we
          said in United States v. Verdugo–Urquidez, 494 U.S. 259, 265, 110 S.Ct. 1056, 108 L.Ed.2d 222
          (1990):

                   “‘[T]he people’ seems to have been a term of art employed in select parts of the
                   Constitution .... [Its uses] sugges[t] that ‘the people’ protected by the Fourth
                   Amendment, and by the First and Second Amendments, and to whom rights and
                   powers are reserved in the Ninth and Tenth Amendments, refers to a class of
                   persons who are part of a national community or who have otherwise developed
                   sufficient connection with this country to be considered part of that community.”


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     As Heller observed, “Logic demands that there be a link between the stated purpose and the
 command.”34 The prefatory clause may assist in interpreting the operative clause.35 The Second
 Amendment’s prefatory clause makes it clear that, at a minimum, the main clause protects the
 entire militia.
     The Heller Court held that the core of the Second Amendment includes keeping a handgun in
 the home for lawful defense.36 The Supreme Court reiterated that holding in McDonald v. City of
 Chicago.37 In the modern United States, some young adults maintain their own homes. Some of
 them are married. Some of them are raising children in their home. To deprive these householders
 of the right to possess a handgun in their homes for lawful defense thus infringes on the core of
 their Second Amendment rights.
     The Supreme Court’s “first in-depth examination of the Second Amendment”38 demonstrated
 that 18-to-20-year-olds have Second Amendment rights, because: 1) the militia is protected by the
 Second Amendment; 2) 18-to-20-year-olds have historically been understood as part of the militia;
 and 3) militiamen were required to supply their personal arms, which the government could not
 deprive them of. But the Court had established this long before Heller.


         B. Principles from Other Supreme Court Cases

     1. The militia is protected by the Second Amendment

     While the text of the Second Amendment39 is sufficient to prove that the Founders understood
 the militia as having the right to keep and bear arms, the Court emphasized the point in United
 States v. Miller:40 “With obvious purpose to assure the continuation and render possible the
 effectiveness of [militia] forces the declaration and guarantee of the Second Amendment were
 made. It must be interpreted and applied with that end in view.”41 While Miller has been criticized
 for its “conceptually flawed concentration on the amendment’s militia purpose,”42 since the case
 had little to do with the militia, Miller correctly affirmed that the Second Amendment prevents the
 government from rendering militia forces ineffective. Disarming 18-to-20-year-olds would render


          This contrasts markedly with the phrase “the militia” in the prefatory clause. As we will describe
          below, the “militia” in colonial America consisted of a subset of “the people”—those who were
          male, able bodied, and within a certain age range.

 Heller, 554 U.S. at 580.
 34
    Id. at 577.
 35
    Id. at 577-78.
 36
    Id. at 628, 635 (“the home [is] where the need for defense of self, family, and property is most acute;” “the right of
 law-abiding, responsible citizens to use arms in defense of hearth and home.”).
 37
    McDonald v. City of Chicago, 561 U.S. 742, 886 (2010).
 38
    Heller, 554 U.S. at 635.
 39
    The Second Amendment provides: “A well regulated Militia, being necessary to the security of a free State, the
 right of the people to keep and bear Arms, shall not be infringed.” U.S. CONST., amend. II.
 40
    United States v. Miller, 307 U.S. 174, 178 (1939).
 41
    Id. at 178.
 42
    Don B. Kates, Handgun Prohibition and the Original Meaning of the Second Amendment, 82 MICH. L. REV. 204,
 259 (1983).


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 them ineffective militia forces in the Founders’ view, especially because militiamen were expected
 to provide their own arms.

      2. 18-to-20-year-olds have historically been understood as part of the militia

     That 18-to-20-year-olds were included in the federal militia and each state’s militia at the time
 of the founding will be established below, in Parts III and IV. But it is also important to note that
 the Supreme Court has in every instance understood the militia to include 18-to-20-year-olds.
     Citing the constitutional militia, as identified in Article 1, Section 8 of the Constitution, the
 Court in Hamilton v. Regents of the University of California, explained that “[u]ndoubtedly every
 state has authority to train its able-bodied male citizens of suitable age appropriately to develop
 fitness, should any such duty be laid upon them, to serve in the United States Army or in state
 militia (always liable to be called forth by federal authority to execute the laws of the Union,
 suppress insurrection, or repel invasion…)”43 The Hamilton case involved university students who
 did not wish to participate in the mandatory militia training required by state law. Then as now,
 many students at the University of California were ages 18 to 20.
     The Miller Court recognized that “the debates in the Convention, the history and legislation of
 Colonies and States, and the writings of approved commentators . . . show plainly enough that the
 Militia comprised all males physically capable of acting in concert for the common defense. ‘A
 body of citizens enrolled for military discipline.’”44 Miller then offered examples:
     The General Court of Massachusetts in 1784 “provided for the organization and government
 of the Militia. It directed that the Train Band should ‘contain all able bodied men, from sixteen to
 forty years of age, and the Alarm List, all other men under sixty years of age.’”45
     The New York Legislature in 1786 “directed: ‘That every able-bodied Male Person, being a
 Citizen of this State, or of any of the United States, and residing in this State, (except such Persons
 as are herein after excepted) and who are of the Age of Sixteen, and under the Age of Forty-five
 Years, shall … be enrolled.’”46
     The General Assembly of Virginia in 1785, the U.S. Supreme Court explained, “directed that
 ‘All free male persons between the ages of eighteen and fifty years,’ with certain exceptions, ‘shall
 be inrolled or formed into companies.’”47
     In Perpich v. Department of Defense, the Court acknowledged that “[i]n the early years of the
 Republic” Congress “command[ed] that every able-bodied male citizen between the ages of 18
 and 45 be enrolled” in the militia.48 Perpich also pointed out that at the turn of the twentieth
 century, the “The Dick Act divided the class of able-bodied male citizens between 18 and 45 years
 of age into an ‘organized militia’ to be known as the National Guard of the several States, and the
 remainder of which was then described as the ‘reserve militia,’ and which later statutes have



 43
    Hamilton v. Regents of the Univ. of Cal., 293 U.S. 245, 260 (1934) (citing U.S. CONST., art. 1, § 8, cls. 12, 15 and
 16).
 44
    Miller, 307 U.S. at 179. This language was favorably quoted in Heller, 554 U.S. at 595.
 45
    Id. at 180 (quoting The General Court of Massachusetts, January Session 1784 (Laws and Resolves 1784, c. 55, pp.
 140, 142)).
 46
    Id. at 180-81 (quoting New York Legislature, an Act passed April 4, 1786 (Laws 1786, c. 25)).
 47
    Id. at 181 (quoting The General Assembly of Virginia, 1785 (12 Hening’s Statutes, c. 1, p. 9 et seq.)).
 48
    Perpich v. Dep’t of Def., 496 U.S. 334, 341-43 (1990).


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 termed the ‘unorganized militia.’”49 As the Court noted, “[i]t is undisputed that Congress was
 acting pursuant to the Militia Clauses of the Constitution in passing the Dick Act.”50
     In Presser v. Illinois, the Court declared:

          It is undoubtedly true that all citizens capable of bearing arms constitute the
          reserved military force or reserve militia of the United States as well as of the states,
          and, in view of this prerogative of the general government, as well as of its general
          powers, the states cannot, even laying the constitutional provision in question out
          of view, prohibit the people from keeping and bearing arms, so as to deprive the
          United States of their rightful resource for maintaining the public security, and
          disable the people from performing their duty to the general government.51

 Thus, the Presser Court, like the Heller Court, specified that the militia is part of “the people”—
 as in “the people” who have the right “to keep and bear arms” protected by the Second
 Amendment.52 The militia identified by the Presser Court consists of “all citizens capable of
 bearing arms,” which most certainly includes 18-to-20-year-olds, since the federal militia statute
 at the time included 18-to-20-year-olds.53

      3. Militiamen were required to supply their personal arms, which the government
         could not deprive them of

     According to the Supreme Court, militiamen were required to provide their own private
 firearms and were expected to achieve and maintain proficiency with those arms to ensure the
 effectiveness of the militia.
     As Miller put it, “the debates in the Convention, the history and legislation of Colonies and
 States, and the writings of approved commentators . . . show . . . that ordinarily when called for
 service these men [in the militia] were expected to appear bearing arms supplied by themselves
 and of the kind in common use at the time.”54 The Miller Court provided founding-era examples
 from Massachusetts, New York, and Virginia: New York required “[t]hat every Citizen so enrolled
 and notified . . . provide himself, at his own Expense, with a good Musket or Firelock, a sufficient
 Bayonet and Belt, a Pouch with a Box therein to contain not less than Twenty-four Cartridges


 49
    Id. at 342.
 50
    Id.
 51
    Presser v. Illinois, 116 U.S. 252, 265-66 (1886) (emphasis added).
 52
    Cf. Voisine v. United States, 136 S. Ct. 2272, 2291 (2016) (Thomas, J., dissenting) (“To be constitutional, therefore,
 a law that broadly frustrates an individual’s right to keep and bear arms must target individuals who are beyond the
 scope of the ‘People’ protected by the Second Amendment.”).
 53
    See infra Part IV.
      Following precedent, the Court’s opinion in McDonald incorporated the Second Amendment on the basis of the
 Fourteenth Amendment’s Due Process Clause, which protects every “person.” Concurring, Justice Thomas preferred
 to use the Fourteenth Amendment’s Privileges or Immunities Clause, which protects “citizens.” McDonald, 561 U.S.
 at 850 (Thomas, J., concurring). Because non-citizens who have declared their intent to naturalize are subject to
 militia duty, they would have to be within the scope of “the militia” and therefore “the people” who are protected by
 the Second Amendment. See 10 U.S.C. § 246 (2019) (including in the militia all able-bodied males from 17 to 45
 “who are, or who have made a declaration of intention to become, citizens of the United States.”)
 54
    Miller, 307 U.S. at 179 (emphasis added).


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 suited to the Bore of his Musket or Firelock, each Cartridge containing a proper Quantity of
 Powder and Ball, two spare Flints, a Blanket and Knapsack.”55
     Massachusetts mandated each militiaman to “equip himself, and be constantly provided with
 a good fire arm, &c.”56
     Under Virginia law,

          The defense and safety of the commonwealth depend upon having its citizens
          properly armed and taught the knowledge of military duty.” So “[e]very officer
          and soldier shall appear . . . armed, equipped, and accoutred, as follows: * * * every
          non-commissioned officer and private with a good, clean musket carrying an ounce
          ball, and three feet eight inches long in the barrel, with a good bayonet and iron
          ramrod well fitted thereto, a cartridge box properly made, to contain and secure
          twenty cartridges fitted to his musket, a good knapsack and canteen, and moreover,
          each non-commissioned officer and private shall have at every muster one pound
          of good powder, and four pounds of lead, including twenty blind cartridges . . .
          .And every of the said officers, non-commissioned officers, and privates, shall
          constantly keep the aforesaid arms, accoutrements, and ammunition, ready to be
          produced whenever called for by his commanding officer.57

     Recently, in the 2016 Caetano v. Massachusetts, the Court reaffirmed that
 “Miller and Heller recognized that militiamen traditionally reported for duty carrying ‘the sorts of
 lawful weapons that they possessed at home.’”58
     Or as the 1990 Court said in Perpich, “in the early years of the Republic, Congress . . .
 command[ed] that every able-bodied male citizen between the ages of 18 and 45 . . . equip himself
 with appropriate weaponry….”59 The Court wrote that Congress’s “choice of a dual enlistment
 system [for the militia] is just as permissible as the 1792 choice to have the members of the militia
 arm themselves.”60


 55
    Id. at 180–81 (quoting New York Legislature, an Act passed April 4, 1786 (Laws 1786, c. 25)).
 56
    Id. at 180 (quoting The General Court of Massachusetts, Jan. sess. 1784 (Laws and Resolves 1784, c. 55, pp. 140,
 142)).
      As in some other states, militiamen “under the control of parents, masters or guardians” were expected to be
 supplied with arms by their parents, masters, or guardians. General Court of Massachusetts, supra, at 142–43. See also
 Part III (listing statutes that required parents, masters, or guardians to supply arms to their dependents). In a militia
 where duty began at age 16, there would be plenty of militiamen who were not yet living independently, and who
 could not afford their own arms. As for young people who were already supporting themselves, they typically had to
 provide their own arms.
      Citing seventeenth century laws from the colony of Massachusetts, Miller noted that “[c]lauses intended to insure
 the possession of arms and ammunition by all who were subject to military service appear in all the important
 enactments concerning military affairs.” Miller, 307 U.S. at 180 (citing Osgood, 1 The American Colonies In The
 17th Century, ch. XIII).
 57
    Miller, 307 U.S. at 181-82 (The General Assembly of Virginia, October, 1785 (12 Hening’s Statutes c. 1, p. 9 et
 seq.)) (emphasis added).
 58
    Caetano v. Massachusetts, 136 S. Ct. 1027, 1032 (2016).
 59
    Perpich v. Dep’t of Def., 496 U.S. 334, 341-43 (1990) (emphasis added).
 60
    Id. at 350. Under the modern dual enlistment system, volunteers in the National Guard dually enlist in the National
 Guard of their state and in the National Guard of the United States. The Guardsmen are state actors unless called into
 federal service. In either capacity, their arms are supplied by the federal government. The National Guard is the


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      The Court said something similar in Houston v. Moore in 1820.61 The Court stated that the
 congressional militia statutes were within Congress’s enumerated Article I militia power to declare
 “what arms and accoutrements the officers and privates shall provide themselves with.”62
      In other cases, the Court has confirmed that depriving militiamen of their personal arms would
 violate their right to keep and bear arms. As discussed above, the Presser Court explained that
 because the Constitution authorizes Congress to call forth the armed citizenry, “the states cannot .
 . . prohibit the people from keeping and bearing arms, so as to deprive the United States of their
 rightful resource for maintaining the public security, and disable the people from performing their
 duty to the general government.”63 Since Congress needs to be able to depend on the people being
 armed, the states cannot disarm them. The Presser Court’s vision depends on an armed populace.64
      In McDonald, the Court found

          the 39th Congress’ response to proposals to disband and disarm the Southern
          militias is instructive. Despite recognizing and deploring the abuses of these
          militias, the 39th Congress balked at a proposal to disarm them. Disarmament, it
          was argued, would violate the members’ right to bear arms, and it was ultimately
          decided to disband the militias but not to disarm their members.65

 Thus, the McDonald Court suggested what the Presser Court flat out said: individual militiamen
 could not be deprived of their private firearms.
     Nothing the Supreme Court has ever written about the militia can be construed to exclude 18-
 to-20-year-olds. The Court has repeatedly confirmed that militiamen were expected to provide
 their own private firearms, and to be proficient with those arms. What is more, the Court has twice
 stated that the militia is a subset of “the people”—the same “people” the Second Amendment

 “organized” part of the militia. 10 U.S.C. § 246 (2019). The “unorganized” militia is all other able-bodied males ages
 18 to 45, except for ministers and other exempt persons. 10 U.S.C. § 247 (2019).
 61
    Houston v. Moore, 18 U.S. (5 Wheat.) 1 (1820).
 62
    Id. at 14.
 63
    Presser v. Illinois, 116 U.S. 252, 265-66 (1886); U.S. CONST., art I, § 8, cl. 16 (“To provide for calling forth the
 Militia to execute the Laws of the Union, suppress Insurrections and repel Invasions.”) (Calling Forth Clause).
      The Presser point was reiterated with approval in a 1900 case:

          In Presser v. Illinois, 116 U. S. 252, 29 L. ed. 615, 6 Sup. Ct. Rep. 580, it was held that the Second
          Amendment to the Constitution, in regard to the right of the people to bear arms, is a limitation only
          on the power of Congress and the national government, and not of the states. It was therein said,
          however, that as all citizens capable of bearing arms constitute the reserved military force of the
          national government the states could not prohibit the people from keeping and bearing arms, so as
          to deprive the United States of their rightful resource for maintaining the public security, and disable
          the people from performing their duty to the general government.

 Maxwell v. Dow, 176 U.S. 581, 597 (1900), abrogated on other grounds by Williams v. Florida, 399 U.S. 78 (1970).
 Presser had been interpreted to hold that the right to keep and bear arms is not one of the Fourteenth Amendment
 “privileges or immunities of citizens of the United States” protected from state infringement. Similar holdings applied
 to most of the rest of the Bill of Rights. The work of incorporating items in the Bill of Rights into the Fourteenth
 Amendment has instead been accomplished by the Due Process of Law clause of the Fourteenth Amendment. See,
 e.g., McDonald v. City of Chicago, 561 U.S. 742 (2010) (plurality opinion by Justice Alito relies on Due Process;
 concurrence by Justice Thomas relies on Privileges or Immunities).
 64
    See also Houston, 18 U.S. (5 Wheat.) at 52 (Story, J., dissenting) (“Yet what would the militia be without
 organization, arms, and discipline?”).
 65
    McDonald, 561 U.S. at 780 (citations omitted).

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 protects. Finally, the Court has recognized that any law that would disarm “the people”—and
 especially the militia—would be unlawful.
     The Court’s unwavering descriptions of the militia and the young adults therein are solidly
 supported by the historical record. Besides the colonial period and Founding Era sources quoted
 by the Court above, we will in Part III examine every colonial and state militia statute up to 1800.
 They demonstrate that young adults are part of the militia.

      II.      Glossary, and cultural background
     Before surveying the early state laws, we provide some background. Part A is a glossary of
 terms used in colonial and state laws regarding equipment that members of the public were
 required to possess. As will be detailed in Part III, the requirements often applied beyond
 militiamen. The arms mandates encompassed the militia, many males not in the militia, and
 sometimes women.
     Previous scholarship has not paid much attention to the particular arms that were required.
 Because American discussion of the right to keep and bear arms has been so fixated on gun control,
 scholars have noted that most militiamen needed a long gun, while officers and cavalry needed
 handguns. This is true as far as it goes, but there was much more. Requirements for a knife, a
 sword, or both were very common.
     Of course ammunition was mandatory Post-Heller, courts have readily accepted that
 ammunition is part of the right to arms and is likewise subject to the arms rights limits that were
 articulated in Heller.66 In addition to the ammunition that would have to be brought to militia
 muster, further reserves kept at ammunition were required.67
     Also mandatory was equipment for the cleaning and carrying of arms and ammunition.
 Horsemen had to have certain horse tack, and everyone needed various field gear, such as
 knapsacks and blankets.
     Next, in Part B, we explain the American attitude that prevailed during the seventeenth and
 eighteenth centuries: part of what makes America different from—and better than—Europe, is that
 Americans start becoming proficient with arms when they are children.

              A. Glossary of arms and accoutrements in militia laws



 66
    See, e.g., Jackson v. City & Cty. of San Francisco, 746 F.3d 953, 967-68 (9th Cir. 2014) (“the right to possess
 firearms for protection implies a corresponding right to obtain the bullets necessary to use them”) (internal quotations
 omitted); United States v. Pruess, 703 F.3d 242, 245 (4th Cir. 2012) (treating Supreme Court legal rules about guns
 as having the same meaning for ammunition); Ezell v. City of Chicago, 651 F.3d 684, 704 (7th Cir. 2011) (“The right
 to possess firearms for protection implies a corresponding right to acquire and maintain proficiency in their use; the
 core right wouldn’t mean much without the training and practice that make it effective.”); Herrington v. United States,
 6 A.3d 1237, 1243 (D.C. 2010) (right to ammunition is coextensive with the right to firearms); Andrews v. State, 50
 Tenn. (3 Heisk.) 165, 178 (1871) (“The right to keep arms, necessarily involves the right . . . to purchase and provide
 ammunition suitable for such arms”).
 67
    A muster is a periodic assembly of militiamen; the militiamen must prove that they have the certain requisite arms
 by bringing them the muster. To “pass muster” is to pass the inspection. A muster would not necessarily involve drill
 or practice. As detailed in Part III, some militia statutes required militiamen (and others) to possess reserves of bullets
 and gunpowder at home, beyond the quantity that would have to be brought to muster.


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     English spelling did not begin to become standardized until the late eighteenth century, so the
 reader will find that the statutes spell many of the words below in diverse ways.
     The militia statutes required possession of arms (e.g., guns, swords), ammunition, and also
 equipment for arms—including repair, maintenance, carrying, storage, and home manufacture.
 The most common term for the other items was accoutrements: “Generally defined as a soldier’s
 personal equipment excepting clothes and weapons.”68 These would include “cartridge boxes,
 pouches, belts, scabbards, canteens, knapsacks, powder horns, etc.”69 They are necessarily part of
 the Second Amendment right, since they are necessary to the use of arms.70 In the same sense, “the
 freedom of the press” is not just about owning printing presses, but also includes the relevant
 accessories, such as printing ink, ink magazines, moveable type, etc., and indeed the entire system
 of gathering, publishing, and distributing periodicals, pamphlets, and books.71

 68
    GEORGE C. NEUMANN & FRANK J. KRAVIC, COLLECTOR’S ILLUSTRATED ENCYCLOPEDIA OF THE AMERICAN
 REVOLUTION 8 (1975); see also Accoutrements Definition, CHARLES JAMES, AN UNIVERSAL MILITARY DICTIONARY
 (4th ed. 1816) (“ACCOUTREMENTS, in a military sense, signify habits, equipage, or furniture of a soldier, such as
 buffs, belts, pouches, cartridge boxes, &c.”).
      An older, similar term was “furniture,” in the sense of furnishing. For example, the first written guarantee of
 arms rights in Anglo-American law was the 1606 Virginia charter. It gave settlers the perpetual right to import “the
 Goods, Chattels, Armour, Munition, and Furniture, needful to be used by them, for their said Apparel, Food, Defence
 or otherwise.” 7 Federal and State Constitutions Colonial Charters, and Other Organic Laws of the States, Territories,
 and Colonies Now or Heretofore Forming the United States of America 3783, 3786 (Francis Newton Thorpe ed.,
 1909). As of 1606 (and for long after), the word “armor” included arms. The word “apparel” in the Virginia Charter
 had the narrow meaning of equipment for fighting, including defensive clothing, and the broader meaning of other
 necessities, such as ordinary clothing.
 69
    NEUMANN & KRAVIC, supra note 68, at 8.
 70

               Constitutional rights thus implicitly protect those closely related acts necessary to their exercise.
          “There comes a point ... at which the regulation of action intimately and unavoidably connected
          with [a right] is a regulation of [the right] itself.” Hill v. Colorado, 530 U.S. 703, 745, 120 S.Ct.
          2480, 147 L.Ed.2d 597 (2000) (Scalia, J., dissenting). The right to keep and bear arms, for example,
          “implies a corresponding right to obtain the bullets necessary to use them,” Jackson v. City and
          County of San Francisco, 746 F.3d 953, 967 (C.A.9 2014) (internal quotation marks omitted), and
          “to acquire and maintain proficiency in their use,” Ezell v. Chicago, 651 F.3d 684, 704 (C.A.7 2011).
          See District of Columbia v. Heller, 554 U.S. 570, 617-618, 128 S.Ct. 2783, 171 L.Ed.2d 637 (2008)
          (citing T. Cooley, General Principles of Constitutional Law 271 (2d ed. 1891) (discussing the
          implicit right to train with weapons)); United States v. Miller, 307 U.S. 174, 180, 59 S.Ct. 816, 83
          L.Ed. 1206 (1939) (citing 1 H. Osgood, The American Colonies in the 17th Century 499 (1904)
          (discussing the implicit right to possess ammunition)); Andrews v. State, 50 Tenn. 165, 178 (1871)
          (discussing both rights). Without protection for these closely related rights, the Second Amendment
          would be toothless. Likewise, the First Amendment “right to speak would be largely ineffective if
          it did not include the right to engage in financial transactions that are the incidents of its exercise.”
          McConnell v. Federal Election Comm'n, 540 U.S. 93, 252, 124 S.Ct. 619, 157 L.Ed.2d 491 (2003)
          (Scalia, J., concurring in part, concurring in judgment in part, and dissenting in part).
               The same goes for the Sixth Amendment and the financial resources required to obtain a
          lawyer…

 Luis v. United States, 136 S. Ct. 1083, 1097-98 (2016) (Thomas, J., concurring).
 71
    In the Bill of Rights, “the press” and “arms” are synecdoches. That is, they use a part of a term to refer to the
 whole—like calling an automobile “my wheels.” “The press” refers not only to printing presses, but also to
 communications that do not involve a printing press, such as handwritten flyers or television broadcasting. Likewise,
 “arms” includes defensive devices (armor) and devices that raise an alarm (literally, a call to arms). See David B.
 Kopel, The First Amendment Guide to the Second Amendment, 81 TENN. L. REV. 417, 448 (2014).


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      1. Firearms ignition systems

      Matchlock. When the English settlers began arriving in Virginia in 1607, the predominant
 ignition system for firearms was the matchlock. When the trigger is pulled, a slow-burning cord
 is lowered to a small pan (the priming pan or firing pan). The lit end of the cord ignites a small
 quantity of gunpowder in the firing pan. The flame from the gunpowder travels along a narrow
 channel to the touch-hole—a small hole next to the main charge of gunpowder, in the gun’s barrel.
 The flame that enters via the touchhole ignites the main powder charge.
      The matchlock was the main type of ignition system in Great Britain during the seventeenth
 century.72 Although the first English settlers came to America with matchlocks, Americans
 upgraded to more sophisticated guns (flintlocks) much earlier than the British did, because the
 burning cord makes it much more difficult to have a firearm always ready for immediate use. The
 matchlock’s burning cord also impeded concealment in the woods.73 Matchlocks usually did not
 work at all in the rain, and only sometimes in the damp.74 The safety problem of burning rope
 near gunpowder is apparent.
      The slow-burning cord is called the match or match rope.75 The cord burns on both ends.76
 When matchlocks were the predominant firearm, militia statutes might also specify the
 requirement for a sufficient quantity of match, expressed by the total length of match rope.
      Firelock or flintlock.77 In a flintlock, the gunpowder is ignited by flint striking a piece of steel
 and producing sparks. The steel is a part of the gun. The flint (which eventually wears out and
 must be replaced) is held in the jaws of a movable vise that is a part of the gun.
      Flintlocks are faster to reload and to fire than matchlocks. And they are much less likely to
 misfire (fail to ignite).78
      Many militia statutes from the latter eighteenth century specify that the firearm must be a
 firelock or some more specific type of firearm (e.g., musket, rifle). This is a violation of the rule
 against surplusage, since the other type of firearm would still be a flintlock. The rule against
 surplusage was not as prominent in eighteenth century drafting as it is today.



 72
    JOHNSON ET AL., supra note 18, at 140–42.
 73
    Id. at 220.
 74
    Id.
 75
    GEORGE C. NEUMANN, BATTLE WEAPONS OF THE AMERICAN REVOLUTION 6 (2011).
 76
    Id. at 6-7. The rope was usually made from flax tow or hemp tow. Id. “Tow” is defined infra, text at note 140. It
 was soaked in saltpeter (a gunpowder ingredient). The two ends of the cord would be ignited the same way that any
 other fire was ignited at the time, such as by striking two pieces of metal against each other, or rubbing two sticks to
 create a spark. What we call “matches” in the twenty-first century are paper or wood sticks with sesquisulfide of
 phosphorus attached to the tip. As common consumer items, they were preceded in the nineteenth century by
 matchsticks with white phosphorus tips. The principle was discovered in 1669, but it was not practical to apply due
 to the difficulty in obtaining phosphorus. See Anne Marie Helmenstine, History of Chemical Matches, THOUGHTCO.
 (Jan. 3, 2018), https://www.thoughtco.com/history-of-chemical-matches-606805
 77
    RICHARD M. LEDERER, JR., COLONIAL AMERICAN ENGLISH 88 (1985).
 78
    A well-trained user could fire up to five shots per minute, depending on the gun. W.W. GREENER, THE GUN AND
 ITS DEVELOPMENT 66-67 (9th ed. 2010); CHARLES C. CARLTON, THIS SEAT OF MARS: WAR AND THE BRITISH ISLES
 1585-1746, at 171-73 (2011). Because ignition time (the interval from when the trigger is pressed until the shot is
 fired) is shorter for flintlocks, shooting at a moving target became much easier. TOM GRINSLADE, FLINTLOCK
 FOWLERS: THE FIRST GUNS MADE IN AMERICA 13 (2005).


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     Lock, gun lock. What we today call the action of a firearm. It is the part of the gun that
 performs the mechanical work of firing the ammunition. It has small moving parts that must be
 carefully fitted to each other. The distinction between a matchlock and a flintlock was the
 difference in the lock.
     All of the types of guns described in the next section could be either matchlocks or flintlocks
 (except when specifically noted otherwise). Matchlocks were the most common in the early
 seventeenth century, but were subsequently displaced by flintlocks. As noted above, Americans
 were much quicker to adopt flintlocks than were their British cousins. This is one of the many
 ways that Americans and British arms cultures have diverged since the earliest times.79
     By the time of the Revolution, the large majority of American and British guns were flintlocks,
 although presumably there may have been some poorer people whose only gun was an old
 matchlock.


      2. Types of firearms

     Guns that can fire more than one shot without reloading are called repeaters. They were
 invented in the late sixteenth century, but they were much less common than single-shot guns.80
 Until the second quarter of the nineteenth century, repeaters were much more expensive to produce
 than single-shot guns. All the guns described below (except for the blunderbuss) could be
 repeaters, but relatively few of them were.
     Musket. The musket is a long gun which has a smooth bore (the interior of the barrel). If the
 bore is not smooth, but instead has grooves, the firearm is a rifle, not a classic musket.81 Muskets
 are not highly accurate, but they did not need to be. The standard European fighting method of
 the time was massed lines of infantry, so a high rate of fire in the enemy’s general direction was
 sufficient.
    Bastard musket. Shorter and lighter than a standard musket.
    Snaphaunce. An early version of the flintlock.82 “During the 17th century, snaphaunce

 79
    See JOHNSON ET AL., supra note 18, at 171-74, 239-40 (summarizing divergence of American and British arms
 cultures, in part because Americans adopted much of Indian arms culture).
 80
    Id. at 142–44, 223–24; David B. Kopel, Firearms Technology and the Original Meaning of the Second Amendment,
 REASON (Apr. 3, 2017, 9:34 PM), https://reason.com/volokh/2017/04/03/firearms-technology-and-the-or.
 81
    Rifled muskets were invented in the latter part of the 18th century but did not see widespread use by Americans in
 this period.
 82
     PATRICK A. MALONE, THE SKULKING WAY OF WAR: TECHNOLOGY AND TACTICS AMONG THE NEW ENGLAND
 INDIANS 34 (1991) (explaining that “[t]he true snaphaunce, rarely used in New England” differs from the “true”
 flintlock in how the cover of the firing pan is connected to the rest of the gun lock. American sources often do not use
 the different terms with precision.).
       “Snaphaunce” may derive from the Dutch word for “chicken thief,” based on “the occupation of the inventors.”
 GEORGE CAMERON STONE, A GLOSSARY OF THE CONSTRUCTION, DECORATION AND USE OF ARMS AND ARMOR IN ALL
 COUNTRIES AND IN ALL TIMES 233 (1999). The mechanical action of a snaphaunce (and of a flintlock), “resembled
 the pecking motion of a bird.” BILL AHEARN, MUSKETS OF THE REVOLUTION AND THE FRENCH & INDIAN WARS 98
 (2005). The resemblance “appears to be the origin of the term cock which was the English 18th-century word used
 for this component.” Id.
       The “cock” (sometimes called the “hammer”) is the pivoting part of the flintlock that holds the flint in screw-
 tightened jaws. When the trigger is pressed, the cock falls forward so that the flint strikes an immobile piece of
 hardened steel (the frizzen, steel, or battery). The collision produces a shower of sparks that fall into the firing pan
 and ignite the gunpowder. NEUMANN, BATTLE WEAPONS, supra note 75, at 7.


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 commonly referred to any flintlock system.”83
     Fusee, fuse, fuze, fuzee, fusil. Often, a synonym for flintlock.84 More precisely, “a light,
 smoothbore shoulder arm of smaller size and caliber than the regular infantry weapon.”85
     Carbine or carabine. In the seventeenth century, a long gun with a smaller bore than a musket.
 By the eighteenth, also shorter and lighter than a musket. Well-suited for horsemen.86 The word
 could “denote almost any small-calibre firearm irrespective of barrel length.”87
     Caliver. A matchlock larger than a carbine but smaller than a musket.88
     The various smaller long guns typically had smaller bores (the empty interior of the barrel).
 Their smaller bullets were less powerful but were more aerodynamically stable at longer distance.
 Also, the smaller bore meant that a given quantity of lead could produce more bullets for the
 particular gun.
     Fowling piece. A smoothbore long gun well-suited for bird hunting. In contrast to the classic
 musket, a fowling piece had a lighter barrel and stock, and its muzzle was slightly flared, to
 increase the velocity of the birdshot.89 During the Revolution, many fowling pieces were
 employed as militia arms. Ideally, although not always in practice, they would be retrofitted to
 allow for the attachment of a bayonet.90
     Rifle. A long gun with interior grooves (rifling). The grooves make the bullet spin on its
 axis, greatly improving aerodynamic stability and thus adding considerable range. Little-used in
 New England prior to the Revolution, but popular elsewhere, especially in frontier areas.
     Pistol. Any handgun. (Unlike today, when a semi-automatic pistol is distinct from a revolver.)


       To cock a gun is to pull the cock (or today, the hammer) backwards so that it is ready fire. JAMES, supra note 68.
 The sear is an internal part that holds the cock in its backwards position. The more advanced sears of the eighteenth
 century had an intermediate position (half-cock) that facilitated loading, without risk of the gun firing. If the sear
 malfunctioned and released the cock, then the gun “went off half-cocked.”
 83
    NEUMANN, supra note 75, at 8 (italics in original).
 84
    STONE, supra note 82, at 242; JIM MULLINS, OF SORTS FOR PROVINCIALS: AMERICAN WEAPONS OF THE FRENCH
 AND INDIAN WAR 53, 65 (2008) (when matchlock muskets, snaphaunces, and true flintlocks were used by European
 armies, “fusil” or “fire-lock” meant a flintlock musket; by the mid-eighteenth century, “the term ‘fusil’, ‘fuzee’ or
 ‘fusee’ came to be used by the English to denote a wide variety of light-weight guns.”). “Fusil” was also used to mean
 “carbines.”
 85
    NEUMANN, supra note 75, at 19.
 86
    STONE, supra note 82, at 163.
 87
    STUART REID, THE FLINTLOCK MUSKET: BROWN BESS AND CHARLEVILLE 1715-1865 (2016).
 88
    STONE, supra note 82 at 158.
 89
    J. N. GEORGE, ENGLISH GUNS AND RIFLES 85 (Palladium Press 1999) (1947); GRINSLADE, supra note 78, at 5.
 90
    GRINSLADE, supra note 78, at 5, 54, 63 (“In times of Indian raids or war, the family fowling-piece served the need
 for a fighting gun.”); MULLINS, supra note 84, at 49 (The classic fowling piece lacked the musket’s swivels for
 attachment of a sling.).
       The first identifiably American-made arms are fowling pieces built in the seventeenth century by Dutch settlers
 in the Hudson River Valley. AHEARN, supra note 82, at 101. As the American fowler evolved, influenced by the
 English and by immigrant French Huguenot gunsmiths, “The result was the development of a unique variety of
 American long fowler. These American long guns served as an all-purpose firearm. When loaded with shot, they
 were suited to hunt birds and small game, and when loaded with a ball, they could provide venison for the table. In
 times of emergency, they were needed for militia, and more than a few saw service in the early colonial wars as well
 as the Revolution.” Id. As a British officer noted after the battles of Lexington and Concord in 1775, ‘‘These fellows
 were generally good marksmen, and many of them used long guns made for Duck-Shooting.’’ FREDERICK
 MACKENZIE, A BRITISH FUSILIER IN REVOLUTIONARY BOSTON, BEING THE DIARY OF LIEUTENANT FREDERICK
 MACKENZIE, ADJUTANT OF THE ROYAL WELCH FUSILIERS, JANUARY 5-APRIL 30, 1775, at 67 (Allen French ed., 1926;
 rprnt. ed. 1969) (quoting an unnamed officer).


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 Most handguns of the time were single-shot, although there were some expensive models that
 could fire multiple shots without reloading.91 Handguns ranged from large holster pistols to small
 pocket pistols.92 They were often carried by officers.93
    Blunderbuss. The name perhaps comes from the Dutch “donder-buse” or “thunder gun.”94 The
 blunderbuss was notable for its flared muzzle, which made reloading easier while riding on a
 stagecoach or aboard a water vessel. It could be loaded with a single very large bullet, but the
 more common load was twenty large pellets, or even up to fifty.95 It was devastating at close
 range, but not much use beyond twenty yards.96 In the Revolution, it was most useful for “street
 control, sentry duty and as personal officer weapons.”97 A blunderbuss could be a very large
 handgun.98 Or it could have a short stock attached and be used as a shoulder arm.
     Horse-pistols. “[S]o called from being used of horseback, and of a large size.”99
     Case of pistols. Handguns were often sold in matched pairs.100 A “case of pistols” is such a
 pair. Also called a “brace of pistols.”
     Gun. In the usage of the time, any long gun, but not a handgun.
     Peece, peice. Today, piece. Any firearm.
     In the period before the Revolution, most American gunsmiths used imported locks (the
 moving part of the firearm).101 The use of recycled parts was also common.102 So, for example, a
 damaged fowling piece might be repaired with some lock parts scavenged from a musket. Thus,
 the above categories of firearms should not be viewed as rigidly divided. There were many
 hybrids.103 The variety of American firearms and edged weapons was further increased by the fact
 that America at all times, including after the Revolution, was a major export market for older,
 surplus European arms—not only from the United Kingdom, but also from Germany, France,
 Spain, and the low countries; to these would be added firearms scavenged from the various
 European armies that fought in colonial wars or the American Revolution.104
     Whatever the specifics of any state or colony’s arms requirements, Americans went to war
 with a very wide variety of personal arms, not always necessarily in precise compliance with the

 91
     CHARLES WINTHROP SAWYER, FIREARMS IN AMERICAN HISTORY: 1600 TO 1800, at 194-98, 215-16 (1910) (late
 eighteenth century American pistols with two to four rounds); NEUMANN, supra note 75, at 259 (double-barreled
 pistols used by many French officers).
 92
    LEE KENNETT & JAMES LAVERNE ANDERSON, THE GUN IN AMERICA: THE ORIGINS OF NATIONAL DILEMMA 208-
 11 (1975).
 93
    NEUMANN, supra note 75, at 231, 275 (explaining that most pistols were smoothbores, but some models had rifling).
 94
    D.R. BAXTER, BLUNDERBUSSES 13 (1970); GEORGE, supra note 89, at 59.
 95
    GEORGE, supra note 89, at 92-93.
 96
    See BAXTER, supra note 94; JAMES D. FORMAN, THE BLUNDERBUSS 1560-1900 (1994).
 97
    NEUMANN, supra note 75, at 20.
 98
    See, e.g., id., at 247 (“blunderbuss holster pistol”).
 99
    JAMES, supra note 68, at 638; see also NEUMANN, supra note 75, at 263 (American horseman pistol).
 100
     Clayton E. Cramer & Joseph Edward Olson, Pistols, Crime, and Public: Safety in Early America, 44 WILLAMETTE
 L. REV. 699, 709, 719 (2008).
 101
     GRINSLADE, supra note 78, at 1, 5, 15, 23-25.
 102
     Id.
 103
     ERIK GOLDSTEIN & STUART MOWBRAY, THE BROWN BESS 40-41 (2010); GRINSLADE, supra note 78, at 5, 23 (“The
 distinction between fowlers and muskets in the eighteenth century was not always clear-cut. Those manufactured
 from existing parts shared a common appearance, often combining aspects of both fowler and musket.”). For example,
 the locks from French muskets that were captured during France’s various wars in North America were often recycled
 into use on American fowlers.
 104
     GEORGE G. NEUMANN, SWORDS & BLADES OF THE AMERICAN REVOLUTION 7, 53 (3d ed. 1991).


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 narrowest definitions of arms that might appear in a militia equipment statute. At Valley Forge in
 1777, Baron Von Steuben was encamped with the Continental Army, most of whose members had
 brought their personal firearms to service. Von Steuben observed that “muskets, carbines, fowling
 pieces, and rifles were found in the same company.”105

       3. Edged or bladed weapons and accoutrements

     Most firearms could fire only one shot, after which the user might have to take several seconds
 to reload. So, at close quarters, a firearm would be good for only one shot. If a person carried a
 pair of pistols (a brace), then he or she could fire two shots. But there would be no time to reload
 anything more against an adversary who was within arm’s reach. So edged weapons were essential
 to self-defense.106
     Bayonet. A dagger or other straight knife that can be attached to the front of a gun. The word
 comes from Bayonne, France, the bayonet-manufacturing capital.107
     The bayonet could be used for all the purposes of any knife. In European-style combat—and
 much of the combat of the American Revolution—when the two armies met at close quarters, the
 bayonet would be attached to the end of the long gun, so that the long gun could be used as spear
 or pole-arm. Compared to muskets, rifles were longer, thinner, and more fragile, and thus poorly
 suited for use with a bayonet.
     Some militiamen who lacked bayonets used daggers for up-close fighting.108 Typically they
 had a double-edged blade, about six to ten inches long.109
     Knife. Same meaning as today.
     Jack knife. As today, a folding pocket knife. Blades could range from three to twelve inches.110
 Primarily for use as a tool, although available as a last-resort weapon.
     Sword. Same meaning as today. The next four items are types of swords. Some militia statutes
 required a “sword or hanger” or a “sword or cutlass,” or some similar formulation. Again, this is
 a violation of the rule against surplusage, but that rule was apparently not much in mind when
 statutes were drafted in the eighteenth century.
     Broad sword. Has a straight, wide, single-edged blade. “It was the military sword of the 17th
 century as distinguished from the civil sword, the rapier. It was also the usual weapon of the
 common people.”111



 105
       FRIEDRICH KAPP, THE LIFE OF FREDERICK WILLIAM VON STEUBEN 117 (2d ed. 1859),
 https://ia802700.us.archive.org/33/items/lifeoffrederickw00kappuoft/lifeoffrederickw00kappuoft.pdf.
 106
     HAROLD L. PETERSON, ARMS AND ARMOR IN COLONIAL AMERICA 1526-1783, at 69-101 (Dover 2000) (1956).
 107
     Bayonne had long been a manufacturing center for cutlery and weapons. While it is generally agreed that bayonets
 were invented around 1640, there are several stories about how the invention happened. LOGAN THOMPSON, DAGGERS
 AND BAYONETS: A HISTORY 61-62 (1998). According to one version, “Some peasants of the Basque provinces, whilst
 on an expedition against a company of bandits, having used all their ammunition, were driven to the desperate
 necessity of inserting their long knives into the mouths of their arquebuses [an early type of long gun], by which means
 they routed their adversaries.” W.W. GREENER, THE GUN AND ITS DEVELOPMENT 626 (9th ed. 1910).
 108
     NEUMANN, supra note 104, at 228.
 109
     Id. at 229-30.
 110
     Id. at 231. Some jackknives were multitools, also containing forks, saws, heavy needles, or “bleeders” (used to
 pierce veins in medical treatment). Id. at 231, 248.
 111
     STONE, supra note 82, at 150-51.


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     Hanger. By one definition, a “short sword (blade averaging twenty-five inches) having at least
 one cutting edge.112 Alternatively, a lightweight saber.113 A classic saber has a curved blade,
 thick back, and a handguard. 114
     Cutlass or cutlash. In the seventeenth and early eighteenth century, “used interchangeably
 with the term ‘hanger’.”115
     Simeter. Today, scimitar. Precisely speaking, a sword with a very curved blade that is narrow
 and thick. Often associated with Persia or the Middle East.116 In usage of the time, “a short sword
 with a convex edge.”117
     Scabbard or bucket. The former remains in modern usage. A container for carrying or storing
 the sword. Similar to a holster for pistols.
     Belt, girdle, or strap. A sword or bayonet could be carried in a waist belt.118 A belt could also
 be used for attaching holsters, scabbards, etc. Some equipment could be held by shoulder belts.119
     Swivel. Rings on a firearm to which a sling can be attached.120
     Hatchet. Same meaning as today. “‘Axe’, ‘hatchet’, and ‘tomahawk’ were used
 interchangeably in America during most of the 18th century.”121
     Tomahawk. In a militia context, similar to a hatchet. Before European contact, Indian
 tomahawks had a stone attached to the end and were used as clubs, but not as cutting tools. Indian-
 European trade put steel blades into Indian hands, and led to the development of the bladed
 tomahawk, familiar to viewers of cinematic Westerns.122 One popular American innovation was
 the pipe tomahawk, which could be used for smoking as well as cutting.123

       4. Ammunition and related accoutrements

     Powder. All of the gunpowder of the seventeenth and eighteenth centuries was what we today
 call blackpowder. It is a mixture of sulfur, charcoal, and saltpeter (which comes from decayed
 animal waste) and can be produced at home.124
     Bullets. All bullets of the time were spheres. As described above, most of the guns of the
 seventeenth and eighteenth centuries were smoothbores.125 They could be loaded with either a
 single bullet (a ball, better for long distances) or several smaller pellets (shot, better for bird-

 112
     NEUMANN, supra note 104, at 54.
 113
     STONE, supra note 82, at 280 (also, a Scotch word for dagger).
 114
     In the modern sport of fencing, “saber” has a narrower definition. The saber is one of three types of modern fencing
 swords, the others being épée and foil.
 115
     NEUMANN, supra note 104, at 58.
 116
     STONE, supra note 82, at 544 (cross-referencing “scimiter” to “shamshir”), 550-53.
 117
     JAMES, supra note 68, at 789.
 118
     Id. at 51.
 119
     Id. “Girdle” at the time was the same as “belt.” LEDERER, supra note 77, at 102.
 120
     JAMES, supra note 68, at 388.
 121
     NEUMANN, supra note 104, at 253. The “American axe” was smaller than its European ancestor, and better-suited
 for carrying in a belt. Redesign of the pole, the attachment mechanism, and the blade shape made the American axe
 sturdier and better suited for chopping. Id. at 255-57.
 122
     HAROLD L. PETERSON, AMERICAN INDIAN TOMAHAWKS 8-9 (2d ed. 1971).
 123
     NEUMANN, supra note 104, at 257.
 124
     See generally DAVID CRESSY, SALTPETER: THE MOTHER OF GUNPOWDER (2012). Modern gunpowder, invented
 in the latter part of the nineteenth century, burns more efficiently, and thus produces much less smoke and residue.
 125
     JOHNSON ET AL., supra note 18, at 220-23.


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 hunting, and for defense at shorter distances). Many militia statutes required the possession of
 “sizeable” bullets.126 At the least, this rules out the tiny pellets that would be used for hunting
 small birds like partridges or doves.
     Swan shot and goose shot. Multiple large pellets suitable for hunting the aforesaid birds.127
 Today, used in shotguns. In the seventeenth and eighteenth century, usable in all smoothbore
 handguns or long guns, which is to say all firearms except rifles.
     Buck-shot. Multiple large pellets for deer hunting. Today, one of the largest types of shotgun
 pellets.128
     Ramrod. Today, the vast majority of new firearms are breechloaders. They are loaded from
 the back of the gun, near the firing chamber. Breechloaders were invented in the mid-seventeenth
 century, but they were very expensive.129 By far the most common guns at the time were
 muzzleloaders, which are loaded from the front of the gun, the muzzle.
     To load a muzzleloader, the user first pours gunpowder down the muzzle. Next, the user uses
 a pole, the ramrod, to ram the bullet all the way down the barrel.130
     The ramrod is also used for cleaning a gun and for extracting an unfired bullet, as described
 below.
     Scour or scowerer. A ramrod.131
     Match. The slow-burning cord used to ignite a matchlock. If quantities are specified, one
 fathom equals six feet.
     Wadding. Made of tow, hay, or straw. Rammed into the gun after the powder has been poured,
 and before the bullet is rammed down, it prevented the powder from scattering.132
     Patches. Often the bullet would be wrapped in linen or some other fabric.133 This made it
 easier to ram the bullet down the barrel. The patch also helped to provide a gas seal around the
 bullet; the seal kept the expanding gas of the gun powder explosion from escaping the barrel before
 the bullet did. The expanding gas was thus kept behind the bullet, the better to increase the velocity
 of the traveling bullet.
     Cartouche, Cartridge. Paper cartridges were in use by the mid-seventeenth century.134 These
 were cylinders that contained a premeasured amount of gunpowder, plus the bullet. The user would
 tear open the cartridge and then pour the powder into the muzzle. Then the user would ram the
 bullet down the muzzle. Although paper cartridges were common at the time of the Revolution,
 some gun users, including riflemen and many militiamen, still poured in gunpowder from a flask
 or horn, rather than from cartridges.135




 126
     See infra Parts III.A. (N.J.), B. (Md.), C. (N.C.), E. (N.H.), H. (N.Y.), and J. (Vt.).
 127
     Cf. R.A. STEINDLER, THE FIREARMS DICTIONARY 250 (1970). “Swan drops” used for hunting swan weigh 29 grains
 each and are .268 inches in diameter. “Goose drops” were smaller than swan drops. Id.
 128
     Id. at 250 (largest shotgun pellets are “small & large buck shot”).
 129
     JOHNSON ET AL., supra note 18, at 142-44.
 130
     STEINDLER, supra note 127, at 188 (ramrod is usually wood, but can be metal; also usable as a cleaning tool).
 131
     JAMES, supra note 68, at 791.
 132
     Id. at 612.
 133
     See, e.g., JOHN G.W. DILLIN, THE KENTUCKY RIFLE 15, 50, 65 (Palladium Press 1998) (1924); William De V.
 Foulke, Foreword, in id. at vi, viii; GREENER, supra note 78, at 623-24.
 134
     REID, supra note 87, at 20 (quoting JOHN VERNON, THE YOUNG HORSEMAN 10 (1644)).
 135
     NEUMANN & KRAVIC, supra note 68, at 66.


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     Flints. For igniting the powder in a flintlock firearm. Since the flint is softer than the steel
 that the flint strikes, it will eventually need to be replaced.136 So militia laws often mandated
 possession of certain quantities of flints.

       5. Gun care

      To reach all the way down the muzzle and to the bottom of the barrel, cleaning tools would
 often be attached to the ramrod or scour, described above.137
      Worm. A corkscrew-shaped device attached to the end of the ramrod. Used for cleaning and
 also for extracting an unfired bullet and other ammunition components from a firearm.138
      Brush. As in modern gun cleaning, a small brush.
      Wire or wier. Also, picker. The priming wire was for cleaning the flashpan and the touch
 hole—the small hole where the fire from the priming pan connected with the main powder
 charge.139
      Tow. Tow is a loose ball of coarse and unspun waste fibers from hemp or linen production.140
 It is used for gun cleaning, for wadding, and for tinder.141
      Screw driver. This has the same meaning as today. A screw driver is used for cleaning and
 repairs, especially for the gun lock.142 Also, it can be used to loosen or tighten the cock’s jaws in
 order to change the flint.143

       6. Arms carrying and storage

     Holster. This has the same modern definition. A holster is used for carrying a handgun or a
 short long gun, usually attached to the body by a belt or can be attached to a horse saddle.144 Some
 later statutes specify that the holsters must have bear skin covers.145
     Scabbard or bucket. Similar to a holster.146




 136
     REID, supra note 87, at 33. A properly shaped flint (one that had been well-knapped) would need to be replaced
 after about ten to fifteen shots. Id.
 137
     GOLDSTEIN & MOWBRAY, supra note 103, at 53. The tip of the ramrod would be threaded for attachment of
 cleaning equipment. Id.
 138
     NEUMANN & KRAVIC, supra note 68, at 264; STEINDLER, supra note 127, at 278. Also, “wormer.” LEDERER, supra
 note 77, at 246.
 139
     NEUMANN & KRAVIC, supra note 68, at 264.
 140
     Id. at 269; MULLINS, supra note 82, at 48.
 141
     MULLINS, supra note 84, at 48; NEUMANN & KRAVIC, supra note 68, at 161, 262.
 142
     MULLINS supra note 84, at 48 (explaining that the screwdriver is necessary to remove the lock for cleaning and
 oiling).
 143
     NEUMANN & KRAVIC, supra note 68, at 264.
 144
     Holster Definition, MERRIAM-WEBSTER DICTIONARY, https://www.merriam-webster.com/dictionary/holster (last
 visited Jan. 13, 2019).
 145
     See infra Parts III.E. (N.H.), F. (Del.), and G. (Penn.)
 146
             Scabbard          Definition,         MERRIAM-WEBSTER        DICTIONARY,        https://www.merriam-
 webster.com/dictionary/scabbard#other-words (last visited Jan. 13, 2019); Bucket Definition, 1 THE NEW SHORTER
 OXFORD ENGLISH DICTIONARY 293 (4th ed. 1993) (“4. A (usu. leather) socket or rest for a whip, carbine, or lance.”).


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     Horn, powderhorn, or flask. This is used for gunpowder carrying.147 For most colonists, the
 most common horn came from cattle, rams or similar animals.148
     Charger, shot bag (or pouch, badge). The charger is a bulb-shaped flask for carrying powder,
 attached to metal components that release a premeasured quantity of powder. 149 Shot
 bag/pouch/badge may refer to this device.150 The terms may also refer to bags for carrying
 bullets.151
     Cover for the lock. As noted above, a gun lock (today, it is called the action) is the part of the
 gun that performs the mechanical work of firing the ammunition.152 A cover protects the gun lock
 from the elements.153
     Wax. This is used to protect firearms from rain.154 For example, it can be used to cover the
 opening of the muzzle and prevent water from entering.155
     Cartouche box. This is what we call a cartridge box today. Its purpose is for storage and
 carrying of cartridges.156
     Bandelero or cross belt. Today, it is referred to as a bandolier. A waist or shoulder belt with
 attachments for carrying units of ammunition or of premeasured powder, usually in the form of a
 leather strip worn over the chest, containing cartridges in individual loops. 157 The cross belt is a
 pair of crossing strips, or a single belt “passing obliquely across the breast.”158
     Mould. Today, it is called a mold. It is used to cast molten lead into ammunition balls.159 This
 shows that militiamen, and all the other persons subject to arms mandates, were expected to be
 able to produce their own ammunition.

       7. Pole arms

    Pike. This is a spear with a thrusting or cutting weapon attached to the end.160 European
 armies of the seventeenth century were usually a mixture of pikemen and musketmen.161 The use


 147
     Powderhorn Definition, MERRIAM-WEBSTER DICTIONARY, https://www.merriam-
 webster.com/dictionary/powder%20horn (last visited Jan. 13, 2019).
 148
     RAY RILING, THE POWDER FLASK BOOK 13 (1953). See id. at 171 for instructions on how to make a horn.
 149
     STONE, supra note 82, at 563.
 150
     RILING, supra note 145, at 256-57, 430-31.
 151
     See MULLINS, supra note 84, at 43-44.
 152
     Glossary of Firearms Related Terms, THE FIREARMS GUIDE, http://www.thefirearms.guide/glossary (last visited
 Jan. 13, 2019).
 153
     JAMES, supra note 68, at 444 (explaining that a “lock-cover” is “a piece of leather or oil-cloth”).
 154
     Doug Wicklund, Caring for Your Collectible Firearms, NAT’L RIFLE ASS’N, 2-3,
 http://www.nramuseum.org/media/1007361/caring%20for%20your%20collectible%20firearms%20by%20doug%20
 wicklund.pdf (last visited Jan. 13, 2019).
 155
     Id.
 156
     RILING, supra note 145, at 483. “Cartouche” is the French word for “cartridge.” Cartouche boxes were used for
 carrying paper cartridges; these contained the bullet and a measured quantity of gunpowder, wrapped in paper. Id.
 157
     STONE, supra note 82, at 91-92; NEUMANN, supra note 75, at 21.
 158
     Crossbelt Definition, MERRIAM-WEBSTER DICTIONARY, https://www.merriam-webster.com/dictionary/crossbelt
 (last visited Jan. 13, 2019).
 159
     NEUMANN, supra note 75, at 21. Some molds were for a single bullet, while others could cast multiple bullets. Id.
 160
     STONE, supra note 82, at 501.
 161
      RODNEY HILTON BROWN, AMERICAN POLEARMS, 1526-1865: THE LANCE, HALBERD, SPONTOON, PIKE, AND
 NAVAL BOARDING WEAPONS 17-18 (1967).


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 of pikes declined during the eighteenth century, especially in America.162 In the first two years of
 the Revolution, when some soldiers lacked firearms, pikes were re-introduced for infantry, since
 they were readily made from locally available materials.163 The pikes used during the
 Revolutionary War were usually twelve to sixteen feet long, could be anchored in the ground, and
 were especially useful for defending entrenched positions.164
     Espontoon or spontoon. This is a six-foot-long pole-arm, similar to a pike but shorter.165 It
 was carried by Revolutionary infantry officers.166 “It was an officer’s primary weapon, since it
 allowed him to keep his eyes on the battle at all times … Furthermore, his signals could be seen
 from a distance in the din and disorder of the battlefield, when voice commands might be
 indistinguishable.”167
     Lance. It is a horseman’s spear, the same meaning as today.168

       8. Horses and tack accoutrements

     Dragoon or trooper. This means a horse-mounted soldier.169
     Saddle. This has the same meaning as today.170
     Bridle. This also has the same as today.171
     Pillion. This refers to a rear extension on a saddle allowing for a second rider.172
     Valise holsters. These are saddle-mounted holsters, similar to modern saddlebags, that could
 be used for carrying large handguns.173
     Breastplate. Straps that prevent the saddle or harness from sliding. They attach to the front of
 the saddle.174




 162
     Id. at 18, 34.
 163
     NEUMANN, supra note 104, at 192-93.
 164
     Id. at 193.
 165
     Id. at 191.
 166
     Id. at 191-92.
 167
      Joseph Mussulman, Espontoon, DISCOVERING LEWIS & CLARK, http://www.lewis-clark.org/article/2366 (last
 visited Jan. 13, 2019) (“For Lewis and Clark the espontoon also served as a walking-stick on rough or slippery terrain,
 as a prop to steady a rifle for a long shot, and as a weapon. Lewis killed a rattlesnake with his (May 26, 1805), and
 Clark killed a wolf (May 29, 1805).”); see also STONE, supra note 82, at 580. See generally MERIWETHER LEWIS AND
 WILLIAM CLARK, THE JOURNALS OF THE LEWIS & CLARK EXPEDITION (Gary Moulton ed. 1983).
 168
     STONE, supra note 82, at 407-09. See generally BROWN, supra note 158.
 169
     LEDERER, supra note 77, at 72 (dragoon). “Whereas cavalry fought on horseback, dragoons scouted, pursued, and
 moved on horseback, but dismounted to fight.” Id. The militia statutes do not appear to have such a precise meaning.
 Some statutes call anyone with a horse a “dragoon,” and other statutes call anyone with a horse a “trooper.” The
 statutes do not distinguish cavalry from dragoons/troopers.
 170
     Saddle Definition, MERRIAM-WEBSTER DICTIONARY, https://www.merriam-webster.com/dictionary/saddle (last
 visited Jan. 13, 2019).
 171
      Bridle Definition, MERRIAM-WEBSTER DICTIONARY, https://www.merriam-webster.com/dictionary/bridle (last
 visited Jan. 13, 2019).
 172
     Pillion Definition, CAMBRIDGE DICTIONARY, https://dictionary.cambridge.org/us/dictionary/english/pillion (last
 visited Jan. 13, 2019).
 173
      Valise Definition, MERRIAM-WEBSTER DICTIONARY, https://www.merriam-webster.com/dictionary/valise (last
 visited Jan. 13, 2019).
 174
     JANE MYERS, HORSE SAFE: A COMPLETE GUIDE TO EQUINE SAFETY 83 (2005).


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     Crupper. This has a similar function to a breastplate, except it attaches to the rear of the saddle
 or harness.175 Alternatively, it can be armor for a horse’s hind quarters.176
     Spurs. This definition has remained the same.177 Militia statutes might also specify boots
 suitable for being attached to spurs.
     Hands. This is the standard unit of measure for a horse’s height.178 Today, one hand is
 equivalent to four inches.179 The typical minimum size for a militia horse was 14 or 14 ½ hands
 (66 or 68 inches).180 The measure is from the ground to the horse’s withers, the top of its
 shoulders.181

       9. Armor

     In the early decades of American settlement, when Indians with arrows were the principal
 opponent, many Americans wore armor on at least part of their bodies.182 For purposes of mobility,
 leather or quilted jackets became popular; they would not always stop an arrow, but they
 couldmitigate its damage.183 Once the Indians acquired firearms in large quantities, armor was
 generally abandoned.184 By the time of the Revolution, most soldiers did not wear armor; the
 exceptions were body armor for some specialized engineers, and metal headgear for cavalry.185

       10. Other field gear

       Knapsack, blanket, and canteen. These are the same as modern definitions.186
       Haversack. This bag is like a knapsack but carried over only one shoulder.187




 175
     Crupper Definition, MERRIAM-WEBSTER DICTIONARY, https://www.merriam-webster.com/dictionary/crupper
 (last visited Jan. 13, 2019).
 176
     STONE, supra note 82, at 195.
 177
     Spur Definition, MERRIAM-WEBSTER DICTIONARY, https://www.merriam-webster.com/dictionary/spur (last
 visited Jan. 13, 2019).
 178
     Hand, ENCYCLOPEDIA BRITANNICA, https://www.britannica.com/science/hand-measurement (last visited Jan. 13,
 2019).
 179
     Id.
 180
     See 1 JOURNAL OF THE HOUSE OF REPRESENTATIVES OF THE UNITED STATES, BEING THE FIRST SESSION OF THE
 FIRST CONGRESS-3RD SESSION OF THE 13TH CONGRESS, MARCH 4, 1789–SEPT. 13, 1814, at 814 (1826); Parts III.C.
 (North Carolina) and III.F. (Delaware) infra.
 181
     Hand, supra note 178.
 182
     PETERSON, supra note 106, at 132-42.
 183
     Id. at 142-51; See also id. at 43 (noting 1645 Massachusetts General Court mandate that every family have “a
 canvas coat quilted with cotton wool as defense against arrows”).
 184
     Id. at 149.
 185
     Id. at 307-16.
 186
     Knapsack Definition, MERRIAM-WEBSTER DICTIONARY, https://www.merriam-webster.com/dictionary/knapsack
 (last visited Jan. 13, 2019); Blanket Definition, MERRIAM-WEBSTER DICTIONARY, https://www.merriam-
 webster.com/dictionary/blanket (last visited Jan. 13, 2019); Canteen Definition, MERRIAM-WEBSTER DICTIONARY,
 https://www.merriam-webster.com/dictionary/canteen (last visited Jan. 13, 2019).
 187
     Haversack Definition, MERRIAM-WEBSTER DICTIONARY, https://www.merriam-
 webster.com/dictionary/haversack (last visited Jan. 13, 2019).


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        B. Types of persons covered by arms mandates
     In modern times, when we think about “the militia,” we are mainly thinking about males 18 to
 45 (or in previous times, 16 to 50 or 60, infra). (As used in this article, the ages mean “at least X”
 and “under Y.” In other words, if the militia was males ages 16 to 50, the militia obligation would
 begin on a person’s sixteenth birthday, and end on his fiftieth birthday.) Precisely speaking, these
 enrolled men were a subset of the whole militia—the whole militia consisting of everyone who
 was able to fight, as detailed in Part I. The enrolled militiamen had to engage in group drills and
 might be marched away from home for military service. In the seventeenth and eighteenth
 centuries, the scope of persons who were required to possess arms was broader than just the
 enrolled militia.188
     The arms requirements for other categories of persons were sometimes contained in statutes
 with the title “militia,” and sometimes in other statutes.189 Likewise, statutes requiring that males
 16-60 be armed were often but not always titled as “militia” laws.
     The categories below explain the different classes of people who might have to be armed.
 Examples of the statutory uses of the various terms below will be found in Part III, the survey of
 seventeenth and eighteenth century militia statutes.
     Trained band. This was the term in some states or colonies for the enrolled portion of the
 militia that is required to participate in training (i.e. males 16 or 18 to 45, 50, or 60).190 It could
 be sent away from home for military missions, although deployments outside the colony or state
 were disfavored.191
     The phrase was copied from Elizabethan England. There, “trained band” referred to a subset
 of the enrolled militia who received extra training; membership in the English trained band was
 based on social class. Yeomen—small farmers who owned their own land—could be in the trained
 band, while lower classes, such as tenants, were not.192 In American usage, though, “trained band”
 or “band,” usually refer to the entire enrolled militia. One early statute in Maryland did provide
 extra training for a subset of the enrolled militia. Unlike in England, this subset was chosen by
 merit—physical fitness and courage—rather than by class.193
     Alarm list. This refers to every other male who was capable of fighting. They were required
 to possess the same specified arms as members of the trained band (i.e., the enrolled militia) but
 were not required to participate in training or to serve in ordinary expeditions.194
     Alarm list duty was limited to emergencies, especially, to join in defense of the town or
 community when under attack. People on the alarm list were primarily: 1. People with an
 occupational exemption from trained band service (e.g., physicians in some colonies), or 2. People
 above the age for trained band service.195 For example, someone who was fifty-two years old.
 Alarm list duty would usually have some upper limit, such as age sixty or seventy.


 188
     See infra Part III.
 189
     Id.
 190
     Id.
 191
     Id.
 192
     JOHNSON ET AL., supra note 18, at 110.
 193
     See infra Part III.B (1658 statute).
 194
     See infra Part III.
 195
     Id.


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     In practice, when a town was under attack, everyone who could fight would fight, including
 women and children.196
     State armies. Although sometimes described as part of the militia, state armies were distinctive
 in several regards. State armies were established for temporary periods during wartime.197 They
 fought in Indian Wars, in the numerous wars against the French colonies in America, and the
 Revolution.198
     Unlike militia service, state army service was not a universal obligation of every able-bodied
 male. State armies were select forces with longer enlistment terms than the ordinary militia.199
 They were more willing to be deployed to other states or colonies.200 To the extent possible, their
 ranks were filled by volunteers.201 To the extent necessary, conscription was used, with each town
 or other locality having an obligation to supply a certain number of men.202 State armies comprised
 a considerable fraction of American fighters during the Revolution, fighting alongside the
 Continental Army and the state militias.203
     Householder, freeholder, taxable person, titheable person. Many statutes required that these
 persons possess arms, whether or not they were enrolled in the militia.
     A householder is the head of a house, regardless of sex.204 For example, a widow, or any other
 woman living independently could be a householder.
     A freeholder owns real property. A single woman could be a freeholder.
     The meaning of “taxable” ”titheable” (or tithable) person, varied by jurisdiction; some laws
 exempted government officials, or “immigrants, indigents, and incapacitated persons.”205 In
 Virginia, everyone over 16 except for free white women was titheable (that is, taxable under a




 196
     See, e.g., STEVEN C. EAMES, RUSTIC WARRIORS: WARFARE AND THE PROVINCIAL SOLDIERS ON THE NEW ENGLAND
 FRONTIER, 1689-1748, at 28-29 (2011).
 197
     JOHNSON ET AL., supra note 18, at 226, 281.
 198
     Id. at 225, 235, 283. The wars with the French were the War of the League of Augsburg (1689-97) (known in
 America as King William’s War), the War of the Spanish Succession (1701-13) (Queen Anne’s War, in America),
 and the War of Jenkins’ Ear (1741-48) (against France’s ally Spain; including an attempted Spanish invasion of
 Georgia). The latter war blended into the War of the Austrian Succession (1744-48) (King George’s War). Finally,
 the French & Indian War (1754-63) (known to the British as the Great War for Empire). Id. at 245. For participation
 by the armies of the various colonies, see, e.g., RENÉ CHARTRAND, COLONIAL AMERICAN TROOPS 1610–1774 (2002)
 (3 vols.).
 199
     JOHNSON ET AL., supra note 18, at 226, 281.
 200
     Id. at 226, 281.
 201
     Id. at 226-27.
 202
     Id. at 194, 226-228, 230.
 203
     Id. at 203, 281, 283.
 204
     Householder Definition, MERRIAM-WEBSTER DICTIONARY, https://www.merriam-
 webster.com/dictionary/householder (last visited Jan. 13, 2019).
 205
     See John Witte, Jr., Tax Exemption of Church Property: Historical Anomaly or Valid Constitutional Practice?
 64 S. CAL. L. REV. 363, 371-72 (1991).


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 head or capitation tax).206 The revenue could be used for a colony or state’s established church207or
 for secular purposes.208
     A man aged 65 years old might be too old for the enrolled militia, but he could still be taxable
 or titheable. Depending on the laws of the particular colony, he might still be required to possess
 arms.
     A fifty-two-year-old widow maintaining her own household would not be in the enrolled
 militia or the alarm list but would be required to keep arms as a householder. Depending on her
 colony’s laws, she might also be a taxable or titheable person.
     Accordingly, women were sometimes legally required to possess arms in Massachusetts,
 Maryland, Delaware, New Hampshire, Vermont, and Connecticut.209 Although they were never
 required to serve in the enrolled militia, they were part of the militia in the broadest sense: all able-
 bodied persons capable of bearing arms.
     Servants. The statutes detailed in Part III sometimes have special rules for servants. For
 example, a statute requiring people to provide their own arms may include an exception requiring
 a master provide his or her servant with arms. Since the servant was, by definition, not living
 independently, the servant might be not be able to afford all the necessary arms and accoutrements.
     Many servants were free laborers. They were free persons who entered into voluntary contracts
 to supply services, such as household help or farm work.
     Indentured servants were free immigrants who had signed contracts entitling the other party to
 use or sell their labor for a period of years.210 For example, a poor Englishman, Irishman, or
 German who wished to emigrate to America might receive free passage in exchange for an
 indenture for several years, four years being most common.211 The indenture contract was
 assignable; the master might use the indented laborer for a while, and then sell the indenture to
 someone else.212 Other indentured servants were convicted criminals who had been given a choice
 between execution in England, or transportation to America followed by a period of indentured




 206
     See Terri L. Snyder, Marriage on the Margins: Free Wives, Enslaved Husbands, and the Law in Early Virginia,
 30 L. & HIST. REV. 141, 166 (2012):
            Local courts were especially anxious to establish accurate lists of all taxable persons in any given
            jurisdiction. Throughout the colonial period, definitions of which persons were taxable changed,
            but by 1723, everyone over the age of 16 was taxable, except for free white women. And it certainly
            was the case that individuals concealed their dependents in order to reduce their annual tax burden.
            In order to prevent them from so doing, Virginia law required households to provide a list of tithables
            to the tax collector.
 See also James R. Campbell, Dispelling the Fog about Direct Taxation, 1 BRIT. J. AM. LEG. STUD. 109, 163 n. 215
 (2012) (Massachusetts “poll taxes were imposed on the same set of tithable persons that Virginia and North Carolina
 taxed”).
 207
     See Godwin v. Lunan, Jeff. 96, 104, 1771 WL 3, 5 (Va. 1771).
 208
     See Commonwealth v. Justices of Fairfax Cty. Court, 4 Va. (2 Va. Cas.) 9, 10 (1815) (“to erect the bridges and
 causeways in the said mandamus mentioned, and to levy the cost of the same on the tithable persons of the said county
 of Fairfax”).
 209
     See Part III, infra.
 210
     Mary Sarah Bilder, The Struggle over Immigration: Indentured Servants, Slaves, and Articles of Commerce, 61
 MO. L. REV. 743, 752-53 (1996).
 211
     Id. at 754-56.
 212
     Id. at 758.


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 servitude, usually seven years.213 Like slaves, indentured servants were not legally free; they could
 not marry, travel, or trade without their master’s consent.214
     At the end of an indenture, the former master was usually required to give the former servant
 “freedom dues”—land, goods, or money allowing the ex-servant to begin independent life.215 In
 Maryland, Virginia, North Carolina, and South Carolina, freedom dues included a gun for male
 ex-servants.216
     Bought servants. An indentured servant was also called a “bought servant.”217 Some militias
 statutes excluded “bought” or “indented” servants or allowed militia service only with the master’s
 consent. Presumably, this was to prevent indentured servants from choosing militia service as a
 means to evade their indenture contracts. Textually, the “bought servant” statutes did not apply to
 free laborers, who were hired servants.
     Slaves were also called “servants” or sometimes “servants for life.”218 Imported slaves were
 Africans sold by Africans to trans-Atlantic slave traders, following capture in war or kidnapping.219
 Non-imported slaves were Indians captured in war (often by other Indians, and then sold to the
 English); their slavery/servitude was not necessarily for life.220 Although slaves were bought and
 sold, the term “bought servant” does not seem to encompass them, at least as the term was used in
 Pennsylvania.221
     As Part III details, practices varied about whether indentured servants or slave servants were
 part of the enrolled militia. In general, the former were usually included, and the latter usually
 excluded, but there were exceptions in both directions.

         C. “Trained to arms from their infancy”


 213
     Id. at 754, 756-57.
 214
     Id. at 758.
 215
     Id. at 759.
 216
     JOHNSON ET AL., supra note 18, at 185-86.
 217
             See         York         Freedom          Suits          (1685-1715),           VIRTUAL          JAMESTOWN,
 http://www.virtualjamestown.org/yorkfreedomsuits1685_1715.html (last visited Jan. 13, 2019) (Mar. 24, 1686/7
 judgement that plaintiff, “having truely served her Limited time as a bought Servant” of decedent, should be paid her
 freedom dues out of decedent’s estate) (quoting 7 York County Deeds, Orders, and Wills 292).
 218
     E.g., Respublica v. Betsey, 1 U.S. (1 Dall.) 469, 470 (Pa. 1789) (“The words ‘freemen and free-women,’ seem to
 have been used in opposition to the word ‘slaves,’ or ‘servants for life’”) (interpreting Pennsylvania’s gradual abolition
 statute in favor of Betsey’s freedom).
 219
          The      Capture      and      Sale     of     Enslaved        Africans,       INT’L     SLAVERY        MUSEUM,
 http://www.liverpoolmuseums.org.uk/ism/slavery/africa/capture_sale.aspx (last visited Jan. 13, 2019) (also noting
 that some Africans were sold to European traders as criminal punishment or for default on debt); Sheldon M. Stern,
 It’s Time to Face the Whole Truth About the Atlantic Slave Trade, HIST. NEWS NETWORK (Aug. 13, 2007),
 https://historynewsnetwork.org/article/41431.
 220
     See Robin v. Hardway, Jeff. 109, 1772 WL 11 (Va. 1772) (noting 1670 Virginia statute “that all servants not being
 Christians, imported into this country by shipping, shall be slaves for their life time,” but “Indians taken in war by any
 other nation, and by that nation that takes them sold to the English…shall serve, if boys and girls, until thirty years of
 age, if men and women, twelve years and no longer.”).
 221
     See Gary B. Nash, Slaves and Slave Owners in Colonial Philadelphia, in AFRICAN AMERICANS IN PENNSYLVANIA:
 SHIFTING HISTORICAL PERSPECTIVES 43, 46 (Joe Trotter & Eric Ledell Smith eds. 1997) (quoting 1756 message from
 Pennsylvania Assembly to the Governor, complaining about British recruitment of Pennsylvania indentured servants
 for the British army in the French & Indian War: “If the Possession of a bought Servant…is… rendered
 precarious…the People [will be] driven to the Necessity of providing themselves with Negro Slaves…”).


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     Firearms were a way of life in early America. It was common for American children to be
 familiar with firearms, a circumstance that gave the Americans confidence leading up to the
 Revolutionary War. On July 8, 1775, the Continental Congress warned King George III that the
 Americans’ superiority with arms, due to their training beginning in childhood, would make them
 a formidable foe: “Men trained to Arms from their Infancy, and animated by the Love of Liberty,
 will afford neither a cheap or easy Conquest.”222
     This same argument was asserted by John Zubly, a Savannah minister and recent immigrant
 from Switzerland.223 He warned the British that “In the strong sense of liberty, and the use of
 firearms almost from the cradle, the Americans have vastly the advantage over men of their rank
 almost every where else.”224 He added that American children were “shouldering the resemblance
 of a gun before they are well able to walk.”225
     Similarly, David Ramsay, a legislator from South Carolina and delegate to the Continental
 Congress, pointed out that, “Europeans, from their being generally unacquainted with fire arms
 are less easily taught the use of them than Americans, who are from their youth familiar with these
 instruments of war.”226 He noted that “[f]or the defence of the colonies, the inhabitants had been,
 from their early years, enrolled in companies, and taught the use of arms.”227
     Thomas Jefferson, explained what was going on in America to his Scottish friend: “[w]e are all
 in arms, exercising and training old and young to the use of the gun.”228 Once the Revolution
 began, Jefferson suggested that the reasons American battle casualties were so much lower than
 British ones was “our superiority in taking aim when we fire; every soldier in our army having
 been intimate with his gun from his infancy.”229
     So too was Jefferson. His father, Colonel Peter Jefferson, taught him to use a firearm at a young
 age.230 When Thomas was 10 years old, his father was confident enough to send the boy into the
 wilderness alone with nothing but his firearm, to learn self-reliance.231 By the time Thomas was
 14, his father “had already taught him to sit his horse, fire his gun, boldly stem the Rivanna when
 the swollen river was ‘Rolling red from brae to brae,’ and press his way with unflagging foot
 through the rocky summits of the contiguous hills in pursuit of deer and wild turkeys.”232
     Having valued the firearms training of his childhood, Thomas Jefferson suggested that his 15-
 year-old cousin, Peter Carr, become similarly acquainted with firearms.233 Jefferson told Carr that
 “a strong body makes a strong mind,” and recommended two hours of exercise every day. Jefferson

 222
     1 JOURNALS OF THE AM. CONGRESS FROM 1774-1788, at 106-11 (adopted July 8, 1775) (1823) (emphasis added).
 223
     Zubly, John Joachim, BIOGRAPHICAL DIRECTORY OF THE U.S. CONGRESS,
 http://bioguide.congress.gov/scripts/biodisplay.pl?index=Z000015 (last visited Jan. 13, 2019).
 224
     PETER A. DORSEY, COMMON BONDAGE: SLAVERY AS METAPHOR IN REVOLUTIONARY AMERICA 53 (2009).
 225
     Id.
 226
     1 DAVID RAMSAY, THE HISTORY OF THE AMERICAN REVOLUTION 181 (Liberty Fund 1990) (1789).
 227
     Id. at 178.
 228
     3 Am. Archives 4th Ser. (Clark & Force) 621 (1840).
 229
     Letter from Thomas Jefferson to Giovanni Fabbroni (June 8, 1778), in THOMAS JEFFERSON, WRITINGS 760 (Merrill
 D. Peterson, ed.,1984). In precise legal usage, “infancy” meant the same as “minority.” The word was not used
 exclusively in the modern sense, in which an “infant” is younger than a toddler. As the above quotes indicate, toddler
 age was when some Americans began learning to use arms.
 230
     Id.
 231
     DUMAS MALONE, JEFFERSON THE VIRGINIAN 46-47 (1948) (Vol. 1 of Dumas Malone, Jefferson and His Time).
 232
      HENRY S. RANDALL, 1 THE LIFE OF THOMAS JEFFERSON 14-15 (1865). The “brae to brae” quote is a verse
 popularized by Sir Walter Scott. 1 MEMOIRS OF THE LIFE OF SIR WALTER SCOTT, part 4, ch. 2, at 52 (1838).
 233
     THOMAS JEFFERSON, WRITINGS 816-17 (Merrill D. Peterson ed. 1984).


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 continued: “[a]s to the species of exercise, I advise the gun. While this gives a moderate exercise
 to the body, it gives boldness, enterprise and independence to the mind. . . . Let your gun therefore
 be the constant companion of your walks.”234 “Another nephew tells us that Jefferson believed
 every boy should be given a gun at the age of ten, as Jefferson himself had been.”235
     The Adamses felt the same way. “Militiamen on the way to Lexington and Concord stopped
 at a farm in Braintree, Massachusetts. To their amusement, 8-year-old John Quincy Adams, son
 of Abigail and John Adams, was executing the manual of arms with a musket taller than he was.”236
 When John Adams had been a nine-or ten-year-old schoolboy, he loved to engage in sports, “above
 all, in shooting, to which diversion I was addicted to a degree of ardor which I know not that I ever
 felt for any other business, study, or amusement.”237 He would leave his gun by the schoolhouse
 door, so that he could go hunting as soon as classes ended.238
     Ordinary people were just as determined to teach the young how to use arms. John Andrews,
 an aid to British General Thomas Gage, recounted an incident in which Redcoats were
 unsuccessfully trying to shoot at a target on the Boston Common.239 When an American mocked
 them, a British officer dared the American to do better. The American repeatedly hit the target.240
 As Andrews noted, “The officers as well as the soldiers star’d, and tho’t the Devil was in the man.
 Why, says the countryman, I’ll tell you naow. I have got a boy at home that will toss up an apple
 and shoot out all the seeds as its coming down.”241
     Or in the words of the Boston Gazette, “[b]esides the regular trained militia in New-England,
 all the planters sons and servants are taught to use the fowling piece from their youth, and generally
 fire balls with great exactness at fowl or beast.”242
     Later, during the debates on ratification of the Constitution, Virginia’s Richard Henry Lee
 emphasized: “to preserve liberty, it is essential that the whole body of the people always possess
 arms, and be taught alike, especially when young, how to use them.”243




 234
     Id.
 235
     Kates, supra note 42, at 229 (1983) (citing T. JEFFERSON RANDOLPH, NOTES ON THE LIFE OF THOMAS JEFFERSON
 (Edgehill Randolph Collection) (1879)).
 236
     DAVID HACKETT FISCHER, PAUL REVERE’S RIDE 289 (1995). A manual of arms is a drill in which the gun user
 presents the firearm or other arm in a series of positions (e.g., right shoulder arms, left shoulder arms, fix bayonet,
 unfix         bayonet,        etc.).       Manual         of        Arms         Definition,       VOCABULARY.COM,
 https://www.vocabulary.com/dictionary/manual%20of%20arms (last visited Jan. 13, 2019).
 237
     3 DIARY AND AUTOBIOGRAPHY OF JOHN ADAMS 257-59 (Lyman Henry Butterfield ed., 1961).
 238
     Id. When the schoolmaster told him to stop, he stored the gun at the nearby home of an old woman. Id.
 239
     Letter dated Oct. 1, 1774, 1 Am. Archives 4th Ser. (Clark & Force) 58-59 (1840).
 240
     Id.
 241
     Id.
 242
     BOSTON GAZETTE, Dec. 5, 1774, at 4; See also HAROLD F. WILLIAMSON: WINCHESTER: THE GUN THAT WON THE
 WEST 3 (1952) (quoting English visitor to New England in 1774, “in the cities you scarcely find a Lad of 12 years
 that does not go a Gunning”); DAVID HARSANYI, FIRST FREEDOM: A RIDE THROUGH AMERICA’S ENDURING HISTORY
 WITH THE GUN 57-58 (2018) (quoting 1760s visitor to the Valley of Virginia: “A well grown boy at the age of twelve
 or thirteen years was furnished with a small rifle and a shot-pouch. He then became a fort soldier, and has his port-
 hole assigned him. Hunting squirrels, turkeys and raccoons soon make him expert in the use of his gun.”) (citing
 Daniel Boorstin, The Therapy of Distance, 27 AMERICAN HERITAGE (no. 4 June 1976)).
 243
     17 DOCUMENTARY HISTORY OF THE RATIFICATION OF THE CONSTITUTION 363 (John P. Kaminski & Gaspare J.
 Saladino eds. 1995) (emphasis added).


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       III.   The Colonial and Founding Periods
     Before we begin a colony-by-colony survey of militia laws, we can summarize some common
 characteristics of laws among the colonies and states, from the creation of different colonies in the
 seventeenth or early eighteenth century, through the end of the eighteenth century.
     First, the most common age for militia duty was 16 to 50 years. The maximum often went as
 high as 60. The minimum was sometimes 18, and never higher (except for one 19-year period in
 Virginia). In 1792, Congress enacted the Uniform Militia Act (hereinafter UMA), to govern militia
 when called into federal service. The federal ages were 18 to 45, and several states revised their
 laws to make the state militia ages conform to the federal militia ages.244
     The survey below in this Part III includes over 250 different enactments, as colonies and states
 revised and updated their militia laws. They also include many instances in which the colony or
 state enacted a militia statute that by its terms would expire in one year or a few years. Then, at
 the appropriate time, the colony would pass a new militia law, with the same terms as the old law.
 Because the royal governors, appointed by the king, would control the militia once it was in active
 service, some colonial legislatures were averse to permanent militia laws, which might give the
 royal governor too much unilateral power.245
     The frequent renewals and revisions of colonial and early state militia laws reflect the
 legislatures’ continuing determination that persons over 18-years-old be well-armed. The only
 militia law that did not have a minimum age of 18 or less was from Virginia in 1738–57.246
      Before discussing militia laws of the colonies and states one-by-one, we should emphasize
 that the militia was not the only institution in which young adults were required to use arms. Three
 related duties also required young adults (like other adults) to bring their arms to help protect the
 community. All of these had long-established roots in common law. Sometimes the colonies
 enacted relevant statutes, but often they simply relied on the common law tradition.
     First, all able-bodied men from 15 or 16 to 60 were obliged to join in the “hue and cry”
 (hutesium et clamor) to pursue fleeing criminals.247 Pursuing citizens were allowed to use deadly
 force if necessary to prevent escape.248
     Second, there was “watch and ward”—guard duty for towns and villages. “Ward” was the
 daytime activity, and “watch” the nighttime activity. 249 The patrols would be arranged by a sheriff,
 constable, justice of the peace, or other official.250

 244
     Uniform Militia Act, 1 Stat. 271-72 (1792).
 245
      See, e.g., Theodore H. Jabbs, The South Carolina Colonial Militia, 1663-1733 (1973) (unpublished Ph.D.
 dissertation, U. of N.C. Chapel Hill) (available in ProQuest Dissertations & Theses Global).
 246
     See infra Part III.K.
 247
     Statute of Winchester, 13 Edward I, chs. 4-6 (1285) (formalizing hue and cry system; requiring all men aged fifteen
 to sixty to possess arms and armor according to their wealth; lowest category, having less than “Twenty Marks in
 Goods,” must have swords, knives, bows, and other small arms)
 248
     See 2 FREDERICK POLLOCK & FREDERIC W. MAITLAND, THE HISTORY OF ENGLISH LAW BEFORE THE TIME OF
 EDWARD I, at 575-81 (1895); 4 WILLIAM BLACKSTONE, COMMENTARIES *290-91 (describing hue and cry as still in
 operation); Statute of Winchester, supra note 247.
 249
     ELIZABETH C. BARTELS, VOLUNTEER POLICE IN THE UNITED STATES 2 (2014).
 250
     MICHAEL DALTON, OFFICIUM VICECOMITUM: THE OFFICE AND AUTHORITIE OF SHERIF 6, 40 (Lawbook Exchange
 2009) (1923) (sheriff’s oath includes supervising the watch and ward, by reference to his oath specifically to uphold
 the Statute of Winchester); W ILLIAM ALFRED MORRIS, THE MEDIEVAL ENGLISH SHERIFF 150, 228-29, 278 (1927);
 WILLIAM LAMBARDE, EIRENARCHA 185, 341 (London, Newbery & Bynneman 1581); FERDINANDO PULTON, DE PACE
 REGIS & REGNI 153a-153b (Lawbook Exchange 2007) (1609).


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     Third, there was the posse comitatus. This is the power of the sheriff, coroner, magistrate, or
 other officials to summon all able-bodied males to assist in keeping the peace.251 Posse service
 could include a few men helping a sheriff serve a writ, or it could include many men helping a
 sheriff suppress a riot.252 The traditional minimum age for posse service was 15 or 16 years; some
 commentators said the upper age limit was 70, while others said there was no limit.253 Shortly
 before being appointed to the U.S. Supreme Court by President Washington, James Wilson stated
 in 1790 that “No man above fifteen and under seventy years of age, ecclesiastical or temporal, is
 exempted from this service.”254
     The posse was a vital institution not only in colonial days, but throughout the nineteenth
 century. As the Supreme Court explained in 1855, a sheriff “may command the posse comitatus
 or power of the country; and this summons, every one over the age of fifteen years is bound to
 obey, under pain of fine and imprisonment.”255
     The duties of hue and cry, watch and ward, and posse comitatus were male only. However, as
 will be detailed below, some colonies also required arms possession by any householder,
 regardless of sex. In addition, most of the colonies required arms carrying under certain
 circumstances, such as when traveling out of town, or when going to public assemblies, especially
 to church.256 Usually these laws applied without age limits (i.e., to any able-bodied traveler), or
 to anyone able to bear arms. Sometimes they applied to militiamen, whose minimum age was 16
 or 18.257
     In short, the age at which Americans were expected to use their own arms to help enforce the
 law (including by defending themselves) usually was age 15 or 16. These requirements
 encompassed the vast majority of males, and also included some females. The age at which
 Americans were expected to bring their own arms to serve in a military capacity, in the militia,
 usually was 16 or 18.
     In the following survey of militia laws, the states are listed in the order that they ratified the
 Second Amendment.258

 251
     David B. Kopel, The Posse Comitatus and the Office of Sheriff: Armed Citizens Summoned to the Aid of Law
 Enforcement, 104 J. CRIM. L. & CRIMINOLOGY 761, 763 (2015).
 252
     See id. at 796.
 253
     CYRUS HARRELD KARRAKER, THE SEVENTEENTH-CENTURY SHERIFF: A COMPARATIVE STUDY OF THE SHERIFF IN
 ENGLAND AND IN THE CHESAPEAKE COLONIES, 1607−1689, at 176-77 (1930) (reprinting an April 29, 1643, warrant
 for summoning the posse comitatus, applying to persons above the age of sixteen years and “under the age of three
 score years and able to travel, with such arms or weapons as they have or can provide”); MORDECAI M’KINNEY, THE
 UNITED STATES CONSTITUTIONAL MANUAL 260 (Harrisburg, Penn., Hickock & Cantine 1845) (all men above the age
 of fifteen years, “not aged or decrepid”); GEORGE WEBB, THE OFFICE AND AUTHORITY OF A JUSTICE OF PEACE 252
 (Williamsburg, William Parks 1736) (“all Males Persons therein, whether Freemen, or Servants, above the Age of 15
 Years, and able to travel”) (citing LAMBARDE, supra note 250, at 309); EDWARD COKE, 2 INSTITUTES OF THE LAWS OF
 ENGLAND 194 (Lawbook Exchange 2002) (1628) (ch. 17) (“being above 15 and under 70”); HENRY POTTER, THE
 OFFICE AND DUTY OF A JUSTICE OF THE PEACE 243 (Raleigh, Joseph Gales 1816); JOHN STEPHEN, SUMMARY OF THE
 CRIMINAL LAW 46 (Philadelphia, J.S. Littell 1840) (ages fifteen and over, with no upper age limit).
 254
      JAMES WILSON, Lectures on Law, in 2 COLLECTED WORKS OF JAMES WILSON 1017 (Kermit L. Hall & Mark David
 Hall eds., 2007) (Ch. VII, “The Subject Continued. Of Sheriffs and Coroners”).
 255
     South v. Maryland ex rel. Pottle, 59 U.S. (1 How.) 396, 402 (1856).
 256
     NICHOLAS J. JOHNSON, DAVID B. KOPEL, GEORGE A. MOCSARY & MICHAEL P. O’SHEA, FIREARMS LAW AND THE
 SECOND AMENDMENT: REGULATION, RIGHTS, AND POLICY 183-85 (2d ed. 2017).
 257
     Id.
 258
     The colonial and early state laws are available in the Session Laws Library of Hein Online. Many are also available
 on Google Books or other public Internet sources, as indicated by the URL in the footnote.


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        A. New Jersey: “all able-bodied Men, not being Slaves … between the Ages
           of sixteen and fifty Years”
     The English took control of what became New Jersey in 1664, ousting the Dutch from their
 “New Netherland” colony.259 New Jersey’s first militia act was passed in 1704. It required “[t]hat
 every Captain within this Province … make a true and perfect List of all the Men … between the
 Age of Sixteen and Fifty years … Every one of which so listed shall be sufficiently armed with
 one good sufficient Musquet or Fuzee well fixed, a Sword or Bagonet, a Cartouch-box or Powder-
 horn, a pound of Powder, and twelve sizeable Bullets.”260 The next militia act, passed roughly a
 decade later, kept the same requirements for the arms and ages of militiamen.261
     A 1722 statute retained the sixteen to fifty ages, while revising the ammunition
 requirements.262 After the 1722 act expired, it was replaced by a 1730 law with the same ages and
 arms,263 which was continued in 1739.264
     On May 8, 1746, a renewed militia act was necessary because America had been drawn into
 Great Britain’s most recent war with France and Spain. Like earlier statutes, the 1746 act set the
 militia age “between the Age of Sixteen and Fifty Years” and required that each militiaman “be
 sufficiently armed with one good sufficient Musket or Fuzee well fixed, a Sword or Bayonet, a
 Cartouch-Box or Powder-Horn,” plus bullets and powder.265 This act was continued in 1749,266
 1753,267 1766,268 1770,269 and 1771.270
     Also in 1746, New Jersey passed an act to raise 500 troops for a state army expedition against
 Canada. 271 This act made it unlawful for an officer “to inlist any young Men under the Age of
 Twenty One Years, or any Slaves who are so for Term of Life, bought Servants, or Apprentices,
 without the Express Leave in Writing of their Parents or Guardians, Masters or Mistresses.” 272
 Similarly, during the French & Indian War, acts to raise small groups of state army soldiers (one


 259
     A Short History of New Jersey, NJ.GOV, https://www.nj.gov/nj/about/history/short_history.html (last visited Jan.
 13, 2019).
 260
     2 BERNARD BUSH, LAWS OF THE ROYAL COLONY OF NEW JERSEY 49 (1980). The Act provided an exception for
 “Ministers, Physitians, School-Masters, Civil Officers of the Government, the Representatives of the General
 assembly, and Slaves.” This act was continued in 1711. Id. at 96 (Sixth Assembly, First Session 6 Dec. 1710 – 10
 Feb. 1710/11).
 261
     Id. at 133. This Act repeated the exemptions of the 1709 Act and added an exception for “Millers.” Id.
 262
     Id. at 289 (“three Charges of Powder and three sizeable Bullets”).
      The exceptions in the 1722 Act were for “the Gentlemen of his Majestys Council and the Representatives of
 General Assembly, Ministers of the Gospel, the Civil Officers of the Government, and all Field Officers and Captains
 that here-to-fore bore Commission in the Militia of this Province, and all that now do or shall hereafter bear such
 Commission, Physitians, School-Masters, Millers, and Slaves.” Id.
 263
     Id. at 410 (limited to seven years).
 264
     1738/9 N.J. Laws ch. 165 (limited to seven years).
 265
     3 BERNARD BUSH, LAWS OF THE ROYAL COLONY OF NEW JERSEY 5 (1980).
 266
     1749 N.J. Laws ch. 232.
 267
     1753 N.J. Laws ch. 257.
 268
     1766 N.J. Laws ch. 422.
 269
     1770 N.J. Laws ch. 520.
 270
     1771 N.J. Laws ch. 539.
 271
     3 BUSH, supra note 265, at 15.
 272
     Id.


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 in 1755273 and two in 1756274) set the minimum age at twenty-one for enlistment for out-of-colony
 service without consent of a parent, guardian, or master.
      Permission from parents or masters was necessary for enlistment in the state army, but not the
 in-state militia. A 1757 supplement to the militia act kept the age for militia “between the Age of
 Sixteen and Fifty Years.”275
      Two decades later, in the midst of the Revolutionary War, New Jersey passed a 1777 militia
 act, “to defeat the Designs of the British Court, and to preserve and defend the Freedom and
 Independence of the United States of America.”276 “[A]ll able-bodied Men, not being Slaves …
 between the Ages of sixteen and fifty Years … and [] capable of bearing Arms” constituted the
 militia.277 This act was set to automatically expire after one year.278 The following year a new act
 was put in place. Again, the militia was “all effective Men between the Ages of sixteen and fifty
 Years.”279
      Near the end of the war, in 1781, New Jersey passed its militia law that would be in place when
 it ratified the Second Amendment on November 20, 1789:280

          And Be It Enacted, That the Captain or Commanding Officer of each Company
          shall keep a true and perfect List or Roll of all effective Men between the Ages of
          sixteen and fifty Years, residing within the District of such Company . . . And Be
          It Enacted, That every Person enrolled as aforesaid shall constantly keep himself
          furnished with a good Musket, well fitted with a Bayonet, a Worm, a Cartridge-
          Box, twenty-three Rounds of Cartridges sized to his Musket, a Priming Wire,
          Brush, six Flints, a Knapsack and Canteen, under the Forfeiture of Seven Shillings
          and Sixpence for Want of a Musket, and One Shilling for Want of any other of the
          aforesaid Articles, whenever called out to Training or Service . . . Provided always,
          That if any Person be furnished as aforesaid with a good Rifle-Gun, the Apparatus
          necessary for the same, and a Tomahawk, it shall be accepted in Lieu of the Musket
          and the Bayonet and other Articles belonging thereto.281


 273
     Id. at 307.
 274
     Id. at 385, 425.
 275
      Id. at 502. The Act excepted “the Gentlemen of his Majesty’s Council, the Representatives of the General
 Assembly, Protestant Ministers of the Gospel of every Denomination and Persuasion, Magistrates, Sheriffs, Coroners,
 Constables, and all Field Officers, and Captains, who heretofore have, now do, or hereafter shall bear such
 Commissions; Ferry Men, one Miller to each Grist Mill, bought Servants, and Slaves.”
 276
     1776 N.J. Laws 26.
 277
     Id.
 278
     Id.
 279
     1778 N.J. Laws 44-45. This Act excluded “the Delegates representing this State in the Congress of the United
 States, the Members of the Legislative-Council and General Assembly, the Judges and Justices of the Supreme and
 Inferior Courts, the Judge of the Court of Admiralty, the Attorney-General, the Secretary, the Treasurer, the Clerks of
 the Council and General Assembly, the Clerks of the Courts of Record, the Governor’s private Secretary, Ministers
 of the Gospel of every Denomination, the Presidents, Professors and Tutors of Colleges, Sheriffs and Coroners, one
 Constable for each Township, to be selected by the Court of Quarter-Sessions of the County, two Ferrymen for each
 publick Ferry on the Delaware, below the Falls at Trenton, and one for every other publick Ferry in this State, and
 Slaves.”
 280
     1 JOURNAL OF THE HOUSE OF REPRESENTATIVES OF THE UNITED STATES, BEING THE FIRST SESSION OF THE FIRST
 CONGRESS-3RD SESSION OF THE 13TH CONGRESS, MARCH 4, 1789–SEPT. 13, 1814, at 313-14 (1826).
 281
     1780 N.J. Laws 42-43.


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 The act further required that “each Person enrolled…also keep at his Place of Abode one Pound
 of good merchantable Gunpowder and three Pounds of Ball sized to his Musket or Rifle…”282 At
 least three times a year, a Sergeant would inspect the home of every man between sixteen and fifty
 to ensure he had the proper “Arms, Accoutrements, and Ammunition.”283
     In 1792, Congress enacted the UMA, organizing the militia of the United States, pursuant to
 enumerated powers under Article I, section 8, clause 16.284 It provided a detailed list of equipment
 and defined the federal militia as free white males aged 18 to 45.285 (The Act is discussed in Part
 IV, infra.) Over the next several years, most states revised their militia statutes to bring their state
 militias into conformity with the federal militia. Since individuals were subject to a militia
 summons from their state or the federal government, the state governments were making it easier
 for state militiamen to simultaneously comply with federal requirements.
     New Jersey was one of the first states to take account of the federal law, enacting a new militia
 law in 1792.286 The minimum age was raised to 18, and maximum age lowered to 45.287 Copying
 the federal law, New Jersey required that “every non-commissioned Officer and Private of the
 Infantry (including Grenadiers, Light Infantry and Artillery) until supplied with Ordnance and
 Field Artillery, shall have a good Musket or Firelock, a sufficient Bayonet and Belt, two spare
 Flints and a Knapsack, a Pouch with a Box not less than twenty-four Cartridges suited to the Bore
 of his Musket or Firelock, each Cartridge containing a proper Quantity of Powder and Ball; or with
 a good Rifle, Knapsack, Pouch and Powder-Horn, twenty Balls suited to the Bore of his Rifle, and
 a Quarter of a Pound of Powder; and shall appear so armed, accoutred and provided, when called
 out to exercise or into Service.”288
     As for commissioned officers, they had to be “armed with a Sword or Hanger and
 Espontoon.”289 And for “those of Artillery . . . with a Sword or Hanger, a fuzee, bayonet and belt,
 and a Cartridge-Box containing twelve Cartridges.”290 Troops of Horse had to provide themselves
 with “a Sword and Pair of Pistols.”291 Light-Horsemen and Dragoons had to provide themselves
 with “a Pair of Pistols, a Sabre and Cartouch-Box containing twelve Cartridges for Pistols.”292
     A 1797 supplement required the assessor of each town to compare the list of 18-to-45-year-
 olds in the community to the list of persons enrolled for military duty, and to ensure that everyone
 18 and older who was not exempted was keeping the proper arms and fulfilling his militia duties.293
     A 1799 revision eliminated non-whites from the militia.294 Persons who were granted militia
 exemptions (e.g., physicians, clergy) had to pay a three-dollar annual fee.295 In case the militia
 were “called into actual service,” exempted persons too would be liable to serve.296

 282
     Id.
 283
     1780 N.J. Laws 43.
 284
     Uniform Militia Act, 1 Stat. 271 (1792).
 285
     Id.
 286
     1792 N.J. Laws 850.
 287
     Id. at 853.
 288
     Id. at 852.
 289
     Id.
 290
     Id.
 291
     Id.
 292
     Id. at 852–53.
 293
     1797 N.J. Laws 219-20.
 294
     1799 N.J. Laws 609.
 295
     WILLIAM PATERSON, LAWS OF THE STATE OF NEW JERSEY 441 (1800).
 296
     Id.


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     As with all militia acts, there was financial punishment for people who neglected their duties
 to acquire requisite arms, to meet for training, and to serve.297 For militiamen who were “minors,
 living with their parents, and others having the proper care of charge of them, and those of
 apprentices,” the fines were to “be paid by their respective parents, guardians, masters or
 mistresses, or levied of their respective goods and chattels.”298
     Military forces of the period used music for morale and for signals during the heat of combat.
 New Jersey provided rules for voluntary enlistment of military musicians: “any youth of the age
 of twelve years, and not exceeding the age of eighteen years, shall, with the consent of approbation
 of his parents, attach himself to any company of militia for the purpose of learning to beat the
 drum, play on the fife or blow the trumpet.”299

        B. Maryland: “his her or their house”
     Maryland’s arms mandate extended to every head of a house, regardless of sex or age. A 1638/9
 act required

          that every house keeper or housekeepers within this Province shall have ready
          continually upon all occasions within his her or their house for him or themselves
          and for every person within his her or their house able to bear armes one Serviceable
          fixed gunne of bastard muskett boare one pair of bandeleers or shott bagg one
          pound of good powder foure pound of pistol or muskett shott and Sufficient
          quantity of match for match locks and of flints for firelocks and before Christmas
          next shall also find a Sword and Belt for every such person as aforesaid.300

     Further, “every householder of every hundred haveing in his family three men or more able to
 beare armes shall Send one man completely armed for every such three men and two men for every
 five and so proportionately.”301 The act contemplated many persons within a family, including
 minors, bearing arms.302
     A 1654 act mandated “that all persons from 16 yeares of age to Sixty shall be provided with
 Serviceable Armes & Sufficient Amunition of Powder and Shott ready upon all occasions.”303

 297
     Id. at 440.
 298
     Id.
 299
     Id. at 448.
 300
     1 PROCEEDINGS AND ACTS OF THE GENERAL ASSEMBLY OF MARYLAND JANUARY 1637/8—SEPTEMBER 1664, at 77
 (William Hand Browne ed, 1883). For dates in this article, readers should be aware that in the English-speaking
 countries, the calendar changed from Old Style (Julian) to New Style (Gregorian) in 1752. Under the Old Style, the
 New Year began on March 25 (the traditional date of the Annunciation to the Virgin Mary), not January 1. So, the
 people of Maryland considered the above date to be 1638, not 1639. We have generally rendered dates in New Style.
 Scholars using Western European date citations between 1582 (when France adopted the New Style calendar) and
 1752 should be aware that the days between January 1 and March 24 may be assigned to a different year, depending
 on the country. The shift can also move the calendar date as far forward as 11 days; for example, July 1 Old Style can
 become July 12 New Style. The shift occurs because New Style remedied the incorrect number of leap year days in
 Old Style. New Style omits leap years every 100 years, except for every 400th year. So, under New Style, there was
 no leap year day in 1800 or 1900, but there was one in 2000.
 301
     Id. at 77-78.
 302
     Id.
 303
     Id. at 347.


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     In 1658, the Council of Maryland adopted “Instructions directed by the Governor and Councell
 to the severall Captaines of the respective Commissions.”304 Captains had to make “a perfect list”
 of “all persons able to beare Armes within theyr respective divisions that is of all men betweene
 16 and 60 yeares of Age.” From that list, the “fittest” people were to be selected to form the
 “constant Trayned Band.”305 In addition, every householder had to provide himself and “every
 man able to beare Armes in his house” with sufficient ammunition and a well-fixed gun.306
     Twenty years later, a new militia act kept the ages “between sixteen and sixty yeares of age.”307
 Like its predecessors, it required that each “appeare and bring with him one good serviceable fixed
 Gunn and six shoots of Powder.”308 Troopers were required to bring their own horses, and “to find
 themselves with sword Carbine Pistolls Holsters & Amunition.”309




 304
      3 PROCEEDINGS OF THE COUNCIL OF MARYLAND, 1636-1667, at 345 (reprint 1965), ARCHIVES MD. ONLINE,
 http://aomol.msa.maryland.gov/000001/000003/html/am3--345.html (last visited Jan. 13, 2019).
 305
     Id. (basing fitness on “theyr Ability of Body, Estate, & Courage.”)
 306
     Id.
 307
     7 PROCEEDINGS AND ACTS OF THE GENERAL ASSEMBLY, OCTOBER 1678-NOVEMBER 1683, at 53 (1889), ARCHIVES
 MD. ONLINE, http://aomol.msa.maryland.gov/000001/000007/html/am7--53.html (last visited Jan. 13, 2019).
 308
     Id. at 54.
 309
     Id. at 55.


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     The 1681 militia law retained the age and arms requirements,310 and was continued in 1682.311
 Ages and arms remained the same in successor acts of 1692,312 1695,313 1698,314 1699,315 1704,316
 1708,317 1709,318 1711,319 1714,320 1715,321 1719,322 1722,323 and 1733.324
     In 1756, Maryland passed another militia act, and kept the militia age at 16 to 60.325 This act
 changed the ammunition requirement to “nine Charges of Gun-powder and nine Sizeable Bulletts.”
 Troopers needed to provide themselves with “a pair of good Pistols a good Sword or Hanger half
 a pound of Gun-powder and twelve Sizeable Bulletts and a Carbine --well fixed with a good Belt
 Swivel and Buckett.”326
     The Conventions of the Province of Maryland that took place in Annapolis in 1775 and 1776
 produced two militia laws. Both Conventions determined “[t]hat every able bodied effective
 freeman within this province, between sixteen and fifty years of age . . . enroll himself in some




 310
     Id. at 188.
 311
     Id. at 438.
 312
     13 PROCEEDINGS AND ACTS OF THE GENERAL ASSEMBLY, APRIL 1684-JUNE 1692, at 554 (1894), ARCHIVES MD.
 ONLINE, http://aomol.msa.maryland.gov/000001/000013/html/am13--554.html (last visited Jan. 13, 2019).
 313
     Also, in 1695, Maryland took an additional step to ensure that militiamen maintained the arms they were required
 to provide themselves, by marking them so they could be identified and so that potential buyers knew not to purchase
 those arms. 38 ACTS OF THE GENERAL ASSEMBLY HITHERTO UNPUBLISHED 1694-1698, 1711-1729, at 55 (1918),
 ARCHIVES MD. ONLINE, http://aomol.msa.maryland.gov/000001/000038/html/am38--55.html (last visited Jan. 13,
 2019).
 314
     1698 Md. Acts 99, https://quod.lib.umich.edu/e/evans/N29557.0001.001/1:9.44?rgn=div2;view=fulltext.
 315
     22 PROCEEDINGS AND ACTS OF THE GENERAL ASSEMBLY, MARCH 1697/8-JULY 1699, at 562-63 (1883), ARCHIVES
 MD. ONLINE, http://aomol.msa.maryland.gov/000001/000022/html/am22--562.html (last visited Jan. 13, 2019).
 316
      26 PROCEEDINGS AND ACTS OF THE GENERAL ASSEMBLY, SEPTEMBER, 1704-APRIL, 1706, at 269-70 (1906),
 ARCHIVES MD. ONLINE, http://aomol.msa.maryland.gov/000001/000026/html/am26--269.html (last visited Jan. 13,
 2019).
 317
      27 PROCEEDINGS AND ACTS OF THE GENERAL ASSEMBLY, MARCH, 1707-NOVEMBER, 1710, at 370 (1907),
 ARCHIVES MD. ONLINE, http://aomol.msa.maryland.gov/000001/000027/html/am27--370.html (last visited Jan. 13,
 2019).
 318
     Id. at 483.
 319
     38 ARCHIVES OF MARYLAND, supra note 313, at 128.
 320
     29 PROCEEDINGS AND ACTS OF THE GENERAL ASSEMBLY, OCT. 25, 1711-OCT. 9, 1714, at 437 (1909).
 321
      30 PROCEEDINGS AND ACTS OF THE GENERAL ASSEMBLY, APRIL 26, 1715-AUGUST 10, 1716, at 277 (1910),
 ARCHIVES MD. ONLINE, http://aomol.msa.maryland.gov/000001/000030/html/am30--277.html (last visited Jan. 13,
 2019).
 322
      36 PROCEEDINGS AND ACTS OF THE GENERAL ASSEMBLY, JULY 1727-AUGUST 1729 WITH AN APPENDIX OF
 STATUTES PREVIOUSLY UNPUBLISHED ENACTED 1714-1726, at 534 (1916), ARCHIVES MD. ONLINE,
 http://aomol.msa.maryland.gov/000001/000036/html/am36--534.html (last visited Jan. 13, 2019).
 323
     34 PROCEEDINGS AND ACTS OF THE GENERAL ASSEMBLY, OCTOBER 1720-1723, at 480 (1914), ARCHIVES MD.
 ONLINE, https://msa.maryland.gov/megafile/msa/speccol/sc2900/sc2908/000001/000034/html/am34--480.html (last
 visited Jan. 13, 2019).
 324
     39 PROCEEDINGS AND ACTS OF THE GENERAL ASSEMBLY, 1733-1736, at 113 (1919), ARCHIVES MD. ONLINE,
 http://aomol.msa.maryland.gov/000001/000039/html/am39--113.html (last visited Jan. 13, 2019).
 325
     52 PROCEEDINGS AND ACTS OF THE GENERAL ASSEMBLY, 1755-1756, at 450 (1935), ARCHIVES MD. ONLINE,
 https://msa.maryland.gov/megafile/msa/speccol/sc2900/sc2908/000001/000052/html/am52--450.html (last visited
 Jan. 13, 2019).
 326
     Id. at 458.


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 company of militia.”327 The 1777 convention retained the new maximum of 50 years and excluded
 non-whites.328 A 1778 militia act did not change the ages or arms requirements.329
     Then in 1781, the legislature passed “An Act to raise two battalions of militia for reinforcing
 the continental army, and to complete the number of select militia.” The minimum age remained
 sixteen.330 The new law ordered local governments to draft one or two men to serve the
 Continental Army. It allowed lieutenants to play favorites: “to ease the good people, from the
 draught, every free male idle person, above 16 years of age, who is able bodied, and hath no visible
 means of an honest livelihood, may be adjudged a vagrant by the lieutenant, and by such
 adjudication he is to be considered as an enlisted soldier.”331
     When Maryland ratified the Second Amendment on December 19, 1789,332 every militia it had
 ever assembled consisted of men sixteen and older, who provided their own firearms.
     The first time Maryland increased its militia age was in 1793, when it modified its laws to align
 with the federal Uniform Militia Act of 1792. This new militia statute raised the minimum age to
 eighteen and lowered the maximum age to forty-five.333
     A 1793 supplement included a provision for a “one complete company of infantry annexed to
 each regiment within this state, to be furnished with arms and accoutrements at the expense of the
 state … composed of men between the ages of twenty-one and thirty years.”334 This provision for
 select companies of infantry did not change the requirement for all other able bodied males
 between 18 and 45 to enroll in the general militia, and to provide their own personal arms. 335 As

 327
     78 PROCEEDINGS OF THE CONVENTIONS OF THE PROVINCE OF MARYLAND, 1774-1776, at 20 (1836), ARCHIVES
 MD. ONLINE, http://aomol.msa.maryland.gov/000001/000078/html/am78--20.html (last visited Jan. 13, 2019); id. at
 74.
 328
       An Act to Regulate Militia, 1777 Md. Laws, Ch. XVII, Sec. II (expired in 1785),
 http://aomol.msa.maryland.gov/megafile/msa/speccol/sc4800/sc4872/003180/html/m3180-0361.html .
 329
       203 HANSON’S LAWS OF MARYLAND 1763-1784, at 192-93 (1787), ARCHIVES MD. ONLINE,
 http://aomol.msa.maryland.gov/000001/000203/html/am203--192.html (last visited Jan. 13, 2019).
 330
     MARYLAND HISTORICAL SOCIETY, 18 ARCHIVES OF MARYLAND: MUSTER ROLLS AND OTHER RECORDS OF SERVICE
 OF MARYLAND TROOPS IN THE AMERICAN REVOLUTION 1775-1783 at 374 (1900).
 331
       203 HANSON’S LAWS OF MARYLAND 1763-1784, at 279 (1787), ARCHIVES MD. ONLINE,
 http://aomol.msa.maryland.gov/000001/000203/html/am203--279.html (last visited Jan. 13, 2019).
 332
     1 JOURNAL OF THE HOUSE OF REPRESENTATIVES OF THE UNITED STATES, supra note 280, at 307-09.
 333
        WILLIAM KILTY, THE LAWS OF MARYLAND: 1785-1799, ch. LIII, at 455 (1800),
 https://play.google.com/books/reader?id=SZxaAAAAYAAJ&hl=en&pg=GBS.PT447. There were exemptions for
 “quakers, menonists and tunkers, and persons conscientiously scrupulous of bearing arms, and the apprentices of their
 trade.” Excusal on grounds of disability required a certificate from “the surgeon of the regiment to which he shall
 belong, or some reputable physician in his neighbourhood.” Id. at 460. Quakers, Mennonites, and Dunkers are pacifist
 Protestant denominations. The Dunkers are also known as the Church of the Brethren and have Baptist roots.
 334
     A Supplement to the Act, Entitled, An Act to Regulate and Discipline the Militia of this State, 1798 Md. Laws, Ch.
 C,                 Section                 XXIII,                  ARCHIVES                   MD.                 ONLINE,
 http://aomol.msa.maryland.gov/megafile/msa/speccol/sc4800/sc4872/003181/html/m3181-1319.html (last visited
 Jan. 13, 2019). These state-provided arms were to be used only for militia duty. If used for “hunting, gunning or
 fowling” or not kept “clean and in neat order,” the firearm would be forfeited to the state and the militiaman would be
 forced to obtain a private firearm, which by comparison, was perfectly legal and expected to be used for non-militia
 purposes. Id. at Ch. C, Section XXX.
 335
     Since the supplemental act did not address the arms requirement established in the original act passed earlier that
 year, the following provision still applied:
           That every citizen so enrolled and notified, shall, within six months thereafter, provide- himself with
           a good musket or ﬁrelock, a sufficient bayonet and belt, two spare ﬂints, and a knapsack; a pouch
           with a box therein, to contain not less than twenty-four cartridges suited to the bore of his musket
           or ﬁrelock, each cartridge to contain a proper quantity of powder and, ball; or with a good rifle,


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 the Act explained, “the privates and non-commissioned officers of the said company, as they shall
 respectively arrive at the age of thirty years, shall be dismissed from the company … and shall be
 subject to militia duty in the same manner as other citizens above the age of thirty years.”336
     In 1799, Maryland’s final militia act of the eighteenth century copied federal law by calling
 for “all able bodied white male citizens between 18 and 45 years of age.”337


         C. North Carolina: Land grants for properly armed persons “above the age of
            fourteen years”
     In 1663, eight noblemen were granted the Carolina territory—which included what is now
 North Carolina and South Carolina—as a reward for their support of King Charles II as he was
 “restored” to the throne. The Charter of Carolina gave these men the authority to “to levy, muster
 and train all sorts of men, of what condition or wheresoever born … to make war and pursue the
 enemies.”338
     Pursuant to “Concessions and Agreements” in 1664, “All inhabitants and freemen of Carolina
 above seventeen years of age and under sixty shall be bound to bear arms and serve as soldiers
 whenever the grand council shall find it necessary.”339 To encourage settlement and to ensure that
 the settlers would be able to protect themselves, land grants were given to every properly armed
 freeman, every freewoman with an armed servant, plus additional land for each armed person
 produced who was “above the age of fourteen years” and had “a good firelock or matchlock bore,
 twelve bullets to the pound, ten pounds of powder, and twenty pounds of bullets.”340 The
 Fundamental Constitutions of Carolina in 1669 repeated the 1664 Concessions and Agreements
 rules for people 17-60.341
     A 1712 letter from North Carolina’s acting Governor Thomas Pollock to Lord John Carteret
 recalled that “at the last assembly with much struggling we obtained a law that every person
 between 16 and 60 years of age able to carry arms that would not go out to the war against the
 Indians, should forfeit and pay £5.”342
     The minimum militia age of sixteen was maintained in a 1715 act, declaring that “the Militia
 of this Governmt. shall consist of all the Freemen within the same between the years of Sixteen


            knapsack, shot-pouch and powder-horn, twenty balls suited to the bore of his rifle, and a quarter of
            a pound of powder, and shall appear so armed, accoutred and provided, when called out to exercise
            or into service.
 KILTY, THE LAWS OF MARYLAND: 1785–1799, supra note 333, ch. LIII, at 455.
 336
     Id. at Ch. C, Section XXX.
 337
     1 THOMAS HERTY, A DIGEST OF THE LAWS OF MD. 369 (1799).
 338
     CHARTER OF CAROLINA (Mar. 24, 1663), http://avalon.law.yale.edu/17th_century/nc01.asp.
 339
     AMERICA’S FOUNDING CHARTERS: PRIMARY DOCUMENTS OF COLONIAL AND REVOLUTIONARY ERA GOVERNANCE
 232 (Jon L. Wakelyn ed. 2006) (Concessions and Agreements, Jan. 11, 1664) (available on Google Books).
 340
     Id. at 210-11.
 341
     1 THE STATE RECORDS OF NORTH CAROLINA 205 (1886).
 342
     Id. at 877 (letter of Sept. 20, 1712). The war was North Carolina and its Indian allies against the Tuscarora Indians
 and their Indian allies. See DAVID LA VERE, THE TUSCARORA WAR: INDIANS, SETTLERS, AND THE FIGHT FOR THE
 CAROLINA COLONIES (2016). The Cartaret family were among the proprietors of North Carolina. STEWART E.
 DUNAWAY, LORD JOHN CARTERET, EARL GRANVILLE: FAMILY HISTORY AND THE GRANVILLE GRANTS IN NORTH
 CAROLINA 56 (2013).


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 years & Sixty.”343 This included free blacks. Each militiaman had to provide himself with “a good
 Gun well-fixed Sword & at least Six Charges of Powder & Ball.”344
      The enrollment of all freemen of all colors aged 16 to 60 was retained in a 1740 act.345 These
 freemen had to appear with “a good Gun well fixed and a Sword or Cutlass and at least twelve
 Charges of powder and Ball or Swan Shot”346 (Swan shot is large shotgun pellets.)
      The next act in 1746 kept the same ages, but included servants in addition to freemen. 347 It
 also slightly modified the arms requirement, mandating that each militiaman appear with “a Gun,
 fit for service, a Cartouch Box, and a Sword, Cutlass, or Hanger [a type of sword], and at least
 Twelve Charges of Powder and Bail, or Swan Shot, and Six Spare Flints”348 This act was extended
 for another five years in 1749,349 and another three years in 1754.350 The 1756 act slightly modified
 the necessary arms and equipment, specifically requiring tools for gun cleaning.351 When this act
 was amended and continued in 1759, the arms and ages were unchanged.352
      The 1760 law introduced different arms mandates for mounted militiamen, including a pair of
 handguns plus a lightweight long gun. Every trooper (horseman) needed “Holsters, Housing,
 Breast-Plate and Crupper, a Case of good Pistols, a good Broad Sword, Twelve Charges of Powder,
 Twelve sizeable Bullets, a Pair of Shoe-Boots, with suitable Spurs, and a Carbine well fixed, with
 a good Belt, Swivel and Bucket.”353
      The militia act of 1764 had similar age and arms requirements, except that swan shot was now
 mandatory for infantry.354 The act was continued in 1766.355 Then in 1768, “sizeable Bullets”
 were restored as an acceptable alternative to swan shot.356


 343
     1715 N.C. Sess. Laws 29.
 344
     Id.
 345
      An Act for the better Regulating the Militia of this Government, N.C. OFF. ARCHIVES & HIST.,
 http://www.ncpublications.com/Colonial/editions/Acts/militia.htm (last updated Dec. 31, 2000).
 346
     Id.
 347
      An Act for the better Regulating the Militia of this Government, 1746 N.C. Sess. Laws 244,
 http://docsouth.unc.edu/csr/index.php/document/csr23-0016.
 348
     Id.
 349
     An Act for Altering, Explaining, and Continuing an Act, Intituled, an Act for the better Regulating the Militia in
 this Government, 1749 N.C. Sess. Laws 330, http://docsouth.unc.edu/csr/index.php/document/csr23-0022.
 350
     1754 N.C. Sess. Laws 266, http://docsouth.unc.edu/csr/index.php/document/csr25-0031.
 351
      An Act for the better Regulation of the Militia, and for other Purposes, 1756 N.C. Sess. Laws 334,
 http://docsouth.unc.edu/csr/index.php/document/csr25-0034 (“a well fixed Gun, and a Cartridge Box, and a Sword,
 Cutlass or Hanger, and have at least nine Charges of Powder and Ball, or Swan Shot, and three spare Flints, and a
 Worm and Picker”).
 352
     An Act to Amend and Continue an Act, Intituled, an Act for the better Regulation of the Militia, and for other
 Purposes, 1759 N.C. Sess. Laws 393, http://docsouth.unc.edu/csr/index.php/document/csr25-0040.
 353
          An      Act      for       Appointing       a    Militia,      1760      N.C.       Sess.    Laws       521,
 http://docsouth.unc.edu/csr/index.php/document/csr23-0040. This act was continued later that same year, and again
 in 1762. An Act to amend and continue an Act intitled An Act for appointing a Militia, 1760 N.C. Sess. Laws 535,
 http://docsouth.unc.edu/csr/index.php/document/csr23-0041;           1762       N.C.       Sess.      Laws       585,
 http://docsouth.unc.edu/csr/index.php/document/csr23-0043.
 354
     An Act for appointing a Militia, 1764 N.C. Sess. Laws 596, http://docsouth.unc.edu/csr/index.php/document/csr23-
 0044.
 355
     An Act to amend & Continue An Act, Intitled An Act for Appointing a Militia, 1766 N.C. Sess. Laws 496,
 http://docsouth.unc.edu/csr/index.php/document/csr25-0049.
 356
        An Act for establishing a Militia in this Province, 1768 N.C. Sess. Laws 761,
 http://docsouth.unc.edu/csr/index.php/document/csr23-0049.


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     The 1770 act eliminated a conscientious objector exemption and ordered “all Male Persons of
 the people called Quakers, between the age of Sixteen and Sixty” to enlist in the militia.357
 Additionally, the act provided that “the Father or where there is no Father living, the Mother of
 each and every Person under the age of Twenty One Years, shall be liable to the Payment of the
 Fines becoming due from their respective sons so under age.”358
     The 1774 militia act retained the age and arm requirements. 359 Perhaps reflecting wartime
 arms shortages, the 1777 act was less specific about particular firearms, requiring only that “each
 Militia soldier shall be furnished with a good Gun, shot bag and powder horn, a Cutlass or
 Tomahawk.”360 The maximum age was reduced: “the Militia of every County shall consist of all
 the effective men from sixteen to fifty years of age.” 361
     With the American Revolution raging, the 1779 act kept the maximum age of 50 and the
 minimum of 16.362 Religious exemptions were restored for “Quakers, Menonists, Dunkards, and
 Moravians.”363 “[E]ach Militia Soldier [had to] be furnished with a Good Gun, Shot bag a
 Cartouch Box or powder Horn, a Cutlass or Tomahawk.”364
     The 1781 act was more flexible on the requisite arms. Infantry needed “a good gun and shot
 bag, and powder horn or cartouch box, and havre sack.”365 Cavalry troopers needed “a gun, sword,
 and cartouch box.”366
     The following year, “An Act for Raising troops to compleat the Continental Battalions of this
 State, and other purposes” was passed. This was a draft for the Continental Army. Subject to the
 draft were “all the inhabitants . . . between the ages of sixteen and fifty.”367 To prevent the
 widespread community practice of filling draft ranks with the most vulnerable and least motivated,
 the act specified that “no British or Hessian deserter who hath not been a resident of this State
 twelve months, or orphan or apprentice under eighteen years of age, Indian, sailor or negro slave,
 shall be received as a substitute for any class volunteer or draft whatever.”368 So a 19-year-old
 who was drafted could hire an older man to serve as a substitute, but could not hire a 17-year-old
 orphan.

 357
     An Act for an Addition to, and Amendment of an Act, entitled, An Act for Appointing a Militia, 1770 N.C. Sess.
 Laws 787, http://docsouth.unc.edu/csr/index.php/document/csr23-0051.
 358
     Id. at 788. Similarly, “the master, and where there is no master, the mistress of all such Apprentices and Servants
 shall be liable to the Payment of Fines becoming Due from their respective Apprentices and Servants.” Id.
 359
     An Act to Establish a Militia for the Security and Defence of this Province, 1774 N.C. Sess. Laws. 940-41,
 http://docsouth.unc.edu/csr/index.php/document/csr23-0054.
 360
     An Act to Establish a Militia in this State, 1777 N.C. Sess. Laws 1,
 http://docsouth.unc.edu/csr/index.php/document/csr24-0001.
 361
     Id.
 362
     An Act to Regulate and Establish a Militia in this State, 1779 N.C. Sess. Laws 190,
 https://docsouth.unc.edu/csr/index.php/document/csr24-0005.
 363
     Id. “Menonists” encompasses several Protestant sects who trace their origin to the Dutch pacifist priest Menno
 Simons. “Dunkards” derived their name from their practice of full-immersion baptism. Moravians descend from the
 early fifteenth century Czech Protestant reformer Jan Hus. Mainly from central Europe, they became pacifist after
 failed uprisings in the seventeenth century.
 364
     Id. at 191.
 365
     An Act to regulate and establish a Militia in this State, 1781 N.C. Sess. Laws 359,
 http://docsouth.unc.edu/csr/index.php/document/csr24-0010.
 366
     Id. at 366.
 367
     An Act for Raising troops to compleat the Continental Battalions of this State, and other purposes, 1782 N.C. Sess.
 Laws 413, http://docsouth.unc.edu/csr/index.php/document/csr24-0012.
 368
     Id. at 414.


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     After the war was over, the 1785 act raised the minimum militia age to 18. Militiamen included
 “all freemen and indented servants” (but not servants for life, a/k/a slaves). Militiamen had to arm
 themselves with “a well fixed gun and cartouch-box, with nine charges of powder made into
 cartridges and sizeable bullets or swan-shot, and one spare flint, worm and picker.”369
     North Carolina’s 1787 militia law370 was in effect when it ratified the Second Amendment on
 December 22, 1789.371 The militia law kept the militia as “all freemen and indented servants
 within this State, from eighteen to fifty years of age.”372 The required arms and equipment were
 now more specific and varied by role in the militia.373
     For commissioned officers in the infantry, “side arms” (handguns) “or a spontoon” (a pole
 arm). For private and non-commissioned officers, a musket or rifle, plus a cartridge box, powder
 horn, shot pouch “in good condition,” “nine charges of powder made into cartridges with sizeable
 balls or swan-shot,” a spare flint, and one worm and picker.374 As for artillerymen, they “shall be
 armed and accoutred with small arms in the same manner of the infantry, except the non-
 commissioned officers, who shall have swords instead of fire-arms.”375
     Horsemen, whether officers or privates, needed “a strong, serviceable horse, at least fourteen
 hands high, with a good saddle, bridle, holsters, one pistol, horseman’s sword and cap, a pair of
 shoe boots and spurs,” plus “a proper cartouch-box and cartridges all in good order.”376
     North Carolina’s next militia bill, passed on December 29, 1792, conformed to the federal
 Uniform Militia Act of 1792. The minimum age remained 18, while the maximum dropped to 45.
 The mandatory arms paralleled the federal statute. Each infantryman was required to “provide
 himself with a good musket or firelock, a sufficient bayonet and belt, two spare flints, a knapsack,
 a pouch with a box therein to contain not less than 24 cartridges suited to the bore of his musket
 or firelock, each cartridge to contain a proper quantity of powder and ball ; or with a good rifle,
 knapsack, shot-pouch and powder-horn, 20 balls suited to the bore of his rifle, and a quarter of a
 pound of powder.” 377
     The state’s final militia act of the eighteenth century was passed in 1796. It improved
 consistency with federal law and kept the previous age and arms requirements.378

        D. South Carolina: “all male persons in this Province, from the age of sixteen
           to sixty years”




 369
         An Act for Establishing a Militia in This State, 1785 N.C. Sess. Laws 710,
 http://docsouth.unc.edu/csr/index.php/document/csr24-0016.
 370
     An Act for Establishing a Militia in this State, 1787 N.C. Sess. Laws 813,
 http://docsouth.unc.edu/csr/index.php/document/csr24-0017.
 371
     1 JOURNAL OF THE HOUSE OF REPRESENTATIVES OF THE UNITED STATES, supra note 280, at 311–12.
 372
      An Act for Establishing a Militia in this State, supra note 370, at 813.
 373
     Id. at 814.
 374
     Id.
 375
     Id.
 376
     Id.
 377
     1792 N.C. Sess. Laws 33, https://babel.hathitrust.org/cgi/pt?id=nc01.ark:/13960/t8sb53g1g;view=1up;seq=33.
 378
     1796 N.C. Sess. Laws 57, https://babel.hathitrust.org/cgi/pt?id=nc01.ark:/13960/t6n02562t;view=1up;seq=57.


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       South Carolina was formally separated from North Carolina in 1729 but began making its own
 laws before that. Its first militia statute was enacted in 1703.379 It included “all and every the
 inhabitants from the age of sixteen years to sixty.”380 It required “each person or soldier” to appear
 “with a good sufficient gun, well fixed, a good cover for their lock, one good cartridge box, with
 at least twenty cartridges of good powder and ball, and one good belt or girdle, one ball of wax
 sticking at the end of the cartridge box, to defend the arms in rain, one worm, one wier and four
 good spare flints, also a sword, bayonet or hatchet.”381
       The arms and age requirements were retained in the 1707 militia act.382 This act was revived
 and continued in 1721.383 The 1721 act made only minor changes for arms; militiamen now had
 to bring at least a quarter pound of powder, and only twelve cartridges instead of twenty.384
 Additionally, troops of horse or dragoons had to provide themselves with “holsters and a pair of
 pistols, a carbine and sword.”385 The next act, in 1734, was identical to 1721.386
       South Carolina’s 1737/8 militia act is lost.387 A 1739 supplement did make it clear that militia
 arms were to be kept at home: “all persons who are liable to bear arms, shall constantly keep in
 their houses such arms, furniture, ammunition and accoutrements.” 388
       A 1747 act affirmed that it was “lawful to . . . call together all male persons in this Province,
 from the age of sixteen to sixty years.” It also made “every person liable to appear and bear arms
 . . . keep in his house, or at his usual place of residence, and bring with him to such muster, exercise
 or training, one gun or musket, fit for service, a cover for his lock, one cartridge box,” twelve
 cartridges, horn or flask filled with at least a quarter pound of gun powder, a shot pouch with
 appropriate bullets, “one girdle or belt, one ball of wax . . . to defend his arms in rain, one worm
 and picker, four spare flints, a bayonet, sword or hatchet.”389
       The next militia act was passed over four decades later, in 1778.390 It applied to “all male free
 inhabitants . . . from the age of sixteen to sixty years.”391 Every militiaman had to “constantly keep
 in good repair, at his place of abode . . . one good musket and bayonet, or a good substantial smooth
 bore gun and bayonet, a cross belt and cartouch box” that could hold thirty-six rounds, “twelve
 rounds of good cartridges,” plus “half a pound of spare powder and twenty-four spare rounds of
 leaden bullets or buck-shot,” a cover for the gunlock, wax, worm picker, and “one screw driver or
 substantial knife.” Instead of the musket plus bayonet, a militiaman could choose “one good rifle-
 gun and tomahawk or cutlass.”392

 379
    9 THE STATUTES AT LARGE OF SOUTH CAROLINA: CONTAINING THE ACTS RELATING TO ROADS, BRIDGES AND
 FERRIES, WITH AN APPENDIX, CONTAINING THE MILITIA ACTS PRIOR TO 1794, at 617 (David J. McCord ed., 1841),
 https://books.google.com/books/about/The_Statutes_at_Large_of_South_Carolina.html?id=t7Q4AAAAIAAJ.
 380
     Id.
 381
     Id. at 618.
 382
     Id. at 625-26.
 383
     Id. at 631.
 384
     Id. at 632.
 385
     Id. at 639.
 386
     Id. at 641.
 387
     3 THE STATUTES AT LARGE OF SOUTH CAROLINA 487 (Thomas Cooper, ed., 1838) (“The original not to be found.”).
 388
     9 THE STATUTES AT LARGE OF SOUTH CAROLINA, supra note 367, at 643.
 389
     Id. at 645-47. This act was followed in 1760 by an act establishing and regulating the artillery company that was
 formed out of the Charleston militia. Id. at 664.
 390
     Id. at 666.
 391
     Id. at 672.
 392
     Id. at 672-73.


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      South Carolina’s 1782 militia act kept the minimum age at 16 but lowered the maximum age
 to 50.393 A temporary act in 1783 left the age and arms requirements unchanged.394
      The minimum age was raised for the first time in South Carolina’s history in the militia act of
 1784, which defined the militia when the state ratified the Second Amendment on January 19,
 1790.395 The 1784 act “excused from militia duty, except in times of alarm . . . all persons under
 the age of eighteen years or above the age of fifty years.”396 Thus, men under 18 or over 50 could
 still be forced to serve in an emergency.
      The necessary arms were revised in 1791. Firearms were “a good musket and bayonet . . . or
 other sufficient gun.” 397 Edged arms were “a good and sufficient small sword, broad sword,
 cutlass or hatchet.” 398 Along with the usual cartouch box, powder horn or flask, shot bag or pouch,
 spare flint, and ammunition.399
      Almost exactly one year later, on December 21, 1792, an act 400 was passed that continued the
 Acts of 1784 and 1791, until the state could “arrange the militia agreeable to the Act of the United
 States in Congress.”401 The South Carolina militia expressly included free people of every color
 within the state: “all free negroes and Indians, (nations of Indians in amity with the State excepted,)
 Moors, mulattoes and mestizoes,402 between the ages of eighteen and forty-five, shall be obliged
 to serve in the said militia.”403
      Finally, in 1794, the state organized its militia “in conformity with the act of Congress.”404
 The South Carolina militia was “every citizen who shall, from time to time, arrive at the age of
 eighteen years.”405 It excluded “all persons under the age of eighteen, and above the age of forty-
 five years.”406 Additionally, “all free white aliens or transient persons, above the age of eighteen
 and under the age of forty-five years, who have resided or hereafter shall or may reside in this state
 for the term of six months [were] subject and liable to do and perform all patrol and militia duty




 393
     Id. at 682.
 394
     Id. at 688.
 395
     1 JOURNAL OF THE HOUSE OF REPRESENTATIVES OF THE UNITED STATES, supra note 280, at 309–11.
 396
     9 THE STATUTES AT LARGE OF SOUTH CAROLINA, supra note 379, at 689–90.
 397
     Id. at 691.
 398
     Id.
 399
     Id.
 400
     Id. at 347-59.
 401
     Id. at 358.
 402
     Mixed-race descent of whites and Indians. The Indian amity language meant that an Indian who lived among South
 Carolinians was subject to militia duty. Because Indian tribes were legally separate nations, Indians of friendly tribes
 who lived with the tribe could not be subject to militia duty.
 403
     Id. at 358.
 404
     8 THE STATUTES AT LARGE OF SOUTH CAROLINA: CONTAINING THE ACTS RELATING TO CORPORATIONS AND THE
 MILITIA 485 (David J. McCord ed., 1841), https://books.google.com.fj/books?id=4EgUAAAAYAAJ.
 405
     Id. at 487.
 406
     Id. at 492.


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 which shall or may be required by the commanding officer” of the district.”407 The required arms
 were the same as the federal Uniform Militia Act.408

        E. New Hampshire: males under seventy
     New Hampshire’s first militia act was passed in 1687.409 It demanded “that no person
 whatsoever above Sixteene yeares of age remaine unlisted.”410 Equipment was “a well fixed
 musket” with a barrel at least three feet.411 The caliber was large: “the bore for a bullett of twelve
 to the pound.”412 Also necessary were bandoliers and a cartridge box, plus bullets and powder.413
 Officers had the option of allowing their men to have “a good pike and sword” instead of the
 musket.414
     As for horsemen, “every soldier belonging to the horse” had to bring “a good serviceable horse
 covered with a good saddle with holsters breastplate and crupper a case of good pistolls and sword
 and halfe a pound of powder and twenty sizable bulletts . . . And every trooper have at his usuall
 place of abode a well fixed Carabine with belt and swivel.”415
     The next act, in 1692, changed the militia from all “persons” over sixteen to all males over
 16.416 For arms, everyone had to be “well provided w’th a well fixed gun or fuse,” plus “Sword
 or hatchet.”417 Along with the typical colonial requirements for gunpowder and bullets, a
 knapsack, a cartridge box, a powder horn, and flints.418
     The above had stated how much ammunition the militiaman had to bring when called to
 muster—the periodic militia inspections for sufficiency of arms. Besides that, every militiaman
 had to keep more at home: “every Sooilder Shall have at his habitation & abode one pound of good
 pouder & twenty Sizable bullets.”419




 407
     Id. at 493. The “patrol” was the slave patrol—nighttime patrols to catch slaves who were off their master’s land,
 and to search slave quarters for weapons. The patrol and the militia had separate origins and were legally distinct.
 However, as the text indicates, below the Mason-Dixon line, the patrol and the militia were related. See generally
 SALLY E. HADDEN, SLAVE PATROLS: LAW AND VIOLENCE IN VIRGINIA AND THE CAROLINAS (2001).
 408
     8 THE STATUTES AT LARGE OF SOUTH CAROLINA: CONTAINING THE ACTS RELATING TO CORPORATIONS AND THE
 MILITIA, supra note 404, at 498. This law was supplemented later in 1794, but the supplement did not affect the age
 limits nor arms requirements. Id. at 501-02.
 409
       1 LAW OF NEW HAMPSHIRE: PROVINCE PERIOD 221 (Albert Stillman Batchellor ed., 1904),
 https://play.google.com/store/books/details?id=YSgTAAAAYAAJ.
 410
     Id.
 411
     Id.
 412
     Id. That is, one pound of lead would make twelve bullets. This was slightly larger than .75 caliber, which is 13
 round bullets per pound. RED RIVER BRIGADE, http://www.redriverbrigade.com/lead-ball-per-pound/ (last visited Jan.
 13, 2019).
 413
     1 LAWS OF NEW HAMPSHIRE: PROVINCE PERIOD, supra note 397.
 414
     Id.
 415
     Id. at 221-22
 416
     Id. at 537.
 417
     Id.
 418
     Id.
 419
     Id.


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      A 1704 act did not change the militia ages or arms.420 But the following act did. “An Act for
 the Regulating of the Militia” in 1718 established New Hampshire’s first upper militia age limit,
 providing that “all Male Persons from Sixteen Years of Age to Sixty [] shall bear Arms.”421
      The primary arms mandate applied to “every Listed Souldier and Housholder (except
 Troopers).”422 In other words, the head of a house was required to have the specified arms, even
 if the head were not militia-eligible. These arms were “a well fix’d, Firelock Musket, of Musket
 or Bastard-Musket bore, the Barrel not less than three foot and a half long; or other good Fire-
 Arms, to the satisfaction of the Commission Officers of the Company.” 423 Now, the mandatory
 equipment included gun cleaning tools: “a Worm and Priming Wire fit for his Gun.”424 Mandatory
 edged arms were “a good Sword or Cutlash.”425
      As for horsemen, they needed “a Carbine, the Barrel not less than Two Foot and half long,
 with a Belt and Swivel, a Case of good Pistols with a Sword or Cutlash, a Flask or Cartouch Box,
 One Pound of good Powder, Three Pound of sizeable Bullets, Twenty Flints, and a good pair of
 Boots, and Spurs.”426
      Acts passed in 1719427 and 1739/40428 did not affect the age limits or arms requirements. A
 1754 revision made the parents over persons under twenty-one liable for fines imposed for their
 sons’ militia delinquency or neglect.429
      Thus, the social expectation of the time was that parents would ensure that their sons sixteen
 and older had particular guns, swords, and so on, and that the sons would keep the arms in good
 condition and practice with them.
      In 1773, New Hampshire lowered the maximum militia age from 60 to 50, “it having been
 found by Experience that persons attending after the Age of Fifty Years was not for the Publick
 advantage.”430
      After the Revolution began, a comprehensive new militia law was enacted.431 It retained the
 recently established age limits of 16 to 50. 432
      Any “good Fire Arm” was acceptable. Also mandatory was a “good Ramrod.”433 The latter
 was used to ram the bullet down the muzzle, into the firing chamber. It was essential to the use of
 a muzzle-loading gun. While some militia statutes specified a ramrod, many left it to implication.



 420
       2 ALBERT STILLMAN BATCHELLOR, LAWS OF NEW HAMPSHIRE, PROVINCE PERIOD 61-62 (1913),
 https://play.google.com/store/books/details?id=PbxGAQAAIAAJ.
 421
     Id. at 284.
 422
     Id. at 285.
 423
     Id.
 424
     Id.
 425
     Id.
 426
     Id.
 427
     Id. at 347 (“An Act in Addition to the Act for the Regulating the Militia”).
 428
     Id. at 575 (“An Act in Addition to an Act Entituled, An Act for Regulating the Militia”).
 429
       3 LAWS OF NEW HAMPSHIRE, PROVINCE PERIOD 83 (Henry Harrison Metcalf ed., 1915),
 https://play.google.com/store/books/details?id=n7xGAQAAIAAJ.
 430
     Id. at 590.
 431
     4 LAWS OF NEW HAMPSHIRE, REVOLUTIONARY PERIOD 39 (Henry Harrison Metcalf ed., 1916) (“An Act for forming
 and regulating the Militia within the State of New Hampshire in New England, and for repealing all the Laws
 heretofore made for that purpose”), https://play.google.com/store/books/details?id=P71GAQAAIAAJ.
 432
     Id.
 433
     Id. at 42.


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 By requiring that a gun be “well fixed” or “good,” the less specific statutes implicitly required all
 appropriate accoutrements, including the ramrod.
     For gun cleaning, the worm and priming wire had long been mandated. The new laws had an
 additional item: a brush.434
     Two types of edged weapons were needed. First, “a Bayonet fitted to his Gun.”435 In close
 quarters fighting, an infantryman would attach the bayonet to the front of his gun. Then the gun
 would be used as a spear. Since there was a bayonet, there had to be “a Scabbard and Belt
 therefor.”436
     Besides the bayonet, one additional edged weapon was mandatory: “a Cutting Sword, or a
 Tomahawk or Hatchet.”437
     The ammunition items were: “Pouch containing a Cartridge Box, that will hold fifteen Rounds
 of Cartridges at least, a Hundred Buck Shot, a Jack Knife and Tow for Wadding, six Flints, one
 Pound of Powder, forty Leaden Balls fitted to his Gun.”438
     Finally, field supplies: “Knapsack and Blanket, a Canteen or Wooden Bottle sufficient to hold
 one Quart.”439
     Persons who were self-sufficient had to supply themselves with the required items. As for
 others, “all Parents, Masters, and Guardians, shall furnish and equip those of the Militia which are
 under their Care and Command.”440
     In the War of Independence—for national survival—arms duties were expanded even to 65-
 year-olds. All men “from Sixteen years of Age to Sixty five” who were not part of the militia (“the
 Training Band”) were required to provided themselves the same “Arms and Accoutrements.” This
 applied to men “of sufficient Ability” (able-bodied).441
     Later, four years into the war, in 1780, New Hampshire enacted a new militia law. 442 The
 militia was ages sixteen and fifty.443 The militiamen had to attend musters and drills, and
 sometimes had to march off to fight in distant locations.
     Under the 1780 law, all males under 70 who were capable of bearing arms were put on the
 “alarm list.”444 This meant that they had to have all the same arms and gear as militiamen.445 If
 there were an attack on their town, or nearby, they would come forth with their arms.
     The New Hampshire statute reflected a common American practice. Whenever a small town
 was attacked, everybody who was able would fight as needed, including women, children, and the
 elderly.446


 434
     Id.
 435
     Id.
 436
     Id.
 437
     Id.
 438
     Id.
 439
     Id.
 440
     Id.
 441
     Id. at 46.
 442
     Id. at 273 (“An Act for Forming & Regulating The Militia within this State, and for Repealing All the Laws
 heretofore made for that Purpose.”).
 443
     Id. at 274.
 444
     Id. at 276.
 445
     Id.
 446
     See, e.g., STEVEN C. EAMES, RUSTIC WARRIORS: WARFARE AND THE PROVINCIAL SOLDIERS ON THE NEW ENGLAND
 FRONTIER, 1689-1748, at 28-29 (2011).


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     The 1780 firearms requirement was more specific than its 1776 predecessor, requiring “a good
 Musquet.”447 The bayonet was still mandatory, but a second edged weapon was not.448 Captains
 and Subalterns were to be “furnished with a half pike or Espontoon” (pole arms) or a “Fusee
 [lightweight long gun] and Bayonet and also with a Sword or Hanger.”449
     In 1786, New Hampshire repealed all previous militia laws, and enacted a comprehensive new
 statute.450 This was the state’s militia law when it ratified the Second Amendment on January 25,
 1790.451 The minimum age remained at 16—where it had been throughout all of New Hampshire’s
 history. The maximum age fell to 40, its lowest yet.452 Older men were on the alarm list until age
 60.453
     Arms were the same as in 1780.454 As before, militiamen “under the care of parents masters
 or Guardians” were “to be furnished by them with such Arms and accoutrements.”455
     A 1792 militia law introduced a racial element; the militia consisted of “every free, able bodied
 white male citizen of this State resident therein who is, or shall be of the age of eighteen years and
 under the age of Forty years.”456
     The 1792 arms requirements were mostly the same as before, with some additional details. For
 example, commissioned officers had to have “a pair of Pistols, the holsters of which to be covered
 with bear-skin Caps.”457 Commissioned officers might have an espontoon (a pole arm often used
 for signaling), but field officers would not.458 Again, “parents, Masters, or Guardians” had to
 furnish their charges with “Arms and Accoutrements.”459 And again they were “liable for the
 neglect and non appearance of such persons . . . under their care.”460
     In 1795 the starting militia age was lowered back to sixteen, where it had been until recently.461
 Perhaps the 1792 age-eighteen law was in deference to the federal Uniform Militia Act passed
 earlier that year. Later, the people decided that they wanted to keep their traditional lower age.


 447
     Id. at 276-77.
 448
     Id.
 449
     Id. at 277.
 450
      5 LAWS OF NEW HAMPSHIRE, FIRST CONSTITUTIONAL PERIOD 177 (Henry Harrison Metcalf ed., 1916),
 https://play.google.com/store/books/details?id=iKkwAQAAMAAJ. An addition to this act was passed in September
 of 1786, but it did not affect the age limits or arms requirements. Id. at 197.
 451
     1 JOURNAL OF THE HOUSE OF REPRESENTATIVES OF THE UNITED STATES, supra note 280, at 303-04.
 452
     5 LAWS OF NEW HAMPSHIRE, FIRST CONSTITUTIONAL PERIOD, supra note 450, at 177.
 453
     Id. at 178.
 454
     Id. at 180.
 455
     Id. at 179. Also, as usual, “Parents Masters and Guardians shall be liable for the Neglect and Non Appearance of
 such persons as are under their Care and are liable by Law to train.” Id. at 181.
 456
     6 LAWS OF NEW HAMPSHIRE, SECOND CONSTITUTIONAL PERIOD 84-85 (N.H. Sec’y of State ed., 1917) (available
 on Google Books).
 457
     Id. at 88.
 458
     Id. at 89.
 459
     Id.
 460
     Id.
 461
     Id. at 263-64 (“[E]very free, able bodied, white male citizen of this State resident therein who is or shall be of the
 age of sixteen years, and under forty years of age, under such exceptions as are made in this act, shall be enrolled in
 the Militia, and shall in all other respects be considered as liable to the duties of the Militia, in the same way and
 manner, as those of the age of eighteen years and upwards. And every citizen enrolled and liable as aforesaid; shall,
 while under the age of twenty one years be exempt from a poll tax.”).
      Other additions to the 1792 militia law were enacted in 1793. Id. at 110 (assigning certain militia units to
 regiments), 1795 (id. at 279), and 1798 (id. at 545).


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        F. Delaware: “every Freeholder and taxable Person”
     First a colony of Sweden and then the Netherlands, Delaware was taken by the English in 1664.
 Initially, New York claimed it. A statute New York passed in 1671 to defend against Indian attacks
 along the Delaware River became Delaware’s first militia act. It required “That every Person that
 can beare Arms from 16 to 60 years of Age, bee allways provided with a convenient proportion of
 Powder & Bullett fit for Service, and their mutual Defence.”462
     Eventually, Delaware got its own legislature, but the three compact counties were too small to
 merit a royal governor. Consequently, the Governor of Pennsylvania was also the Governor of
 Delaware. Delaware did not enact a militia statute until 1740.463 It required “all the inhabitants
 and freemen” aged fifteen to sixty-three to “provide and keep . . . a well-fixed firelock or musket,”
 plus ammunition supplies and cleaning tools.464
     The next year, a new law required males from 17 to 50 years to enlist. Besides that, everyone
 else who was living self-sufficiently (“every Freeholder and taxable Person”) had to have the same
 arms as militiamen.465
     Because “the Subjects of the French King, and their Savage Indian Allies . . . in the most cruel
 and barbarous Manner, attacked and murdered great Numbers” of colonists, the Assembly of the
 Counties of New Castle, Kent, and Sussex enacted a militia law in 1756. 466 This militia law for
 the French & Indian War was for the people to “assert the just Rights, and vindicate the Honour,
 of His Majesty’s Crown, but also to defend themselves and their Lives and Properties, and preserve
 the many invaluable Rights and Privileges that they enjoy under their present Constitution and
 Government.”467
     The militia law covered every male “above Seventeen and under Fifty Years of Age (except
 bought Servants, or Servants adjudged to serve their Creditors).”468 The gun was to be a musket
 or rifle.469 The next year the militia act was extended “so long as the War proclaimed by his
 Majesty against the French King shall continue and no longer.”470
     After the Revolution began, Delaware enacted several militia statutes in 1778. The
 foundational act “establishing a Militia within this State” included “each and every able-bodied,
 effective, Male white Person between the Ages of Eighteen and Fifty.” 471 Militiamen had to
 provide their own “Musket or Firelock with a Bayonet,” plus the cartridge box, cartridges, priming


 462
         GEORGE H. RYDEN, DELAWARE—THE FIRST STATE IN THE UNION 103-104 (1938),
 https://archives.delaware.gov/wp-content/uploads/sites/156/2017/05/DE_Terc_Publications.pdf.
 463
             1        LAWS        OF         THE       STATE         OF        DELAWARE           175         (1797),
 https://play.google.com/store/books/details?id=GXJKAAAAYAAJ).
 464
     Id. at 175, 178.
 465
     RYDEN, supra note 462, at 117. A “freeholder” owned real property. Single women could be freeholders. A tenant
 was not a freeholder, but could be a taxable person.
 466
     ARTHUR VOLLMER, MILITARY OBLIGATION: DELAWARE ENACTMENTS 179 (1947).
 467
     Id.
 468
     Id.
 469
     Id. at 180.
 470
     RYDEN supra note 462, at 126.
 471
     AN ACT of the General Assembly of the Delaware State for establishing a militia within the said state, 1778 Del.
 Acts, March Adjourned Session 3-4. The several acts from the March 1778 session are separately paginated, so each
 new act begins on its own page 1.


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 wire, brush, and six flints. For 18-to-20-year-olds who could not afford the mandatory arms, the
 parents had to provide them, if the parents could afford them.472
     Another law punished people who bought from militiamen the arms or accoutrements that
 militiamen were supposed to always keep. If the illicit buyer were a man 18 to 50, the punishment
 could include six months’ service in the militia.473 The third act in 1778 provided regulations for
 the militia “whilst under Arms or embodied” (i.e., in active service).474 A 1779 supplement
 specified the punishment for persons between 18 and 50 who failed to appear for militia duty with
 the required arms.475
     A comprehensive new militia act in 1782 included “every able-bodied effective Male white
 Inhabitant between the Ages of eighteen and fifty years.”476 Again, parents who could afford to
 had to provide the required arms to persons aged 18-to-20 who could not afford them.477 Arms
 were the same as before.478
     The act that established the militia when Delaware ratified the Second Amendment on January
 28, 1790,479 was passed in 1785.480 Each white male 18-50 whose taxes were at least twenty
 shillings a year had to provide equipment “at his own expence.”481 As for apprentices and persons
 over 18 and under 21, their parent or guardian would provide the arms—if the militiaman’s estate
 were at least eighty pounds, or if the parent paid “six pounds annually towards the public taxes.”482
     Arms were “a musket or firelock, with a bayonet,” a cartridge box with twenty-three cartridges,
 “a priming wire, a brush and six flints, all in good order.” 483 Fines for neglect were to be paid by
 militiamen “of full age or by the parent or guardian of such as are under twenty-one years.”484 The
 guardian could charge his ward for the expense when the time came for “settling the accounts of
 his guardianship.”485
     Like most states, Delaware enacted a new militia law after the federal Uniform Militia Act
 passed in 1792. Delaware’s 1793 act included “each and every free able bodied white male citizen
 of this state, who is or shall be of the age of eighteen years, and under the age of forty-five years.”486
 However, “all young men under the age of twenty-one years, and all servants purchased bona fide,
 and for a valuable consideration, [were] exempted from furnishing the necessary arms,

 472
     Id. at 4-5.
 473
     An Act against Desertion, and harboring Deserters, or dealing with them in Certain Cases, 1778 Del. Acts Mar.
 Adjourned Sess. 1-3.
 474
     Rules and Articles, for the better regulating of the militia of this State, whilst under Arms or embodied, 1778 Del.
 Acts Mar. Adjourned Sess. 1.
 475
     A Supplement to an Act, intitled, An Act for establishing a Militia within this State, 1778 Del. Acts Oct. Regular
 Sess. 14.
 476
       AN ACT for establishing a Militia within this State, 1, Jan. Adjourned Sess. 1782,
 http://heinonline.org/HOL/P?h=hein.ssl/ssde0069&i=1.
 477
     Id. at 3.
 478
     Id.
 479
     1 JOURNAL OF THE HOUSE OF REPRESENTATIVES OF THE UNITED STATES, supra note 280, at 307.
 480
     An Act for Establishing a Militia, 1785 Del. Acts. May Adjourned Sess. 11.
 481
     Id at 13.
 482
     Id.
 483
     Id.
 484
     Id.
 485
     Id.
 486
     2 LAWS OF THE STATE OF DELAWARE 1134 (1797),
 https://babel.hathitrust.org/cgi/pt?num=1134&u=1&seq=641&view=image&size=100&id=njp.32101042903870&q
 1=twenty-one.


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 ammunition and accoutrements . . . and [were] exempted from militia duties and fines during such
 minority or servitude, except in cases of rebellion, or an actual or threatened invasion.”487
     In other words, servants and males 18 to 20 would not be fined if they did not participate in
 drills. Additionally, they would not be fined if they lacked the requisite equipment. Of course, if
 they wanted to keep arms and train, they could.
     Required arms mostly tracked the federal law, with some more detail for horsemen.488
     A 1796 supplement revised the organization and regulation of the militia, and again included
 able-bodied white males from 18 to 45.489 The act also forbade volunteer militias, because there
 were “a number of free able bodied white men in this state, between the ages of eighteen and forty-
 five years, who neglect and refuse to muster and do militia duty, in the companies in which they
 have been enrolled . . . and yet meet together with arms in bodies distinguished and known by the
 name of Volunteer Companies.”490
     Delaware’s hostility to volunteer companies was not the national norm. In fact, the federal
 Uniform Militia Act expressly recognized independent volunteer companies.491 The UMA set
 forth the conditions and regulations for independent militia service in the federal militia.492




 487
     Id. at 1135. In other words, hired servants were part of the enrolled militia. Indentured servants were not, except
 in emergencies. Textually, slaves were “purchased…for a valuable consideration,” but we are not certain whether
 they too would be part of the militia during an emergency. Cf. supra note 221 (distinguishing “bought” servants from
 African slaves).
 488
     Id. at 1136.

          [E]very non-commissioned officer and private of the infantry (including grenadiers and light
          infantry, and of the artillery shall have a good musket or firelock, a sufficient bayonet and belt, two
          spare flints and a knapsack, a pouch, with a box therein to contain not less than twenty-four
          cartridges suited to the bore of his gun, each cartridge to contain a proper quantity of powder and
          ball, or with a good rifle, knapsack, shot pouch and powder horn, twenty balls suited to the bore of
          his rifle, and a quarter of a pound of powder; the commissioned officers of the infantry shall be
          armed with a sword or hanger, and an espontoon, and those of artillery with a sword or hanger, a
          fuzee, bayonet and belt, and a cartridge box to contain twelve cartridges; the commissioned officers
          of the troops of horse shall furnish themselves with good horses of at least fourteen hands and a half
          high, and shall be armed with a sword and pair of pistols, the holsters of which shall be covered with
          bear skin caps; each light-horseman or dragoon shall furnish himself with a serviceable horse at
          least fourteen hands and an half high, a good saddle, bridle, mail pillion and valise holsters, and a
          breast plate and crupper, a pair of boots and spurs, a pair of pistols, a sabre, and cartouch box to
          contain twelve cartridges for pistols; the artillery and horse shall be uniformly clothed in
          regimentals, to be furnished at their own expence.
 489
     Id. at 1225.
 490
     Id. at 1234 (noting that besides the concern about the state militia, Delaware also worried about “the assembling of
 large bodies of armed men, who do not acknowledge, and refuse to submit to, the legal military establishment.”).
 491
     More effectually to provide for the National Defence by establishing an Uniform Militia throughout the United
 States (Uniform Militia Act) (UMA), 1 Stat. 271, 274, §§ 10-11.
 492
     Id. (providing “And whereas sundry corps of artillery, cavalry, and infantry now exist in several of the said states,
 which by the laws, customs, or usages thereof have not been incorporated with, or subject to the general regulations
 of the militia: SEC. 11. Be it enacted, That such corps retain their accustomed privileges, subject, nevertheless, to all
 other duties required by this Act, in like manner with the other militia”).


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     Delaware passed its final militia act of the eighteenth century in 1799. 493 The scope of the
 militia remained the same.494 The arms were mostly the same: for the infantryman, “a good
 musket” plus a bayonet, or “a good rifle.” Commissioned officers needed “a sword or hanger, a
 fusee, bayonet,” and troopers had to be “armed with a sabre and pair of pistols.” 495
     Men 18 to 20 were again exempted from fines for non-performance of militia duties “during
 such minority, except in cases of rebellion or any actual invasion of this State.”496

        G. Pennsylvania: No service “without the consent of his or their parents or
           guardians, masters or mistresses”
     In the days when Pennsylvania was claimed by New York, a 1671 law required “every person
 that can bear arms from 16 to 60 years of age, be always provided with a convenient proportion of
 powder and bullet fit for service, and their mutual defence.”497 This meant “at least one pound of
 powder and two pounds of bullet.”498 As backup to insufficient armament by the people, “his
 Royal Highness’ Governor [N.Y. Gov. Francis Lovelace] is willing to furnish them out of the
 magazine or stores, they being accountable and paying for what they shall receive, to the Governor
 or his order.”499
     Five years later, it was mandated that:

         Every Male within this Goverment from Sixteen to Sixty years of age, or not freed
         by public Allowance, shall if freeholders at their own, if sons or Servants at their
         Parents and Masters Charge and Cost, be furnished from time to time and so
         Continue well furnished with Armes and other Suitable provition hereafter
         mentioned . . . Namely a good Serviceable Gun, allowed Sufficient by his Military
         Officer to be kept in Constant fitness for present Service, with a good sword
         bandeleers or horne a worme a Scowerer a priming wire Shott Badge and Charger
         one pound of good powder, four pounds of Pistol bullets or twenty four bullets
         fitted to the gunne, four fathom of Serviceable Match for match lock gunn four
         good flints fitted for a fire lock gunn.500

 As for horsemen, their mandatory arms were “Holsters, Pistolls, or Carbine, and a good Sword.”501



 493
     An Act to Establish an Uniform Militia throughout this State, 3 Del. Laws 82 (1798),
 https://babel.hathitrust.org/cgi/pt?q1=militia;id=njp.32101042904340;view=image;seq=88;start=1;sz=10;page=sear
 ch;num=82.
 494
     Id.
 495
     Id. at 84-85. Unlike muskets or fowling pieces, rifles of the time were too fragile to use with bayonets.
 496
     Id. at 84.
 497
         Ordinances     for     Defence,    in    DUKE      OF     YORKE’S     BOOK OF           LAWS     450  (1664),
 https://babel.hathitrust.org/cgi/pt?q1=ARMS;id=hvd.32044022680946;view=image;start=1;sz=10;page=root;size=1
 00;seq=466;num=450.
 498
     Id.
 499
     Id.
 500
     CHARTER TO WILLIAM PENN, AND LAWS OF THE PROVINCE OF PENNSYLVANIA, PASSED BETWEEN THE YEARS OF
 1682 AND 1700, PRECEDED BY DUKE OF YORK’S LAWS IN FORCE FROM THE YEAR 1676 TO THE YEAR 1682, at 39 (1676).
 501
     Id. at 43.


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     Pennsylvania became a separate colony in 1681, following a royal grant to the Quaker
 aristocrat William Penn.502 Early Pennsylvania was the only colony without an organized
 functional militia.503 Political power was in the hands of Quakers, many of whom (not all) were
 pacifists.504 Additionally, the Quakers had generally non-violent relations with Indians, and thus
 less need for collective self-defense.505
     However, after the French & Indian War began in 1754, George Washington raised and paid
 for an army of Virginians to fight the French in the Ohio River Valley, and attitudes began to
 change.506 Because of non-Quaker immigration, Quaker hegemony over Pennsylvania politics had
 been challenged in the previous decades.507 Then in 1755 Pennsylvania passed an act to formalize
 voluntary militias wanting to defend the colony.508 The 1755 militia law explained the assembly
 was respecting the conscience rights of Quakers (most of whom were unwilling to fight) and the
 conscience rights of people of other faiths, who did want to join in associations for community
 defense.509
     Minors and indentured servants could not join the new militia without the consent of their
 superiors: “no youth under the age of twenty-one years nor any bought servant or indented
 apprentice shall be admitted to enroll himself or be capable of being enrolled in the said companies
 or regiments without the consent of his or their parents or guardians, masters or mistresses, in
 writing under their hands first had and obtained.”510 Later in 1755, as the pressures of war were
 growing, the assembly adopted a non-binding resolution “that it be recommended to all male white
 persons within this province, between the ages of sixteen and fifty years, who have not already
 associated, and are not conscientiously scrupulous of bearing arms, to join the said [militia]
 association immediately.”511
     Five months later, Pennsylvania imposed a special tax on “every male white person capable of
 bearing arms, between the ages of sixteen and fifty years” who had not joined a militia.512 This


 502
     Pennsylvania History 1681-1776: The Quaker Province, PA. HIST. & MUSEUM COMMISSION,
 http://www.phmc.state.pa.us/portal/communities/pa-history/1681-1776.html (last visited Jan. 13, 2019).
 503
     Id.
 504
     DAVID B. KOPEL, THE MORALITY OF SELF-DEFENSE AND MILITARY ACTION: THE JUDEO-CHRISTIAN TRADITION
 384-89 (2017) (describing diverse Quaker views on defense of self and others, during and before the American
 Revolution).
 505
     PAUL A.W. WALLACE, INDIANS IN PENNSYLVANIA 142-46 (2d ed. 2005); see also, Thomas J. Sugrue, The Peopling
 and Depeopling of Early Pennsylvania: Indians and Colonists, 1680-1720, 116 PA. MAG. HIST. & BIO. 3 (Jan. 1992)
 (explaining the relationship of Penn’s settlers with the Indians as, although not typically characterized by war, not
 always idyllic and generous).
 506
     WALLACE, supra note 505, at 147-59.
 507
     JACK D. MARIETTA, THE REFORMATION OF AMERICAN QUAKERISM, 1748-1783, at 132-22 (2007).
 508
         5 THE STATUTES AT LARGE OF PENNSYLVANIA FROM 1682-1801, at 197 (1898),
 https://babel.hathitrust.org/cgi/pt?view=image;size=125;id=mdp.39015050623548;q1=militia;page=root;seq=203;nu
 m=197;orient=0.
 509
     Id. (The act began: “Whereas this province was first settled by (and a majority of the assemblies ever since been
 of) the people called Quakers, who, though they do not, as the world is now circumstanced, condemn the use of arms
 in others, yet are principled against bearing arms themselves.” The militia/associator statute was non-compulsory for
 everyone: “for them by any law to compel others to bear arms and exempt themselves would be inconsistent and
 partial”).
 510
     Id. at 200.
 511
     8 THE STATUTES AT LARGE OF PENNSYLVANIA FROM 1682 TO 1801, at 492 (1902).
 512
     Id. at 539.


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 penalty was reaffirmed by “Resolutions directing the Mode of Levying Taxes on Non-Associators
 in Pennsylvania” two months later.513 Finally, the entire militia act was repealed on July 7, 1756.514
     In 1755, and the first half of 1756, Quakers had been under pressure.515 They were willing to
 pay taxes in general, knowing that some of the revenue would be used for military activity.516
 Most of them were pacifists, and they were not only unwilling to fight, but they were also unwilling
 to pay a special tax levied on them for not fighting, especially because they knew the tax would be
 used for the military.517
     During the eighteenth century, Americans grappled with how to deal with conscientious
 objectors.518 Sometimes a mutually acceptable accommodation was found.519
     Once the Revolutionary War began, Pennsylvania had to create a formidable militia. By this
 time, non-Quakers held the political power.520 The new militia law of 1777 was for “every male
 white person usually inhabiting or residing within his township, borough, ward or district between
 the ages of eighteen and fifty-three years capable of bearing arms.”521
     For conscientious objectors, Pennsylvania adopted a variant of the practice used in some other
 colonies: the reluctant man subject to militia service could pay for a substitute to serve in his stead.
 In some states, this would be simply be a negotiated contract between the conscript and the
 substitute. In Pennsylvania, the fee or penalty was apparently to be paid to the militia itself, which
 could then hire a substitute.522 Pennsylvania allowed for appeals if the objector thought the fee
 too high.523 For militiamen 18 to 20, the parents could appeal the fee, as could masters of
 indentured servants who were 18 to 20.524




 513
     Id. at 512.
 514
     5 STATUTES AT LARGE OF PENNSYLVANIA, supra note 508, at 201,
 https://babel.hathitrust.org/cgi/pt?view=image;size=125;id=mdp.39015050623548;q1=militia;page=root;seq=207;nu
 m=201.
 515
     MARIETTA, supra note 507, at 141-58.
 516
     Id. at 136-37.
 517
     KOPEL, supra note 504, at 388.
 518
     See LIBERTY AND CONSCIENCE: A DOCUMENTARY HISTORY OF CONSCIENTIOUS OBJECTORS IN AMERICA THROUGH
 THE CIVIL WAR 3-67 (Peter Brock ed. 2002). For example, the constitutions of Vermont, New Hampshire, Kentucky,
 and Tennessee included specific protections for conscientious objectors. JOHNSON ET AL., supra note 18, at 293, 296,
 386. When ratifying the Constitution, the states of Maryland, Virginia, North Carolina, and Rhode Island asked for
 conscientious objector protections for the federal militia power. Id. at 313, 322, 327, 328. James Madison included
 such a protection in his draft of what became the Second Amendment, but the clause was removed in the Senate, based
 on the argument that that matter was best left to legislative discretion. Id. at 335-37.
 519
     See generally LIBERTY AND CONSCIENCE, supra note 518 (describing examples of persecution and tolerance).
 Accommodations were easier for the non-Quaker pacifists, who did not object to paying war taxes or special fees for
 exemptions from military duty. Id. at 48.
 520
     MARIETTA, supra note 507, at 219-20 (noting that from 1774 onward the Pennsylvania Assembly was under
 control of non-Quakers who advocated vigorous confrontation with Great Britain).
 521
     9 THE STATUTES AT LARGE OF PENNSYLVANIA FROM 1682 TO 1801, at 77 (1903); MARIETTA, supra note 507, at
 225-29.
 522
     9 STATUTES AT LARGE OF PENNSYLVANIA, supra note 521, at 77.
 523
     Id.
 524
     Id. at 87 (“[I]f any parent, guardian, master or mistress of any person between the ages of eighteen and twenty-one
 years or of any other person made liable to serve in the militia by this act shall think him or herself aggrieved by any
 of the rates, fines or sum or sums of money agreed for in the procuring of substitutes . . . he, she or they may appeal”).


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     The 1777 Act was non-specific on equipment, requiring only a militiaman’s “arms and
 accoutrements” be “in good order.”525 This Act was supplemented in 1777, without affecting age
 limits or arms.526
     A new Act in 1780, five years into the Revolutionary War, kept the ages at 18 to 53, and
 reiterated the non-specific mandate for arms and accoutrements “in good order.”527 This Act was
 Pennsylvania’s militia act when it ratified the Second Amendment on March 10, 1790.528 There
 was a supplement in 1780,529 repeal and replacement of that supplement in 1783,530 more
 supplements in 1783531 and 1788,532 and a repeal of parts of those supplements in 1790.533 None
 of these changed the ages or the arms.
     During the Revolutionary War, not long after the 1780 Militia Act had been enacted, the
 assembly established the Pennsylvania Volunteers.534 The Pennsylvania Volunteers were a state
 army, similar to the armies raised by other states. Every militia company had to “provide or hire
 one able-bodied man not less than eighteen or more than forty-five years of age” to serve in the
 Pennsylvania Volunteers.535 Notably, the whites-only provision from the militia law was omitted.
 As was true throughout the seventeenth and eighteenth centuries in America, whatever racial limits
 existed on militia or other military service tended to be repealed or overlooked under the pressure
 of wartime exigencies.536
     After Congress passed the federal UMA in 1792, Pennsylvania enacted conforming legislation
 in 1793.537 The Act tracked the federal militia definition: free white males 18 to 45.538 The
 mandatory arms and accoutrements within the Act copied the extensive federal list.539
     Like neighboring Delaware, Pennsylvania relaxed the peacetime requirements for young
 adults.540 “[A]ll young men under the age of twenty-one years, and all servants purchased bona
 ﬁde and for a valuable consideration,” had to enroll in the militia.541 But “during such minority or
 servitude,” they were exempt from training and from fines for not having the requisite



 525
     Id. at 80.
 526
     Id. at 131.
 527
     10 THE STATUTES AT LARGE OF PENNSYLVANIA FROM 1682 TO 1801, at 144-46 (1904).
 528
     1 JOURNAL OF THE HOUSE OF REPRESENTATIVES OF THE UNITED STATES, supra note 280, at 306-07.
 529
     10 STATUTES AT LARGE OF PENNSYLVANIA, supra note 527, at 225.
 530
     11 THE STATUTES AT LARGE OF PENNSYLVANIA FROM 1682 TO 1801, at 91-93 (1906). (The new 1783 supplement
 stated that it applied to “young men who have arrived to the age of eighteen years.”).
 531
     Id. at 161.
 532
     13 THE STATUTES AT LARGE OF PENNSYLVANIA FROM 1682 TO 1801, at 41 (1908).
 533
                                        Id.                                  at                             451,
 https://books.google.com/books?id=HRxEAAAAYAAJ&printsec=frontcover&source=gbs_ge_summary_r&cad=0#
 v=onepage&q=MILITIA&f=false.
 534
     10 STATUTES AT LARGE OF PENNSYLVANIA, supra note 527, at 191.
 535
     Id.
 536
     JOHNSON ET AL., supra note 18, at 194.
 537
       14 THE STATUTES AT LARGE OF PENNSYLVANIA FROM 1682 TO 1801, at 454 (1909),
 https://babel.hathitrust.org/cgi/pt?q1=militia;id=mdp.39015050623514;view=image;start=1;sz=10;page=root;size=1
 00;seq=460;num=454.
 538
     Id. at 455.
 539
     Id. at 457-58.
 540
     2 Laws of the State of Delaware 1135 (1797).
 541
     14 STATUTES AT LARGE OF PENNSYLVANIA, supra note 537, at 456.


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 equipment.542 The exception did not apply “in cases of rebellion, or an actual or threatened
 invasion of this or any of the neighboring states.”543
     Pennsylvania’s final militia act of the eighteenth century was passed in 1799.544 It kept the
 previous act’s age limits of 18 and 45,545 as well as the peacetime exemptions.546 However, the
 new act explicitly allowed “sons who are not subject to the militia law may be admitted as
 substitutes for their fathers.”547 In other words, if a 42-year-old father were summoned into the
 militia, the 17-year-old son could choose to serve in his stead. The arms requirements were slightly
 modified, with more elaboration of accoutrements for horsemen, and making sure handgunners
 had “bear skin caps” for their holsters.548

       H. New York: “every able bodied male person Indians and slaves excepted”
     New York’s first militia act came among The Duke of York’s Laws in 1665.549 It provided
 that:

        Every Male within this Government from Sixteen to Sixty years of age, or not freed
        by public Allowance, shall if freeholders at their own, if sons or Servants at their
        Parents and Masters Charge and Cost, be furnished from time to time and so
        Continue well furnished with Armes and other Suitable provition hereafter
        mentioned: under the penalty of ﬁve Shillings for the least default therein Namely
        a good Serviceable Gun, allowed Sufficient by his Military Oficer to be kept in
        Constant ﬁtness for present Service, with a good sword bandeleers or horne or
        worme a Scowerer a priming wire Shott Badge and Charger one pound of good
        powder, four pounds of Pistol bullets or twenty four bullets ﬁtted to the gunne, four
        fathom of Serviceable Match for match lock gunn four good ﬂints fitted for a ﬁre
        lock gunn.550

 Troopers had to “keepe and maintaine a good Horse Fitted with Sadle, bridle, Holsters, Pistolls or
 Carbine, and a good Sword.”551
     The act additionally provided that: “In defence of himself his wife Father or Mother Children
 or Servants a man may Lawfully use force to resist any attempt made to that purpose.” 552 Thus,
 the right of 18-to-20-year-olds to use arms in self-defense was expressly guaranteed.

 542
     Id.
 543
     Id.
 544
       16 THE STATUTES AT LARGE OF PENNSYLVANIA FROM 1682 TO 1801, at 276 (1911),
 https://play.google.com/store/books/details?id=zRtEAAAAYAAJ&rdid=book-zRtEAAAAYAAJ&rdot=1.
 545
     Id.
 546
     Id. at 278.
 547
     Id. at 297.
 548
     Id. at 281.
 549
     1 THE COLONIAL LAWS OF NEW YORK FROM THE YEAR 1664 TO THE REVOLUTION, INCLUDING THE CHARTERS TO
 THE DUKE OF YORK, THE COMMISSION AND INSTRUCTIONS TO COLONIAL GOVERNORS, THE DUKES LAWS, THE LAWS OF
 THE DONAGAN AND LEISLER ASSEMBLIES, THE CHARTERS OF ALBANY AND NEW YORK AND THE ACTS OF THE
 COLONIAL LEGISLATURES FROM 1691 TO 1775 INCLUSIVE 49-50 (1896).
 550
     Id.
 551
     Id. at 54.
 552
     Id. at 15.


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     A 1684 law ensured that persons exempted from the militia still kept the militia arms in their
 homes.553
     In 1691, New York lowered the minimum militia age, so that “noe person whatsoever from
 ﬁftieen to Sixty years of Age remaine unlisted.”554
     The arms were typical of the time: For every foot soldier, “a well ﬁxed muskett or fuzee” for
 officers, “a good pike or Sword or lance and pistoll.”555 At home, every foot soldier was to have
 “one pound of good powder and three pound of Sizeable bulletts,” and every Trooper (horseman)
 had to “have at his usuall place of abode a well ﬁxed Carabine with belt and Swivell and two
 pounds of ﬁne powder with Six pounds of Sizeable bulletts.”556
     The minimum age for militia service was raised back to 16 in 1702.557 The militia arms
 remained unchanged.558 The 1702 act was continued in 1706,559 1708,560 1709,561 1710,562 1711,563
 1712,564 1713,565 1715,566 1716,567 1717,568 1718,569 and 1720.570
     A new act in 1721 applied to every “[p]erson whatsoever from Sixteen to Sixty Years of
 Age.”571 Foot soldier equipment was nearly the same as before.572 Many subsequent acts kept the
 same age limits and arms requirements. There were new acts (all which had interim continuations)
 in 1724,573 1739,574 1743,575 and 1744.576 The 1746 act told soldiers to appear with nine rounds of
 ammunition, rather than the previous minimum of six.577 The requirement was lowered back to



 553
     Id. at 161 (“all persons though freed from Training by the Law yet that they be obliged to Keep Convenient armes
 and ammunition in Their houses as the Law directs to others”).
 554
     Id. at 231.
 555
     Id. at 232.
 556
     Id. “Fine powder” is gunpowder made of very small grains. Small grains burn faster and more uniformly. Hence,
 “fine powder” propels the bullet faster than does powder with larger grains.
 557
     Id. at 500.
 558
     Id. at 500-01.
 559
     Id. at 591.
 560
     Id. at 611.
 561
     Id. at 675.
 562
     Id. at 706.
 563
     Id. at 745.
 564
     Id. at 778.
 565
     Id. at 781.
 566
     Id. at 868.
 567
     Id. at 887.
 568
     Id. at 917.
 569
     Id. at 1001.
 570
     2 THE COLONIAL LAWS OF NEW YORK FROM THE YEAR 1664 TO THE REVOLUTION 1 (1894).
 571
     Id. at 84-85.
 572
     Id.
 573
     Id. at 187. The act was continued in 1728, id. at 421; and in 1730, id. at 657; then in 1731, id. at 698; again in
 1732, id. at 734; and in 1733, id. at 858; and 1735, id. at 905; and 1736, id. at 922; and 1737, id. at 947.
 574
       3 COLONIAL LAWS OF NEW YORK FROM THE YEAR 1664 TO THE REVOLUTION 3 (1894),
 https://babel.hathitrust.org/cgi/pt?id=umn.319510021585399;view=1up;seq=11. The act was continued in 1740, id.
 at 69; in 1741, id. at 168; and 1742, id. at 224.
 575
     Id. at 296.
 576
     Id. at 385. This act was continued in 1745. Id. at 510.
 577
     Id. at 511, 513. This act was continued in 1746, id. at 621; then again in 1747, id. at 648; then in 1753, id. at 962;
 and again in 1754, id. at 1016.


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 six in 1755.578 The age and arms requirements remained the same in the acts of 1764579 and
 1772.580
     On April 1, 1775, less than three weeks before the Revolutionary War would begin, New York
 enacted a new militia law.581 This act retained the same arms requirements as its predecessors,
 and kept the minimum age at 16, but lowered the maximum age to 50.582
     The 1775 law was for “every Person.”583 In the middle of the war, in 1778, the 1775 law was
 narrowed to “every able bodied male person Indians and slaves excepted.”584 The new arms
 requirement was “a good musket or firelock fit for service,” plus the bayonet, sixteen rounds of
 ammunition, and the usual accoutrements.585
     In 1778, the British, “adopted terror tactics across upstate New York to divert American forces
 away from more southern battle fields and to inhibit American’s ability to produce food and
 supplies from the large war effort.”586 A statute that year established “a night watch in the counties
 of Ulster, Tryon, Charlotte, Dutchess, and Albany.”587 Service on the watch was required of “every
 able bodied male inhabitant, Indians and slaves excepted…from sixteen years of age till sixty.”588
     A 1780 act “to raise troops for the defence of the frontiers” required “all the male inhabitants
 (slaves excepted) of the age of sixteen years and upwards” to provide themselves with “a good
 musket or firelock” plus seventeen rounds of ammunition.589
     Militia acts of 1780 and 1782 retained the age limits and arms requirements of 1778.590
     In 1783, New York passed “AN ACT to authorize his excellency the governor to raise troops
 for the defence of the frontiers.”591 It included “all the male inhabitants and sojourners of the age
 of sixteen years and upwards . . . excepting slaves,” and ordered each of them to possess the usual
 equipment.592



 578
     Id. at 1051. This act was continued twice in 1756, 4 COLONIAL LAWS OF NEW YORK FROM THE YEAR 1664 TO THE
 REVOLUTION 16, 101 (1894), https://babel.hathitrust.org/cgi/pt?id=mdp.39015011398438;view=1up;seq=22; twice in
 1757, id. at 187, 293; then in 1759, id. at 363; in 1760, id. at 475; in 1761, id. at 553; in 1762, id. at 636; and in 1763,
 id. at 698.
 579
     Id. at 767; continued in 1765, id. at 852; in 1766, id. at 915; and in 1767, id. at 952.
 580
     5 COLONIAL LAWS OF NEW YORK FROM THE YEAR 1664 TO THE REVOLUTION 342 (1894),
 https://babel.hathitrust.org/cgi/pt?id=mdp.39015011398420;view=1up;seq=348.
 581
     Id. at 732.
 582
     Id.
 583
     Id. at 342.
 584
     LAWS OF THE STATE OF NEW YORK: PASSED AT THE SESSIONS OF THE LEGISLATURE HELD IN THE YEARS 1777,
 1778, 1779, 1780, 1781, 1782, 1783, AND 1784, INCLUSIVE, BEING THE FIRST SEVEN SESSIONS 62 (1886),
 https://books.google.com/books?id=D8GwAAAAMAAJ&printsec=frontcover&source=gbs_ge_summary_r&cad=0
 #v=snippet&q=%22every%20able%20bodied%20male%20person%20Indians%20and%20slaves%20excepted%22
 &f=false. (Hereinafter LAWS OF THE STATE OF NEW YORK: PASSED AT THE SESSIONS 165-66.) The act was amended
 in 1778, id. at 86, and 1779, id. at 157. The age limits and arms requirements were unaffected.
 585
     Id.
 586
     Stefan Bielinski, Albany County, in THE OTHER NEW YORK: THE AMERICAN REVOLUTION BEYOND NEW YORK
 CITY, 1763-1787, at 165-66 (Joseph S. Tiedemann & Edward R. Fingerhut eds. 2006).
 587
     LAWS OF THE STATE OF NEW YORK PASSED AT THE SESSIONS, supra note 584, at 94.
 588
     Id. at 95.
 589
     Id at 232.
 590
     Id. at 237, 441.
 591
     Id. at 529.
 592
     Id.


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     In 1786, New York passed the law defining its militia.593 That was the definition in effect when
 the state ratified the Second Amendment on February 24, 1790.594 The law defined the New York
 militia as “every able-bodied male person, being a citizen of this state, or of any of the United
 States, and residing in this state (except such persons as are herein after excepted) and who are of
 the age of sixteen, and under the age of forty-five years.”595
     The arms were “a good musket or firelock,” 24 bullets, “a sufficient bayonet” and other
 standard items.”596 In 1787, New York amended the 1786 law without change to ages or arms.597
     Finally, in 1793 New York aligned with the federal UMA.598 The minimum age rose to 18,
 while the maximum remained at 45—both ages the same as for the federal militia.599 The arms
 requirement copied the federal statute.600

        I. Rhode Island: parents and masters must furnish arms
     Rhode Island established a militia in 1673, consisting of persons from 16 to 60 years old.601
 Each militiaman was required to “at all times hereafter have on[e] good gun or muskitt Fitt for
 Service one pound of good powder & thirty bullits at Least.”602 If a son or servant had no valuable
 estate of his own, his parents or master would be liable for any fines imposed upon him.603 A 1677
 revision retained the laws for ages and arms.604
     A 1700 statute specified that persons subject to militia service also had to serve on watch and
 ward (day and night guard duty in towns).605 The Act elaborated on the arms requirements,
 mandating that each militiaman appear with a “Good & Sufficient muskett or Fuze a Sword or


 593
     1 LAWS OF THE STATE OF NEW YORK: COMPRISING THE CONSTITUTION, AND THE ACTS OF THE LEGISLATURE, SINCE
 THE   REVOLUTION, FROM THE FIRST TO THE FIFTEENTH SESSION, INCLUSIVE 227 (Thomas Greenleaf 1792),
 https://books.google.com/books?id=9Hs4AAAAIAAJ&pg=PA26&dq=new+york+state+laws+1779&hl=en&sa=X
 &ved=0ahUKEwiCvauHn_LZAhVEVWMKHSToDG8Q6AEIKTAA#v=onepage&q=militia&f=false.
 594
     1 JOURNAL OF THE HOUSE OF REPRESENTATIVES OF THE UNITED STATES, supra note 280, at 304-06.
 595
     Id.
 596
     Id. at 228.
 597
     Id. at 454.
 598
     3 LAWS OF THE STATE OF NEW YORK: COMPRISING THE CONSTITUTION AND THE ACTS OF THE LEGISLATURE, SINCE
 THE      REVOLUTION, FROM THE FIRST TO THE TWENTIETH SESSION, INCLUSIVE 58 (1797),
 https://books.google.com/books?id=Mns4AAAAIAAJ&printsec=frontcover&source=gbs_ge_summary_r&cad=0#v
 =onepage&q=militia&f=false.
 599
     Id.
 600
     Id.
 601
     LAWS AND ACTS OF HER MAJESTIES COLONY OF RHODE ISLAND, AND PROVIDENCE-PLANTATIONS MADE FROM
 THE          FIRST        SETTLEMENT          IN        1636        TO      1705,        at       23         (1896),
 https://books.google.com/books?id=VZs0AQAAMAAJ&pg=PA48&lpg=PA48&dq=%22an+act+for+ye+better+reg
 ulating+ye+militia%22+%2B+%22rhode+island%22&source=bl&ots=HHzuITQDoD&sig=UB5aPjlcOOwaXouze0
 Dru3PGdUI&hl=en&sa=X&ved=0ahUKEwiT6a3MpL_aAhVq4oMKHb9jB0oQ6AEIKzAA#v=onepage&q=at%20
 least&f=false.
 602
     Id.
 603
     Id.
 604
     Id. at 25.
 605
     Id. at 48. The statute was miswritten: “all persons wthn this Colony Above ye Age of Sixteen Years & Under ye
 Age of Sixteen Yeares as well housekeepers as others Shall be Obliged to watch or ward.” Read literally, no one was
 required for perform watch and ward, since no one can be “Above” and “Under” the “Age of Sixteen Years.”
 Presumably the intended and understood upper age limit remained 60.


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 Bayenet, Catooch box or Bandelers wth twelve Bulets fit for his Piece half a Pound of Powder &
 Six good Flints.”606
     A 1718 law provided that “all male Persons . . . from the Age of Sixteen, to the Age of Sixty
 Years, shall bear Arms.”607 Arms were “one good Musket, or Fuzee, the Barrel whereof not to be
 less than three foot and an half in length,” plus a sword or bayonet, a pound of gunpowder, thirty
 bullets, six flints, and a cartridge box.608
     The next act appeared in 1755, at the beginning of the French & Indian War.609 It did not
 revise ages or arms.610 An addition in 1756 made the parents of militiamen under 21 liable for
 unpaid fines for neglect of duty.611 A 1774 amendment left arms and ages unchanged.612
     Rhode Island created a state army in 1776, a regiment to serve for three months.613 The Rhode
 Island army was to be “composed of six Men as Soldiers of every Hundred of the male Inhabitants
 of Sixteen Years of Age, and upwards.”614 As the quota indicates, at least some of the soldiers
 were to be raised by conscription, with each town to supply a quota if there were not sufficient
 volunteers. The soldiers of this regiment had the option of having the town provide their arms, or
 an enlistment bonus was available for soldiers who furnished their own arms.615
     This policy of soldiers providing their own arms was typical during the Revolution.616 The
 Continental Army generally refused volunteers who could not supply their own arms.617 State
 armies sometimes accepted unarmed volunteers, while offering bonuses to recruits with their own
 arms.618
     A new militia law was enacted in 1779.619 The new law would be Rhode Island’s militia act
 when it ratified the Second Amendment on June 7, 1790.620 The lower age limit remained at 16,
 but the upper age limit dropped to 50.621 “[E]ach and every effective Man as aforesaid [had to]
 provide, and at all times be furnished, at his own Expence (excepting such Persons as the Town-
 Councils of the Towns in which they respectively dwell or reside shall adjudge unable to purchase
 the same) with one good Musquet, and a Bayonet fitted thereto, with a Sheath and Belt, or Strap,
 for the same, one Ram-rod, Worm, Priming-wire and Brush, and one Cartouch-Box.”622


 606
     Id.
 607
      THE CHARTER AND THE ACTS AND LAWS OF HIS MAJESTIES COLONY OF RHODE-ISLAND, AND PROVIDENCE-
 PLANTATIONS          IN      AMERICA,        1719,     at     86        (Sidney     S.      Rider,      ed.      1895),
 https://archive.org/details/thecharteractsla00rhod/page/86.
 608
     Id. at 87.
 609
     An Act in Addition to the several Acts regulating the Militia in this Colony, 1755 R.I. Laws, Jan. Sess. 71.
 610
     Id.
 611
     An Act in addition to, and Amendment of the several Acts regulating the Militia, 1756 R.I. Laws, Feb. Sess. 73.
 612
     An Act in addition to, and amendment of, an Act entitled “An Act regulating the Militia of this Colony,” 1774 R.I.
 Laws, Dec. Sess. 150.
 613
     An Act for raising a Regiment, to serve for Three Months, 1776 R.I. Laws, Nov. Called Sess. 6.
 614
     Id.
 615
     Id. at 7.
 616
     JOHNSON ET AL., supra note 18, at 283.
 617
     Id.
 618
     Id.
 619
     An Act for the better forming, regulating and conducting the military Force of this State, 1779 R.I. Laws, Oct.
 Regular Sess. 29.
 620
     1 JOURNAL OF THE HOUSE OF REPRESENTATIVES OF THE UNITED STATES, supra note 280, at 312-13.
 621
     An Act for the better forming, regulating and conducting the military Force of this State, supra note 619, at 29.
 622
     Id. at 32.


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     Then in 1781 Rhode Island passed a law to raise a militia force of 1,200 men, with the statutory
 guarantee that the term of service would be only one month, and they were “not to be marched out
 of” the state.623 The number of men each county raised depended on the number of militia-aged
 men (16 to 50) within that county.624 “[E]ach of the non-commissioned Officers and Soldiers”
 had to “furnish himself with a good Musket, Bayonet, Cartouch-Box, Knapsack, and Blanket.”625
 Later that year, a similar law aimed to raise another 500 “able-bodied effective Men.”626 Again,
 the number of required recruits per county was based on the number of militia-aged men within
 the county.627 Arms were the same as before, except that “a good Fire-Arm,” was sufficient, rather
 than only a musket.628
     Following the 1792 federal UMA, a 1794 law adopted the federal ages and arms.629 More
 militia laws were passed in 1795, 1796, 1798, and 1799, none of them altering ages or arms.630

        J. Vermont: “the freemen of this Commonwealth, and their sons”
     Vermont declared its independence from the competing claims of New York and New
 Hampshire in January 1777.631 A constitution was adopted in July.632 Because New York and
 New Hampshire still claimed Vermont, Vermont was rebuffed from its attempt to send delegates
 to Congress. So, starting in 1777, it operated as something of an independent republic. Vermont
 had its own currency and postal service, and exchanged ambassadors with France and the
 Netherlands.633 In 1791, Vermont applied to join the Union, and was admitted.634
     The 1777 Vermont Constitution drew on Pennsylvania’s 1776 Constitution, which was the first
 state constitution adopted after the Declaration of Independence.635            Vermont copied

 623
     An Act for embodying and bringing into the Field Twelve Hundred able-bodied effective Men, of the Militia, to
 serve within this State for One Month, from the Time of their Rendezvous, and no longer Term, and not to be marched
 out of the same, 1781 R.I. Laws, Feb. Adjourned Sess. 5.
 624
     Id.
 625
     Id. at 8.
 626
     An Act for incorporating and bringing into the Field Five Hundred able-bodied effective Men, of the Militia, to
 serve within this State for one Month, from the Time of their Rendezvous, and no longer, and not to be marched out
 of the same, 1781 R.I. Laws, May Second Sess. 11.
 627
     Id.
 628
     Id. at 15.
 629
     An Act to organize the Militia of this State, 1794 R.I. Laws, Mar. Adjourned Sess. 14.
 630
     An Act establishing a Company of Horse, by the Name of The Independent Light Dragoons of the Second Regiment
 of Militia in the County of Newport, 1795 R.I. Laws, Jan. Adjourned Sess. 33; An Act in Addition to, and Amendment
 of, the Act entitled “An Act to organize the Militia of this State,” 1796 R.I. Laws, Feb. Adjourned Sess. 33; An Act
 for calling out the Militia, 1798 R.I. Laws, June Adjourned Sess. 13; An Act in Addition to an Act, entitled “An Act
 to organize the Militia of this State,” 1799 R.I. Laws, Feb. Sess. 17.
 631
     Harvey Strum & Paul G. Pierpaoli, Jr., Vermont, in THE ENCYCLOPEDIA OF THE WARS OF THE EARLY AMERICAN
 REPUBLIC, 1783-1812: A POLITICAL, SOCIAL, AND MILITARY HISTORY 705 (Spencer C. Tucker et al. eds. 2014).
 632
     Id.; Celise Schnieder, The Green Mountain Boys Constitute Vermont, in THE CONSTITUTIONALISM OF AMERICAN
 STATES 79 (George E. Connor & Christopher W. Hammons eds. 2008); Sanford Levinson, The 21st Century
 Rediscovery of Nullification and Secession in American Political Rhetoric: Frivolousness Incarnate, or Serious
 Arguments to be Wrestled With? 67 ARK. L. REV. 17, 49 (2014). See generally FREDERIC FRANKLYN VAN DE WATER,
 THE RELUCTANT REPUBLIC: VERMONT, 1724-91 (1941); Peter S. Onuf, State-Making in Revolutionary America:
 Independent Vermont as a Case Study, 67 J. AM. HIST. 797 (1981).
 633
     Strum & Pierpaolia, supra note 631.
 634
     Levinson, supra note 631, at 50.
 635
     Schneider, supra note 632, at 82.


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 Pennsylvania’s right to hunt: “that the inhabitants of this State, shall have liberty to hunt and fowl,
 in seasonable times, on the lands they hold, and on other lands (not enclosed).”636
     Vermont’s Declaration of Rights included human rights language, based on models from
 Pennsylvania, Massachusetts, and Virginia, that would, with variations in wording, become
 ubiquitous in American state constitutions:

             That all men are born equally free and independent, and have certain natural,
             inherent and unalienable rights, amongst which are the enjoying and defending life
             and liberty; acquiring, possessing and protecting property, and pursuing and
             obtaining happiness and safety.637

       and

             That every member of society hath a right to be protected in the enjoyment of life,
             liberty and property, and therefore, is bound to contribute his proportion towards
             the expense of that protection, and yield his personal service, when necessary, or
             an equivalent thereto.638

 This language is irreconcilable with a law that requires a person to contribute his personal service
 but deprives that person of the right to protect his own life.
     The Constitution further provided “[t]hat the people have a right to bear arms for the defence
 of themselves and the State.”639 This language is irreconcilable with a law that requires a person
 to bear arms for the defense of the state but would prohibit that person from bearing arms for
 defense of himself.
     The Vermont Constitution’s Declaration of Rights was separate from the Plan or Frame of
 Government.640 The latter provided that “[t]he freemen of this Commonwealth, and their sons,
 shall be trained and armed for its defence, under such regulations, restrictions and exceptions, as
 the General Assembly shall, by law, direct.”641
     In 1779, Vermont enacted a statute “for forming and regulating the militia; and for
 encouragement of military skill, for the better defence of this state.”642 It provided that “all male
 persons, from sixteen years of age to fifty, shall bear arms.”643 The arms mandate was not militia-
 only; it applied to “every listed soldier and other householder.”644
     The firearm could be “a well fixed firelock, the barrel not less than three feet and a half long,
 or other good fire-arms.”645 The edged arm was to be “a good sword, cutlass, tomahawk or

 636
     VT. CONST. ch. II, art. XXXIX (1777), http://avalon.law.yale.edu/18th_century/vt01.asp.
 637
     Id. at ch. II, art. I.
 638
     Id. at ch. I, art. IX.
 639
     Id. at ch. I, art. XV.
 640
     See id. at ch. I-II.
 641
     Id. at ch. II, art. 5.
 642
     VERMONT STATE PAPERS, BEING A COLLECTION OF RECORDS AND DOCUMENTS, CONNECTED WITH THE ASSUMPTION
 AND ESTABLISHMENT OF GOVERNMENT BY THE PEOPLE OF VERMONT; TOGETHER WITH THE JOURNAL OF THE COUNCIL
 OF SAFETY, THE FIRST CONSTITUTION, THE EARLY JOURNALS OF THE GENERAL ASSEMBLY, AND THE LAWS FROM THE
 YEAR 1779 TO 1786, INCLUSIVE 305 (1823).
 643
     Id. at 307.
 644
     Id.
 645
     Id.


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 bayonet.”646 For cleaning, a soldier or “other householder” needed “a worm, and priming-wire, fit
 for each gun.” Suitable ammunition storage for a solider could be with “a cartouch box, or powder-
 horn and bullet-pouch.”647 Adequate supplies were at least a pound of gun powder, four pounds
 of bullets, “and six good flints.”648
     Militia regulations were changed twice in 1780, and again in 1781,649 but the age limits and
 arms requirements were not impacted.650
     In 1786, Vermont wrote a new constitution.651 The convention entertained and rejected a
 proposal to change the 1777 language of “a right to bear arms for the defence of themselves and
 the State” into “a right to bear arms for the defence of the community.”652
     The same year, a new militia act kept the minimum militia age at 16, but lowered the maximum
 age to 45.653 The gun mandate was changed to “a good musket or firelock.”654 The bayonet was
 now mandatory.655 The new law made separate provisions for horsemen; each dragoon had to
 provide “a case of good pistols, a sword or cutlass not less than three and one half feet in length,”
 plus a pound of gunpowder, “three pounds of sizeable bullets,” and eight flints.656 Since horsemen
 would have at least two guns (the pair of handguns) they needed a bigger supply of flints. 657
     Ages and arms were kept the same in the 1787 militia act.658 This was the act in effect when
 Vermont ratified the Second Amendment on November 3, 1791.659
     In 1793, Vermont revised its constitution again and also passed a militia act in response to the
 federal UMA. Vermont’s 1793 constitution kept the same arms guarantees as before.660 The new
 militia act repealed all previous militia laws.661 The new law applied to “each and every free, able-
 bodied white male citizen . . . who is, or shall be of the age of sixteen years, and under the age of
 forty-five.”662 Like New Hampshire, Vermont diverged from the federal act by keeping a
 minimum militia age of sixteen.663
     Every non-commissioned officer and private had to “constantly keep himself provided with a
 good musket, with an iron or steel rod, a sufficient bayonet and belt, two spare flints, a priming
 wire and brush, and a knapsack ; a cartridge box and pouch, with a box therein, sufficient to contain


 646
     Id.
 647
     Id.
 648
     Id.
 649
     1781 Vt. Acts Feb. Sess. viii.
 650
     VERMONT STATE PAPERS, supra note 642, at 415; 1780 Vt. Acts Mar. Sess. i.
 651
     VERMONT STATE PAPERS, supra note 642, at 518; VT. CONST. (1786),
 http://avalon.law.yale.edu/18th_century/vt02.asp (last visited Jan. 13, 2019).
 652
     VERMONT STATE PAPERS, supra note 642, at 518.
 653
     1786 Vt. Acts Oct. Sess. 6.
 654
     Id.
 655
     Id. at 8.
 656
     Id. at 7.
 657
     Id.
 658
     1787 Vt. Acts Feb. & Mar. Sess. 94.
 659
     JOURNAL OF THE FIRST SESSION OF THE SENATE OF THE UNITED STATES OF AMERICA, BEGUN AND HELD AT THE
 CITY OF NEW YORK, MARCH 4, 1789, AND IN THE THIRTEENTH YEAR OF THE INDEPENDENCE OF THE SAID STATES 377-
 78 (1820).
 660
     VT. CONST. (1793).
 661
     1793 Vt. Acts – Oct. Sess. 19.
 662
     Id. at 20.
 663
     1 LAWS OF NEW HAMPSHIRE: PROVINCE PERIOD, 1679-1702, at 221 (Albert Stillman Batchellor ed., 1904).


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 not less than twenty-four cartridges suited to the bore of his musket.”664 Horsemen were required
 to provide themselves with “a pair of pistols, and sabre, and cartridgebox to contain twelve
 cartridges for pistols.”665 Cavalry officers needed “a pair of pistols, and sword.”666

           K. Virginia: “ALL men that are fittinge to beare armes, shall bringe their
              peices to the church”
     Virginia enacted a myriad of laws in the seventeenth century regarding firearms ownership,
 many of which allowed or required 18-to-20-year-olds to bear arms. It was not until 1639 that
 Virginia enacted a statute expressly requiring arms ownership.667 Previous statutes simply
 assumed that everyone already did possess arms, and thus ordered arms-carrying when traveling,
 going to church, or working in the fields. The church mandate reflected the general risks of travel,
 and the more specific risk that when a large number of people are densely gathered indoors, they
 are easy targets for hostiles intent on mass killing.

       •   1623: “That no man go or send abroad without a sufficient partie will armed.”668

       •   1624: “That men go not to worke in the ground without their arms (and a centinell upon
           them).”669

       •   1624: “That the commander of every plantation take care that there be sufficient of powder
           and amunition within the plantation under his command and their pieces fixt and their arms
           compleate.”670

       •   1632: “NOE man shall goe or send abroade without a sufficient party well armed.”671

       •   1632: “NOE man shall goe to worke in the grounds without theire armes, and a centinell
           uppon them”672

       •   1632: “ALL men that are fittinge to beare armes, shall bringe their pieces to the church”673



 664
     1793 Vt. Acts – Oct. Sess. at 30.
 665
     Id. at 26.
 666
     Id.
 667
     1 WILLIAM WALLER HENING, THE STATUTES AT LARGE: BEING A COLLECTION OF ALL THE LAWS OF VIRGINIA,
 FROM THE FIRST SESSION OF THE LEGISLATURE, IN THE YEAR 1619, at 226 (1809).
 668
     Id. at 127.
      The above dates are listed by the New Style year, whose new year begins on January 1. Until 1752, Englishmen
 used the Old Style calendar, whose new year begins on March 25. Thus, the above enactment in March is 1624 to the
 modern reader but was considered 1623 by Virginians of the time.
 669
     Id.
 670
     Id.
 671
     Id. at 173.
 672
     Id.
 673
     Id.


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       •   1632: “NOE man shall goe to worke in the grounds without theire armes, and a centinell
           uppon them places where the commander shall require it”674

       •   1632: “ALL men that are fittinge to beare armes, shall bringe their peices to the church”675

       •   1639: “ALL persons except negroes to be provided with arms and ammunition or be fined
           at pleasure of the Governor and Council”676

       •   1643: “masters of every family shall bring with them to church on Sundays one fixed and
           serviceable gun with sufficient powder and shott”677

       •   1645: “all negro men and women, and all other men from the age of 16 to 60” could be
           drafted to carry on war against the Indians.678 This indicates that persons over 16 were
           considered capable of bearing arms.

       •   1659: “That every man able to beare armes have in his house a fixt gunn two pounds of
           powder and eight pound of shott at least”679

       •   1662: “that every man able to beare armes have in his house a fixed gun, two pound of
           powder and eight pound of shot at least”680

       •   1676: “that in goeing to churches and courts in those tymes of danger, all people be
           enjoyned and required to goe armed for their greate security”681

     Also in 1676, Virginia enacted a law “for the safeguard and defence of the country against the
 Indians.”682 The number of militiamen to be supplied by the counties was based on “the number
 of tytheables of each county.”683 Persons over 16 were considered titheable (required to pay a tax),
 thus indicating that the minimum age for the militia was 16.684
     Laws in 1676 expressly authorized persons to carry arms anywhere, but not in large groups.
 After a short-lived rebellion involving crowds of armed men, the legislature prohibited armed
 gatherings of more than five people:

           whereas by a branch of an act of assembly made in March last, liberty is granted to
           all persons to carry their armes wheresoever they goe, which liberty hath beene

 674
     Id. at 198.
 675
     Id.
 676
     Id. at 226.
 677
     Id. at 263.
 678
     Id. at 292.
 679
     Id. at 525.
 680
     2 WILLIAM WALLER HENING, THE STATUTES AT LARGE: BEING A COLLECTION OF ALL THE LAWS OF VIRGINIA,
 FROM THE FIRST SESSION OF THE LEGISLATURE, IN THE YEAR 1619, at 126 (1823).
 681
     Id. at 333.
 682
     Id. at 326.
 683
     Id. at 350.
 684
     Id. at 84 (defining what persons are tithable).


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         found to be very prejudiciall to the peace and wellfaire of this colony. Bee it
         therefore further enacted by this present grand assembly, and the authority thereof,
         and it is hereby enacted, that if any person or persons shall, from and after
         publication of this act, presume to assemble together in armes to the number of five
         or upwards without being legally called together in armes the number of five or
         upwards, they be held deemed and adjudged as riotous and mutinous, and that they
         be proceeded against and punished accordingly.685

     Acts passed in 1679686 and 1682687 made no changes to the ages or arms requirements of
 militiamen. In 1684, arms requirements were made more specific, and separate standards were
 enacted for mounted militiamen:688

         every trooper of the respective colonies of this country, shall furnish and supply
         himself with a good able horse, saddle, and all arms and furniture, fitt and compleat
         for a trooper, and that every foot soldier, shall furnish himselfe, with a sword,
         musquet and other furniture fitt for a soldier, and that each trooper and foot soldier,
         be provided with two pounds of powder, and eight pounds of shott, and shall
         continually keep their armes well fixt, cleane, and fitt for the king’s service.689

 These more specific arms requirements were complemented by another law establishing troops of
 horsemen.690 Horsemen’s arms requirements were now more detailed, requiring three guns: “a
 case of pistolls, a carbine, sword and all other furniture usuall and necessary for horse souldiers or
 troopers.”691
     Militia-related acts were passed in 1692,692 1693,693 1695,694 and 1699,695 but none of them
 addressed age limits or arms requirements.
     In 1701, “An act for the better strengthening the frontiers and discovering the approaches of
 an enemy” was passed.696 It provided 500-acre land grants, with the proviso that the grantee keep
 “upon the said land one christian man between sixteen and sixty years of age perfect of limb, able
 and fitt for service.”697 Such men should be “continually provided with a well fixt musquett or
 fuzee, a good pistoll, sharp simeter, tomahauk and five pounds of good clean pistoll powder and

 685
     Id. at 381. The precipitating event was Bacon’s Rebellion, a short-lived uprising of frontiersman who marched on
 the capital because they were disgruntled with the colonial government’s failure to protect them from Indians. See
 JAMES D. RICE, TALES FROM A REVOLUTION: BACON’S REBELLION AND THE TRANSFORMATION OF EARLY AMERICA
 (2013).
 686
     2 HENING, supra note 682, at 433.
 687
     Id. at 498.
 688
     3 WILLIAM WALLER HENING, THE STATUTES AT LARGE: BEING A COLLECTION OF ALL THE LAWS OF VIRGINIA,
 FROM THE FIRST SESSION OF THE LEGISLATURE, IN THE YEAR 1619, at 13 (1823).
 689
     Id. at 14.
 690
     Id. at 17.
 691
     Id.
 692
     Id. at 98, 115.
 693
     Id. at 119.
 694
     Id. at 126.
 695
     Id. at 176.
 696
     Id. at 205.
 697
     Id.


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 twenty pounds of sizable leaden bulletts or swan or goose shott to be kept within the fort directed
 by this act besides the powder and shott for his necessary or usefull shooting at game...” 698 In
 other words, the frontier guardians would keep at home small quantities of gunpowder for ordinary
 use, but their larger reserves of gunpowder would be kept in a fort. The gunpowder of the time
 was blackpowder, which is volatile, so large quantities often were centrally stored, ideally in
 reinforced brick buildings.699
     Virginia’s first elaborate militia act was passed in 1705.700 The militia included “all male
 persons whatsoever, from sixteen to sixty years of age . . . to serve in horse or foot.” 701 An
 infantryman needed “a firelock, muskett or fusee well fixed, a good sword,” cartridge box, and
 ammunition.702 He had to bring six rounds of ammunition to muster. Additionally, he had to
 “have at his place of abode two pounds of powder and eight pounds of shott, and bring the same
 into the field with him when thereunto specially required.”703
     A horseman needed the usual tack and ammunition accoutrements along with a pair of pistols
 and a sword.704 He had to bring eight rounds of ammunition to muster.705 At his usual place of
 abode, he also had to keep a well fixed carabine, two pounds of powder and eight pounds of shot.706
     The act made it unlawful for creditors to seize a militiaman’s arms as payment for debts.707 If
 a creditor nevertheless took someone’s militia equipment, the seizure would “be unlawful and
 void.”708 Any “officer or person that presumes to make or serve the same” (e.g., a sheriff serving
 a writ of attachment) would “be lyable to the suit of the party grieved, wherein double damages
 shall be given upon recovery.”709 Later in the century, the federal UMA would likewise make
 militia equipment immune from seizure for debts.710
     Subsequent Virginia acts of 1705711 and 1711712 kept the age and arms rules. A 1720 act
 appropriated one thousand pounds to distribute “to each christian titheable [subject to taxation],
 one firelock, musket, one socket,713 bayonet fitted thereto, one cartouch box, eight pounds bullet,
 two pounds powder, until the whole one thousand pounds be laid out.”714

 698
     Id. at 206-07.
 699
     JOHNSON ET AL., supra note 18, at 250.
 700
     3 HENING, supra note 688, at 335.
 701
     Id. at 336.
 702
     Id.
 703
     Id.
 704
     Id. at 338.
 705
     Id.
 706
     Id.
 707
     Id. (The required arms and accoutrements were “free and exempted at all times from being impressed upon any
 account whatsoever, and likewise from being seized or taken by any manner of distress, attachment, or writt of
 execution.”)
 708
     Id.
 709
     Id.
 710
     1 Stat. 271, § 1 (1792) (“And every citizen so enrolled, and providing himself with the arms, ammunition and
 accoutrements, required as aforesaid, shall hold the same exempted from all suits, distresses, executions or sales, for
 debt or for the payment of taxes.”).
 711
     3 HENING, supra note 688, at 362.
 712
     4 WILLIAM WALLER HENING, THE STATUTES AT LARGE: BEING A COLLECTION OF ALL THE LAWS OF VIRGINIA,
 FROM THE FIRST SESSION OF THE LEGISLATURE, IN THE YEAR 1619, at 9 (1823).
 713
     Located near the muzzle of a gun, the socket was used to attach the bayonet to the gun, so that the gun could be
 used as a pole-arm at close quarters. J.N. GEORGE, ENGLISH GUNS AND RIFLES 80-81 (1947).
 714
     4 HENNIG, supra note 712, at 77-78.


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      A 1723 act made “the colonel, or chief officer of the militia of every county, have full power
 and authority to list all free male persons whatsoever, from twenty-one to sixty years of age, within
 his respective county, to serve in horse or foot.”715 However, “nothing in this act contained, shall
 hinder or debar any captain from admitting any able-bodied white person, who shall be above the
 age of sixteen years, to serve in his troop or company, in the place of any person required by this
 act to be listed.”716 In other words, 16-20-year-olds could be hired or could volunteer as substitutes
 for older men.
      The arms requirements were elaborate. For horsemen, a good serviceable horse, tack
 accoutrements, “holsters, and a case of pistols, cutting sword, or cutlace, and double cartouch
 box.”717 At home, they had to keep a carbine, plus “one pound of powder, and four pounds of
 shot.”718
      Infantry needed “a firelock, musquet, or fuzee, well fixed, and bayonet fitted to such musquet
 or fuzee, or a good cutting sword or cutlace,” along with the cartridge box.719 Reserves to be kept
 at home were the same powder and shot as for horsemen.720
      Again, militiamen’s arms were immune from creditors.721
      Acts passed in 1727,722 1732,723 and 1734724 made no changes to the militia ages or arms.
      Virginia’s 1738 act “for the settling and better Regulation of the Militia,”725 appears to be the
 only militia act in the colonial or founding era that excluded persons aged 18-to-20. The militia
 under this act consisted of “all male persons, above the age of one and twenty years.”726
      With the French & Indian War underway, Virginia passed several militia-related acts in 1757.
 The first act augmented the already-existing forces in the field by allowing officers to add certain
 men between 18 and 50.727 Reflecting a still greater need for additional forces, Virginia’s 1757
 militia act restored the minimum age to 18 and set the maximum age at 60.728 Soldiers had to


 715
     Id. at 118.
 716
     Id. at 125.
 717
     Id.
 718
     Id.
 719
     Id.
 720
     Id. at 120.
 721
     Id. at 121.
            And for an encouragement of every soldier to provide and furnish himself, according to the
            directions of this act, and his security to keep his horse, arms and ammunition, when provided, Be
            it enacted, by the authority aforesaid, That the horses and furniture, arms and ammunition, provided
            and kept, in pursuance of this act, be free and exempted at all items from being impressed upon any
            account whatsoever; and likewise, from being seized or taken by any manner of distress, attachment,
            or writ of execution. And that every distress, seizure, attachment, or execution, made or served upon
            any of the premises, be unlawful and void: And that the officer or person that presumes to make or
            serve the same, be liable to the suit of the party grieved: wherein double damages shall be given
            upon a recovery.
 722
     Id. at 197.
 723
     Id. at 323.
 724
     Id. at 395.
 725
     5 WILLIAM WALLER HENING, THE STATUTES AT LARGE: BEING A COLLECTION OF ALL THE LAWS OF VIRGINIA,
 FROM THE FIRST SESSION OF THE LEGISLATURE, IN THE YEAR 1619, at 16 (1823).
 726
     Id.
 727
     7 WILLIAM WALLER HENING, THE STATUTES AT LARGE: BEING A COLLECTION OF ALL THE LAWS OF VIRGINIA,
 FROM THE FIRST SESSION OF THE LEGISLATURE, IN THE YEAR 1619, at 69, 70 (1823).
 728
     Id. at 93.


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 furnish themselves with “a firelock well fixed, a bayonet fitted to the same,” and keep an extra
 pound of powder and “four pounds of ball” at home.729
     Three other acts were passed in 1757; the first preventing mutiny and desertion,730 the second
 preventing invasions and insurrections,731 and the third protecting against Indian attacks.732 None
 addressed militia ages.
     Acts passed in 1758733 and 1759734 made no changes to the militia’s age limits or arms
 requirements.
     Like other colonies, Virginia had various exemptions from militia duty. A 1762 amendment
 ensured that “every person so exempted shall always keep in his house or place of abode such
 arms, accoutrements, and ammunition, as are by the [1757] act required to be kept by the
 militia.”735 The 1757 act was continued in 1771.736
     The American Revolution began on April 19, 1775, when armed Americans resisted British
 attempts to seize firearms and gunpowder at Lexington and Concord, Massachusetts. In Virginia,
 A Convention of Delegates for the Counties and Corporations in the Colony of Virginia was held
 in the summer of 1775. The first enactment of the Convention was “An ordinance for raising and
 embodying a sufficient force, for the defence and protection of this colony.”737 The ordinance
 established militia age limits of 16 and 50.738 Every militiaman had to “furnish himself with a
 good rifle, if to be had, or otherwise with a tomahawk, common firelock, bayonet, pouch, or
 cartouch box, three charges of powder and ball, and appear with the same at the place appointed
 for mustering, and shall constantly keep by him one pound of powder and four pounds of ball.”739
     In 1777, Virginia passed its first militia act as a state, with Patrick Henry as governor. 740 “An
 Act for regulating and disciplining the Militia” applied to “all free male persons, hired servants
 [not indentured], and apprentices, between the ages of sixteen and fifty years.”741 “The county
 lieutenant, colonels, lieutenant colonels, and major” had to appear “with a sword.”742 Every

 729
     Id. at 94. This act was continued in 1759. Id. at 274.
 730
     Id. at 87. This act was continued in 1758, id. at 169, and 1759, id. at 280.
 731
     Id. at 106. This act was continued in 1758, id. at 237, and 1759, id. at 384.
 732
     Id. at 121.
 733
     Id. at 171. This act was amended in 1758, but the ages and arms of militiamen remained unchanged. Id. at 251.
 734
     Id. at 279.
 735
     Id. at 534, 537. The printed volume does not have a page 535 or 536.
 736
     8 WILLIAM WALLER HENING, THE STATUTES AT LARGE: BEING A COLLECTION OF ALL THE LAWS OF VIRGINIA,
 FROM THE FIRST SESSION OF THE LEGISLATURE, IN THE YEAR 1619, at 503 (1823).
 737
     9 WILLIAM WALLER HENING, THE STATUTES AT LARGE: BEING A COLLECTION OF ALL THE LAWS OF VIRGINIA,
 FROM THE FIRST SESSION OF THE LEGISLATURE, IN THE YEAR 1619, at 9 (1823). According to the statutory compiler,
 “In the original, the title of this ordinance is wanting; nor are any of the chapters numbered. The title is here inserted
 from the Chancellors’ Revisal, edi 1785, p. 30, and the late edition of the Ordinances of 1816, p. 29.” Id.
 738
     Id. at 16.
 739
     Id. at 28. A militia ordinance passed at the Convention held the following year did not change the militia ages. Id.
 at 139. Nor did an act passed in October of 1776. Id. at 267.
       A report from July 28, 1775, mentioned a British major who was killed in action, and had four balls lodged in his
 body. “The Americans load their rifle-barrel guns with a ball slit almost in four quarters, which when fired out of
 those guns breaks into four pieces and generally does great execution.” Alexander Purdie, VA. GAZETTE (Oct. 20,
 1775), http://research.history.org/DigitalLibrary/va-gazettes/VGSinglePage.cfm?IssueIDNo=75.P.74.
 740
     9 HENNIG, supra note 737, at 267.
 741
     Id. This act was amended in 1781, but the amendment did not change the required arms or ages. 10 WILLIAM
 WALLER HENING, THE STATUTES AT LARGE: BEING A COLLECTION OF ALL THE LAWS OF VIRGINIA, FROM THE FIRST
 SESSION OF THE LEGISLATURE, IN THE YEAR 1619, at 416 (1823).
 742
     9 HENING, supra note 737, at 268.


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 captain and lieutenant needed a “firelock and bayonet, a cartouch box, a sword, and three charges
 of powder and ball.”743 Ensigns needed a sword.744 Non-commissioned officers and privates had
 to have

         a rifle and tomahawk, or good fire-lock and bayonet, with a pouch and horn, or a
         cartouch or cartridge box, and with three charges of powder and ball; and,
         moreover, each of the said officers and soldiers shall constantly keep one pound of
         powder and four pounds of ball, to be produced whenever called for by his
         commanding officer.745

     Virginia also passed an act in 1777 to raise troops for the Continental Army.746 “[A]ble bodied
 young men above the age of sixteen years” were eligible for enlistment.747
     Another 1777 act required “all free born male inhabitants of this state, above the age of sixteen
 years” to “renounce and refuse all allegiance to George the third” and swear to “be faithful and
 bear true allegiance to the commonwealth of Virginia, as a free and independent state.”748 Because
 16-year-olds were old enough to fight, they were old enough to decide whether their loyalty lay
 with the king or the commonwealth.
     Another statewide law in 1777 left arms and ages unchanged.749
     The militia laws had educational exemptions, but these were tightened in May 1777, by “An
 act for regulating and disciplining the militia of the city of Williamsburg and borough of
 Norfolk.”750 Its purpose was “FOR forming the citizens of Williamsburg, borough of Norfolk, and
 the professors and students of William and Mary college, into a militia.” The William & Mary
 militia included “all male persons between the ages of sixteen and fifty years.”751
     Later that year, an October 1777 “Act for speedily recruiting the Virginia Regiments on the
 continental establishment and for raising additional troops of Volunteers” called for drafting single
 men above eighteen and with no children for the Continental Army.752
     Virginia passed many militia laws in 1778, but none of these changed the militia ages or
 arms.753 Nor did the militia-related acts passed in 1779.754
     Three acts regarding the militia were passed in 1781. The first was “to raise two legions for
 the defence of the state.”755 Neither this act, nor its amendment added that same year, altered the
 arms or ages of militiamen.756

 743
     Id.
 744
     Id.
 745
     Id. at 268-69.
 746
     Id. at 275.
 747
     Id.
 748
     Id. at 281.
 749
     Id. at 291.
 750
     Id. at 313.
 751
     Id.
 752
     Id. at 337, 339.
 753
     Id. at 445, 449, 452, 454, 458.
 754
     10 HENING, supra note 741, at 18, 23, 28, 32, 83. One act, entitled “An Act for raising a body of Volunteers for
 the defence of the commonwealth,” allowed two battalions responsible for protecting the western frontiers to furnish
 themselves “with such clothing, arms, and accoutrements, as are most proper for that service.” Id. at 20.
 755
     Id. at 391.
 756
     Id. at 410.


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      The second 1781 act was “for ascertaining the number of militia in this state.”757 It ordered
 “captains or commanding officers of the respective companies in their several counties,” to make
 “an exact list of each company, distinguishing all such as are under eighteen years of age.” 758
      The third 1781 act was “for enlisting soldiers to serve in the continental army.”759 It made no
 mention of arms or ages, but it did require that a Continental soldier be at least “five feet four
 inches tall.”760
      A 1782 act added some equipment detail for cavalry: “horseman’s sword and cap, one pistol,
 and a pair of holsters.”761
      In 1784, Virginia increased its militia’s minimum age to 18, and kept the maximum age at
 50.762 Militiamen were required to appear “armed, equipped, and accoutred” according to rank.763
 “The county lieutenants, lieutenant colonels commandant, and majors, with a sword; the captains,
 lieutenants, and ensigns, with a sword and espontoon.”764 Noncommissioned officers and privates
 needed to supply themselves “with a good clean musket, carrying an ounce ball,765 and three feet
 eight inches long in the barrel, with a good bayonet and iron ramrod well fitted thereto.”766 Plus
 also “a cartridge box properly made, to contain and secure twenty cartridges” and “a good
 knapsack and canteen.”767
      Previously, militiamen had simply been told to keep an extra pound of powder and four pounds
 of lead at home, and to bring it with them if they were called into action. Now, to prove that they
 possessed such quantities, they had to bring to “every muster…twenty blind cartridges.”768 Further
 “each sergeant shall have a pair of moulds fit [to] cast balls for their respective companies.”769
      Finally, “the militia of the counties westward of the Blue Ridge, and the counties below
 adjoining thereto,” could forego the muskets, and instead choose “good rifles with proper
 accoutrements.”770
      The following year, Virginia passed the act771 that defined its militia when it ratified the Second
 Amendment on December 15, 1791,772 making the Amendment part of the Constitution. Virginia
 ratified nine other amendments on the same day, enshrining them in the Constitution, and making
 December 15 the birthday of the Bill of Rights.773

 757
     Id. at 396.
 758
     Id.
 759
     Id. at 433.
 760
     Id.
 761
     11 WILLIAM WALLER HENING, THE STATUTES AT LARGE: BEING A COLLECTION OF ALL THE LAWS OF VIRGINIA,
 FROM THE FIRST SESSION OF THE LEGISLATURE, IN THE YEAR 1619, at 173 (1823).
 762
     Id. at 476.
 763
     Id. at 478.
 764
     Id.
 765
     That meant 16 balls to the pound of lead. This is slightly smaller than .69 caliber, which is 15 balls to the pound.
 Lead ball, per pound, RED RIVER BRIGADE (Jan. 26, 2014), http://www.redriverbrigade.com/lead-ball-per-pound/.
 766
     11 HENING, supra note 761, at 478-79.
 767
     Id. at 479.
 768
     Id. The meaning of “blind cartridge” is obscure. It may mean a standard paper cartridge.
 769
     Id.
 770
     Id.
 771
     12 WILLIAM WALLER HENING, THE STATUTES AT LARGE: BEING A COLLECTION OF ALL THE LAWS OF VIRGINIA,
 FROM THE FIRST SESSION OF THE LEGISLATURE, IN THE YEAR 1619, at 9 (1823). This act was amended in 1786, but it
 did not impact the age limits or arms requirements. Id. at 234.
 772
     JOURNAL OF THE FIRST SESSION OF THE SENATE OF THE UNITED STATES OF AMERICA, supra note 659, at 361.
 773
     U.S. CONST. amends. I-X.


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     The 1785 Virginia act included in the general militia “all free male persons between the ages
 of eighteen and fifty years.”774 Some young men would get extra training in a

          light company to be formed of young men, from eighteen to twenty-five years old,
          whose activity and domestic circumstances will admit of a frequency of training,
          and strictness of discipline, not practical for the militia in general, and returning to
          the main body, on their arrival at the latter period, will be constantly giving thereto
          a military pride and experience, from which the best of consequences will result.775

 These light companies were “in all respects [] subject to the same regulations and orders as the rest
 of the militia.”776 For all the militia, the requisite arms were the same as before.777
     On December 22, 1792, Virginia passed a new militia law in response to the federal Uniform
 Militia Act, to “carry the same into effect.”778 The act provided for the continuation of the same
 “light company” “of young men from eighteen to twenty-five years age” that had been established
 in Virginia’s previous militia act.779 The 1792 Virginia law made no changes in the age limits. A
 1799 amendment did not address ages or arms.780

        L. Massachusetts Bay: “from ten yeares ould to the age of sixsteen yeares”
      Virginia’s ratification of the Second Amendment and of nine other Amendments made the Bill
 of Rights the supreme law of the land, effective December 15, 1791. 781 The three states that had
 not yet acted—Massachusetts, Georgia, and Connecticut—therefore had no reason to take up the
 issue. Yet in all three of these states, ratification of the Second Amendment and the rest of the Bill
 of Rights was placed on the legislative agenda in early 1939. These 1939 ratifications were
 apparently enacted to make a statement at a time when right-wing fascists (e.g., Mussolini, Hitler,
 Franco), and left-wing fascists (e.g., Stalin, Mao) were wantonly murdering disarmed victims. The
 first state to ratify in 1939 was Massachusetts, on March 2.782
      In the colonial period and Founding Era, the Bay State had especially strong laws for mass
 armament. In 1631, Massachusetts Bay enacted a law mandating that all adult males be armed.783




 774
     12 HENING, supra note 771, at 10.
 775
     Id. at 14-15.
 776
     Id. at 15.
 777
     Id. at 12.
 778
     13 WILLIAM WALLER HENING, THE STATUTES AT LARGE: BEING A COLLECTION OF ALL THE LAWS OF VIRGINIA,
 FROM THE FIRST SESSION OF THE LEGISLATURE, IN THE YEAR 1619, at 340 (1823).
 779
     Id. at 344.
 780
     2 THE STATUTES AT LARGE OF VIRGINIA: FROM OCTOBER SESSION 1792, TO DECEMBER SESSION 1806 [I.E. 1807],
 INCLUSIVE, IN THREE VOLUMES, (NEW SERIES,) BEING A CONTINUATION OF HENING 141 (1835).
 781
     U.S. CONST. amends. I-X.
 782
     JOURNAL OF THE SENATE OF THE COMMONWEALTH OF MASSACHUSETTS 369 (1939). For the essential similarity
 of the totalitarian “fascist,” “communist,” or “national socalist” regimes, see, e.g., Arthur M. Schlesinger, Jr., The
 Vital Center: The Politics of Freedom (1949).
 783
     KYLE F. ZELNE, A RABBLE IN ARMS: MASSACHUSETTS TOWNS AND MILITIAMEN DURING KING PHILIP’S WAR 28
 (2009).


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 A 1637 statute required everyone 18 and older to “come to the publike assemblies with their
 muskets, or other peeces fit for servise, furnished with match, powder, & bullets.”784
     Young people of both sexes were expected to be proficient with arms. A 1645 statute mandated
 that “all youth within this jurisdiction, from ten yeares ould to the age of sixsteen yeares, shalbe
 instructed, by some one of the officers of the band,785 or some other experienced souldier…upon
 the usuall training dayes, in the exercise of armes, as small guns, halfe pikes, bowes & arrows.”786
 There was an exemption for conscientious objectors; youths would not have to train “against their
 parents minds.”787
     In the 1770 Boston Massacre, British soldiers fired on a crowd that was pelting them with
 stones and ice balls. John Adams served as defense attorney.788 Both sides agreed that the soldiers
 and the crowd each had the right to carry arms for self-defense. “The court’s charge to the jury
 asserted the traditional duty of private persons to respond to the hue and cry and to carry arms: ‘It
 is the duty of all persons (except women, decrepit persons, and infants under fifteen) to aid and
 assist the peace officers to suppress riots & c. when called upon to do it. They may take with them
 such weapons as are necessary to enable them effectually to do it.’”789
     As political tensions mounted, the British tried to suppress political meetings. They could not
 do so, for the Redcoats were far outnumbered by armed Americans, including teenagers. When
 British General sent two companies of Redcoats to dissolve an illegal town meeting in Salem,
 soldiers backed down when swarms of armed patriots began to appear.790 Gage’s aide John
 Andrews wrote:

          there was upwards of three thousand men assembled there from the adjacent towns,
          with full determination to rescue the Committee if they should be sent to prison,
          even if they were Oblig’d to repel force by force, being sufficiently provided for
          such a purpose; as indeed they are all through the country—every male above the
          age of 16 possessing a firelock with double the quantity of powder and ball enjoin’d
          by law.791

     At the time Massachusetts ratified the Constitution on February 6, 1788, its militia laws
 provided for “the train-band to contain all able-bodied men, from sixteen to forty years of age, and
 the alarm-list all other men under fifty years of age.”792
     Every militiaman “not under the control of parents, masters or guardians, and being of
 sufficient ability therefore in the judgment of the selectmen of the town in which he shall dwell,”

 784
     1 RECORDS OF THE GOVERNOR AND COMPANY OF THE MASSACHUSETTS BAY IN NEW ENGLAND 190 (Nathaniel B.
 Shurtleff ed., 1853).
 785
     The “trained band.” In American usage, either the militia in general, or an elite militia unit that received extra
 training. In British usage, only an elite unit.
 786
     2 RECORDS OF THE GOVERNOR AND COMPANY OF THE MASSACHUSETTS BAY IN NEW ENGLAND 99 (Nathaniel B.
 Shurtleff ed., 1853).
 787
     Id.
 788
     JOHN ADAMS, 3 LEGAL PAPERS OF JOHN ADAMS 5-6 (L. Kinvin Wroth & Hiller B. Zobel eds., 1965).
 789
     Id. at 285.
 790
     RAY RAPHAEL, A PEOPLE’S HISTORY OF THE AMERICAN REVOLUTION: HOW COMMON PEOPLE SHAPED THE FIGHT
 FOR INDEPENDENCE 55 (2002).
 791
     Id.
 792
     I. THOMAS & E.T. ANDREWS, THE PERPETUAL LAWS OF THE COMMONWEALTH OF MASSACHUSETTS FROM THE
 ESTABLISHMENT OF ITS CONSTITUTION IN THE YEAR 1780 TO THE END OF THE YEAR 1800, at 339 (1801).


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 had to “equip himself, and be constantly provided with a good fire-arm,” plus a ramrod, cleaning
 tools, a bayonet and scabbard, a cartridge box to hold “fifteen cartridges at least,” plus six flints,
 one pound of powder, forty leaden balls suitable for this firearm, a haversack, blanket, and
 canteen.”793 Officers and cavalrymen had to provide themselves with horses plus associated
 equipment, and a carbine (a shorter, lighter-weight long gun, well-suited for use while mounted).794
     Militiamen who failed to equip themselves with the required arms could be fined.795
     Regarding militiamen who were “under the control of parents, masters or guardians,” the
 parent, master, or guardian was responsible for providing the equipment, and could be fined for
 failure to do so.796 Both servants and young people who were living at home were, presumably,
 not yet earning enough income to live independently, so they might not be able to afford their own
 arms.
     For older militiamen who were genuinely unable to afford arms, the town would be responsible
 for providing them.797 The donated arms remained town property and could not be sold by the
 militiaman.798

        M. Plymouth Colony: “each man servant”
     By 1939, Plymouth had long ceased to exist as an independent political entity. Even in the
 early days, it had been overshadowed by its larger and culturally similar neighbor, the
 Massachusetts Bay Colony. In 1691, Plymouth chose assimilation with Massachusetts; it was a
 defensive measure, since New York was trying to annex Plymouth.799 So we cover Plymouth
 Colony in order with Massachusetts Bay.
     Plymouth’s first written arms mandate came in 1632.800 “[E]very freeman or other inhabitant
 must provide for himselfe and each under him able to beare arms a musket and other serviceable
 peece with bandeleroes and other apurtanances,” plus two pounds of powder and 10 pounds of
 bullets.801 This was reenacted in 1636, specifying that it included “each man servant.”802 As in
 Massachusetts, the master had to provide the arms for the servants, many of whom presumably
 could not afford their own.803
     A 1643 update revised the required firearms.804 A comprehensive recodification in 1671
 specified that the militia is “every man from the age sixteen and upwards.”805 It also required
 smiths to repair arms and to charge the same rates they charged for other work.806 In 1676, old-

 793
     Id. at 340-41.
 794
     Id. at 347.
 795
     Id. at 341.
 796
     Id.
 797
     Id.
 798
     Id.
 799
     DAVID S. LOVEJOY, THE GLORIOUS REVOLUTION IN AMERICA 347 (1972).
 800
     THE COMPACT WITH THE CHARTER AND LAWS OF THE COLONY OF NEW PLYMOUTH 30-31 (William Brigham ed.,
 1836).
 801
     Id. at 31.
 802
     Id. at 44-45.
 803
     Id.
 804
     Id. at 74 (service guns should be matchlocks, snaphaunces [an early version of the flintlock], or flintlocks, not
 longer than four and a half feet, and of a bore at least the size of a caliver or a bastard musket).
 805
     Id. at 285-86.
 806
     Id. at 286.


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 fashioned matchlocks (ignited by burning cord) were no longer acceptable for the militia; the gun
 had to be a flintlock or a snaphaunce (ignited by a spark from flint striking steel). 807 A 1681
 revision added the requirement to possess a sword or cutlass.808
     Like the other colonies, Plymouth had many indentured servants. After their term of service
 was completed, they became legally free. The age of attaining freedom would vary of course, but
 it could include people in their late teens or early twenties. Former male servants, or other male
 single persons, could not set up their own households unless they possessed the requisite arms and
 ammunition.809 If they did not, they had to work for someone who would buy the arms and
 ammunition for them.810

       N. Georgia: No going to church without arms
     Georgia did not get around to ratifying the Second Amendment until March 18, 1939.811 It
 was only three days after Hitler had invaded Czechoslovakia. As was the typical Nazi practice,
 one of the first acts of the dictatorship was to confiscate arms from the new subjects.812
     In 1791, when the Second Amendment became part of the Constitution, Georgia required
 males between 16 and 50 to serve in the militia and provide their own arms.813 The arms
 requirement was “one rifle musket, fowling-piece or fusee fit for action, with a cartridge box or
 powder-horn answerable for that purpose with six cartridges or powder and lead equal thereto and
 three flints.”814
    A 1770 Georgia law, copied from South Carolina, imposed fines on those in the militia who
 came to church unarmed.815




 807
     Id. at 184.
 808
     Id. at 192.
 809
     Id. at 35.
 810
     Id. On top of the individual requirement to possess arms, towns had to have their own: two flintlocks and two
 swords per 30 men. Id. at 84. These could be available as a reserve in case of breakage during war; they could also
 be furnished to persons who could not afford their own.
 811
     ACTS AND RESOLUTIONS OF THE GENERAL ASSEMBLY OF THE STATE OF GEORGIA 1414 (1939).
 812
     See, e.g., THE TIMES (London), Mar. 16, 1939, at 16b.
            Immediately a proclamation, bordered in red and bearing the German eagle and swastika which is
            now familiar to every Czech town and village, was posted…Under this proclamation no one was
            allowed in the streets after 8 p.m. . . .; all popular gatherings were forbidden; and weapons,
            munitions, and wireless sets were ordered to be surrendered immediately. Disobedience of these
            orders, the proclamation ended, would be severely punished under military law.
 813
     19 (pt. 2) THE COLONIAL RECORDS OF THE STATE OF GEORGIA 348 (Allen D. Candler ed., 1911),
 https://books.google.com/books?id=1TMTAAAAYAAJ&printsec=frontcover&source=gbs_ge_summary_r&cad=0
 #v=onepage&q&f=false.
 814
     Id. at 353.
 815
     19 (pt. 1), id. at 137-40. Georgia continued to mandate the carrying of arms in non-militia contexts in the nineteenth
 century. An 1806 law required “All male white inhabitants . . . from the age of eighteen to forty-five years . . . to
 appear and work upon the several roads, creeks, causeways, water-passages, and bridges” and to “carry with him one
 good and sufficient gun or pair of pistols, and at least nine cartridges to fit the same, or twelve loads of powder and
 ball, or buck shot.” OLIVER H. PRINCE, DIGEST OF THE LAWS OF THE STATE OF GEORGIA 407, 409 (1822),
 https://books.google.com/books?id=9tUtYuEuWC0C&pg=PA339&dq=georgia+1786+laws&hl=en&sa=X&ved=0a
 hUKEwjj9Ym0nafeAhVhpoMKHaLIC0IQ6AEIRzAF#v=onepage&q=%22gun%22&f=false.


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          O. Connecticut: “all persons shall beare Armes that are above the age sixteene
          yeeres”
      The Nutmeg State was also slow in its Second Amendment ratification, finally acting on April
 19, 1939.816 The date was the anniversary of the battles of Lexington and Concord, when the
 American Revolution had begun in 1775.817 On that date, American militia and irregulars had
 repulsed British efforts to confiscate arms. But 164 years later, totalitarianism was on the march.
 Italian tyrant Mussolini had invaded Albania on Good Friday, April 7, 1939, and conquered the
 small nation in a few days.818
      When Connecticut was founded in 1636, its government ordered that “every souldier” should
 have “in his own howse in a readiness” two pounds of gunpowder and twenty lead bullets.819 A
 more detailed law in 1637 ordered “that all persons shall beare Armes that are above the age
 sixteene yeeres.”820 Commissioners and church officers were exempt.821 “[E]very military man”
 had to have “continually in his house” half a pound of powder and two pounds of bullets.822 Towns
 were required to have specified reserves of gunpowder and lead bullets.823
      Central stores of bullets and gunpowder were important in case of extended fighting. The
 colonists’ personal supplies of ammunition might run out. During wartime, roads might be
 captured by the enemy, so a town might not be able to bring in more gunpowder and lead from
 outside.
     In 1650, the colony ordered “[t]hat all persons that are above the age of sixteene yeares, except
 magistrates and church officers, shall beare Armes…; and every male person … aboue the said
 Age, shall have in continuall readines, a good muskitt or other gunn, fitt for service, and allowed
 by the Clark of the Band.”824
     New Haven, a separate colony until 1662, required males 16 to 60 to have “a good serviceable
 gun…to be kept in a constant fitness in all Respects for service.”825 Also necessary were a “a good
 sword,” bandoleers, a powder horn, worm, scourer, priming wire, shot bag, charger, “and
 whatsoever else is necessary for such service.”826 The ammunition minimum was at least “a pound
 of good powder” plus “four pounds of pistol bullets” or twenty-four long gun bullets, plus match

 816
      JOURNAL OF THE SENATE OF THE STATE OF CONNECTICUT, JAN. SESS., 1939: PART 2, at 1403 (1939),
 https://babel.hathitrust.org/cgi/pt?id=mdp.39015067981400;view=1up;seq=193.
 817
     See, e.g., ALLEN FRENCH, THE DAY OF CONCORD AND LEXINGTON: THE NINETEENTH OF APRIL, 1775 (1984).
 818
     Albania had won its independence from the Ottoman Empire, in a 1908-12 war in which Albanians demanded,
 inter alia, the right to bear arms. But in 1928 King Zog, an authoritarian ruler, had banned arms for all tribes but his
 own. OWEN PEARSON, ALBANIA AND KING ZOG: INDEPENDENCE, REPUBLIC AND MONARCHY 1908-1939, at 21, 26-27,
 299, 304 (2005).
 819
     1 PUBLIC RECORDS OF THE COLONY OF CONNECTICUT 3 (J. Hammond Trumbull ed., 1850).
 820
     Id. at 15.
 821
     Id.
 822
     Id.
 823
     Id. at 15-16.
 824
     Id. at 542-43; CODE OF 1650, BEING A COMPILATION OF THE EARLIEST LAWS AND ORDERS OF THE GENERAL COURT
 OF CONNECTICUT 72-73 (Silas Andrus ed., 1822).
 825
     NEW-HAVEN’S SETTLING IN NEW-ENGLAND AND SOME LAWES FOR GOVERNMENT: PUBLISHED FOR THE USE OF
 THAT COLONY 60-61 (1656).
 826
     Id. at 61. The worm was a device for cleaning the barrel and for extracting an unfired bullet from a firearm. The
 priming wire was for cleaning the touch hole—the small hole where the fire from the priming pan connected with the
 main powder charge in the barrel.


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 for a matchlock or flints for a flintlock.827
      Connecticut ratified the Constitution a week after Georgia on January 9, 1788. Under the state
 law of the time, “[A]ll male Persons, from sixteen Years of Age to Forty-five, shall constitute the
 Military Force of this State.”828 Although not part of “the military force,” all “Householders under
 fifty-five Years of Age” had to “be furnished at their own Expence” with the same arms as the
 militia.829
      These arms were “a well fixed Musket, the Barrel not less than three Feet and an Half long,
 and a Bayonet fitted thereto, with a Sheath and Belt or Strap for the same.”830 Militiamen, males
 under fifty-five, and householders also needed a ramrod, worm, priming-wire, and cartridge box
 with “fifteen rounds of Cartridges, made with good Musket Powder and Ball, fitting his Gun.”831
 Also needed were “six good Flints” and “one Canteen holding not less than three Pints.”832
      Light-Dragoons (horsemen) had to have “a Case of good Pistols…one Pound of good Powder,
 three Pounds of sizable Bullets, twelve Flints, a good pair of Boots and Spurs.”833

       IV. Federal Laws
     The Continental Congress, consisting of delegates from the thirteen colonies,834 began
 exercising powers of national sovereignty in 1774.835 Independence was formally declared in
 1776. In 1781, the Continental Congress turned into the Confederation Congress, when the
 Articles of Confederation were ratified.836 During the Revolution, the Congress did its best to
 provide for the Continental Army. But management of the wartime militia was far beyond the
 administrative capacity of the Congress.
     Under the Articles of Confederation, every state was obliged to “always keep up a well
 regulated and disciplined militia, sufficiently armed and accoutered.”837 While the militias were a
 state responsibility, the Confederation Congress could requisition the states to supply land forces
 “for the common defense.”838 Also, Congress could appoint militia officers above the rank of
 colonel when the state militia forces were in national service.839 Under a federal requisition, the
 state legislature had the duty to “raise the men and cloath, arm and equip them in a soldier like
 manner,” with the Confederation Congress paying the expense.840
     The Confederation Congress drew up a militia plan, putting married men and single men in

 827
     Id.
 828
     ACTS AND LAWS OF THE STATE OF CONNECTICUT IN AMERICA 144 (1786).
 829
     Id. at 145.
 830
     Id. at 150.
 831
     Id.
 832
     Id.
 833
     Id.
 834
      Georgia was unrepresented at the 1774 Convention because it was preoccupied by an Indian uprising, and
 dependent on the British for supplies.
 835
     Documents from the Continental Congress and the Constitutional Convention, 1774 to 1789, LIBR. CONGRESS,
 https://www.loc.gov/collections/continental-congress-and-constitutional-convention-from-1774-to-1789/articles-
 and-essays/timeline/1773-to-1774/ (last visited Jan. 13, 2019).
 836
     ARTICLES OF CONFEDERATION OF 1781.
 837
     ARTICLES OF CONFEDERATION OF 1781, art. VI.
 838
     ARTICLES OF CONFEDERATION OF 1781, art. VII.
 839
     Id.
 840
     ARTICLES OF CONFEDERATION OF 1781, art. IX.


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 different classes. The militia were to be “All the free male inhabitants of each state from 20 to
 fifty, except such as the laws of the State shall exempt, to be divided into two general classes; one
 class to consist of married and the other class of single men.”841 Required arms for infantry and
 dragoons were similar to, although less detailed than, the state laws.842
     The Articles of Confederation gave Congress few powers to legislate directly on the people,
 instead requiring Congress to act through the state governments. As far as we can tell, the 1783
 congressional militia plan did not have much influence.
      The United States Constitution, proposed in 1787 and ratified in 1789, was intended to change
 things. Congress was given a list of enumerated powers, by which it could directly act on the
 people.843 Article I, section 8 contained two militia clauses.844 Clause 15 (the Calling Forth
 Clause) gave Congress power “To provide for calling forth the Militia to execute the Laws of the
 Union, suppress Insurrections and repel Invasions.”845 Clause 16 (the Arming Clause) gave
 Congress power:

          To provide for organizing, arming, and disciplining, the Militia, and for governing
          such Part of them as may be employed in the Service of the United States, reserving
          to the States respectively, the Appointment of the Officers, and the Authority of
          training the Militia according to the discipline prescribed by Congress.846

    After several years of prodding by President Washington, Congress exercised its power to
 organize and to provide for arming the federal militia. The Militia Act of 1792 (Uniform Militia
 Act) was signed into law by President Washington on May 8, 1792.847 The Act provided:

          That each and every free able-bodied white male citizen of the respective States,
          resident therein, who is or shall be of age of eighteen years, and under the age of
          forty-five years (except as is herein after excepted) shall severally and respectively

 841
      25 JOURNALS OF THE CONTINENTAL CONGRESS 741 (Oct. 23, 1783), https://memory.loc.gov/cgi-
 bin/query/r?ammem/hlaw:@field(DOCID+@lit(jc02544).
 842
     Each class to be formed into corps of Infantry and Dragoons, organized in the same manner as proposed for regular
 troops.
           Those who are willing to be at the expense of equipping themselves for Dragoon service to be
           permitted to enter into that corps, the residue to be formed into the Infantry; this will consult the
           convenience and inclinations of different classes of citizens.
                Each officer of the Dragoons to provide himself with a horse, saddle &c. pistols and sabre, and
           each non-commissioned officer and private with the preceding articles and these in addition, a
           carbine and cartouch box, with twelve rounds of powder and ball for his carbine, and six for each
           pistol.
                Each officer of the Infantry to have a sword, and each non-commissioned officer and private, a
           musket, bayonet and cartouch box, with twelve-rounds of powder and ball.
 Id. at 741-42.
 843
     U.S. CONST., art. I, § 8.
 844
     U.S. CONST., art. I, § 8.
 845
     U.S. CONST., art. I, § 8, cl. 15.
 846
     U.S. CONST., art. I, § 8, cl. 16.
 847
     More effectually to provide for the National Defence by establishing an Uniform Militia throughout the United
 States,1 Stat. 271 (1792) (Uniform Militia Act) (UMA). The UMA was sometimes called the Second Militia Act,
 since a statute enacted earlier that year had provided a system for calling forth the militia in times of necessity. To
 provide for calling forth the Militia to execute the laws of the Union, suppress insurrections and repel invasions, 1
 Stat. 264 (1792).

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         be enrolled in the militia, by the Captain or Commanding Officer of the company,
         within whose bounds such citizen shall reside, and that within twelve months after
         the passing of this Act. And it shall at all time hereafter be the duty of every such
         Captain or Commanding Officer of a company, to enroll every such citizen as
         aforesaid, and also those who shall, from time to time, arrive at the age of 18 years,
         or being at the age of 18 years, and under the age of 45 years (except as before
         excepted) shall come to reside within his bounds; and shall without delay notify
         such citizen of the said enrollment, by the proper non-commissioned Officer of the
         company, by whom such notice may be proved. That every citizen, so enrolled and
         notified, shall, within six months thereafter, provide himself with a good musket or
         firelock, a sufficient bayonet and belt, two spare flints, and a knapsack, a pouch,
         with a box therein, to contain not less than twenty four cartridges, suited to the bore
         of his musket or firelock, each cartridge to contain a proper quantity of powder and
         ball; or with a good rifle, knapsack, shot-pouch, and powder-horn, twenty balls
         suited to the bore of his rifle, and a quarter of a pound of powder; and shall appear
         so armed, accoutred and provided, when called out to exercise or into service,
         except, that when called out on company days to exercise only, he may appear
         without a knapsack. That the commissioned Officers shall severally be armed with
         a sword or hanger, and espontoon; and that from and after five years from the
         passing of this Act, all muskets from arming the militia as is herein required, shall
         be of bores sufficient for balls of the eighteenth part of a pound; and every citizen
         so enrolled, and providing himself with the arms, ammunition and accoutrements,
         required as aforesaid, shall hold the same exempted from all suits, distresses,
         executions or sales, for debt or for the payment of taxes.848

     The legislative history of the Militia Act reveals why eighteen was selected as the minimum
 age. Secretary of War Henry Knox had presented an ambitious militia plan to Congress in 1790.849
 Knox wanted to create a national select militia, founded on intensive training of males aged 18 to
 20.850 Even in a Federalist-dominated Congress, the idea was anathema. As opponents pointed
 out, the nascent federal government did not have the administrative capability to establish an
 effective national militia.
     For the more realistic 1792 statute, Knox explained that “[t]he period of life in which military
 service shall be required of the citizens of the United States [was] to commence at eighteen.”851
 Knox acknowledged that “military age has generally commenced at sixteen,” but Knox instead set
 the bar at 18 because “the youth of sixteen do not commonly attain such a degree of robust strength
 as to enable them to sustain without injury the hardships incident to the field.”852 Knox also stated
 that “all men of the legal military age should be armed.”853 Representative Jackson of Georgia
 agreed “that from eighteen to twenty-one was found to be the best age to make soldiers of.”854
     Knox’s first, rejected, plan had implied that the select militia of 18-20 would be armed by the
 federal government. This brought stern objection:

 848
     Id.
 849
     1 ANNALS OF CONG. app. 2141-61 (Jan. 18, 1790).
 850
     Id. at 2146.
 851
     Id.
 852
     Id. at 2153.
 853
     Id. at 2145-46.
 854
     Id. at 1860.

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         Representative Wadsworth warned that supporters of the federal arming proposal
         seemed to be suggesting that large segments of the population would be armed by
         the government, with the attendant dangers: “At first it appeared to be intended for
         the benefit of poor men who were unable to spare money enough to purchase a
         firelock: but the gentleman from Delaware (Mr. Vining) had mentioned apprentices
         and young men in their non-age: he would be glad to know whether there was a
         man within these walls, who wished to have so large a proportion of the community
         by the United States, and liable to be disarmed by the government, whenever it
         should be thought proper.” Masters could be expected to furnish arms to their
         apprentices. As to other young men, “their parents would rather give them guns of
         their own, than let them take others from the U.S. which were liable to be taken
         away at the very moment they were most wanted.”855

 The notion that the federal government might be able to take provided arms away from 18-to-20-
 year-olds set off alarm bells.
     The idea that 18-year-olds should be part of the militia was hardly controversial. They had
 been part of every colonial and state militia from the very beginning, except for a nineteen-year
 period in Virginia in the middle of the eighteenth century. George Washington believed that 18
 was the ideal age for militia enrollment.856 Nearly a decade before he signed the Militia Act of
 1792, he wrote to Alexander Hamilton that, “the Citizens of America … from 18 to 50 Years of
 Age should be borne on the Militia Rolls” and “so far accustomed to the use of [arms] that the
 Total strength of the Country might be called forth at a Short Notice on any very interesting
 Emergency.”857
     Congress made no changes to the 1792 Militia Act until the Civil War, when an 1862 revision
 removed the word “white” from the definition of the militia.858
     By the early twentieth century, the 1792 Act was in obvious need of revision. Muskets,
 powderhorns, and flints were no longer the appropriate equipment for militiamen. President
 Theodore Roosevelt, a gun enthusiast and National Rifle Association (NRA) member,859 declared:
 “Our militia law is obsolete and worthless.”860
     A new law, the Dick Act (named for its sponsor, Charles Dick) repealed the 1792 Act and
 replaced it with the modern definition of the militia of the United States.861 This militia consisted
 of all able-bodied male citizens between 18 and 45 years of age, and also aliens who have declared
 intent to naturalize.862 The “organized militia” was the National Guard of the several States.863

 855
     14 DOCUMENTARY HISTORY OF THE FIRST FEDERAL CONGRESS: DEBATES IN THE HOUSE OF REPRESENTATIVES 62
 (1992).
 856
     26 THE WRITINGS OF GEORGE WASHINGTON 389 (John C. Fitzpatrick ed., 1938).
 857
     Id.
 858
     Militia Act of 1862, 12 Stat. 597 (July 17, 1862).
 859
      For information on Roosevelt, guns, and the NRA, see, e.g., THEODORE ROOSEVELT, HUNTING TIPS OF A
 RANCHMAN (NRA Heritage Library 1999) (1885); THEODORE ROOSEVELT, GOOD HUNTING: IN PURSUIT OF BIG GAME
 IN THE WEST (1907); Ashley Halsey, Jr., Theodore Roosevelt, Trailblazer among Hunter-Conservationists, THE
 AMERICAN RIFLEMAN, June 1972, at 14, 16.
 860
     14 MESSAGES AND PAPERS OF THE PRESIDENTS 6672 (Bureau of National Literature, 1917).
 861
     Dick Act, ch. 196, 32 Stat. 775 (1903).
 862
     Id.
 863
     Id.


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 Everyone else was part of the “reserve militia,” which later statutes labeled the “unorganized
 militia.”864
     There was no mandate for personal possession of arms. Nor, except for the National Guard,
 was there any provision for the federal government to provide arms.
     In the current version of the statute:

             (a) The militia of the United States consists of all able-bodied males at least 17
         years of age and, except as provided in section 313 of title 32, under 45 years of
         age who are, or who have made a declaration of intention to become, citizens of the
         United States and of female citizens of the United States who are members of the
         National Guard.
             (b) The classes of the militia are--
             (1) the organized militia, which consists of the National Guard and the Naval
         Militia; and
             (2) the unorganized militia, which consists of the members of the militia who
         are not members of the National Guard or the Naval Militia.865

     In 1903, Congress created the National Board for the Promotion of Rifle Practice (NBPRR).866
 It did not require citizens to possess arms or to practice with them, but it encouraged them to do
 so. The NBPRR developed a close relationship with the NRA, which had been founded in 1871,
 growing from concerns about the poor marksmanship of Union soldiers during the Civil War.867
 By statute, the NBPRR and the NRA were linked.868 The NRA was the NBPRR’s agent for
 distributing heavily discounted surplus arms to the American public, via NRA gun clubs.869
     The National Guard Association (an association of state entities), the National Board for the
 Promotion of Rifle Practice (a federal entity), and the National Rifle Association (a membership
 organization) developed a close and mutually supportive relationship. Their boards of directors
 often overlapped.870
     Through this relationship, over the course of the twentieth century the federal government put
 millions of military-grade firearms into the hands of private American citizens, including young
 adults aged 18 to 20. This bore fruit in World War II. With the National Guard federalized and




 864
     Id.
 865
     10 U.S.C. § 246 (2019). There are various occupational exemptions; conscientious objectors may be required to
 perform noncombat duty. 10 U.S.C. § 247 (2019).
 866
     The National Matches History, CIVILIAN MARKSMANSHIP PROGRAM http://thecmp.org/competitions/cmp-
 national-matches/the-national-matches-history/ (last visited Jan. 13, 2019).
 867
     A Brief History of the NRA, NAT’L RIFLE ASS’N (2018), https://home.nra.org/about-the-nra/.
 868
     Act of Mar. 3, 1905, ch. 1416, 33 Stat. 986-87.
 869
     Id.
 870
     JEFFREY A. MARLIN, THE NATIONAL GUARD, THE NATIONAL BOARD FOR THE PROMOTION OF RIFLE PRACTICE, AND
 THE NATIONAL RIFLE ASSOCIATION: PUBLIC INSTITUTIONS AND THE RISE OF A LOBBY FOR PRIVATE GUN OWNERSHIP
 182 (May 10, 2013) (unpublished Ph.D. dissertation, Ga. St. U.), https://scholarworks.gsu.edu/history_diss/33/;
 RUSSELL S. GILMORE, CRACKSHOTS AND PATRIOTS: THE NATIONAL RIFLE ASSOCIATION AND AMERICA’S MILITARY-
 SPORTING TRADITION, 1871-1929 (1974) (unpublished Ph.D. dissertation, Univ. of Wisc.) (available in ProQuest
 Dissertations & Theses Global).


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 sent into overseas service, coastal security was provided by the unorganized militia, “whose ages
 ranged from 16 to 65, served without pay and provided their own arms.”871
     The federal Gun Control Act of 1968 required all persons “engaged in the business” of selling
 firearms to obtain a Federal Firearms License.872 (“FFL”; the term is used for both the license and
 the licensee.) An FFL may not deliver a handgun to a person under 21, or a rifle or shotgun to a
 person under 18.873 As the Supreme Court later noted, the 1968 Act aimed to keep guns away
 from “juveniles, criminals, drug addicts, and mental incompetents.”874
     The FFL rule for handgun deliveries will be discussed in Part V.B., which examines the
 unsuccessful challenge to the statute in NRA v. BATF (5th Cir.).
     In 1994, Congress prohibited handgun possession by minors (under 18), with certain
 exceptions.875 That law was upheld by the First Circuit in Rene E., which is discussed below in
 Part V.A.


       V.     Nineteenth and Early Twentieth Century State Laws and
              Cases—and Their Role in Modern Litigation
     Our article in the previous issue of the Southern Illinois University Law Journal surveyed
 nineteenth and early twentieth century state laws and cases about firearms restrictions on young
 people.876 We also examined the five leading post-Heller federal circuit cases involving
 challenges to state or federal arms laws aimed at young people. In this Part, we will summarize
 the findings from that Article. In the interests of concision, many of the footnotes and many details
 of the discussion from the original article are omitted in this summary.

       A. State Laws and Cases

     As in the colonial period and the Founding Era, there were no age-based arms restrictions in
 the early republic or the Jacksonian period. The first age restrictions appear in the South shortly
 before the Civil War. In 1856 Alabama prohibited giving handguns to male minors. In 1860
 Kentucky outlawed providing handguns to minors, free blacks, or slaves. Other than these two
 laws, age-based restrictions did not appear until the last quarter of the nineteenth century.
     As of 1899, there were forty-six states in the Union. Nineteen of them had some sort of law
 involving handguns and minors and the other twenty-seven had no such laws. No state
 criminalized handgun possession by minors. Ten states generally prohibited handgun transfers to

 871
     Don B. Kates, Handgun Prohibition, 82 MICH. L. REV. 204, 272, (1983) (citing Office of the Assistant Secretary
 of Defense, U.S. Dept. of Defense, U.S. Home Defense Forces Study, 58, 62-63 (1981)).
 872
     Gun Control Act of 1968, Pub. L. No. 99-308, 100 Stat. 449, 450 (1968); 18 U.S.C. § 923, 27 C.F.R. § 478.41.
 873
     18 U.S.C. § 922(b)(1) (2019).
 874
     Huddleston v. United States, 415 U.S. 814, 828 (1974). The federal legislation aimed to curb crime by keeping
 “firearms out of the hands of those not legally entitled to possess them because of age, criminal background, or
 incompetency.” Id. at 824.
      A study of the 1968 law found that it had no impact on the share of 18-to-20-year-olds arrested for homicide,
 robbery, or aggravated assault. Gary Kleck, The Impact of the 1968 Gun Control Act’s Restrictions on Handgun
 Purchases by Persons Age 18 to 20 (2011), https://ssrn.com/abstract=1843526.
 875
     18 U.S.C. 922(x)(2) (2019).
 876
     David B. Kopel & Joseph G.S. Greenlee, History and Tradition in Modern Circuit Cases on the Second Amendment
 Rights of Young People, 43 S. ILL. U.LJ. (2018).

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 minors; four of those ten had exceptions for self-defense, hunting, or home possession, and
 Alabama’s law was only for males. Of these ten statutes, five expressly prohibited loans, while
 the other five were phrased in terms that could be construed to refer only to permanent dispositions.
     Three other states did not restrict transfers in general, but did restrict sales (Delaware,
 Mississippi) or dealer sales (Wisconsin). Five states required parental consent for handgun
 transfers to minors (Illinois, Iowa, Kentucky, Missouri, and Texas). Nevada simply prohibited
 concealed carry.
     No state restricted long gun purchases by minors, long gun loans to minors, or other long gun
 transfers to minors, such as gifts.
     Modern courts have cited about a dozen cases that involved these statutes. We examined each
 of those cases, as well as precedents used in those cases. The majority of those cases did not
 involve constitutional issues. Instead, the decisions were about rules for issues on appeal, the facts
 of tort liability in a particular situation, and so on.
     Four cases did have some substantive analysis of the rights of young people. Tennessee’s State
 v. Callicutt (1878) upheld a statute against giving handguns to minors.877 Callicutt was explicitly
 founded on the Tennessee Supreme Court’s 1840 Aymette v. State.878 According to Aymette, the
 Second Amendment right to “bear” arms only means bearing arms while actively serving in a
 militia.879 The Heller Court expressly denounced Aymette: “This odd reading of the right is, to be
 sure, not the one we adopt.”880 Accordingly, Calicutt should have little weight as a modern
 precedent.
     The Georgia Supreme Court in 1911 upheld a 1910 statute that prohibited the carrying of
 firearms without a license and did not make licenses available to persons under 18. 881 The same
 statute made it illegal to “knowingly sell, or furnish, any minor with ‘any pistol, dirk, bowie knife,
 or sword cane, except under circumstances justifying their use in defending life, limb, or
 property.’”882
     The Georgia court in Glenn v. State made numerous errors. First, it interpreted the statute as
 a complete prohibition on persons under 18 from possessing pistols.883 The interpretation is plainly
 incorrect, since the statute expressly allowed possession for self-defense.
     Second, the Georgia court asserted in dicta that all modern handguns could be banned for
 everyone.884 Of course, that assertion is contrary to Heller.885 That assertion was also contrary to
 the Georgia Supreme Court’s 1846 decision in Nunn v. State, which struck down a state ban on
 almost all handguns.886 The Nunn decision is quoted and lauded by Heller more than any other



 877
     State v. Callicutt, 69 Tenn. 714 (1878).
 878
     Aymette v. State, 21 Tenn. (2 Hum.) 154 (1840).
 879
     Id. at 158.
 880
     District of Columbia v. Heller, 554 U.S. 570, 613 (2008).
 881
     Glenn v. State, 72 S.E. 927 (Ga. Ct. App. 1911).
 882
     Id. at 928.
 883
     Id. (“We conclude, therefore, that the act of 1910 not only prohibits minors under the age of 18 years from obtaining
 license to have a pistol or revolver on their persons, but that the clear intendment of said act is to prevent minors from
 having about their persons at all this character of weapons, and this construction is in harmony with the general
 legislation of the state on the subject of minors.”).
 884
     Id. at 929.
 885
     Heller, 554 U.S. 570.
 886
     Nunn v. State, 1 Ga. 243 (1846).


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 precedent.887 As of 1846, repeating handguns were already well-established and common in the
 market.
     Most egregiously, the Glenn court upheld the statute under the theory that minors have no
 rights that the legislature is bound to respect:

          It is entirely within the province of the Legislature, in the exercise of the police
          power of the state, to prohibit, on the part of minors, the exercise of any right,
          constitutional or otherwise, although it might only have the right in the case of
          adults to regulate and restrict such rights.888

     Glenn’s ratio decidendi is contrary to modern precedent.889 It is also plainly wrong under the
 law of the time. If Glenn were correct that minors have no constitutional rights, then the Georgia
 Constitution of 1877, which was still in effect in 1911, would have been no barrier to the Georgia
 legislature enacting laws against some or all minors: to take their property without due process of
 law, to banish them from the state, to inflict cruel and unusual punishments on them, to require
 Georgia minors to profess belief in an official state religion, to punish their dissent from said
 religion as heresy, to forbid them from criticizing government officials of Georgia, to search their
 houses without warrants, to forbid them to petition government, and to punish them with ex post
 facto laws and bills of attainder.890 The absurdity of the proposition is self-evident.
     The most thorough analysis of the arms rights of young people came from the Kansas Supreme
 Court in Parman v. Lemmon.891 The case was initially decided one way, then reversed following
 rehearing, so that the original dissent became the opinion of the court.
     The issue was whether a 20-gauge Winchester pump-action shotgun was a “dangerous
 weapon” prohibited by the Kansas statute that made it a misdemeanor to “sell, trade, give, loan or
 otherwise furnish any pistol, revolver or toy pistol, by which cartridges or caps may be exploded,
 or any dirk, bowie knife, brass knuckles, sling shot, or other dangerous weapons, to any minor, or
 to any person of notoriously unsound mind.”892
     Applying esjudem generis, the court held that long guns are not covered by the phrase
 “dangerous weapons.”893 The shotgun “is such a common implement that, if the lawmakers
 intended to include it in the prohibited list, it is extremely unlikely they would have failed to
 mention it.”894


 887
     Heller, 554 U.S. 570.
 888
     Glenn, 72 S.E. at 928-29.
 889
     See, e.g., Application of Gault, 387 U.S. 1, 13 (1967) (holding that “neither the Fourteenth Amendment nor the
 Bill of Rights is for adults alone” and that juveniles have the right to counsel, right to notice of charges, right to
 confront and cross-examine witnesses, and right against self-incrimination); Tinker v. Des Moines Indep. Cty. Sch.
 Dist., 393 U.S. 503, 511 (1969) (“Students in school as well as out of school are ‘persons’ under our Constitution.
 They are possessed of fundamental rights which the State must respect…”).
 890
     See GA. CONST. of 1877, art. I, § 1, parts 3, 7, 12, 15, 16, 24, § 3, part 2 (enumerating prohibitions on aforesaid
 types of government action, and not limiting the protections to only adults).
 891
     Parman v. Lemmon, 244 P. 227 (Kan. 1925).
 892
     Id. at 228 (citing R. S. 38-701). R.S. 38–702 made it unlawful for minors to possess these “dangerous weapons.”
 Id.
 893
     “The rule, ‘ejusdem generis’ ordinarily limits the meaning of general words to things of the same class as those
 enumerated under them.” Id. at 229 (citing 2 Words and Phrases, Second Series, 225).
 894
     Id. at 232 (Mason, J., dissenting) (later became opinion of the court).


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     Moreover, “the right of the people to keep and bear arms … is a basic principle of statecraft of
 deep concern to all who are clothed with authority and who feel their responsibility to hand on
 undiminished to future generations those liberties which are our proud American heritage.”895
     The experience from the first days of the Atlantic colonies through the Indian Wars of the late
 nineteenth century in Kansas had meant that

          the rifle over the fireplace and the shotgun behind the door were imperatively
          necessary utensils of every rural American household. And it was just as
          imperative that the members of such household, old and young, should know how
          to handle them. And it was almost equally true that, unless a man were trained in
          the use of the rifle and shotgun in his boyhood, he seldom learned to use them.896

       Announcing the reversal following the petition for rehearing, the Kansas Court explained:

          [I]t is reasonable to conclude that the Legislature did not intend to make law
          violators of 60 per cent. of the militia of the state, it being estimated that 60 per
          cent. of the personnel of that body are minors; that it did not intend to prohibit
          students under 21 years of age in the colleges from taking military training; that it
          did not intend to prohibit young men under 21 years of age from taking out hunters’
          licenses and hunting, that it did not intend to prohibit young men who have not yet
          reached the age of 21, who reside on the farms and ranches, from carrying and using
          shotguns and rifles when necessity requires.
               These suggestions and many others have had the consideration of the court. We
          do not deem it necessary to discuss the question at length, nor to analyze the cases.
          We are of the opinion that, if the Legislature of 1883 had intended to include
          shotguns in the prohibited list of dangerous weapons, it would have specifically
          mentioned them.
          ...
          By a change of view on the part of some of the Justices, the dissenting opinion at
          the time of the first decision has now become the controlling voice of the court, and
          further discussion is needless.897

     None of the Justices in Parman seemed to see a problem with the law against giving handguns
 to minors, which the Justices characterized as being needed occasionally for self-defense; the
 court’s focus was on long guns, which it characterized as the typical arm of rural self-defense, the
 ordinary arm of the militia, and a daily tool for rural life.
     The final case that involved arms and minors was Virginia’s United States v. Blakeney.898 It
 did not involve any law that targeted the arms rights of minors. Instead, the issue was application
 of the general rule that minors could not enter into enforceable contracts without the consent of
 their parent or guardian.899 (In the latter twentieth century, the age of majority for exercise of

 895
     Id. at 231 (Dawson, J., dissenting) (later became opinion of the court).
 896
     Id.
 897
     Id. at 233.
 898
     United States v. Blakeney, 44 Va. (3 Gratt.) 405 (1847).
 899
     Id.


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 contract and property rights without parental consent would be lowered to 18 in most states, the
 age that continues to prevail as the national norm.)
     The Supreme Court of Appeals of Virginia held that 18-to-20-year-old “minors” were to be
 treated as adults in the context of bearing arms.900 Blakeney was a 19-year-old who volunteered
 for military duty, and regretting his decision, argued that a minor could not enter into a valid
 contract.901 The court held the contract valid, based in part on the fact that as a 19-year-old,
 Blakeney had the mental and physical capacity to bear arms.902
     The court explained that “children” were exempted from military service because they are
 incapable of handling arms:

          No person is naturally exempt from taking up arms in defence of the State; the
          obligation of every member of society being the same. They only are excepted who
          are incapable of handling arms, or supporting the fatigues of war. This is the reason
          why old men, children, and women are exempted.903

 By contrast, “We know, as a matter of fact, that at the age of eighteen, a man is capable
 intellectually and physically of bearing arms.”904 And since 18-year-olds were just as capable as
 21-year-olds of both carrying arms and consenting to military service, the court held that 18-to-
 20-year-olds were bound by military enlistments just as adults over 21 were.905 The general rule
 about contracts

          has no application to the subject. The capacity of all citizens or subjects able to
          bear arms to bind themselves to do so by voluntary enlistment, is in itself a high
          rule of the public law, to which the artificial and arbitrary rule of the municipal law
          forms no exception.906

     In sum, the statutory and case law record on the nineteenth and early twentieth centuries
 provide no support for age-based restrictions on long guns. There were a minority of states with
 age-based restrictions on handguns. The largest group in the minority would be those that either
 banned retail sales or required parental permission for sales. Laws broad enough to prohibit
 parents from letting minors use handguns existed in five states. Few cases from the period address
 the arms rights of minors, and of those, hardly any can be considered valid precedents in light of
 Heller and other modern doctrine.

       B. Modern Circuit Cases




 900
     Id. at 414-15.
 901
     Id. at 406-07.
 902
     Id. at 425.
 903
     Id. at 408.
 904
     Id. at 418.
 905
     Id. at 416.
 906
     Id. at 409–10.


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    Our Article in the previous issue reviewed the nineteenth and early twentieth century history
 and tradition in the context of their use by the five post-Heller Circuit Court of Appeals cases
 examining the arms rights of young people. We will summarize the analysis of those cases.

       1. Rene E.

     In United States v. Rene E., the First Circuit upheld the 1994 federal statute (discussed in Part
 IV) that prohibits handgun possession by persons under 18.907 The court emphasized the
 importance of the statute’s exceptions, such as self-defense in the home, ranching, hunting, militia
 service, and so on.908
     For historical support, Rene E. relied primarily on the state cases discussed above.909 This is
 thin support, for reasons that we summarized above, and detailed in the previous Article.
     Regarding the Founding, Rene E. could not cite any original American source—hardly
 surprising in light of the many statutes detailed in Part III, supra. The colonial and early state
 governments had repeatedly mandated that persons 16 and older (or sometimes 18, 15, or 10) be
 armed.
     Instead, the First Circuit cited some modern law review articles stating that the Founders
 believed that unvirtuous persons could be disarmed.910 The paradigmatic examples in these
 articles were persons who were disloyal to the government during wartime, as well as slaves and
 hostile Indians. The point of the article is true enough, but nothing from the colonial or founding
 periods indicates that young people were considered unvirtuous people who should be disarmed.
 The statutory evidence is quite the opposite.

       2. National Rifle Association v. Bureau of Alcohol, Tobacco, Firearms, Explosives

     In this case, the Fifth Circuit upheld the 1968 federal statute that prohibits persons 18-20 from
 buying handguns in retail stores.911 The statute does not prohibit young adults from acquiring
 firearms from persons who are not “engaged in the business of selling arms.”912 The statute allows
 persons 18 and older to buy long guns from stores (and from others).
     The strongest part of the court’s historical analysis was its list of state statutes. As discussed
 above, by 1899 there were fifteen states that prohibited minors from buying handguns in stores,
 and three more that required parental permission. These restrictions were not the majority
 approach, but neither were they eccentric.
     For earlier history, the opinion was weaker. As the court stated (without citation), gun control
 laws did exist at the time of the Second Amendment and before.913 This was true, but there were
 no age restrictions on buying, owning, or carrying firearms.



 907
     United States v. Rene E., 583 F.3d 8 (1st Cir. 2009).
 908
     Id. at 13-14.
 909
     Id. at 14-15.
 910
     Id. at 15-16.
 911
     Nat’l Rifle Ass’n v. Bureau of Alcohol, Firearms, and Explosives, 700 F.3d 185 (5th Cir. 2012); 18 U.S.C. §
 922(x)(2) (2019).
 912
     NRA v. BATF, supra note 911, 700 F.3d at 189.
 913
     Id. at 200.


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     There were laws that “targeted particular groups for public safety reasons.”914 These were
 laws aimed at slaves, Indians, and, during wartime, “laws that confiscated weapons owned by
 persons who refused to swear an oath of allegiance to the state or to the nation.”915 The
 disarmament of persons not considered citizens (slaves and Indians), or who demonstrated
 disloyalty, should not create precedent for targeting other “particular groups” whose loyalty is
 unquestioned.916 The Fifth Circuit also cited William Rawle, whose 1825 constitutional law
 treatise was cited with approval in Heller.917 Rawle, as fully quoted in Heller, wrote that persons
 who “abused” the right to arms could be disarmed.918 The Fifth Circuit chopped Rawle to make it
 appear that he supported disarmament of people who had never abused the right, but whom the
 government might consider prospectively dangerous.919
     Like the Georgia Supreme Court in the 1911 Glenn case, the Fifth Circuit resorted to the claim
 that minors lack constitutional rights.920 As the court pointed out, the age majority at common law
 was 21.921 Therefore,

         If a representative citizen of the founding era conceived of a ‘minor’ as an
         individual who was unworthy of the Second Amendment guarantee, and conceived
         of 18–to–20–year–olds as ‘minors,’ then it stands to reason that the citizen would
         have supported restricting an 18–to–20–year–old’s right to keep and bear arms.922

     The Fifth Circuit’s speculation is contrary to all the evidence. Persons under 21 were certainly
 minors under the common law of the Founding Era. Thus, their independent exercise of contract
 and property rights was limited. However, there is no evidence “a representative citizen” (or
 anyone else) in the Founding Era considered all minors “unworthy of the Second Amendment
 guarantee.”923 To the contrary, state and federal laws of the Founding Era are unanimous that
 minors aged 18-to-20 were considered worthy of the Second Amendment guarantee. As had been
 the case from the earliest colonial days, they were part of the militia and were required to possess
 their own arms. Massive and uncontradicted evidence from the Founding Era shows that 18-to-20-
 year-olds did have the right to keep and bear arms, and indeed were required by law to exercise
 that right.
     Assuming arguendo that young adults have Second Amendment rights, the Fifth Circuit
 applied intermediate scrutiny. The court chose intermediate scrutiny in part because the federal



 914
     Id.
 915
     Id.
 916
     Id.
 917
     Id. at 201.
 918
     WILLIAM RAWLE, A VIEW OF THE CONSTITUTION OF THE UNITED STATES OF AMERICA 125-26 (William S. Hein &
 Co. 2003) (2d ed. 1829),
 https://books.google.com/books?id=akEbAAAAYAAJ&printsec=frontcover&source=gbs_ge_summary_r&cad=0#
 v=onepage&q&f=false; District of Columbia v. Heller, 554 U.S. 570, 607-08 (2008) (quoting RAWLE, A VIEW OF
 THE CONSTITUTION OF THE UNITED STATES OF AMERICA).
 919
     NRA v. BATF, supra note 918, 700 F.3d at 201 (quoting RAWLE, supra note 913).
 920
     Id.
 921
     Id.
 922
     Id. at 202.
 923
     Id.


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 law did not prohibit minors from acquiring handguns for home defense or for other lawful
 purposes.924
     The Fifth Circuit found laws against 18-20-year-olds supportable by Heller’s emphasis on
 arms possession by “responsible” citizens.925 As the Fifth Circuit accurately stated, persons 18-
 to-20 commit gun crimes at a higher rate than do older people.926 The same can be said of persons
 21-to-25, who commit crimes at a higher rate than do people over 25. The same is true for persons
 60-to-65, who commit crimes at a higher rate than do persons over 65. The same point can also
 be made based on race. Americans of some races commit violent crimes at higher rates than
 persons of other races. Likewise, males perpetrate violent crimes at a much higher rate than
 females.
     As the Fifth Circuit acknowledged, law-abiding, responsible citizens are at the core of the
 Second Amendment right.927 Their rights should not be forfeited because of irresponsible behavior
 by other persons of the same age, race, or sex.

       3. National Rifle Association v. McCraw

     Here the Fifth Circuit upheld the Texas statute that prevented 18-to-20-year-olds from applying
 for a license to carry handguns for lawful protection in public places.928 Having recently decided
 NRA v. BATF, the Fifth Circuit did not engage in further historical analysis.929 The court reiterated
 the BATF theory that “the conduct burdened by the Texas scheme likely ‘falls outside the Second
 Amendment’s protection.’”930 Also like the BATF court, the McCraw court applied intermediate
 scrutiny in an abundance of caution and upheld the law for similar reasons.931
     However, the court skipped part of the intermediate scrutiny analysis. In strict scrutiny, the
 government must prove that there is no “less restrictive alternative.” Under the more relaxed
 standard of intermediate scrutiny, the government must prove that there is no “substantially less
 burdensome alternative.” The plaintiffs had argued that instead of banning licensed carry for
 young adults, Texas could have a more rigorous licensing system for young adults, compared to
 applicants over 21. The McCraw court dismissed that alternative and said that “less restrictive
 alternative” is not part of intermediate scrutiny.932 True enough, but “substantially less
 burdensome alternative” is part of intermediate scrutiny, and the court offered no explanation for
 refusing to consider it.

       4. Horsley v. Trame




 924
     Id. at 206-07 (quoting District of Columbia v. Heller, 554 U.S. 570, 628-30, 635 (2008)).
 925
     Id. at 206.
 926
     Id. at 206-07.
 927
     Id.
 928
     Nat’l Rifle Ass’n of Am., Inc. v. McCraw, 719 F.3d 338 (5th Cir. 2013).
 929
     Id.
 930
     Id. at 347 (quoting Nat’l Rifle Ass’n v. Bureau of Alcohol, Firearms, and Explosives, supra note 911, 700 F.3d at
 203).
 931
     Id.
 932
     Id. at 349.


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     Illinois requires that residents obtain a firearm owner’s identification (FOID) card before
 acquiring or possessing a firearm.933 In Horsley v. Trame, the plaintiff challenged the requirement
 that FOID card applicants between 18 and 21 obtain the consent of a parent or guardian. 934 The
 parental permission rule has a safety valve, by which an applicant can instead apply for consent
 from the Director of the Illinois firearms license office.935 If the office denies the permission, the
 applicant can appeal to a court.936
     The Seventh Circuit decided that it need not decide whether it agreed with the Illinois Attorney
 General that the Second Amendment does not apply to persons under 21.937 Regardless, the law
 was valid since it is not prohibitory, since young adults have a higher crime rate, and since the
 parental permission law has a safety valve similar to what has been allowed for abortion.938

       5. Ezell v. City of Chicago

     Ezell challenged a Chicago ordinance that prohibited anyone under 18 from entering a shooting
 range.939 Chicago argued that persons under 18 have no Second Amendment rights.940 But the
 nineteenth century statutes on handgun sales were not much help for a total ban on practice with
 any firearm. As the Seventh Circuit observed, “There’s zero historical evidence that firearm
 training for this age group is categorically unprotected. At least the City hasn’t identified any, and
 we’ve found none ourselves.”941
     Chicago was “left to rely on generalized assertions about the developmental immaturity of
 children, the risk of lead poisoning by inhalation or ingestion, and a handful of tort cases involving
 the negligent supervision of children who were left to their own devices with loaded firearms.”942
 Since the government could address these concerns with “a more closely tailored age restriction—
 one that does not completely extinguish the right of older adolescents and teens in Chicago to learn
 how to shoot in an appropriately supervised setting at a firing range,” the law violated the Second
 Amendment.943

       VI.    Current State Laws



 933
     430 ILL. COMP. STAT. 65 (2013).
 934
     Horsley v. Trame, 808 F.3d 1126 (7th Cir. 2015). The law, 430 ILL. COMP. STAT. 65/4(a)(2)(i), requires an
 applicant to submit evidence that “[h]e or she is 21 years of age or over, or if he or she is under 21 years of age that
 he or she has the written consent of his or her parent or legal guardian to possess and acquire firearms and firearm
 ammunition and that he or she has never been convicted of a misdemeanor other than a traffic offense or adjudged
 delinquent, provided, however, that such parent or legal guardian is not an individual prohibited from having a Firearm
 Owner’s Identification Card…”
 935
     430 ILL. COMP. STAT. 65/10 (2013).
 936
     Id.
 937
     Horsley, 808 F.3d at 1130.
 938
     See id. at 1127, 1130-32.
 939
     Ezell v. City of Chicago (Ezell II), 846 F.3d 888 (7th Cir. 2017). The Ezell I case held unconstitutional the city’s
 ban on all shooting ranges within city limits. Ezell v. City of Chicago (Ezell I), 651 F.3d 684 (7th Cir. 2011).
 940
     Id. at 896.
 941
     Id.
 942
     Id. at 898.
 943
     Id. (emphasis in original).


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     Part VI surveys current state laws that impose special limits on arms possession or acquisition
 by young adults. We do not include state statutes that mimic federal law (such as preventing gun
 stores from selling handguns to young adults). We do not address state laws that apply only to
 persons under 18. Nor do we address laws, such as the Texas law discussed in the McCraw case
 above, that set the minimum age for a defensive handgun carry license at 21. The majority of
 states do set 21 as the carry permit age, while a minority set the age at 18. A few states, such as
 Texas, which have a general rule of 18, allow carry permits for young adults in certain
 circumstances, such as a young adult who is currently serving in, or has been honorably discharged
 from, the armed forces.944
     As has been true throughout American history, state militia laws include 18-to-20-year-olds.
 Fifteen state constitutions specify that the starting age for militia service is 18. 945 Two state
 constitutions, Indiana and Wyoming, specify the starting militia age as 17.946 Uniquely, the Kansas
 Constitution makes 21 the starting militia age.947 The constitutions of Illinois and Montana used
 to declare that the militia was males 18 to 45; the constitutions were revised to broaden the militia
 obligation to all able-bodied persons, regardless of age or sex.948 For many other states, the
 constitution grants the legislature authority to define the militia, and the legislature has passed laws
 including 18-to-20-year-olds.
     Section A of Part VI describes state laws imposing special limits on firearms acquisition or
 possession by young adults. Section B discusses the varying age limits for different activities, past
 and present.

       A. State laws with special arms restrictions on young adults
     California. “No person, corporation, or firm shall sell, loan, or transfer a firearm to a minor,
 nor sell a handgun to an individual under 21 years of age.”949 The only circumstance under which
 a Californian aged 18-20 may purchase a handgun is if the handgun is an antique.950




 944
     TEX. CODE ANN. § 411.172(g).
 945
     ARIZ. CONST. art. XVI, § 1; ARK. CONST. art. XI, § 10; COLO. CONST. art. XVII, § 1; IDAHO CONST. art. XIV, § 1;
 IOWA CONST. art. VI, § 1; KY. CONST. § 219; ME. CONST. art. VII, § 5; MISS. CONST., § 214; N.M. CONST. art. XVIII,
 § 1; N.D. CONST. art. XI, § 16; OHIO CONST. art. IX, § 1; S.C. CONST. art. XIII, § 1; S.D. CONST. art. XV, § 1; UTAH
 CONST. art. XV, § 1; WASH. CONST. art. X, § 1.
 946
     IND. CONST. art. XII, § 1; WYO. CONST. art. XVII, § 1.
 947
     KAN. CONST. art. VIII, § 1.
 948
     ILL. CONST. of 1870, art. XII, § 1; MONT. CONST. of 1889, art. XIV, § 1. Illinois now provides that “The State
 militia consists of all able-bodied persons residing in the State except those exempted by law.” ILL. CONST. art. XII,
 § 1; MONT. CONST. art. VI, § 13(2).1.
      In both states, current laws show that the newer provisions still include 18-to-20-year-olds. See 20 ILL. COMP.
 STAT. 1805/1 (“All able-bodied citizens of this State . . . between the ages of 18 and 45 . . . shall be subject to military
 duty and designated as the Illinois State Militia”); MONT. CODE ANN. § 10-1-103(1) (“the organized militia [] consists
 of the national guard and the Montana home guard”); 32 U.S.C. § 313 (“To be eligible for original enlistment in the
 National Guard, a person must be at least 17 years of age and under 45”).
 949
     CAL. PENAL CODE § 27505(a) (West 2011).
 950
     Id. (b)(1).


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      Parents and grandparents (with parental permission) may loan long guns to minors for
 indefinite periods.951 Other persons may loan long guns to minors (with parental permission) for
 up to 30 days.952
      A parent may loan a handgun to a minor for sporting activities, agriculture, ranching, or
 theatrical and entertainment events that use firearms props.953 The loan may last no longer than
 “the amount of time that is reasonably necessary to engage in” the activity.954
      Other persons may loan handguns to minors for the same purposes, if written permission from
 the parent or legal guardian is presented to the lender.955 The same time limits apply, with the
 addition proviso that the loan may never exceed ten days.956
      Thus, a minor may never be transferred a handgun for lawful defense of self and others, even
 in the parental home, and even in situations of imminent peril.
      Connecticut. A state certificate is necessary to own a handgun, and only persons at least 21
 years old may apply for the certificate.957
      Delaware. No person shall sell to someone under 21 “any pistol or revolver, or stiletto, steel
 or brass knuckles, or other deadly weapon made especially for the defense of one’s person.”958
 The prohibition does not apply “to toy pistols, pocket knives or knives used for sporting purposes
 and in the domestic household, or surgical instruments or tools of any kind.”959
      District of Columbia. Persons may only possess firearms that have been registered with the
 Municipal Police Department.960 Persons under 18 may not register. Persons 18 to 20 may register
 if the registrant provides a notarized permission statement from a parent or guardian. 961 In the
 notarized statement, the parent or guardian must “assume[] civil liability for all damages resulting
 from the actions of such applicant in the use of the firearm to be registered; provided further, that
 such registration certificate shall expire on such person’s 21st birthday.”962
      Florida. “A person younger than 21 years of age may not purchase a firearm. The sale or
 transfer of a firearm to a person younger than 21 years of age may not be made or facilitated by a
 licensed importer, licensed manufacturer, or licensed dealer.”963 Thus, persons under 21 may
 borrow firearms, or receive them as gifts from private persons. The restrictions on persons under
 21 do not apply to servicemembers.964
      Hawaii. Permits to acquire firearms may be issued “to citizens of the United States of the age
 of twenty-one years or more.”965 Permits may also be issued to aliens under certain circumstances,



 951
     Id. (b)(2), (3).
 952
     Id. (b)(4).
 953
     Id. (b)(5)(A).
 954
     Id. (b)(5)(B).
 955
     Id. (6)(A), (B).
 956
     Id. (6)(C), (D).
 957
     CONN. GEN. STAT. § 29-36f(a).
 958
     DEL. CODE ANN. tit. 24, § 901.
 959
     Id. § 903.
 960
     D.C. CODE § 7-2502.01(a).
 961
     Id. § 7-2502.03(a)(1)(A).
 962
     Id. § 7-2502.03(a)(1)(B).
 963
     FLA. STAT. § 790.065(13) (2018).
 964
     Id.
 965
     HAW. REV. STAT. § 134-2(d) (2017).


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 including to aliens 18 or older “for use of rifles and shotguns for a period not exceeding sixty days,
 upon a showing that the alien has first procured a hunting license.”966
      Illinois. To purchase or own a firearm, a person must have a Firearm Owner’s Identification
 (FOID) Card.967 Applicants under 21 must have written permission from a parent or guardian.968
 The parent giving permission must not be someone who is prohibited from owning a firearm (e.g.,
 a convicted felon).969 The under-21 applicant must, in addition to satisfying generally applicable
 eligibility requirements, have no misdemeanor convictions other than traffic offenses, and must
 never have been adjudged delinquent.970
      As discussed in the section on Horsely v. Trame, supra, there is a safety valve provision for
 situations in which parental permission is denied or is unavailable. Any applicant who is denied
 can petition the Director of State Police for relief.971 The applicant may present evidence, and the
 State Attorney must be notified and have an opportunity to oppose the petition for relief. The
 applicant must prove that “granting relief would not be contrary to the public interest.”972 A
 rejected applicant may appeal to state court.973
      Iowa. In 2017, the legislature repealed a law that had forbidden minors under 14 from
 temporarily possessing a handgun under any circumstances, even while under direct parental
 supervision at a target range.974
      Under current law, anyone who “sells, loans, gives, or makes available a rifle or shotgun or
 ammunition for a rifle or shotgun to a minor” is guilty of a serious misdemeanor.975 Anyone who
 does the same for a handgun or handgun ammunition is guilty of a serious misdemeanor.976
      However, a parent, guardian, spouse (if over 18), or anyone else with express permission from
 such persons may allow a minor to possess rifles, shotguns, and ammunition therefor.977
      For handguns, the authorizing parent, guardian, or spouse must be over 21, and the person
 under 21 may possess the handgun only while under direct supervision.978 Alternatively, the
 supervision may be provided by an instructor.979 Any supervisor or instructor who is intoxicated
 at the time is guilty of child endangerment.980
      If the minor with the handgun is under 14, the parent, guardian, or spouse is strictly liable for
 any resulting damages.981
      Persons 18-to-20 may possess firearms and ammunition without need for parental or spousal
 permission “while on military duty or while a peace officer, security guard or correctional officer”

 966
     Id.
 967
     430 ILL. COMP. STAT. 65/2.
 968
     Id. 65/4(a)(2)(i).
 969
     Id.
 970
     Id.
 971
     Id. 65/10(c).
 972
     Id. 65/10(c)(3).
 973
     Id.
 974
     IOWA CODE § 724.22(8); 2017 Iowa Acts 555.
 975
     IOWA CODE, supra note 975, § 724.22(1).
 976
      Id. § 724.22(2). Ammunition in .22 caliber is considered rifle ammunition, not handgun ammunition. Id. §
 724.22(6).
 977
     Id. § 724.22(3).
 978
     Id. § 724.22(5).
 979
     Id.
 980
     Id. § 724.22(9).
 981
     Id. § 724.22(8).


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 if the job requires it.982 They may also possess arms while receiving instruction from an instructor
 who is at least 21.983
      It is unlawful to store a loaded gun in such a manner that “a minor under the age of fourteen
 years is likely to gain access to the firearm” without the permission of the minor’s parent.984
 Storage is per se compliant with the statute if the gun has a trigger lock or is “placed in a securely
 locked box or container, or placed in some other location which a reasonable person would believe
 to be secure from a minor under the age of fourteen years.”985 There is no violation of the law
 unless a minor does actually access the firearm, and then unlawfully exhibits the firearm in a public
 place or injures someone by using the firearm unlawfully.986 There is no violation “if the minor
 obtains the firearm as a result of an unlawful entry by any person.”987
      Maryland. Under Maryland law, a “regulated firearm” is a handgun or certain long guns that
 have been labeled “assault weapons.”988 Of course there are still laws for other guns, namely rifles
 and shotguns that are not “assault weapons,” but these laws are less stringent than the laws for
 “regulated firearms.”
      In general, a person under 21 may not possess a regulated firearm. 989 Possession is allowed
 for temporary transfers if the person under 21 will be “under the supervision of another who is at
 least 21 years old” and the parents or guardian consent.990 Possession is also allowed if the person
 needs the firearm for employment.991 Temporary transfers are also permitted to participants in
 marksmanship training who are supervised by an instructor.992 Also lawful is “the possession of
 a [regulated] firearm for self-defense or the defense of others against a trespasser into the residence
 of the person in possession or into a residence in which the person in possession is an invited
 guest.”993
      Massachusetts. A “Class A” license is necessary to possess a handgun or long guns that are
 dubbed “assault weapons.”994 The Class A license also functions as a license to carry; the issuing
 law enforcement agency has the discretion to issue the license to allow carrying only for sports
 and target practice, or to issue as a defensive carry permit.995 Class A licenses may not be issued
 to persons under 21.996




 982
     Id. § 724.22(4).
 983
     Id.
 984
     Id. § 724.22(7).
 985
     Id.
 986
     Id.
 987
     Id.
 988
     MD. CODE ANN. PUB. SAFETY § 5-101(r) (2018).
 989
     Id. § 5-133(d)(1).
 990
     Id. § 5-133(d)(2)(i).
 991
     Id. § 5-133(d)(2)(v).
 992
     Id. § 5-133(d)(2)(iv).
 993
     Id. § 5-133(d)(2)(vi).
 994
     MASS. GEN. LAWS ch. 140, § 131(a).
 995
     Id. § 131(d).
 996
     Id. § 131(d)(iv).


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     New Jersey. In general, persons under 18 may not “purchase, barter or otherwise acquire a
firearm” and persons under 21 may not do so for handguns.997 Further, no one under 18 “shall
possess, carry, fire or use a firearm.”998 The same is true for handguns for persons under 21.999
     Exceptions are for gun use “[i]n the actual presence or under the direct supervision of his father,
mother or guardian, or some other person” who has the appropriate gun possession permit from
the state.1000 Also allowed is “competition, target practice, instruction, and training” at a firing
range.1001 Finally, persons can possess the guns “during the regularly designated hunting season,”
if they have a hunting license and have passed a hunter safety course.1002
     New York. A license is necessary to possess a handgun.1003 Licenses may be issued only to
persons who are at least 21.1004 But if the applicant has been honorably discharged from the armed
forces, no age restriction applies.1005
     Ohio. No one shall sell any firearm to a person under 18, or a handgun to a person under 21.1006
Nor shall anyone “furnish” such guns to such persons, “except for lawful hunting, sporting, or
educational purposes, including, but not limited to, instruction in firearms or handgun safety, care,
handling, or marksmanship under the supervision or control of a responsible adult.”1007 Persons
18-to-20 may acquire handguns if they are law enforcement officers or active duty members of the
armed forces who have received certain training.1008
     Rhode Island. A permit is necessary to purchase or acquire a handgun.1009 Permits are not
issued to persons under 21.1010

      B. Policy
    In American law, different activities have been subject to different age limits. Under the U.S.
and state constitutions, the age for service in elective offices is sometimes 18, but also may be 21,
25, 30, or (for President) 35.1011 Activities that are considered by some to be vices—such as
alcohol, tobacco, recreational marijuana, and gambling—have sometimes been prohibited,
sometimes unregulated, and sometimes had age limits of 18 or 21.1012 The trend of the 1960s and



997
    N.J. STAT. ANN. § 2C:58–6.1(a).
998
    Id. § 2C:58–6.1(b).
999
    Id.
1000
     Id. § 2C:58–6.1(b)(1).
1001
     Id. § 2C:58–6.1(b)(3). The range must have been approved by a local governing body or by the National Rifle
Association. Id.
1002
     Id. § 2C:58–6.1(b)(4).
1003
     N.Y. PENAL LAW § 400.00(15).
1004
     Id. § 400.00(1).
1005
     Id.
1006
     OHIO REV. CODE ANN. § 2923.21(A)(1)-(2).
1007
     Id. (A)(3).
1008
     Id. (B).
1009
     11 R.I. GEN. LAWS ANN. § 11-47-35.
1010
     Id. § 11-47-35(a)(1).
1011
     See, e.g., U.S. CONST. art II, § 1 (35 for President); ILL. CONST. art. V, § 3 (25 for statewide constitutional officers);
IOWA CONST. art. III, § 4 (21 for the Iowa House of Representatives).
1012
     See, e.g., Michael Phillip Rosenthal, The Minimum Drinking Age for Young People: An Observation, 92 DICK. L.
REV. 649 (1988).


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the 1970s was for lower age limits for vices, while in recent decades many states have moved to
21.
    Perhaps the most important decision a person will ever make is marriage. Certainly, the
decision to marry is more momentous than the decision about whether to drink a beer. Today, in
every state, the age for marriage without parental consent is 16, 17, or 18.1013 The age is lower (or
there is no age limit) when there is parental consent.1014
    In every state, the age at which a criminal defendant can be prosecuted as an adult is no older
than eighteen, and usually younger. Eighteen-year-olds are subject to conscription into the U.S.
military, notwithstanding vehement parental objection. With parental consent, persons under 18
may enlist in the U.S. Armed Forces.1015
    For voting, the usual starting age used to be 21. That was lowered to 18 by the Twenty-Sixth
Amendment, ratified in 1971, and applying to all federal and state elections.1016 That young adults
did not have voting rights in the Founding Era is not evidence that young adults lacked arms rights.
Some states had property requirements for voting, and higher property requirements for election
to the legislature or the governorship.1017 No one would contend that people who did not own a
certain amount of property were excluded from the Second Amendment.
    After the Nineteenth Amendment in 1920 guaranteed women the right to vote, Justice
Sutherland, writing for the Court, praised “the great—not to say revolutionary—changes which
have taken place since that utterance, in the contractual, political, and civil status of women,
culminating in the Nineteenth Amendment.”1018 Although laws could still take into account the
physical differences between men and women, laws could not treat women like children, by
imposing special restrictions on female contract rights that could not constitutionally be imposed
on men.1019
    Although Justice Sutherland’s strong defense of the competence and free choices of women
was later swept away when the New Deal Supreme Court abandoned nearly all judicial protection
of the right of contract, Justice Sutherland turned out to be on the right side of history. Since the
1970s, very few laws that impose special disabilities on account of sex are considered
constitutional.
    Similar observations can be made about the rights of young adults, and the constitutional
guarantee of their voting rights in 1971. The trend over the last half-century has been towards
recognizing that people who bear the burdens of adulthood—including military conscription and
liability to criminal prosecution as an adult—also have the rights of adulthood. In general, the
rights of young adults include the same contract and property rights as of older persons. The only
notable exception to the trend of recognizing young adult rights has been re-raising the age for

1013
     State-by-State Marriage “Age of Consent” Laws, FINDLAW (2018), https://family.findlaw.com/marriage/state-by-
state-marriage-age-of-consent-laws.html.
1014
     Id.
1015
     Are You Eligible to Join the Military?, MILITARY.COM (2018), https://www.military.com/join-armed-forces/join-
the-military-basic-eligibility.html.
1016
     U.S. CONST. amend. XXVI.
1017
     See DONALD S. LUTZ, POPULAR CONSENT AND POPULAR CONTROL: WHIG POLITICAL THEORY IN EARLY STATE
CONSTITUTIONS 90-91 (1980) (Ga., S.C., Pa., N.C., and N.H. limited voting to taxpayers; Mass. required £60 of
property, N.J. £20, and N.Y. £20; Md. required 50 acres, and Del. a freehold).
1018
     See Adkins v. Children’s Hospital, 261 U.S. 525, 553 (1923), overruled by West Coast Hotel Co. v. Parrish, 300
U.S. 379 (1937); U.S. CONST. amend. XIX.
1019
     Adkins, supra note 1018, at 401 (“nor is there ground for distinction between women and men, for, certainly, if
women require a minimum wage to preserve their morals men require it to preserve their honesty”).


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various “vices,” such as alcohol. Under American law, none of these vices are constitutionally
protected; instead, these vices can be—and sometimes have been—prohibited for the entire
population, regardless of age.1020
    The right to arms is just the opposite. While the Twenty-First Amendment affirms very broad
state power over alcohol, up to and including prohibition, the Second Amendment guarantees the
right to keep and bear arms.1021 As has been detailed above, the original meaning of the Second
Amendment recognized that young adults have a right and duty to keep and bear arms.

       VII. Conclusion
    If the Second Amendment is interpreted according to the original public meaning, as Heller
says it must be, the Constitution contains a clear rule for the arms rights of young adults. It is
beyond dispute that when the Second Amendment was ratified, young adults had the right to keep
and bear arms. State and colonial assemblies collectively legislated on the militia hundreds of
times, revising many subjects. The militia entry age was 15-18. Sixteen was the most common.
The only 21-year-old law existed for two decades in colonial Virginia; that law was repealed long
before the Second Amendment was adopted. From the first federal militia laws to the present, the
militia of the United States has always included eighteen-year-olds. During the nineteenth and
twentieth centuries, the federal government worked to put arms in their hands.
    According to Heller, the innermost core of the Second Amendment is the right to keep a
handgun in the home for lawful self-defense. Laws that prohibit or nearly prohibit young adults
from doing so are unconstitutional.




1020
       See Rosenthal, supra note 1012.
1021
       U.S. CONST. amends. II, XXI.

                                                   100

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           EXHIBIT "18"




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                158                        Journals of Congress
                                        SATURDAY JULY 8, 1775
                 The Congress met according to adjournment.
                 The Petition to the King being engrossed, was com -
               pared, and signed by the several members. 1
                To tlw king's most exceUent Majesty:
                  MosT GRACIOUS SOVEREIGN'
                  We, your Majesty's faithful 1mbjects of the colonies of new Hamp-
               shire, Massachusetts bay, Rhode island and Providence Plantations,
               Connecticut, New York, New Jersey, Pennsylvania, the counties of
               New · Castle, Kent, and Sussex, on Delaware, Maryland, Virginia,
               North Carolina, and South Carolina, in behalf of ourselves, and the
               inhabitants of these colonfos, who have deputed us to represent them
               in general Congress, entreat your Majesty's gracious attention to this
               our humble petition.
                  The union between our Mother country and these colonies, and the
               energy of mild and just government, produced benefits so remarkably
               important, and afforded such an assurance of their permanency and
               increase, that the wonder and envy of other Nations were excited, while
               they beheld Great Britain riseing to a power the most extraordinary
               the world had ever known.
                  Her rivals, observing that there was no probability of this happy
               connexion being broken by civil dissensions, and apprehending its
               future effects, if left any longer undisturbed, resolved to prevent her
               receiving such continual and formidable a.ccMSions of wealth and
               strength, by checking the growth of these settlements from which
               they were to be derived.
                  lo the prosecution of this attempt, events so unfavourable to the
               design took place, that every friend to the interests of Great B1itain
               and these colonies, entertained pleasing and reasonable expectations of
               seeing an additional force and extention • immediately given to the
               operations of the union hitherto experienced, by an enlargement of
               the dominiont1 of the Crown, and the removal of ancient and warlike
               enemies to a greater distance.
                  At the conclusion, therefore, of the late war, the most glorious and
                  1 "Congrees gave a signal proof of their indulgence to Mr. Dickinson, and of their
               great desire not to go too fast for any respectable part of our body, in permitting him
               to draw their second petition to the King according to his own ideas, and passing it
               with acarcely any amendment." Jefferson, .Autobiography, in his Writing, (Ford),
               I, 17.
                  1 In the printed version this word is eurti.on.




                                          EXHIBIT 18
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                                        July, 1775                              159
          advantageous that ever had been carried on by British arms, your
          loyal coloniE!ts having contributed to its success, by such repeated and
          strenuous exertions, as frequently procured them the distinguished
          approbation of your Majesty, of the late king, and of parliament,
          doubted not but that they should be permitted, with the rest of the
          empire, to share in the blessings of peace, and the emoluments of vic-
          tory and conquest. While these recent and honorable acknowledg-
          ments of their merits remained on record in the journals an<l acts of
          that august legislature, the Parliament, undefaced by the imputation
          or even the suspicion of any offence, they were alarmed by a new sys-
          tem of statutes and regulations adopted for the administration of the
          colonies, that filled their minds with the most painful fears and jeal-
          ousies; and, to their inexpressible astonishment, perceived the dangers
          of a foreign quarrel quickly succeeded by domestic dangers, in their
          judgment, of a more dreadful kind.
             Nor were their anxieties alleviated by any tendency in this system
          to promote the welfare of the Mother country. For tho' its effects
          were more immediately felt by them, yet its influence appeared to be
          injurious to the commerce and prosperity of Great Britain.
             We shall decline the ungrateful task of describing the irksome
          variety of artifices, practised by many of your Majesty's Ministers,
          the delusive pretences, fruitless terrors, and unavailing severities, that
          have, from time to time, been dealt out by them, in their attempts to
          execute this impolitic plan, or of traceing, thro' a series of years past,
          the progress of the unhappy differences between Great Britain and
          these colonies, which have flowed from this fat.al source.
             Your Majesty's Ministers, persevering in their measures, and pro-
          ceeding to open hostilities for enforcing them, have compelled us to
          arm in our own defence, and have engaged us in a controversy so
          peculiarly abhorrent to the affections of your still faithful colonists,
          that when we consider whom we must oppose in this contest, and if it
          continues, what may be the consequences, our own particular misfor-
          tunes are accounted by us only as parts of our distress.
             Knowing to what violent resentments and incurable animosities,
          civil discords are apt to exasperate and inflame the contending parties,
          we think ourselves required by indispensable obligations to Almighty
          God, to your Majesty, to our fellow subjects, and to ourselves, imme-
          diately to use all the means in our power, not incompatible with our
          safety, for stopping the further effusion of blood, and for averting
          the impending c.alamities that threaten the British Empire.




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                  Thus caJled upon to address your Majesty on affairs of such moment
               to America, and probably to all your dominions, we are earnestly
               desirous of performing this office, with the utmost deference for your
               Majesty; and we therefore pray, that your 1 royal magnanimity and
               benevolence may make the most favourable oonstruction of our expres-
               sions on 80 unoommon an occasion. Could we represent in their full
               force, the sentiments that agitate the minds of us your dutiful sub-
               jects, we are persuaded your Majesty would ascribe any seeming devi-
               ation from reverence in our language, and even in our conduct, not to
               any reprehensihle intention, but to the impossibility of reoonciling the
               usual appearances of respect, with a just attention to our own preser-
               vation against those artful and cruel enemies, who abuse your royal
               confidence and authority, for the purpose of effecting our destruction.
                  Attached to your Majesty's person, family, and government, with
               all devotion that principle and affection can inspire, connected with
               Great Britain by the strongest ties that ain unite societies, and deplor-
               ing every event that tends in any degree to weaken them, we solemnly
               assure your Majesty, that we not only most ardently desire the former
               harmony between her and these oolonies may be restored, but that a
               concord may be established between them upon 80 firm a basis as to
               perpetuate its blessings, uninterrupted by any future dissentiom1, to
               succeeding generations in both countries, and to transmit your Majes-
               ty's Name to posterity, adorned with that signal and lasting glory,
               that has attended the memory of those illustrious personages, whose
               virtues and abilities have extricated states from dangerous convul-
               sions, and, by securing happiness to others, have erected the most
               noble and durable monuments to their own fame.
                  We beg leave further to assure your Majesty, that notwithstanding
               the sufferings of your loyal oolonists, during the course of the present
               controversy, our breasts retain too tender a regard for the kingdom
               from which we derive our origin, to request such a reconciliation as
               might in any manner be inoonsistent with her dignity or her welfare.
               The.'le, related as we are to her, honor and duty, as well as inclination,
               induce us to support and advance; and the apprehensions that now
               oppress our hearts with unspeakable grief, being once removed,
               your Majesty will find your faithful subjects on this continent ready
               and willing at all times, as they ever have been, with th<>ir lives and
               fortunes, to assert and maintain the rights and interests of your
               Majesty, and of our Mother country.
                         1 The word Mqjuly', is here inserted in the printed version.




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                                     July, 1776                           161
          We, therefore, beseech your Majesty, that your royal authority and
       influence may be graciously interposed to procure us relief from our
       afflicting fears and jealousies, occasioned by the system before men-
       tioned, and to settle peace through every part of your dominions,
       with all humility submitting to your Majesty's wise consideration
       whether it may not be expedient for facilitating those important pur-
       poses, that your Majesty be pleased to direct some mode, by which
       the united applications of your faithful colonists to the throne, in
       pursuance of their common councils, may be improved into a happy
       and permanent reconciliation; and that, in the mean time, measures
       may be taken for preventing the further destruction of the lives of
       your Majesty's subjects; and that such statutes as more immediately
       distress any of your Majesty's colonies may be repealed.
          For by such arrangements as your Majesty's wisdom can form, for
       collecting the united sense of your American people, we are convinced
       your Majesty would receive such satisfactory proofs of the disposition
       of the colonists towards their sovereign and parent state, that the
       wished for opportunity would soon be restored to them, of evincing
       the sincerity of their professions, by every testimony of devotion
       becoming the most dutiful subjects, and the most affectionate colonists.
          That your Majesty may enjoy a long and prosperous reign, and that
       your descendants may govern your dominions with honor to them-
       selves and happiness to their subjects. is our sincere and fervent
       prayer.
                                  JOHN liANCOOK
       colony of New hampshire           colony of New York
           John Langdon                      Phil. Livingston
       colony of Massachusetts bay           Ja• Duane
           Thomas Cushing                    John Alsop
           Sam1 Ada.ms                       Fran~ Lewis
           John Adams                        John Jay
           Rob' Treat Paine                  Rob' R Livingston junr
       colony of Rhode island and provi-     Lewis Morris
         dence plantations                   W• Floyd
           Step Hopkins                      Henry Wisner
           Sam: Ward                     New Jersey
       colony of Connecticut                 Wil: Livingston
           Elipht Dyer                       John D• Hart
           Roger Sherman                     Rich4 Smith
           Silas Deane
            6621-VOL 2--06-11




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                 162                        Journals of Congress
                 Pennsylvania                    colony of Virginia
                     John Dickinson                  P. Henry Jr
                     B Franklin                      Richard Henry Lee
                     Geo: Ross                       Edmund Pendleton
                     James Wilson                    Benj• Harrison
                     Cha" Humphreys                  Th: Jefferson
                     Edw4 Biddle                 North Carolina
                 counties of New Castle Kent and     Will Hooper
                   Sussex on delawar                 Joeeph Hewes
                     Cresar Rodney               South Carolina
                     Tho" M~ Kean                    Henry Middleton
                     Geo: Read                       Tho Lynch
                 Maryland                            Christ Gadsden
                     Mat. Tilghman                   J. Rutledge
                     Th" Johnson Junr                Edward Rutledge.'
                       Wm Pa.ca
                       Samuel Chase
                       Tho" Stone

                    The committee appoint[oo] to prepare a Letter to the
                 Lord Mayor, reported the same, which was read.
                    On motion, Resolved, That the above Committee pre -
                 pare a letter to MP. :8ell0,B, MP. Lee tt,Bd MP. R[ichard]
                 Penn, Esq~ and the colony Agents by name in England. 2
                    The Congress resumed the Consideration of the address
                 to the Inhabitants of Gt Britain, which being read and
                 debated by paragraphs, was approve<! and ePdetted ~e ee
                 :priBtied is as follows :
                                                [here insert it]
                   1 Endol'1!18(J: "Petition of the Congrees to The King. Sept' 1" 1775-Delivered to
                 the Earl of Dartmouth by M81!!8" Penn and Lee." The text ie taken from the origmal
                 petition, reproduced in facsimile in Btevene'e .Fbcsimila of Manuacript, in .Eluropean
                 Archivu relating to America, No. 454.
                   'Penn Bailed for England four days later, and arrived in London August 14. A
                 copy of the petition wu not received by Lord Dartmouth until the 26th.




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                                             July, 1775                                 163
           The T'IIJeUIJ6 Unil,ed Oolonia, b-y their Delegatu in O<>ngrell8, to the
                                 I n ~ of Gr~ BritaAln. 1
           FRIEND8, OOUNTBYMEN, AND BRETHREN!
              By these, and by every other Appellation that may designate the
           Ties, which bind m to each other, we entreat your serious Attention
           to this our second Attempt to prevent their Dissolution. Remember-
           ance of former Friendships, Pride in the glorious Atchievements of
           our common Ancestors, and Affection for the Heirs of their Virtues,
           have hitherto preserved our mutual Connexion; but when that Friend-
           ship is violated by the gro8808t Injuries; when the Pride of Ancestry
           becomes our Reproach, and we are no otherwise allied than as Tyrants
           and Slaves; when reduced to the melancholy Alternative of renounc-
           ing your Favour or our Freedom; can we hesitates.bout the Choicei
           Let the Spirit of BrifnM determine.
              In a former Address we asserted our Rights, and stated the Injuries
           we had then received. We hoped, that the mention of our Wrongs
           would have roused that honest Indignation which has slept too long
           for your Honor, or the Welfare of the Empire. But we have not
           been permitted to entertain this pleasing expectation. Every Day
           brought an accumulation of Injuries, and the Invention of the Min-
           istry has been constantly exercised, in adding to the Ca.iamities of
           your .American Brethren.
              After the most valuable Right of Legislation was infringed; when
           the Powers assumed by your Parliament, in which we are not repre-
           sented, and from our local and other Circumstances cannot properly
           be represented, rendered our Property precarious; after being denied
           that mode of Trial, to which we have long been indebted for the safety
           of our Persons, and the preservation of our Liberties; after being in
           many instances divested of those Laws, which were transmitted to us
           by our common Ancestors, and subjected to an arbitrary Code, compiled
           under the auspices of Roman Tyrants; after those Charters, which
           encouraged our Predecessors to brave Death and Danger in every
           Shape, on unknown Seas, in Deserts unexplored, amidst barbarous and
           inh08pitable Nations, were annulled; when, without the form of Trial,
           without a public Aoousation, whole Colonies were condemned, their
           Trade destroyed, their Inhabitants impoverished; when Soldiers were
           encouraged to embrue their Bands in the Blood of Amerwam, by offers
             1 The Addreee is not entered in the MS. Journale, and I have used the text given
           in the 11.nt printed edition of the Journal.




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               of Impunity; when new mode11 of Trial were instituted for the ruin of
               the accused, where the charge carried with it the horrors of conviction;
               when a despotic Government was established in a neighbouring Prov-
               ince, and its Limits extended to every of our Frontiers; we little imag-
               ined that any thing could be added to this black Catalogue of unprovoked
               Injuries: but we have unhappily been deceived, and the late Measures
               of the British Ministry fully convince us, that their object is the reduc-
               tion of these Colonies to Slavery and Ruin.
                  To confirm this Assertion, let us recs.I your attention to the Affairs
               of .America, ~ince our last Address. Let us combat the Calumnies of
               our Enemies; and let us warn you of the dangers that threaten you in
               our destruction. Many of your Fellow-Subjects, whose situation
               deprived them of other Support, drew their Maintenance from the
               Sea; but the deprivation of our Liberty being insufficient to sa.tisfy
               the resentment of our Enemies, the horrors of Fa.mine were super-
               added, and a Brituh Parliament, who, in better times, were the Pro-
               tectors of Innocence and the Patrom, of Humanity, have, without
               distinction of Age or Sex, robbed thousands of the Food which they
               were accustomed to draw from that inexhaustible Source, placed in
               their neighbourhood by the benevolent Creator.
                  Another Act of your Legislature shuts our Ports, and prohibits our
               Trade with any but those States from whom the great law of self-
               preservation renders it absolutely necessary we should at present with-
               hold our Commerce. But this Act (whatever may have been its design)
               we consider rather as injurious to your Opulence than our Interest.
               All our Commerce terminates with you; and the Wea.Ith we procure
               from other Nations, is soon exchanged for your Superfluities. Our
               remittances must then cease with our trade; and our refinements with
               our Affluence. We trust, however, that Laws which deprive us of
               every Blessing but a Soil that teems with the nec8l:IS&ries of Life, and
               that Liberty which renders the enjoyment of them secure, will not
               relax our Vigour in their Defence.
                  We might here observe on the Cruelty and Inconsistency of those,
               who, while they publicly Brand us with reproachful and unworthy
               Epithets, endeavour to deprive us of the means of defence, by their
               Interposition with foreign Powers, and to deliver us to the lawless
               Ravages of a merciless Soldiery. But happily we a.re not without
               Resources; and though the timid and humiliating Applications of a
               Brit-ish Ministry should prevail with foreign Nations, yet Industry,
               prompted by necessity, will not leave us without the necessary Supplies.




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             We could wish to go no further, and, not to wound the Ear of
          Humanity, leave untold those rigorous Acts of Oppression, which are
          daily exercised in the Town of B01Jton, did we not hope, that by dis-
          claiming their Deed.sand punishing the Perpetrators, you would shortly
          vindicate the Honour of the British Name, and re-establish the violated
          Laws of Justice.
            That once populous, flourishing and commercial Town is now garri-
          soned by an Army sent not to protect, but to enslave its Inhabitants.
          The civil Government is overturned, and a military Despotism erected
          upon its Ruins. Without Law, without Right, Powers are assumed
          unknown to the Constitution. Private Property is unjustly invaded.
          The Inhabitants, daily subjected to the Licentiousness of the Soldiery,
          are forbid to remove in Defiance of their natural Rights, in Violation
          of the most solemn Compacts. Or if, after long and wearisome Solici-
          tation, a Pass is procured, their Effects are detained, and even those
          who are most favoured, have no Alternative hut Poverty or Slavery.
          The Distress of many thousand People, wantonly deprived of the Nec-
          essaries of Life, is a Subject, on which we would not wish to enlarge.
             Yet, we cannot but observe, that a British Fleet (unjustified even by
          Acts of your Legislature) are daily employed in ruining our Com-
          merce, seizing our Ships, and depriving whole Communities of their
          daily Bread. Nor will a Rega.rd for your Honour perm.it us to be silent,
          while British Troops sully your Glory, by Actions, which the most
          inveterate Enmity will not palliate among civilized Nations, the wanton
          and unnecessary Destruction of Charlestown, a large, ancient, and once
          populous Town, just before deserted by its Inhabitants, who had fled
          to avoid the Fury of your Soldiery.
            If you still retain those Sentiments of Compassion, by which Britons
          have ever been distinguished, if the Humanity, which tempered the
          Valour of our common Ancestors, has not degenerated into Cruelty,
          you will lament the Miseries of their Descendants.
             To what are we to attribute this Treatmenti If to any secret Prin-
          ciple of the Constitution, let it be mentioned; let us learn, that the
          Government, we have long revered, is not without its Defects, and
          that while it gives Freedom to a Part, it necessarily enslaves the
          Remainder of the Empire. If such a Principle exists, why for Ages
          has it ceased to operate t Why at this Time is it called into Action t
          Can no Reason be assigned for this Conduct 1 Or must it be resolved
          into the wanton Exercise of arbitrary Powerl And shall the Descend-
          ant'! of Britom tamely submit to thisY-No, Sirs! We never will,




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              while we revere the Memory of our gallant and virtuous Ancestors,
              we never can surrender those glorious Privileges, for which they
              fought, bled, and conquered. Admit that your Fleets could destroy
              our Towns, and ravage our Sea-Coasts; these are inconsiderable Objects,
              Things of no Moment to Men, whose Bosoms glow with the Ardor of
              Liberty. We can retire beyond the Reach of your Navy, and, with-
              out any sensible Diminution of the Necessaries of Life, enjoy a Luxury,
              which from that Period you will want-the Luxury of being Free.
                 We know the Force of your Arms, and was it called forth in the
              Cause of Justice and your Country, we might dread the Exertion: but
              will Britons fight under the Banners of Tyranny! Will they counter-
              act the ui.bours, and disgrace the Victories of their Ancestors t Will
              they forge Chains for their Posterity t If they descend to this unworthy
              Task, will their Swords retain their Edge, their Arms their accustomed
              Vigour! Britons can never become the Instruments of Oppression,
              till they lose the Spirit of Freedom, by which alone they are invincible.
                 Our Enemies charge us with Sedition. In what does it consist! In
              our Refusal to submit to unwarrantable Acts of Injustice and Cruelty!
              If so, shew us a Period in your History, in which you have not been
              equally Seditious.
                 We are accused of aiming at Independence; but bow is this Accu-
              sation supported 1 By the Allegations of your Ministers, not by our
              Actions. Abused, insulted, and contemned, what Steps have we pur-
              sued to obtain Redress t We have carried our dutiful Petitions to the
              Throne. We have applied to your Justice for Relief. We have
              retrenched our Luxury, and withheld our Trade.
                 The Advantages of our Commerce were designed as a Compensation
              for your Protection: When you ceased to protect, for what were we to
              compensate t
                 What has been the Success of our Endeavours t The Clemency of
              our Sovereign is unhappily diverted; our Petitions are treated with
              Indignity; our Prayers answered by Insults. Our Application to you
               remains unnoticed, and leaves us the melancholy Apprehension of your
               wanting either the WiJl, or the Power, to ai;sist us.
                  Even under these Circumstances, what Measures have we taken that
               betray a Desire of Independence! Have we called in the Aid of those
               foreign Powers, who are the Rivals of your Grandeud When your
              Troops were few and defenceless, did we take Advantage of their Dis-
               tress and expel them our Towns1 Or have we permitted them to
               fortify, to receive new Aid, and to acquire additional Strength 1




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                                    July, 1775                            167
          Let not y<>Ur Enemies and <n1,r1 persuade you, that in this we were
       influenced by Fear or any other unworthy Motive. The Lives of
       Britons are still dear to us. They are the Children of our Parents,
       and an uninterrupted Intercourse of mutual Benefits had knit the
       Bonds of Friendship. When Hostilities were commenced, when on a
       late Occasion we were wantonly attacked by your Troops, though we
       repelled their A!IS&ults and returned their Blows, yet we lamented the
       Wounds they obliged us to give; nor have we yet learned to rejoice at
       a Victory over Englishmen.
          As we wish not to colour our Actions, or disguise our Thoughts, we
       shall, in the simple Language of Truth, avow the Measures we have
       pursued, the Motives upon which we have acted, and our future
       Designs.
          When our late Petition to the Throne produced no other Effect than
       fresh Injuries, and Votes of your Legislature, calculated to justify
       every Severity; when your Fleets and your Armies were prepared to
       wrest from us our Property, to rob us of our Liberties or our Lives;
       when the hostile Attempts of General Gage evinced his Designs, we
       levied Armies for our Security and Defence. When the Powers
       vested in the Governor of Canada, gave us Reason to apprehend Dan-
       ger from that Quarter; and we had frequent Intimations, that a cruel
       and savage Enemy was to be let loose upon the defenceless Inhabitants
       of our Frontiers; we took such Measures as Prudence dictated, as
       Necessity will justify. We possessed ourselves of Ormon Point and
        Tuxm.deroga. Yet give us leave most solemnly to assure you, that we
       have not yet lost Sight of the Object we have ever had in View, a
       Reconciliation with you on constitutional Principles, and a Restoration
       of that friendly Intercourse, which, to the Advantage of both, we till
       lately maintained.
          The Inhabitants of this Country apply themselves chiefly to Agri-
       culture and Commerce. As their Fashions and Manners are similar
       to yours, your Markets must afford them the Conveniences and Lux-
       uries, for which they exchange the Produce of their Labours. The
        W ealtb of this extended Continent centres with you; and our Trade is
       so regulated as to be subservient only to your Interest. You are too
        reasonable to expect, that by Taxes (in Addition to this) we should
       contribute to your Expence; to believe, after diverting the Fountain,
        that the Streams can flow with unabated Force.
          It has been said, that we refuse to submit to the Restrictions on our
       Commerce. From whence is this Inference drawn¥ Not from our




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                       Words, we have repeatedly declared the Contrary; and we again pro-
                       fess our Submission to the several Acts of Trade and Navigation,
                       passed before the Year 1763, trusting, nevertheless, in the Equity and
                       Justice of Parliament, that such of them as, upon cool and impartial
                       Consideration, shall appear to have imposed unnecessary or grievous
                       Restrictions, wilJ, at some happier Period, be repealed or altered.
                       And we cheerfully consent to the Operation of such Acts of the Brit-i.'Jh
                       Parliament, as shall be restrained to the Regulation of our ext.ernal
                       Commerce. for the Purpose of securing the commercial Advantages of
 _,                    the whole Empire to the Mother Country, and the commercial Bene-
                       fits of its respective Members; excluding every Idea of Taxation inter-
                       nal or ext.ernal, for raising a Revenue on the Subjects in America,
                       without their Consent.
                          It is alledged that we contribute nothing to the common Defence.
                       To this we answer, that the Advantages which Great Britain receives
                       from the Monopoly of our Trade, far exceed our Proportion of the
                       Expence necessary for that Purpose. But should these Advantages
                       be inadequate thereto, let the Restrictions on our Trade be removed,
                       and we will cheerfully contribute such Proportion when constitution-
                       ally required.
                          It is a fundamental Principle of the British Constitution, that every
                       Man Eihould have at least a Representative Share in the Formation of
                       those Laws, by which he is bound. Were it otherwise, the Regulation
                       of our internal Police by a British Parliament, who are and ever will
                       be unacquainted with our local Circumstances, must be always incon-
t.                     venient, and frequently oppressive, working our wrong, without yield-
                       ing any possible Advantage to you.
                          A Plan of Accommodation (as it has been absurdly called) hM been
                       proposed by your Ministers to our respective Assemblies. Were this
                       Proposal free from every other Objection, but that which arises from
                       the Time of the Offer, it would not be unexceptionable. Can Men
                       deliberate with the Bayonet at their BreasU Can they treat with
                       Freedom, while their Towns are sacked; when daily Instances of Injus-
                       tice and Oppression disturb the slower Operations of Reason 1
                          If this Proposal is really such as you would offer and we accept,
                       why was it delayed till the Nation was put to useless expence, and we
                       were reduced to our present melancholy Situation Y If it holds forth
                       nothing, why was it proposed1 Unless indeed to deceive you into a
                       Belief, that we were unwilling to listen to any Terms of Accommoda-
                       tion. But what is submitted to our Consideration 1 We contend for




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                                       July, 1775                            169
           the Disposal of our Property. We are told that our Demand is
           unreasonable, that our Assemblies may indeed collect our Money, but
           that they must at the same Time offer, not what your Exigencies or
           ours may require, but so much as shall be deemed sufficient to satisfy
           the Desires of a Minister and enable him to provide for Favourites and
           Dependants. A Recurrence to your own Treasury will convince you
           how little of the Money already extorted from us has been applied to
           the Relief of your Burthens. To suppo!!8 that we would thus grasp
           the Shadow and give up the Substance, is adding Insult to Injuries.
              We have nevertheless again presented an humble and dutiful Peti-
           tion to our Sovereign, and to remove every imputation of Obstinacy,
           have requested his Majesty to direct some Mode, by which the united
           Applications of his faithful Colonists may be improved into a happy
           and permanent Reconciliation. We are willing to treat on such Terms
           as can alone render an accommodation lasting, and we flatter ourselves
           that our pacific Endeavours will be attended with a removal of minis-
           terial Troops, and a repeal of those Laws, of the Operation of which
           we complain, on the one part, and a disbanding of our Army, and a
           dissolution of our commercial Associations, on the other.
              Yet conclude not from this that we propose to surrender our Prop- ·
           erty into the Hands of your Ministry, or vest your Parliament with a
           Power which may terminate in our Destruction. The great Bulwarks
           of our Constitution we have desired to maintain by every temperate,
           by every peaceable Means; but your Ministers (equal Foes to British
           and .American freedom) have added to their former Oppressions an
           Attempt to reduce us by the Sword to a b888 and abject submission.
           On the Sword, therefore, we are compelled to rely for Protection.
           Should Victory declare in your Favour, yet Men trained to Arms from
           their Infancy, and animated by the Love of Liberty, will afford neither
           a cheap or easy Conquest. Of this at least we are assured, that our
           Struggle will be glorious, our Success certain; since even in Death we
           shall find that Freedom which in Life you forbid us to enjoy.
              Let us now ask what Advantages are to attend our Reduction¥ the
           Trade of a ruined and desolate Country is always inconsiderable, it'i
           Revenue trifling; the Expence of subjecting and retaining it in subjec-
           tion certain and inevitable. What then remains but the gratification
           of an ill-judged Pride, or the hope of rendering us subservient to
           designs on your Liberty.
              Soldiers who have ~heathed their Swords in the Bowels of their
           .American Brethren, will not draw them with more reluctance against




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              170                           Journals of Congre,ss
             you. When too late you may lament the loss of that freedom, which
             we exhort you, while still in your Power, to preserve.
                On the other hand, should you prove unsuccessful; should that Con-
             nexion, which we most ardently wish to maintain, be dissolved; should
             your Ministers exhaust your Treasures and waste the Blood of your
             Countrymen in vain Attempts on our Liberty; do they not deliver
             you, weak and defenceless, to your natural Enemies 1
               Since then your Liberty must be the price of your Victories; your
             Ruin, of your Defeat: What blind Fatality can urge you to a pursuit
             destructive of all that Briton/I hold dear¥
               If you have no regard to the Connexion that has for Ages subsisted
             between us; if you have forgot the Wounds we have received fighting
             by your Side for the extention of the Empire; if our Commerce is not
             an object below your consideration; if Justice and Humanity have
             lost their influence on your Hearts; still Motives are not wanting to
             excite your Indignation at the Measures now punmed; Your W ealtb,
             your Honour, your Liberty are at Stake.
               Notwithstanding the Distress to which we are reduced, we some-
             times forget our own Afflictions, to anticipate and sympathize in
             yours. We grieve that rash and inconsiderate Councils should pre-
             cipitate the destruction of an Empire, which has been the envy and
             admiration of Ages, and call God to witness! that we would part with
             our Property, endanger our Lives, and sacrifice every thing but Lib-
             erty, to redeem you from ruin.
               A Cloud hangs over your Heads and ours; 'ere this reaches you, it
             may probably bur8t upon us; let us then (before the remembrance of
             former Kindness is oblit'3rated) once more repeat those Appellations
             which are ever grateful in our Ears; let us entreat Heaven to avert
             our Ruin, and the Destruction that threatens our Friends, Brethren
             and Countrymen, on the other side of the .AtU11ntu:.
                Ordered, That the Address be published and a number
             of them sent by M! Penn to England. 1
               The Letter to the Lord Mayor, &c., being read again
             and debated, was approved, and is as follows:
             MY LORD,
               Permitt the Delegates of the people of twelve antient colonies, to
             pay y• Lordship, and the very respectable body of which you are head,
               1 Thia addreai   waa printed aa a POIIIU!Cript to the Penn,ylmnia Packet, 17 July, 1776.




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                                           July, 1775                                     171
        the just tribute of gratitude and thanks, for the virtuous and unso-
        licited resentment you have shewn to the violated right.B of a free peo-
        ple. The city of London, my Lord, having in all ages, approved it.Belf
        the patron of liberty, and the support of just government, against law-
        less tyranny and oppression, cannot fail to make us deeply sensible of
        the powerful aid, our cause must receive from such advocates. A
        cause, my Lord, worthy the support of the first city in the world, as
        it involves the fate of a great continent, and threatens to shake the
        foundations of a flourishing, and, until lately, a happy empire.
           North America, my Lord, wishes most ardently for a lasting con-
        nection with Great Britain on terms of just and equal liberty; less
        than which generous minds will not offer, nor brave and free ones be
        willing to receive.
           A cruel war has at length been opened ag-* us, and whilst we pre-
        pare to defend ourselves like the descendants of Britons, we still hope
        that the mediation of wise and good citizens, will at length prevail
        over despotism, and restore harmony and peace, on permanent princi-
        ples, to an oppr~sed and divided empire.
                              We have the honor to be, my Lord,
                                   With great esteem, yr Lordship's
                                       Faithful friendl:f and fellow-subject.B.
           Signed by order of the Congress,
                                                                  JOHN HANOOOK
                                                                             P,,.e,sid,ent. l
          Ordered, That the above Letter be fairly transcribed,
        and signed by the president, and sent by M~ Penn.
          The Committee appointed to prepare a letter to M~ Penn
        and the Colony Agents, bro! in the same, which being
        read was approved:
        GENTLEMEN,
          The perseverence of the British ministry in their unjust and cruel
        system of colony administration, has occasioned the meeting of another
        Congress.
           We have again appealed to the justice of our sovereign for protec-
        tion ag-* the destruction which his Ministers meditate for bis American
        subjectl:I. This Petition to his Majesty you will please, Gentlemen, to
        present to the King with all convenient expedition, after which we
             1 This letter wu   printed in the Penmy/1)(lnia Packet, 11 December, 1775.




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                172                         Journals of Congress
                desire it may be given to the public. We likewise send you our sec-
                ond application to the equity and interest of our fellow subjects in
                G B, and also a Declaration setting forth the causes of our taking up
                arms: Both which we wish may be immediately put to press, and com-
                municated as universally as possible.
                   The Congress entertain the highest sense of the wise and worthy
                interposition of the Lord Mayor and Livery of London, in favour of
                injured America. They have expressed this, their sense, in a letter
                to his Lordship and the livery, which we desire may be presented in
                the manner most agreeable to that respectable body.
                   You will oblige us, Gentlemen, by giving the most early informa-
                tion to the Congress, and to the speakers of our respective assemblies,
                of your proceeding in this business, and such further intelligence as
                you may judge to be of importance to America in this great contest.
                   We are, with great regard, gentlemen, yr most obedient and very
                humble serv~
                   By order of the Congress,
                                                              [JOHN fuNOOOJ[,
                                                                                             P,.e,s.]
                   Ordered, That the above be fairly transcribed, and to
                be signed by the pres\ and then by him sent under cover,
                with the petition to the King, and address to the Inhab-
                itants of G B, and letter to the L 4 Mayor of London to
                R[ichard] Penn, Esq~ and to request him, in behalf of
                the Congress, to join with the Colony Agents in present-
                ing the petition to the King.
                   Order of the day put off, and adjourned till Monday at
                9 o'Clock. 1
                                         MONDAY, JULY 10, 1775

                  The Congress met according to adjournment.
                  It being suggested, that there was a gentleman in town
                well acquainted with the situation and disposition of the
                Indians,
                  1 A letter from General Schuyler, dat.ed June 30, was received by expre1111 and rt'Bd

                this day. The letter is in l'aptTII of the Continmtal Crmgru,, No. 153, I, folio 10.




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    David Ramsay, The History of the American
    Revolution, vol. 1 [1789]




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                                                   The
                                           HISTORY
                                                 of the
                                    AMERICAN
                                   REVOLUTIO
                                           IN TWO VOLUMES

                                      by David Ramsay, M.D.

                                   IHHTED BY LE STER H. COHEN


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    Edition Used:
    The History of the American Revolution, Foreword by Lester H. Cohen (Indianapolis:
    Liberty Fund 1990). Vol. 1.

             Author: David Ramsay
             Editor: Lester H. Cohen

    About This Title:
    Vol. 1 of a 2 volume work. David Ramsay’s History of the American Revolution
    appeared in 1789 during an enthusiastic celebration of nationhood. It is the first
    American national history written by an American revolutionary and printed in
    America. Ramsay, a well-known Federalist, was an active participant in many of the
    events of the period and a member of the Continental Congress from South Carolina.
    Ramsay discusses the events and ideas of the American Revolution (from the
    outbreak of turbulence in the 1760s to the onset of Washington’s administration) and
    makes an ardent Federalist defense of the Constitution of 1787. Based on the original
    and authorized 1789 version, this is the first new modern edition of the work.




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    Foreword
    David Ramsay’sThe History of the American Revolution appeared in 1789, during an
    enthusiastic celebration of American nationhood. “Nationhood,” moreover, was
    beginning to take on new cultural and intellectual connotations. The United States had
    declared its political independence more than a decade earlier, and a rising group of
    “cultural nationalists” was asserting that it was now time to declare cultural
    independence as well. The American people would never be truly autonomous
    otherwise. “However they may boast of Independence, and the freedom of their
    government,” wrote Noah Webster, lexicographer, historian, and the nationalists’
    most brilliant spokesman, “yet their opinions are not sufficiently independent.”
    Instead of liberating themselves from the influences of English culture, as they had
    from England’s arms and government, the Americans were continuing to manifest “an
    astonishing respect for the arts and literature of their parent country, and a blind
    imitation of its manners.” While such “habitual respect” for England was once
    understandable, even laudable, it had become an impediment to creating an
    independent American character and therefore posed dangers for the future.1

    Cultural nationalism was almost inevitable in the aftermath of a revolution that
    seemed to require Americans to define not only their political identity, but their
    spiritual identity as well. Such nationalism manifested itself in a variety of ways in
    literature and the arts, science, and education. In its superficial manifestations, it
    testified to an American inferiority complex, consisting mainly of defensive protests
    against the notion, common in eighteenth-century Europe, that the New World was a
    physically and morally debased version of the Old, and of mushy effusions of
    patriotic sentiment over any product of American literature, art, or science. Thus one
    commentator gushed over Ramsay’s The History of the Revolution of South-Carolina
    (1785), saying that it “reflects honour on this country, and gives room for hope that
    her literary will in time equal her military reputation,” and Rev. James Madison
    enthused that the work’s “Dress is altogether American.” Another reviewer, praising
    The History of the American Resolution, observed that it is a “necessity that the
    history of the American revolution be written in our own country, by a person of
    suitable abilities, who has witnessed the incidents attendant on that great event.”2
    Thus did patriotism pass for culture, and Ramsay’s work obviously measured up.

    On a more sophisticated level, some cultural nationalists—Ramsay among
    them—developed greater insight into the idea of American cultural identity. These
    nationalists recognized that, along with the richly deserved celebration and self-
    congratulation, the new nation needed a strong unifying culture. Without a culture that
    articulated the fundamental tenets of liberty, constitutionalism, virtue, and simplicity,
    the principles of the American Revolution would soon become corrupted. Such
    corruption could come from without, through the people’s continued reliance on
    English cultural values; it could also come from within, through the disintegrating
    forces already operating to dissolve the new nation into a multitude of disparate
    fragments. This realization prompted the nationalists anxiously to develop a notion of
    American identity that rested on two major premises: that politics, culture, and society


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    were inextricably intertwined, so that a change in any one would subtly alter the
    others; and that culture was a significant force in shaping human consciousness, an
    idea which offered a powerful incentive to use literature as a means of exhortation.

    Like all the historians of the Revolutionary era, Ramsay saw historical writing as a
    vehicle for fostering nationhood, an instrument for promoting the kind of unity, even
    homogeneity, that the cultural nationalists desired.3 Almost all the leading cultural
    nationalists were also political nationalists, the surest sign of which was that they saw
    the Constitution as the great vehicle for both creating and preserving American unity.
    And, although it was possible to be a nationalist culturally while opposing the
    Constitution for political reasons (as the historian, poet, and playwright Mercy Otis
    Warren made clear), Ramsay’s reasons for writing a peculiarly consensual or national
    history were intimately tied to his Federalist political views.

    Those reasons were motivated by Ramsay’s perception that the new nation faced two
    sorts of danger: on the one hand, the danger of political divisions between the states
    and within each state, divisions which had already given rise to factions with
    competing economic interests; and on the other, the threat of social and cultural
    divisions among the people of the several states and regions, which could readily lead
    to insularity and hostility.

    Thus, for example, he wrote in political terms about his fellow South Carolinians who
    put local interests ahead of national unity and opposed ratification of the Constitution.
    “To write, to speak, or even to think of a separation of the states is political
    blasphemy,” he wrote to Jedidiah Morse. “ ‘One Indivisible’ is my motto.”4 He even
    postponed publication of his history of the Revolution until the fate of the
    Constitution had been decided, for “The revolution cannot be said to be completed till
    that or something equivalent is established.”5 But Ramsay continued to fear the
    potential for disunity even after the Constitution had been operating for years. “We
    should, above all things, study to promote the union and harmony of the different
    states,” he cautioned in 1794. “We should consider the people of this country … as
    forming one whole, the interest of which should be preferred to that of every part.”6

    While it is impossible to separate his political from his cultural motives, Ramsay was
    at his best when he spoke of the importance of historical writing with his cultural
    concerns in mind. In fact, in his Federalist pamphlet, “An Address to the Freemen of
    South-Carolina (1788),” he cast one of his strongest political arguments for the
    Constitution in cultural terms. He called upon his fellow Carolinians to “consider the
    people of all the thirteen states, as a band of brethren, speaking the same language,
    professing the same religion, inhabiting one undivided country, and designed by
    heaven to be one people.”7 Ramsay was as sensitive as any intellectual of his era to
    the kinds of divisions, real and potential, that tended to separate Americans and
    undermine the unity he sought. Even ratification of the Constitution was less a
    culmination than a beginning, less a sign of unity than a foundation for it. “We are too
    widely disseminated over an extensive country & too much diversified by different
    customs & forms of government to feel as one people[,] which we are,” he confided
    to John Eliot in 1795. But through historical writings, such as Jeremy Belknap’s
    History of New Hampshire (1792), “we might become better acquainted with each



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    other in that intimate familiar manner which would wear away prejudices—rub off
    asperities & mould us into a homogenous people.” Belknap’s achievement was all the
    more remarkable, for Belknap had written about a single state, yet his work breathed a
    national spirit.8 In short, even in ostensibly local history, it was possible—indeed,
    necessary—to write of the nation and its character, for such writings tended to unify
    the people. “I long to see Dr. [Hugh] Williamson’s history of North Carolina,”
    Ramsay wrote to Belknap in 1795. “Indeed I wish to see a history of every state in the
    Union written in the stile and manner of yours & Williams’s history of Vermont. We
    do not know half enough of each other. Enthusiastic as I am for the Unity of our
    republic[,] I wish for every thing that tends to unite us as one people who know[,]
    esteem & love each other.”9 In 1809, Ramsay’s own The History of South-Carolina
    would join the list of nationalistic state histories.

    Ramsay’s passion for unity and his fear of fragmentation prompted him to invent a
    national past characterized by consensus. This is not to say that Ramsay was a
    dissembler or deceiver who created a past out of whole cloth. It is, rather, to
    emphasize that for Ramsay, as for all the historians of the Revolution, historical
    writing was not so much an end in itself as it was a means to cultivate the political and
    moral consciousness of the present and future generations. Sensitive to divisions
    within America—political, ethnic, racial, religious, economic—Ramsay genuinely
    feared chaos, and his experience in both state and confederation politics led him to
    believe that only by generating a constellation of commonly held values and
    principles could the nation resist the forces that tended to pull it apart. Ramsay did not
    invent those values and assumptions; he drew them out of the intellectual climate of
    Revolutionary America and found clues to them in America’s past. But he focused
    upon them and molded them into the story of the new nation, so that his version of the
    past appeared to be inevitable. Thus, when Ramsay spoke of using history as an
    instrument of national unity, he meant to incite future generations to commit
    themselves to the principles of revolutionary republicanism.10

    Ramsay, even more than his contemporary historians, was experienced in politics,
    knowledgeable about world affairs, sensitive to the economic and political interests of
    his compatriots, and had access to a vast number of historical records. He knew that
    America’s past had been marked by tensions that from time to time had erupted into
    open conflict. Yet he purposefully created an image of the colonial past that
    diminished the importance of conflicts and portrayed the colonists as
    revolutionaries—an image of consensus, unity, and an unfaltering commitment to
    republican principles. In short, he attempted to create a national future by inventing a
    consensual past—to provide an instant tradition for a revolutionary people.

    Ramsay’s principal strategy was to establish a republican lineage, an unbroken
    succession of American generations that were strenuously committed to the principles
    of revolutionary republicanism from the moment of settlement in the seventeenth
    century. The colonists’ chief characteristic was that they formed an intellectual, even
    spiritual, consensus on three major principles: they were politically dedicated to an
    ordered liberty within the context of law and balanced, representative government;
    they were ethically committed to the obligations of conscience and the public good, so
    that social life was simple and felicitous and individual conduct marked by industry



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    and prudence; and they were convinced philosophically that people are free and
    efficacious beings who are responsible for their actions and for the consequences their
    actions bring about. It was this constellation of fundamental principles that constituted
    the American national character as Ramsay depicted it; and it was to this constellation
    that he pointed when he exhorted members of his own and future generations to
    develop cultural unity as a bulwark against division.

    Again, Ramsay insisted that these principles were not new to the Revolutionary
    generation; the conflicts between the Americans and the British during the 1760s and
    ’70s had merely called forth the original settlers’ character. The complex coincidence
    of geography, politics, social arrangements, and values in colonial America had
    “produced a warm love for liberty, a high sense of the rights of human nature, and a
    predilection for independence.”11

    “From their first settlement, the English Provinces received impressions favourable to
    democratic forms of government.” Colonization generally coincided with the
    struggles in England between Parliament and the crown, so that the issue of popular
    government based on consent, as contrasted with the divine rights of kings, was a
    current topic of debate. The colonists who emigrated to the New World consisted
    mainly of people who were “hostile to the claims of [monarchical] prerogative.” They
    “were from their first settlement in America, devoted to liberty, on English ideas, and
    English principles.” Crucially, these ideas were not mere abstractions. The colonists
    “not only conceived themselves to inherit the privileges of Englishmen, but though in
    a colonial situation, actually possessed them.”12

    By showing that republican principles and practices had been deeply ingrained in the
    people for generations, Ramsay vivified the image of a revolutionary past so far as to
    suggest that the colonists had been independent from the beginning. “The
    circumstances under which New-England was planted, would a few centuries ago
    have entitled them, from their first settlement, to the privileges of independence.” The
    colonists had set out at their own expense, with no prospects other than hard work, to
    build homes and plant civilization in a wilderness. They purchased their lands from
    “the native proprietors” and exerted themselves to reap the bounties of nature. One
    hardly needed John Locke to make the argument that people who expended their own
    labor, paid for their own lands, and voluntarily formed their own governments owed
    no obligations to Britain except those that “resulted from their voluntary assent” as
    revealed in “express or implied compact.” And those were manifestly limited. The
    people knew that government rested upon contracts freely entered; that taxation and
    representation were indissolubly joined; that they held and alienated their property
    only by consent; that the end of government was the happiness of the people; that the
    people were free to assemble and petition the government for redress of grievances;
    and that, all proximate means failing, the people had the natural right to rebel against
    tyrannical rule.13 Thus did the colonizing generation consist of proto-revolutionaries.

    The colonists were not only republicans in politics, they were also dedicated to
    personal and social practices that conduced to individual happiness and to the public
    good. “The state of society in the Colonies favoured a spirit of liberty and
    independence,” Ramsay wrote. Here, the “inhabitants were all of one rank. Kings,



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    Nobles, and Bishops, were unknown to them.” The people were “unaccustomed to
    that distinction of ranks” which characterized European society, and they were
    “strongly impressed with an opinion, that all men are by nature equal.” The colonists’
    religious practices “also nurtured a love for liberty.” The majority were Protestants,
    Ramsay noted, “and all protestantism is founded on a strong claim to natural liberty,
    and the right of private judgment.” There were, of course, numerous sects, but “they
    all agreed in the communion of liberty, and all reprobated the courtly doctrines of
    passive obedience, and non-resistance.” Nor were the colonists subjected to the
    pernicious effects of the luxury and opulence indulged in by the courts of Europe.
    Instead, “inured from their early years to the toils of a country life, they dwelled in the
    midst of rural plenty.”

    Colonial American society, in short, was characterized by simplicity of manners, and
    habits of industry, prudence, and morality. The colonists’ experience thus “gave a cast
    of independence to the manners of the people” and diffused among them “the exalting
    sentiments” of liberty.14

    Given the colonists’ ingrained political and social values and their commitment to the
    principles of liberty and democratic government, it was obvious that the American
    Revolution was not a sudden upsurge of resentment against particular acts of
    Parliament. Resistance and revolution were the inevitable and justifiable responses of
    a people long habituated to such values. “The genius of the Americans”—that is, their
    original “republican habits and sentiments”—had prepared them to resist
    encroachments on their rights and to form popular governments during the
    Revolutionary era. This was the final element in Ramsay’s message to future
    generations: confronted with arbitrary power, the colonists had established a tradition
    of showing the courage of their convictions, resisting inroads against their liberties,
    and taking responsibility for the future.15

    But why should Ramsay have presented this manifestly one-dimensional image of the
    colonists as strenuous republicans, committed to simplicity, industry, prudence,
    equality, and natural rights? To some extent he actually did see them as American
    revolutionaries in the making, for so powerful was the “republican synthesis” in his
    own day that it shaped his ideas and experience and predisposed him to see all of
    history in its terms.16 Yet this will not entirely explain Ramsay’s over-
    simplifications, which seem drastic insofar as his history contains little or no
    intercolonial rivalry, popular uprisings against proprietary governors, political strife
    among competing interest groups, ethnic tensions, religious intolerances, or class
    divisions. Even slavery appears in Ramsay’s History as a mitigated evil, which, while
    manifestly wrong, at least had produced sentiments of liberty and independence
    among the masters.17 If for five or six generations the Americans had held the deeply
    ingrained political, social, moral, and philosophical principles that Ramsay described
    and if they had experienced a minimum of conflict, then why did Ramsay have to
    remind his readers of the American tradition above all else?

    The answer contains three parts. First, as noted earlier, there were Ramsay’s
    apprehensions. He feared that disunity would rend the fabric of the new
    nation—indeed, that without shared assumptions, principles, and values, as well as a



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    federal Constitution, America might even separate into thirteen autonomous states or
    into two or three regional governments. In either case, it would become prey to the
    great European powers, even if it did not destroy itself from within.18

    Second, Ramsay feared that the great tradition, particularly its powerful moral
    elements, had been badly damaged by the war. Throughout the war years and into the
    1780s, Ramsay expressed his doubts whether the people had sufficient moral courage
    to make a republican experiment work. Within a year of delivering his stirring vision
    of an American republican future in his “Oration on the Advantages of American
    Independence” (1778), he wrote to William Henry Drayton that “A spirit of money-
    making has eaten up our patriotism.” To Benjamin Rush he added: “I most devoutly
    wish for peace. Our morals are more depreciated than our currency, & that is bad
    enough.” By 1783 he was worried that “This revolution has introduced so much
    anarchy that it will take half a century to eradicate the licentiousness of the people. I
    wish for the honor of human nature that in these last ages of the world it may appear
    that mankind are capable of enjoying the blessings of freedom without the
    extravagancies that usually accompany it.” By 1785 the theme of internal corruption
    had become more insistent and urgent. “I feel with you the declension of our public
    virtue,” he wrote to John Eliot. “Liberty which ought to produce every generous
    principle has not in our republics been attended with its usual concomitants. Pride[,]
    Luxury[,] dissipation & a long train of unsuitable vices have overwhelmed our
    country.” And within a year he expressed the ultimate fear: “We have neither honesty
    nor knowledge enough for republican governments. … During the war we thought the
    termination of that would end all our troubles. It is now ended three years & our
    public situation is as bad as ever.”19 ~ ~

    The third part of the answer is that historical writings, like Fourth of July orations,
    sermons, and “all the powers of Eloquence” had the capacity to shape thought, and
    thus historians, like ministers and politicians, had an obligation to use their writings
    “to counter-act that ruinous propensity we have for foreign superfluities & to excite us
    to the long neglected virtues of Industry & frugality.”20 History, in short, was a moral
    art. That was why Ramsay praised Belknap’s and Williams’s histories; that was why
    he believed that John Eliot’s Biographical Dictionary “rendered an essential service
    to the living by holding up so many excellent models for their imitation from the
    illustrious dead”; and that was why he deliberately omitted conflict and strife in the
    colonial past.21 Indeed, Ramsay once drew an instructive analogy between history
    and fiction: “Novelists take fiction & make it a vehicle of their opinions on a variety
    of subjects,” he observed. “I take truth & the facts of history for the same purpose.”22
    Ramsay was well aware that he was using “art” in the service of history and history in
    the service of morality and national unity. “Had I a voice that could be heard from
    New Hampshire to Georgia,” he said in 1794, “it should be exerted in urging the
    necessity of disseminating virtue and knowledge among our citizens.” His histories
    represented that voice.

    Ramsay’s voice was, in fact, heard all over America and over much of Europe as
    well.23 Between 1785, when he was thirty-six, and his death in 1815, he published
    three histories—two on South Carolina and TheHistory of the American
    Revolution—that remain significant after two hundred years. He also wrote numerous



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    other works, ranging from an analysis of yellow fever and well water in Charleston, to
    a eulogy on the death of his friend and mentor, Benjamin Rush, to a memoir of his
    wife, Martha Laurens Ramsay, to two examples of that distinctively American genre,
    the Fourth of July oration.

    Even in an age dominated by such philosophes as Benjamin Franklin and Thomas
    Jefferson, Ramsay is notable for his fertile and restless intellect. He entered the
    sophomore class of the College of New Jersey (later renamed Princeton) in 1762 and
    was graduated three years later at age sixteen. For the next five years he taught school
    in Maryland and Virginia. Deciding finally to pursue a career in medicine, he enrolled
    in the newly reorganized medical school of the College of Philadelphia, which
    boasted an excellent faculty that included the brilliant twenty-four-year-old Rush.
    Ramsay received his Bachelor of Physic in 1773. On Ramsay’s graduation Rush
    summarized the talents of his young friend, whom he esteemed as “far superior to any
    person we ever graduated at our college; his abilities are not only good, but great; his
    talents and knowledge are universal; I never saw so much strength of memory and
    imagination, united to so fine a judgment.”24

    In 1774, after practicing medicine for a year in Cecil County, Maryland, Ramsay set
    out for Charleston, where he made his home for the rest of his life. Charleston was
    then a leading Southern city, with some 12,000 inhabitants, a growing commerce, and
    a well-defined social hierarchy that divided whites from one another along class lines
    and whites from blacks along racial lines—clear evidence of the divisions in society
    to which he was so sensitive and which he deemphasized in his History. Yet within a
    year of his arrival, this outsider from Pennsylvania, the son of immigrants and a
    Presbyterian in the midst of an Anglican elite, had married Sabina Ellis, daughter of a
    prominent merchant,25 and within three years, he was elected to the South Carolina
    assembly. By 1778 Ramsay had a seat on the state’s prestigious privy council. He
    served in the Continental Congress in 1785, returned to his seat in the state assembly
    in 1786, served as a delegate to the convention that ratified the South Carolina state
    constitution in 1788. From 1791 to 1797 Ramsay was president of the state senate.
    His only disappointment in politics was his resounding defeat by William Loughton
    Smith for a seat in the first federal congress.26

    Neither his political nor his medical and scientific careers, however, seemed to satisfy
    his intellectual curiosity. Ramsay turned to historical writing, he explained to Thomas
    Jefferson, “when I was in confinement in St. Augustine in the year 1781 and [it] has
    employed my leisure hours ever since.”27 But Ramsay was drawn to history and to
    his national vision by his political experience, which convinced him that state
    government was, by turns, too timid and too wild to solve many of the problems that
    arose in the post-Revolutionary era. “There is a languor in the States that forebodes
    ruin,” he complained to Rush in 1786. He also noted the “temporising” of the
    Southern states in particular, and feared the disintegration of the United States if the
    Constitutional Convention did not produce “an efficient federal government.”28
    Politics and government were no better in South Carolina; they may have been worse:

    The eight years of war in Carolina were followed by eight years of disorganization,
    which produced such an amount of civil distress as diminished with some their



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    respect for liberty and independence. Several apprehended that the same scenes which
    had taken place in England in the seventeenth century after a long and bloody civil
    war, would be acted over again in America by a fickle people who had neither the
    fortitude nor the wisdom to govern themselves. … Peace and liberty were found
    inadequate to promote public happiness without the aid of energetic government.

    The state legislature either languished and did nothing or legislated too much. The
    best and most courageous act performed by state officials, finally, was to agree to the
    Constitution that would constrain some of their own power! 29

    With first-hand experience of the inefficiencies and vacillations of state government
    and an urge to cultivate eloquence, Ramsay began writing history. He announced
    optimistically in his “Oration on the Advantages of American Independence” (1778)
    that the very presence of free, republican institutions was bound to produce an exalted
    literature. In an oppressive regime, “ignorance,” after all, “was better than
    knowledge,” whereas “Eloquence is the child of a free state.” America, he predicted,
    “will produce poets, orators, criticks, and historians, equal to the most celebrated of
    the ancient commonwealths of Greece and Italy.”30

    Despite his optimism about the prospects of culture in the new nation, Ramsay soon
    faced a grim reality. Although he became known as America’s “Tacitus” and
    “Polybius,” he learned all too quickly that “the trade of an author is a very poor one in
    our new world.” Concerning The History of the Revolution of South-Carolina, he
    lamented to fellow historian William Gordon: “My advances will not be replaced till I
    have sold 500 copies & my debts contracted and yet unpaid will require the sale of
    700 more. The edition has cost me 5,000 dollars. The printers bill is 2500 dollars. The
    engravings 800[,] the binding 4/ 10 a copy. In short I have no brilliant pecuniary
    prospects before me.”31

    Yet despite the financial failure of his South Carolina history, Ramsay immersed
    himself in TheHistory of the American Revolution during his tenure in the Continental
    Congress. Here he had access to people prominent on a national level and to an
    enormous archive. He predicted to Rush that “I can write the general history of the
    revolution with more ease than I have wrote a part of it. Indeed, I have got the facts
    already collected.” He had ready to hand, he said, a great many documents: “from my
    access to papers … and the regularity of records in the offices of Congress[,] I have
    been enabled to do a great deal in a little time.”32 His facts may have been
    substantially collected, but Ramsay made the effort to pose numerous detailed
    questions to several people about various aspects of the Revolution. He wrote to Rush
    on several occasions; to Elias Boudinot (commissary general of prisoners for the
    Continental Army and a member of Congress for five years); to Gouverneur Morris
    (member of the New York provincial congress and for four years an assistant minister
    of finance under Robert Morris); to Charles Thomson (secretary of the Continental
    Congress from 1774 to 1789); and to John Adams. He also sent his manuscript to
    Charles Thomson, who read it, made comments on it, and promised to circulate it
    among other knowledgeable readers.33




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    No doubt these inquiries made for a better history. But Ramsay fared almost as poorly
    on this work as he had on the previous one. He had problems with his printer, Robert
    Aitken, whose work, said Ramsay, “offends against every principle of good printing.
    The printing[,] the spelling[,] the ink[,] the form of the lines are in many cases
    execrable.” In addition, asked the outraged Ramsay, “What think you of his stopping
    the work on the pretence of want of money[,] though 760 dollars were advanced in the
    time of the work[,] the whole of which was only to cost 1200 dollars?”34 He also
    complained that he had been “cheated by booksellers & printers,” who were taking far
    too much of the proceeds of the sales in advertising. Ramsay was eventually reduced
    to barter: “If my books that are unsold could be exchanged for a copy of your state
    laws or of the laws of the neighboring states,” he wrote to John Eliot, “I would be
    most pleased. I would exchange them for any good books rather than [that] they
    should remain on hand.” Finally, Ramsay had to swallow the fact that his History had
    been pirated by John Stockdale in London. It was bad enough that “The errors &
    blunders of Aitkens edition are many and cannot be corrected,” he wrote to John
    Eliot. Worse yet, “Stockdale has printed one in London without my consent & many
    of the copies of Aitkens edition are yet on hand.” Ramsay had not yet seen the
    London edition in April 1793, nor had he “any knowledge of it till it was nearly
    executed.” Needless to say, he realized no profit on Stockdale’s editions or on the
    several that were based on it .35

    Ramsay’s reputation as a historian was excellent throughout his life and for decades
    afterwards. The History of the American Resolution has enjoyed a resurgence of
    interest in the last twenty-five years. The only significant dissenting voice in the last
    two centuries was that of Orrin Grant Libby, who showed that Ramsay had
    plagiarized portions of both it and The History of the Revolution of South-Carolina
    from the Annual Register.36 Each issue of the AnnualRegister, published
    continuously from 1758, contained a superb “History of Europe” section which for
    some years was written by Edmund Burke. This section contained a narrative of the
    most important events in contemporary English history. Thus, during the years
    between 1765 and 1783, it was filled with news of American affairs—political,
    military, economic. Along with the sections known as “State Papers” and “Appendix
    to the Chronicle,” both of which contained the texts of contemporary documents, the
    “History of Europe” was a comprehensive, beautifully written narrative that had the
    additional merit of being written from an English Whig (and, therefore, an anti-war or
    pro-American) standpoint. Each issue of the Annual Register went through numerous
    editions and circulated widely in America.37

    Ramsay did, in fact, lift passages verbatim from the Annual Register, though Libby
    certainly exaggerated in suggesting that Ramsay “plagiarized a large part” of his book
    on the American Revolution either from it or from William Gordon’s work.38 But
    even if all the examples are conceded, they amount to a very small part of the seven
    hundred pages. More important, the plagiarism has no substantial impact on its value
    to modern readers; there is no reason for us to agree with Libby’s conclusion that,
    because of the plagiarism, the History is “well-nigh worthless.”39

    First, scholarly citation as we know it was not an issue for eighteenth-century writers,
    who honored the practice, if at all, only in the most irregular and idiosyncratic



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    manner. Second, eighteenth-century American histories were performances, not
    proofs; they more nearly resemble sermons, which inspire by enunciating principles
    and applying them to human situations, than scientific or legal discourses, which
    depend for their cogency and persuasiveness on their marshalling of evidence.
    Finally, and most importantly, Libby’s criticism, which spoke to the advocates of
    “scientific” historicism at the start of the twentieth century, has become largely
    irrelevant to most modern readers. While we still learn factual information from some
    of our “ancient” histories—Cotton Mather’s Magnalia ChristiAmericana (1702),
    incredibly rich with detail, leaps to mind—we do not similarly value the factual nature
    of Ramsay’s histories with the possible exception of TheHistory of South-Carolina
    (1809). Hence, we are less concerned with having precise information about
    Ramsay’s sources.

    Instead, we learn from Ramsay the interpreter of his present and his past. We learn
    about the intellectual predilections of the eighteenth-century historian: the values,
    assumptions, principles, and expectations of one who lived and wrote amidst the
    events he narrated. We learn from the ways in which he shaped history: his use of
    language, his sense of the significance of people and events, his narrative style, his
    use of history as propaganda, as exhortation, and as fiction. We do not, in short, rely
    on Ramsay to tell us what happened during the Revolution, any more than we rely on
    him for medical advice, which included Benjamin Rush’s recommended practice:
    bleeding. In most respects we know a great deal more about what happened than he
    did, particularly since we are now the arbiters of what is significant. We rely on
    Ramsay not for information, but for the ways in which he reveals the sensibility
    through which the events of his era were filtered.

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    April 1989

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    Politics of History: Writing the History of the American Revolution, 1783–1815
    (Chicago, 1975), in which Ramsay figures prominently; William Raymond Smith,
    History as Argument: Three Patriot Histories of the American Revolution (The
    Hague, 1966), which focuses on Ramsay, John Marshall, and Mercy Otis Warren; and
    Lester H. Cohen, TheRevolutionary Histories: Contemporary Narratives of the
    American Revolution (Ithaca, N.Y., 1980); “Creating a Useable Future: The
    Revolutionary Historians and the National Past,” in Jack P. Greene, ed., The
    American Revolution: Its Character and Limits (New York, 1987): 309–330; and
    Mercy Otis Warren’s History of the Rise, Progress and Termination of the American
    Revolution (Indianapolis, 1988): xvi-xxxvii. Wesley Frank Craven’s The Legend of
    the Founding Fathers (Ithaca, N.Y., n.d.) remains a lively and provocative study of
    the image of the founding of America in the writings of successive generations of
    American histories.

    The best interpretation of Ramsay’s historical writings and political thought include
    Page Smith, “David Ramsay and the Causes of the American Revolution,” William
    and Mary Quarterly, 3d Series, 17 (January 1960): 51–77 (this was reprinted in Page
    Smith, The Historian and History (New York, 1960), which rescued Ramsay and his
    work from the pall cast over them by Orrin Grant Libby); Lawrence J. Friedman and
    Arthur H. Shaffer, “David Ramsay and the Quest for an American Historical
    Identity,’’ Southern Quarterly, 14 (July 1976): 351–371, and “History, Politics, and
    Health in Early American Thought: The Case of David Ramsay,” Journal of
    American Studies, 13 (April 1979): 37–56; and Arthur H. Shaffer, “Between Two
    Worlds: David Ramsay and the Politics of Slavery,” Journal of Southern History, 50
    (May 1984): 175–196.




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    Editor’S Note
    This edition of Ramsay’sThe History of the American Revolution is the first to reprint
    the original 1789 edition printed by R. Aitken and Son in Philadelphia. That was the
    only edition that Ramsay actually authorized. The others, including the popular
    London edition of 1793, printed by John Stockdale, were pirated before the
    promulgation of effective copyright laws.

    Aitken’s and Stockdale’s editions vary only minutely. In numbering the pages, Aitken
    omitted page numbers 321 and 322 of the first volume, so that the text flows directly
    from page 320 to page 323. Stockdale did not preserve Aitken’s error; we did, in
    order to conform to the pagination of the first edition. Aitken also rendered page 32 of
    volume I as page “13.” We have corrected that error, since it has no bearing on the
    actual pagination and since preserving it would have no value for modern readers.
    Stockdale’s copy of Aitken’s edition, like the one we used here, may have contained a
    few illegible passages. Stockdale must have interpolated at those points and
    occasionally misread the text. We have stayed with the wording of the original by
    comparing it with another printing.

    Ramsay was substantially correct about Aitken’s “execrable” printing. Aitken’s
    punctuation is wildly irregular and his spelling idiosyncratic. He transposed letters
    and abbreviated titles inconsistently and, apparently, according to some inner vision.
    Thus, we were faced with numerous choices. We have tried here to fulfill the ideal of
    remaining as faithful to the original text as possible while producing a volume that is
    accessible to modern readers. We have silently corrected the text where errors were
    obviously the result of the printer—transposed letters, misspelled words—and where
    to preserve the errors would have no realistic scholarly or aesthetic value. In a number
    of instances Ramsay’s punctuation has been modernized. Most of the time this meant
    removing dashes erratically placed (by today’s standards) and extraneously placed
    (duplicating a directly preceding or succeeding punctuation mark). In rarer instances,
    periods and commas were inserted or removed to correct a glaring omission or a
    usage that strongly clashed with modern conventions of punctuation. As already
    implied, our policy was to make such alterations in as conservative a manner as
    possible—and thus a number of the original quirks and errors, which do have the
    merit of preserving something of the flavor of the first edition, still reside in this one.

    We have, in addition, rendered lengthy quotations in block-indented form, rather than
    run quotation marks down both sides of paragraphs as in the original.

    We have preserved the page numbers of the original, which here appear in brackets in
    the text. We have also preserved Ramsay’s and Aitken’s marginalia, although we
    have silently corrected dates appearing in the margins where the originals were clearly
    erroneous and deleted some of the most redundant of the dates that were repeated. We
    have added an index for the convenience of modern readers and researchers. Four
    appendices, interspersed between chapters rather than included together at the end of




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    the book, have been kept in the place originally assigned to them by Ramsay and
    Aitken.




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    Acknowledgments
    In addition to sharing with me his knowledge and writings on Ramsay, Arthur H.
    Shaffer graciously read an early version of the introduction and offered useful
    suggestions. I am currently reviewing Shaffer’s authoritative biography of Ramsay,
    the manuscript of which arrived unfortunately too late for me to borrow from as
    liberally as I would have liked. Upon publication, Shaffer’s biography will be as
    indispensable as Brunhouse’s excellent collection of sources. Linda Levy Peck proved
    again the value of her friendship and her keen eye for bad writing. She favored the
    foreword with several readings, helping me to eliminate the gaffes that no longer
    appear. Dan McInerney and Bruce Kahler, two former Ph.D. students, also read this
    material and made numerous valuable suggestions. Bill Dennis, Barbara Reynolds,
    and Chuck Hamilton of Liberty Fund were, as always, a delight to work with. They
    took a chance on publishing two early American histories—first Mercy Otis Warren’s
    and then David Ramsay’s—and made the experiences gratifying for me.

    In preparing Ramsay’s History for publication, I had the extraordinary experience of
    coming full circle. At the beginning of my graduate career in 1966, I was blessed by
    having Page Smith as my mentor and friend; at the end of my teaching career, there
    was David Ramsay, whom Page introduced to me, along with his passion for the
    beauty and deceptive simplicity of narrative. I have always identified the two, David
    Ramsay and Page Smith, no doubt because Page has always exemplified for me the
    finest spirit of the eighteenth century. If these volumes were mine, rather than
    Ramsay’s, to dedicate, I would dedicate them with admiration and respect to Page
    Smith.

    L.H.C.




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    Preface [To The First Edition]
    The materials for the following sheets were collected in the year 1782, 1783, 1785,
    and 1786; in which years, as a member of Congress, I had access to all the official
    papers of the United States. Every letter written to Congress by General Washington,
    from the day he took the command of the American army till he resigned it, was
    carefully perused, and it’s contents noted. The same was done with the letters of other
    general officers, ministers of Congress, and others in public stations. It was intended
    to have enlarged the work by the insertion of state papers, as proofs and illustrations
    of my positions. This I could easily have done, and shall do at a future time, and in a
    separate work, if the public require it. At present I thought it prudent to publish little
    more than a simple narrative of events, without introducing my authorities. Several of
    these are already in my History of the Revolution of South-Carolina, and such as are
    printed may be found in the periodical publications of the day. I have endeavoured to
    give much original matter at a small expence. As I write about recent events, known
    to thousands as well as myself, proofs are at present less necessary than they will be
    in future.

    I appeal to the actors in the great scenes which I have described for the substantial
    truth of my narrative. Intentional misrepresentations, I am sure there are none. If there
    are any from other sources, I trust they will be found in small circumstances, not
    affecting the substance.

    October 20, 1789




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    CHAPTER I

    Of The Settlement Of The English Colonies, And Of The
    Political Condition Of Their Inhabitants.
    [1] The Extensive Continent which is now called America, was three hundred years
    ago unknown to three quarters of the globe. The efforts of Europe during the fifteenth
    century to find a new path to the rich countries of the East, brought on the discovery
    of a new world in the West.
    Christopher Columbus acquired this distinguished honor in the         1492
    year 1492, but a later navigator Americus Vespucius who had
    been employed to draw maps of the new discoveries, robbed him of the credit he
    justly merited of having the country called by his name.
    In the following year 1493, Pope Alexander the sixth, with a          1493
    munificence that cost him nothing, gave the whole Continent to
    Ferdinand and Isabella of Spain. This grant was not because the country was
    uninhabited, but because the nations existing there were infidels; and therefore in the
    opinion of the infallible donor not entitled to the possession of the territory in which
    their Creator had placed them. This extravagant claim of a right to dispose of the
    countries of heathen nations, was too absurd to be universally regarded, even in that
    superstitious age. And in defiance of it, several European sovereigns though devoted
    to the See of Rome undertook and successfully prosecuted further discoveries in the
    Western hemisphere.

    [2]
    Henry the seventh of England, by the exertion of an authority       1496
    similar to that of Pope Alexander, granted to John Cabot and his
    three sons a commission, “to navigate all parts of the ocean for the purpose of
    discovering Islands, Countries, Regions or Provinces, either of Gentiles or Infidels,
    which have been hitherto unknown to all christian people, with power to set up his
    standard and to take possession of the same as Vassals of the crown of England.”
    By virtue of this commission, Sebastian Cabot explored and took 1498
    possession of a great part of the North American continent, in the
    name and on behalf of the king of England.

    The country thus discovered by Cabot was possessed by numerous tribes or nations of
    people. As these had been till then unknown to all other Princes or States, they could
    not possibly have owed either allegiance or subjection to any foreign power on earth;
    they must have therefore been independent communities, and as such capable of
    acquiring territorial property, in the same manner as other nations. Of the various
    principles on which a right to soil has been founded, there is none superior to
    immemorial occupancy. From what time the Aborigines of America had resided
    therein, or from what place they migrated thither, were questions of doubtful solution,
    but it was certain that they had long been sole occupants of the country. In this state
    no European prince could derive a title to the soil from discovery, because that can


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    give a right only to lands and things which either have never been owned or
    possessed, or which after being owned or possessed have been voluntarily deserted.
    The right of the Indian nations to the soil in their possession was founded in nature. It
    was the free and liberal gift of Heaven to them, and such as no foreigner could
    rightfully annul. The blinded superstition of the times regarded the Deity as the partial
    God of christians, and not as the common father of saints and savages. The pervading
    influence of philosophy, reason, and truth, has since that period, given us better
    notions of the rights of mankind, and of the obligations of morality.
    These unquestionably are not confined [3] to particular modes of 1496
    faith, but extend universally to Jews and Gentiles, to Christians
    and Infidels.

    Unfounded however as the claims of European sovereigns to American territories
    were, they severally proceeded to act upon them. By tacit consent they adopted as a
    new law of nations, that the countries which each explored should be the absolute
    property of the discoverer. While they thus sported with the rights of unoffending
    nations, they could not agree in their respective shares of the common spoil. The
    Portuguese and Spaniards, inflamed by the same spirit of national aggrandizement,
    contended for the exclusive sovereignty of what Columbus had explored. Animated
    by the rancour of commercial jealousy, the Dutch and Portuguese fought for the
    Brazils. Contrary to her genuine interests, England commenced a war in order that her
    contraband traders on the Mexican coast, claimed by the king of Spain might no
    longer be searched. No farther back than the middle of the present century, a contest
    concerning boundaries of American territory belonging to neither, occasioned a long
    and bloody war between, France and England.

    Though Queen Elizabeth and James the first denied the authority of the pope of Rome
    to give away the country of Infidels; yet they so far adopted the fanciful distinction
    between the rights of heathens and the rights of christians, as to make it the
    foundation of their respective grants. They freely gave away what did not belong to
    them with no other proviso, than that “the territories and districts so granted, be not
    previously occupied and possessed by the subjects of any other christian prince or
    State.”
    The first English patent which was given for the purpose of           1578
    colonising the country discovered by the Cabots, was granted by
    Queen Elizabeth to Sir Humphry Gilbert, but this proved abortive.
    Soon after she licensed Walter Raleigh, “to search for heathen        1584
    lands not inhabited by christian people,” and granted to him in
    fee all the soil “within 200 leagues of the places where his people should make their
    dwellings and abidings.” [4]
    Under his auspices an inconsiderable colony took possession of a 1585
    part of the American coast, which now forms North-Carolina. In
    honor of the Virgin Queen his sovereign, he gave to the whole country the name of
    Virginia. These first settlers and several others who followed them, were either
    destroyed by the natives, removed by succeeding navigators, or died without leaving
    any behind to tell their melancholy story, for they were never more heard of. No
    permanent settlement was effected till the reign of James the first. The national ardor
    which sprung from the long and vigorous administration of Queen Elizabeth,



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    continued to produce its effects for some time after she had ceased to animate the
    whole. Her successor though of an indolent disposition, possessed a laudable genius
    for colonisation. Naturally fond of novelty, he was much pleased with a proposal
    made to him by some of the projectors of that age “for deducing a colony into that
    part of America commonly called Virginia.”
    He therefore granted letters patent to Thomas Gates and his            1606
    associates, by which he conferred on them “all those territories in
    America, which were not then possessed by other christian princes or people, and
    which lay between the 34th and 45th degree of north latitude.” They were divided into
    two companies, the first consisting of adventurers of the city of London, was called
    the London company, the second consisting of merchants of Plymouth and some other
    Western towns, was called the Plymouth company. The adventurers were empowered
    to transport thither as many English subjects as should willingly accompany them;
    and it was declared “that the colonists and their children should enjoy the same
    liberties as if they had remained, or were born, within the realm.”
    The month of April 1607, is the epoch of the first permanent           1607
    settlement on the coast of Virginia, the name then given to all
    that extent of country which now forms thirteen States. The emigrants took possession
    of a peninsula on the Northern side of James-river, and erected a town which in honor
    of their sovereign they called James-Town. They soon experienced the
    embarrassments [5] which are the usual lot of new settlers. In a few months diseases
    swept away one half of their number. Those who survived were greatly chagrined by
    the many vexations incidental to their new and forlorn situation.
    In 1609, the Southern or London company surrendered their              1609
    rights to the crown and obtained a new patent. There were then
    added to the former adventurers, many of the first nobility and gentry. To them and
    their successors were granted, in absolute property, the lands extending from Cape
    Comfort along the sea coast, southward 200 miles, from the same promontory 200
    miles northward, and from the Atlantic westward to the South sea. Licence was given
    to transport to Virginia, all persons willing to go thither. The colonists and their
    posterity were declared “to be entitled to the rights of subjects, as if they had
    remained within the realm.” The company being thus favoured by their sovereign,
    were encouraged to proceed with spirit in supporting and extending their settlement,
    but before this was thoroughly accomplished, a great waste of the human species had
    taken place. Within 20 years after the foundation of James-Town was laid upwards of
    9000 English subjects had, at different times, migrated thither, but diseases, famine,
    wars with the natives, and the other inconveniences of their new settlement, had made
    such havoc among these adventurers, that by the end of that period, there remained
    alive only about 1800 of that large number. The same and other causes continued to
    operate so forcibly that, notwithstanding frequent accessions from new adventurers,
    Virginia in 1670, sixty three years after the settlement of James-Town contained no
    more than 40,000 inhabitants.

    Thirteen years elapsed after James-Town began to be built before 1620
    any permanent establishment was effected in the Northern or
    second Colony. Various attempts for that purpose had failed, nor was the arduous
    business accomplished, till it was undertaken by men who were influenced by higher
    motives than the extension of agriculture or commerce.



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    These men had been called Puritans in England, from their             1620
    earnest desires of farther [6] reformation in the established
    church, and particularly for their aversion to certain popish habits and ceremonies,
    which they deemed sinful from their having been abused to idolatry. Such was the
    intolerance of the times, and so violent the zeal for uniformity, that popular preachers
    of this sect, though men of learning and piety were suspended, deprived, imprisoned,
    and ruined, for their not using garments or ceremonies which their adversaries
    acknowledged to be indifferent. Puritanism nevertheless gained ground. On
    experiment it was found that no attempts are more fruitless than those which are made
    with the view of bringing men to think alike on the subject of religion. The leaders
    both of Church and State were too little acquainted with the genuine principles of
    policy and christianity, to apply the proper remedy for preserving peace among
    discording sects. Instead of granting a general liberty of conscience, compulsory
    methods were adopted for enforcing uniformity.
    An act was passed for punishing all who refused to come to            1593
    church or were present at any conventicle or meeting. The
    punishment was imprisonment till the convicted agreed to conform, and made a
    declaration of his conformity. If that was not done in three months, he was to quit the
    realm, and go into perpetual banishment. In case, he did not depart within the time
    limited, or returned afterwards without a license, he was to suffer death. Such is the
    renitency of the human mind to all impositions on conscience, that the more the
    Puritans were oppressed, the more were they attached to their distinguishing opinions,
    and the more did their sect prevail. Several of them suffered death, in preference to
    purchasing an exemption from legal penalties, by doing what, in their opinion, was
    wrong. It was afterwards resolved to send others, who had equally persevered in their
    non-conformity, into banishment. Many chose to avoid these evils by voluntarily
    exiling themselves from their native country.

    A congregation of these Puritans, under the pastoral care of Mr. 1606
    John Robinson, being extremely harassed for their religious
    opinions, resolved to elude their persecutors by removing to Holland.
    They continued there [7] ten years, and by hard labor, earned a      1620
    living. Though they were much esteemed and kindly received by
    the Hollanders, they were induced by very cogent reasons to think of a second
    removal. The morals of the Dutch were in their opinion too dissolute; and they were
    afraid that their offspring would conform to the bad examples daily before them. They
    had also an ardent desire of propagating religion in foreign lands, and of separating
    themselves from all the existing establishments in Europe, that they might have an
    opportunity without interruption of handing down to future ages the model of a pure
    church, free from the admixture of human additions. America, the colonising of
    which, then excited a considerable share of public attention, presented a proper theatre
    for this purpose. After serious and repeated addresses to Heaven for direction, they
    resolved to cross the Atlantic. An application on their behalf, was made to their native
    sovereign King James, for full liberty and freedom of conscience, but nothing more
    could be obtained than a promise, that he would connive at and not molest them. The
    hope that, when at the distance of 3000 miles, they would be out of the reach of
    ecclesiastical courts, induced them nevertheless to venture. They sailed 101 in number
    from Plymouth, in September and arrived at Cape Cod in the November following.



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    Before landing they formed themselves into a body politic, under 1620
    the crown of England, for the purpose of “framing just and equal
    laws, ordinances, acts, constitutions and offices,” to which forty one of their number
    subscribed their names, and promised all due submission and obedience. After
    landing they employed themselves in making discoveries till the 20th of December.
    They then fixed on a place for settlement, which they afterwards called New-
    Plymouth and purchased the soil from its native proprietors.
    These adventurers were now at the commencement of a long and 1620
    dreary winter, at an immense distance from their former
    habitations, on the strange coast of an uncultivated country, without a friend to
    welcome their arrival, or a house to shelter them. In settling down on bare creation
    they had every [8] obstacle to surmount that could prove their firmness, or try their
    patience. The climate was unfavourable; the season cold and pinching. The prospect
    of obtaining a supply of provisions, by cultivating the stubborn soil, required an
    immensity of previous labor, and was both distant and uncertain. From the disorders
    occasioned by their tedious voyage, with insufficient accommodations, together with
    those brought on them by the fatigues and exertions unavoidable in a new settlement,
    and the rigor of the season, they buried forty four persons, nearly one half of their
    original number, within six months after their landing. Animated with a high degree
    of religious fervor, they supported these various hardships with unabated resolution.
    The prospect of an exemption from the tyranny of ecclesiastical courts, and of an
    undisturbed liberty to worship their creator in the way that was agreeable to their
    consciences, was in their estimation a sufficient counterbalance to all that they
    underwent.

    This handful of people laid the foundation of New-England. From them and their
    subsequent associates have sprung the many thousands that have inhabited
    Massachusetts, New-Hampshire, Connecticut and Rhode-Island. The Puritans, to
    which sect these primitive emigrants belonged, were a plain, frugal, industrious
    people, who were strict observers of moral and social duties. They held, that the Bible
    was the sole rule both of faith and practice—that every man was bound to study it and
    to judge of its meaning for himself, and to follow that line of conduct and mode of
    worship, which he apprehended to be thereby required. They were also of opinion that
    no churches or church officers had any power over other churches or officers, so as to
    control them—that all church members had equal rights and privileges—that the
    imposition of articles of faith, modes of worship, habits or ceremonies, was
    subversive of natural rights and an usurpation of power, not delegated to any man or
    body of men. They viewed church hierarchy, and especially the lordly pomp of
    Bishops, as opposed to the pure[,] simple, and equal spirit, of christianity. Their
    sufferings for non-conformity disposed them to reflect on the nature [9] and extent of
    civil authority, and led to a conviction that tyranny, whether in church or state, was
    contrary to nature, reason and revelation. There was a similarity between their
    opinions of government, and those which they held on the subject of religion. Each
    strengthened the other. Both were favourable to liberty, and hostile to all undue
    exercise of authority.

    It is matter of regret, that these noble principles of liberty ceased to operate on these
    emigrants soon after they got power into their hands.



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    In the eleventh year after their settlement in America they           1631
    resolved, “that no man should be admitted to the freedom of their
    body politic, but such as were members of some of their churches,” and afterwards,
    “that none but such should share in the administration of civil government, or have a
    voice in any election.” In a few years more, they had so far forgot their own
    sufferings, as to press for uniformity in religion, and to turn persecutors, in order to
    accomplish it. No better apology can be made for this inconsistent conduct, than that
    the true grounds of liberty of conscience were then neither understood, nor practiced
    by any sect of christians. Nor can any more satisfactory account of so open a
    dereliction of former principles be offered, than that human nature is the same in all
    bodies of men, and that those who are in, and those who are out of power, insensibly
    exchange opinions with each other on a change of their respective situations. These
    intemperate proceedings were overruled for good. As the intolerance of England
    peopled Massachusetts, so the intolerance of that Province made many emigrate from
    it, and gave rise to various distant settlements, which in the course of years were
    formed into other Provincial establishments. Connecticut, Rhode-Island, and New-
    Hampshire, were in a great measure shoots from the old venerable trunk
    Massachusetts, and their early growth was much accelerated by her impolitic zeal for
    uniformity. The country which was subdivided into these four Provinces had been
    called New-England ever since the year 1614. The propriety of classing them under
    one general name became more evident from their being settled by the same kind of
    people, who were [10] strongly connected with each other by blood, uniformity of
    manners, and a similarity of religious and political sentiments. The early population of
    this Northern country was rapid. The Puritans, harrassed for their non-conformity in
    England, passed over to it in great numbers. In the short space of twenty years from
    its first settlement 21,200 settlers arrived in 298 vessels. About the year 1640, from a
    change of affairs, the emigration from Old to New-England in a great measure ceased.

    Maryland was the third English colony settled in North America, but the first which
    from its beginning, was erected into a Province of the empire. The first and second
    colonies were many years governed by corporations, and in a manner subversive of
    natural liberty, but the third was from its first settlement ruled by laws enacted in a
    provincial legislature. The first emigration to Maryland consisting of about two
    hundred gentlemen, chiefly of the Roman Catholic religion, sailed from England in
    November, 1632, and landed near the river Potowmack in the beginning of the
    subsequent year.
    Calvert their leader purchased the right of the Aborigines, and        1633
    with their consent took possession of a town, which he called St.
    Mary’s. He continued carefully to cultivate their friendship, and lived with them on
    terms of perfect amity. The lands which had been thus ceded were planted with
    facility, because they had already undergone the discipline of Indian tillage. Food was
    therefore easily procured. The Roman Catholics, unhappy in their native land, and
    desirous of a peaceful asylum, went over in great numbers to Maryland. Lord
    Baltimore, to whom the Province had been granted, laid the foundation of its future
    prosperity on the broad basis of security to property, and of freedom in religion. The
    wisdom of these measures converted a dreary wilderness into a prosperous colony,
    because men exert themselves in their several pursuits in proportion as they are
    assured of enjoying in safety those blessings which they wish for most. Never did a



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    people enjoy more happiness than the inhabitants of Maryland under Cecilius the
    founder of the Province. While Virginia persecuted the Puritans, her [11] severity
    compelled many to pass over into this new Province, the Assembly of which had
    enacted, “that no persons, professing to believe in Christ Jesus should be molested in
    respect of their religion, or in the free exercise thereof.” The prudence of the one
    colony, acquired what the folly of the other had thrown away. Mankind then beheld a
    new scene on the theatre of English America. They saw in Massachusetts the Puritans
    persecuting various sects, and the church of England in Virginia, actuated by the same
    spirit, harassing those who dissented from the established religion, while the Roman
    Catholics of Maryland tolerated and protected the professors of all denominations. In
    consequence of this liberal policy, and the other prudent measures adopted by the
    rulers of this Province, it rapidly increased in wealth and population.

    The distractions which convulsed England for 25 years preceding the restoration in
    1660, left no leisure for colonising; but no sooner was Charles the Second restored to
    the throne of his ancestors, than it was resumed with greater spirit than ever.

    Soon after that event the restored monarch granted a charter to      1662
    Connecticut, which had been previously settled by a voluntary
    association of persons, who held the soil by an Indian title, without any authority from
    England. By this charter King Charles established a pure democracy. Every power,
    legislative, judicial and executive, was invested in the freemen of the corporation, or
    their delegates, and the colony was under no obligation to communicate its legislative
    acts to the national sovereign.

    In the year following, a royal charter, with a grant of similar     1663
    powers, was conferred on Rhode-Island and Providence
    plantations. These, like Connecticut, had been previously settled by emigrants chiefly
    from Massachusetts, who as an independent people had seated themselves on land
    fairly obtained from the native proprietors, without any authority from the parent
    state. This colony was originally planted on the Catholic principle, “That every man
    who submits peaceably to the civil authority, may [12] worship God according to the
    dictates of his own conscience, without molestation,” and under all the changes it has
    undergone, there has been no departure from that broad basis of universal toleration.

    In the same year a patent was granted to Lord Clarendon and       1663
    others, comprehending that extent of country, which now forms
    the States of North Carolina, South Carolina, and Georgia. Carolina though settled
    originally as one government, was about the year 1728 divided into two. Georgia was,
    in the year 1732, formed by George the Second into a distinct Province.

    In the year 1664, King Charles the Second gave to his brother James Duke of York, a
    patent which included New-York and New-Jersey. These Provinces had been
    previously settled by Dutch Colonists, and held as terrirories of the United
    Netherlands, but they were easily reduced to the obedience of the King of England,
    who claimed the country by the right of prior discovery.
    The Duke of York in the same year, gave a deed of New-Jersey 1664
    to Lord Berkely and Sir George Carteret.



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    Seventeen years afterwards King Charles gave to William Penn, 1681
    a patent for Pennsylvania. Mr. Penn some time posterior to this,
    obtained a farther grant of the land on the Western side of the River Delaware, and
    South of Pennsylvania, which was formed into a separate Government, and is now the
    State of Delaware. Notwithstanding these charters Mr. Penn did not think himself
    invested with the right of the soil, till he had purchased it from the native proprietors.
    In the charter of Pennsylvania; there was no express stipulation as had been inserted
    in all other Colonial patents “that the Pennsylvanians and their descendants should be
    considered as subjects born within the realm.” But clauses were inserted, providing
    that “acts of Parliament concerning trade and navigation, and the customs, should be
    duly observed.” And it was also stipulated, [“]that no custom or other contribution
    should be laid on the inhabitants or their estates, unless by the consent of the
    Proprietary, or Governor and Assembly, or by act of Parliament in England.” The
    omission of the first clause, the insertion [13] of the second, and the reservation in
    favor of Parliament, in the last, may have been occasioned by difficulties which had
    then arisen about the rights of the Colonists and the power of Parliament over them.
    Massachusetts had before that time questioned the authority of Parliament to tax them
    and legislate for them. The general clause that the Colonists should retain all the
    privileges of Englishmen had already been made, the basis of claims against which
    some in the Mother Country had many objections. Perhaps the ruling powers of
    England were sensible, that they had previously delegated too much of independence
    to their Colonies, and intended to be more guarded in future, but their caution was too
    late. Had it been seriously intended to control the natural order of events, by the
    feeble force of words and clauses in a charter, the experiment ought to have been tried
    from the first, and not reserved for that of Pennsylvania, which was one of the last
    granted to the Colonies. Near a century after, Dr. Franklin, when examined at the Bar
    of the British House of Commons explained the matter by saying “that the inhabitants
    from the first settlement of the Province relied, that the Parliament never would or
    could by virtue of that reservation tax them, till it had qualified itself constitutionally
    for the exercise of such right, by admitting Representatives from the people to be
    taxed.”

    In the rapid manner just related, was the English North American Continent parcelled
    out into distinct Governments. Little did the wisdom of the two preceding Centuries
    foresee of the consequences both good and evil, that were to result to the old world
    from discovering and colonising the new. When we consider the immense floods of
    gold and silver, which have flowed from it into Europe—the subsequent increase of
    industry and population, the prodigious extension of commerce, manufactures, and
    navigation, and the influence of the whole on manners and arts[—]we see such an
    accumulation of good, as leads us to rank Columbus among the greatest benefactors
    of the human race: but when we view the injustice done the natives, the extirpation of
    many of [14] their numerous nations, whose names are no more heard—the havoc
    made among the first settlers—the slavery of the Africans, to which America has
    furnished the temptation, and the many long and bloody wars which it has occasioned,
    we behold such a crowd of woes, as excites an apprehension, that the evil has
    outweighed the good.




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    In vain do we look among ancient nations, for examples of Colonies established on
    principles of policy, similar to those of the Colonies of Great-Britain. England did not,
    like the republics of Greece, oblige her sons to form distant communities in the wilds
    of the earth. Like Rome she did not give lands as a gratuity to soldiers, who became a
    military force for the defence of her frontiers: She did not, like Carthage, subdue the
    neighbouring States, in order to acquire an exclusive right to their commerce. No
    conquest was ever attempted over the Aborigines of America. Their right to the soil
    was disregarded, and their country looked upon as a waste, which was open to the
    occupancy and use of other nations. It was considered that settlements might be there
    formed for the advantage of those who should migrate thither, as well as of the
    Mother Country. The rights and interests of the native proprietors were, all this time,
    deemed of no account.

    What was the extent of obligations by which Colonies planted under these
    circumstances, were bound to the Mother Country, is a subject of nice discussion.
    Whether these arose from nature and the constitution, or from compact, is a question
    necessarily connected with many others. While the friends of Union contended that
    the King of England had a property in the soil of America, by virtue of a right derived
    from prior discovery; and that his subjects by migrating from one part of his
    dominions to another, did not lessen their obligations to obey the supreme power of
    the nation, it was inferred, that the emigrants to English America, continued to owe
    the same obedience to the King and Parliament, as if they had never quitted the land
    of their nativity. But if as others contended, the Indians were [15] the only lawful
    proprietors of the country in which their Creator had placed them, and they sold their
    right to emigrants who, as men, had a right to leave their native country, and as
    subjects, had obtained chartered permission to do so, it follows from these premises,
    that the obligations of the Colonists to their parent State, must have resulted more
    from compact, and the prospect of reciprocal advantage, than from natural obligation.
    The latter opinions seem to have been adopted by several of the Colonists particularly
    in New-England. Sundry persons of influence in that country always held, that birth
    was no necessary cause of subjection, for that the subject of any Prince or State, had a
    natural right to remove to any other State or quarter of the Globe, especially if
    deprived of liberty of conscience, and that, upon such removal, his subjection ceased.

    The validity of charters about which the emigrants to America were universally
    anxious, rests upon the same foundation. If the right of the sovereigns of England to
    the soil of America was ideal, and contrary to natural justice, and if no one can give
    what is not his own, their charters were on several accounts a nullity. In the eye of
    reason and philosophy, they could give no right to American territory. The only
    validity which such grants could have, was that the grantees had from their sovereign,
    a permission to depart from their native country, and negotiate with the proprietors for
    the purchase of the soil, and thereupon to acquire a power of jurisdiction subject to his
    crown. These were the opinions of many of the settlers in New-England. They looked
    upon their charters as a voluntary compact between their sovereign and themselves,
    by which they were bound neither to be subject to, nor seek protection from any other
    Prince, nor to make any laws repugnant to those of England: but did not consider
    them as inferring an obligation of obedience to a Parliament, in which they were
    unrepresented. The prospects of advantage which the emigrants to America expected



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    from the protection of their native sovereign, and the prospect of aggrandizement
    which their native sovereign expected from [16] the extension of his empire, made the
    former very solicitous for charters, and the latter very ready to grant them. Neither
    reasoned clearly on their nature nor well understood their extent. In less than eight
    years 1500 miles of the sea coast were granted away, and so little did they who gave,
    or they who accepted of charters, understand their own transactions, that in several
    cases the same ground was covered by contradictory grants, and with an absurdity that
    can only be palliated by the ignorance of the parties, some of the grants extended to
    the South Sea, over a country whose breadth is yet unknown, and which to this day is
    unexplored.

    Ideal as these charters were, they answered a temporary purpose. The colonists
    reposed confidence in them, and were excited to industry on their credit. They also
    deterred foreign European powers from disturbing them, because agreeably to the late
    law of nations, relative to the appropriation of newly discovered heathen countries,
    they inferred the protection of the sovereign who gave them. They also opposed a
    barrier to open and gross encroachments of the mother country on the rights of the
    colonists; a particular detail of these is not now necessary; some general remarks may,
    nevertheless, be made on the early periods of colonial history, as they cast light on the
    late revolution. Long before the declaration of independence, several of the colonies
    on different occasions, declared, that they ought not to be taxed but by their own
    provincial assemblies, and that they considered subjection to acts of a British
    parliament, in which they had no representation, as a grievance. It is also worthy of
    being noted, that of the 13 colonies, which have been lately formed into States, no one
    (Georgia excepted) was settled at the expence of government. Towards the settlement
    of that Southern frontier, considerable sums have at different times been granted by
    parliament, but the twelve more Northern provinces, have been wholly settled by
    private adventurers, without any advances from the national treasury. It does not
    appear, from existing records, that any compensation for their lands was ever made to
    the [17] Aborigines of America, by the crown or Parliament of England; but policy as
    well as justice led the colonists to purchase and pay for what they occupied. This was
    done in almost every settlement, and they prospered most, who by justice and
    kindness took the greatest pains to conciliate the good will of the natives.

    It is in vain to look for well balanced constitutions in the early periods of colonial
    history. Till the revolution in the year 1688, a period subsequent to the settlement of
    the colonies, England herself can scarcely be said to have had a fixed constitution. At
    that eventful era the line was first drawn between the privileges of subjects, and the
    prerogatives of sovereigns. The legal and constitutional history of the colonies, in
    their early periods, therefore, affords but little instruction. It is sufficient in general to
    observe, that in less than eighty years from the first permanent English settlement in
    North America; the two original patents granted to the Plymouth and London
    companies were divided, and subdivided, into twelve distinct and unconnected
    provinces, and in fifty years more a thirteenth, by the name of Georgia, was added to
    the Southern extreme of previous establishments.

    To each of these, after various changes, there was ultimately granted a form of
    government resembling, in its most essential parts, as far as local circumstances



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    would permit, that which was established in the parent state. A minute description of
    constitutions, which no longer exist, would be both tedious and unprofitable. In
    general, it may be observed, that agreeably to the spirit of the British constitution,
    ample provision was made for the liberties of the inhabitants. The prerogatives of
    royalty and dependence on the Mother Country, were but feebly impressed, on the
    colonial forms of government. In some of the provinces the inhabitants chose their
    governors, and all other public officers, and their legislatures were under little or no
    controul. In others the crown delegated most of its power to particular persons, who
    were also invested with the property of the soil. In those which were most
    immediately dependent on the King, he exercised no higher prerogatives over the
    colonists than over their fellow [18] subjects in England, and his power over the
    provincial legislative assemblies, was not greater than what he was constitutionally
    vested with, over the house of commons in the Mother Country. From the
    acquiescence of the parent state, the spirit of her constitution and daily experience, the
    colonists grew up in a belief, that their local assemblies stood in the same relation to
    them, as the parliament of Great Britain, to the inhabitants of that island. The benefits
    of legislation were conferred on both, only through these constitutional channels.

    It is remarkable, that though the English possessions in America were far inferior in
    natural riches to those which fell to the lot of other Europeans, yet the security of
    property and of liberty, derived from the English constitution, gave them a
    consequence to which the colonies of other powers, though settled at an earlier day,
    have not yet attained. The wise and liberal policy of England towards her colonies,
    during the first century and [a] half after their settlement, had a considerable influence
    in exalting them to this pre-eminence. She gave them full liberty to govern
    themselves, by such laws as their local legislatures thought necessary, and left their
    trade open to every individual in her dominions. She also gave them the amplest
    permission to pursue their respective interests in such manner, as they thought proper,
    and reserved little for herself, but the benefit of their trade, and that of a political
    union under the same head. The colonies, founded by other powers, experienced no
    such indulgences. Portugal and Spain burdened theirs with many vexatious
    regulations, gave encouragement only to what was for their own interest, and
    punished whatever had a contrary tendency. France and Holland did not adopt such
    oppressive maxims, but were in fact not much less rigorous and coercive. They
    parted, as it were, with the propriety of their colonies to mercantile associations,
    which sold to the colonists the commodities of Europe, at an enormous advance, and
    took the produce of their lands, at a low price, and, at the same time, discouraged the
    growth of any more than they could dispose of, at excessive profits. These oppressive
    regulations were followed [19] with their natural consequences: The settlements thus
    restricted advanced but slowly in population and in wealth.

    The English colonies participated in that excellent form of government, with which
    their parent isle was blessed, and which had raised it to an admirable height of
    agriculture, commerce, and manufactures. After many struggles, it had been
    acknowledged to be essential to the constitution of Great-Britain, that the people
    could not be compelled to pay any taxes, nor be bound by any laws, but such as had
    been granted, or enacted, with the consent of themselves, or of their representatives. It
    was also one of their privileges, that they could not be affected either in their



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    property, their liberties or their persons, but by the unanimous consent of twelve of
    their peers.

    From the operation of these general principles of liberty, and the wise policy of Great
    Britain, her American settlements increased in number, wealth, and resources, with a
    rapidity which surpassed all previous calculations. Neither antient nor modern history
    can produce an example of colonies governed with equal wisdom, or flourishing with
    equal rapidity. In the short space of 150 years their numbers increased to three
    millions, and their commerce to such a degree, as to be more than a third of that of
    Great Britain. They also extended their settlements 1500 miles on the sea coast, and
    300 miles to the westward. Their rapid population, though partly accelerated by the
    influx of strangers, was principally owing to internal causes. In consequence of the
    equality of fortune and simplicity of manners, which prevailed among them, their
    inhabitants multiplied far beyond the proportion of old nations, corrupted and
    weakened by the vices of wealth, and above all, of vanity, than which, perhaps, there
    is no greater enemy to the increase of the human species.

    The good effects of a wise policy and equal government, were not only discernible in
    raising the colonies of England to a pre-eminence over those of other European
    powers, but in raising some among themselves to greater importance than others.
    Their relative population and wealth, were by no means correspondent to their
    respective [20] advantages of soil and climate. From the common disproportion
    between the natural and artificial wealth of different countries, it seems to be a
    general rule, that the more nature does for any body of men, the less they are disposed
    to do for themselves.

    The New-England Provinces, though possessed of comparatively a barren country,
    were improved much faster than others, which were blessed with a superior soil and
    milder climate. Their first settlers were animated with a high degree of that religious
    fervor which excites to great undertakings. They also settled their vacant lands on
    principles of the wisest policy. Instead of granting large tracts to individuals, they sold
    the soil in small farms, to those who personally cultivated the same. Instead of
    disseminating their inhabitants over an extensive country, they formed successive
    settlements, in townships of six miles square. They also made such arrangements, in
    these townships, as co-extended the blessings of education and of religious
    instruction, with their settlements. By these means industry and morality were
    propagated, and knowledge was generally diffused.

    In proportion to their respective numbers, it is probable that no other country in the
    world contained more sober orderly citizens, and fewer who were profligate and
    abandoned. Those high crimes which are usually punished with death, were so rare in
    New-England, that many years have elapsed, in large populous settlements, without a
    single execution. Their less fertile soil disposed them to a spirit of adventure, and their
    victorious industry rose superior to every obstacle. In carrying on the whale fishery,
    they not only penetrated the deepest frozen recesses of Hudson’s Bay, and Davis’
    straits: But pierced into the opposite regions of polar cold. While some of them were
    striking the harpoon on the coast of Africa, others pursued their gigantic game, near
    the shores of Brazil. While they were yet in their infancy as a political society, they



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    carried on this perilous business to an extent exceeding all that the perseverance of
    Holland, the activity of France, or the vigor of English enterprize, had ever
    accomplished. A spirit of liberty prompted their [21] industry, and a free constitution
    guarded their civil rights. The country was settled with yeomanry, who were both
    proprietors, and cultivators, of the soil. Luxury was estranged from their borders.
    Enervating wealth and pinching poverty, were both equally rare. Early marriages, and
    a numerous offspring, were common—thence population was rapid, and the
    inhabitants generally possessed that happy state of mediocrity, which favors the
    improvement both of mind and body.

    New-York adjoined New-England, but did not encrease with equal rapidity. A few by
    monopolizing large tracts of land, reduced many to the necessity of being tenants, or
    of removing to other Provinces, where land could be obtained on more favourable
    terms. The encrease of population, in this Province, was nevertheless great, when
    compared with that of old countries. This appears from the following statement of
    their numbers at different periods. In 1756, the Province of New-York contained
    83,233 whites, and in 1771, 148,124, an increase of nearly two for one, in the space of
    fifteen years.

    Pennsylvania was at first settled under the auspices of the celebrated William Penn,
    who introduced a number of industrious inhabitants, chiefly of the sect of Quakers.
    The population of this country advanced, equally, with that, of the New-England
    Provinces. Among the inducements operating on foreigners to settle in Pennsylvania,
    was a most excellent form of provincial government, which secured the religious as
    well as the civil rights of its inhabitants. While the Mother Country laboured under an
    oppressive ecclesiastical establishment, and while partialities of the same kind, were
    sanctioned by law, in some of the American Provinces, perfect liberty of conscience,
    and an exact equality of all sects was, in every period, a part of the Constitution of
    Pennsylvania.

    Quaker simplicity, industry, and frugality, contributed, in like manner, to the
    flourishing of that Province. The habits of that plain people correspond, admirably,
    with a new country, and with republican constitutions. Opposed to idleness and
    extravagance, they combined the whole [22] force of religion, with customs and laws,
    to exile these vices, from their society. The first Quaker settlers were soon followed
    by Germans, whose industry was not inferior to their own. The emigrants from other
    countries who settled in Pennsylvania, followed these good examples, and industry
    and frugality became predominant virtues, over the whole Province.

    The policy of a Loan-Office was also eminently beneficial. The Proprietaries of
    Pennsylvania, sold their lands in small tracts, and on long credit. The purchasers were
    indulged with the liberty of borrowing, on interest, paper bills of credit, out of the
    Loan-Office, on the mortgage of their lands. Perhaps there never was an institution
    which contributed more to the happiness of the people, or to the flourishing of a new
    country, than this land Loan-Office scheme. The Province being enriched by the clear
    interest of its loaned paper, was thereby enabled to defray the expences of
    government, with moderate taxes. The industrious farmer was furnished with the
    means of cultivating and stocking his farm. These improvements, by increasing the



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    value of the land, not only established the credit of the paper, but enabled the
    borrower, in a few years, to pay off the original loan with the productions of the soil.
    The progressive improvements of Pennsylvania may be estimated from the increase of
    its trade. In the year 1704, that Province imported goods from the Mother Country,
    amounting in value only to £11,499 sterling, but in 1772, to the value of £507,909, an
    encrease of nearly fifty for one, in little more than half a century.

    In Maryland and Virginia, a policy less favourable to population, and somewhat
    different from that of Pennsylvania, took place. The Church of England was
    incorporated with the first settlement of Virginia, and in the lapse of time, it also
    became the established religion of Maryland. In both these Provinces, long before the
    American Revolution, that church possessed a legal preeminence, and was maintained
    at the expence, not only of its own members, but of all other denominations. These
    deterred great numbers, especially of the Presbyterian [23] denomination, who had
    emigrated from Ireland from settling within the limits of these governments, and
    fomented [a] spirit of discord between those who belonged to, and those who
    dissented from, the established church.

    In these and the other Southern Provinces, domestic slavery was common. Though it
    was not by law forbidden any where, yet there were comparatively few slaves any
    where, to the Northward of Maryland. The peaceable and benevolent religion of the
    Quakers, induced their united opposition to all traffic of the human race. Many
    individuals of other denominations, in like manner discountenanced it, but the
    principal ground of difference on this head between the Northern and Southern
    Provinces, arose, less, from religious principles, than from climate, and local
    circumstances. In the former, they found it to be for their interest to cultivate their
    lands with white men, in the latter with those of an opposite colour. The stagnant
    waters, and low lands, which are so frequent on the shores of Maryland and Virginia,
    and on the coasts, and near the rivers in the Southern Provinces, generate diseases,
    which are more fatal to whites than blacks. There is a physical difference in the
    constitution of these varieties of the human species. The latter secrete less by the
    kidnies, and more by the glands of the skin than the former. This greater degree of
    transpiration renders the blacks more tolerant of heat, than the whites. The perspirable
    matter, thrown off by the former, is more foetid than that of the latter. It is perhaps
    owing to these circumstances, that blacks enjoy better health, in warm and marshy
    countries, than whites.

    It is certain, that a great part of the low country in several of the provinces must have
    remained without cultivation, if it had not been cultivated by black men. From
    imagined necessity, founded on the natural state of the country, domestic slavery
    seemed to be forced on the Southern provinces. It favored cultivation, but produced
    many baneful consequences. It was particularly hostile to the proper education of
    youth. Industry, temperance, and abstinence, virtues essential to the health and vigor
    of both mind and body, were with difficulty [24] practised, where the labour of slaves
    procured an abundance, not only of the necessaries, but of the delicacies of life, and
    where daily opportunities and facilities were offered, for early, excessive, and
    enervating indulgences. Slavery also led to the engrossing of land, in the hands of a
    few. It impeded the introduction of labouring freemen, and of course diminished the



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    capacity of the country for active defence, and at the same time endangered internal
    tranquility, by multiplying a species of inhabitants, who had no interest in the soil. For
    if a slave can have a country in the world, it must be any other in preference to that, in
    which he is compelled to labour for a master. Such is the force of habit, and the
    pliancy of human nature, that though degrading freemen to the condition of slaves,
    would, to many, be more intolerable than death, yet Negroes who have been born and
    bred in habits of slavery, are so well satisfied with their condition, that several have
    been known to reject proffered freedom, and as far as circumstances authorize us to
    judge, emancipation does not appear to be the wish of the generality of them. The
    peasantry of few countries enjoy as much of the comforts of life, as the slaves, who
    belong to good masters. Interest concurs with the finer feelings of human nature, to
    induce slave-holders to treat with humanity and kindness, those who are subjected to
    their will and power. There is frequently more happiness in kitchens than parlours,
    and life is often more pleasantly enjoyed by the slave, than his master. The political
    evils of slavery do not so much arise from the distresses it occasions to slaves, as from
    its diminishing the incitements to industry, and from its unhappy influence on the
    general state of society. Where it is common, a few grow rich, and live in ease and
    luxury, but the community is deprived of many of its resources for independent
    happiness, and depressed to a low station on the scale of national greatness. The
    aggregate industry of a country, in which slaves and freemen are intermixed, will
    always be less than where there is a number of freemen equal to both. Nothing
    stimulates to industry so much as interest. The man who works for another, will
    contrive many artifices to make [25] that work as little as possible, but he who has an
    immediate profit from his labor, will disregard tasks, times and seasons. In
    settlements where the soil is cultivated by slaves, it soon becomes unfashionable for
    freemen to labor, than which no greater curse can befal a country. The individuals,
    who by the industry of their slaves are released from the necessity of personal
    exertions, will be strongly tempted to many practices injurious to themselves and
    others. Idleness is the parent of every vice, while labor of all kinds, favours and
    facilitates the practice of virtue. Unhappy is that country, where necessity compels the
    use of slaves, and unhappy are the people, where the original decree of heaven “that
    man should eat his bread in the sweat of his face” is by any means whatever generally
    eluded.

    The influence of these causes was so extensive, that though the Southern Provinces
    possessed the most fruitful soil and the mildest climate, yet they were far inferior to
    their neighbours in strength, population, industry, and aggregate wealth. This
    inferiority, increased or diminished, with the number of Slaves in each Province,
    contrasted with the number of freemen. The same observation held good between
    different parts of the same Province. The sea coast which, from necessity, could be
    cultivated only by black men, was deficient in many of the enjoyments of life, and lay
    at the mercy of every bold invader, while the Western Country, where cultivation was
    more generally carried on by freemen, though settled at a later period, sooner attained
    the means of self defence, and, relatively, a greater proportion of those comforts with
    which a cultivated country rewards its industrious inhabitants.

    In the Southern Provinces, the long credit given by British merchants, was a principal
    source of their flourishing. The immense capitals of the merchants trading to the



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    North American Continent, enabled them to extend credit to the term of several years.
    They received a profit on their goods, and an annual interest of five per cent on the
    sums for which they were sold. This enabled the American merchant to extend credit
    to the [26] planter, from whom he received a higher interest than he paid in Great-
    Britain. The planters being furnished, on credit, with slaves and every thing necessary
    for the cultivation of their lands, when careful and industrious, cleared so much more
    than the legal interest with which they were charged, that in a few years of successful
    planting, the difference enabled them to pay their debts and clear their capital. By the
    help of credit, a beneficial intercourse was established, which redounded to the benefit
    of both parties.

    These causes eminently contributed to the prosperity of the English Provinces. Others,
    besides co-operating, to the same end, produced a warm love for liberty, a high sense
    of the rights of human nature, and a predilection for independence.

    The first emigrants from England for colonising America, left the Mother Country at a
    time when the dread of arbitrary power was the predominant passion of the nation.
    Except the very modern charter of Georgia, in the year 1732, all the English Colonies
    obtained their charters and their greatest number of European settlers, between the
    years 1603 and 1688. In this period a remarkable struggle between prerogative and
    privilege commenced, and was carried on till it terminated in a revolution highly
    favourable to the liberties of the people. In the year 1621, when the English House of
    Commons claimed freedom of speech, “as their ancient and undoubted right, and an
    inheritance transmitted to them from their ancestors;” King James the First replied,
    “that he could not allow of their style, in mentioning their ancient and undoubted
    rights, but would rather have wished they had said, that their privileges were derived
    from the grace and permission of their sovereign.” This was the opening of a dispute
    which occupied the tongues, pens and swords, of the most active men in the nation,
    for a period of seventy years. It is remarkable that the same period is exactly co-
    incident with the settlement of the English Colonies. James, educated in the arbitrary
    sentiments of the divine right of Kings, conceived his subjects to be his property, and
    that their privileges were [27] matters of grace and favour flowing, from his
    generosity. This high claim of prerogative excited opposition in support of the rights
    of the people. In the progress of the dispute, Charles the First, son of King James, in
    attempting to levy ship-money, and other revenues without consent of Parliament,
    involved himself in a war with his subjects, in which, after various conflicts, he was
    brought to the block and suffered death as an enemy to the constitution of his country.
    Though the monarchy was restored under Charles the Second, and transmitted to
    James the Second, yet the same arbitrary maxims being pursued, the nation, tenacious
    of its rights, invited the Prince of Orange to the sovereignty of the island, and expelled
    the reigning family from the throne. While these spirited exertions were made, in
    support of the liberties of the parent isle, the English Colonies were settled, and
    chiefly with inhabitants of that class of people, which was most hostile to the claims
    of prerogative. Every transaction in that period of English history, supported the
    position that the people have a right to resist their sovereign, when he invades their
    liberties, and to transfer the crown from one to another, when the good of the
    community requires it.




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    The English Colonists were from their first settlement in America, devoted to liberty,
    on English ideas, and English principles. They not only conceived themselves to
    inherit the privileges of Englishmen, but though in a colonial situation, actually
    possessed them.

    After a long war between King and Parliament, and a Revolution—these were settled
    on the following fundamental principles.

    That it was the undoubted right of English subjects, being freemen or freeholders, to
    give their property, only by their own consent. That the House of Commons exercised
    the sole right of granting the money of the people of England, because that house
    alone, represented them. That taxes were the free gifts of the people to their rulers.
    That the authority of sovereigns was to be exercised only for the good of their
    subjects. That it was the right of the people to meet together, and peaceably to
    consider of their grievances—[28] to petition for a redress of them, and finally, when
    intolerable grievances were unredressed, to seek relief, on the failure of petitions and
    remonstrances, by forcible means.

    Opinions of this kind generally prevailing, produced, among the colonists, a more
    determined spirit of opposition to all encroachments on their rights, than would
    probably have taken place, had they emigrated from the Mother Country in the
    preceding century, when the doctrines of passive obedience, non resistance, and the
    divine right of kings, were generally received.

    That attachment to their sovereign, which was diminished in the first emigrants to
    America, by being removed to a great distance from his influence was still farther
    diminished, in their descendants. When the American revolution commenced, the
    inhabitants of the colonies were for the most part, the third and fourth, and sometimes
    the fifth or sixth generation, from the original emigrants. In the same degree as they
    were removed from that parent stock, they were weaned from the partial attachment,
    which bound their forefathers to the place of their nativity. The affection for the
    Mother Country, as far as it was a natural passion, wore away in successive
    generations, till at last it had scarcely any existence.

    That mercantile intercourse, which connects different countries, was in the early
    periods of the English Colonies, far short of that degree, which is necessary to
    perpetuate a friendly union. Had the first great colonial establishments been made in
    the Southern Provinces, where the suitableness of native commodities would have
    maintained a brisk and direct trade with England—the constant exchange of good
    offices between the two countries, would have been more likely to perpetuate their
    friendship. But as the Eastern Provinces were the first, which were thickly settled, and
    they did not for a long time cultivate an extensive trade with England, their
    descendants speedily lost the fond attachment, which their forefathers felt to their
    Parent State. The bulk of the people in New England knew little of the Mother
    Country, having only heard of her as a distant kingdom, the rulers [29] of which, had
    in the preceding century, persecuted and banished their ancestors to the woods of
    America.




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    The distance of America from Great Britain generated ideas, in the minds of the
    colonists, favourable to liberty. Three thousand miles of ocean separated them from
    the Mother Country. Seas rolled, and months passed, between orders, and their
    execution. In large governments the circulation of power is enfeebled at the
    extremities. This results from the nature of things, and is the eternal law of extensive
    or detached empire. Colonists, growing up to maturity, at such an immense distance
    from the seat of government, perceived the obligation of dependence much more
    feebly, than the inhabitants of the parent isle, who not only saw, but daily felt, the
    fangs of power. The wide extent and nature of the country contributed to the same
    effect. The natural seat of freedom is among high mountains, and pathless deserts,
    such as abound in the wilds of America.

    The religion of the colonists also nurtured a love for liberty. They were chiefly
    protestants, and all protestantism is founded on a strong claim to natural liberty, and
    the right of private judgement. A majority of them were of that class of men, who, in
    England, are called Dissenters. Their tenets, being the protestantism of the protestant
    religion, are hostile to all interference of authority, in matters of opinion, and
    predispose to a jealousy for civil liberty. They who belonged to the Church of
    England were for the most part independents, as far as church government and
    hierarchy, were concerned. They used the liturgy of that church, but were without
    Bishops, and were strangers to those systems, which make religion an engine of state.
    That policy, which unites the lowest curate with the greatest metropolitan, and
    connects both with the sovereign, was unknown among the colonists. Their religion
    was their own, and neither imposed by authority, nor made subservient to political
    purposes. Though there was a variety of sects, they all agreed in the communion of
    liberty, and all reprobated the courtly doctrines of passive obedience, and non-
    resistance. The same dispositions were fostered by the usual [30] modes of education
    in the colonies. The study of law was common and fashionable. The infinity of
    disputes, in a new and free country, made it lucrative, and multiplied its followers. No
    order of men has, in all ages, been more favourable to liberty, than lawyers. Where
    they are not won over to the service of government, they are formidable adversaries to
    it. Professionally taught the rights of human nature, they keenly and quickly perceive
    every attack made on them. While others judge of bad principles by the actual
    grievances they occasion, lawyers discover them at a distance, and trace future
    mischiefs from gilded innovations.

    The reading of those colonists who were inclined to books, generally favoured the
    cause of liberty. Large libraries were uncommon in the New World. Disquisitions on
    abstruse subjects, and curious researches into antiquity, did not accord with the genius
    of a people, settled in an uncultivated country, where every surrounding object
    impelled to action, and little leisure was left for speculation. Their books were
    generally small in size, and few in number: A great part of them consisted of those
    fashionable authors, who have defended the cause of liberty. Catos’ letters, the
    Independent Whig, and such productions, were common in one extreme of the
    colonies, while in the other, histories of the Puritans, kept alive the remembrance of
    the sufferings of their forefathers, and inspired a warm attachment, both to the civil
    and the religious rights of human nature.




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    In the Southern Colonies, slavery nurtured a spirit of liberty, among the free
    inhabitants. All masters of slaves who enjoy personal liberty will be both proud and
    jealous of their freedom. It is, in their opinion, not only an enjoyment, but a kind of
    rank and privilege. In them, the haughtiness of domination, combines with the spirit
    of liberty. Nothing could more effectually animate the opposition of a planter to the
    claims of Great-Britain, than a conviction that those claims in their extent, degraded
    him to a degree of dependence on his fellow subjects, equally humiliating with that
    which existed between his slaves and himself.

    [31] The state of society in the Colonies favoured a spirit of liberty and independence.
    Their inhabitants were all of one rank. Kings, Nobles and Bishops, were unknown
    among them. From their first settlement, the English Provinces received impressions
    favourable to democratic forms of government. Their dependent situation forbad any
    inordinate ambition among their native sons, and the humility of their society,
    abstracted as they were from the splendor and amusements of the Old World, held
    forth few allurements to invite the residence of such from the Mother Country as
    aspired to hereditary honors. In modern Europe, the remains of the feudal system have
    occasioned an order of men superior to that of the commonality, but, as few of that
    class migrated to the Colonies, they were settled with the yeomanry. Their
    inhabitants, unaccustomed to that distinction of ranks, which the policy of Europe has
    established, were strongly impressed with an opinion, that all men are by nature equal.
    They could not easily be persuaded that their grants of land, or their civil rights,
    flowed from the munificence of Princes. Many of them had never heard of Magna
    Charta, and those who knew the circumstances of the remarkable period of English
    history, when that was obtained, did not rest their claims to liberty and property on the
    transactions of that important day. They looked up to Heaven as the source of their
    rights, and claimed, not from the promises of Kings but, from the parent of the
    universe. The political creed of an American Colonist was short but substantial. He
    believed that God made all mankind originally equal: That he endowed them with the
    rights of life, property, and as much liberty as was consistent with the rights of others.
    That he had bestowed on his vast family of the human race, the earth for their support,
    and that all government was a political institution between men naturally equal, not
    for the aggrandizement of one, or a few, but for the general happiness of the whole
    community. Impressed with sentiments of this kind, they grew up, from their earliest
    infancy, with that confidence which is well calculated to inspire a love for liberty, and
    a prepossession in favour of independence.

    [32] In consequence of the vast extent of vacant country, every colonist was, or easily
    might be, a freeholder. Settled on lands of his own, he was both farmer and
    landlord—producing all the necessaries of life from his own grounds, he felt himself
    both free and independent. Each individual might hunt, fish, or fowl, without injury to
    his neighbours. These immunities which, in old countries, are guarded by the sanction
    of penal laws, and monopolized by a few, are the common privileges of all, in
    America. Colonists, growing up in the enjoyment of such rights, felt the restraint of
    law more feebly than they, who are educated in countries, where long habits have
    made submission familiar. The mind of man naturally relishes liberty—where from
    the extent of a new and unsettled country, some abridgements thereof are useless, and




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    others impracticable, the natural desire of freedom is strengthened, and the
    independent mind revolts at the idea of subjection.

    The Colonists were also preserved from the contagion of ministerial influence by their
    distance from the metropolis. Remote from the seat of power and corruption, they
    were not over-awed by the one, nor debauched by the other. Few were the means of
    detaching individuals from the interest of the public. High offices, were neither
    sufficiently numerous nor lucrative to purchase many adherents, and the most
    valuable of these were conferred on natives of Britain. Every man occupied that rank
    only, which his own industry, or that of his near ancestors, had procured him. Each
    individual being cut off from all means of rising to importance, but by his personal
    talents, was encouraged to make the most of those with which he was endowed.
    Prospects of this kind excited emulation, and produced an enterprising laborious set of
    men, not easily overcome by difficulties, and full of projects for bettering their
    condition.

    The enervating opulence of Europe had not yet reached the colonists. They were
    destitute of gold and silver, but abounded in the riches of nature. A sameness of
    circumstances and occupations created a great sense of equality, and disposed them to
    union in any common cause, [33] from the success of which, they might expect to
    partake of equal advantages.

    The colonies were communities of separate independent individuals, under no general
    influence, but that of their personal feelings and opinions. They were not led by
    powerful families, nor by great officers, in church or state. Residing chiefly on lands
    of their own, and employed in the wholesome labours of the field, they were in a great
    measure strangers to luxury. Their wants were few, and among the great bulk of the
    people, for the most part, supplied from their own grounds. Their enjoyments were
    neither far-fetched, nor dearly purchased, and were so moderate in their kind, as to
    leave both mind and body unimpaired. Inured from their early years to the toils of a
    country life, they dwelled in the midst of rural plenty. Unacquainted with ideal wants,
    they delighted in personal independence. Removed from the pressures of indigence,
    and the indulgence of affluence, their bodies were strong, and their minds vigorous.

    The great bulk of the British colonists were farmers, or planters, who were also
    proprietors of the soil. The merchants, mechanics and manufacturers, taken
    collectively, did not amount to one fifteenth of the whole number of inhabitants.
    While the cultivators of the soil depend on nothing but heaven and their own industry,
    other classes of men contract more or less of servility, from depending on the caprice
    of their customers. The excess of the farmers over the collective numbers of all the
    other inhabitants, gave a cast of independence to the manners of the people, and
    diffused the exalting sentiments, which have always predominated among those, who
    are cultivators of their own grounds. These were farther promoted by their moderate
    circumstances, which deprived them of all superfluity for idleness, or effeminate
    indulgence.

    The provincial constitutions of the English colonies nurtured a spirit of liberty. The
    King and government of Great-Britain held no patronage in America, which could



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    create a portion of attachment and influence, sufficient to counteract that spirit in
    popular assemblies, which, when left to itself, illy brooks any authority, that interferes
    with its own.

    [34] The inhabitants of the colonies from the beginning, especially in New-England,
    enjoyed a government, which was but little short of being independent. They had not
    only the image, but the substance of the English constitution. They chose most of their
    magistrates, and paid them all. They had in effect the sole direction of their internal
    government. The chief mark of their subordination consisted in their making no laws
    repugnant to the laws of their Mother Country—their submitting such laws as they
    made to be repealed by the King, and their obeying such restrictions, as were laid on
    their trade, by parliament. The latter were often evaded, and with impunity. The other
    small checks were scarcely felt, and for a long time were in no respects injurious to
    their interests.

    Under these favourable circumstances, colonies in the new world had advanced nearly
    to the magnitude of a nation, while the greatest part of Europe was almost wholly
    ignorant of their progress. Some arbitrary proceedings of governors, proprietary
    partialities, or democratical jealousies, now and then, interrupted the political calm,
    which generally prevailed among them, but these and other occasional impediments
    of their prosperity, for the most part, soon subsided. The circumstances of the country
    afforded but little scope for the intrigues of politicians, or the turbulence of
    demagogues. The colonists being but remotely affected by the bustlings of the old
    world, and having but few objects of ambition or contention among themselves, were
    absorbed in the ordinary cares of domestic life, and for a long time exempted from a
    great proportion of those evils, which the governed too often experience, from the
    passions and follies of statesmen. But all this time they were rising higher, and though
    not sensible of it, growing to a greater degree of political consequence.

    One of the first events, which as an evidence of their increasing 1745
    importance, drew on the colonies a share of public attention, was
    the taking of Louisbourg from France, while that country was at war with Great-
    Britain. This enterprize was projected by Governor Shirley, of Massachusetts, and
    undertaken by the sole authority of [35] the legislature of that Colony. It was carried
    by only a single vote to make the attempt, but after the adoption of the measure, there
    was an immediate union of all parties, and all were equally zealous in carrying it into
    execution. The expedition was committed to General Pepperell, and upwards of 5000
    men were speedily raised for the service, and put under his command. This force
    arrived at Canso, on the 4th of April: A British marine force from the West-Indies,
    commanded by Commodore Warren, which arrived in the same month, acted in
    concert with these land forces. Their combined operations were carried on with so
    much judgment, that on the 17th of June the fortress capitulated.

    The war in which Louisbourg was taken, was scarcely ended when another began, in
    which the colonies were distinguished parties. The reduction of that fortress, by
    colonial troops, must have given both to France and England, enlarged ideas of the
    value of American territory, and might have given rise to that eagerness for extending
    the boundaries of their respective colonies, which soon after, by a collision of claims



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    to the same ground, laid the foundation of a bloody war between the two nations. It is
    neither possible nor necessary to decide on the rights of either to the lands about
    which this contest began. It is certain that the prospects of convenience and future
    advantage, had much more influence on both, than the considerations of equity. As
    the contending powers considered the rights of the native inhabitants of no account, it
    is not wonderful that they should not agree in settling their own. The war was brought
    on in the following manner. About the year 1749, a grant of 600,000 acres of land in
    the neighbourhood of the Ohio, was made out in favour of certain persons in
    Westminster, London, and Virginia, who had associated under the title of the Ohio
    company. At this time France was in possession of the country, on both sides of the
    mouth of the Mississippi, as well as of Canada, and wished to form a communication
    between these two extremities of her territories in North-America. She was therefore
    alarmed at the scheme in agitation by the Ohio company [36] in as much as the land
    granted to them, lay between her Northern and Southern settlements.
    Remonstrances against British encroachments, as they were             1753
    called, having been made in vain by the Governor of Canada, the
    French, at length, seized some British subjects who were trading among the
    Twightwees, a nation of Indians near the Ohio, as intruders on the land of his most
    Christian Majesty, and sent them to a fort on the South side of Lake Erie. The
    Twightwees, by way of retaliation for capturing British traders, whom they deemed
    their allies, seized three French traders and sent them to Pennsylvania. The French
    persisting in their claims to the country on the Ohio, as part of Canada, strengthened
    themselves by erecting new forts in its vicinity, and at length began to seize and
    plunder every British trader, found on any part of that river. Repeated complaints of
    those violences being made to the Governor of Virginia, it was at length determined
    to send a suitable person to the French commandant near the Ohio, to demand the
    reason of his hostile proceedings, and to insist on his evacuating a fort he had lately
    built. Major Washington, being then but little more than 21 years of age, offered his
    service, which was thankfully accepted. The distance to the French settlement was
    more than 400 miles, and one half of the rout led through a wilderness, inhabited only
    by Indians. He nevertheless set out in an uncommonly severe season, attended only by
    one companion. From Winchester, he proceeded on foot, with his provisions on his
    back. When he arrived and delivered his message, the French commandant refused to
    comply, and claimed the country as belonging to the King his master, and declared
    that he should continue to seize and send as prisoners to Canada, every Englishman
    that should attempt to trade on the Ohio, or any of its branches. Before Major
    Washington returned, the Virginians had sent out workmen and materials, to erect a
    fort at the conflux of the Ohio, and the Monongahela. While they were engaged in this
    work, the French came upon them—drove them out of the country, and erected a
    regular fortification on the same spot. These spirited [37] proceedings overset the
    schemes of the Ohio company, but its members both in England and America, were
    too powerful to brook the disappointment. It was therefore resolved to instruct the
    colonies to oppose with arms, the encroachments of the French on the British
    territories, as these Western lands were called. In obedience to these instructions,
    Virginia raised three hundred men, put them under the command of Colonel
    Washington, and sent them on towards the Ohio.
    An engagement between them and a party of French, took place, May 28, 1754
    in which the latter were defeated. On this Mr. de Villier, the



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    French commandant marched down with 900 men, besides Indians, and attacked the
    Virginians. Colonel Washington made a brave defence, behind a small unfinished
    intrenchment; called Fort Necessity; but at length accepted of honorable terms of
    capitulation.

    From the eagerness discovered by both nations for these lands, it occurred to all, that
    a rupture between France and England, could not be far distant. It was also evident to
    the rulers of the latter, that the colonies would be the most convenient centre of
    operation, for repressing French encroachments. To draw forth their colonial
    resources, in an uniform system of operations, then, for the first time, became an
    object of public attention.
    To digest a plan for this purpose, a general meeting of the           1754
    Governors, and most influential members of the Provincial
    Assemblies, was held at Albany. The commissioners, at this Congress, were
    unanimously of opinion, that an union of the colonies was necessary, and they
    proposed a plan to the following effect, “that a grand Council should be formed of
    members, to be chosen by the Provincial Assemblies, which Council, together with a
    Governor, to be appointed by the Crown, should be authorised to make general laws,
    and also to raise money from all the colonies for their common defence.[”] The
    leading members of the Provincial Assemblies, were of opinion, that if this plan was
    adopted, they could defend themselves from the French, without any assistance from
    Great-Britain. This plan, when sent to England, was not acceptable to the Ministry,
    and in lieu thereof, they [38] proposed “that the Governors of all the colonies,
    attended by one or two members of their respective Councils,” which were for the
    most part of royal appointment, “should from time to time concert measures for the
    whole colonies—erect forts, and raise troops with a power to draw upon the British
    treasury in the first instance: but to be ultimately re-imbursed by a tax to be laid on
    the colonies by act of Parliament.” This was as much disrelished by the colonists, as
    the former plan had been by the British Ministry. The principle of some general
    power, operating on the whole of the colonies, was still kept in mind, though dropped
    for the present.

    The ministerial plan laid down above, was transmitted to Governor Shirley; and by
    him communicated to Dr. Franklin, and his opinion thereon requested. That sagacious
    patriot, sent to the Governor an answer in writing, with remarks upon the proposed
    plan, in which by his strong reasoning powers, on the first view of the new subject, he
    anticipated the substance of a controversy, which for twenty years employed the
    tongues, pens and swords, of both countries.

    The policy of repressing the encroachments of the French on the British colonies, was
    generally approved, both in England and America. It was therefore resolved to take
    effectual measures for driving them from the Ohio, and also for reducing Niagara,
    Crown-Point, and the other posts, which they held within the limit claimed by the
    King of Great-Britain.

    To effect the first purpose, General Braddock was sent from Ireland to Virginia, with
    two regiments, and was there joined by as many more, as amounted, in the whole, to
    2200 men. He was a brave man, but destitute of the other qualifications of a great



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    officer. His haughtiness disgusted the Americans, and his severity made him
    disagreeable to the regular troops. He particularly slighted the country militia, and the
    Virginia officers. Colonel Washington begged his permission to go before him, and
    scour the woods with his provincial troops, who were well acquainted with that
    service, but this was refused.
    The General with 1400 men pushed on incautiously, till he [39] 1755 June 9
    fell into an ambuscade of French and Indians, by whom he was
    defeated, and mortally wounded. The regulars, as the British Troops at that time were
    called, were thrown into confusion, but the Provincials more used to Indian fighting,
    were not so much disconcerted. They continued in an unbroken body under, Colonel
    Washington, and by covering the retreat of the regulars, prevented their entirely being
    cut off.

    Notwithstanding these hostilities, war had not yet been formally declared. Previous to
    the adoption of that measure, Great-Britain, contrary to the usages of nations, made
    prisoners of 8000 French sailors. This heavy blow for a long time, crippled the naval
    operations of France, but at the same time, inspired her with a desire, to retaliate,
    whenever a proper opportunity should present itself. For two or three years, after
    Braddock’s defeat, the war was carried on against France, without vigor or success,
    but when Mr. Pitt was placed at the head of the ministry, public affairs assumed a new
    aspect.
    Victory, every where, crowned the British arms, and, in a short 1759
    time, the French were dispossessed, not only of all the British
    territories, on which they had encroached, but also of Quebec, the capital of their
    ancient Province, Canada.

    In the course of this war, some of the colonies made exertions so far beyond their
    reasonable quota, as to merit a re-imbursement from the national treasury; but this
    was not universally the case. In consequence of internal disputes, together with their
    greater domestic security, the necessary supplies had not been raised in due time, by
    others, of the Provincial Assemblies. That a British Minister should depend on colony
    legislatures, for the execution of his plans, did not well accord with the vigorous and
    decisive genius of Mr. Pitt, but it was not prudent, by any innovation, to irritate the
    colonies, during a war, in which, from local circumstances, their exertions were
    peculiarly beneficial. The advantages that would result from an ability, to draw forth
    the resources of the colonies, by the same authority, which commanded the wealth of
    the Mother Country, might in these circumstances [40] have suggested the idea of
    taxing the colonies by authority of the British Parliament. Mr. Pitt is said to have told
    Mr. Franklin, “that when the war closed, if he should be in the ministry, he would take
    measures to prevent the colonies from having a power to refuse or delay the supplies
    that might be wanted for national purposes,” but did not mention what those measures
    should be. As often as money or men were wanted from the colonies, a requisition
    was made to their legislatures. These were generally and cheerfully complied with.
    Their exertions with a few exceptions were great, and manifested a serious desire to
    carry into effect the plans of Great-Britain, for reducing the power of France.

    In the prosecution of this war, the advantages which Great-Britain derived from the
    colonies, were severely felt by her enemies. Upwards of 400 privateers which were



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    fitted out of the ports of the British colonies, successfully cruised on French property.
    These not only ravaged the West-India islands, belonging to his most Christian
    Majesty, but made many captures on the coast of France. Besides distressing the
    French nation by privateering, the colonies furnished 23,800 men, to co-operate with
    the British regular forces, in North-America. They also sent powerful aids, both in
    men and provisions, out of their own limits, which facilitated the reduction of
    Martinique, and of the Havannah. The success of their privateers—the cooperation of
    their land forces—the convenience of their harbours, and their contiguity to the West-
    India islands, made the colonies great acquisitions to Britain, and formidable
    adversaries to France. From their growing importance, the latter had much to fear.
    Their continued union with Great-Britain, threatened the subversion of the commerce,
    and American possessions, of France.

    After hostilities had raged nearly eight years—a general peace     1763
    was concluded, on terms, by which France ceded Canada to
    Great-Britain. The Spaniards having also taken part in the war, were, at the
    termination of it, induced to relinquish to the same power, both East and West-
    Florida. This peace gave Great-Britain possession [41] of an extent of country equal
    in dimensions to several of the kingdoms of Europe. The possession of Canada in the
    North, and of the two Floridas in the South, made her almost sole mistress of the
    North-American Continent.

    This laid a foundation for future greatness, which excited the envy and the fears of
    Europe. Her navy, her commerce, and her manufactures had greatly increased, when
    she held but a part of the Continent; and when she was bounded by the formidable
    powers of France and Spain. Her probable future greatness, when without a rival, and
    with a growing vent for her manufactures, and increasing employment for her marine,
    threatened to destroy that balance of power, which European sovereigns have for a
    long time endeavored to preserve. Kings are republicans with respect to each other,
    and behold with democratic jealousy, any one of their order towering above the rest.
    The aggrandizement of one, tends to excite the combination, or at least the wishes of
    many, to reduce him to the common level. From motives of this kind, a great part of
    Europe not long since combined against Venice; and soon after against Louis the
    XIVth of France. With the same suspicious eye, was the naval superiority of Great-
    Britain, viewed by her neighbours. They were, in general, disposed to favour any
    convulsion which promised a diminution of her overgrown power.

    The addition to the British empire of new provinces, equal in extent to old kingdoms,
    not only excited the jealousy of European powers, but occasioned doubts in the minds
    of enlightened British politicians, whether or not, such immense acquisitions of
    territory would contribute to the felicity of the parent State. They saw, or thought they
    saw, the seeds of disunion, planted in the too widely extended empire. Power like all
    things human, has its limits, and there is a point beyond which the longest and
    sharpest sword fails of doing execution. To combine in one uniform system of
    Government, the extensive territory then subjected to the British sway appeared to
    men of reflection, a work of doubtful practicability: [42] Nor were they mistaken in
    their conjectures.




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    The seeds of discord were soon planted, and speedily grew up to the rending of the
    empire. The high notions of liberty and independence, which were nurtured in the
    colonies, by their local situation, and the state of society in the new world, were
    increased by the removal of hostile neighbours. The events of the war, had also given
    them some experience in military operations, and some confidence in their own
    ability. Foreseeing their future importance, from the rapid increase of their numbers,
    and extension of their commerce; and being extremely jealous of their rights, they
    readily admitted, and with pleasure indulged, ideas and sentiments which were
    favourable to independence. While combustible materials were daily collecting, in the
    new world, a spark to kindle the whole was produced in the old. Nor were there
    wanting those who, from a jealousy of Great-Britain, helped to fan the flame.




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    CHAPTER II

    The Origin Of The Disputes Between Great-Britain And Her
    Colonies, In The Year 1764, And Its Progress Till 1773.
    From the first settlement of English America, till the close of the war of 1755, the
    conduct of Great-Britain towards her colonies, affords an useful lesson to those who
    are disposed to colonisation. From that era, it is equally worthy of the attention of
    those who wish for the reduction of great empires to small ones. In the first period,
    Great-Britain regarded the provinces as instruments of commerce. Without charging
    herself with the care of their internal police, or seeking a revenue from them; she
    contented herself with a monopoly of their trade. She treated them as a judicious
    mother does her dutiful children.
    They shared in every privilege belonging to her native sons, and 1750
    but slightly felt the inconveniences of subordination. Small was
    the catalogue of grievances, with which even democratical jealousy charged the
    parent state, antecedent to the period before [43] mentioned. The following appear to
    have been the chief. An act of the British parliament for prohibiting the cutting down
    pitch and tar trees, not being within a fence or enclosure, and sundry acts which
    operated against colonial manufactures. By one of these, it was made illegal after the
    24th of June, 1750, to erect in the colonies, any mill or other engine for slitting or
    rolling of iron, or any plating forge, to work with a tilt-hammer, or any furnace for
    making steel. By another, hatters were restrained from taking more than two
    apprentices at a time, or any for less than seven years, and from employing negroes in
    the business. The colonists were also prohibited from transporting hats, and home
    manufactured woolens, from one province to another. These regulations were for the
    most part evaded, but if carried into execution, would have been slightly
    inconvenient, and only to a few. The articles, the manufacturing of which, were thus
    prohibited, could be purchased, at a cheaper rate, from England, and the hands who
    made them, could be as well employed in agriculture.

    Though these restrictions were a species of affront, by their        1763
    implying, that the colonists had not sense enough to discover
    their own interest, and though they seemed calculated to crush their native talents, and
    to keep them in a constant state of inferiority, without any hope of arriving at those
    advantages, to which, by the native riches of their country, they were prompted to
    aspire, yet if no other grievances had been superadded, to what existed in 1763, these
    would have been soon forgotten, for their pressure was neither great, nor universal.
    The good resulting to the colonies, from their connection with Great-Britain, infinitely
    outweighed the evil.

    Till the year 1764, the colonial regulations seemed to have no    1764
    other object, but the common good of the whole empire.
    Exceptions, to the contrary, were few, and had no appearance of system. When the
    approach of the colonies to manhood, made them more capable of resisting


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    impositions, Great-Britain changed the ancient system, under which her colonies had
    long flourished. When policy would rather have dictated a relaxation of authority, she
    rose in her demands, and multiplied her restraints.

    [44] From the conquest of Canada, in 1759, some have supposed, that France began
    secretly to lay schemes, for wresting those colonies from Great-Britain, which she
    was not able to conquer. Others alledge, that from that period, the colonists, released
    from all fears of dangerous neighbours, fixed their eyes on independence, and took
    sundry steps, preparatory to the adoption of the measure. Without recurring to either
    of these opinions, the known selfishness of human nature is sufficient to account for
    that demand on the one side, and that refusal on the other, which occasioned the
    revolution. It was natural for Great-Britain, to wish for an extension of her authority
    over the colonies, and equally so for them, on their approach to maturity, to be more
    impatient of subordination, and to resist every innovation, for increasing the degree of
    their dependence.

    The sad story of colonial oppression commenced in the year 1764. Great-Britain,
    then, adopted new regulations, respecting her colonies, which, after disturbing the
    ancient harmony of the two countries, for about twelve years, terminated in a
    dismemberment of the empire.

    These consisted in restricting their former commerce, but more 1764
    especially in subjecting them to taxation, by the British
    Parliament. By adhering to the spirit of her navigation act, in the course of a century,
    the trade of Great-Britain had encreased far beyond the expectation of her most
    sanguine sons, but by rigidly enforcing the strict letter of the same, in a different
    situation of public affairs, effects, directly the reverse, were produced.

    From the enterprising, commercial spirit of the colonists, the trade of America, after
    filling all its proper channels to the brim, swelled out on every side, overflowed its
    proper banks, with a rich redundance. In the cure of evils, which are closely
    connected with the causes of national prosperity, vulgar precaution ought not to be
    employed. In severely checking a contraband trade, which was only the overflowing
    of an extensive fair trade, the remedy was worse then the disease.

    For some time before and after the termination of the war of 1755, a considerable
    intercourse had been carried [45] on between the British and Spanish colonies,
    consisting of the manufactures of Great Britain, imported by the former, and sold to
    the latter, by which the British colonies acquired gold and silver, and were enabled to
    make remittances to the Mother Country. This trade, though it did not clash with the
    spirit of the British navigation laws, was forbidden by their letter. On account of the
    advantages, which all parties, and particularly Great-Britain, reaped from this
    intercourse, it had long been winked at, by persons in power, but at the period
    beforementioned, some new regulations were adopted, by which it was almost
    destroyed. This was effected by armed cutters, whose commanders were enjoined to
    take the usual custom-house oaths, and to act in the capacity of revenue officers. So
    sudden a stoppage of an accustomed and beneficial commerce, by an unusually rigid
    execution of old laws, was a serious blow to the Northern colonies. It was their



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    misfortune, that though they stood in need of vast quantities of British manufactures,
    their country produced very little, that afforded a direct remittance, to pay for them.
    They were, therefore, under a necessity of seeking elsewhere, a market for their
    produce, and by a circuitous route, acquiring the means of supporting their credit,
    with the Mother Country. This they found, by trading with the Spanish and French
    colonies, in their neighbourhood. From them they acquired gold, silver, and valuable
    commodities, the ultimate profits of which, centered in Great-Britain. This intercourse
    gave life to business of every denomination, and established a reciprocal circulation
    of money and merchandize, to the benefit of all parties concerned. Why a trade,
    essential to the colonies, and which, so far from being detrimental, was indirectly
    advantageous to Great-Britain, should be so narrowly watched, and so severely
    restrained, could not be accounted for by the Americans, without supposing, that the
    rulers of Great-Britain were jealous of their adventurous commercial spirit, and of
    their increasing number of seamen. Their actual sufferings were great, but their
    apprehensions were greater.
    Instead of viewing the parent state, as formerly, in the light of an 1764
    affectionate [46] mother, they conceived her, as beginning to be
    influenced by the narrow views of an illiberal stepdame.

    After the 29th of September, 1764, the trade between the British, and the French, and
    Spanish colonies, was in some degree legalised, but under circumstances, that brought
    no relief to the colonists, for it was loaded with such enormous duties, as were
    equivalent to a prohibition. The preamble to the act, for this purpose, was alarming.
    “Whereas it is just and necessary, that a revenue be raised in America, for defraying
    the expences, of defending, protecting, and securing the same, We, the commons, &c.
    towards raising the same, give, and grant unto your Majesty, the sum of’’ (here
    followed a specification of duties upon foreign clayed sugar, indigo, and coffee, of
    foreign produce, upon all wines, except French, upon all wrought silk, and all
    calicoes, and upon every gallon of melasses, and syrups, being the produce of a
    colony, not under the dominion of his Majesty). It was also enacted, that the monies,
    arising from the importation of these articles, into the colonies, should be paid into the
    receipt of his Majesty’s exchequer, there to be entered separate, and reserved, to be
    disposed of by Parliament, toward defraying the necessary expences, of defending,
    protecting, and securing America. Till that act passed, no act avowedly for the
    purpose of revenue, and with the ordinary title and recital of such, was to be found in
    the parliamentary statute book. The wording of it made the colonists fear, that the
    Parliament would go on, in charging them with such taxes, as they pleased, and for
    the support of such military force, as they should think proper. The act was the more
    disgusting, because the monies, arising from it, were ordered to be paid in specie, and
    regulations were adopted, against colonial paper money. To obstruct the avenues of
    acquiring gold and silver, and at the same time to interdict the use of paper money,
    appeared to the colonists as a farther evidence, that their interests were either
    misunderstood, or disregarded. The imposition of duties, for the purpose of raising a
    revenue, in America, was considered as a dangerous innovation, but the methods
    adopted, for securing their collection, [47] were resented as arbitrary and
    unconstitutional. It was enacted by Parliament, that whenever offences should be
    committed against the acts, which imposed them, the prosecutor might bring his
    action for the penalty, in the courts of admiralty, by which means the defendant lost



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    the advantage of being tried by a jury, and was subjected to the necessity of having
    his case decided upon, by a single man, a creature of the crown, whose salary was to
    be paid out of forfeitures, adjudged by himself; and also according to a course of law,
    which exempted the prosecutor from the trouble of proving his accusation, and
    obliged the defendant, either to evince his innocence, or to suffer. By these
    regulations, the guards, which the constitution had placed round property, and the
    fences, which the ancestors of both countries had erected, against arbitrary power,
    were thrown down, as far as they concerned the colonists, charged with violating the
    laws, for raising a revenue in America.

    They who directed public affairs in Great-Britain feared, that if the collection of these
    duties was enforced, only in the customary way, payment would be often eluded. To
    obviate that disposition which the colonists discovered to screen one another, in
    disobeying offensive acts of parliament, regulations were adopted, bearing hard on
    their constitutional rights. Unwilling as the colonists were to be excluded by the
    imposition of enormous duties, from an accustomed and beneficial line of business; it
    is not wonderful that they were disposed to represent these innovations of the Mother
    Country, in the most unfavourable point of view. The heavy losses to which many
    individuals were subjected, and the general distress of the mercantile interest, in
    several of the oldest colonies, soured the minds of many. That the Mother Country
    should infringe her own constitution, to cramp the commerce of her colonies, was a
    fruitful subject of declamation: but these murmurings would have evaporated in
    words, had Great-Britain proceeded to no farther innovations. Instead of this, she
    adopted the novel idea of raising from the colonies, an efficient revenue, by direct
    internal taxes, laid by authority of her parliament.

    [48] Though all the colonists disrelished, and many, from the pressure of actual
    sufferings, complained of the British restrictions on their manufactures and
    commerce, yet a great majority was disposed to submit to both. Most of them
    acknowledged that the exercise of these powers was incident to the sovereignty of the
    Mother Country, especially when guarded by an implied contract, that they were to be
    only used for the common benefit of the empire. It was generally allowed, that as the
    planting of colonies was not designed to erect an independent government, but to
    extend an old one, the Parent State had a right to restrain their trade in every way,
    which conduced to the common emolument.

    They for the most part considered the Mother Country as authorised to name ports and
    nations, to which alone their merchandize should be carried, and with which alone
    they should trade: but the novel claim of taxing them without their consent, was
    universally reprobated, as contrary to their natural, chartered, and constitutional
    rights. In opposition to it, they not only alledged the general principles of liberty, but
    ancient usage. During the first 150 years of their existence, they had been left to tax
    themselves and in their own way. If there were any exceptions to this general rule,
    they were too inconsiderable to merit notice. In the war of 1755, the events of which
    were fresh in the recollection of every one, the parliament had in no instance
    attempted to raise either men or money in the colonies, by its own authority. As the
    claim of taxation on one side, and the refusal of it on the other, was the very hinge on
    which the revolution turned, it merits a particular discussion.



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    Colonies were formerly planted by warlike nations, to keep their enemies in awe, to
    give vent to a surplus of inhabitants, or to discharge a number of discontented and
    troublesome citizens. But in modern ages, the spirit of violence, being in some
    measure sheathed in commerce, colonies have been settled, by the nations of Europe,
    for the purposes of trade. These were to be attained by their raising, for the Mother
    Country, such [49] commodities as she did not produce, and supplying themselves
    from her with such things as they wanted. In subserviency to these views, Great-
    Britain planted colonies, and made laws, obliging them to carry to her, all their
    products which she wanted, and all their raw materials which she chose to work up.
    Besides this restriction, she forbad them to procure manufactures from any other part
    of the globe, or even the products of European countries, which could rival her,
    without being first brought to her ports. By a variety of laws, she regulated their trade,
    in such a manner, as was thought most conducive to their mutual advantage, and her
    own particular welfare. This principle of commercial monopoly, ran through no less
    than 29 acts of parliament from 1660, to 1764. In all these acts, the system of
    commerce was established, as that, from which alone, their contributions to the
    strength of the empire, were expected. During this whole period, a parliamentary
    revenue was no part of the object of colonisation. Accordingly, in all the laws which
    regarded them, the technical words of revenue laws, were avoided. Such have usually
    a title purporting their being “grants,” and the words “give and grant,” usually precede
    their enacting clauses. Although duties were imposed on America, by previous acts of
    parliament, no one title of “giving an aid to his majesty,” or any other of the usual
    titles to revenue acts, was to be found in any of them. They were intended as
    regulations of trade, and not as sources of national supplies. Till the year 1764, all
    stood on commercial regulation, and restraint.

    While Great-Britain attended to this first system of colonisation, her American
    settlements, though exposed in unknown climates, and unexplored wildernesses, grew
    and flourished, and in the same proportion; the trade and riches of the Mother Country
    encreased. Some estimate may be made of this increase, from the following statement.
    The whole export trade of England, including that to the colonies, in the year 1704,
    amounted to £6,509,000 sterling: but so immensely had the colonies increased, that
    the exports to them alone [50] in the year 1772, amounted to £6,022,132 sterling, and
    they were yearly increasing. In the short space of 68 years, the colonies added nearly
    as much to the export commerce of Great-Britain, as she had grown to by a
    progressive increase of improvement in 1700 years. And this increase of colonial
    trade, was not at the expence of the general trade of the kingdom, for that increased in
    the same time, from six millions, to sixteen millions.

    In this auspicious period, the Mother Country contented herself with exercising her
    supremacy in superintending the general concerns of the colonies, and in harmonising
    the commercial interest of the whole empire. To this the most of them bowed down
    with such a filial submission as demonstrated that they, though not subjected to
    parliamentary taxes, could be kept in due subordination, and in perfect subserviency
    to the grand views of colonisation.

    Immediately after the peace of Paris, 1763, a new scene was opened. The national
    debt of Great-Britain, then amounted to 148 millions, for which an interest of nearly 5



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    millions, was annually paid. While the British minister was digesting plans for
    diminishing this amazing load of debt, he conceived the idea of raising a substantial
    revenue in the British colonies, from taxes laid by the parliament of the parent state.
    On the one hand it was urged that the late war originated on account of the
    colonies—that it was reasonable, more especially as it had terminated in a manner so
    favourable to their interest, that they should contribute to the defraying of the
    expences it had occasioned. Thus far both parties were agreed, but Great-Britain
    contended, that her parliament as the supreme power, was constitutionally vested with
    an authority to lay them on every part of the empire. This doctrine, plausible in itself,
    and conformable to the letter of the British constitution, when the whole dominions
    were represented in one assembly, was reprobated in the colonies, as contrary to the
    spirit of the same government, when the empire became so far extended, as to have
    many distinct representative assemblies. The colonists believed that the chief
    excellence of the [51] British constitution consisted in the right of subjects to grant, or
    withhold taxes, and in their having a share in enacting the laws, by which they were to
    be bound.

    They conceived, that the superiority of the British constitution, to other forms of
    government was, not because their supreme council was called Parliament, but
    because, the people had a share in it, by appointing members, who constituted one of
    its constituent branches, and without whose concurrence, no law, binding on them,
    could be enacted. In the Mother Country, it was asserted to be essential to the unity of
    the empire, that the British Parliament should have a right of taxation, over every part
    of the royal dominions. In the colonies, it was believed, that taxation and
    representation were inseparable, and that they could neither be free, nor happy, if their
    property could be taken from them, without their consent. The common people in
    America reasoned on this subject, in a summary way: “If a British Parliament,” said
    they, “in which we are unrepresented, and over which we have no control, can take
    from us any part of our property, by direct taxation, they may take as much as they
    please, and we have no security for any thing, that remains, but a forbearance on their
    part, less likely to be exercised in our favour, as they lighten themselves of the
    burthens of government, in the same proportion, that they impose them on us.” They
    well knew, that communities of mankind, as well as individuals, have a strong
    propensity to impose on others, when they can do it with impunity, and, especially,
    when there is a prospect, that the imposition will be attended with advantage to
    themselves. The Americans, from that jealousy of their liberties, which their local
    situation nurtured, and which they inherited from their forefathers, viewed the
    exclusive right of laying taxes on themselves, free from extraneous influence, in the
    same light, as the British Parliament views its peculiar privilege of raising money,
    independent of the crown. The parent state appeared to the colonists to stand in the
    same relation to their local legislatures, as the monarch of Great-Britain, to the British
    [52] Parliament. His prerogative is limited by that palladium of the people’s liberty,
    the exclusive privilege of granting their own money. While this right rests in the
    hands of the people, their liberties are secured. In the same manner reasoned the
    colonists “in order to be stiled freemen, our local assemblies, elected by ourselves,
    must enjoy the exclusive privilege of imposing taxes upon us.” They contended, that
    men settled in foreign parts to better their condition, and not to submit their
    liberties—to continue the equals, not to become the slave of their less adventurous



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    fellow-citizens, and that by the novel doctrine of parliamentary power, they were
    degraded from being the subjects of a King, to the low condition of being subjects of
    subjects. They argued, that it was essentially involved in the idea of property, that the
    possessor had such a right therein, that it was a contradiction to suppose any other
    man, or body of men, possessed a right to take it from him, without his consent.
    Precedents, in the history of England, justified this mode of reasoning. The love of
    property strengthened it, and it had a peculiar force on the minds of colonists, 3000
    miles removed from the seat of government, and growing up to maturity, in a new
    world, where, from the extent of country, and the state of society, even the necessary
    restraints of civil government, were impatiently born. On the other hand, the people of
    Great-Britain revolted against the claims of the colonists. Educated in habits of
    submission to parliamentary taxation, they conceived it to be the height of contumacy
    for their colonists to refuse obedience to the power, which they had been taught to
    revere. Not adverting to the common interest, which existed between the people of
    Great-Britain, and their representatives, they believed, that the same right existed,
    although the same community of interests was wanting. The pride of an opulent,
    conquering nation, aided this mode of reasoning. “What,” said they, “shall we, who
    have so lately humbled France and Spain, be dictated to by our own colonists? Shall
    our subjects, educated by our care, and defended by our arms, presume to question the
    rights of Parliament, to which we are obliged to submit.” [53] Reflections of this kind,
    congenial to the natural vanity of the human heart, operated so extensively, that the
    people of Great-Britain spoke of their colonies and of their colonists, as of a kind of
    possession, annexed to their persons. The love of power, and of property, on the one
    side of the Atlantic, were opposed by the same powerful passions on the other.

    The disposition to tax the colonies, was also strengthened by exaggerated accounts of
    their wealth. It was said, “that the American planters lived in affluence, and with
    inconsiderable taxes, while the inhabitants of Great-Britain were born down, by such
    oppressive burdens, as to make a bare subsistence, a matter of extreme difficulty.”
    The officers who have served in America, during the late war, contributed to this
    delusion. Their observations were founded on what they had seen in cities, and at a
    time, when large sums were spent by government, in support of fleets and armies, and
    when American commodities were in great demand. To treat with attention those,
    who came to fight for them, and also to gratify their own pride, the colonists had
    made a parade of their riches, by frequently and sumptuously entertaining the
    gentlemen of the British army. These, judging from what they saw, without
    considering the general state of the country, concurred in representing the colonists, as
    very able to contribute, largely, towards defraying the common expences of the
    empire.

    The charters, which were supposed to contain the principles on which the colonies
    were founded, became the subject of serious investigation on both sides. One clause
    was found to run through the whole of them, except that which had been granted to
    Mr. Penn. This was a declaration, “that the emigrants to America should enjoy the
    same privileges, as if they had remained, or had been born within the realm;” but such
    was the subtilty of disputants, that both parties construed this general principle, so as
    to favour their respective opinions. The American patriots contended, that as English
    freeholders could not be taxed, but by representatives, in chusing whom they had a



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    vote, neither could the colonists: But [54] it was replied, that if the colonists had
    remained in England, they must have been bound to pay the taxes, imposed by
    parliament. It was therefore inferred, that, though taxed by that authority, they lost
    none of the rights of native Englishmen, residing at home. The partizans of the
    Mother Country could see nothing in charters, but security against taxes, by royal
    authority. The Americans, adhering to the spirit more than to the letter, viewed their
    charters, as a shield, against all taxes, not imposed by representatives of their own
    choice. This construction they contended to be expressly recognized by the charter of
    Maryland. In that, King Charles bound, both himself and his successors, not to assent
    to any bill, subjecting the inhabitants to internal taxation, by external legislation.

    The nature and extent of the connection between Great-Britain and America, was a
    great constitutional question, involving many interests, and the general principles of
    civil liberty. To decide this, recourse was in vain had to parchment authorities, made
    at a distant time, when neither the grantor, nor grantees, of American territory, had in
    contemplation, any thing like the present state of the two countries.

    Great and flourishing colonies, daily increasing in numbers, and already grown to the
    magnitude of a nation, planted at an immense distance, and governed by constitutions,
    resembling that of the country, from which they sprung, were novelties in the history
    of the world. To combine colonies, so circumstanced, in one uniform system of
    government, with the parent state, required a great knowledge of mankind, and an
    extensive comprehension of things. It was an arduous business, far beyond the grasp
    of ordinary statesmen, whose minds were narrowed by the formalities of law, or the
    trammels of office. An original genius, unfettered with precedents, and exalted with
    just ideas of the rights of human nature, and the obligations of universal benevolence,
    might have struck out a middle line, which would have secured as much liberty to the
    colonies, and as great a degree of supremacy to the parent state, as their common
    good required: But [55] the helm of Great-Britain was not in such hands. The spirit of
    the British constitution on the one hand, revolted at the idea, that the British
    parliament should exercise the same unlimited authority over the unrepresented
    colonies, which it exercised over the inhabitants of Great-Britain. The colonists on the
    other hand did not claim a total exemption from its authority. They in general allowed
    the Mother Country a certain undefined prerogative over them, and acquiesced in the
    right of Parliament, to make many acts, binding them in many subjects of internal
    policy, and regulating their trade. Where parliamentary supremacy ended, and at what
    point colonial independency began, was not ascertained. Happy would it have been,
    had the question never been agitated, but much more so, had it been compromised by
    an amicable compact, without the horrors of a civil war.

    The English colonies were originally established, not for the sake of revenue, but on
    the principles of a commercial monopoly. While England pursued trade and forgot
    revenue, her commerce increased at least fourfold. The colonies took off the
    manufactures of Great-Britain, and paid for them with provisions, or raw materials.
    They united their arms in war, their commerce and their councils in peace, without
    nicely investigating the terms on which the connection of the two countries depended.




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    A perfect calm in the political world is not long to be expected. The reciprocal
    happiness, both of Great-Britain and of the colonies, was too great to be of long
    duration. The calamities of the war of 1755, had scarcely ended, when the germ of
    another war was planted, which soon grew up and produced deadly fruit.

    At that time sundry resolutions passed the British parliament,       1764
    relative to the imposition of a stamp duty in America, which
    gave a general alarm. By them the right, the equity, the policy, and even the necessity
    of taxing the colonies was formally avowed. These resolutions being considered as
    the preface of a system of American revenue, were deemed an introduction of evils of
    much greater magnitude. They opened a prospect of oppression, [56] boundless in
    extent, and endless in duration. They were nevertheless not immediately followed by
    any legislative act. Time, and an invitation, were given to the Americans, to suggest
    any other mode of taxation, that might be equivalent in its produce to the stamp act:
    But they objected, not only to the mode, but the principle, and several of their
    assemblies, though in vain, petitioned against it. An American revenue was in
    England, a very popular measure. The cry in favour of it was so strong, as to
    confound and silence the voice of petitions to the contrary. The equity of compelling
    the Americans to contribute to the common expences of the empire, satisfied many,
    who, without enquiring into the policy or justice of taxing their unrepresented fellow
    subjects, readily assented to the measures adopted by the parliament, for this purpose.
    The prospect of easing their own burdens, at the expence of the colonists, dazzled the
    eyes of gentlemen of landed interest, so as to keep out of their view, the probable
    consequences of the innovation.

    The omnipotence of parliament was so familiar a phrase on both sides of the Atlantic,
    that few in America, and still fewer in Great-Britain, were impressed in the first
    instance, with any idea of the illegality of taxing the colonists.

    The illumination on that subject was gradual. The resolutions in favour of an
    American stamp act, which passed in March, 1764, met with no opposition. In the
    course of the year, which intervened between these resolutions, and the passing of a
    law grounded upon them, the subject was better understood and constitutional
    objections against the measure, were urged by several, both in Great-Britain and
    America. This astonished and chagrined the British ministry: But as the principle of
    taxing America, had been for some time determined upon, they were unwilling to give
    it up.
    Impelled by partiality for a long cherished idea, Mr. Grenville     March, 1765
    brought into the house of commons his long expected bill, for
    laying a stamp duty in America. By this after passing through the usual forms, it was
    enacted, that the instruments [57] of writing which are in daily use among a
    commercial people, should be null and void, unless they were executed on stamped
    paper or parchment, charged with a duty imposed by the British parliament.

    When the bill was brought in, Mr. Charles Townsend concluded a speech in its
    favour, with words to the following effect, “And now will these Americans, children
    planted by our care, nourished up by our indulgence, till they are grown to a degree of
    strength and opulence, and protected by our arms, will they grudge to contribute their



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    mite to relieve us from the heavy weight of that burden which we lie under.” To
    which Colonel Barré replied,

    They planted by your care? No, your oppressions planted them in America. They fled
    from tyranny to a then uncultivated and inhospitable country, where they exposed
    themselves to almost all the hardships to which human nature is liable; and among
    others to the cruelty of a savage foe the most subtle, and I will take upon me to say,
    the most formidable of any people upon the face of God’s earth; and yet, actuated by
    principles of true English liberty, they met all hardships with pleasure compared with
    those they suffered in their own country, from the hands of those that should have
    been their friends. They nourished up by your indulgence? They grew by your neglect
    of them. As soon as you began to care about them, that care was exercised in sending
    persons to rule them in one department and another, who were perhaps the deputies of
    deputies to some members of this house, sent to spy out their liberties, to misrepresent
    their actions and to prey upon them. Men, whose behaviour on many occasions, has
    caused the blood of those sons of liberty to recoil within them. Men promoted to the
    highest seats of justice, some who to my knowledge were glad by going to a foreign
    country, to escape being brought to the bar of a court of justice in their own. They
    protected by your arms? They have nobly taken up arms in your defence, have exerted
    a valour amidst their constant and laborious industry, for the defence of a country
    whose frontier was drenched in blood, while its interior parts yielded all its little
    savings to your emolument. And believe [58] me, remember I this day told you so,
    that same spirit of freedom which actuated that people at first will accompany them
    still: but prudence forbids me to explain myself farther. God knows, I do not at this
    time speak from any motives of party heat, what I deliver are the genuine sentiments
    of my heart. However superior to me in general knowledge and experience, the
    respectable body of this house may be, yet I claim to know more of America than
    most of you, having seen and been conversant in that country. The people I believe
    are as truly loyal as any subjects the King has, but a people jealous of their liberties,
    and who will vindicate them, if ever they should be violated: but the subject is too
    delicate—I will say no more.

    During the debate on the bill, the supporters of it insisted much on the colonies being
    virtually represented in the same manner as Leeds, Halifax, and some other towns
    were. A recurrence to this plea was a virtual acknowledgment, that there ought not to
    be taxation without representation. It was replied, that the connexion between the
    electors and non-electors of parliament in Great-Britain, was so interwoven, from
    both being equally liable to pay the same common tax, as to give some security of
    property to the latter: but with respect to taxes laid by the British parliament, and paid
    by the Americans, the situation of the parties was reversed. Instead of both parties
    bearing a proportionable share of the same common burden, what was laid on the one,
    was exactly so much taken off from the other.

    The bill met with no opposition in the house of Lords, and on the 22d of March, it
    received the royal assent.
    The night after it passed, Dr. Franklin wrote to Mr. Charles       1765
    Thomson. “The sun of liberty is set, you must light up the
    candles of industry and economy.” Mr. Thomson answered, “he was apprehensive



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    that other lights would be the consequence,” and foretold the opposition that shortly
    took place. On its being suggested from authority, that the stamp officers would not
    be sent from Great-Britain: but selected from among the Americans, the colony agents
    were desired to point out proper persons [59] for the purpose. They generally
    nominated their friends which affords a presumptive proof, that they supposed the act
    would have gone down. In this opinion they were far from being singular. That the
    colonists would be ultimately obliged to submit to the stamp act, was at first
    commonly believed, both in England and America. The framers of it, in particular,
    flattered themselves that the confusion which would arise upon the disuse of writings,
    and the insecurity of property, which would result from using any other than that
    required by law, would compel the colonies, however reluctant, to use the stamp
    paper, and consequently to pay the taxes imposed thereon. They therefore boasted that
    it was a law which would execute itself.
    By the terms of the stamp act, it was not to take effect till the      1765
    first day of November, a period of more than seven months after
    its passing. This give the colonists an opportunity for leisurely canvassing the new
    subject, and examining it fully on every side. In the first part of this interval, struck
    with astonishment, they lay in silent consternation, and could not determine what
    course to pursue. By degrees they recovered their recollection.
    Virginia led the way in opposition to the stamp act. Mr. Patrick May 28, 1765
    Henry brought into the house of burgesses of that colony, the
    following resolutions which were substantially adopted.

    Resolved, That the first adventurers, settlers of this his Majesty’s colony and
    dominion of Virginia, brought with them and transmitted to their posterity, and all
    other, his Majesty’s subjects, since inhabiting in this, his Majesty’s said colony, all
    the liberties, privileges and immunities, that have at any time been held, enjoyed and
    possessed by the people of Great-Britain.

    Resolved, That by two royal charters, granted by King James the first, the colonies
    aforesaid are declared, and entitled to all liberties, privileges, and immunities of
    denizens, and natural subjects, to all intents and purposes, as if they had been abiding,
    and born within the realm of England,

    Resolved, That his Majesty’s liege people, of this, his ancient       1765
    colony, have enjoyed the rights of being thus governed [60] by
    their own assembly, in the article of taxes, and internal police, and that the same have
    never been forfeited, or yielded up, but have been constantly recognized by the King
    and people of Britain.

    Resolved, therefore, That the general assembly of this colony, together with his
    Majesty, or his substitutes, have, in their representative capacity, the only exclusive
    right and power, to lay taxes and imposts, upon the inhabitants of this colony, and that
    every attempt to vest such power in any other person or persons, whatsoever, than the
    general assembly aforesaid, is illegal, unconstitutional, and unjust, and hath a
    manifest tendency to destroy British, as well as American Liberty.




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    Resolved, That his Majesty’s liege people, the inhabitants of this colony, are not
    bound to yield obedience to any law, or ordinance whatever, designed to impose any
    taxation whatever upon them, other, than the laws or ordinances of the general
    assembly aforesaid.

    Resolved, That any person, who shall, by speaking, or writing, assert, or maintain,
    that any person, or persons, other than the general assembly of this colony, have any
    right or power, to impose, or lay any taxation on the people here, shall be deemed an
    enemy to this, his Majesty’s colony.

    Upon reading these resolutions, the boldness and novelty of them affected one of the
    members to such a degree, that he cried out, “Treason! Treason!” They were,
    nevertheless, well received by the people, and immediately forwarded to the other
    provinces. They circulated extensively, and gave a spring to all the discontented. Till
    they appeared, most were of opinion, that the act would be quietly adopted. Murmurs,
    indeed, were common, but they seemed to be such, as would soon die away. The
    countenance of so respectable a colony, as Virginia, confirmed the wavering, and
    emboldened the timid. Opposition to the stamp act, from that period, assumed a
    bolder face. The fire of liberty blazed forth from the press; some well judged
    publications set the rights of the colonists, in a plain, but strong point of view.
    The tongues and the pens of the well informed [61] citizens            1765
    laboured in kindling the latent sparks of patriotism. The flame
    spread from breast to breast, till the conflagration, became general. In this business,
    New-England had a principal share. The inhabitants of that part of America, in
    particular, considered their obligations to the Mother Country for past favours, to be
    very inconsiderable. They were fully informed, that their forefathers were driven, by
    persecution, to the woods of America, and had there, without any expence to the
    parent state, effected a settlement on bare creation. Their resentment, for the invasion
    of their accustomed right of taxation, was not so much mitigated, by the recollection
    of late favours, as it was heightened by the tradition of grievous sufferings, to which
    their ancestors, by the rulers of England, had been subjected. The descendants of the
    exiled, persecuted, Puritans, of the last century, opposed the stamp act with the same
    spirit, with which their forefathers were actuated, when they set themselves against
    the arbitrary impositions of the House of Stuart.

    The heavy burdens, which the operation of the stamp-act would have imposed on the
    colonists, together with the precedent it would establish of future exactions, furnished
    the American patriots with arguments, calculated as well to move the passions, as to
    convince the judgments of their fellow colonists. In great warmth they exclaimed, “If
    the parliament has a right to levy the stamp duties, they may, by the same authority,
    lay on us imposts, excises, and other taxes, without end, till their rapacity is satisfied,
    or our abilities are exhausted. We cannot, at future elections, displace these men, who
    so lavishly grant away our property. Their seats and their power are independent of
    us, and it will rest with their generosity, where to stop, in transferring the expences of
    government, from their own, to our shoulders.”

    It was fortunate for the liberties of America, that News-papers were the subject of a
    heavy stamp duty. Printers, when uninfluenced by government, have generally



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    arranged themselves on the side of liberty, nor are they less remarkable for attention
    to the profits of their profession.
    A stamp duty, which openly invaded the first, [62] and                 1765
    threatened a great diminution of the last, provoked their united
    zealous opposition. They daily presented to the public, original dissertations, tending
    to prove, that if the stamp-act was suffered to operate, the liberties of America, were
    at end, and their property virtually transferred, to their Trans-Atlantic fellow-subjects.
    The writers among the Americans, seriously alarmed for the fate of their country,
    came forward, with essays, to prove, that agreeably to the British constitution,
    taxation and representation were inseparable, that the only constitutional mode of
    raising money from the colonists, was by acts of their own legislatures, that the
    Crown possessed no farther power, than that of requisition, and that the parliamentary
    right of taxation was confined to the Mother Country, and there originated, from the
    natural right of man, to do what he pleased with his own, transferred by consent from
    the electors of Great-Britain, to those whom they chose to represent them in
    Parliament. They also insisted much on the mis-application of public money by the
    British ministry. Great pains were taken, to inform the colonists, of the large sums,
    annually bestowed on pensioned favorites, and for the various purposes of bribery.
    Their passions were inflamed, by high coloured representations of the hardship of
    being obliged to pay the earnings of their industry, into a British treasury, well known
    to be a fund for corruption.

    The writers on the American side were opposed by arguments, drawn from the unity
    of the empire. The necessity of one supreme head, the unlimited power of Parliament,
    and the great numbers in the Mother Country, who, though legally disqualified, from
    voting at elections, were nevertheless bound to pay the taxes, imposed by the
    representatives of the nation. To these objections it was replied, that the very idea of
    subordination of parts, excluded the notion of simple undivided unity.
    That as England was the head, she could not be the head and the 1765
    members too—that in all extensive empires, where the dead
    uniformity of servitude did not prevent, the subordinate parts had many local
    privileges and immunities—that between these privileges and the supreme [63]
    common authority, the line was extremely nice; but nevertheless, the supremacy of
    the head had an ample field of exercise, without arrogating to itself the disposal of the
    property of the unrepresented subordinate parts. To the assertion, that the power of
    Parliament was unlimited, the colonists replied, that before it could constitutionally
    exercise that power, it must be constitutionally formed, and that, therefore, it must at
    least, in one of its branches, be constituted by the people, over whom it exercised
    unlimited power. That with respect to Great-Britain, it was so constituted—with
    respect to America, it was not. They therefore inferred, that its power ought not to be
    the same over both countries. They argued also, that the delegation of the people was
    the source of power, in regard to taxation, and as that delegation was wanting in
    America, they concluded the right of Parliament, to grant away their property, could
    not exist. That the defective representation in Great-Britain, should be urged as an
    argument for taxing the Americans, without any representation at all, proved the
    encroaching nature of power. Instead of convincing the colonists of the propriety of
    their submission, it demonstrated the wisdom of their resistance; for, said they, “one




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    invasion of natural right is made the justification of another, much more injurious and
    oppressive.”

    The advocates for parliamentary taxation laid great stress on the rights, supposed to
    accrue to Great-Britain, on the score of her having reared up and protected the English
    settlements, in America, at great expence. It was, on the other hand, contended by the
    colonists, that in all the wars which were common to both countries, they had taken
    their full share, but in all their own dangers, in all the difficulties belonging separately
    to their situation, which did not immediately concern Great-Britain, they were left to
    themselves, and had to struggle through a hard infancy; and in particular, to defend
    themselves without any aid from the Parent State, against the numerous savages in
    their vicinity. That when France had made war upon them, it was not on their own
    account, but as appendages to Great-Britain.
    That confining their trade [64] for the exclusive benefit of the         1765
    Parent State, was an ample compensation for her protection, and
    a sufficient equivalent for their exemption from parliamentary taxation. That the taxes
    imposed on the inhabitants of Great-Britain, were incorporated with their
    manufactures, and ultimately fell on the colonists, who were the consumers.

    The advocates for the stamp act, also contended that as the parliament was charged
    with the defence of the colonies, it ought to possess the means of defraying the
    expences incurred thereby. The same argument had been used by King Charles the
    1st, in support of ship money; and it was now answered in the same manner, as it was
    by the patriots of that day. “That the people who were defended or protected, were the
    first to judge of and to provide the means of defraying the expences incurred on that
    account.” In the mean time, the minds of the Americans underwent a total
    transformation. Instead of their late peaceable and steady attachment to the British
    nation, they were dayly advancing to the opposite extreme. A new mode of displaying
    resentment against the friends of the stamp act, began in Massachusetts, and was
    followed by the other colonies.
    A few gentlemen hung out, early in the morning, on the limb of a 1765 Aug. 14
    large tree, towards the enterance of Boston, two effigies, one
    designed for the stamp master, the other for a jack boot, with a head and horns
    peeping out at the top. Great numbers both from town and country came to see them.
    A spirit of enthusiasm was diffused among the spectators. In the evening the whole
    was cut down and carried in procession by the populace shouting “liberty and
    property forever, no stamps.” They next pulled down a new building, lately erected by
    Mr. Oliver, the stamp master. They then went to his house, before which they
    beheaded his effigy, and at the same time broke his windows. Eleven days after
    similar violences were repeated. The mob attacked the house of Mr. William Story,
    deputy register of the court of admiralty—broke his windows—forced into his
    dwelling house, and destroyed the books and files belonging to the said court, and
    ruined a great part of his furniture. They [65] next proceeded to the house of
    Benjamin Hallowell, comptroller of the customs, and repeated similar excesses, and
    drank and destroyed his liquors. They afterwards proceeded to the house of Mr.
    Hutchinson, and soon demolished it. They carried off his plate, furniture and apparel,
    and scattered or destroyed manuscripts and other curious and useful papers, which for
    thirty years he had been collecting. About half a dozen of the meanest of the mob



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    were soon after taken up and committed, but they either broke jail, or otherwise
    escaped all punishment. The town of Boston condemned the whole proceeding, and
    for some time, private gentlemen kept watch at night, to prevent further violences.

    Similar disturbances broke out in the adjacent colonies, nearly about the same time.
    On the 27th August, the people of New-Port in Rhode-Island,          1765
    exhibited three effigies intended for Messieurs Howard, Moffatt,
    and Johnson, in a cart with halters about their necks, and after hanging them on a
    gallows for some time, cut them down and burnt them, amidst the acclamations of
    thousands. On the day following, the people collected at the house of Mr. Martin
    Howard, a lawyer, who had written in defence of the right of Parliament to tax the
    Americans, and demolished every thing, that belonged to it. They proceeded to Dr.
    Moffatt’s, who, in conversation, had supported the same right, and made a similar
    devastation of his property.

    In Connecticut they exhibited effigies in sundry places, and afterwards committed
    them to the flames.

    In New-York, the stamp master having resigned, the stamp               Nov. 1, 1765
    papers were taken into Fort George, by Lieutenant Governor
    Colden. The people, disliking his political sentiments, broke open his stable, took out
    his coach, and carried it in triumph, through the principal streets, to the gallows. On
    one end of this they suspended the effigy of the Lieut. Governor, having in his right
    hand a stamped bill of lading, and in the other a figure of the devil. After some time,
    they carried the apparatus to the gate of the fort, and from thence to the bowling
    green, under the muzzles of the guns, and burned the [66] whole amid the
    acclamations of many thousands. They went thence to Major James’ house, stripped it
    of every article, and consumed the whole, because he was a friend to the stamp act.

    The next evening the mob re-assembled, and insisted upon the Lieutenant Governor
    delivering the stamped papers into their hands, and threatened, in case of a refusal, to
    take them by force. After some negotiation, it was agreed that they should be
    delivered to the corporation, and they were deposited in the city hall. Ten boxes of the
    same, which came by another conveyance, were burned.

    The stamp-act was not less odious to many of the inhabitants of the British West-India
    islands, than to those on the continent of North America. The people of St. Kitts
    obliged the stamp officer, and his deputy, to resign. Barbadoes, Canada, and Halifax,
    submitted to the act.

    When the ship, which brought the stamp papers to Philadelphia, first appeared round
    Gloucester point, all the vessels in the harbour hoisted their colours half mast high.
    The bells were rung muffled till evening, and every countenance added to the
    appearance of sincere mourning. A large number of people assembled, and
    endeavoured to procure the resignation of Mr. Hughes, the stamp distributor. He heId
    out long, but at length found it necessary to comply.




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    As opportunities offered, the assemblies generally passed resolutions, asserting their
    exclusive right, to lay taxes on their constituents. The people, in their town meetings,
    instructed their representatives to oppose the stamp act. As a specimen of these, the
    instructions given to Thomas Forster, their representative, by the freeholders and
    other inhabitants of the town of Plymouth, are subjoined. In these the yeomanry of the
    country spoke the determined language of freemen.
    After expressing the highest esteem for the British constitution, October, 1765
    and setting forth their grievances, they proceeded as follows:

    You, Sir, represent a people, who are not only descended from the first settlers of this
    country, but inhabit the very spot they first possessed. Here was first laid [67] the
    foundation of the British empire, in this part of America, which, from a very small
    beginning, has increased and spread, in a manner very surprising, and almost
    incredible, especially, when we consider, that all this has been effected, without the
    aid or assistance of any power on earth; that we have defended, protected and secured
    ourselves against the invasions and cruelty of savages, and the subtlety and
    inhumanity of our inveterate and natural enemies, the French; and all this without the
    appropriation of any tax by stamps, or stamp acts, laid upon our fellow subjects, in
    any part of the King’s dominions, for defraying the expence thereof. This place, Sir,
    was at first the asylum of liberty, and we hope, will ever be preserved sacred to it,
    though it was then no more than a barren wilderness, inhabited only by savage men
    and beasts. To this place our Fathers (whose memories be revered) possessed of the
    principles of liberty in their purity, disdaining slavery, fled to enjoy those privileges,
    which they had an undoubted right to, but were deprived of, by the hands of violence
    and oppression, in their native country. We, Sir, their posterity, the freeholders, and
    other inhabitants of this town, legally assembled for that purpose, possessed of the
    same sentiments, and retaining the same ardour for liberty, think it our indispensable
    duty, on this occasion, to express to you these our sentiments of the stamp-act, and its
    fatal consequences to this country, and to enjoin upon you, as you regard not only the
    welfare, but the very being of this people, that you (consistent with our allegiance to
    the King, and relation to the government of Great Britain) disregarding all proposals
    for that purpose, exert all your power and influence in opposition to the stamp act, at
    least till we hear the success of our petitions for relief. We likewise, to avoid
    disgracing the memories of our ancestors, as well as the reproaches of our own
    consciences, and the curses of posterity, recommend it to you, to obtain, if possible, in
    the honorable house of representatives of this province, a full and explicit assertion of
    our rights, and to have the same entered on their public records, that all generations
    yet to come, may be convinced, that we have [68] not only a just sense of our rights
    and liberties, but that we never, with submission to Divine Providence, will be slaves
    to any power on earth.

    The expediency of calling a continental Congress to be composed of deputies from
    each of the provinces, had early occurred to the people of Massachusetts.
    The assembly of that province passed a resolution in favour of        1765 June 6
    that measure, and fixed on New-York as the place, and the
    second Tuesday of October, as the time, for holding the same. Soon after, they sent
    circular letters to the speakers of the several assemblies, requesting their concurrence.
    This first advance towards continental union was seconded in South-Carolina, before



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     it had been agreed to by any colony to the southward of New England. The example
     of this province had a considerable influence in recommending the measure to others,
     who were divided in their opinions, on the propriety of it.

     The assemblies of Virginia, North-Carolina, and Georgia, were prevented, by their
     governors, from sending a deputation to this Congress. Twenty eight deputies from
     Massachusetts, Rhode-Island, Connecticut, New-York, New-Jersey, Pennsylvania,
     Delaware, Maryland, and South-Carolina met at New-York; and after mature
     deliberation agreed on a declaration of their rights, and on a statement of their
     grievances. They asserted in strong terms, their exemption from all taxes, not imposed
     by their own representatives. They also concurred in a petition to the King, and
     memorial to the House of Lords, and a petition to the House of Commons. The
     colonies that were prevented from sending their representatives to this Congress,
     forwarded petitions, similar to those which were adopted by the deputies which
     attended.

     While a variety of legal and illegal methods were adopted to oppose the stamp act, the
     first of November, on which it was to commence its operation, approached. This in
     Boston was ushered in by a funeral tolling of bells. Many shops and stores were shut.
     The effigies of the planners and friends of the stamp act, were carried [69] about the
     streets in public derision, and then torn in pieces, by the enraged populace. It was
     remarkable that though a large crowd was assembled, there was not the least violence,
     or disorder.

     At Portsmouth in New-Hampshire, the morning was ushered in, Nov. 1
     with tolling all the bells in town. In the course of the day, notice
     was given to the friends of liberty, to attend her funeral. A coffin, neatly ornamented
     inscribed with the word Liberty in large letters, was carried to the grave. The funeral
     procession began from the state house, attended with two unbraced drums. While the
     inhabitants who followed the coffin were in motion, minute guns were fired, and
     continued till the corpse arrived at the place of interment. Then an oration in favour of
     the deceased was pronounced. It was scarcely ended before the corpse was taken up, it
     having been perceived that some remains of life were left, at which the inscription
     was immediately altered to “Liberty revived.” The bells immediately exchanged their
     melancholy, for a more joyful sound, and satisfaction appeared in every countenance.
     The whole was conducted with decency, and without injury or insult, to any man’s
     person or property.

     In Maryland, the effigy of the stamp master, on one side of which was written,
     “Tyranny” on the other “Oppression,” and across the breast, “Damn my country I’ll
     get money,” was carried through the streets, from the place of confinement, to the
     whipping post, and from thence to the pillory. After suffering many indignities, it was
     first hanged and than burnt.

     The general aversion to the stamp act, was, by similar methods, in a variety of places,
     demonstrated. It is remarkable that the proceedings of the populace, on these
     occasions, were earned on with decorum, and regularity. They were not ebullitions of
     a thoughtless mob, but for the most part, planned by leading men of character and



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     influence, who were friends to peace and order. These, knowing well that the bulk of
     mankind, are more led by their senses, than by their reason, conducted the public [70]
     exhibitions on that principle, with a view of making the stamp act, and its friends,
     both ridiculous, and odious.

     Though the stamp act was to have operated from the first of            1765
     November; yet legal proceedings in the courts, were carried on
     as before. Vessels entered and departed without stamped papers. The printers boldly
     printed and circulated their news-papers, and found a sufficient number of readers,
     though they used common paper, in defiance of the act of parliament. In most
     departments, by common consent, business was carried on, as though no stamp act
     had existed. This was accompanied by spirited resolutions to risque all consequences,
     rather than submit to use the paper required by law. While these matters were in
     agitation, the colonists entered into associations against importing British
     manufactures, till the stamp act should be repealed. In this manner British liberty was
     made to operate against British tyranny. Agreeably to the free constitution of Great
     Britain, the subject was at liberty to buy, or not to buy, as he pleased. By suspending
     their future purchases on the repeal of the stamp act, the colonists made it the interest
     of merchants, and manufacturers, to solicit for that repeal. They had usually taken off
     so great a proportion of British manufactures, that the sudden stoppage of all their
     orders, amounting, annually, to several millions sterling, threw some thousands in the
     Mother Country out of employment, and induced them, from a regard to their own
     interest, to advocate the measures wished for by America. The petitions from the
     colonies were seconded by petitions from the merchants and manufacturers of Great-
     Britain. What the former prayed for as a matter of right, and connected with their
     liberties, the latter also solicited from motives of immediate advantage. In order to
     remedy the deficiency of British goods, the colonists betook themselves to a variety of
     necessary domestic manufactures. In a little time, large quantities of course and
     common clothes were brought to market, and these though dearer, and of a worse
     quality, were cheerfully preferred to similar articles, imported from Britain. That wool
     might not be wanting, they entered into resolutions [71] to abstain from eating lambs.
     Foreign elegancies were generally laid aside. The women were as exemplary as the
     men, in various instances of self denial. With great readiness, they refused every
     article of decoration for their persons, and of luxury for their tables. These
     restrictions, which the colonists had voluntarily imposed on themselves, were so well
     observed, that multitudes of artificers in England, were reduced to great distress, and
     some of their most flourishing manufactories, were, in a great measure, at a stand. An
     association was entered into by many of the sons of liberty, the name given to those
     who were opposed to the stamp act, by which they agreed “to march with the utmost
     expedition at their own proper costs and expence, with their whole force to the relief
     of those that should be in danger from the stamp act, or its promoters and abettors, or
     any thing relative to it, on account of any thing that may have been done, in
     opposition to its obtaining.” This was subscribed by so many in New-York and New-
     England, that nothing but a repeal could have prevented the immediate
     commencement of a civil war.

     From the decided opposition to the stamp act, which had been by the colonies
     adopted, it became necessary for Great Britain to enforce, or to repeal it. Both



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     methods of proceeding had supporters. The opposers of a repeal urged arguments,
     drawn from the dignity of the nation, the danger of giving way to the clamours of the
     Americans, and the consequences of weakening parliamentary authority over the
     colonies. On the other hand it was evident, from the determined opposition of the
     colonies, that it could not be enforced without a civil war, by which, in every event,
     the nation must be a loser. In the course of these discussions, Dr. Franklin was
     examined at the bar of the House of Commons, and gave extensive information on the
     state of American affairs, and the impolicy of the stamp act, which contributed much
     to remove prejudices, and to produce a disposition that was friendly to a repeal.

     Some speakers of great weight, in both houses of parliament, denied their right of
     taxing the colonies. The [72] most distinguished supporters of this opinion were Lord
     Camden, in the House of Peers, and Mr. Pitt, in the House of Commons. The former,
     in strong language, said, “My position is this, I repeat it, I will maintain it to my last
     hour. Taxation and representation are inseparable. This position is founded on the
     laws of nature. It is more, it is itself an eternal law of nature. For whatever is a man’s
     own, is absolutely his own. No man has a right to take it from him without his
     consent. Whoever attempts to do it, attempts an injury, whoever does it, commits a
     robbery.” Mr. Pitt, with an original boldness of expression, justified the colonists, in
     opposing the stamp-act. “You have no right,” said he, “to tax America. I rejoice, that
     America has resisted. Three millions of our fellow subjects so lost to every sense of
     virtue, as tamely to give up their liberties, would be fit instruments to make slaves of
     the rest.” He concluded with giving his advice, that the stamp-act be repealed
     absolutely, totally, and immediately, that the reason for the repeal be assigned, that it
     was founded on an erroneous principle. “At the same time,” said he, “let the sovereign
     authority of this country, over the colonies, be asserted in as strong terms as can be
     devised, and be made to extend to every point of legislation whatsoever; that we may
     bind their trade, confine their manufactures, and exercise every power, except that of
     taking their money out of their pockets, without their consent.” The approbation of
     this illustrious statesman, whose distinguished abilities had raised Great Britain to the
     highest pitch of renown, inspired the Americans with additional confidence, in the
     rectitude of their claims of exemption from parliamentary taxation, and emboldened
     them to farther opposition, when at a future day, as shall be hereafter related, the
     project of an American revenue was resumed. After much debating, and two protests
     in the House of Lords, and passing an act “for securing the dependence of America on
     Great Britain” the repeal of the stamp act was finally carried.
     This event gave great joy in London. Ships in the river Thames March 18
     displayed their colours, and houses were illuminated all [73] over
     the city. It was no sooner known in America, than the colonists rescinded their
     resolutions, and recommenced their mercantile intercourse with the Mother Country.
     They presented their homespun clothes to the poor, and imported more largely than
     ever. The churches resounded with thanksgivings, and their public and private
     rejoicings knew no bounds. By letters, addresses, and other means, almost all the
     colonies shewed unequivocal marks of acknowledgment, and gratitude. So sudden a
     calm recovered after so violent a storm, is without a parallel in history. By the
     judicious sacrifice of one law, the parliament of Great Britain procured an
     acquiescence, in all that remained.




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     There were enlightened patriots, fully impressed with an idea, that the immoderate joy
     of the colonists was disproportioned to the advantage they had gained.

     The stamp act, though repealed, was not repealed on American principles. The
     preamble assigned as the reason thereof, “That the collecting the several duties and
     revenues, as by the said act was directed, would be attended with many
     inconveniencies, and productive of consequences, dangerous to the commercial
     interests of these kingdoms.” Though this reason was a good one in England, it was
     by no means satisfactory in America. At the same time that the stamp act was
     repealed, the absolute, unlimited supremacy of parliament was, in words, asserted.
     The opposers of the repeal contended for this as essential, the friends of that measure
     acquiesced in it to strengthen their party, and make sure of their object. Many of both
     sides thought, that the dignity of Great Britain required something of the kind to
     counterbalance the loss of authority, that might result from her yielding to the
     clamours of the colonists. The act for this purpose was called the declaratory act, and
     was in principle more hostile to American rights, than the stamp act; for it annulled
     those resolutions and acts of the provincial assemblies, in which they had asserted
     their right to exemption from all taxes, not imposed by their own representatives; and
     also enacted, “That the parliament [74] had, and of right ought to have, power to bind
     the colonies, in all cases whatsoever. ”

     The bulk of the Americans, intoxicated with the advantage they had gained,
     overlooked this statute, which in one comprehensive sentence, not only deprived them
     of liberty and property, but of every right, incident to humanity. They considered it as
     a salvo for the honor of parliament, in repealing an act, which had so lately received
     their sanction, and flattered themselves it would remain a dead letter, and that
     although the right of taxation was in words retained, it would never be exercised.
     Unwilling to contend about paper claims of ideal supremacy, they returned to their
     habits of good humour, with the parent state.

     The repeal of the stamp act, in a relative connexion with all its circumstances and
     consequences, was the first direct step to American independency. The claims of the
     two countries were not only left undecided, but a foundation was laid for their
     extending at a future period, to the impossibility of a compromise. Though for the
     present Great-Britain receded from enforcing her claim of American revenue, a
     numerous party, adhering to that system, reserved themselves for more favourable
     circumstances to enforce it; and at the same time the colonists, more enlightened on
     the subject, and more fully convinced of the rectitude of their claims, were
     encouraged to oppose it, under whatsoever form it should appear, or under whatsoever
     disguise it should cover itself.

     Elevated with the advantage they had gained, from that day forward, instead of
     feeling themselves dependent on Great-Britain, they conceived that, in respect to
     commerce, she was dependent on them. It inspired them with such high ideas of the
     importance of their trade, that they considered the Mother Country to be brought
     under greater obligations to them, for purchasing her manufactures, than they were to
     her for protection and the administration of civil government. The freemen of British
     America, impressed with the exalting sentiments of patriotism and of liberty,



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     conceived it to be within their power, by future combinations, at any time to [75]
     convulse, if not to bankrupt the nation, from which they sprung.

     Opinions of this kind were strengthened by their local situation, favouring ideas, as
     extensive as the unexplored continent of which they were inhabitants. While the pride
     of Britons revolted at the thought of their colonies refusing subjection to that
     parliament which they obeyed, the Americans with equal haughtiness exclaimed,
     “shall the petty island of Great-Britain, scarce a speck on the map of the world,
     controul the free citizens of the great continent of America?”

     These high sounding pretensions would have been harmless, or at most, spent
     themselves in words, had not a ruinous policy, untaught by recent experience, called
     them into serious action. Though the stamp act was repealed, an American revenue
     was still a favourite object with many in Great-Britain. The equity and the advantage
     of taxing the colonists by parliamentary authority were very apparent to their
     understandings, but the mode of effecting it, without hazarding the public tranquility,
     was not so obvious. Mr. Charles Townsend, afterwards chancellor of the exchequer,
     pawned his credit to accomplish what many so earnestly desired.
     He accordingly brought into parliament a bill for granting duties 1767
     in the British colonies on glass, paper, painters colours, and tea,
     which was afterwards enacted into a law. If the small duties imposed on these articles,
     had preceded the stamp act, they might have passed unobserved: but the late
     discussions occasioned by that act, had produced among the colonists, not only an
     animated conviction of their exemption from parliamentary taxation, but a jealousy of
     the designs of Great-Britain. The sentiments of the Americans on this subject, bore a
     great resemblance to those of their British countrymen of the preceding century, in the
     case of ship money. The amount of that tax was very moderate, little exceeding
     twenty thousand pounds. It was distributed upon the people with equality, and
     expended for the honour and advantage of the kingdom, yet all these circumstances
     could not reconcile the people of England to the imposition. [76] It was entirely
     arbitrary. “By the same right,” said they, “any other tax may be imposed.” In like
     manner the Americans considered these small duties, in the nature of an entering
     wedge, designed to make way for others, which would be greater and heavier. In a
     relative connection with late acts of parliament, respecting domestic manufactures and
     foreign commerce, laws for imposing taxes on British commodities exported to the
     colonies, formed a complete circle of oppression, from which there was no possibility
     of escaping. The colonists had been, previously, restrained from manufacturing
     certain articles, for their own consumption. Other acts confined them to the exclusive
     use of British merchandize. The addition of duties, put them wholly in the power and
     discretion of Great-Britain “We are not” said they,

     permitted to import from any nation, other than our own parent state, and have been in
     some cases by her restrained from manufacturing for ourselves, and she claims a right
     to do so in every instance which is incompatible with her interest. To these
     restrictions we have hitherto submitted, but she now rises in her demands, and
     imposes duties on those commodities, the purchasing of which, elsewhere than at her
     market, her laws forbid, and the manufacturing of which for our own use, she may
     any moment she pleases restrain. If her right is valid to lay a small tax, it is equally so



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     to lay a large one, for from the nature of the case, she must be guided exclusively by
     her own opinions of our ability, and of the propriety of the duties she may impose.
     Nothing is left for us but to complain, and, pay.

     They contended that there was no real difference between the principle of these new
     duties and the stamp act, they were both designed to raise a revenue in America, and
     in the same manner. The payment of the duties, imposed by the stamp act, might have
     been eluded by the total disuse of stamped paper, and so might the payment of these
     duties, by the total disuse of those articles on which they were laid, but in neither
     case, without great difficulty. The colonists were therefore reduced to the hard
     alternative of being obliged totally to disuse articles of the greatest necessity in human
     [77] life, or to pay a tax without their consent. The fire of opposition, which had been
     smothered by the repeal of the stamp act, burned afresh against the same principle of
     taxation, exhibited in its new form. Mr. Dickenson, of Pennsylvania, on this occasion
     presented to the public a series of letters signed a Farmer, proving the extreme danger
     which threatened the liberties of America, from their acquiescence in a precedent
     which might establish the claim of parliamentary taxation. They were written with
     great animation, and were read with uncommon avidity. Their reasoning was so
     convincing, that many of the candid and disinterested citizens of Great-Britain,
     acknowledged that the American opposition to parliamentary taxation was justifiable.
     The enormous sums which the stamp act would have collected, had thoroughly
     alarmed the colonists for their property. It was now demonstrated by several writers,
     especially by the Pennsylvania Farmer, that a small tax, though more specious, was
     equally dangerous, as it established a precedent which eventually annihilated
     American property. The declaratory act which at first was the subject of but a few
     comments, was now dilated upon, as a foundation for every species of oppression;
     and the small duties, lately imposed, were considered as the beginning of a train of
     much greater evils.

     Had the colonists admitted the propriety of raising a parliamentary revenue among
     them, the erection of an American board of commissioners for managing it, which
     was about this time instituted at Boston, would have been a convenience, rather than
     an injury; but united as they were in sentiments, of the contrariety of that measure to
     their natural and constitutional rights, they illy brooked the innovation. As it was
     coeval with the new duties, they considered it as a certain evidence that the project of
     an extensive American revenue, notwithstanding the repeal of the stamp act, was still
     in contemplation. A dislike to British taxation naturally produced a dislike to a board
     which was to be instrumental in that business, and occasioned many insults to its
     commissioners.

     [78] The revenue act of 1767 produced resolves, petitions, addresses, and
     remonstrances, similar to those, with which the colonists opposed the stamp act. It
     also gave rise to a second association for suspending farther importations of British
     manufactures, till these offensive duties should be taken off. Uniformity, in these
     measures, was promoted by a circular letter from the assembly of Massachusetts to
     the speakers of the other assemblies.
     This stated the petitions, and representations, which they had      1768
     forwarded against the late duties, and strongly pointed out the



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     great difficulties, that must arise to themselves and their constituents, from the
     operation of acts of parliament, imposing duties on the unrepresented American
     colonies, and requesting a reciprocal free communication, on public affairs. Most of
     the provincial assemblies, as they had opportunities of deliberating on the subject,
     approved of the proceedings of the Massachusetts assembly, and harmonised with
     them in the measures, which they had adopted. In resolves, they stated their rights, in
     firm but decent language, and, in petitions, they prayed for a repeal of the late acts,
     which they considered as infringements on their liberties.

     It is not unreasonable to suppose, that the minister, who planned these duties, hoped,
     that they would be regarded as regulations of trade. He might also presume, that as
     they amounted only to an inconsiderable sum, they would not give any alarm. The
     circular letter of the Massachusetts assembly, which laid the foundation for united
     petitions against them, gave therefore great offence. Lord Hillsborough, who had
     lately been appointed Secretary of State, for the American department, wrote letters to
     the governors of the respective provinces, urging them to exert their influence, to
     prevent the assemblies from taking any notice of it, and he called on the
     Massachusetts assembly, to rescind their proceedings on that subject. This measure
     was both injudicious and irritating. To require a public body to rescind a resolution,
     for sending a letter, which was already sent, answered, and acted upon, was a bad
     specimen of the wisdom of the new minister. To call a vote, for sending a circular
     [79] letter to invite the assemblies of the neighbouring colonies to communicate
     together in the pursuit of legal measures to obtain a redress of grievances, “a
     flagitious attempt to disturb the public peace,” appeared to the colonists a very
     injudicious application of harsh epithets to their constitutional right of petitioning. To
     threaten a new house of Assembly with dissolution, in case of their not agreeing to
     rescind an act of a former assembly, which was not executory, but executed, clashed
     no less with the dictates of common sense, than the constitutional rights of British
     colonists. The proposition for rescinding was negatived, by a majority of 97 to 17.
     The assembly was immediately dissolved, as had been threatened. This procedure of
     the new secretary was considered, by the colonists, as an attempt to suppress all
     communication of sentiments between them, and to prevent their united supplications,
     from reaching the royal ear. It answered no one valuable purpose, but naturally tended
     to mischief.

     The bad humour, which from successive irritation already too much prevailed, was
     about this time wrought up to a high pitch of resentment and violence, on occasion of
     the seizure of Mr. Hancock’s sloop Liberty, for not having entered all the wines she
     had brought from Madeira.
     The popularity of her owner, the name of the sloop, and the          1768 June 10
     general aversion to the board of commissioners, and
     parliamentary taxation, concurred to inflame the minds of the people. They resented
     the removal of the sloop from the wharf, as implying an apprehension of a rescue.
     They used every means in their power to interrupt the officers, in the execution of
     their business; and numbers swore that they would be revenged. Mr. Harrison the
     collector, Mr. Hallowell the comptroller, and Mr. Irwine the inspector of imports and
     exports, were so roughly handled, as to bring their lives in danger. The windows of
     some of their houses were broken, and the boat of the collector was dragged through



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     the town, and burned on the common. Such was the temper and disposition of many
     of the inhabitants, that the commissioners of the customs thought [80] proper to retire
     on board the Romney man of war; and afterwards to Castle William. The
     commissioners, from the first moment of their institution, had been an eye sore to the
     people of Boston. This, though partly owing to their active zeal in detecting
     smugglers, principally arose from the association which existed in the minds of the
     inhabitants, between that board and an American revenue. The declaratory act of
     1766, the revenue act of 1767; together with the pomp and expence of this board, so
     disproportionate to the small income of the present duties, conspired to convince not
     only the few who were benefited by smuggling, but the great body of enlightened
     freemen, that farther and greater impositions of parliamentary taxes were intended. In
     proportion as this opinion gained ground, the inhabitants became more disrespectful
     to the executive officers of the revenue, and more disposed, in the frenzy of
     patriotism, to commit outrages on their persons and property. The constant bickering
     that existed between them and the inhabitants, together with the steady opposition
     given by the latter, to the discharge of the official duties of the former, induced the
     commissioners and friends of an American revenue, to solicit the protection of a
     regular force, to be stationed at Boston. In compliance with their wishes, his Majesty
     ordered two regiments and some armed vessels to repair thither, for supporting and
     assisting the officers of the customs in the execution of their duty. This restrained the
     active exertion of that turbulent spirit, which since the passing of the late revenue
     laws had revived, but it added to the pre-existing causes thereof.

     When it was reported in Boston, that one or more regiments were ordered there, a
     meeting of the inhabitants was called, and a committee appointed, to request the
     governor, to issue precepts, for convening a general assembly. He replied, “that he
     could not comply with their request, till he had received his Majesty’s commands for
     that purpose.” This answer being reported, some spirited resolutions were adopted.
     In particular it was voted, that the select men of Boston should    Sept. 13
     write [81] to the select men of other towns, to propose, that a
     convention be held, of deputies from each, to meet at Faneuil hall, in Boston, on the
     22d instant.
     It was afterwards voted, “That as there is apprehension in the      Sept. 22
     minds of many, of an approaching war with France, those
     inhabitants, who are not provided, be requested to furnish themselves forthwith with
     arms.”

     Ninety six towns, and eight districts, agreed to the proposal made by the inhabitants of
     Boston, and appointed deputies, to attend a convention, but the town of Hatfield
     refused its concurrence. When the deputies met, they conducted with moderation,
     disclaimed all legislative authority, advised the people to pay the greatest deference to
     government, and to wait patiently for a redress of their grievances, from his Majesty’s
     wisdom and moderation. After stating to the world the causes of their meeting, and an
     account of their proceedings, they dissolved themselves, after a short session, and
     went home.

     Within a day after the convention broke up, the expected regiments arrived, and were
     peaceably received. Hints had been thrown out by some idle people, that they should



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     not be permitted to come on shore. Preparations were made by the captains of the men
     of war in the harbour, to fire on the town, in case opposition had been made to their
     landing, but the crisis for an appeal to arms was not yet arrived. It was hoped by
     some, that the folly and rage of the Bostonians would have led them to this rash
     measure, and thereby have afforded an opportunity for giving them some naval and
     military correction, but both prudence and policy induced them to adopt a more
     temperate line of conduct.

     While the contention was kept alive, by the successive irritations, which have been
     mentioned, there was, particularly in Massachusetts, a species of warfare carried on
     between the royal governors, and the provincial assemblies. Each watched the other
     with all the jealousy, which strong distrust could inspire. The latter regarded the
     former as instruments of power, wishing to pay their court to the Mother Country, by
     curbing the spirit of [82] American freedom, and the former kept a strict eye on the
     latter, lest they might smooth the way to independence, at which they were charged
     with aiming. Lieut. Governor Hutchinson, of Massachusetts, virtually challenged the
     assembly to a dispute, on the ground of the controversy between the two countries.
     This was accepted by the latter, and the subject, discussed with all the subtilty of
     argument, which the ingenuity of either party could suggest.

     The war of words was not confined to the colonies. While the American assemblies
     passed resolutions, asserting their exclusive right to tax their constituents, the
     parliament by resolves, asserted their unlimited supremacy in and over the colonies.
     While the former, in their public acts, disclaimed all views of independence, they
     were successively represented in parliamentary resolves, royal speeches, and
     addresses from Lords and commons, as being in a state of disobedience to law and
     government, and as having proceeded to measures subversive of the constitution, and
     manifesting a disposition to throw off all subordination to Great Britain.

     In February 1769, both houses of parliament went one step            1769
     beyond all that had preceded. They then concurred in a joint
     address to his majesty, in which they expressed their satisfaction in the measures his
     majesty had pursued—gave the strongest assurances, that they would effectually
     support him in such farther measures as might be found necessary, to maintain the
     civil magistrates in a due execution of the laws, in Massachusett’s Bay, and beseeched
     him

     to direct the governor to take the most effectual methods of procuring the fullest
     information, touching all treasons or misprisions of treason, committed within the
     government, since the 30th day of December, 1767; and to transmit the same together
     with the names of the persons who were most active in the commission of such
     offences, to one of the secretaries of state, in order that his majesty might issue a
     special commission for enquiring of, hearing, and determining, the said offences,
     within the realm of Great-Britain, pursuant to the provision of the statute of the 35th
     [83] of King Henry the 8th.




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     The latter part of this address, which proposed the bringing of delinquents from
     Massachusetts, to be tried at a tribunal in Great-Britain, for crimes committed in
     America, underwent many severe animadversions.

     It was asserted to be totally inconsistent with the spirit of the constitution, for in
     England a man charged with a crime, had a right to be tried in the county in which his
     offence was supposed to have been committed. “Justice is regularly and impartially
     administered in our courts,” said the colonists “and yet by direction of parliament,
     offenders are to be taken by force, together with all such persons as may be pointed
     out as witnesses and carried to England, there to be tried in a distant land, by a jury of
     strangers, and subject to all the disadvantages which result from want of friends, want
     of witnesses and want of money.”

     The house of burgesses of Virginia met, soon after official accounts of the joint
     address of lords and commons on this subject reached America; and in a few days
     after their meeting, passed resolutions expressing

     their exclusive right to tax their constituents, and their right to petition their sovereign
     for redress of grievances, and the lawfulness of procuring the concurrence of the other
     colonies in praying for the royal interposition, in favour of the violated rights of
     America: and that all trials for treason, or for any crime whatsoever, committed in that
     colony, ought to be before his majesty’s courts, within the said colony; and that the
     seizing any person residing in the said colony, suspected of any crime whatsoever,
     committed therein, and sending such person to places beyond the sea to be tried, was
     highly derogatory of the rights of British subjects.

     The next day lord Botetourt the governour of Virginia, sent for the house of burgesses
     and addressed them as follows. “Mr. Speaker and gentlemen of the house of
     burgesses. I have heard of your resolves, and augur ill of their effects. You have made
     it my duty to dissolve you, and you are dissolved accordingly.”

     [84] The assembly of North-Carolina adopted resolutions, similar to those of Virginia,
     for which Tryon their governour dissolved them. The members of the house of
     burgesses in Virginia, and of the assembly of North-Carolina, after their dissolution,
     met as private gentlemen, chose their late speakers moderators, and adopted
     resolutions against importing British goods. The non-importation agreement, was in
     this manner forwarded by the very measures which were intended to curb the spirit of
     American freedom, from which it sprung. Meetings of the associators were regularly
     held in the various provinces. Committees were appointed to examine all vessels
     arriving from Britain. Censures were freely passed on such as refused to concur in
     these associations, and their names published in the news-papers as enemies to their
     country. The regular acts of the provincial assemblies were not so much respected and
     obeyed as the decrees of these committees, the associations were in general, as well
     observed as could be expected; but nevertheless there were some collusions. The fear
     of mobs, of public resentment and contempt, co-operating with patriotism,
     preponderated over private interest and convenience. One of the importing merchants
     of Boston, who hesitated in his compliance with the determination of the inhabitants,
     was waited upon by a committee of tradesmen, with an axeman and a carpenter at



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     their head, who informed him, “that 1000 men were waiting for his answer, and that if
     he refused to comply, they could not tell what might be the consequence. ” He
     complied, and the newspapers soon after published, that he did it voluntarily.

     In Boston, Lieut. Governor Hutchinson endeavoured to promote a counter association,
     but without effect. The friends of importation objected, that till parliament made
     provision for the punishment of the confederacies against importation, a counter
     association would answer no other purpose, than to expose the associators to popular
     rage.

     The Bostonians, about this time, went one step farther. They reshipped goods to Great
     Britain, instead of [85] storing them as formerly. This was resolved upon in a town
     meeting, on the information of an inhabitant, who communicated a letter he had lately
     received from a member of parliament, in which it was said, “that shipping back ten
     thousand pounds worth of goods would do more, than storing a hundred thousand.”
     This turned the scale, and procured a majority of votes for reshipping. Not only in
     this, but in many other instances, the violences of the colonists were fostered by
     individuals in Great Britain. A number of these were in principle with the Americans,
     in denying the right of parliament, to tax them, but others were more influenced by a
     spirit of opposition to the ministerial majority, than by a regard to the constitutional
     liberties of either country.

     The non-importation agreement had now lasted some time, and by degrees had
     become general. Several of the colonial assemblies had been dissolved, or prorogued,
     for asserting the rights of their constituents. The royal governours, and other friends to
     an American revenue, were chagrined. The colonists were irritated. Good men, both
     in England and America, deplored these untoward events, and beheld with concern an
     increasing ill humour between those, who were bound by interest and affection, to be
     friends to each other.

     In consequence of the American non-importation agreement, founded in opposition to
     the duties of 1767, the manufacturers of Great Britain experienced a renewal of the
     distresses, which followed the adoption of similar resolutions, in the year 1765, the
     repeal of these duties was therefore solicited by the same influence, which had
     procured the repeal of the stamp act. The rulers of Great Britain acted without
     decision. Instead of persevering in their own system of coercion or indeed in any one
     uniform system of colonial government, they struck out a middle line, embarrassed
     with the consequences, both of severity and of lenity, and which was without the
     complete benefits of either.
     Soon after the spirited address to his Majesty, last mentioned,      1769
     had passed both houses of parliament, assurances were given for
     [86] repealing all the duties, imposed in 1767, excepting that of three-pence per pound
     on tea.

     Anxious on the one hand to establish parliamentary supremacy, and on the other,
     afraid to stem the torrent of opposition, they conceded enough to weaken the former,
     and yet not enough to satisfy the latter. Had Great Britain generously repealed the
     whole, and for ever relinquished all claim to the right, or even the exercise of the right



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     of taxation, the union of the two countries, might have lasted for ages. Had she
     seriously determined to compel the submission of the colonies, nothing could have
     been more unfriendly to this design, than her repeated concessions to their reiterated
     associations. The declaratory act, and the reservation of the duty on tea, left the cause
     of contention between the two countries, in full force, but the former was only a claim
     on paper, and the latter might be evaded, by refusing to purchase any tea, on which
     the parliamentary tax was imposed. The colonists, therefore, conceiving that their
     commerce might be renewed, without establishing any precedent, injurious to their
     liberties, relaxed in their associations, in every particular, except tea, and immediately
     recommenced the importation of all other articles of merchandise. A political calm
     once more took place. The parent state might now have closed the dispute for ever,
     and honorably receded, without a formal relinquishment of her claims. Neither the
     reservation of the duty on tea, by the British parliament, nor the exceptions made by
     the colonists, of importing no tea, on which a duty was imposed, would, if they had
     been left to their own operation, have disturbed the returning harmony of the two
     countries. Without fresh irritation, their wounds might have healed, and not a scar
     been left behind.

     Unfortunately for the friends of union, so paltry a sum as 3 [pence for] so insignificant
     an article as tea, in consequence of a combination between the British ministry and
     East-India company, revived the dispute to the rending of the empire.

     [87] These two abortive attempts to raise a parliamentary revenue in America, caused
     a fermentation in the minds of the colonists, and gave birth to many enquiries
     respecting their natural rights. Reflections and reasonings on this subject produced a
     high sense of liberty, and a general conviction that there could be no security for their
     property, if they were to be taxed at the discretion of a British parliament, in which
     they were unrepresented, and over which they had no controul. A determination not
     only to oppose this new claim of taxation, but to keep a strict watch, least it might be
     established in some disguised form, took possession of their minds.

     It commonly happens in the discussion of doubtful claims between States, that the
     ground of the original dispute insensibly changes. When the mind is employed in
     investigating one subject, others associated with it, naturally present themselves. In
     the course of enquiries on the subject of parliamentary taxation, the restriction on the
     trade of the colonists—the necessity that was imposed on them to purchase British
     and other manufactures, loaded with their full proportion of all taxes paid by those
     who made or sold them, became more generally known. While American writers were
     vindicating their country from the charge of contributing nothing to the common
     expences of the empire, they were led to set off to their credit, the disadvantage of
     their being confined exclusively to purchase such manufactures in Britain. They
     instituted calculations by which they demonstrated that the monopoly of their trade,
     drew from them greater sums for the support of government, than were usually paid
     by an equal number of their fellow citizens of Great-Britain; and that taxation,
     superadded to such a monopoly, would leave them in a state of perfect
     uncompensated slavery. The investigation of these subjects brought matters into view
     which the friends of union ought to have kept out of sight. These circumstances,
     together with the extensive population of the Eastern States, and their adventurous



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     spirit of commerce, suggested to some bold spirits that not only British taxation, but
     British navigation laws were unfriendly to the interests of [88] America. Speculations
     of this magnitude suited well with the extensive views of some capital merchants, but
     never would have roused the bulk of the people, had not new matter brought the
     dispute between the two countries to a point, in which every individual was interested.

     On reviewing the conduct of the British ministry, respecting the colonies, much
     weakness as well as folly appears. For a succession of years there was a steady pursuit
     of American revenue, but great inconsistence in the projects for obtaining it. In one
     moment the parliament was for enforcing their laws, the next for repealing them.
     Doing and undoing, menacing and submitting, straining and relaxing, followed each
     other, in alternate succession. The object of administration, though twice relinquished
     as to any present efficiency, was invariably pursued, but without any unity of system.

     On the 9th of May, 1769, the King in his speech to parliament, highly applauded their
     hearty concurrence, in maintaining the execution of the laws, in every part of his
     dominions. Five days after this speech, lord Hillsborough, secretary of state for the
     colonies, wrote to lord Botetourt, governor of Virginia:

     I can take upon me to assure you, notwithstanding information to the contrary, from
     men, with factious and seditious views, that his Majesty’s present administration have
     at no time entertained a design to propose to parliament, to lay any farther taxes upon
     America, for the purpose of raising a revenue, and that it is at present their intention to
     propose the next session of parliament, to take off the duties upon glass, paper, and
     colours, upon consideration of such duties having been laid contrary to the true
     principles of commerce.

     The governor was also informed, that “his Majesty relied upon his prudence and
     fidelity, to make such an explanation of his Majesty’s measures, as would tend to
     remove prejudices, and to re-establish mutual confidence and affection between the
     Mother Country and the colonies.” In the exact spirit of his instructions, lord
     Botetourt addressed the Virginia assembly as follows:

     It may possibly be objected, that as his [89] Majesty’s present administration are not
     immortal, their successors may be inclined to attempt to undo what the present
     ministers shall have attempted to perform, and to that objection I can give but this
     answer, that it is my firm opinion, that the plan I have stated to you, will certainly take
     place, and that it will never be departed from; and so determined am I forever to abide
     by it, that I will be content to be declared infamous, if I do not to the last hour of my
     life, at all times, in all places, and upon all occasions, exert every power, with which I
     either am, or ever shall be, legally invested, in order to obtain and maintain for the
     continent of America, that satisfaction, which I have been authorised to promise this
     day, by the confidential servants of our gracious sovereign, who, to my certain
     knowledge, rates his honor so high, that he would rather part with his crown, than
     preserve it by deceit.

     These assurances were received with transports of joy by the Virginians. They viewed
     them as pledging his Majesty for security, that the late design for raising a revenue in



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     America was abandoned, and never more to be resumed. The Assembly of Virginia,
     in answer to lord Botetourt, expressed themselves thus:

     We are sure our most gracious sovereign, under whatever changes may happen in his
     confidential servants, will remain immutable in the ways of truth and justice, and that
     he is incapable of deceiving his faithful subjects; and we esteem your lordship’s
     information not only as warranted, but even sanctified by the royal word.

     How far these solemn engagements with the Americans were observed, subsequent
     events will demonstrate. In a perfect reliance on them, most of the colonists returned
     to their ancient habits of good humour, and flattered themselves that no future
     parliament would undertake to give, or grant away their property.

     From the royal and ministerial assurances given in favour of America, in the year
     1769, and the subsequent repeal in 1770, of five sixths of the duties which had been
     imposed in 1767; together with the consequent renewal of the mercantile intercourse
     between Great-Britain [90] and the colonies: Many hoped that the contention between
     the two countries was finally closed. In all the provinces, excepting Massachusetts,
     appearances seemed to favour that opinion. Many incidents operated there to the
     prejudice of that harmony, which had begun, elsewhere, to return. The stationing a
     military force among them, was a fruitful source of uneasiness. The royal army had
     been brought thither, with the avowed design of enforcing submission to the Mother
     Country. Speeches from the throne, and addresses from both houses of parliament,
     had taught them to look upon the inhabitants as a factious turbulent people, who
     aimed at throwing off all subordination to Great-Britain.
     They, on the other hand were accustomed to look upon the             1770
     soldiery as instruments of tyranny, sent on purpose to dragoon
     them out of their liberties.

     Reciprocal insults soured the tempers, and mutual injuries embittered the passions, of
     the opposite parties: besides, some fiery spirits who thought it an indignity to have
     troops quartered among them, were constantly exciting the towns-people to quarrel
     with the soldiers.

     On the second of March, a fray took place near Mr. Gray’s ropewalk, between a
     private soldier of the 29th regiment, and an inhabitant. The former was supported by
     his comrades, the latter by the rope makers, till several on both sides were involved in
     the consequences. On the 5th a more dreadful scene was presented. The soldiers,
     when under arms, were pressed upon, insulted and pelted by a mob armed with clubs,
     sticks, and snowballs covering stones. They were also dared to fire. In this situation,
     one of the soldiers who had received a blow, in resentment fired at the supposed
     aggressor. This was followed by a single discharge from six others. Three of the
     inhabitants were killed, and five were dangerously wounded. The town was
     immediately in commotion. Such was the temper, force, and number of the
     inhabitants, that nothing but an engagement to remove the troops out of the town;
     together with the advice of moderate men, prevented the townsmen from falling on
     the soldiers. The killed were buried in one vault, and in a most respectful, [91] manner
     to express the indignation of the inhabitants at the slaughter of their brethren, by



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     soldiers quartered among them, in violation of their civil liberties. Preston the captain
     who commanded the party, which fired on the inhabitants [was] committed to jail, and
     afterwards tried. The captain, and six of the men, were acquitted. Two were brought
     in guilty of man-slaughter. It appeared on the trial, that the soldiers were abused,
     insulted, threatened, and pelted, before they fired. It was also proved, that only seven
     guns were fired by the eight prisoners. These circumstances induced the jury to make
     a favourable verdict. The result of the trial reflected great honour on John Adams, and
     Josiah Quincy, the council for the prisoners, and also on the integrity of the jury, who
     ventured to give an upright verdict, in defiance of popular opinions.

     The events of this tragical night, sunk deep in the minds of the people, and were made
     subservient to important purposes. The anniversary of it was observed with great
     solemnity. Eloquent orators, were successively employed to deliver an annual oration,
     to preserve the rememberance of it fresh in their minds. On these occasions the
     blessings of liberty—the horrors of slavery—the dangers of a standing army—the
     rights of the colonies, and a variety of such topics were presented to the public view,
     under their most pleasing and alarming forms. These annual orations administered
     fuel to the fire of liberty, and kept it burning, with an incessant flame.

     The obstacles to returning harmony, which have already been mentioned, were
     increased, by making the governor and judges in Massachusetts, independent of the
     province. Formerly, they had been paid by yearly grants from the assembly, but about
     this time provision was made for paying their salaries by the crown. This was resented
     as a dangerous innovation, as an infraction of their charter, and as destroying that
     balance of power, which is essential to free governments. That the crown should pay
     the salary of the chief justice, was represented by the assembly, as a species of
     bribery, tending to bias his judicial determinations. They made it the foundation for
     [92] impeaching Mr. Justice Oliver, before the governor, but he excepted to their
     proceedings, as unconstitutional. The assembly, nevertheless, gained two points. They
     tendered the governor more odious to the inhabitants, and increased the public respect
     for themselves, as the counterpart of the British house of commons, and as guardians
     of the rights of the people.

     A personal animosity, between Lieut. Governor Hutchinson, and some distinguished
     patriots, in Massachusetts, contributed to perpetuate a flame of discontent in that
     province, after it had elsewhere visibly abated. This was worked up, in the year 1773,
     to a high pitch, by a singular combination of circumstances. Some letters had been
     written, in the course of the dispute, by governor Hutchinson, lieut. governor Oliver,
     and others, in Boston, to persons in power and office, in England, which contained a
     very unfavourable representation of the state of public affairs, and tended to shew the
     necessity of coercive measures, and of changing the chartered system of government,
     to secure the obedience of the province. These letters fell into the hands of Dr.
     Franklin, agent of the province, who transmitted them to Boston. The indignation and
     animosity, which was excited on the receipt of them, knew no bounds. The house of
     assembly agreed on a petition and remonstrance to his Majesty, in which they charged
     their governor and lieut. governor with being betrayers of their trusts, and of the
     people they governed, and of giving private, partial, and false information. They also




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     declared them enemies to the colonies, and prayed for justice against them, and for
     their speedy removal from their places.
     These charges were carried through by a majority of 82 to 12.      Jan. 29, 1774

     This petition and remonstrance being transmitted to England, the merits of it were
     discussed before his Majesty’s privy council. After a hearing before that board, in
     which Dr. Franklin represented the province of Massachusetts, the governor and lieut.
     governor were acquitted. Mr. Wedderburne, who defended the accused royal servants,
     in the course of his pleadings, inveighed against Dr. Franklin, in the severest
     language, as the fomenter of the disputes between the two countries. It [93] was no
     protection to this venerable sage, that being the agent of Massachusetts, he conceived
     it his duty to inform his constituents, of letters, written on public affairs, calculated to
     overturn their chartered constitution. The age, respectability, and high literary
     character of the subject of Mr. Wedderburne’s philippic, turned the attention of the
     public, on the transaction. The insult offered to one of their public agents, and
     especially to one, who was both the idol and ornament of his native country, sunk
     deep in the minds of the Americans. That a faithful servant, whom they loved, and
     almost adored, should be insulted, for discharging his official duty, rankled in their
     hearts. Dr. Franklin was also immediately dismissed from the office of deputy
     postmaster general, which he held under the crown. It was not only by his
     transmission of these letters, that he had given offence to the British ministry, but by
     his popular writings, in favor of America. Two pieces of his, in particular, had lately
     attracted a large share of public attention, and had an extensive influence on both
     sides of the Atlantic. The one purported to be an edict from the King of Prussia, for
     taxing the inhabitants of Great-Britain, as descendants of emigrants from his
     dominions. The other was entitled, “Rules for reducing a great empire to a small one.”
     In both of which he had exposed the claims of the Mother Country, and the
     proceedings of the British ministry, with the severity of poignant satire.

     For ten years, there had now been but little intermission to the disputes between
     Great-Britain and her colonies. Their respective claims had never been compromised
     on middle ground. The calm which followed the repeal of the stamp act, was in a few
     months disturbed, by the revenue act of the year 1767. The tranquility which followed
     the repeal of five sixths of that act in the year 1770, was nothing more than a truce.
     The reservation of the duty on tea, made as an avowed evidence of the claims of
     Great-Britain to tax her colonies, kept alive the jealousy of the colonists, while at the
     same time the stationing of a standing army in Massachusetts—the continuance of a
     board of commissioners in Boston—the constituting the governors and judges of that
     province [94] independent of the people, were constant sources of irritation. The
     altercations which, at this period, were common between the royal governors and the
     provincial assemblies, together with numerous vindications of the claims of America,
     made the subject familiar to the colonists. The ground of the controversy was
     canvassed in every company. The more the Americans read, reasoned, and conversed
     on the subject, the more were they convinced of their right to the exclusive disposal of
     their property. This was followed by a determination to resist all encroachments on
     that palladium of British liberty. They were as strongly convinced of their right to
     refuse and resist parliamentary taxation, as the ruling powers of Great-Britain, of their
     right to demand and enforce their submission to it.



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     The claims of the two countries, being thus irreconcilably opposed to each other, the
     partial calm which followed the concession of parliament in 1770, was liable to
     disturbance, from every incident. Under such circumstances, nothing less than the
     most guarded conduct on both sides could prevent a renewal of the controversy.
     Instead of following those prudential measures which would have kept the ground of
     the dispute out of sight, an impolitic scheme was concerted, between the British
     ministry and the East-India company, which placed the claims of Great-Britain and of
     her colonies in hostile array against each other.




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     CHAPTER III

     Tea Is Sent By The East India Company To America, And Is
     Refused, Or Destroyed, By The Colonists. Boston Port Act, &C.
     In the year 1773, commenced a new era of the American controversy. To understand
     this in its origin, it is necessary to recur to the period, when the solitary duty on tea,
     was excepted from the partial repeal of the revenue act of 1767. When the duties
     which had been laid on glass, paper and painters colours, were taken off, a [95]
     respectable minority in parliament contended, that the duty on tea should also be
     removed. To this it was replied, “That as the Americans denied the legality of taxing
     them, a total repeal would be a virtual acquiescence in their claims; and that in order
     to preserve the rights of the Mother Country, it was necessary to retain the preamble,
     and at least one of the taxed articles.” It was answered, that a partial repeal would be a
     source of endless discontent—that the tax on tea would not defray the expences of
     collecting it. The motion in favour of a total repeal, was thrown out by a great
     majority. As the parliament thought fit to retain the tax on tea for an evidence of their
     right of taxation, the Americans in like manner, to be consistent with themselves, in
     denying that right, discontinued the importation of that commodity. While there was
     no attempt to introduce tea into the colonies against this declared sense of the
     inhabitants, these opposing claims were in no danger of collision. In that case the
     Mother Country might have solaced herself, with her ideal rights, and the colonies,
     with their favorite opinion of a total exemption from parliamentary taxes, without
     disturbing the public peace. This mode of compromising the dispute, which seemed at
     first designed as a salvo for the honor and consistency of both parties, was, by the
     interference of the East-India Company, in combination with the British ministry,
     completely overset.

     The expected revenue from tea failed, in consequence of the American association to
     import none, on which a duty was charged. This, though partially violated in some of
     the colonies, was well observed in others, and particularly in Pennsylvania, where the
     duty was never paid on more than one chest of that commodity. This proceeded as
     much from the spirit of gain as of patriotism. The merchants found means of
     supplying their countrymen with tea, smuggled from countries to which the power of
     Britain did not extend. They doubtless conceived themselves to be supporting the
     rights of their country, by refusing to purchase tea from Britain, but they also reflected
     that if they could bring the same commodity to market, free of duty, their profits
     would be proportionably greater.

     [96] The love of gain was not peculiar to the American merchants. From the
     diminished exportation to the colonies, the ware-houses of the British East-India
     company had in them about seventeen millions of pounds of tea, for which a market
     could not readily be procured. The ministry and East-India company unwilling to lose,
     the one the expected revenue from the sale of tea in America—the other, their usual




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     commercial profits, agreed on a measure by which they supposed both would be
     secured.

     The East-India company were by law authorized to export their tea free of duties to all
     places whatsoever. By this regulation, tea, though loaded with an exceptionable duty,
     would come cheaper to the colonies, than before it had been made a source of
     revenue: For the duty when taken off it, when exported from Great-Britain, was
     greater than what was to be paid on its importation into the colonies. Confident of
     success in finding a market for their tea, thus reduced in its price, and also of
     collecting a duty on its importation and sale in the colonies, the East-India company
     freighted several ships, with teas for the different colonies, and appointed agents for
     the disposal thereof. This measure united several interests in opposition to its
     execution. The patriotism of the Americans was corroborated by several auxiliary
     aids, no ways connected with the cause of liberty.

     The merchants in England were alarmed at the losses that must accrue to themselves,
     from the exportations of the East-India company, and from the sales going through the
     hands of consignees. Letters were written from that country, to colonial patriots,
     urging that opposition to which they of themselves were prone.

     The smugglers who were both numerous and powerful, could not relish a scheme
     which by underselling them, and taking a profitable branch of business, out of their
     hands, threatened a diminution of their gains. The colonists were too suspicious of the
     designs of Great-Britain to be imposed upon.

     The cry of endangered liberty once more excited an alarm from New-Hampshire to
     Georgia. The first opposition [97] to the execution of the scheme adopted by the East-
     India company began with the American merchants. They saw a profitable branch of
     their trade likely to be lost, and the benefits of it to be transferred to people in Great-
     Britain. They felt for the wound that would be inflicted on their country’s claim of
     exemption from parliamentary taxation, but they felt with equal sensibility for the
     losses they would sustain by the diversion of the streams of commerce, into unusual
     channels. Though the opposition originated in the selfishness of the merchants, it did
     not end there. The great body of the people, from principles of the purest patriotism,
     were brought over to second their wishes. They considered the whole scheme, as
     calculated to seduce them into an acquiescence with the views of parliament, for
     raising an American revenue. Much pains were taken to enlighten the colonists on this
     subject, and to convince them of the eminent hazard to which their liberties were
     exposed.

     The provincial patriots insisted largely on the persevering determination of the parent
     state to establish her claim of taxation, by compelling the sale of tea in the colonies
     against the solemn resolutions and declared sense of the inhabitants, and that at a time
     when the commercial intercourse of the two countries was renewed, and their ancient
     harmony fast returning. The proposed venders of the tea were represented as revenue
     officers, employed in the collection of an unconstitutional tax, imposed by Great-
     Britain. The colonists reasoned with themselves, that as the duty and the price of the
     commodity were inseparably blended, if the tea was sold, every purchaser would pay



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     a tax imposed by the British parliament, as part of the purchase money. To obviate
     this evil, and to prevent the liberties of a great country from being sacrificed by
     inconsiderate purchasers, sundry town meetings were held in the capitals of the
     different provinces, and combinations were formed to obstruct the sales of the tea,
     sent by the East-India company.

     [98] The resolutions entered into by the inhabitants of Philadelphia, on October the
     18th 1773, afford a good specimen of the whole—these were as follows:

              1. That the disposal of their own property is the inherent right of freemen;
              that there can be no property in that which another can, of right, take from us
              without our consent; that the claim of parliament to tax America, is in other
              words, a claim of right to levy contributions on us at pleasure.
              2. That the duty imposed by parliament upon tea landed in America, is a tax
              on the Americans, or levying contributions on them without their consent.
              3. That the express purpose for which the tax is levied on the
              Americans—namely, for the support of government, administration of justice,
              and defence of his Majesty’s dominions in America, has a direct tendency to
              render assemblies useless, and to introduce arbitrary government and slavery.
              4. That a virtuous and steady opposition to this ministerial plan of governing
              America, is absolutely necessary to preserve even the shadow of liberty, and
              is a duty which every freeman in America owes to his country, to himself,
              and to his posterity.
              5. That the resolution lately entered into by the East-India company, to send
              out their tea to America, subject to the payment of duties on its being landed
              here, is an open attempt to enforce this ministerial plan, and a violent attack
              upon the liberties of America.
              6. That it is the duty of every American to oppose this attempt.
              7. That whoever shall directly or indirectly, countenance this attempt, or in
              any wise aid or abet in unloading, receiving, or vending the tea sent, or to be
              sent out by the East-India company, while it remains subject to the payment
              of a duty here, is an enemy to his country.
              8. That a committee be immediately chosen to wait on those gentlemen, who,
              it is reported, are appointed by the East-India company, to receive and sell
              said tea, and request them, from a regard to their own character [99] and the
              peace and good order of the city and province, immediately to resign their
              appointment.

     As the time approached when the arrival of the tea ships might be soon expected, such
     measures were adopted as seemed most likely to prevent the landing of their cargoes.
     The tea consignees, appointed by the East-India company, were in several places
     compelled to relinquish their appointments, and no others could be found hardy
     enough to act in their stead. The pilots in the river Delaware, were warned not to
     conduct any of the tea ships into their harbour. In New-York, popular vengeance was
     denounced against all who would contribute, in any measure, to forward the views of
     the East-India company. The captains of the New-York and Philadelphia ships, being
     apprized of the resolution of the people, and fearing the consequences of landing a
     commodity, charged with an odious duty, in violation of their declared public



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     sentiments, concluded to return directly to Great-Britain, without making any entry at
     the custom house.

     It was otherwise in Massachusetts. The tea ships designed for the supply of Boston,
     were consigned to the sons, cousins, and particular friends, of governor Hutchinson.
     When they were called upon to resign, they answered, “That it was out of their
     power.” The collector refused to give a clearance, unless the vessels were discharged
     of dutiable articles. The governor refused to give a pass for the vessels, unless
     properly qualified from the custom-house. The governor likewise requested Admiral
     Montague to guard the passages out of the harbour, and gave orders to suffer no
     vessels, coasters excepted, to pass the fortress from the town, without a pass signed by
     himself. From a combination of these circumstances, the return of the tea vessels from
     Boston, was rendered impossible. The inhabitants then, had no option, but to prevent
     the landing of the tea, or to suffer it to be landed, and depend on the unanimity of the
     people not to purchase it, or to destroy the tea, or to suffer a deep laid scheme against
     their sacred liberties to take effect. The first would have required incessant [100]
     watching by night, as well as by day, for a period of time, the duration of which no
     one could compute. The second would have been visionary to childishness, by
     suspending the liberties of a growing country, on the self denial and discretion of
     every tea drinker in the province. They viewed the tea as the vehicle of an
     unconstitutional tax, and as inseparably associated with it. To avoid the one, they
     resolved to destroy the other. About seventeen persons, dressed as Indians, repaired to
     the tea ships, broke open 342 chests of tea, and without doing any other damage,
     discharged their contents into the water.

     Thus by the inflexibility of the governor, the issue of this business was different, at
     Boston, from what it was elsewhere. The whole cargoes of tea were returned from
     New-York and Philadelphia. That which was sent to Charleston was landed and
     stored, but not offered for sale. Mr. Hutchinson had repeatedly urged government, at
     home, to be firm and persevering, he could not therefore consistent with his honour
     depart from a line of conduct, he had so often and so strongly recommended to his
     superiors. He also believed that the inhabitants would not dare to perfect their
     engagements, and flattered himself that they would desist, when the critical moment
     arrived.

     Admitting the rectitude of the American claims of exemption, from parliamentary
     taxation, the destruction of the tea by the Bostonians, was warranted by the great law
     of self preservation, for it was not possible for them, by any other means, within the
     compass of probability, to discharge the duty they owed to their country.

     The event of this business was very different from what had been expected in
     England. The colonists acted with so much union and system, that there was not a
     single chest of any of the cargoes sent out by the East-India company, on this
     occasion, sold for their benefit.

     Intelligence of these proceedings was, on the 7th of March 1774, communicated, in a
     message from the throne, to both houses of parliament. In this communication the
     conduct of the colonists was represented as [101] not only obstructing the commerce



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     of Great-Britain, but as subversive of its constitution. The message was accompanied
     with a number of papers, containing copies and extracts of letters, from the several
     royal governors and others, from which it appeared that the opposition to the sale of
     the tea was not peculiar to Massachusetts, but common to all the colonies. These
     papers were accompanied with accounts setting forth, that nothing short of
     parliamentary interference was capable of re-establishing order among the turbulent
     colonists, and that therefore decisive measures should be immediately adopted for
     securing the dependence of the colonies. If the right of levying taxes on the
     Americans was vested in the parent state, these inferences were well founded; but if it
     was not, their conduct in resisting an invasion of their rights was justified, not only by
     many examples in the history of Britain, but by the spirit of the constitution of that
     country which they were opposing.

     By the destruction of the tea, the people of Boston had incurred the sanction of penal
     laws. Those in Great-Britain who wished for an opportunity to take vengeance on that
     town, commonly supposed by them to be the mother of sedition and rebellion,
     rejoiced that her inhabitants had laid themselves open to castigation.

     It was well known that the throwing of the tea into the river, did not originate with the
     persons who were the immediate instruments of that act of violence. That the whole
     had been concerted at a public meeting, and was, in a qualified sense, the act of the
     town. The universal indignation which in Great-Britain was excited against the people
     of Boston, pointed out to the ministry the suitableness of the present moment for
     humbling them. Though the ostensible ground of complaint was nothing more than a
     trespass on private property, committed by private persons, yet it was well known to
     be part of a long digested plan of resistance to parliamentary taxation. Every measure
     that might be pursued on the occasion seemed to be big with the fate of the empire. To
     proceed in the usual forms of law, appeared to the rulers in Great-Britain to be a
     departure from their [102] dignity. It was urged by the ministry that parliament, and
     parliament only, was capable of re-establishing tranquility among these turbulent
     people, and of bringing order out of confusion. To stifle all opposition from the
     merchants, the public papers were filled with writings which stated the impossibility
     of carrying on a future trade to America, if this flagrant outrage on commerce should
     go unpunished.

     It was in vain urged by the minority that no good could arise from coercion, unless the
     minds of the Americans were made easy on the subject of taxation. Equally vain was
     a motion for a retrospect into the conduct of the ministry, which had provoked their
     resistance.

     The parliament discovered an aversion from looking back to the original ground of
     the dispute, and confined themselves solely to the late misbehavior of the Americans,
     without any enquiry into the provoking causes thereof.

     The violence of the Bostonians in destroying an article of commerce, was largely
     insisted upon, without any indulgence for the jealous spirit of liberty, in the
     descendants of Englishmen. The connexion between the tea and the unconstitutional
     duty imposed thereon, was overlooked, and the public mind of Great-Britain solely



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     fixed on the obstruction given to commerce, by the turbulent colonists. The spirit
     raised against the Americans became as high, and as strong, as their most inveterate
     enemies could desire. This was not confined to the common people, but took
     possession of legislators, whose unclouded minds ought to be exalted above the mists
     of prejudice or partiality. Such, when they consult on public affairs, should be free
     from the impulses of passion, for it rarely happens that resolutions adopted in anger,
     are founded in wisdom. The parliament in Great-Britain, transported with indignation
     against the people of Boston, in a fit of rage resolved to take legislative vengeance, on
     that devoted town.

     Disregarding the forms of her own constitution by which none are to be condemned
     unheard, or punished without a trial, a bill was finally passed, on the 17th day [103]
     after it was first moved for, by which the port of Boston was virtually blocked up, for
     it was legally precluded from the privilege of landing and discharging, or of lading
     and shipping of goods, wares and merchandise. The minister who proposed this
     measure, stated in support of it, that the opposition to the authority of parliament, had
     always originated in that colony, and had always been instigated by the seditious
     proceedings of the town of Boston: that it was therefore necessary to make an
     example of that town, which by an unparalleled outrage had violated the freedom of
     commerce; that Great-Britain would be wanting in the protection she owed to her
     peaceable subjects, if she did not punish such an insult, in an exemplary manner. He
     therefore proposed, that the town of Boston should be obliged to pay for the tea which
     had been destroyed. He was farther of opinion, that making a pecuniary satisfaction
     for the injury committed, would not alone be sufficient, but that in addition thereto,
     security must be given in future, that trade may be safely carried on—property
     protected—laws obeyed—and duties paid. He urged, therefore that it would be proper
     to take away from Boston the privilege of a port, until his Majesty should be satisfied
     in these particulars, and publicly declare in council, on a proper certificate, of the
     good behaviour of the town, that he was so satisfied. Until this should happen he
     proposed that the custom house officers should be removed to Salem. The minister
     hoped that this act would execute itself, or at most, that a few frigates would secure its
     execution. He also hoped, that the prospect of advantage to the town of Salem, from
     its being made the seat of the custom house, and from the occlusion of the port of
     Boston, would detach them from the interest of the latter, and dispose them to support
     a measure, from which they had so much to expect. It was also presumed that the
     other colonies would leave Boston to suffer the punishment due to her demerits. The
     abettors of parliamentary supremacy flattered themselves that this decided conduct of
     Great-Britain would, forever, extinguish all opposition from the refractory colonists to
     the claims of [104] the Mother Country; and the apparent equity of obliging a
     delinquent town to make reparation for an injury occasioned by the factious spirit of
     its inhabitants, silenced many of the friends of America. The consequences resulting
     from this measure, were the reverse of what were wished for by the first, and dreaded
     by the last.

     By the operation of the Boston port act, the preceding situation of its inhabitants, and
     that of the East-India company was reversed. The former had more reason to
     complain of the disproportionate penalty to which they were indiscriminately
     subjected, than the latter of that outrage on their property, for which punishment had



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     been inflicted. Hitherto the East-India company were the injured party, but from the
     passing of this act, the balance of injury was on the opposite side. If wrongs received
     entitled the former to reparation, the latter had a much stronger title on the same
     ground. For the act of seventeen or eighteen individuals, twice as many thousands
     were involved in one general calamity.

     Both parties viewed the case on a much larger scale than that of municipal law. The
     people of Boston alledged, in vindication of their conduct, that the tea was a weapon
     aimed at their liberties, and that the same principles of self preservation which justify
     the breaking of the assassins sword uplifted for destruction, equally authorised the
     destruction of that tea which was the vehicle of an unconstitutional tax subversive of
     their liberties. The parliament of Great-Britain considered the act of the people of
     Boston, in destroying the tea, as an open defiance of that country. The demerit of the
     action as an offence against property, was lost, in the supposed superior demerit of
     treasonable intention to emancipate themselves from a state of colonial dependence.
     The Americans conceived the case to be intimately connected with their liberties; the
     inhabitants of Great-Britain with their supremacy, the former considered it as a duty
     they owed their country, to make a common cause with the people of Boston, the
     latter thought themselves under equal obligations to support the privileges of
     parliament.

     [105] On the third reading of the Boston port bill, a petition was presented by the lord
     mayor, in the name of several natives and inhabitants of North America, then residing
     in London. It was drawn with great force of language, and stated that “the proceedings
     of parliament against Boston were repugnant to every principle of law and justice, and
     established a precedent by which no man in America could enjoy a moment’s
     security.” The friends of parliamentary supremacy had long regretted the democratic
     constitutions of the provinces as adverse to their schemes. They saw with concern the
     steady opposition that was given to their measures by the American legislatures.
     These constitutions were planned when Great-Britain neither feared nor cared for her
     colonies. Not suspecting that she was laying the foundation of future states, she
     granted charters that gave to the people so much of the powers of government as
     enabled them to make not only a formidable, but a regular, constitutional, opposition,
     to the country from which they sprung.

     Long had her rulers wished for an opportunity to revoke these charters, and to new
     model these governments. The present moment seemed favourable to this design. The
     temper of the nation was high, and the resentment against the province of
     Massachusetts general and violent. The late outrages in Boston furnished a tolerable
     pretence for the attempt. An act of the British parliament speedily followed the one
     for shutting up the port of Boston, entitled, an act for the better regulating the
     government of Massachusetts. The object of this was to alter the charter of the
     province in the following particulars: The council or second branch of the legislature
     heretofore elected by the general court, was to be from the first of August 1774,
     appointed by the crown. The royal governor was also by the same act, invested with
     the power of appointing and removing all judges of the inferior courts of common
     pleas—commissioners of oyer and terminer—the attorney general—provost
     marshal—justices—sheriffs, &c. The town meetings which were sanctioned by the



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     charter, were with a few exceptions [106] expressly forbidden to be held, without the
     leave of the governor or lieutenant governor in writing, expressing the special
     business of said meeting, first had and obtained; and with a farther restriction, that no
     matter should be treated of at these meetings, excepting the election of public officers,
     and the business expressed in the leave given by the governor or lieutenant governor.
     Jurymen which had been before elected by the freeholders and inhabitants of the
     several towns, were to be, by this new act, all summoned and returned, by the sheriffs
     of the respective counties. The whole executive government was taken out of the
     hands of the people, and the nomination of all important officers vested in the king or
     his governor.

     This act excited a greater alarm than the port act. The one effected only the
     metropolis, the other the whole province. The one had the appearance of being
     merited, as it was well known that an act of violence had been committed by its
     inhabitants, under the sanction of a town meeting; but the other had no stronger
     justifying reason than that the proposed alterations were, in the opinion of the
     parliament, become absolutely necessary, in order to the preservation of the peace and
     good order of the said province. In support of this bill, the minister who brought it in
     alledged, that an executive power was wanting in the country. The very people, said
     he, who commit the riots are the posse comitatus in which the force of the civil power
     consists. He farther urged the futility of making laws, the execution of which, under
     the present form of government in Massachusetts, might be so easily evaded, and
     therefore contended for a necessity to alter the whole frame of their constitution, as
     far as related to its executive and judicial powers. In opposition it was urged, that the
     taking away the civil constitution of a whole people, secured by a solemn charter,
     upon general charges of delinquencies and defects, was a stretch of power of the most
     arbitrary and dangerous nature.

     By the English constitution charters were sacred, and only revokable by a due course
     of law, and on a conviction [107] of misconduct. They were solemn compacts
     between the prince and the people, and without the constitutional power of either
     party. The abettors of the British schemes reasoned in a summary way. Said they,

     the colonies, particularly Massachusetts, by their circular letters; associations and
     town meetings, have for years past thwarted all the measures of government, and are
     meditating independency. This turbulent spirit of theirs is fostered by their
     constitution, which invests them with too much power to be consistent with their state
     of subordination. Let us therefore lay the axe at the root—new model their charter,
     and lop off those privileges which they have abused.

     When the human mind is agitated with passion it rarely discerns its own interest, and
     but faintly foresees consequences. Had the parliament stopped short with the Boston
     port act, the motives to union and to make a common cause with that metropolis,
     would have been feeble, perhaps ineffectual to have roused the other provinces; but
     the arbitrary mutilation of the important privileges contained in a solemn charter,
     without a trial—without a hearing, by the will of parliament, convinced the most
     moderate that the cause of Massachusetts was the cause of all the provinces.




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     It readily occurred to those who guided the helm of Great-Britain, that riots would
     probably take place, in attempting the execution of the acts just mentioned. They also
     discerned that such was the temper of the people, that trials for murders committed in
     suppressing riots, if held in Massachusetts, would seldom terminate in favour of the
     parties, who were engaged on the side of government. To make their system
     compleat, it was necessary to go one step farther, and to screen their active friends
     from the apprehended partiality of such trials. It was therefore provided by law, that if
     any person was indicted for murder, or for any capital offence committed in aiding
     magistracy, that the governor might send the person so indicted to another colony, or
     to Great-Britain to be tried. This law was the subject of severe comments. It was
     considered as an act of indemnity to those who should [108] embrue their hands in the
     blood of their fellow citizens. It was asked how the relations of a murdered man could
     effectually prosecute, if they must go three thousand miles to attend that business. It
     was contended that the act by stopping the usual course of justice, would probably
     give rise to assassinations and dark revenge among individuals, and encourage all
     kinds of lawless violence. The charge of partiality was retorted. For said they, “If a
     party spirit against the authority of Great-Britain would condemn an active officer in
     Massachusetts as a murderer, the same party spirit for preserving the authority of
     Great-Britain, would, in that country, acquit a murderer as a spirited performer of his
     duty.[”] The case of captain Preston was also quoted as a proof of the impartial
     administration of justice in Massachusetts.

     The same Natives of America who had petitioned against the Boston port bill,
     presented a second one against these two bills. With uncommon energy of language,
     they pointed out many constitutional objections against them, and concluded with
     fervently beseeching, “that the parliament would not, by passing them, reduce their
     countrymen to an abject state of misery and humiliation, or drive them to the last
     resource of despair.” The lords of the minority entered also a protest against the
     passing of each of these bills.

     It was fortunate for the people of Boston, and those who wished to promote a
     combination of the colonies against Great-Britain, that these three several laws passed
     nearly at the same time. They were presented in quick progression, either in the form
     of bills or of acts, to the consideration of the inflamed Americans, and produced
     effects on their minds, infinitely greater than could have been expected from either,
     especially from the Boston port act alone.

     When the fire of indignation, excited by the first, was burning, intelligence of these
     other acts, operated like fuel, and made it flame out with increasing vehemence. The
     three laws were considered as forming a complete system of tyranny, from the
     operation of which, there was no chance of making a peaceable escape.

     [109] “By the first,” said they, “the property of unoffending thousands is arbitrarily
     taken away, for the act of a few individuals; by the second our chartered liberties are
     annihilated; and by the third, our lives may be destroyed with impunity. Property,
     liberty, and life, are all sacrificed on the altar of ministerial vengeance.” This mode of
     reasoning was not peculiar to Massachusetts. These three acts of parliament, contrary
     to the expectation of those who planned them, became a cement of a firm union



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     among the colonies, from New-Hampshire to Georgia. They now openly said, “our
     charters and other rights and immunities must depend on the pleasure of parliament.”
     They were sensible that they had all concurred, more or less, in the same line of
     opposition which had provoked these severe statutes against Massachusetts; and they
     believed that vengeance, though delayed, was not remitted, and that the only favour
     the least culpable could expect, was to be the last that would be devoured. The friends
     of the colonies contended, that these laws were in direct contradiction to the letter,
     and the spirit of the British constitution. Their opposers could support them on no
     stronger grounds than those of political necessity and expedience. They
     acknowledged them to be contrary to the established mode of proceeding, but
     defended them as tending ultimately to preserve the constitution, from the meditated
     independency of the colonies.

     Such was the temper of the people in England, that the acts hitherto passed were
     popular. A general opinion had gone forth in the Mother Country, that the people of
     Massachusetts, by their violent opposition to government, had drawn on themselves
     merited correction.

     The parliament did not stop here, but proceeded one step farther, which inflamed their
     enemies in America, and lost them friends in Great-Britain. The general clamor in the
     provinces was, that the proceedings in the parliament were arbitrary, and
     unconstitutional. Before they completed their memorable session in the beginning of
     the year 1774, they passed an act respecting the government of Quebec, which in the
     opinion of their friends merited these appellations. By this act the government of that
     [110] province was made to extend southward to the Ohio, and westward to the banks
     of the Mississippi, and northward, to the boundary of the Hudson’s Bay company.
     The principal objects of the act were to form a legislative council, for all the affairs of
     the province, except taxation, which council should be appointed by the crown; the
     office to be held during pleasure, and his Majesty’s Roman Catholic subjects to be
     entitled to a place therein—to establish the French laws, and a trial without jury, in
     civil cases, and the English laws, with a trial by jury, in criminal—to secure to the
     Roman Catholic clergy, except the regulars, the legal enjoyment of their estates, and
     their tythes, from all who were of their own religion. Not only the spirit but the letter
     of this act were so contrary to the English constitution, that it diminished the
     popularity of the measures which had been formed against the Americans.

     Among the more southern colonists, it was conceived that its evident object was to
     make the inhabitants of Canada fit instruments, in the hands of power, to reduce them
     to a state of slavery.

     They well remembered the embarrassments occasioned to them in the late war
     between France and England, by the French inhabitants of Canada—they supposed
     that the British administration meant, at this time, to use these people in the same line
     of attack, for their subjugation. As Great-Britain had new modelled the chartered
     government of Massachusetts, and claimed an authority so to do in every province,
     the colonists were apprehensive, that in the plenitude of her power, she would impose
     on each of them, in their turns, a constitution similar to what she had projected, for the
     province of Canada.



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     They foresaw, or thought they foresaw, the annihilation of their ancient assemblies,
     and their whole legislative business transferred to creatures of the crown. The legal
     parliamentary right to a maintenance conferred on the clergy of the Roman Catholic
     religion, gave great offence to many in England, but the political consequences
     expected to result from it, were most dreaded by the colonists.

     [111] They viewed the whole act as an evidence that hostilities were intended against
     them, and that part of it which respected religion, as calculated to make Roman
     Catholicks subservient to the purposes of military coercion.

     The session of parliament which passed these memorable acts, had stretched far into
     summer. As it drew near a close, the most sanguine expectations were indulged, that
     from the resolution and great unanimity of parliament on all American questions, the
     submission of the colonies would be immediate, and their future obedience and
     tranquility effectually secured. The triumphs and congratulations of the friends of the
     ministry, were unusually great.

     In passing the acts which have been just mentioned, dissentients in favour of America,
     were unusually few. The ministerial majority, believing that the refractory colonists
     depended chiefly on the countenance of their English abettors, were of opinion, that
     as soon as they received intelligence of the decrease of their friends, and of the
     decisive conduct of parliament, they would acquiesce in the will of Great-Britain—the
     fame and grandeur of the nation was such, that it was never imagined they would
     seriously dare to contend with so formidable a people. The late triumphs of Great-
     Britain had made such an impression on her rulers, that they believed the Americans,
     on seeing the ancient spirit of the nation revive, would not risque a trial of prowess
     with those fleets and armies, which the combined force of France and Spain, were
     unable to resist. By an impious confidence in their superior strength, they precipitated
     the nation into rash measures, from the dire effects of which, the world may learn a
     useful lesson.




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     CHAPTER IV

     Proceedings Of The Colonies In 1774, In Consequence Of The
     Boston Port Act, Viz.
     The winter which followed the destruction of the tea in Boston, was an anxious one to
     those of the [112] colonists who were given to reflection. Many conjectures were
     formed about the line of conduct, Great-Britain would probably adopt, for the support
     of her dignity. The fears of the most timid were more than realized by the news of the
     Boston port bill.
     This arrived on the 10th of May, and its operation was to             1774
     commence the first of the next month. Various town meetings
     were called to deliberate on the state of public affairs. On the 13th of May, the town
     of Boston passed the following vote.

     That it is the opinion of this town, that if the other colonies come into a joint
     resolution to stop all importation from Great-Britain and the West-Indies, till the act
     for blocking up this harbour be repealed, the same will prove the salvation of North-
     America, and her liberties. On the other hand if they continue their exports and
     imports, there is high reason to fear that fraud, power, and the most odious
     oppression, will rise triumphant over justice, right, social happiness, and freedom.
     And moreover that this vote, be transmitted by the moderator, to all our sister
     colonies, in the name and behalf of this town.

     Copies of this vote were transmitted to each of the colonies. The opposition to Great-
     Britain, had hitherto called forth the pens of the ingenious, and in some instances
     imposed the self denial of non-importation agreements: but the bulk of the people, had
     little to do with the dispute. The spirited conduct of the people of Boston, in
     destroying the tea, and the alarming precedents set by Great-Britain, in consequence
     thereof, brought subjects into discussion, with which every peasant and day labourer
     was concerned.

     The patriots who had hitherto guided the helm, knew well, that if the other colonies
     did not support the people of Boston, they must be crushed, and it was equally
     obvious, that in their coercion a precedent, injurious to liberty, would be established.
     It was therefore the interest of Boston to draw in the other colonies. It was also the
     interest of the patriots in all the colonies, to bring over the bulk of the people, to adopt
     such efficient measures as were likely to extricate the inhabitants of [113] Boston
     from the unhappy situation in which they were involved. To effect these purposes
     much prudence as well as patriotism was necessary. The other provinces were but
     remotely affected by the fate of Massachusetts. They were happy, and had no cause,
     on their own account, to oppose the government of Great-Britain. That a people so
     circumstanced, should take part with a distressed neighbour, at the risque of incurring
     the resentment of the Mother Country, did not accord with the selfish maxims by
     which states, as well as individuals, are usually governed. The ruled are, for the most



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     part, prone to suffer as long as evils are tolerable, and in general they must feel before
     they are roused to contend with their oppressors; but the Americans acted on a
     contrary principle.

     They commenced an opposition to Great-Britain, and ultimately engaged in a
     defensive war, on speculation. They were not so much moved by oppression actually
     felt, as by a conviction that a foundation was laid, and a precedent about to be
     established for future oppressions. To convince the bulk of the people, that they had
     an interest in foregoing a present good, and submitting to a present evil, in order to
     obtain a future greater good, and to avoid a future greater evil, was the task assigned
     to the colonial patriots. But it called for the exertion of their utmost abilities. They
     effected it in a great measure, by means of the press. Pamphlets, essays, addresses and
     news paper dissertations were daily presented to the public, proving that
     Massachusetts was suffering in the common cause, and that interest and policy, as
     well as good neighbourhood, required the united exertions of all the colonies, in
     support of that much injured province. It was inculcated on the people, that if the
     ministerial schemes were suffered to take effect in Massachusetts, the other colonies
     must expect the loss of their charters, and that a new government would be imposed
     upon them, like that projected for Quebec. The king and parliament held no patronage
     in America, sufficient to oppose this torrent. The few who ventured to write in their
     favour found a difficulty in communicating their sentiments to the public. [114] No
     pensions or preferments awaited their exertions. Neglect and contempt were their
     usual portion, but popularity, consequence, and fame, were the rewards of those who
     stepped forward in the cause of liberty. In order to interest the great body of people,
     the few who were at the helm, disclaimed any thing more decisive, than convening the
     inhabitants, and taking their sense on what was proper to be done. In the mean time
     great pains were taken to prepare them for the adoption of vigorous measures.

     The words whigs and tories, for want of better, were now introduced, as the
     distinguishing names of parties. By the former, were meant those who were for
     making a common cause with Boston, and supporting the colonies in their opposition
     to the claims of parliament. By the latter those who were at least so far favourers of
     Great-Britain, that they wished, either that no measures, or only palliative measures,
     should be adopted in opposition to her schemes.

     These parties were so nearly balanced in New-York, that nothing more was agreed to
     at the first meeting of the inhabitants, than a recommendation to call a Congress.

     At Philadelphia the patriots had a delicate part to act. The government of the colony
     being proprietary, a multitude of officers connected with that interest, had much to
     fear from convulsions, and nothing to expect from a revolution. A still greater body of
     people called Quakers, denied the lawfulness of war, and therefore could not adopt
     such measures for the support of Boston, as naturally tended to produce an event so
     adverse to their system of religion.

     The citizens of Boston, not only sent forward their public letter, to the citizens of
     Philadelphia; but accompanied it with private communications to individuals of
     known patriotism and influence, in which they stated the impossibility of their



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     standing alone, against the torrent of ministerial vengeance, and the indispensable
     necessity, that the leading colony of Pennsylvania, should afford them its support and
     countenance. The advocates in Philadelphia, for making a common cause [115] with
     Boston, were fully sensible of the state of parties in Pennsylvania. They saw the
     dispute with Great-Britain, brought to a crisis, and a new scene opening, which
     required exertions different from any heretofore made. The success of these they well
     knew, depended on the wisdom with which they were planned, and the union of the
     whole people, in carrying them into execution.
     They saw the propriety of proceeding with the greatest               May 20
     circumspection; and therefore resolved at their first meeting, on
     nothing more than to call a general meeting of the inhabitants, on the next evening.
     At this second meeting the patriots had so much moderation and 21
     policy, as to urge nothing decisive, contenting themselves with
     taking the sense of the inhabitants, simply on the propriety of sending an answer to
     the public letter from Boston. This was universally approved. The letter agreed upon
     was firm but temperate.

     They acknowledged the difficulty of offering advice on the present occasion,
     sympathized with the people of Boston in their distress, and observed that all lenient
     measures, for their relief, should be first tried. That if the making restitution for the
     tea destroyed, would put an end to the unhappy controversy, and leave the people of
     Boston upon their ancient footing of constitutional liberty, it could not admit of a
     doubt what part they should act. But that it was not the value of the tea, it was the
     indefeasible right of giving and granting their own money, which was the matter in
     consideration. That it was the common cause of America; and therefore necessary in
     their opinion, that a congress of deputies from the several colonies should be
     convened to devise means for restoring harmony between Great-Britain and the
     colonies, and preventing matters from coming to extremities. Till this could be
     brought about, they recommended firmness, prudence, and moderation to the
     immediate sufferers, assuring them, that the people of Pennsylvania would continue to
     evince a firm adherence to the cause of American liberty.

     In order to awaken the attention of the people, a series of letters was published well
     calculated to rouse [116] them to a sense of their danger, and point out the fatal
     consequences of the late acts of parliament. Every newspaper teemed with
     dissertations in favour of liberty—with debates of the members of parliament,
     especially with the speeches of the favourers of America, and the protests of the
     dissenting lords. The latter had a particular effect on the colonists, and were
     considered by them as irrefragable proofs, that the late acts against Massachusetts
     were unconstitutional and arbitrary.

     The minds of the people being thus prepared, the friends of liberty promoted a
     petition to the governor, for convening the assembly. This they knew would not be
     granted, and that the refusal of it, would smooth the way for calling the inhabitants
     together.
     The governor having refused to call the assembly, a general          Jun. 18
     meeting of the inhabitants was requested. About 8000 met and
     adopted sundry spirited resolutions. In these they declared, that the Boston port act



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     was unconstitutional—that it was expedient to convene a continental congress—to
     appoint a committee for the city and county of Philadelphia, to correspond with their
     sister colonies and the several counties of Pennsylvania, and to invest that committee
     with power, to determine on the best mode for collecting the sense of the province,
     and appointing deputies to attend a general congress.
     Under the sanction of this last resolve, the committee appointed 28
     for that purpose, wrote a circular letter to all the counties of the
     Province, requesting them to appoint deputies to a general meeting, proposed to be
     held on the 15th of July, part of this letter was in the following words:

     We would not offer such an affront to the well known public spirit of Pennsylvanians,
     as to question your zeal on the present occasion. Our very existence in the rank of
     freemen, and the security of all that ought to be dear to us, evidently depends on our
     conducting this great cause to its proper issue, by firmness, wisdom, and
     magnanimity. It is with pleasure we assure you, that all the colonies from South-
     Carolina to New-Hampshire, are animated with one spirit, in the common cause, and
     consider that as the proper crisis for having our differences with the Mother Country
     [117] brought to some certain issue, and our liberties fixed upon a permanent
     foundation, this desirable end can only be accomplished by a free communication of
     sentiments, and a sincere and fervent regard for the interests of our common country.

     The several counties readily complied with the request of the inhabitants of
     Philadelphia, and appointed deputies, who met at the time appointed, and passed
     sundry resolves, in which they reprobated the late acts of parliament—expressed their
     sympathy with Boston, as suffering in the common cause—approved of holding a
     congress, and declared their willingness to make any sacrifices that might be
     recommended by a congress, for securing their liberties.

     Thus, without tumult, disorder, or divided counsels, the whole province of
     Pennsylvania was, by prudent management and temperate proceedings, brought into
     the opposition with its whole weight and influence. This is the more remarkable as it
     is probable, that if the sentiments of individuals had been separately taken, there
     would have been a majority against involving themselves in the consequences of
     taking part with the destroyers of the tea, at Boston.

     While these proceedings were carrying on in Pennsylvania, three of the most
     distinguished patriots of Philadelphia, under color of an excursion of pleasure, made a
     tour throughout the province, in order to discover the real sentiments of the common
     people. They were well apprized of the consequences of taking the lead in a dispute
     which every day became more serious, unless they could depend on being supported
     by the yeomanry of the country. By freely associating and conversing with many of
     every class and denomination; they found them unanimous in that fundamental
     principle of the American controversy, “That the parliament of Great-Britain had no
     right to tax them.” From their general determination on this subject, a favourable
     prognostic was formed, of a successful opposition to the claims of Great-Britain.

     In Virginia the house of burgesses on the 26th of May, 1774, resolved, that the first of
     June, the day on which [118] the operation of the Boston port bill was to commence,



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     should be set apart by the members as a day of fasting, humiliation and prayer,
     “devoutly to implore the divine interposition, for averting the heavy calamities which
     threatened destruction to their civil rights, and the evils of a civil war—to give them
     one heart and one mind, to oppose by all just and proper means, every injury to
     American rights.” On the publication of this resolution, the royal governor, the Earl of
     Dunmore dissolved them. The members notwithstanding their dissolution, met in their
     private capacities, and signed an agreement, in which, among other things, they
     declared, “that an attack made on one of their sister colonies, to compel submission to
     arbitrary taxes, was an attack made on all British America, and threatened ruin to the
     rights of all, unless the united wisdom of the whole be applied.”

     In South-Carolina the vote of the town of Boston of the 13th of May, being presented
     to a number of the leading citizens in Charleston, it was unanimously agreed to call a
     meeting of the inhabitants.

     That this might be as general as possible, letters were sent to every parish and district
     in the province, and the people were invited to attend, either personally, or by their
     representatives at a general meeting of the inhabitants.
     A large number assembled, in which were some, from almost            July 18, 1774
     every part of the province. The proceedings of the parliament
     against the province of Massachusetts were distinctly related to this convention.
     Without one dissenting voice, they passed sundry resolutions, expressive of their
     rights, and of their sympathy with the people of Boston. They also chose five
     delegates to represent them in a continental Congress, and invested them “with full
     powers, and authority, in behalf of them and their constituents, to concert, agree to,
     and effectually to prosecute such legal measures as in their opinion, and the opinion
     of the other members, would be most likely to obtain a redress of American
     grievances.”

     The events of this time may be transmitted to posterity, but the agitation of the public
     mind can never be fully comprehended, but by those who were witnesses of it.

     [119] In the counties and towns of the several provinces, as well as in the cities, the
     people assembled and passed resolutions, expressive of their rights, and of their
     detestation of the late American acts of parliament. These had an instantaneous effect
     on the minds of thousands. Not only the young and impetuous, but the aged and
     temperate, joined in pronouncing them to be unconstitutional and oppressive. They
     viewed them as deadly weapons aimed at the vitals of that liberty, which they adored;
     as rendering abortive the generous pains taken by their forefathers, to procure for
     them in a new world, the quiet enjoyment of their rights. They were the subjects of
     their meditation when alone, and of their conversation when in company.

     Within little more than a month, after the news of the Boston port bill reached
     America, it was communicated from state to state, and a flame was kindled, in almost
     every breast, through the widely extended provinces.

     In order to understand the mode by which this flame was spread with such rapidity
     over so great an extent of country, it is necessary to observe, that the several colonies



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     were divided into counties, and these again subdivided into districts, distinguished by
     the names of towns, townships, precincts, hundreds or parishes. In New-England the
     subdivisions which are called towns, were by law, bodies corporate—had their regular
     meetings, and might be occasionally convened by their proper officers. The
     advantages derived from these meetings, by uniting the whole body of the people in
     the measures taken to oppose the stamp act, induced other provinces to follow the
     example. Accordingly under the association which was formed to oppose the revenue
     act of 1767, committees were established not only in the capitals of every province,
     but also in most of the subordinate districts. Great-Britain, without designing it, had
     by her two preceding attempts at American revenue, taught her colonies not only the
     advantages, but the means of union. The system of committees, which prevailed in
     1765, and also in 1767, was revived in 1774. By them there was a quick transmission
     of intelligence from the capital towns through [120] the subordinate districts to the
     whole body of the people, and a union of counsels and measures was effected among
     widely disseminated inhabitants.

     It is perhaps impossible for human wisdom, to contrive any system more subservient
     to these purposes, than such a reciprocal exchange of intelligence, by committees.
     From the want of such a communication with each other, and consequently of union
     among themselves, many states have lost their liberties, and more have been
     unsuccessful in their attempts to regain them, after they have been lost.

     What the eloquence and talents of Demosthenes could not effect among the states of
     Greece, might have been effected by the simple device of committees of
     correspondence. The few have been enabled to keep the many in subjection in every
     age, from the want of union among the latter. Several of the provinces of Spain
     complained of oppression under Charles the 5th, and in transports of rage took arms
     against him; but they never consulted or communicated with each other. They resisted
     separately, and were therefore separately subdued.

     The colonists sympathizing with their distressed brethren in Massachusetts, felt
     themselves called upon, to do something for their relief; but to determine on what was
     proper to be done, did not so obviously occur. It was a natural idea, that for
     harmonising their measures, a Congress of deputies from each province should be
     convened. This early occurred to all, and being agreed to by all, was the means of
     procuring union and concert among inhabitants, removed several hundred miles from
     each other. In times less animated, various questions about the place and legality of
     their meeting, and about the extent of their power, would have produced a great
     diversity of sentiments; but on this occasion, by the special agency of providence,
     there was the same universal bent of inclination in the great body of the people. A
     sense of common danger, extinguished selfish passions. The public attention was
     fixed on the great cause of liberty. Local attachments and partialities, were sacrificed
     on the altar of patriotism.

     There were not wanting moderate men, who would [121] have been willing to pay for
     the tea destroyed, if that would have put an end to the controversy, for it was not the
     value of the tea nor of the tax, but the indefeasible right of giving and granting their
     money, for which the colonists contended. The act of parliament was so cautiously



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     worded, as to prevent the opening of the port of Boston, even though the East-India
     company had been reimbursed for all damages, “until it was made [to] appear to his
     majesty in council, that peace and obedience to the laws were so far restored in the
     town of Boston, that the trade of Great-Britain might be safely earried on there and his
     majesty’s customs duly collected.” The latter part of this limitation, “the due
     collection of his majesty’s customs,” was understood to comprehend submission to
     the late revenue laws. It was therefore inferred, that payment for the tea destroyed,
     would produce no certain relief, unless they were willing to give operation to the law,
     for raising a revenue on future importations of that commodity, and also to acquiesce
     in the late mutilation of their charter. As it was deliberately resolved, never to submit
     to either the most lukewarm of well informed patriots, possessing the public
     confidence, neither advised nor wished for the adoption of that measure. A few in
     Boston, who were known to be in the royal interest, proposed a resolution for that
     purpose, but they met with no support. Of the many who joined the British in the
     course of the war, there was scarcely an individual to be found in this early stage of
     the contriversy, who advocated the right of parliamentary taxation. There were
     doubtless many timid persons, who fearing the power of Britain, would rather have
     submitted to her encroachments, than risque the vengeance of her arms, but such for
     the most part suppressed their sentiments. Zeal for liberty, being immediately
     rewarded with applause, the patriots had every inducement to come forward, and
     avow their principles; but there was something so unpopular in appearing to be
     influenced by timidity, interest or excessive caution, when essential interests were
     attacked, that such persons shunned public notice, and sought the shade of retirement.

     [122 ] In the three first months, which followed the shutting up of the port of Boston,
     the inhabitants of the colonies in hundreds of small circles, as well as in their
     provincial assemblies and congresses, expressed their abhorrence of the late
     proceedings of the British parliament against Massachusetts—their concurrence in the
     proposed measure of appointing deputies for a general congress, and their willingness
     to do and suffer whatever should be judged conducive to the establishment of their
     liberties.

     A patriotic flame, created and diffused by the contagion of sympathy, was
     communicated to so many breasts, and reflected from such a variety of objects, as to
     become too intense to be resisted.

     While the combination of the other colonies to support Boston, was gaining strength,
     new matter of dissention daily took place in Massachusetts. The resolution for
     shutting the port of Boston, was no sooner taken, than it was determined to order a
     military force to that town. General Gage, the commander in chief of the royal forces
     in North-America, was also sent thither, in the additional capacity of Governor of
     Massachusetts. He arrived in Boston on the third day after the inhabitants received the
     first intelligence of the Boston port bill. Though the people were irritated by that
     measure, and though their republican jealousy was hurt by the combination of the
     civil and military character in one person, yet the general was received with all the
     honours which had been usually paid to his predecessors. Soon after his arrival, two
     regiments of foot, with a detachment of artillery and some cannon, were landed in




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     Boston. These troops were by degrees re-inforced, with others from Ireland, New-
     York, Halifax and Quebec.

     The governor announced that he had the king’s particular command, for holding the
     general court at Salem, after the first of June. When that eventful day arrived, the act
     for shutting up the port of Boston commenced its operation. It was devoutly kept at
     Williamsburgh, as a day of fasting and humiliation. In Philadelphia it was solemnized
     with every manifestation of public calamity and grief. The inhabitants shut up their
     houses. After [123] divine service a stillness reigned over the city, which exhibited an
     appearance of the deepest distress.

     In Boston a new scene opened on the inhabitants. Hitherto, that town had been the
     seat of commerce and of plenty. The immense business carried on therein, afforded a
     comfortable subsistence to many thousands. The necessary—the useful, and even
     some of the elegant arts were cultivated among them. The citizens were polite and
     hospitable. In this happy state they were sentenced on the short notice of twenty one
     days, to a total deprivation of all means of subsisting. The blow reached every person.
     The rents of the landholders, either ceased or were greatly diminished. The immense
     property in stores and wharfs, was rendered comparatively useless. Labourers,
     artifices and others, employed in the numerous occupations created by an extensive
     trade, partook in the general calamity. They who depended on a regular income,
     flowing from previous acquisitions of property, as well as they who with the sweat of
     their brow, earned their daily subsistence, were equally deprived of the means of
     support; and the chief difference between them, was that the distresses of the former
     were rendered more intolerable by the recollection of past enjoyments. All these
     inconveniences and hardships, were born with a passive, but inflexible fortitude. Their
     determination to persist in the same line of conduct, which had been the occasion of
     their suffering was unabated.

     The authors and advisers of the resolution for destroying the tea, were in the town,
     and still retained their popularity and influence. The execrations of the inhabitants fell
     not on them, but on the British parliament. Their countrymen acquitted them of all
     selfish designs, and believed that in their opposition to the measures of Great-Britain,
     they were actuated by an honest zeal for constitutional liberty. The sufferers in Boston
     had the consolation of sympathy from the other colonists. Contributions were raised
     in all quarters for their relief. Letters and addresses came to them from corporate
     bodies, town meetings and provincial conventions, applauding their conduct, and
     exhorting them to perseverance.

     [124] The people of Marblehead, who by their proximity were likely to reap
     advantage from the distresses of Boston, generously offered the merchants thereof,
     the use of their harbour, wharfs, warehouses, and also their personal attendance on the
     lading or unlading of their goods free of all expence.

     The inhabitants of Salem in an address to governor Gage, concluded with these
     remarkable words,




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     By shutting up the port of Boston, some imagine that the course of trade might be
     turned hither, and to our benefit: But nature in the formation of our harbour, forbid,
     our becoming rivals in commerce with that convenient mart; and were it otherwise,
     we must be dead to every idea of justice, lost to all feelings of humanity, could we
     indulge one thought to seize on wealth, and raise our fortunes on the ruins of our
     suffering neighbours.

     The Massachusetts general court met at Salem, according to adjournment, on the 7th
     of June. Several of the popular leaders took, in a private way, the sense of the
     members on what was proper to be done. Finding they were able to carry such
     measures as the public exigencies required, they prepared resolves and moved for
     their adoption. But before they went on the latter business, their door was shut.

     One member nevertheless contrived means of sending information to governor Gage
     of what was doing. His secretary was sent off to dissolve the general court, but was
     refused admission. As he could obtain no entrance, he read the proclamation at the
     door, and immediately after in council, and thus dissolved the general court. The
     house while sitting with their doors shut, appointed five of the most respectable
     inhabitants as their committee, to meet committees from other provinces, that might
     be convened the first of September at Philadelphia—voted them 75 pounds sterling
     each, and recommended to the several towns and districts to raise the said sum by
     equitable proportions. By these means the designs of the governor were disappointed.
     His situation in every respect was truly disageeable. It was his duty to forward the
     execution of laws which were universally execrated. Zeal for [125] his master’s
     service, prompted him to endeavour that they should be earned into full effect, but his
     progress was retarded by obstacles from every quarter. He had to transact his official
     business with a people who possessed a high sense of liberty, and were uncommonly
     ingenious in evading disagreeable acts of parliament. It was a part of his duty to
     prevent the calling of the town meetings after the first of August, 1774. These
     meetings were nevertheless held. On his proposing to exert authority for the
     dispersion of the people, he was told by the select men, that they had not offended
     against the act of parliament, for that only prohibited the calling of town meetings,
     and that no such call had been made: A former constitutional meeting before the first
     of August, having only adjourned themselves from time to time. Other evasions,
     equally founded on the letter, of even the late obnoxious laws, were practised.

     As the summer advanced, the people of Massachusetts received stronger proofs of
     support from the neighbouring provinces. They were therefore encouraged to farther
     opposition. The inhabitants of the colonies, at this time, with regard to political
     opinions, might be divided into three classes; of these, one was for rushing
     precipitately into extremities. They were for immediately stopping all trade, and could
     not even brook the delay of waiting till the proposed continental congress should
     meet. Another party, equally respectable, both as to character, property, and
     patriotism, was more moderate, but not less firm. These were averse to the adoption
     of any violent resolutions, till all others were ineffectually tried. They wished that a
     clear statement of their rights, claims, and grievances, should precede every other
     measure. A third class disapproved of what was generally going on. A few from
     principle, and a persuasion that they ought to submit to the Mother Country; some



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     from the love of ease, others from self-interest, but the bulk from fear of the
     mischievous consequences likely to follow: All these latter classes, for the most part,
     lay still, while the friends of liberty acted with spirit. If they, or any of them, ventured
     to oppose popular measures, they [126] were not supported, and therefore declined
     farther efforts. The resentment of the people was so strong against them, that they
     sought for peace by remaining quiet. The same indecision that made them willing to
     submit to Great-Britain, made them apparently acquiesce in popular measures which
     they disapproved. The spirited part of the community, being on the side of liberty, the
     patriots had the appearance of unanimity; though many either kept at a distance from
     public meetings, or voted against their own opinion, to secure themselves from
     resentment, and promote their present ease and interest.

     Under the influence of those who were for the immediate adoption of efficacious
     measures, an agreement by the name of the solemn league and covenant, was adopted
     by numbers. The subscribers of this, bound themselves to suspend all commercial
     intercourse with Great-Britain, until the late obnoxious laws were repealed, and the
     colony of Massachusetts restored to its chartered rights.

     General Gage published a proclamation, in which he stiled this      June 29
     solemn league and covenant, “An unlawful, hostile, and
     traitorous combination.” And all magistrates were charged, to apprehend and secure
     for trial, such as should have any agency in publishing or subscribing the same, or any
     similar covenant. This proclamation had no other effect, than to exercise the pens of
     the lawyers, in shewing that the association did not come within the description of
     legal treason, and that therefore the governor’s proclamation was not warranted by the
     principles of the constitution.

     The late law, for regulating the government of the provinces, arrived near the
     beginning of August, and was accompanied with a list of 36 new counsellors,
     appointed by the crown, and in a mode, variant from that prescribed by the charter.
     Several of these in the first instance, declined an acceptance of the appointment.
     Those, who accepted of it, were every where declared to be enemies to their country.
     The new judges were rendered incapable of proceeding in their official duty. Upon
     opening the courts, the juries refused to be sworn, or to act in any manner, either
     under them, or in conformity to the late [127] regulations.
     In some places, the people assembled, and filled the court-houses Aug. 4
     and avenues to them in such a manner, that neither the judges,
     nor their officers could obtain entrance; and upon the sheriff’s commanding them, to
     make way for the court, they answered, “That they knew no court independent of the
     ancient laws of their country, and to none other would they submit.”

     In imitation of his royal master, governor Gage issued a proclamation “for the
     encouragement of piety and virtue, and for the prevention and punishing vice,
     prophaneness and immorality.” In this proclamation, hypocrisy was inserted as one of
     the immoralities against which the people were warned. This was considered by the
     inhabitants, who had often been ridiculed for their strict attention to the forms of
     religion, to be a studied insult, and as such was more resented than an actual injury. It
     greatly added to the inflammation which had already taken place in their minds.



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     The proceedings and apparent dispositions of the people, together with the military
     preparations which were daily made through the province, induced general Gage to
     fortify that neck of land which joins Boston to the continent.

     He also seized upon the powder which was lodged in the arsenal at Charlestown.

     This excited a most violent and universal ferment. Several           Sept. 1
     thousands of the people assembled at Cambridge, and it was with
     difficulty they were restrained from marching directly to Boston, to demand a
     delivery of the powder, with a resolution in case of refusal to attack the troops.

     The people thus assembled, proceeded to lieutenant governor Oliver’s house, and to
     the houses of several of the new counsellors, and obliged them to resign, and to
     declare that they would no more act under the laws lately enacted. In the confusion of
     these transactions a rumor went abroad, that the royal fleet and troops were firing
     upon the town of Boston. This was probably designed by the popular leaders, on
     purpose to ascertain what aid they might expect from the country in case of
     extremities. The result exceeded their most sanguine expectations. [128] In less than
     twenty four hours, there were upwards of 30,000 men in arms, and marching towards
     the capital. Other risings of the people took place in different parts of the colony, and
     their violence was such, that in a short time the new counsellors, the commissioners of
     the customs, and all who had taken an active part in favour of Great-Britain, were
     obliged to skreen themselves in Boston. The new seat of government at Salem was
     abandoned, and all the officers connected with the revenue were obliged to consult
     their safety, by taking up their residence in a place which an act of parliament had
     proscribed from all trade.

     About this time, delegates from every town and district in the county of Suffolk, of
     which Boston is the county town, had a meeting, at which they prefaced a number of
     spirited resolutions, containing a detail of the particulars of their intended opposition
     to the late acts of parliament, with a general declaration, “That no obedience was due
     from the province to either, or any part of the said acts, but that they should be
     rejected as the attempts of a wicked administration to enslave America.” The resolves
     of this meeting were sent on to Philadelphia, for the information and opinion of the
     Congress, which, as shall be hereafter related, had met there about this time.

     The people of Massachusetts rightly judged, that from the decision of congress on
     these resolutions, they would be enabled to determine what support they might expect.
     Notwithstanding present appearances they feared that the other colonies, who were no
     more than remotely concerned, would not hazard the consequences of making a
     common cause with them, should subsequent events make it necessary to repel force
     by force. The decision of Congress exceeded their expectations. They “most
     thoroughly approved the wisdom and fortitude with which opposition to wicked
     ministerial measures had been hitherto conducted in Massachusetts, and
     recommended to them perseverance in the same firm and temperate conduct as
     expressed in the resolutions of the delegates from the county of Suffolk.”
     By this approbation and advice, the [129] people of                1774
     Massachusetts were encouraged to resistance, and the other



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     colonies became bound to support them. The former, more in need of a bridle than a
     spur, proceeded as they had begun, but with additional confidence.

     Governor Gage had issued writs for holding a general assembly Oct. 4
     at Salem; but subsequent events, and the heat and violence which
     every where prevailed, made him think it expedient to counteract the writs by a
     proclamation for suspending the meeting of the members. The legality of a
     proclamation for that purpose was denied, and in defiance thereof 90 of the newly
     elected members met at the time and place appointed. They soon after resolved
     themselves into a provincial congress, and adjourned to Concord, about 20 miles from
     Charlestown. On their meeting there, they chose Mr. Hancock president, and
     proceeded to business. One of their first acts was to appoint a committee to wait on
     the governor, with a remonstrance, in which they apologized for their meeting, from
     the distressed state of the colony; complained of their grievances, and, after stating
     their apprehensions, from the hostile preparations on Boston neck, concluded with an
     earnest request, “That he would desist from the construction of the fortress at the
     entrance into Boston, and restore that pass to its natural state.” The governor found
     some difficulty in giving them an answer, as they were not, in his opinion, a legal
     body, but the necessity of the times over-ruled his scruples. He replied, by expressing
     his indignation at the supposition, “That the lives, liberties or property of any people,
     except enemies, could be in danger, from English troops.” He reminded them, that
     while they complained of alterations made in their charter, by acts of parliament, they
     were by their own acts subverting it altogether. He therefore warned them of the rocks
     they were upon; and to desist from such illegal and unconstitutional proceedings. The
     governor’s admonitions were unavailing. The provincial congress appointed a
     committee to draw up a plan for the immediate defence of the province. It was
     resolved to inlist a number of the inhabitants under the name of minute men, who
     were to be under obligations to turn out at a [130] minute’s warning. Jedediah Pribble,
     Artemas Ward and Seth Pomeroy, were elected general officers to command those
     minute men and the militia, in case they should be called out to action. A committee
     of safety, and a committee of supplies were appointed. These consisted of different
     persons and were intended for different purposes. The first were invested with an
     authority to assemble the militia when they thought proper, and were to recommend to
     the committee of supplies the purchase of such articles as the public exigencies
     required; the last were limited to the small sum of £15,627.15s. sterl. which was all
     the money at first voted to oppose the power and riches of Great Britain. Under this
     authority, and with these means, the committees of safety and of supplies, acting in
     concert, laid in a quantity of stores, partly at Worcester and partly at Concord.
     The same congress met again, and soon after resolved to get in        Nov. 23
     readiness twelve thousand men to act on any given emergency;
     and that a fourth part of the militia should be inlisted as minute men, and receive pay.
     John Thomas and William Heath were appointed general officers. They also sent
     persons to New-Hampshire, Rhode-Island and Connecticut, to inform them of the
     steps they had taken and to request their co-operation in making up an army of 20,000
     men. Committees from these several colonies met with a committee from the
     provincial congress of Massachusetts, and settled their plans. The proper period of
     commencing opposition to general Gage’s troops, was determined to be whenever
     they marched out with their baggage, ammunition and artillery. The aid of the clergy



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     was called in upon this occasion, and a circular letter was addressed to each of the
     several ministers in the province, requesting their assistance “in avoiding the dreadful
     slavery with which they were threatened.”

     As the winter approached, general Gage ordered barracks for his troops to be erected,
     but such was the superior influence of the popular leaders, that on their
     recommendation the workmen desisted from fulfilling the general’s wishes, though
     the money for their labour would have been paid by the crown.

     An application to New-York was equally unsuccessful, [131] and 1774
     it was with difficulty that the troops could be furnished with
     winter lodgings. Similar obstructions were thrown in the way of getting winter
     covering for the soldiery. The merchants of New-York on being applied to, answered,
     “That they would never supply any article for the benefit of men who were sent as
     enemies to the country.” The inhabitants of Massachusetts encouraged the desertion
     of the soldiers; and acted systematically in preventing their obtaining any other
     supplies but necessary provisions. The farmers were discouraged from selling them
     straw, timber, boards and such like articles of convenience. Straw, when purchased
     for their service, was frequently burnt. Vessels, with bricks intended for their use,
     were sunk, and carts with wood were overturned, and the king’s property by one
     contrivance or other, was daily destroyed.

     A proclamation had been issued by the king, prohibiting the exportation of military
     stores from Britain, which reached America in the latter end of the year 1774.
     On receiving intelligence thereof, in Rhode-Island, the people      Dec. 14
     seized upon and removed from the public battery about 40 pieces
     of cannon; and the assembly passed resolutions for obtaining arms and military stores
     by every means, and also for raising and arming the inhabitants: soon after 400 men
     beset his majesty’s castle at Portsmouth. They sustained a fire from three four-
     pounders and small arms, but before they could be ready for a second fire, the
     assailants stormed the fort, and secured and confined the garrison till they broke open
     the powder house, and took the powder away. The powder being secured, the garrison
     was released from confinement.

     Throughout this whole season, civil government, legislation, judicial proceedings and
     commercial regulations were in Massachusetts, to all appearance, annihilated. The
     provincial Congress exercised all the semblance of government which existed. From
     their coincidence, with the prevailing disposition, of the people, their resolutions had
     the weight and efficacy of laws.
     Under the simple stile of recommendation, they organized the         1774
     militia, made ordinances respecting public monies and such
     farther regulations [132] as were necessary for preserving order, and for defending
     themselves against the British troops.

     In this crisis it seemed to be the sense of the inhabitants of Massachusetts to wait
     events. They dreaded every evil that could flow from resistance, less than the
     operation of the late acts of parliament, but at the same time were averse to be the
     aggressors in bringing on a civil war. They chose to submit to a suspension of regular



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     government, in preference to permitting the streams of justice to flow in the channel
     prescribed by the late acts of parliament, or to conducting them forcibly in the old
     one, sanctioned by their charter. From the extinction of the old, and the rejection of
     the new constitution, all regular government was for several months abolished. Some
     hundred thousands of people, were in a state of nature without legislation, magistrates
     or executive officers: there was nevertheless a surprising degree of order. Men of the
     purest morals were among the most active opposers of Great-Britain. While municipal
     laws ceased to operate, the laws of reason, morality and religion, bound the people to
     each other as a social band, and preserved as great a degree of a decorum as had at
     any time prevailed. Even those who were opposed to the proceedings of the populace
     when they were prudent and moderate, for the most part enjoyed safety both at home
     and abroad.

     Though there were no civil officers, there was an abundance of military ones. These
     were chosen by the people, but exercised more authority than any who had been
     honoured with commissions from the governor. The inhabitants in every place
     devoted themselves to arms. Handling the musket, and training, were the fashionable
     amusements of the men, while the women by their presence, encouraged them to
     proceed. The sound of drums and fifes was to be heard in all directions. The young
     and the old were fired with a martial spirit. On experiment it was found, that to force
     on the inhabitants, a form of government, to which they were totally averse, was not
     within the fancied omnipotence of parliament.

     During these transactions in Massachusetts effectual [133]            1774
     measures had been taken by the colonies for convening a
     continental Congress, though there was no one entitled to lead in this business, yet in
     consequence of the general impulse on the public mind, from a sense of common
     danger, not only the measure itself, but the time and place of meeting, were with
     surprising unanimity agreed upon. The colonies though formerly agitated with local
     prejudices, jealousies and aversions, were led to assemble together in a general diet,
     and to feel their weight and importance in a common union. Within four months from
     the day on which the first intelligence of the Boston port bill reached America, the
     deputies of eleven provinces had convened in Philadelphia, and in four days more, by
     the arrival of delegates from North-Carolina, there was a complete representation of
     twelve colonies, containing three millions of people, disseminated over 260,000
     square miles of territory. Some of the delegates were appointed by the constitutional
     assemblies[;] in other provinces, where they were embarrassed by royal governors,
     the appointments were made in voluntary meetings of the people. Perhaps there never
     was a body of delegates more faithful to the interest of their constituents than the
     Congress of 1774. The public voice elevated none to a seat in that august assembly,
     but such as in addition to considerable abilities, possessed that ascendancy over the
     minds of their fellow citizens, which can neither be acquired by birth nor purchased
     by wealth. The instructions given to these deputies were various, but in general they
     contained strong professions of loyalty, and of constitutional dependence on the
     Mother Country: the framers of them acknowledged the prerogatives of the crown,
     and disclaimed every wish of separation from the Parent State. On the other hand,
     they were firm in declaring that they were entitled to all the rights of British born




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     subjects, and that the late acts respecting Massachusetts were unconstitutional and
     oppressive.

     They particularly stated their grievances, and for the most part       1774
     concurred in authorising their deputies to concert and agree to
     such measures in behalf of their constituents [134], as in their joint opinion would be
     most likely to obtain a redress of American grievances, ascertain American rights, on
     constitutional principles, and establish union and harmony between Great-Britain and
     the colonies. Of the various instructions, on this occasion, those which were drawn up
     by a convention of delegates, from every county in the province of Pennsylvania, and
     presented by them in a body to the constitutional assembly, were the most precise and
     determinate. By these it appears, that the Pennsylvanians were disposed to submit to
     the acts of navigation, as they then stood, and also to settle a certain annual revenue
     on his majesty, his heirs and successors, subject to the control of parliament, and to
     satisfy all damages done to the East-India company, provided their grievances were
     redressed, and an amicable compact was settled, which, by establishing American
     rights in the manner of a new Magna Charta, would have precluded future disputes.

     Of the whole number of deputies, which formed the Continental Congress, of 1774,
     one half were lawyers. Gentlemen of that profession had acquired the confidence of
     the inhabitants by their exertions in the common cause. The previous measures in the
     respective provinces had been planned and carried into effect, more by lawyers than
     by any other order of men. Professionally taught the rights of the people, they were
     among the foremost to decry every attack made on their liberties. Bred in the habits of
     public speaking, they made a distinguished figure in the meetings of the people, and
     were particularly able to explain to them the tendency of the late acts of parliament.
     Exerting their abilities and influence in the cause of their country, they were rewarded
     with its confidence.

     On the meeting of Congress, they chose Peyton Randolph their president, and Charles
     Thomson their secretary. They agreed as one of the rules of their doing business, that
     no entry should be made on their journals of any propositions discussed before them,
     to which they did not finally assent.

     This august body, to which all the colonies looked up [135] for 1774
     wisdom and direction, had scarcely convened, when a dispute
     arose about the mode of conducting business, which alarmed the friends of union. It
     was contended by some, that the votes of the small provinces should not count as
     much as those of the larger ones. This was argued with some warmth and invidious
     comparisons were made between the extensive dominion of Virginia, and the small
     colonies of Delaware and Rhode-Island. The impossibility of fixing the comparative
     weight of each province, from the want of proper materials, induced Congress to
     resolve, that each should have one equal vote. The mode of conducting business being
     settled, two committees were appointed. One, to state the rights of the colonies, the
     several instances in which these rights had been violated, and the means most proper
     to be pursued for obtaining a restoration of them; the other, to examine and report the
     several statutes which affected the trade and manufactures of the colonies. The first




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     committee were farther instructed to confine themselves to the consideration of such
     rights as had been infringed since the year 1763.

     Congress soon after their meeting, agreed upon a declaration of their rights, by which
     it was among other things declared, that the inhabitants of the English colonies in
     North-America, by the immutable laws of nature, the principles of the English
     constitution, and the several charters or compacts, were entitled to life, liberty and
     property; and that they had never ceded to any sovereign power whatever, a right to
     dispose of either, without their consent.
     That their ancestors, who first settled the colonies were entitled 1774
     to all the rights, liberties and immunities of free and natural born
     subjects within the realm of England, and that by their migrating to America, they by
     no means forfeited, surrendered or lost any of those rights; that the foundation of
     English liberty, and of all free government was, a right in the people to participate in
     their legislative council, and that as the English colonists were not, and could not be
     properly represented in the British parliament, they were entitled to a free and
     exclusive power of legislation in their [136] several provincial legislatures, in all
     cases of taxation and internal polity, subject only to the negative of their sovereign.
     They then run the line, between the supremacy of parliament, and the independency
     of the colonial legislatures by provisoes and restrictions, expressed in the following
     words.

     But from the necessity of the case, and a regard to the mutual interests of both
     countries, we cheerfully consent to the operation of such acts of the British
     parliament, as are bona fide, restrained to the regulation of our external commerce, for
     the purpose of securing the commercial advantages of the whole empire to the Mother
     Country, and the commercial benefits of its respective members, excluding every idea
     of taxation; internal and external for raising a revenue on the subjects in America
     without their consent.

     This was the very hinge of the controversy. The absolute unlimited supremacy of the
     British parliament, both in legislation and taxation, was contended for on one side;
     while on the other, no farther authority was conceded than such a limited legislation,
     with regard to external commerce, as would combine the interest of the whole empire.
     In government, as well as in religion, there are mysteries from the close investigation
     of which little advantage can be expected. From the unity of the empire it was
     necessary, that some acts should extend over the whole. From the local situation of
     the colonies it was equally reasonable that their legislatures should at least in some
     matters be independent. Where the supremacy of the first ended and the independency
     of the last began, was to the best informed a puzzling question. Happy would it have
     been for both countries, had the discussion of this doubtful point never been
     attempted.

     Congress also resolved, that the colonists were entitled to the common law of
     England, and more especially to the privilege of being tried by their peers of the
     vicinage. That they were entitled to the benefit of such of the English statutes as
     existed at the time of their colonization, and which they had found to be applicable to




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     their local circumstances, and also to the immunities and privileges granted and
     confirmed to them by royal charters or secured [137] by provincial laws.
     That they had a right peaceably to assemble, consider of their         1774
     grievances, and petition the king; that the keeping a standing
     army in the colonies, without the consent of the legislature of the colony where the
     army was kept, was against law. That it was indispensibly necessary to good
     government, and rendered essential by the English constitution, that the constituent
     branches of the legislature be independent of each other, and that therefore, the
     exercise of legislative power, in several colonies by a council, appointed during
     pleasure by the crown, was unconstitutional, dangerous and destructive to the freedom
     of American legislation. All of these liberties, Congress in behalf of themselves and
     their constituents, claimed, demanded and insisted upon as their indubitable rights,
     which could not be legally taken from them, altered or abridged by any power
     whatever, without their consent. Congress then resolved, that sundry acts, which had
     been passed in the reign of George the Third, were infringements and violations of the
     rights of the colonists, and that the repeal of them was essentially necessary, in order
     to restore harmony between Great-Britain and the colonies. The acts complained of,
     were as follow: The several acts of 4 George III. ch. 15 and ch. 34; 5 Geo. III. ch. 25;
     6 Geo. III. ch. 52; 7 Geo. III. ch. 41 and ch. 46; 8 Geo. III. ch. 22 which imposed
     duties for the purpose of raising a revenue in America, extended the power of the
     admiralty courts beyond their ancient limits, deprived the American subject of trial by
     jury, authorized the judges certificate to indemnify the prosecutor from damages, that
     he might otherwise be liable to requiring oppressive security from a claimant of ships
     and goods seized before he was allowed to defend his property.

     Also 12 Geo. III. ch. 24 entitled, “An act for the better securing 1774
     his majesty’s dock yards, magazines, ships, ammunition and
     stores,” which declares a new offence in America, and deprives the American subject
     of a constitutional trial by jury of the vicinage, by authorizing the trial of any person
     charged with the committing any offence described in the said act out of the realm, to
     be indicted [138] and tried for the same in any shire or county within the realm.

     Also the three acts passed in the last session of parliament for stopping the port and
     blocking up the harbour of Boston, for altering the charter and government of
     Massachusetts Bay, and that which is entitled, “An act for the better administration of
     justice, &c.”

     Also the act passed in the same session, for establishing the Roman Catholic religion
     in the province of Quebec, abolishing the equitable system of English laws, and
     erecting a tyranny there to the great danger (from so total a dissimilarity of religion,
     law and government) of the neighbouring British colonies, by the assistance of whose
     blood and treasure the said country had been conquered from France.

     Also the act passed in the same session, for the better providing suitable quarters for
     officers and soldiers in his majesty’s service in North-America.




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     Also that the keeping a standing army in several of these colonies in time of peace,
     without the consent of the legislature of that colony in which such army was kept, was
     against law.

     Congress declared, that they could not submit to these grievous acts and measures. In
     hopes that their fellow subjects in Great-Britain would restore the colonies to that
     state in which both countries found happiness and prosperity, they resolved for the
     present only to pursue the following peaceable measures: 1st, To enter into a non-
     importation, non-consumption and non-exportation agreement or association; 2d, To
     prepare an address to the people of Great-Britain, and a memorial to the inhabitants of
     British America; and 3dly, to prepare a loyal address to his majesty.

     By the association they bound themselves and their constituents, 1774

     from and after the 1st day of December next, not to import into British America, from
     Great-Britain or Ireland, any goods, wares or merchandize, whatsoever; not to
     purchase any slave, imported after the said first day of December; not to purchase or
     use any tea, imported on account of the East-India company, or [139] any on which a
     duty hath been or shall be paid; and from and after the first day of the next ensuing
     March, neither to purchase or use any East-India tea whatever. That they would not
     after the tenth day of the next September, if their grievances were not previously
     redressed, export any commodity whatsoever, to Great-Britain, Ireland or the West-
     Indies, except rice to Europe. That the merchants should, as soon as possible, write to
     their correspondents in Great-Britain and Ireland, not to ship any goods to them on
     any pretence whatever; and if any merchant there, should ship any goods for America,
     in order to contravene the non-importation agreement, they would not afterwards have
     any commercial connexion with such merchant; that such as were owners of vessels,
     should give positive orders to their captains and masters, not to receive on board their
     vessels, any goods prohibited by the said non-importation agreement; that they would
     use their endeavors to improve the breed of sheep and increase their numbers to the
     greatest extent; that they would encourage frugality, oeconomy and industry, and
     promote agriculture, arts and American manufactures; that they would discountenance
     and discourage every species of extravagance and dissipation, and that on the death of
     relations or friends, they would wear no other mourning than a small piece of black
     crape or ribbon; that such as were venders of goods, should not take any advantage of
     the scarcity so as to raise their prices; that if any person should import goods after the
     first day of December, and before the first day of February, then next ensuing, the
     same ought to be immediately reshipped or delivered up to a committee to be stored
     or sold: in the last case, all the clear profits to be applied towards the relief of the
     inhabitants of Boston; and that if any goods should be imported after the first day of
     February, then next ensuing, they should be sent back without breaking any of the
     packages; that committees be chosen in every county, city and town, to observe the
     conduct of all persons touching the association, and to publish in gazettes, the names
     of the violaters of it, as foes to the rights of British America; that the committees of
     correspondence [140] in the respective colonies frequently inspect the entries of their
     custom houses, and inform each other from time to time of the true state thereof; that
     all manufactures of America should be sold at reasonable prices; and no advantages
     be taken of a future scarcity of goods; and lastly, that they would have no dealings or



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     intercourse whatever, with any province or colony of North-America, which should
     not accede to, or should violate the aforesaid associations.

     These several resolutions, they bound themselves and their constituents, by the sacred
     ties of virtue, honour and love of their country, to observe till their grievances were
     redressed.

     In their address to the people of Great-Britain they complimented them for having at
     every hazard maintained their independence, and transmitted the rights of man and the
     blessings of liberty to their posterity, and requested them not to be surprised, that they
     who were descended from the same common ancestors, should refuse to surrender
     their rights, liberties and constitution. They proceeded to state their rights and their
     grievances, and to vindicate themselves from the charges of being seditious, impatient
     of government and desirous of independency. They summed up their wishes in the
     following words, “Place us in the same situation that we were, at the close of the last
     war, and our former harmony will be restored.”

     In the memorial of Congress to the inhabitants of the British colonies, they
     recapitulated the proceedings of Great-Britain against them, since the year 1763, in
     order to impress them with a belief, that a deliberate system was formed for abridging
     their liberties. They then proceeded to state the measures they had adopted to
     counteract this system, and gave the reasons which induced them to adopt the same.
     They encouraged them to submit to the inconveniences of non-importation and non-
     exportation by desiring them “to weigh in the opposite balance the endless miseries,
     they and their descendants must endure from an established arbitrary power.”
     They concluded with informing them “that the schemes agitated 1774
     against the colonies, had been so conducted as to render it
     prudent [141] to extend their views to mournful events, and to be in all respects
     prepared for every contingency.”

     In the petition of Congress to the king, they begged leave to lay their grievances
     before the throne. After a particular enumeration of these, they observed that they
     wholly arose from a destructive system of colony administration, adopted since the
     conclusion of the last war. They assured his majesty that they had made such
     provision for defraying the charges of the administration of justice, and the support of
     civil government, as had been judged just and suitable to their respective
     circumstances, and that for the defence, protection and security of the colonies, their
     militia would be fully sufficient in time of peace, and in case of war they were ready
     and willing, when constitutionally required, to exert their most strenuous efforts in
     granting supplies and raising forces. They said, “we ask but for peace, liberty and
     safety. We wish not a diminution of the prerogative, nor do we solicit the grant of any
     new right in our favour. Your royal authority over us, and our connexion with Great-
     Britain, we shall always carefully and zealously endeavour to support and maintain.”
     They then solicited for a redress of their grievances, which they had enumerated, and
     appealing to that Being, who searches thoroughly the hearts of his creatures, they
     solemnly professed, “that their counsels had been influenced by no other motives,
     than a dread of impending destruction.” They concluded with imploring his majesty,
     “for the honor of Almighty God, for his own glory, for the interests of his family, for



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     the safety of his kingdoms and dominions, that as the loving father of his whole
     people, connected by the same bonds of law, loyalty, faith and blood, though dwelling
     in various countries, he would not suffer the transcendent relation formed by these
     ties, to be farther violated by uncertain expectation of effects, that if attained never
     could compensate for the calamities through which they must be gained.”

     The Congress also addressed the French inhabitants of Canada. In this they stated the
     right they had on becoming English subjects, to the benefits of the English [142]
     constitution.
     They explained what these rights were, and pointed out the           1774
     difference between the constitution imposed on them by act of
     parliament, and that to which as British subjects they were entitled. They introduced
     their countryman Montesquieu, as reprobating their parliamentary constitution, and
     exhorting them to join their fellow colonists in support of their common rights. They
     earnestly invited them to join with the other colonies in one social compact, formed
     on the generous principles of equal liberty, and to this end recommended, that they
     would chuse delegates to represent them in Congress.

     All these addresses were written with uncommon ability. Coming from the heart, they
     were calculated to move it. Inspired by a love of liberty, and roused by a sense of
     common danger, the patriots of that day spoke, wrote and acted, with an animation
     unknown in times of public tranquility; but it was not so much on the probable effect
     of these addresses, that Congress founded their hopes of obtaining a redress of their
     grievances, as on the consequences which they expected from the operation of their
     non-importation, and non-exportation agreement. The success that had followed the
     adoption of a measure similar to the former, in two preceding instances, had
     encouraged the colonists to expect much from a repetition of it. They indulged, in
     extravagant opinions of the importance of their trade to Great-Britain. The measure of
     a non-exportation of their commodities was a new expedient, and from that, even
     more was expected than from the non-importation agreement. They supposed that it
     would produce such extensive distress among the merchants and manufacturers of
     Great-Britain, and especially among the inhabitants of the British West-India islands,
     as would induce their general co-operation in procuring a redress of American
     grievances. Events proved that young nations, like young people, are prone to over
     rate their own importance.

     Congress having finished all this important business, in less than October 26
     eight weeks, dissolved themselves, after giving their opinion,
     “that another Congress should be held on the 10th of May next ensuing at
     Philadelphia, unless [143] the redress of their grievances should be previously
     obtained,”
     and recommended “to all the colonies to chuse deputies as soon 1774
     as possible, to be ready to attend at that time and place, should
     events make their meeting necessary.”

     On the publication of the proceedings of Congress, the people obtained that
     information which they desired. Zealous to do something for their country, they
     patiently waited for the decision of that body, to whose direction they had resigned



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     themselves. Their determinations were no sooner known, than they were cheerfully
     obeyed. Though their power was only advisory, yet their recommendations were more
     generally and more effectually carried into execution, than the laws of the best
     regulated states. Every individual felt his liberties endangered, and was impressed
     with an idea, that his safety consisted in union. A common interest in warding off a
     common danger, proved a powerful incentive to the most implicit submission;
     provincial congresses and subordinate, committees were every where instituted. The
     resolutions of the Continental Congress, were sanctioned with the universal
     approbation of these new representative bodies, and institutions were formed under
     their direction to carry them into effect.

     The regular constitutional assemblies also gave their assent to the measures
     recommended. The assembly of New-York, was the only legislature which withheld
     its approbation. Their metropolis had long been head quarters of the British army in
     the colonies, and many of their best families were connected with people of influence
     in Great-Britain. The unequal distribution of their land, fostered an aristocratic spirit.
     From the operation of these and other causes, the party for royal government, was
     both more numerous and respectable in New-York, than in any of the other colonies.

     The assembly of Pennsylvania, though composed of a majority of Quakers, or of
     those who were friendly to their interests, was the first legal body of representatives
     that ratified unanimously the acts of the general Congress.
     They not only voted their approbation of what that [144] body        1774
     had done, but appointed members to represent them in the new
     Congress, proposed to be held on the 10th day of May next ensuing, and took sundry
     steps to put the province in a posture of defence.

     To relieve the distresses of the people of Boston, liberal collections were made
     throughout the colonies, and forwarded for the supply of their immediate necessities.
     Domestic manufactures were encouraged, that the wants of the inhabitants from the
     non-importation agreement might be diminished, and the greatest zeal was discovered
     by a large majority of the people, to comply with the determinations of these new
     made representative bodies. In this manner, while the forms of the old government
     subsisted, a new and independent authority was virtually established. It was so
     universally the sense of the people, that the public good required a compliance with
     the recommendations of Congress, that any man who discovered an anxiety about the
     continuance of trade and business, was considered as a selfish individual, preferring
     private interest to the good of his country. Under the influence of these principles, the
     intemperate zeal of the populace, transported them frequently so far beyond the limits
     of moderation, as to apply singular punishments to particular persons, who
     contravened the general sense of the community.

     The British ministry were not less disappointed than mortified at this unexpected
     combination of the colonies. They had flattered themselves with a belief, that the
     malcontents in Boston were a small party headed by a few factious men, and that the
     majority of the inhabitants would arrange themselves on the side of government, as
     soon as they found Great-Britain determined to support her authority, and should even
     Massachusetts take part with its offending capital, they could not believe that the



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     other colonies would make a common cause in supporting so intemperate a colony:
     but should even that expectation fail, they conceived that their association must be
     founded on principles so adverse to the interests and feelings of individuals, that it
     could not be of long duration.
     They were encouraged in these ill founded opinions by [145] the 1774
     recollection that the colonies were frequently quarrelling about
     boundaries, clashing in interest, differing in policy, manners, customs, forms of
     government and religion, and under the influence of a variety of local prejudices,
     jealousies and aversions. They also remembered the obstacles which prevented the
     colonies from acting together, in the execution of schemes, planned for their own
     defence, in the late war against the French and Indians. The failure of the expected co-
     operation of the colonies in one uniform system at that time, was not only urged by
     the British ministry, as a reason for parliamentary control over the whole, but flattered
     them with a delusive hope, that they never could be brought to combine their counsels
     and their arms. Perhaps the colonists apprehended more danger from British
     encroachments on their liberties, than from French encroachment on Indian territories,
     in their neighbourhood: or more probably the time to part being come, the Governor
     of the Universe, by a secret influence on their minds, disposed them to union. From
     whatever cause it proceeded, it is certain, that a disposition to do, to suffer, and to
     accommodate, spread from breast to breast, and from colony to colony, beyond the
     reach of human calculation. It seemed as though one mind inspired the whole. The
     merchants put far behind them the gains of trade, and cheerfully submitted to a total
     stoppage of business, in obedience to the recommendations of men, invested with no
     legislative powers. The cultivators of the soil, with great unanimity assented to the
     determination, that the hard earned produce of their farms, should remain unshipped,
     although in case of a free exportation, many would have been eager to have purchased
     it from them, at advanced prices. The sons and daughters of ease, renounced imported
     conveniences, and voluntarily engaged to eat, drink, and wear, only such articles as
     their country afforded. These sacrifices were made, not from the pressure of present
     distress, but on the generous principle of sympathy, with an invaded sister colony, and
     the prudent policy of guarding against a precedent which might, in a future day,
     operate against their liberties.

     [146]
     This season of universal distress, exhibited a striking proof, how 1774
     practicable it is for mankind to sacrifice ease, pleasure, and
     interest, when the mind is strongly excited by its passions. In the midst of their
     sufferings, cheerfulness appeared in the face of all the people. They counted every
     thing cheap in comparison with liberty, and readily gave up whatever tended to
     endanger it. A noble strain of generosity and mutual support was generally excited. A
     great and powerful diffusion of public spirit took place. The animation of the times,
     raised the actors in these scenes above themselves, and excited them to deeds of self
     denial, which the interested prudence of calmer seasons can scarcely credit.




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     CHAPTER V

     Transactions In Great-Britain, In Consequence Of The
     Proceedings Of Congress, In 1774.
     Some time before the proceedings of Congress reached England, it was justly
     apprehended that a non-importation agreement would be one of the measures they
     would adopt. The ministry apprehending that this event, by distressing the trading and
     manufacturing towns, might influence votes against the court, in the election of a new
     parliament, which was of course to come on in the succeeding year, suddenly
     dissolved the parliament, and immediately ordered a new one to be chosen. It was
     their design to have the whole business of elections over, before the inconveniences of
     a non-importation agreement could be felt. The nation was thus surprised into an
     election without knowing that the late American acts, had driven the colonies into a
     firm combination, to support, and make a common cause, with the people of
     Massachusetts. A new parliament was returned, which met in thirty-four days after the
     proceedings of Congress were first published in Philadelphia, and before they were
     known in Great-Britain.
     This, for the most part consisted, either of the former members, 1774
     or of those who held similar sentiments.

     [147] On the 30th of November, the king in his speech to his new parliament
     informed them,

     that a most daring spirit of resistance and disobedience to the laws, unhappily
     prevailed in the province of Massachusetts, and had broke forth in fresh violences of a
     very criminal nature, and that these proceedings had been countenanced and
     encouraged in his other colonies, and unwarrantable attempts had been made to
     obstruct the commerce of his kingdoms by unlawful combinations, and that he had
     taken such measures, and given such orders as he judged most proper and effectual,
     for carrying into execution the laws which were passed in the last session of the late
     parliament, relative to the province of Massachusetts.

     An address which was proposed in the house of commons in answer to this speech,
     produced a warm debate. The minister was reminded of the great effects he had
     predicted from the late American acts. “They were to humble that whole continent,
     without further trouble, and the punishment of Boston, was to strike so universal a
     panic on all the colonies, that it would be totally abandoned, and instead of obtaining
     relief, a dread of the same fate would awe the other provinces to a most respectful
     submission.” An address re-echoing the royal speech, was nevertheless carried by a
     great majority. A similar address was carried, after a spirited debate, in the upper
     house, but the lords Richmond, Portland, Rockingham, Stamford, Stanhope,
     Torrington, Ponsonby, Wycombe and Camden, entered a protest against it, which
     concluded with these remarkable words.




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     Whatever may be the mischievous designs, or the inconsiderate temerity which leads
     others to this desperate course, we wish to be known as persons who have
     disapproved of measures so injurious in their past effects, and future tendency, and
     who are not in haste, without enquiry or information, to commit ourselves in
     declarations, which may precipitate our country into all the calamities of a civil war.

     Soon after the meeting of the new parliament, the proceedings of the Congress
     reached Great-Britain.
     The first impression made by them, was in favour of [148]            1774
     America. Administration seemed to be staggered, and their
     opposers triumphed, in the eventual truth of their prediction, that an universal
     confederacy to resist Great-Britain, would be the consequence of the late American
     acts. The secretary of state, after a days perusal, during which a council was held, said
     that the petition of Congress to the King, was a decent and proper one. He also
     cheerfully undertook to present it, and afterwards reported, that his majesty was
     pleased very graciously to receive it, and to promise to lay it before his two houses of
     parliament. From these favourable circumstances, the sanguine friends of America,
     concluded that it was intended to make the petition, the foundation of a change of
     measures, but these hopes were of short duration.

     The warmer partisans of administration, placed so much confidence in the efficacy of
     the measures, they had lately taken to bring the Americans to obedience, that they
     regarded the boldest resolutions of Congress, as the idle clamors of an unruly
     multitude, which proper exertions on the part of Great-Britain would speedily silence.
     So much had been asserted and contradicted by both parties, that the bulk of the
     people could form no certain opinion, on the subject.

     The parliament adjourned for the christmas holidays, without coming to any decision
     on American affairs.
     As soon as they met in January, a number of papers, containing 1775
     information, were laid before them. These were mostly letters
     from governors, and other servants of his majesty, which detailed the opposition of
     the colonists, in language calculated to give a bad impression of their past conduct,
     and an alarming one of their future intentions.

     It was a circumstance unfavourable to the lovers of peace, that the rulers of Great-
     Britain received almost the whole of their American intelligence from those, who had
     an interest in deceiving them. Governors, judges, revenue-officers, and other royal
     servants, being both appointed and paid by Great-Britain, fancied that zeal for the
     interest of that country, would be the most likely way to ensure their farther
     promotion. They were therefore, [149] in their official dispatches, to government,
     often tempted to abuse the colonists, with a view of magnifying their own
     watchfulness and recommending themselves to Great-Britain. The plain, simple
     language of truth, was not acceptable to courtly ears. Ministers received and caressed
     those, and those only, whose representations coincided with their own views and
     wishes. They who contended that by the spirit of the English constitution British
     subjects, residing on one side of the Atlantic, were entitled to equal privileges with




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     those who resided on the other, were unnoticed, while the abettors of ministerial
     measures were heard with attention.

     In this hour of national infatuation lord Chatham, after a long       Jan. 20
     retirement, resumed his seat in the house of lords, and exerted his
     unrivalled eloquence, in sundry attempts to dissuade his countrymen from attempting
     to subdue the Americans by force of arms. The native dignity of his superior genius,
     and the recollection of his important services, entitled him to distinguished notice. His
     language, voice, and gesture, were calculated to force conviction on his hearers.
     Though venerable for his age, he spoke with the fire of youth. He introduced himself
     with some general observations on the importance of the American quarrel. He
     enlarged on the dangerous events that were coming on the nation, in consequence of
     the present dispute. He arraigned the conduct of ministers with great severity, and
     reprobated their whole system of American politics, and moved that an humble
     address, be presented to his majesty, most humbly to advise and beseech him to
     dispatch orders to general Gage, to remove his majesty’s forces from the town of
     Boston. His lordship supported this motion in a pathetic animated speech, but it was
     rejected by a great majority. From this and other circumstances it soon became
     evident, that the Americans could expect no more favour from the new parliament,
     than they had experienced from the late one.
     A majority in both houses was against them, and resolved to           1775
     compel them to obedience; but a respectable minority in their
     favour was strongly seconded by petitions from the merchants and manufacturers,
     [150] throughout the kingdom, and particularly by those of London and Bristol. As
     these were well apprised of the consequences that must follow from a prosecution of
     coercive measures, and deeply interested in the event, they made uncommon exertions
     to prevent their adoption. They circumstantially pointed out the various evils that
     would result from them, and faithfully warned their countrymen of the danger, to
     which their commercial interests were exposed.

     When the petition from the merchants of London was read in the house of commons,
     it was moved to refer it to the committee appointed to take into consideration the
     American papers; but it was moved by way of amendment on the ministerial side, that
     it should be referred to a separate committee, to meet on the 27th, the day succeeding
     that appointed for the consideration of American papers. This, though a dishonorable
     evasion, was carried by a majority of more than two to one.

     A similar fate attended the petitions from Bristol, Glasgow, Norwich, Liverpool,
     Manchester, Birmingham, Woolverhampton, Dudley, and some other places. These
     on their being presented, were in like manner consigned to what the opposition
     humorously termed, the committee of oblivion.

     About the same time a petition was offered from Mr. Bollan, Dr. Franklin, and Mr.
     Lee, stating that they were authorized by Congress to present their petition to the king,
     which his majesty had referred to that house, and that they were enabled to throw
     great light on the subject, and praying to be heard at the bar, in support of the said
     petition. The friends of the ministry alledged, that as Congress was not a legal body,
     nothing could be received from them. It was in vain replied, that the Congress,



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     however illegal as to other purposes, was sufficiently legal for presenting a petition,
     and that as it was signed by the individual members of Congress, it might be received
     as a petition from individuals. That the signers of it were persons of great influence in
     America, and it was the right of all subjects to have their petitions heard.

     [151]
     In the course of the debate on Lord Chatham’s motion for               1775
     addressing his majesty to withdraw his troops from Boston, it
     had been observed by some lords in administration, that it was common and easy to
     censure their measures, but those who did so, proposed nothing better.
     Lord Chatham answered, that he should not be one of those idle Feb. 1st
     censurers, that he had thought long and closely upon the subject,
     and purposed soon to lay before their lordships the result of his meditations, in a plan
     for healing the differences between Great-Britain and the colonies, and for restoring
     peace to the empire. When he had matured his plan, he introduced it into the house, in
     the form of a bill for settling the troubles in America. In this he proposed that the
     colonists should make a full acknowledgement of the supremacy of the legislature,
     and the superintending power of the British parliament. The bill did not absolutely
     decide on the right of taxation, but partly as a matter of grace, and partly as a
     compromise, declared and enacted, “that no tollage tax, or other charge, should be
     levied in America, except by common consent in their provincial assemblies.” It
     asserted the right of the king to send a legal army to any part of his dominions at all
     times, but declared, “that no military force could ever be lawfully employed to violate
     or destroy the just rights of the people.” It also legalised the holding a Congress in the
     ensuing May for the double purpose “of recognising the supreme legislative authority,
     and superintending power of parliament over the colonies, and for making a free grant
     to the king, his heirs and successors, of a certain and perpetual revenue, subject to the
     disposition of parliament, and applicable to the alleviation of the national debt.” On
     these conditions the bill proposed, “to restrain the powers of the admiralty courts to
     their ancient limits, and suspended for a limited time, those acts which had been
     complained of by Congress.” It proposed to place the judges in America on the same
     footing, as to the holding of their salaries and offices, with those in England, and
     secured to the colonies all the privileges, franchises, and immunities, granted by their
     several charters and constitutions.
     His lordship introduced this [152] plan with a speech, in which 1775
     he explained and supported every part of it. When he sat down,
     lord Dartmouth rose and said, “it contained matter of such magnitude as to require
     consideration, and therefore hoped, that the noble Earl did not expect their lordships
     to decide upon it by an immediate vote, but would be willing it should lie on the table
     for consideration.” Lord Chatham answered, “that he expected no more,” but lord
     Sandwich rose, and in a petulant speech opposed its being received at all, and gave his
     opinion, “that it ought immediately to be rejected with the contempt it deserved. That
     he could not believe it to be the production of any British peer—that it appeared to
     him rather the work of some American,” and turning his face towards Dr. Franklin,
     who was leaning on the bar, said, “he fancied he had in his eye the person who drew it
     up, one of the bitterest and most mischievous enemies this country had ever known.”
     This turned the eyes of many lords on the insulted American, who, with that self
     command, which is peculiar to great minds, kept his countenance unmoved. Several



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     other lords of the administration gave their sentiments also, for rejecting lord
     Chatham’s conciliatory bill, urging that it not only gave a sanction to the traiterous
     proceedings of the Congress already held, but legalised their future meeting. They
     enlarged on the rebellious temper and hostile disposition of the Americans, and said,
     “that, though the duty on tea was the pretence, the restrictions on their commerce, and
     the hopes of throwing them off, were the real motives of their disobedience, and that
     to concede now, would be to give up the point forever.”

     The Dukes of Richmond and Manchester, lord Camden, lord Lyttleton and others,
     were for receiving lord Chatham’s conciliatory bill—some from approbation of its
     principles, but others only from a regard to the character and dignity of the house.

     Lord Dartmouth who, from indecision rarely had any will or         1775
     judgment of his own, and who with dispositions for the best
     measures, could be easily prevailed upon to join in support of the worst, finding the
     opposition from [153] his coadjutors in administration unexpectedly strong, turned
     round and gave his voice with them for immediately rejecting the plan; lord Chatham,
     in reply to lord Sandwich, declared,

     the bill proposed by him to be entirely his own, but he made no scruple to declare,
     that if he were the first minister of the country, and had the care of settling this
     momentous business, he should not be ashamed of publicly calling to his assistance a
     person so perfectly acquainted with the whole of the American affairs as the
     gentleman alluded to, and so injuriously reflected upon [(]Dr. Franklin). One whom
     all Europe held in high estimation for his knowledge and wisdom, and ranked with
     her Boyles and her Newtons—who was an honour, not only to the English nation, but
     to human nature.

     The plan proposed by lord Chatham was rejected, by a majority of 64 to 32, and
     without being admitted to lie on the table. That a bill on so important a subject,
     offered by one of the first men of the age, and who, as prime minister of the nation,
     had but a few years before taken up Great-Britain when in the lowest despondency,
     and conducted her to victory and glory, through a war with two of the most powerful
     kingdoms of Europe, should be rejected without any consideration, or even a second
     reading, was not only a breach of decency, but a departure from that propriety of
     conduct which should mark the proceedings of a branch of the national legislature. It
     could not but strike every thinking American, that such legislators, influenced by
     passion, prejudice, and party spirit, many of whom were totally ignorant of the
     subject, and who would not give themselves an opportunity by a second reading, or
     farther consideration, to inform themselves better, were very unfit to exercise
     unlimited supremacy over three millions of virtuous, sensible people, inhabiting the
     other side of the globe.

     On the day after the rejection of lord Chatham’s bill, a petition was presented to the
     house of commons, from the planters of the sugar colonies residing in Great-Britain,
     and the merchants of London trading to the colonies.
     In this they stated, that the British property in [154] the West-    1775
     India islands amounted to upwards of 30 millions, and that a



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     further property of many millions was employed in the commerce created by the said
     islands, and that the profits and produce of these immense capitals which ultimately
     centered in Great-Britain, would be deranged and endangered by the continuance of
     the American troubles. The petitioners were on the 16th of the next month admitted to
     a hearing, when Mr. Glover, as their agent, ably demonstrated the folly and danger of
     persevering in the contest, but without any effect. The immediate coercion of the
     colonies was resolved upon, and the ministry would not suffer themselves to be
     diverted from its execution. They were confident of success, if they could once bring
     the controversy to the decision of arms. They expected more from conquest than they
     could promise themselves by negotiation or compromise. The free constitutions of the
     colonies and their rapid progress in population, were beheld with a jealous eye, as the
     natural means of independence. They conceived the most effectual method of
     retaining them long, would be to reduce them soon. They hoped to be able to
     extinguish remonstrance and debate by such a speedy and decisive conquest, as would
     give them an opportunity to new model the colonial constitutions, on such principles
     as would have prevented future altercations on the subject of their chartered rights.
     Every representation that tended to retard or obstruct the coercion of the colonies, was
     therefore considered as tending only to prolong the controversy. Confident of victory,
     and believing that nothing short of it would restore the peace of the empire, the
     ministry turned a deaf ear to all petitions and representations. They even presumed
     that the petitioners, when they found Great-Britain determined on war, would assist in
     carrying it on with vigour, in order to expedite the settlement of the dispute.
     They took it for granted, that when the petitioning towns were       1775
     convinced that a renewal of the commercial intercourse between
     the two countries would be sooner obtained by going on, than turning back, that the
     same interest which led them at first to petition, would lead them afterwards to
     support coercive [155] measures, as the most effectual and shortest way of securing
     commerce from all future interruptions.

     The determination of ministers to persevere was also forwarded by hopes of the
     defection of New-York from her sister colonies. They flattered themselves, that when
     one link of the continental chain gave way, it would be easy to make an impression on
     the disjointed extremities.

     Every attempt to close the breach which had been opened by the former parliament,
     having failed, and the ministry having made up their minds on the mode of
     proceeding with the colonists, their proposed plan was briefly unfolded. This was to
     send a greater force to America, and to bring in a temporary act to put a stop to all the
     foreign trade of the New England colonies, till they should make proper submissions
     and acknowledgments. An address to his majesty was at the same time moved for, to
     “beseech him to take the most effectual measures, to enforce due obedience to the
     laws and authority of the supreme legislature.”

     Truly critical was that moment to the union of the empire. A new parliament might,
     without the charge of inconsistency, have repealed acts, passed by a former one,
     which had been found inconvenient on experiment; but pride and passion, under the
     specious names of national dignity and zeal for the supremacy of parliament, induced
     the adoption of measures, for immediately compelling the submission of the colonies.



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     The repeal of a few acts of parliament would, at this time, have satisfied America.
     Though she had been extending her claims, yet she was still willing that Great-Britain
     should monopolize her trade, and that the parliament should regulate it for the
     common benefit of the empire; nor was she disposed to abridge his majesty of any of
     his usual prerogatives. This authority was sufficient for the Mother Country to retain
     the colonists in a profitable state of subordination, and yet not so much as to be
     inconsistent with their claims, or the security of their most important interests. Britain
     viewed the matter in a different light.
     To recede at this time, would be to acknowledge, that the              1775
     ministry had hitherto been in the [156] wrong, a concession
     rarely made by private persons, but more rarely still by men in public stations. The
     leading members in parliament, not distinguishing the opposition of freemen to
     unconstitutional innovations, from the turbulence of licentious mobs breaking over
     the bounds of law and constitution, supposed that to redress grievances, was to
     renounce sovereignty. This inference, in some degree, resulted from the broad basis
     which they had assigned to the claims of the Mother Country. If, as was contended, on
     the part of Great-Britain, they had a right to bind the colonies in all cases whatsoever,
     and the power of parliament over them was absolute and unlimited, they were
     precluded from rescinding any act of theirs, however oppressive, when demanded as a
     matter of right. They were too highly impressed with ideas of their unlimited authority
     to repeal any of their laws, on the principle, that they had not a constitutional power to
     enact them, and too unwise to adopt the same measure on the ground of political
     expediency. Unfortunately for both countries, two opinions were generally believed,
     neither of which was perhaps true in its utmost extent, and one of which was most
     assuredly false. The ministry and parliament of England proceeded on the idea, that
     the claims of the colonists amounted to absolute independence, and that a fixed
     resolution to renounce the sovereignty of Great-Britain was concealed, under the
     specious pretext of a redress of grievances. The Americans on the other hand, were
     equally confident that the Mother Country not only harboured designs unfriendly to
     their interests, but seriously intended to introduce arbitrary government. Jealousies of
     each other were reciprocally indulged to the destruction of all confidence, and to the
     final dismemberment of the empire.

     In discussing the measures proposed by the minister for the coercion of the colonies,
     the whole ground of the American controversy was traversed.
     The comparative merits of concession and coercion were placed 1775
     in every point of view. Some of the minority in both houses of
     parliament, pointed out the dangers that would attend a war with America—the
     likelihood of the interference of [157] other powers—the probability of losing, and
     the impossibility of gaining any thing more than was already possessed. On the other
     hand, the friends of the ministry asserted that the Americans had been long aiming at
     independence—that they were magnifying pretended grievances to cover a
     premeditated revolt—that it was the business and duty of Englishmen, at every hazard
     to prevent its completion, and to bring them back to a rememberance that their present
     greatness was owing to the Mother Country; and that even their existence had been
     purchased at an immense expence of British blood and treasure. They acknowledged
     the danger to be great, but said “it must be encountered; that every day’s delay
     increased the evil, and that it would be base and cowardly to shift off for the present



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     an unavoidable contest, which must fall with accumulated weight on the heads of their
     posterity.” The danger of foreign interference was denied, and it was contended that
     an appearance of vigorous measures, with a farther reinforcement of troops at Boston,
     would be sufficient to quell the disturbances; and it was urged, that the friends of
     government were both strong and numerous, and only waited for proper support, and
     favourable circumstances, to declare themselves.

     After long and warm debates, and one or two protests, the ministerial plans were
     carried by great majorities. In consequence thereof, on the 9th of February, 1775, a
     joint address, from both lords and commons, was presented to his majesty, in which

     they returned thanks for the communication of the papers relative to the state of the
     British colonies in America, and gave it as their opinion, that a rebellion actually
     existed in the province of Massachusetts, and beseeched his majesty that he would
     take the most effectual measures to enforce due obedience to the laws and authority of
     the supreme legislature, and begged in the most solemn manner to assure his majesty
     that it was their fixed resolution, at the hazard of their lives and properties, to stand by
     his majesty against all rebellious attempts, in the maintenance of the just rights of his
     majesty, and the two houses of parliament.

     [158]
     The lords, Richmond, Craven, Archer, Abergaveny,             1775
     Rockingham, Wycombe, Courtenay, Torrington, Ponsonby,
     Cholmondeley, Abingdon, Rutland, Camden, Effingham, Stanhope, Scarborough,
     Fitzwilliam and Tankerville, protested against this address,

     as founded on no proper parliamentary information, being introduced by refusing to
     suffer the presentation of petitions against it (though it be the undoubted right of the
     subject to present the same)—as following the rejection of every mode of
     conciliation—as holding out no substantial offer of redress of grievances, and as
     promising support to those ministers who had inflamed America, and grossly
     misconducted the affairs of Great-Britain.

     By the address, against which this protest was entered, the parliament of Great-Britain
     passed the Rubicon. In former periods, it might be alledged that the claims of the
     colonies were undefined, and that their unanimous resolution to defend them was
     unknown; but after a free representation from twelve provinces had stated their rights,
     and pledged themselves to each other to support them, and their determinations were
     known, a resolution that a rebellion actually existed, and that at the hazard of their
     lives and properties, they would stand by his majesty against all rebellious attempts,
     was a virtual declaration of war. Both parties were now bound in consequence of their
     own acts, to submit their controversy to the decision of arms. Issue was joined by the
     approbation Congress had given to the Suffolk resolves, and by this subsequent joint
     address of both houses of parliament to his majesty. It is probable that neither party,
     in the beginning, intended to go thus far, but by the inscrutable operations of
     providence, each was permitted to adopt such measures as not only rent the empire,
     but involved them both, with their own consent, in all the calamities of a long and
     bloody war. The answer from the throne to the joint address of parliament, contained



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     assurances of taking the most speedy and effectual measures for enforcing due
     obedience to the laws, and authority of the supreme legislature.
     This answer was accompanied with a message to the commons, 1775
     in [159] which they were informed that some augmentation to
     the forces by sea and land would be necessary. An augmentation of 4383 men to the
     land forces, and of 2000 seamen, to be employed for the ensuing year, was
     accordingly asked for, and carried without difficulty. By the first it was stated, that the
     force at Boston would be ten thousand men, a number supposed to be sufficient for
     enforcing the laws. Other schemes, in addition to a military force, were thought
     advisable for promoting the projected coercion of the colonies.
     With this view a punishment was proposed, so universal in its          Feb. 10
     operation, that it was expected the inhabitants of the New-
     England colonies, to obtain a riddance of its heavy pressure, would interest
     themselves in procuring a general submission to parliament. Lord North moved for
     leave to bring in a bill to restrain the trade and commerce of the provinces of
     Massachusetts Bay, and New-Hampshire, the colonies of Connecticut and Rhode-
     Island, and Providence Plantations in North-America, to Great-Britain, Ireland, and
     the British islands in the West-Indies, and to prohibit such provinces and colonies
     from carrying on any fishery on the banks of Newfoundland, or other places therein to
     be mentioned, under certain conditions, and for a limited time. The motion for this bill
     was supported, by declaring that as the Americans had refused to trade with the
     Mother Country, they ought not to be permitted to trade with any other. It was known
     that the New-England colonies earned on a circuitous trade and fishing, on the banks
     of Newfoundland, to a great extent. To cut them off from this resource, they were
     legislatively forbidden to fish, or to carry on foreign trade. It was presumed that the
     wants of a large body of people, deprived of employment, would create a clamor in
     favour of reconciliation.

     The British ministry expected to excite the same temper in the unemployed New-
     England men, that Congress meant to raise by the non-importation agreement, among
     the British merchants and manufacturers. The motion for this bill brought into view,
     the whole of the American controversy.
     The opposers of it said, that its cruelty [160] exceeded the         1775
     examples of hostile rigour with avowed enemies; for that in the
     most dangerous wars, the fishing craft was universally spared—they desired the
     proposer of the bill to recollect, that he had often spoken of the multitude of friends he
     had in those provinces, and that now he confounded the innocent with the
     guilty—friends with enemies, and involved his own partizans in one common ruin
     with his opposers. They alledged farther, that the bill would operate against the people
     of Great-Britain, as the people of New England were in debt to them, and had no other
     means of paying that debt, but through the fishery, and the circuitous trade dependent
     on it. It was observed, that the fishermen being cut off from employment must turn
     soldiers, and that therefore while they were provoking the Americans to resistance by
     one set of acts, they were furnishing them with the means of recruiting an army by
     another. The favourers of the bill denied the charge of severity, alledging that the
     colonists could not complain of any distress the bill might bring on them, as they not
     only deserved it, but had set the example, that they had entered into lawful
     combinations to ruin the merchants and manufacturers of Great-Britain. It was said,



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     that if any foreign power had offered a similar insult or injury, the whole nation would
     have demanded satisfaction. They contended that it was a bill of humanity and mercy;
     for, said they, the colonists have incurred all the penalties of rebellion, and are liable
     to the severest military execution. Instead of inflicting the extent of what they
     deserved, the bill only proposes to bring them to their senses, by restricting their
     trade. They urged farther that the measure was necessary, for said they, “the
     Americans have frequently imposed on us, by threatening to withdraw their trade,
     hoping through mercantile influence to bend the legislature to their demands—that
     this was the third time they had thrown the commerce of Great-Britain into a state of
     confusion. That both colonies and commerce were better lost than preserved on such
     terms.[”] They added farther, that they must either relinquish their connexion with
     America, or fix it on such a basis as would prevent [161] a return of these evils.
     They admitted the bill to be coercive, but said, “That the             1775
     coercion which put the speediest end to the dispute, was
     eventually the most merciful.”

     In the progress of the bill, a petition from the merchants and traders of London, who
     were interested in the American commerce, was presented against it. They were heard
     by their agent, Mr. David Barclay, and a variety of witnesses were examined before
     the house. In the course of their evidence it appeared that in the year 1764, the four
     provinces of New-England employed in their several fisheries no less than 45,880 ton
     of shipping, and 6002 men; and that the produce of their fisheries that year, in foreign
     markets, amounted to 322,220£. 16s. sterling. It also appeared that the fisheries had
     very much increased since that time—that all the materials used in them, except salt,
     and the timber of which the vessels were built, were purchased from Great-Britain;
     and that the net proceeds of the whole were remitted thither. All this information was
     disregarded.
     After much opposition in both houses, and a protest in the house March 30
     of lords, the bill was, by a great majority, finally ratified. So
     intent was the ministry and parliament on the coercion of the colonists, that every
     other interest was sacrificed to its accomplishment. They conceived the question
     between the two countries to be simply whether they should abandon their claims, and
     at once give up all the advantages arising from sovereignty and commerce, or resort to
     violent measures for their security.

     Since the year 1769, when a secretary of state officially disclaimed all views of an
     American revenue, little mention had been made of that subject, but the decided
     majority which voted with the ministry on this occasion, emboldened lord North once
     more to present it to the view of his countrymen; he therefore brought into parliament
     a scheme which had the double recommendation of holding forth the semblance of
     conciliation, and the prospect of an easement of British taxes, by a productive revenue
     from the colonies. This was a resolution which passed on the 20th of February.

     [162]
     Resolved, That when the governor, council, and assembly, or         1775
     general court, of any of his majesty’s provinces or colonies in
     America, shall propose to make provision according to the condition, circumstances,
     and situations of such province or colony, for contributing their proportion for the



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     common defence, (such proportion to be raised under the authority of the general
     court or general assembly of such province or colony, and disposable by parliament)
     and shall engage to make provision also for the support of the civil government, and
     the administration of justice in such province or colony, it will be proper, if such
     proposal shall be approved by his majesty and the two houses of parliament, and for
     so long as such provision shall be made accordingly, to forbear, in respect of such
     province or colony, to levy any duty, tax, or assessment, except only such duties as it
     may be expedient to continue to levy or to impose for the regulation of commerce, the
     net produce of the duties last mentioned, to be carried to the account of such province
     or colony respectively.

     This was introduced by the minister in a long speech, in which he asserted that it
     would be an infallible touch stone to try the Americans; “if” said he, “their opposition
     is only founded on the principles which they pretend, they must agree with this
     proposition, but if they have designs in contemplation different from those they avow,
     their refusal will convict them of duplicity.” The oppositions to the minister’s motion
     originated among those who had supported him in previous questions. They objected
     to the proposal that in effect it was an acknowledgment of something grievous in the
     idea of taxing America by parliament, and that it was therefore a departure from their
     own principles. They contended that it was improper to make concessions to rebels
     with arms in their hands, or to enter into any measures for a settlement with the
     Americans, in which they did not, as a preliminary, acknowledge the supremacy of
     parliament.
     The minister was likely to be deserted by some of his partizans, 1775
     till others explained the consistency of the scheme with their
     former declarations. [163] It was asked, “what shall parliament lose by acceding to
     this resolution? Not the right of taxing America, for this is most expressly reserved.
     Not the profitable exercise of this right, for it proposed to enforce the only essential
     part of taxation, by compelling the Americans to raise not only what they, but what
     we, think reasonable. We are not going to war for trifles and a vain point of honor, but
     for substantial revenue.” The minister farther declared, that he did not expect his
     proposition to be generally relished by the Americans. But said he, if it does no good
     in the colonies, it will do good here, it will unite the people of England, by holding
     out to them a distinct object of revenue. He added farther, as it tends to unite England,
     it is likely to disunite America, for if only one province accepts the offer, their
     confederacy, which only makes them formidable, will be broken.

     The opposers of ministry attacked the proposition with the combined force of wit and
     argument. They animadverted on the inconsistency of holding forth the same
     resolution as a measure of concession, and as an assertion of authority. They
     remarked that hitherto it had been constantly denied that they had any contest about
     an American revenue—that the whole had been a dispute about obedience to trade-
     laws, and the general legislative authority of parliament, but now ministers suddenly
     changed their language, and proposed to interest the nation—console the
     manufacturers and animate the soldiery, by persuading them that it is not a contest for
     empty honour, but for the acquisition of a substantial revenue. It was said that the
     Americans would be as effectually taxed, without their consent, by being compelled
     to pay a gross sum, as by an aggregate of small duties to the same amount. That this



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     scheme of taxation exceeded in oppression any that the rapacity of mankind had
     hitherto devised. In other cases a specific sum was demanded, and the people might
     reasonably presume that the remainder was their own; but here they were wholly in
     the dark as to the extent of the demand.

     This proposition, however for conciliation, though illy [164]         1775
     relished by many of the friends of ministry, was carried on a
     division of 274 to 88. On its transmission to the colonies, it did not produce the effects
     of disunion expected from it. It was unanimously rejected. The reason for this cannot
     be expressed better than in the act of Congress on that subject, which after a recital of
     the said conciliatory motion, proceeded in the following words,

     The Congress took the said resolution into consideration, and are thereupon of
     opinion,

     That the colonies of America are entitled to the sole and exclusive privilege of giving
     and granting their own money. That this involves a right of deliberating whether they
     will make any gift, for what purposes it shall be made, and what shall be its amount;
     and that it is a high breach of this privilege for any body of men, extraneous to their
     Constitutions, to prescribe the purposes for which money shall be levied on them, to
     take to themselves the authority of judging of their conditions, circumstances, and
     situations, and of determining the amount of the contribution to be levied.

     That as the colonies possess a right of appropriating their gifts, so are they entitled at
     all times to enquire into their application, to see that they be not wasted among the
     venal and corrupt for the purpose of undermining the civil rights of the givers, nor yet
     be diverted to the support of standing armies, inconsistent with their freedom and
     subversive of their quiet. To propose therefore, as this resolution does, that the monies
     given by the colonies shall be subject to the disposal of parliament alone, is to propose
     that they shall relinquish this right of enquiry, and put it in the power of others to
     render their gifts ruinous, in proportion as they are liberal.

     That this privilege of giving, or of withholding our monies, is an important barrier
     against the undue exertion of prerogative, which, if left altogether without controul,
     may be exercised to our great oppression; and all history shews how efficacious is its
     intercession for redress of grievances, and re-establishment of rights, and how
     improvident it would be to part with so powerful a mediator.

     We are of opinion that the proposition contained in [165] this           1775
     resolution is unreasonable and insidious: Unreasonable, because,
     if we declare we accede to it, we declare without reservation, we will purchase the
     favour of parliament, not knowing at the same time at what price they will please to
     estimate their favour; it is insidious, because, individual colonies, having bid and
     bidden again, till they find the avidity of the seller too great for all their powers to
     satisfy, are then to return into opposition, divided from their sister colonies whom the
     minister will have previously detached by a grant of easier terms, or by an artful
     procrastination of a definitive answer.




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     That the suspension of the exercise of their pretended power of taxation being
     expressly made commensurate with the continuance of our gifts, these must be
     perpetual to make that so. Whereas no experience has shewn that a gift of perpetual
     revenue secures a perpetual return of duty or of kind disposition. On the contrary, the
     parliament itself, wisely attentive to this observation, are in the established practice of
     granting their supplies from year to year only.

     Desirous, and determined as we are to consider, in the most dispassionate view, every
     seeming advance towards a reconciliation made by the British parliament, let our
     brethren of Britain reflect what would have been the sacrifice to men of free spirits
     had even fair terms been proffered, as these insidious proposals were, with
     circumstances of insult and defiance. A proposition to give our money; accompanied
     with large fleets and armies, seems addressed to our fears rather than to our freedom.
     With what patience would Britons have received articles of treaty from any power on
     earth when born on the point of a bayonet by military Plenipotentiaries?

     We think the attempt unnecessary to raise upon us by force or by threats our
     proportional contributions to the common defence, when all know, and themselves
     acknowledge, we have fully contributed, whenever called upon to do so in the
     character of freemen.

     We are of opinion it is not just that the colonies should be required to oblige
     themselves to other contributions, while Great-Britain possesses a Monopoly of their
     trade. [166]
     This of itself lays them under heavy contribution. To demand,        1775
     therefore, additional aids in the form of a tax, is to demand the
     double of their equal proportion, if we are to contribute equally with the other parts of
     the empire, let us equally with them, enjoy free commerce with the whole world. But
     while the restrictions on our trade shut to us the resources of wealth, is it just we
     should bear all other burthens, equally with those to whom every resource is open?

     We conceive that the British parliament has no right to intermeddle with our
     provisions for the support of civil government, or administration of justice. The
     provisions we have made are such as please ourselves, and are agreeable to our own
     circumstances: They answer the substantial purposes of government and of justice,
     and other purposes than these should not be answered. We do not mean that our
     people shall be burthened with oppressive taxes, to provide sinecures for the idle or
     the wicked, under colour of providing for a civil list. While parliament pursue their
     plan of civil government within their own jurisdiction, we also hope to pursue ours
     without molestation.

     We are of opinion the proposition is altogether unsatisfactory; because it imports only
     a suspension of the mode, not a renunciation of the pretended right to tax us: Because
     too it does not propose to repeal the several acts of parliament, passed for the
     purposes of restraining the trade, and altering the form of government of one of our
     colonies; extending the boundaries and changing the government of Quebec;
     enlarging the jurisdiction of the courts of admiralty and vice-admiralty; taking from us
     the rights of a trial by jury of the vicinage, in cases affecting both life and property;



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     transporting us into other countries to be tried for criminal offences; exempting by
     mock-trial the murderers of colonists from punishment; and quartering soldiers on us
     in times of profound peace. Nor do they renounce the power of suspending our own
     legislatures, and for legislating for us themselves, in all cases whatsoever. On the
     contrary, to shew they mean no discontinuance of injury, they pass acts, at the very
     [167] time of holding out this proposition, for restraining the commerce and fisheries
     of the provinces of New-England, and for interdicting the trade of other colonies with
     all foreign nations, and with each other. This proves unequivocally they mean not to
     relinquish the exercise of indiscriminate legislation over us.

     Upon the whole, this proposition seems to have been held up to the world, to deceive
     it into a belief that there was nothing in dispute between us but the mode of levying
     taxes; and that the parliament having now been so good as to give up this, the colonies
     are unreasonable if not perfectly satisfied: whereas, in truth, our adversaries still claim
     a right of demanding adlibitum, and of taxing us themselves to the full amount of their
     demand, if we do comply with it. This leaves us without any thing we can call
     property. But, what is of more importance, and what in this proposal they keep out of
     sight, as if no such point was now in contest between us, they claim a right to alter our
     charters and establish laws, and leave us without any security for our lives or liberties.
     The proposition seems also to have been calculated more particularly to lull into fatal
     security, our well affected fellow subjects on the other side of the water, till time
     should be given for the operation of those arms, which a British minister pronounced
     would instantaneously reduce the “cowardly” sons of America to unreserved
     submission. But when the world reflects, how inadequate to justice are these vaunted
     terms; when it attends to the rapid and bold succession of injuries, which, during a
     course of eleven years, have been aimed at these colonies; when it reviews the pacific
     and respectful expostulations, which, during that whole time, were the sole arms we
     opposed to them; when it observes that our complaints were either not heard at all, or
     were answered with new and accumulated injuries; when it recollects that the minister
     himself on an early occasion declared, “that he would never treat with America, till he
     had brought her to his feet,” and that an avowed partisan of ministry has more lately
     denounced against us the dreadful sentence “delenda est Carthago,” that this was
     done [168] in presence of a British senate, and being unreproved by them,
     must be taken to be their own sentiment, (especially as the           1775
     purpose has already in part been carried into execution, by their
     treatment of Boston and burning of Charlestown); when it considers the great
     Armaments with which they have invaded us, and the circumstances of cruelty with
     which these have commenced and prosecuted hostilities; when these things, we say,
     are laid together and attentively considered, can the world be deceived into an opinion
     that we are unreasonable, or can it hesitate to believe with us, that nothing but our
     own exertions may defeat the ministerial sentence of death or abject submission.

     Other plans for conciliation with the colonies, founded on principles very different
     from those which were the basis of lord North’s conciliatory motion, were brought
     forward in the house of commons, but without receiving its approbation.
     The most remarkable of these was proposed by Mr. Edmund            March 22
     Burke, in a speech which for strength of argument, extent of
     information, and sublimity of language, would bear a comparison with the most



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     finished performance that ancient or modern times have produced. In his introduction
     to this admirable speech, he examined and explained the natural and accidental
     circumstances of the colonies, with respect to situation, resources, number,
     population, commerce, fisheries and agriculture, and from those considerations
     shewed their importance. He then enquired into their unconquerable spirit of freedom;
     and he traced it to its original sources; from these circumstances he inferred the line of
     policy which should be pursued with regard to America—he shewed that all proper
     plans of government must be adapted to the feelings, established habits, and received
     opinions of the people. On these principles he reprobated all plans of governing the
     colonies by force; and proposed as the ground work of his plan, that the colonists
     should be admitted to an interest in the constitution.
     He then went into an historical detail of the manner in which        1775
     British privileges had been extended to Ireland, Wales, and the
     counties palatine of Chester and Durham—the [169] state of confusion previously to
     that event—and the happy consequences which followed it. He contended that a
     communication to the members of an interest in the constitution, was the great ruling
     principle of British government. He therefore proposed to go back to the old policy
     for governing the colonies. He was for a parliamentary acknowledgment of the legal
     competency of the colony assemblies for the support of their government in peace,
     and for public aids in time of war—and of the futility of parliamentary taxation as a
     method of supply. He stated that much had been given in the old way of colonial
     grant, that from the year 1748 to 1763, the journals of the house of commons
     repeatedly acknowledged that the colonies not only gave, but gave to satiety; and that
     from the time in which parliamentary imposition had superseded the free gifts of the
     provinces, there was much discontent, but little revenue. He therefore moved six
     resolutions affirmatory of these facts, and grounded on them resolutions for repealing
     the acts complained of by the Americans, trusting to the liberality of their future
     voluntary contributions. This plan of conciliation, which promised immediate peace to
     the whole empire, and a lasting obedience of the colonies, though recommended by
     the charms of the most persuasive eloquence, and supported by the most convincing
     arguments, was by a great majority rejected.

     Mr. D. Hartley, not discouraged by the negative which had been March 27
     given to Mr. Burke’s scheme, came forward with another for the
     same purpose. This proposed that a letter of requisition should be sent to the colonies
     by a secretary of state, on a motion from the house for a contribution to the expences
     of the whole empire. He meant to leave to the provincial assemblies the right to judge
     of the expedience of the grant—its amount and application. In confidence that the
     colonies would give freely when called on in this constitutional way, he moved to
     suspend the acts complained of by the Americans. This was also rejected. Another
     plan which shall be more particularly explained was digested in private by Dr.
     Franklin, on the part of the Americans, and Dr. Fothergill and David [170] Barclay on
     behalf of the British ministry.
     There appeared a disposition to concede some thing considerable 1775
     on both sides, but the whole came to nothing, in consequence of
     an inflexible determination to refuse a repeal of the act of parliament for altering the
     chartered government of Massachusetts; Dr. Franklin agreed, that the tea destroyed
     should be paid for—the British ministers, that the Boston port act should be repealed,



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     but the latter contended, “that the late Massachusetts acts being real amendments of
     their constitution, must for that reason be continued as well as to be a standing
     example of the power of parliament.” On the other hand it was declared by Dr.
     Franklin, “that while the parliament claimed and exercised a power of internal
     legislation for the colonies, and of altering American constitutions at pleasure, there
     could be no agreement, as that would render the Americans unsafe in every privilege
     they enjoyed, and would leave them nothing in which they could be secure.”

     This obstinate adherence to support parliament in a power of altering the laws and
     charters of the provinces, particularly to enforce their late laws for new modelling the
     chartered constitution of Massachusetts, was the fatal rock by dashing on which the
     empire broke in twain; for every other point, in dispute between the two countries,
     seemed in a fair way for an amicable compromise.

     The fishery bill was speedily followed by another, for restraining the trade and
     commerce of the colonies and provinces of New-Jersey, Pennsylvania, Maryland,
     Virginia and South-Carolina: The reasons assigned for this were the same with those
     offered for the other. These provinces had adopted the continental association. The
     British minister thought it proper, that as they had voluntarily interdicted themselves
     from trade with Great-Britain, Ireland, and the West-Indies, they should be restrained
     from it with all other parts of the world. He contended that the inhabitants of the
     colonies might render this act a dead letter, by relinquishing their own resolutions, as
     then they would meet with no restraint in carrying on trade in its ancient legal
     channel.
     It is remarkable, that three of the associated colonies, viz. New- 1775
     York, [171] Delaware and North-Carolina, were omitted in this
     restraining bill. Whatever might be the view of the British ministry for this
     discrimination, it was considered in the colonies as calculated to promote disunion
     among them. It is certain, that the colonies which were exempted from its operation,
     might have reaped a golden harvest from the exemption in their favour, had they been
     disposed to avail themselves of it. But such was the temper of the times, that a
     renunciation of immediate advantage in favour of the public was fashionable. The
     selfish passions which in seasons of peace are too often the cause of quarrels, were
     hushed by the pressure of common danger. The exempted colonies spurned the
     proffered favour, and submitted to the restraints imposed on their less favoured
     neighbours, so as to be equal sharers of their fate. The indulgence granted to New-
     York, in being kept out of this restraining bill, was considered by some as a premium
     for her superior loyalty. Her assembly had refused to approve the proceedings of the
     Congress, and had, in some other instances, discovered less warmth than the
     neighbouring legislatures. Much was expected from her moderation. At the very time
     the British parliament was framing the restraining acts just mentioned, the
     constitutional assembly of New-York petitioned the British parliament for a redress of
     their grievances. Great stress had been laid on the circumstance that Congress was not
     a legal assembly, and the want of constitutional sanction had been assigned as a
     reason for the neglect with which their petition had been treated. Much praise had
     been lavished on the colony of New-York for its moderation, and occasion had been
     taken, from their refusing to approve the proceedings of the Congress to represent the




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     resolutions and claims of that body to be more the ebullitions of incendiaries, than the
     sober sentiments of the temperate citizens.
     It was both unexpected and confounding to those who supported 1775
     these opinions, that the representation and remonstrance of the
     very loyal assembly of New-York stated, “that an exemption from internal taxation,
     and the exclusive right of providing for their own civil government, and the
     administration of justice in [172] the colony, were esteemed by them as their
     undoubted and unalienable rights.”

     A motion being made in the house of commons for bringing up this representation and
     remonstrance of the assembly of New-York, it was amended on the suggestion of lord
     North, by adding, “in which the assembly claim to themselves rights derogatory to,
     and inconsistent with the legislative authority of parliament, as declared by the
     declaratory act.” The question, so amended, being put, it passed in the negative. The
     fate of this representation extinguished the hopes of those moderate persons, both in
     the parent state and the colonies, who flattered themselves that the disputes subsisting
     between the two countries might be accommodated by the mediation of the
     constitutional assemblies. Two conclusions were drawn from this transaction, both of
     which were unfriendly to a reconciliation. The decided language with which the loyal
     assembly of New-York claimed exemption from parliamentary taxation, proved to the
     people of Great-Britain that the colonists, however they might differ in modes of
     opposition, or in degrees of warmth, were nevertheless, united in that fundamental
     principle. The rejection of their representation proved that nothing more was to be
     expected from proceeding in the constitutional channel of the legal assemblies, than
     from the new system of a continental Congress. Solid revenue and unlimited
     supremacy were the objects of Great-Britain, and exemption from parliamentary
     taxation that of the most moderate of the colonies. So wide were the claims of the two
     countries from each other, that to reconcile them on any middle ground seemed to be
     impossible.




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     APPENDIX NO. I

     Some Special Transactions Of Dr. Franklin In London, In
     Behalf Of America.
     [173]
     While the breach between Great-Britain and the colonies, was         1775
     daily increasing, the enlightened and liberal, who loved peace,
     and the extension of human happiness, saw with regret the approaching horrors of a
     civil war, and wished to avert them. With these views Dr. Fothergill, Mr. David
     Barclay and Dr. Franklin, held sundry conferences in London on American affairs.
     The two former were English gentlemen of most amiable characters, and highly
     esteemed by the British ministry. The last was by birth an American, but a citizen of
     the world, who loved and was beloved by all good men. He was also agent for several
     of the colonies. At one of their conferences held at the house of Dr. Fothergill on the
     4th December, 1774, before the proceedings of Congress had reached England—a
     paper drawn up by the last, at the request of the two first, was submitted to their joint
     consideration, which with a few additions proposed and agreed to by common consent
     was as follows.

     Hints for conversation upon the subjects of terms, that might probably produce a
     durable union between Britain and the colonies.

     1st. The tea destroyed to be paid for.

     2d. The tea duty act to be repealed, and all the duties that have been received upon it
     to be repaid into the treasuries of the several provinces from which they have been
     collected.

     3d. The acts of navigation to be all re-enacted in the colonies.

     4th. A naval officer to be appointed by the crown to see that these acts are observed.

     5th. All the acts restraining manufactories in the colonies to be reconsidered.

     6th. All duties arising on the acts for regulating trade with the colonies to be for the
     public use of the respective colonies and paid into their treasuries.

     [174]
     The collectors and custom house officers to be appointed by each 1775
     governor and not sent from England.

     7th. In consideration of the Americans maintaining their own peace establishment,
     and the monopoly Britain is to have of their commerce, no requisition is to be made
     from them in time of peace.



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     8th. No troops to enter and quarter in any colony, but with the consent of its
     legislature.

     9th. In time of war on requisition by the king with consent of parliament, every
     colony shall raise money by the following rules in proportion, viz. If Britain on
     account of the war, raises three shillings in the pound to its land tax, then the colonies
     to add to their last general provincial peace tax, a sum equal to one fourth part thereof,
     and if Britain on the same account pays four shillings in the pound, then the colonies
     to add to their last peace tax, a sum equal to the half thereof, which additional tax is to
     be granted to his majesty, and to be employed in raising and paying men for land or
     sea service, and furnishing provisions, transports, or for such other purposes as the
     king shall require and direct, and though no colony may contribute less, each may add
     as much by voluntary grant as it shall think proper.

     10th. Castle William to be restored to the province of Massachusetts Bay, and no
     fortress to be built by the crown in any province, but with the consent of its
     legislature.

     11th. The late Massachusetts and Quebec acts to be repealed, and a free government
     granted to Canada.

     12th. All judges to be appointed during good behavior, with equally permanent
     salaries to be paid out of the province revenues by appointment of the assemblies, or
     if the judges are to be appointed during the pleasure of the crown, let the salaries be
     during the pleasure of the assemblies as heretofore.

     13th. Governors to be supported by the assemblies of each province.

     14th. If Britain will give up her monopoly of the American commerce, then the aid
     above mentioned to be given in time of peace, as well as in time of war.

     [175]
     15th. The extension of the act of Henry the 8th, concerning            1775
     treasons to the colonies to be formally disowned by parliament.

     16th. The American admiralty courts to be reduced to the same powers they have in
     England, and the acts establishing them to be re-enacted in America.

     17th. All power of internal legislation in the colonies to be disclaimed by parliament.

     On reading this paper a second time, Dr. Franklin gave his reasons at length for each
     article. Some of his reasons were as follows.

     On the first article he observed, that when the tea was destroyed at Boston, Great-
     Britain had a right to reparation, and would certainly have had it on demand, as was
     the case when injuries were done by mobs in the time of the stamp act, or she might
     have a right to return an equal injury if she rather chose to do that; but Great-Britain
     could not have a right both to reparation and to return an equal injury, much less had
     she a right to return the injury ten or twenty fold, as she had done by blocking up the


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     port of Boston. All which extra injury ought to be repaired by Great-Britain. That
     therefore if paying for the tea was agreed to, as an article fit to be proposed, it was
     merely from a desire of peace, and in compliance with the opinions of Dr. Fothergill
     and David Barclay, expressed at their first meeting; that this was indispensible, that
     the dignity of Great-Britain required it, and that if this was agreed to, every thing else
     would be easy.

     On the second, it was observed that the tea duty act should be repealed as having
     never answered any good purpose, as having been the cause of the present mischief,
     and never likely to be executed. That the act being considered as unconstitutional by
     the Americans, and what parliament had no right to enact they must consider all the
     money extorted by it as so much wrongfully taken, and of which therefore restitution
     ought to be made, and the rather as it would furnish a fund out of which the tea
     destroyed would be best defrayed.

     On the third and fourth articles it was observed, that the            1775
     Americans were frequently charged with views of abolishing
     [176] the navigation act, but that in truth those parts of it, which were of most
     importance to Britain, as tending to increase its naval strength, were as acceptable to
     the colonists as they could be to the inhabitants of the Parent State, since they wished
     to employ their own ships in preference to those of foreigners, and they had no desire
     to see foreign ships enter their ports. That it would prevent disputes if they were re-
     enacted in the colonies, as that would demonstrate their consent to them, and then if
     all the duties arising on them were to be collected by officers appointed and paid in
     the respective governments, and the produce paid into their treasuries, the acts would
     be better and more faithfully executed, and at much less expence, and a great source
     of misunderstanding between the two countries removed—that the extension of the
     admiralty jurisdiction so much complained of would then no longer be necessary.

     In support of the 7th article it was observed, that if every distinct part of the king’s
     dominions supported its own government in time of peace, it was all that could justly
     be required of it. That all the other confederated colonies had done so from their
     beginning, that their taxes for that purpose were very considerable, that new countries
     had many expences which old ones were free from, the work being done to their land
     by their ancestors, such as making roads and bridges, erecting churches, courthouses,
     forts, quays and other public buildings, founding schools and places of education,
     hospitals and almshouses—that the voluntary subscriptions and legal taxes for such
     purposes taken together amounted to more than was paid by equal estates in Great-
     Britain; that it would be best not to take money from the Americans as a contribution
     to its public expence in time of peace, first for that just so much less would be got
     from them in commerce, and secondly, that coming into the hands of British ministers
     accustomed to prodigality of public money, it would be squandered and dissipated
     without answering any general good purposes.
     That on the whole it would be best for both countries, that no         1775
     aids should be asked from the colonies in time of peace, [177]
     that it would then be their interest to grant bountifully, and exert themselves, in time
     of war, the sooner to put an end to it.




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     In support of the 8th article, it was said, that if the king could bring into any one part
     of his dominions troops raised in any other part of them, without the consent of the
     legislature of the part to which they were brought, he might bring armies raised in
     America to England without the consent of parliament.

     The 9th article was drawn in compliance with an idea of Dr. Fothergill, that the
     British government would probably not be satisfied with the promise of voluntary
     grants in time of war from the American assemblies, of which the quantity must be
     uncertain, that therefore it would be best to proportion them in some way to the
     shilling in the pound raised in England.

     In support of the 10th article, was urged the injustice of seizing that fortress which
     had been built at an immense charge by the province, for the defence of their port
     against national enemies, and turning it into a citadel for awing the town, restraining
     their trade, blocking up their port, and depriving them of their privileges. That a great
     deal had been said of their injustice in destroying the tea, but here was a much greater
     injustice uncompensated, that castle having cost the province £300,000.

     In support of the 11th article, it was said, that as the Americans had assisted in the
     conquest of Canada, at a great expence of blood and treasure, they had some right to
     be considered in the settlement of it; that the establishing an arbitrary government on
     the bank of their settlements would be dangerous to them all. That as to amending the
     Massachusetts government, though it might be shewn that every one of these
     pretended amendments were real mischiefs, yet, that as charters were compacts
     between two parties, the king and the people, no alteration could be made in them
     even for the better, but by the consent of both parties; that the parliamentary claim and
     exercise of power to alter American charters, had rendered all their constitutions
     uncertain and set them [178] quite afloat.
     That by this claim of altering laws and charters at will they          1775
     deprived the colonists of all rights and privileges whatever, but
     what they should hold at their pleasure. That this was a situation they could not be in
     and must risque life and every thing rather than submit to it.

     The 12th article was explained by stating the former situation of the judges in most of
     the colonies, viz. that they were appointed by the crown and paid by the assemblies,
     that the appointment being during the pleasure of the crown, the salary had been
     during the pleasure of the assembly; that when it was urged against the assemblies
     that their making judges dependent on them for their salaries, was aiming at an undue
     influence over the courts of justice, the assemblies usually replied, that making them
     dependent on the crown for continuance in their places was also retaining an undue
     influence over those courts, and that one undue influence was a proper balance for
     another; but that whenever the crown would consent to the appointment of judges
     only during good behaviour, the assemblies would at the same time grant their salaries
     to be permanent during their continuance in office; that instead of agreeing to this
     equitable offer the crown now claimed to make the judges in the colonies dependant
     on its favour for place, as well as salary, and both to be continued at its pleasure. This
     the colonies must oppose as inequitable, as putting both the weights into one of the
     scales of justice.



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     In favour of the 123th it was urged that the governors sent to the colonies were often
     men of no estate or principle, who came merely to make fortunes, and had no natural
     regard for the country they were to govern. That to make them quite independent of
     the people, was to make them careless of their conduct, and giving a loose to their
     rapacious and oppressive dispositions. That the dependence of the governors on the
     people for their salaries could never operate to the prejudice of the king’s service, or
     to the disadvantage of Britain, since each governor was bound by a particular set of
     instructions which he had given surety to observe, and all the laws he assented [179]
     to were subject to be repealed by the crown.
     That the payment of the salaries by the people was more              1775
     satisfactory to them, and was productive of a good understanding
     between governors and governed, and that therefore the innovations lately made at
     Boston and New-York, should be laid aside.

     The 14th article was expunged on the representation of Dr. Fothergill and David
     Barclay, that the monopoly of the American commerce would never be given up, and
     that the proposing of it would only give offence, without answering any good
     purpose.

     The 15th article was readily agreed to.

     The 16th was thought to be of little consequence, if the duties were given to the
     colony treasuries.

     The 17th it was thought could hardly be obtained, but it was supported by Dr.
     Franklin, alleging that without it, any compact made with the Americans, might be
     evaded by acts of the British parliament, restraining the intermediate proceedings,
     which were necessary for carrying it into effect.

     This paper of hints was communicated to lord Dartmouth by Dr. Fothergill, who also
     stated the arguments which in conversation had been offered in support of them.
     When objections were made to them, as being humiliating to Great-Britain Dr.
     Fothergill replied “that she had been unjust, and ought to bear the consequences, and
     alter her conduct—that the pill might be bitter, but it would be salutary and must be
     swallowed; that sooner or later these or similar measures must be followed, or the
     empire would be divided and ruined.”

     These hints were handed about amongst ministers, and conferences were held on
     them. The result was on the 4th of February 1775 communicated to Dr. Franklin, in
     the presence of Dr. Fothergill and David Barclay, which as far as concerned the
     leading articles, was as follows:

     1. The first article was approved.

     2. The second agreed to so far as related to the tea act, but repayment of the duties that
     had been collected, was refused.

     3. The third not approved, as it implied a deficiency of power in the parliament that
     made the acts. [180]


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     4. The fourth approved.

     5. The fifth agreed to, but with a reserve that no change prejudicial to Britain was to
     be expected.

     6. The sixth agreed to, so far as related to the appropriation of the duties, but the
     appointment of the officers and of their salaries to remain as at present.

     7. The seventh relating to aids in time of war, agreed to.

     8. The eighth relating to troops, was inadmissible.

     9. The ninth could be agreed to with this difference, that no proportion should be
     observed with regard to preceding taxes, but each colony should give at pleasure.

     10. The tenth agreed to as to the restitution of Castle William, but the restriction on
     the crown in building fortresses refused.

     11. The eleventh refused absolutely, except as to the Boston port bill which would be
     repealed, and the Quebec act might be so far amended, as to reduce that province to
     its ancient limits. The other massachusetts acts being real amendments of their
     constitution, must for that reason be continued, as well as to be a standing example of
     the power of parliament.

     12. The twelfth agreed to, that the judges should be appointed during good behaviour,
     on the assemblies providing permanent salaries, such as the Crown should approve of.

     13. The thirteenth agreed to, provided the assemblies make provision, as in the
     preceding article.

     15. The fifteenth agreed to.

     16. The sixteenth agreed to, supposing the duties paid to the colony treasuries.

     17. The seventeenth inadmissible.

     At this interview the conversation was shortened by Dr. Franklin’s observing, that
     while the parliament claimed and exercised a power of internal legislation for the
     colonies, and of altering American constitutions, at pleasure, there could be no
     agreement, as that would render the Americans unsafe in every privilege they
     enjoyed, [181] and would leave them nothing, in which they could be secure.
     It being hinted how necessary an agreement was for America,          1775
     since it was so easy for Britain to burn all her seaport towns, Dr.
     Franklin replied,

     that the chief part of his little property consisted of houses in such towns, that they
     might make bonfires of them whenever they pleased. That the fear of losing them
     would never alter his resolution of resisting to the last extremity, that claim of
     parliament, and that it behoved Great-Britain to take care what mischief she did to



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     America, for that sooner or later she would certainly be obliged to make good all
     damages with interest.

     On the 16th of February, 1775, the three before mentioned gentlemen met, when a
     paper was produced by David Barclay entitled, “A plan which it is believed would
     produce a permanent union between Great-Britain and her colonies.[”] This, in the
     first article, proposed a repeal of the tea act, on payment being made for the tea
     destroyed. Dr. Franklin agreed to the first part, but contended that all the other
     Massachusetts acts should also be repealed, but this was deemed inadmissible. Dr.
     Franklin declared that the people of Massachusetts would suffer all the hazards and
     mischiefs of war, rather than admit the alteration of their charters and laws, by
     parliament. He was for securing the unity of the empire, by recognising the sanctity of
     charters, and by leaving the provinces to govern themselves, in their internal
     concerns, but the British ministry could not brook the idea of relinquishing their claim
     to internal legislation for the colonies, and especially to alter and amend their charters.
     The first was for communicating the vital principles of liberty to the provinces, but
     the latter though disposed to redress a few of their existing grievances, would by no
     means consent to a repeal of the late act of parliament, for altering the chartered
     government of Massachusetts, and least of all to renounce all claim to future
     amendments of charters, or of internal legislation for the colonies.

     Dr. Franklin laboured hard to prevent the breach from becoming 1775
     irreparable, and candidly stated the outlines [182] of a compact
     which he supposed would procure a durable union of the two countries, but his well
     meant endeavors proved abortive, and in the mean time he was abused as the
     fomenter of those disturbances which he was anxiously endeavouring to prevent. That
     the ministry might have some opening to proceed upon, and some salvo for their
     personal honor, he was disposed to engage, that pecuniary compensation should be
     made for the tea destroyed, but he would not give up essential liberty, for the purpose
     of procuring temporary safety. Finding the ministry bent on war, unless the colonists
     would consent to hold their rights, liberties and charters at the discretion of a British
     parliament, and well knowing that his countrymen would hazard every thing, rather
     than consent to terms so degrading as well as inconsistent with the spirit of the British
     constitution, he quitted Great-Britain in March 1775, and returned to Philadelphia. Dr.
     Fothergill, his worthy coadjutor in the great business of peace, wrote to him on the
     evening before he left London. “That whatever specious pretences were offered, they
     were all hollow, and that to get a larger field on which to fatten a herd of worthless
     parasites, was all that was intended.” With this conviction founded on personal
     observations, as well as the testimony of his esteemed friend, who in the course of his
     daily visits among the great, in the practice of his profession, had an opportunity of
     knowing their undisguised sentiments, Dr. Franklin joined his countrymen, and
     exerted his great abilities in conducting them through a war he had in vain laboured to
     prevent.




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     CHAPTER VI

     Consequences In America, Resulting From The Preceding
     Transactions Of Parliament; And Of The Commencement Of
     Hostilities.
     The year 1774 terminated in america, with an expectation that a few months would
     bring them a redress of their grievances; but the probability of that event [183] daily
     diminished.
     The colonists had indulged themselves in an expectation that the 1775
     people of Great-Britain, from a consideration of the dangers and
     difficulties of a war with their colonies, would in their election have preferred those
     who were friends to peace and a reconciliation; but when they were convinced of the
     fallacy of these hopes, they turned their attention to the means of self defence. It had
     been the resolution of many never to submit to the operation of the late acts of
     parliament. Their number daily increased, and in the same proportion that Great-
     Britain determined to enforce, did they determine to oppose. Intelligence of the
     rejection of lord Chatham’s bill, of the address of both houses of parliament to the
     king of the 9th of February, and of the fishery bill, all arrived among the colonists,
     about the same time, and diminished what remained of their first hopes of a speedy
     accommodation. The fishery bill excited a variety of emotions. The obvious tendency
     of it was to starve thousands. The severity of it did not strike an Englishman, for he
     viewed it as a merited correction for great provincial offences; but it appeared in the
     blackest colours to an American, who felt no consciousness of guilt, and who fancied
     that heaven approved his zeal in defence of liberty. It alienated the affections of the
     colonists, and produced in the breasts of thousands, a hatred of Great-Britain.

     The penal acts of parliament in 1774, were all levelled against Massachusetts, but the
     fishery bill extended to New-Hampshire, Connecticut and Rhode-Island. The reasons
     assigned for this by lord North were, that they had aided and abetted their offending
     neighbours, and were so near to them that the intentions of parliament would be
     frustrated, unless they were in like manner comprehended in the proposed restraints.
     The extension of this penal statute to three additional provinces, operated powerfully
     in favour of union, and convinced the most moderate, of the increasing necessity for
     all the provinces to make a common cause of their opposition. Whatever might be the
     designs of parliament, their acts had a natural tendency to enlarge the demands of the
     Americans, [184] and to cement their confederacy, by firm principles of union.
     At first they only claimed exemption from internal taxation, but 1775
     by the combination of the East-India company and the British
     ministry, an external tax was made to answer all the purposes of a direct internal tax.
     They therefore in consistence with their own principles, were constrained to deny the
     right of taxing in any form for a supply. Nothing could more contribute to make the
     colonists deny the parliamentary claim of internal legislation, than the manner in
     which it was exercised, in depriving them of their charters, and passing an act relative



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     to trials, which promised indemnity to murderers. This convinced them that an
     opposition to so injurious a claim was essentially necessary to their security. But they
     still admitted the power of parliament to bind their trade. This was conceded by
     Congress but a few months before an act passed that they should have no foreign
     trade, nor be allowed to fish on their own coasts. The British ministry by their
     successive acts, impelled the colonists to believe, that while the Mother Country
     retained any authority over them, that authority would, in some shape or other, be
     exerted so as to answer all the purposes of a power to tax. While Great-Britain
     stretched that portion of controlling supremacy which the colonists were disposed to
     allow her, to such an extent as covered oppression equally grievous with that which
     they would not allow, the way was fast opening for a total renunciation of her
     sovereignty. The coercive measures adopted by the Parent State, produced a
     disposition in the colonies to extend their claims, and the extension of their claims
     produced an increasing disposition in Great-Britain to coerce them still more. The
     jealousy of liberty on one side, and the desire of supremacy on the other, were
     reciprocally cause and effect; and urged both parties, the one to rise in their demands,
     and the other to enforce submission. In the contest between Great-Britain and her
     colonies, there had been a fatal progression from small to greater grounds of
     dissention. The trifling tax of 3d per pound on tea, roused the jealous inhabitants of
     Boston to throw 340 chests of it into the ocean. [185]
     This provoked the British parliament to shut up their port, and to 1775
     new model their charter. Statutes so unconstitutional and
     alarming, excited a combination in twelve of the colonies, to stop all trade with Great-
     Britain, Ireland, and the West-Indies. Their combination gave birth to the restraining
     acts of parliament, by which nine of the colonies were interdicted all other trade but
     that from which they had voluntarily excluded themselves; and four of these nine
     were farther devoted to famine, by being forbidden to fish on their coasts. Each new
     resolution on the one side, and new act on the other, reciprocally gave birth to
     something from the opposite party, that was more irritating or oppressive, than what
     had preceded.

     The beginning of strife between the Parent State and her colonies, was like the letting
     out of waters. From inconsiderable causes love was changed into suspicion that
     gradually ripened into ill will, and soon ended in hostility. Prudence, policy, and
     reciprocal interest, urged the expediency of concession; but pride, false honour, and
     misconceived dignity, drew in an opposite direction. Undecided claims and doubtful
     rights, which under the influence of wisdom and humility might have been easily
     compromised, imperceptibly widened into an irreconcileable breach. Hatred at length
     took the place of kind affections, and the calamities of war were substituted, in lieu of
     the benefits of commerce.

     From the year 1768, in which a military force had been stationed in Boston, there was
     a constant succession of insulting words, looks, and gestures. The inhabitants were
     exasperated against the soldiers, and they against the inhabitants. The former looked
     on the latter as the instruments of tyranny, and the latter on the former as seditious
     rioters, or fraudulent smugglers. In this irritable state, every incident however trifling,
     made a sensible impression. The citizens apprehended constant danger from an armed
     force, in whose power they were; the soldiers on the other hand, considered



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     themselves as in the midst of enemies, and exposed to attacks from within and from
     without.
     In proportion [186] as the breach between Great-Britain and her 1775
     colonies widened, the distrust and animosity between the people
     and the army increased. From the latter end of 1774, hostile appearances daily
     threatened that the flames of war would be kindled from the collision of such
     inflammable materials. Whatsoever was done by either party by way of precaution,
     for the purposes of self defence, was construed by the other as preparatory to an
     intended attack. Each disclaimed all intentions of commencing hostilities, but
     reciprocally manifested suspicion of the others sincerity. As far as was practicable
     without an open rupture, the plans of the one were respectively thwarted by the other.
     From every appearance it became daily more evident that arms must ultimately decide
     the contest. To suffer an army that was soon expected to be an enemy, quietly to
     fortify themselves, when the inhabitants were both able and willing to cut them off,
     appeared to some warm spirits the height of folly; but the prudence and moderation of
     others, and especially the advice and recommendation of Congress, restrained their
     impetuosity. It was a fortunate circumstance for the colonies that the royal army was
     posted in New-England. The people of that northern country have their passions more
     under the command of reason and interest, than in the southern latitudes, where a
     warmer sun excites a greater degree of irascibility. One rash offensive action against
     the royal forces at this early period, though successful, might have done great
     mischief to the cause of America. It would have lost them European friends, and
     weakened the disposition of the other colonies to assist them. The patient and the
     politic New-England men, fully sensible of their situation, submitted to many insults,
     and bridled their resentment. In civil wars or revolutions it is a matter of much
     consequence who strikes the first blow. The compassion of the world is in favour of
     the attacked, and the displeasure of good men on those who are the first to imbrue
     their hands in human blood. For the space of nine months after the arrival of general
     Gage, the behaviour of the people of Boston is particularly worthy of imitation, by
     those who wish to [187] overturn established governments.
     They conducted their opposition with exquisite address. They          1775
     avoided every kind of outrage and violence, preserved peace and
     good order among themselves, successfully engaged the other colonies to make a
     common cause with them, and counteracted general Gage so effectually as to prevent
     his doing any thing for his royal master, while by patience and moderation they
     skreened themselves from censure. Though resolved to bear as long as prudence and
     policy dictated, they were all the time preparing for the last extremity. They were
     furnishing themselves with arms and ammunition, and training their militia.

     Provisions were also collected and stored in different places, particularly at Concord,
     about 20 miles from Boston. General Gage, though zealous for his royal master’s
     interest, discovered a prevailing desire after a peaceable accommodation. He wished
     to prevent hostilities by depriving the inhabitants of the means necessary for carrying
     them on. With this view he determined to destroy the stores which he knew were
     collected for the support of a provincial army. Wishing to accomplish this without
     bloodshed, he took every precaution to effect it by surprise, and without alarming the
     country.




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     At eleven o’clock at night 800 grenadiers and light infantry, the April 18
     flower of the royal army, embarked at the Common, landed at
     Phipps’s farm, and marched for Concord, under the command of lieutenant colonel
     Smith. Neither the secrecy with which this expedition was planned—the privacy with
     which the troops marched out, nor an order that no one inhabitant should leave
     Boston, were sufficient to prevent intelligence from being sent to the country militia,
     of what was going on. About two in the morning 130 of the Lexington militia had
     assembled to oppose them, but the air being chilly and intelligence respecting the
     regulars uncertain, they were dismissed, with orders to appear again at beat of drum.
     They collected a second time to the number of 70, between 4 and 19th
     5 o’clock in the morning, and the British regulars soon after
     made their appearance. Major Pitcairn, who led the advanced corps, rode up to them
     and called out, “Disperse you [188] rebels, throw down your arms and disperse.”
     They still continued in a body, on which he advanced                 1775
     nearer—discharged his pistol—and ordered his soldiers to fire.
     This was done with a huzza. A dispersion of the militia was the consequence, but the
     firing of the regulars was nevertheless continued. Individuals finding they were fired
     upon, though dispersing, returned the fire. Three or four of the militia were killed on
     the green. A few more were shot after they had begun to disperse. The royal
     detachment proceeded on to Concord, and executed their commission. They disabled
     two 24 pounders—threw 500 lb. of ball into rivers and wells, and broke in pieces
     about 60 barrels of flour. Mr. John Butterick of Concord, major of a minute regiment,
     not knowing what had passed at Lexington, ordered his men not to give the first fire,
     that they might not be the aggressors. Upon his approaching near the regulars, they
     fired, and killed captain Isaac Davis, and one private of the provincial minute men.
     The fire was returned, and a skirmish ensued. The king’s troops having done their
     business, began their retreat towards Boston. This was conducted with expedition, for
     the adjacent inhabitants had assembled in arms, and began to attack them in every
     direction. In their return to Lexington they were exceedingly annoyed, both by those
     who pressed on their rear, and others who pouring in from all sides, fired from behind
     stone walls, and such like coverts, which supplied the place of lines and redoubts. At
     Lexington the regulars were joined by a detachment of 900 men, under lord Piercy,
     which had been sent out by general Gage to support lieutenant colonel Smith. This
     reinforcement having two pieces of cannon awed the provincials, and kept them at a
     greater distance, but they continued a constant, though irregular and scattering fire,
     which did great execution. The close firing from behind the walls by good marksmen,
     put the regular troops in no small confusion, but they nevertheless kept up a brisk
     retreating fire on the militia and minute men.
     A little after sunset the regulars reached Bunkers-hill, worn down 1775
     with excessive fatigue, having marched that day between thirty
     and forty miles. On [189] the next day they crossed Charlestown ferry, and returned to
     Boston.

     There never were more than 400 provincials engaged at one time, and often not so
     many. As some tired and gave out, others came up and took their places. There was
     scarcely any discipline observed among them. Officers and privates fired when they
     were ready, and saw a royal uniform without waiting for the word of command. Their
     knowledge of the country enabled them to gain opportunities by crossing fields and



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     fences, and to act as flanking parties against the king’s troops who kept to the main
     road.

     The regulars had 65 killed, 180 wounded, and 28 made prisoners. Of the provincials
     50 were killed, and 38 wounded and missing.

     As arms were to decide the controversy, it was fortunate for the Americans that the
     first blood was drawn in New-England. The inhabitants of that country are so
     connected with each other by descent, manners, religion, politics, and a general
     equality, that the killing of a single individual interested the whole, and made them
     consider it as a common cause. The blood of those who were killed at Lexington and
     Concord proved the firm cement of an extensive union.

     To prevent the people within Boston from co-operating with             April 22
     their countrymen without in case of an assault which was now
     daily expected, General Gage agreed with a committee of the town, that upon the
     inhabitants lodging their arms in Faneuil-hall or any other convenient place, under the
     care of the selectmen, all such inhabitants as were inclined, might depart from the
     town, with their families and effects. In five days after the ratification of this
     agreement, the inhabitants had lodged 1778 fire arms, 634 pistols, 273 bayonets and
     38 blunderbusses. The agreement was well observed in the beginning, but after a short
     time obstructions were thrown in the way of its final completion, on the plea that
     persons who went from Boston to bring in the goods of those who chose to continue
     within the town, were not properly treated. Congress remonstrated on the infraction of
     [190] the agreement, but without effect. The general, on a farther consideration of the
     consequences of moving the whigs out of Boston, evaded it in a manner not consistent
     with good faith. He was in some measure compelled to adopt this dishonourable
     measure, from the clamor of the tories, who alleged that none but enemies to the
     British government were disposed to remove, and that when they were all safe with
     their families and effects, the town would be set on fire. To prevent the provincials
     from obtaining supplies which they much wanted, a quibble was made on the meaning
     of the word effects, which was construed by the general as not including merchandize.
     By this construction, unwarranted by every rule of genuine interpretation, many who
     quitted the town were deprived of their usual resources for a support. Passports were
     not universally refused, but were given out very slowly, and the business was so
     conducted that families were divided—wives were separated from their husbands,
     children from their parents, and the aged and infirm from their relations and friends.
     The general discovered a disinclination to part with the women and children, thinking
     that, on their account, the provincials would be restrained from making an assault on
     the town. The select-men gave repeated assurances that the inhabitants had delivered
     up their arms, but as a cover for violating the agreement, general Gage issued a
     proclamation, in which he asserted that he had full proof to the contrary. A few might
     have secreted some favourite arms, but nearly all the training arms were delivered up.
     On this flimsy pretence the general sacrificed his honour, to policy and the clamors of
     the tories. Contrary to good faith he detained many, though fairly entitled by
     agreement to go out, and when he admitted the departure of others he would not allow
     them to remove their families and effects.




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     The provincial congress of Massachusetts, which was in session at the time of the
     Lexington battle, dispatched an account of it to Great-Britain, accompanied with
     many depositions, to prove that the British troops were the aggressors.
     They also made an address to the inhabitants [191] of Great-         1775
     Britain, in which, after complaining of their sufferings, they say,
     “these have not yet detached us from our royal sovereign; we profess to be his loyal
     and dutiful subjects, and though hardly dealt with, as we have been, are still ready
     with our lives and fortunes, to defend his person, crown, and dignity. Nevertheless, to
     the persecution and tyranny of his evil ministry, we will not tamely submit. Appealing
     to heaven for the justice of our cause, we determine to die or be free.” From the
     commencement of hostilities, the dispute between Great-Britain and the colonies took
     a new direction.

     Intelligence that the British troops had marched out of Boston into the country on
     some hostile purpose, being forwarded by expresses from one committee to another,
     great bodies of the militia, not only from Massachusetts but the adjacent colonies,
     grasped their arms and marched to oppose them. The colonies were in such a state of
     irritability, that the least shock in any part was, by a powerful and sympathetic
     affection, instantaneously felt throughout the whole. The Americans who fell were
     revered by their countrymen, as martyrs who had died in the cause of liberty.
     Resentment against the British burned more strongly than ever. Martial rage took
     possession of the breasts of thousands. Combinations were formed and associations
     subscribed, binding the inhabitants to one another by the sacred ties of honour,
     religion, and love of country, to do whatever their public bodies directed for the
     preservation of their liberties. Hitherto the Americans had no regular army. From
     principles of policy they cautiously avoided that measure, least they might subject
     themselves to the charge of being aggressors. All their military regulations were
     carried on by their militia, and under the old established laws of the land. For the
     defence of the colonies, the inhabitants had been, from their early years, enrolled in
     companies, and taught the use of arms. The laws for this purpose had never been
     better observed than for some months previous to the Lexington battle.
     These military arrangements, which had been previously adopted 1775
     for defending the colonies from hostile French and Indians, [192]
     were on this occasion turned against the troops of the Parent State. Forts, magazines,
     and arsenals, by the constitution of the country, were in the keeping of his majesty.
     Immediately after the Lexington battle, these were for the most part taken possession
     of throughout the colonies, by parties of the provincial militia. Ticonderoga, in which
     was a small royal garrison, was surprised and taken by adventurers from different
     states. Public money which had been collected in consequence of previous grants, was
     also seized for common services. Before the commencement of hostilities these
     measures would have been condemned by the moderate even among the Americans,
     but that event justified a bolder line of opposition than had been adopted. Sundry
     citizens having been put to death by British troops, self preservation dictated
     measures which, if adopted under other circumstances, would have disunited the
     colonists. One of the most important of this kind was the raising an army. Men of
     warm tempers, whose courage exceeded their prudence, had for months urged the
     necessity of raising troops; but they were restrained by the more moderate, who
     wished that the colonies might avoid extremities, or at least that they might not lead in



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     bringing them on. The provincial congress of Massachusetts being in session at the
     time the battle of Lexington was fought, voted that “an army of 30,000 men be
     immediately raised, that 13,600 be of their own province, and that a letter and
     delegate be sent to the several colonies of New-Hampshire, Connecticut and Rhode
     Island.” In consequence of this vote, the business of recruiting was begun, and in a
     short time a provincial army was paraded in the vicinity of Boston, which though far
     below what had been voted by the provincial congress, was much superior in numbers
     to the royal army. The command of this force was given to general Ward.

     Had the British troops confined themselves to Boston, as before 1775
     the 18th of April, the assembling an American army, though only
     for the purpose of observation and defence, would have appeared in the nature of a
     challenge, and would have made many less willing to support [193] the people of
     Massachusetts, but after the British had commenced hostilities the same measure was
     adopted without subjecting the authors of it to censure, and without giving offence or
     hazarding the union. The Lexington battle not only furnished the Americans with a
     justifying apology for raising an army, but inspired them with ideas of their own
     prowess. Amidst the most animated declarations of sacrificing fortune, and risquing
     life itself for the security of American rights, a secret sigh would frequently escape
     from the breasts of her most determined friends, for fear that they could not stand
     before the bravery and discipline of British troops. Hoary sages would shake their
     heads and say, “Your cause is good and I wish you success, but I fear that your
     undisciplined valour must be overcome, in the unequal contest. After a few thousands
     of you have fallen, the provinces must ultimately bow to that power which has so
     repeatedly humbled France and Spain.” So confident were the British of their
     superiority in arms, that they seemed desirous that the contest might be brought to a
     military decision. Some of the distinguished speakers in parliament had publicly
     asserted that the natives of America had nothing of the soldier in them, and that they
     were in no respect qualified to face a British army. European philosophers had
     published theories, setting forth that not only vegetables and beasts, but that even men
     degenerated in the western hemisphere. Departing from the spirit of true philosophy,
     they overlooked the state of society in a new world, and charged a comparative
     inferiority, on every production that was American. The colonists themselves had
     imbibed opinions from their forefathers, that no people on earth were equal to those
     with whom they were about to contend. Impressed with high ideas of British
     superiority, and dissident of themselves, their best informed citizens, though willing
     to run all risques, feared the consequence of an appeal to arms. The success that
     attended their first military enterprize, in some degree banished these suggestions.
     Perhaps in no subsequent battle did the Americans appear to greater advantage than in
     their first essay at Lexington.
     It is almost without parallel [194] in military history, for the       1775
     yeomanry of the country to come forward in a single disjointed
     manner, without order, and for the most part without officers, and by an irregular fire
     to put to flight troops equal in discipline to any in the world. In opposition to the bold
     assertions, of some, and the desponding fears of others, experience proved that
     Americans might effectually resist British troops. The dissident grew bold in their
     country’s cause, and indulged in chearful hopes that heaven would finally crown their
     labours with success.



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     Soon after the Lexington battle, and in consequence of that event, not only the arms,
     ammunition, forts and fortifications in the colonies were secured for the use of the
     provincials, but regular forces were raised, and money struck for their support. These
     military arrangements were not confined to the New-England states, but were general
     throughout the colonies. The determination of the king and parliament to enforce
     submission to their acts, and the news of the Lexington battle, came to the distant
     provinces nearly about the same time. It was supposed by many that the latter was in
     consequence of the former, and that general Gage had recent orders to proceed
     immediately to subdue the refractory colonists.

     From a variety of circumstances the Americans had good reason to conclude that
     hostilities would soon be carried on vigorously in Massachusetts, and also to
     apprehend that, sooner or later, each province would be the theatre of war. “The more
     speedily therefore said they, we are prepared for that event, the better chance we have
     for defending ourselves.” Previous to this period, or rather to the 19th of April 1775,
     the dispute had been carried on by the pen, or at most by associations and legislative
     acts; but from this time forward it was conducted by the sword. The crisis was arrived
     when the colonies had no alternative, but either to submit to the mercy, or to resist the
     power of Great-Britain. An unconquerable love of liberty could not brook the idea of
     submission, while reason more temperate in her decisions, suggested to the people
     their insufficiency to make effectual opposition.
     They were fully apprized of the power [195] of Britain—they            1775
     knew that her fleets covered the ocean, and that her flag had
     waved in triumph through the four quarters of the globe; but the animated language of
     the time was, “It is better to die freemen, than to live slaves.” Though the justice of
     their cause, and the inspiration of liberty gave, in the opinion of disinterested judges a
     superiority to the writings of Americans, yet in the latter mode of conducting their
     opposition, the candid among themselves acknowledged an inferiority. Their form of
     government was deficient in that decision, dispatch, and coercion, which are
     necessary to military operations.

     Europeans, from their being generally unacquainted with fire arms are less easily
     taught the use of them than Americans, who are from their youth familiar with these
     instruments of war; yet on other accounts they are more susceptible of military habits.
     The proportion of necessitous men in the new world is small to that in the old.

     To procure subsistence is a powerful motive with an European to enlist, and the
     prospect of losing it makes him afraid to neglect his duty; but these incitements to the
     punctual discharge of military services, are wanting in America. In old countries the
     distinction of ranks and the submission of inferiors to superiors, generally takes place,
     but in the new world an extreme sense of liberty and equality indisposes to that
     implicit obedience which is the soul of an army. The same causes which nurtured a
     spirit of independence in the colonies, were hostile to their military arrangements. It
     was not only from the different state of society in the two countries, but from a variety
     of local causes, that the Americans were not able to contend in arms, on equal terms,
     with their Parent State. From the first settlement of the British colonies, agriculture
     and commerce, but especially the former, had been the favourite pursuits of their
     inhabitants. War was a business abhorrent from their usual habits of life. They had



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     never engaged in it from their own motion, nor in any other mode than as appendages
     to British troops, and under British establishments. By these means the military spirit
     of the colonies had no opportunity of expanding itself.
     At the commencement of hostilities, the British [196] troops          1775
     possessed a knowledge of the science and discipline of war,
     which could be acquired only by a long series of application, and substantial
     establishments. Their equipments, their artillery, and every other part of their
     apparatus for war approached perfection. To these important circumstances was added
     a high national spirit of pride, which had been greatly augmented by their successes in
     their last contest with France and Spain. On the other hand the Americans were
     undisciplined, without experienced officers, and without the shadow of military
     establishments. In the wars which had been previously carried on, in or near the
     colonies, the provincials had been, by their respective legislatures, frequently added to
     the British troops, but the pride of the latter would not consider the former, who were
     without uniformity of dress, or the pertness of military airs, to be their equals. The
     provincial troops were therefore for the most part, assigned to services which, though
     laborious, were not honourable.

     The ignorance of British generals commanding in the woods of America, sometimes
     involved them in difficulties from which they had been more than once relieved by
     the superior local knowledge of the colonial troops. These services were soon
     forgotten, and the moment the troops who performed them could be spared, they were
     disbanded. Such like obstacles had hitherto depressed military talents in America, but
     they were now overcome by the ardor of the people.

     In the year 1775, a martial spirit pervaded all ranks of men in the colonies. They
     believed their liberties to be in danger, and were generally disposed to risque their
     lives for their establishment. Their ignorance of the military art, prevented their
     weighing the chances of war with that exactness of calculation which, if indulged,
     might have damped their hopes. They conceived that there was little more to do than
     fight manfully for their country. They consoled themselves with the idea, that though
     their first attempt might be unsuccessful; their numbers would admit of a repetition of
     the experiment, till the invaders were finally exterminated.
     Not considering [197] that in modern war the longest purse            1775
     decides oftener than the longest sword, they feared not the
     wealth of Britain. They both expected and wished that the whole dispute would be
     speedily settled in a few decisive engagements. Elevated with the love of liberty, and
     buoyed above the fear of consequences, by an ardent military enthusiasm, unabated
     by calculations about the extent, duration, or probable issue of the war, the people of
     America seconded the voice of their rulers, in an appeal to heaven for the vindication
     of their rights. At the time the colonies adopted these spirited resolutions, they
     possessed not a single ship of war, nor so much as an armed vessel of any kind. It had
     often been suggested that their seaport towns lay at the mercy of the navy of Great-
     Britain; this was both known and believed, but disregarded. The love of property was
     absorbed in the love of liberty. The animated votaries of the equal rights of human
     nature, consoled themselves with the idea that though their whole sea coast should be
     laid in ashes, they could retire to the western wilderness, and enjoy the luxury of
     being free; on this occasion it was observed in Congress by Christopher Gadsden, one



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     of the South-Carolina delegates, “Our houses being constructed of brick, stone, and
     wood, though destroyed may be rebuilt, but liberty once gone is lost forever.”

     The sober discretion of the present age will more readily censure than admire, but can
     more easily admire than imitate the fervid zeal of the patriots of 1775, who in idea
     sacrificed property in the cause of liberty, with the ease that they now sacrifice almost
     every other consideration for the acquisition of property.

     The revenues of Britain were immense, and her people were habituated to the
     payment of large sums in every form which contributions to government have
     assumed; but the American colonies possess neither money nor funds, nor were their
     people accustomed to taxes equal to the exigences of war. The contest having begun
     about taxation, to have raised money by taxes for carrying it on, would have been
     impolitic.
     The temper of the times precluded the necessity of attempting the 1775
     dangerous [198] expedient, for such was the enthusiasm of the
     day, that the colonists gave up both their personal services and their property to the
     public, on the vague promises that they should at a future time be reimbursed.
     Without enquiring into the solidity of funds, or the precise period of payment, the
     resources of the country were commanded on general assurances, that all expences of
     the war should ultimately be equalised. The Parent State abounded with experienced
     statesmen and officers, but the dependent form of government exercised in the
     colonies, precluded their citizens from gaining that practical knowledge which is
     acquired from being at the head of public departments. There were very few in the
     colonies who understood the business of providing for an army, and still fewer who
     had experience and knowledge to direct its operations. The disposition of the finances
     of the country, and the most effectual mode of drawing forth its resources, were
     subjects with which scarce any of the inhabitants were acquainted. Arms and
     ammunition were almost wholly deficient; and though the country abounded with the
     materials of which they are manufactured, yet there was neither time nor artists
     enough to supply an army with the means of defence. The country was destitute both
     of fortifications and engineers. Amidst so many discouragements there were some
     flattering circumstances. The war could not be carried on by Great-Britain, but to a
     great disadvantage, and at an immense expence. It was easy for ministers at St.
     James’s to plan campaigns, but hard was the fate of the officer from whom the
     execution of them in the woods of America was expected. The country was so
     extensive, and abounded so much with defiles; that by evacuating and retreating, the
     Americans though they could not conquer, yet might save themselves from being
     conquered. The authors of the acts of parliament for restraining the trade of the
     colonies, were most excellent recruiting officers for the Congress. They imposed a
     necessity on thousands to become soldiers. All other business being suspended, the
     whole resources of the country were applied in supporting an army.
     Though [199] the colonists were without discipline, they             1775
     possessed native valour. Though they had neither gold nor silver,
     they possessed a mine in the enthusiasm of their people. Paper for upwards of two
     years produced to them more solid advantages than Spain derived from her
     superabounding precious metals. Though they had no ships to protect their trade or
     their towns, they had simplicity enough to live without the former, and enthusiasm



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     enough to risque the latter, rather than submit to the power of Britain. They believed
     their cause to be just, and that heaven approved their exertions in defence of their
     rights. Zeal originating from such motives, supplied the place of discipline, and
     inspired a confidence and military ardor which overleaped all difficulties.

     Resistance being resolved upon by Americans—the pulpit—the press—the bench and
     the bar, severally laboured to unite and encourage them. The clergy of New-England
     were a numerous, learned and respectable body, who had a great ascendancy over the
     minds of their hearers. They connected religion and patriotism, and in their sermons
     and prayers, represented the cause of America as the cause of heaven. The synod of
     New-York and Philadelphia, also sent forth a pastoral letter, which was publicly read
     in their churches. This earnestly recommended such sentiments and conduct as were
     suitable to their situation. Writers and printers followed in the rear of the preachers,
     and next to them had the greatest hand in animating their countrymen. Gentlemen of
     the bench and of the bar denied the charge of rebellion, and justified the resistance of
     the colonists. A destinction founded on law, between the king and his ministry, was
     introduced. The former, it was contended, could do no wrong. The crime of treason
     was charged on the latter, for using the royal name to varnish their own
     unconstitutional measures. The phrase of a ministerial war became common, and was
     used as a medium for reconciling resistance with allegiance.

     Coeval with the resolutions for organizing an army, was one appointing the 20th day
     of July, 1775, a day of public humiliation, fasting and prayer to Almighty God, [200]
     [“]to bless their rightful sovereign king George, and to inspire him with wisdom to
     discern and pursue the true interest of his subjects; and that the British nation might
     be influenced to regard the things that belonged to her peace, before they were hid
     from her eyes—that the colonies might be ever under the care and protection of a kind
     providence, and be prospered in all their interests—that America might soon behold a
     gracious interposition of heaven, for the redress of her many grievances; the
     restoration of her invaded rights, a reconciliation with the Parent State, on terms
     constitutional and honourable to both.” The forces which had been collected in
     Massachusetts, were stationed in convenient places for guarding the country from
     farther excursions of the regulars from Boston. Breast works were also erected in
     different places for the same purpose. While both parties were attempting to carry off
     stock from the several islands with which the bay of Boston is agreeably diversified,
     sundry skirmishes took place. These were of real service to the Americans. They
     habituated them to danger, and perhaps much of the courage of old soldiers, is derived
     from an experimental conviction, that the chance of escaping unhurt from
     engagements is much greater than young recruits suppose.

     About the latter end of May a great part of the reinforcements ordered from Great-
     Britain, arrived at Boston.
     Three British generals, Howe, Burgoyne and Clinton, whose           May 25
     behaviour in the preceding war had gained them great reputation,
     also arrived about the same time. General Gage, thus reinforced, prepared for acting
     with more decision, but before he proceeded to extremities he conceived it due to
     ancient forms to issue a proclamation, holding forth to the inhabitants the alternative
     of peace or war.



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     He therefore offered pardon in the king’s name to all who should June 12
     forthwith lay down their arms, and return to their respective
     occupations and peaceable duties, excepting only from the benefit of that pardon
     “Samuel Adams, and John Hancock, whose offences were said to be of too flagitious
     a nature to admit of any other consideration than that of condign punishment.”
     He also [201] proclaimed that not only the persons above named 1775
     and excepted, but also their adherents, associates, and
     correspondents, should be deemed guilty of treason and rebellion, and treated
     accordingly. By this proclamation it was also declared “that as the courts of judicature
     were shut, martial law should take place, till a due course of justice should be re-
     established.” It was supposed that this proclamation was a prelude to hostilities, and
     preparations were accordingly made by the Americans. A considerable height, by the
     name of Bunkers-hill, just at the entrance of the peninsula of Charlestown, was so
     situated as to make the possession of it a matter of great consequence, to either of the
     contending parties.
     Orders were therefore issued by the provincial commanders that June 16
     a detachment of a thousand men should intrench upon this
     height. By some mistake Breed’s-hill, high and large like the other, but situated nearer
     Boston, was marked out for the intrenchments, instead of Bunkers-hill. The
     provincials proceeded to Breed’s-hill and worked with so much diligence, that
     between midnight and the dawn of the morning, they had thrown up a small redoubt
     about 8 rods square. They kept such a profound silence that they were not heard by
     the British, on board their vessels, though very near. These having derived their first
     information of what was going on from the sight of the work near completion, began
     an incessant firing upon them. The provincials bore this with firmness, and though
     they were only young soldiers continued to labour till they had thrown up a small
     breastwork, extending from the east side of the redoubt to the bottom of the hill. As
     this eminence overlooked Boston general Gage thought it necessary to drive the
     provincials from it.
     About noon therefore he detached major general Howe and brig. June 17
     general Pigot, with the flower of his army, consisting of four
     battalions, ten companies of the grenadiers and ten of light infantry, with a proportion
     of field artillery, to effect this business. These troops landed at Moreton’s point, and
     formed after landing, but remained in that position till they were reinforced by a
     second detachment of light infantry and grenadier companies, a battalion of land
     forces and a battalion of marines, [202] making in the whole nearly 3000 men.
     While the troops who first landed were waiting for this               1775
     reinforcement, the provincials for their farther security, pulled up
     some adjoining post and rail fences, and set them down in two parallel lines at a small
     distance from each other, and filled the space between with hay, which having been
     lately mowed, remained on the adjacent ground.

     The king’s troops formed in two lines, and advanced slowly, to give their artillery
     time to demolish the American works. While the British were advancing to the attack,
     they received orders to burn Charlestown. This was not done because they were fired
     upon from the houses in that town, but from the military policy of depriving enemies
     of a cover in their approaches. In a short time this ancient town, consisting of about
     500 buildings, chiefly of wood, was in one great blaze. The lofty steeple of the



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     meeting house formed a pyramid of fire above the rest, and struck the astonished eyes
     of numerous beholders with a magnificent but awful spectacle. In Boston the heights
     of every kind were covered with the citizens, and such of the king’s troops as were
     not on duty. The hills around the adjacent country which afforded a safe and distinct
     view, were occupied by the inhabitants of the country.

     Thousands, both within and without Boston, were anxious spectators of the bloody
     scene. The honour of British troops beat high in the breasts of many, while others
     with a keener sensibility, felt for the liberties of a great and growing country. The
     British moved on but slowly, which gave the provincials a better opportunity for
     taking aim. The latter in general reserved themselves till their adversaries were within
     ten or twelve rods, but then began a furious discharge of small arms. The stream of
     the American fire was so incessant, and did so great execution that the king’s troops
     retreated in disorder and precipitation. Their officers rallied them and pushed them
     forward with their swords, but they returned to the attack with great reluctance. The
     Americans again reserved their fire till their adversaries were near, and then put them
     a second time to flight.
     General Howe and the officers redoubled their exertions, and           1775
     were again [203] successful, though the soldiers discovered a
     great aversion to going on. By this time the powder of the Americans began so far to
     fail that they were not able to keep up the same brisk fire as before. The British also
     brought some cannon to bear which raked the inside of the breast work from end to
     end. The fire from the ships, batteries, and field artillery was redoubled—the soldiers
     in the rear were goaded on by their officers. The redoubt was attacked on three sides
     at once. Under these circumstances a retreat from it was ordered, but the provincials
     delayed, and made resistance with their discharged muskets as if they had been clubs,
     so long that the king’s troops who easily mounted the works had half filled the
     redoubt before it was given up to them.

     While these operations were going on at the breast work and redoubt, the British light
     infantry were attempting to force the left point of the former, that they might take the
     American line in flank. Though they exhibited the most undaunted courage, they met
     with an opposition which called for its greatest exertions. The provincials here, in like
     manner, reserved their fire till their adversaries were near, and then poured it upon the
     light infantry, with such an incessant stream, and in so true a direction as mowed
     down their ranks. The engagement was kept up on both sides with great resolution.
     The persevering exertions of the king’s troops could not compel the Americans to
     retreat, till they observed that their main body had left the hill. This, when begun,
     exposed them to new danger, for it could not be effected but by marching over
     Charlestown neck, every part of which was raked by the shot of the Glasgow man of
     war, and of two floating batteries. The incessant fire kept up across this neck
     prevented any considerable reinforcement from joining their countrymen who were
     engaged; but the few who fell on their retreat, over the same ground proved, that the
     apprehensions of those provincial officers who declined passing over to succour their
     companions, were without any solid foundation.

     The number of Americans engaged, amounted only to 1500.




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     It was apprehended that the conquerors would [204] push the           1775
     advantage they had gained, and march immediately to American
     head quarters at Cambridge, but they advanced no farther than Bunker’s-hill. There
     they threw up works for their own security. The provincials did the same on Prospect-
     hill in front of them. Both were guarding against an attack, and both were in a bad
     condition to receive one. The loss of the peninsula depressed the spirits of the
     Americans, and their great loss of men produced the same effect on the British. There
     have been few battles in modern wars, in which all circumstances considered, there
     was a greater destruction of men than in this short engagement. The loss of the
     British, as acknowledged by general Gage, amounted to 1054. Nineteen
     commissioned officers were killed, and 70 more were wounded. The battle of Quebec
     in 1759, which gave Great-Britain the province of Canada, was not so destructive to
     British officers as this affair of a slight intrenchment, the work only of a few hours.
     That the officers suffered so much, must be imputed to their being aimed at. None of
     the provincials in this engagement were riflemen, but they were all good marksmen.
     The whole of their previous military knowledge had been derived, from hunting, and
     the ordinary amusements of sportsmen. The dexterity which by long habit they had
     acquired in hitting beasts, birds, and marks, was fatally applied to the destruction of
     British officers. From their fall much confusion was expected. They were therefore
     particularly singled out. Most of those who were near the person of general Howe
     were either killed or wounded, but the general, though he greatly exposed himself,
     was unhurt. The light infantry and grenadiers lost three-fourths of their men. Of one
     company not more than five, and of another, not more than fourteen escaped. The
     unexpected resistance of the Americans was such as wiped away the reproaches of
     cowardice, which had been cast on them by their enemies in Britain.
     The spirited conduct of the British officers merited and obtained 1775
     great applause, but the provincials were justly entitled to a large
     portion of the same, for having made the utmost exertions of their adversaries
     necessary to dislodge them [205] from lines, which were the work only of a single
     night.

     The Americans lost five pieces of cannon. Their killed amounted to 139. Their
     wounded and missing to 314. Thirty of the former fell into the hands of the
     conquerors. They particularly regretted the death of general Warren. To the purest
     patriotism and most undaunted bravery, he added the virtues of domestic life, the
     eloquence of an accomplished orator, and the wisdom of an able statesman. Nothing
     but a regard to the liberty of his country induced him to oppose the measures of
     government. He aimed not at a separation from, but a coalition with the Mother
     Country. He took an active part in defence of his country, not that he might be
     applauded and rewarded for a patriotic spirit, but because he was, in the best sense of
     the word, a real patriot. Having no interested or personal views to answer the friends
     of liberty, confided in his integrity. The soundness of his judgment, and his abilities as
     a public speaker, enabled him to make a distinguished figure in public councils, but
     his intrepidity and active zeal, induced his countrymen to place him in the military
     line. Within four days after he was appointed a major general, he fell a noble sacrifice
     to a cause which he had espoused from the purest principles. Like Hambden he lived
     and like Hambden he died, universally beloved and universally regretted. His many
     virtues were celebrated in an elegant eulogium written by Dr. Rush, in language equal



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     to the illustrious subject. The burning of Charlestown, though a place of great trade
     did not discourage the provincials. It excited resentment and execration, but not any
     disposition to submit. Such was the high toned state of the public mind, and so great
     the indifference for property when put in competition with liberty, that military
     conflagrations, though they distressed and impoverished, had no tendency to subdue
     the colonists. They might answer in the old world, but were not calculated for the
     new, where the war was undertaken, not for a change of masters, but for securing
     essential rights. The action at Breed’s-hill, or Bunker’s-hill, as it has been commonly
     called, produced many and very important [206] consequences.
     It taught the British so much respect for Americans intrenched          1775
     behind works, that their subsequent operations were retarded
     with a caution that wasted away a whole campaign, to very little purpose. It added to
     the confidence the Americans began to have in their own abilities, but inferences,
     very injurious to the future interests of America, were drawn from the good conduct
     of the new troops on that memorable day. It inspired some of the leading members of
     Congress, with such high ideas of what might be done by militia, or men engaged for
     a short term of enlistment, that it was long before they assented to the establishment
     of a permanent army. Not distinguishing the continued exertions of an army through a
     series of years, from the gallant efforts of the yeomanry of the country, led directly to
     action, they were slow in admitting the necessity of permanent troops. They
     conceived the country might be defended by the occasional exertions of her sons,
     without the expence and danger of an army engaged for the war. In the progress of
     hostilities, as will appear in the sequel, the militia lost much of their first ardor, while
     leading men in the councils of America, trusting to its continuance, neglected the
     proper time of recruiting for a series of years. From the want of perseverance in the
     militia, and the want of a disciplined standing army, the cause for which arms were at
     first taken up, was more than once brought to the brink of destruction.




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     CHAPTER VII

     The Second Congress Meets And Organises A Regular
     Continental Army—Makes Sundry Public Addresses, And
     Petitions The King, &C. Transactions In Massachusetts.
     It has already been mentioned, that Congress previous to its         1775
     dissolution, on the 26th of October, 1774, recommended to the
     colonies, to chuse members for another to meet on the tenth of May 1775, unless the
     redress of their grievances was previously obtained. A circular letter had been
     addressed by lord Dartmouth, to the [207] several colonial governors, requesting their
     interference to prevent the meeting of this second Congress: but ministerial
     requisitions had lost their influence, delegates were elected not only for the twelve
     colonies that were before represented, but also for the parish of St. John’s in Georgia,
     and in July following, for the whole province. The time of the meeting of this second
     Congress was fixed at so distant a day, that an opportunity might be afforded for
     obtaining information of the plans adopted by the British parliament in the winter of
     1774, 1775. Had these been favourable, the delegates would either not have met, or
     dispersed after a short session, but as the resolution was then fixed to compel the
     submission of the colonies, and hostilities had already commenced, the meeting of
     Congress on the tenth of May, which was at first eventual, became fixed.

     On their meeting, they chose Peyton Randolph for their               May 10
     President, and Charles Thomson for their secretary. On the next
     day Mr. Hancock laid before them a variety of depositions, proving that the king’s
     troops were the aggressors in the late battle at Lexington, together with sundry papers
     relative to the great events which had lately taken place in Massachusetts: Whereupon
     Congress resolved itself into a committee of the whole, to take into consideration the
     state of America. They proceeded in the same line of moderation and firmness, which
     marked the acts of their predecessors in the past year.

     The city and county of New-York having applied to Congress for May 15
     advice, how they should conduct themselves with regard to the
     troops expected to land there, they were advised “to act on the defensive so long as
     might be consistent with their safety—to permit the troops to remain in the barracks,
     so long as they behaved peaceably, but not to suffer fortifications to be erected, or any
     steps to be taken for cutting off the communication between the town and country.”
     Congress also resolved, “That exportation to all parts of British May 17
     America, which had not adopted their association, should
     immediately cease;” and that, “no provision of any kind, or other necessaries be
     furnished to the British fisheries on the American [208] coasts.”
     And                                                                  1775

     that no bill of exchange, draught, or order, of any officer in the     June 2
     British army or navy, their agents or contractors, be received or


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     negociated, or any money supplied them, by any person in America—that no
     provisions or necessaries of any kind, be furnished or supplied, to or for the use of the
     British army or navy, in the colony of Massachusetts Bay—that no vessel employed
     in transporting British troops to America, or from one part of North-America to
     another, or warlike stores or provisions for said troops, be freighted or furnished with
     provisions or any necessaries.

     These resolutions may be considered as the counterpart of the British acts for
     restraining the commerce, and prohibiting the fisheries of the colonies. They were
     calculated to bring distress on the British islands in the West-Indies, whose chief
     dependence for subsistance, was on the importation of provision from the American
     continent. They also occasioned new difficulties in the support of the British army and
     fisheries. The colonists were so much indebted to Great-Britain, that government bills
     for the most part found among them a ready market. A war in the colonies was
     therefore made subservient to commerce, by increasing the sources of remittance.
     This enabled the Mother Country, in a great degree, to supply her troops without
     shipping money out of the kingdom. From the operation of these resolutions,
     advantages of this nature were not only cut off, but the supply of the British army
     rendered both precarious and expensive. In consequence of the interdiction of the
     American fisheries, great profits were expected by British adventurers in that line.
     Such frequently found it most convenient to obtain supplies in America for carrying
     on their fisheries; but as Great-Britain had deprived the colonists of all benefits from
     that quarter, they now in their turn, interdicted all supplies from being furnished to
     British fishermen. To obviate this unexpected embarrassment, several of the vessels
     employed in this business, were obliged to return home, to bring out provisions for
     their associates. These restrictive resolutions, were not so much the effect of
     resentment as of policy.
     The colonists conceived, that [209] by distressing the British        1775
     commerce, they would encrease the number of those who would
     interest themselves in their behalf.

     The new Congress had convened but a few days when their venerable president
     Peyton Randolph, was under a necessity of returning home. On his departure John
     Hancock was unanimously chosen his successor. The objects of deliberation
     presented to this new Congress were, if possible, more important than those which in
     the preceding year, had engaged the attention of their predecessors. The colonists had
     now experienced the inefficacy of those measures, from which relief had been
     formerly obtained. They found a new parliament disposed to run all risques in
     inforcing their submission. They also understood that administration was united
     against them, and its members firmly established in their places. Hostilities were
     commenced. Reinforcements had arrived, and more were daily expected. Added to
     this, they had information that their adversaries had taken measures to secure the
     friendship and co-operation of the Indians; and also of the Canadians.

     The coercion of the colonies being resolved upon, and their conquest supposed to be
     inevitable, the British ministry judged that it would be for the interest of both
     countries to proceed in that vigorous course, which bid fairest for the speediest




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     attainment of their object. They hoped by pressing the colonists on all quarters, to
     intimidate opposition, and ultimately to lessen the effusion of human blood.

     In this awful crisis Congress had but a choice of difficulties. The New-England states
     had already organized an army and blockaded general Gage. To desert them would
     have been contrary to plighted faith and to sound policy. To support them would
     make the war general, and involve all the provinces in one general promiscuous state
     of hostility. The resolution of the people in favour of the latter was fixed, and only
     wanted public sanction for its operation.
     Congress therefore resolved, “that for the express purpose of          May 26
     defending and securing the colonies, and preserving them in
     safety, against [210] all attempts to carry the late acts of a parliament into execution,
     by force of arms,
     they be immediately put in a state of defence; but as they wished 1775
     for a restoration of the harmony formerly subsisting between the
     Mother Country and the colonies, to the promotion of this most desirable
     reconciliation, an humble and dutiful petition be presented to his majesty.” To resist
     and to petition were coeval resolutions. As freemen they could not tamely submit, but
     as loyal subjects, wishing for peace as far as was compatible with their rights, they
     once more, in the character of petitioners, humbly stated their grievances to the
     common father of the empire. To dissuade the Canadians from co-operating with the
     British, they again addressed them, representing the pernicious tendency of the
     Quebec act, and apologizing for their taking Ticonderoga and Crown-Point, as
     measures which were dictated by the great law of self preservation. About the same
     time Congress took measures for warding off the danger that threatened their frontier
     inhabitants from Indians. Commissioners to treat with them were appointed, and a
     supply of goods for their use was ordered. A talk was also prepared by Congress, and
     transmitted to them, in which the controversy between Great-Britain and her colonies
     was explained, in a familiar Indian style. They were told that they had no concern in
     the family quarrel, and were urged by the ties of ancient friendship and a common
     birth place, to remain at home, keep their hatchet buried deep, and to join neither side.

     The novel situation of Massachusetts made it necessary for the ruling powers of that
     province to ask the advice of Congress on a very interesting subject, “The taking up
     and exercising the powers of civil government.” For many months they had been kept
     together in tolerable peace and order by the force of ancient habits, under the simple
     style of recommendation and advice from popular bodies, invested with no legislative
     authority. But as war now raged in their borders, and a numerous army was actually
     raised, some more efficient form of government became necessary.
     At this early day it neither [211] comported with the wishes nor 1775
     the designs of the colonists to erect forms of government
     independent of Great-Britain, Congress therefore recommended only such regulations
     as were immediately necessary, and these were conformed as near as possible to the
     spirit and substance of the charter, and were only to last till a governor of his
     majesty’s appointment would consent to govern the colony according to its charter.

     On the same principles of necessity, another assumption of new powers became
     unavoidable. The great intercourse that daily took place throughout the colonies,



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     pointed out the propriety of establishing a general post-office. This was accordingly
     done, and Dr. Franklin, who had by royal authority been dismissed from a similar
     employment about three years before, was appointed by his country, the head of the
     new department.

     While Congress was making arrangements for their proposed continental army, it was
     thought expedient once more to address the inhabitants of Great-Britain, and to
     publish to the world a declaration setting forth their reasons for taking up arms—to
     address the speaker and gentlemen of the assembly of Jamaica, and the inhabitants of
     Ireland, and also to prefer a second humble petition to the king. In their address to the
     inhabitants of Great-Britain, they again vindicated themselves from the charge of
     aiming at independency, professed their willingness to submit to the several acts of
     trade and navigation which were passed before the year 1763, recapitulated their
     reasons for rejecting lord North’s conciliatory motion—stated the hardships they
     suffered from the operations of the royal army in Boston, and insinuated the danger
     the inhabitants of Britain would be in of losing their freedom, in case their American
     brethren were subdued.

     In their declaration, setting forth the causes and necessity of their taking up arms, they
     enumerated the injuries they had received, and the methods taken by the British
     ministry to compel their submission, and then said,
     “We are reduced to the alternative of choosing an unconditional 1775
     submission to the tyranny of irritated ministers, or [212]
     resistance by force. The latter is our choice. We have counted the cost of this contest,
     and find nothing so dreadful as voluntary slavery.” They asserted “that foreign
     assistance was undoubtedly attainable.” This was not founded on any private
     information, but was an opinion derived from their knowledge of the principles of
     policy, by which states usually regulate their conduct towards each other.

     In their address to the speaker and gentlemen of the assembly of Jamaica, they dilated
     on the arbitrary systems of the British ministry, and informed them that in order to
     obtain a redress of their grievances, they had appealed to the justice, humanity, and
     interest of Great-Britain. They stated, that to make their schemes of non-importation
     and non-exportation produce the desired effects, they were obliged to extend them to
     the islands. “From that necessity, and from that alone, said they, our conduct has
     proceeded.” They concluded with saying, “the peculiar situation of your island forbids
     your assistance, but we have your good wishes—from the good wishes of the friends
     of liberty and mankind we shall always derive consolation.”

     In their address to the people of Ireland they recapitulated their grievances, stated
     their humble petitions, and the neglect with which they had been treated. “In defence
     of our persons and properties under actual violations, said they, we have taken up
     arms. When that violence shall be removed, and hostilities cease on the part of the
     aggressors, they shall cease on our part also.”

     These several addresses were executed in a masterly manner, and were well
     calculated to make friends to the colonies. But their petition to the king, which was
     drawn up at the same time, produced more solid advantages in favour of the American



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     cause, than any other of their productions. This was in a great measure carried through
     Congress by Mr. Dickinson.
     Several members, judging from the violence with which                 1775
     parliament proceeded against the colonies, were of opinion that
     farther petitions were nugatory; but this worthy citizen, a friend to both countries, and
     devoted to a reconciliation on [213] constitutional principles, urged the expediency
     and policy of trying once more the effect of an humble, decent, and firm petition, to
     the common head of the empire. The high opinion that was conceived of his
     patriotism and abilities, induced the members to assent to the measure, though they
     generally conceived it to be labour lost. The petition agreed upon was the work of Mr.
     Dickinson’s pen. In this, among other things, it was stated,

     that notwithstanding their sufferings, they had retained too high a July 8
     regard for the kingdom from which they derived their origin, to
     request such a reconciliation as might in any manner be inconsistent with her dignity
     and welfare. Attached to his majesty’s person, family, and government, with all the
     devotion that principle and affection can inspire, connected with Great-Britain by the
     strongest ties that can unite society, and deploring every event that tended in any
     degree to weaken them, they not only most fervently desired the former harmony
     between her and the colonies to be restored, but that a concord might be established
     between them, upon so firm a basis as to perpetuate its blessings, uninterrupted by any
     future dissentions, to succeeding generations, in both countries. They therefore
     beseeched that his majesty would be pleased to direct some mode by which the united
     applications of his faithful colonists to the throne, in pursuance of their common
     councils, might be improved into a happy and permanent reconciliation.

     By this last clause Congress meant that the Mother Country should propose a plan for
     establishing by compact, something like Magna Charta for the colonies. They did not
     aim at a total exemption from the controul of parliament, nor were they unwilling to
     contribute in their own way, to the expences of government; but they feared the
     horrors of war less than submission to unlimited parliamentary supremacy. They
     wished for an amicable compact, in which doubtful, undefined points, should be
     ascertained so as to secure that proportion of authority and liberty which would be for
     the general good of the whole empire. They fancied themselves in the condition of the
     barons at Runnymede; but with this difference, that in [214] addition to opposing the
     king, they had also to oppose the parliament.
     This difference was more nominal than real, for in the latter case 1775
     the king and parliament stood precisely in the same relation to
     the people of America, which subsisted in the former between the king and people of
     England. In both, popular leaders were contending with the sovereign for the
     privileges of subjects. This well meant petition was presented on September 1st, 1775,
     by Mr. Penn and Mr. Lee, and on the 4th lord Dartmouth informed them, “that to it no
     answer would be given.” This slight contributed not a little to the union and
     perseverance of the colonists. When pressed by the calamities of war, a doubt would
     sometimes arise in the minds of scrupulous persons, that they had been too hasty in
     their opposition to their protecting Parent State. To such it was usual to present the
     second petition of Congress to the king, observing thereon, that all the blood and all
     the guilt of the war, must be charged on British, and not on American counsels.



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     Though the colonists were accused in a speech from the throne, Oct. 26
     as meaning only, “to amuse by vague expressions of attachment
     to the Parent State, and the strongest protestations of loyalty to their king, while they
     were preparing for a general revolt, and that their rebellious war was manifestly
     carried on for the purpose of establishing an independent empire.” Yet at that time,
     and for months after, a redress of grievances was their ultimate aim. Conscious of this
     intention, and assenting in the sincerity of their souls to the submissive language of
     their petition, they illy brooked the contempt with which their joint supplication was
     treated, and still worse, that they should be charged from the throne with studied
     duplicity. Nothing contributes more to the success of revolutions than moderation.
     Intemperate zealots overshoot themselves, and soon spend their force, while the calm
     and dispassionate persevere to the end. The bulk of the people in civil commotions are
     influenced to a choice of sides, by the general complexion of the measures adopted by
     the respective parties. When these appear to be dictated by justice and prudence, and
     to be [215] uninfluenced by passion, ambition or avarice, they are disposed to favour
     them. Such was the effect of this second petition, through a long and trying war, in
     which men of serious reflection were often called upon to examine the rectitude of
     their conduct.

     Though the refusal of an answer to this renewed application of Congress to the king,
     was censured by numbers in Great-Britain, as well as in the colonies, yet the partisans
     of ministry varnished the measure as proper and expedient. They contended that the
     petition, as it contained no offers of submission, was unavailing, as a ground work of
     negociation. Nothing was farther from the thoughts of Congress than such
     concessions as were expected in Great-Britain. They conceived themselves to be more
     sinned against than sinning. They claimed a redress of grievances as a matter of right,
     but were persuaded that concessions for this purpose were acts of justice and not of
     humiliation, and therefore could not be disgraceful to those by whom they were made.
     To prevent future altercations they wished for an amicable compact to ascertain the
     extent of parliamentary supremacy. The Mother Country wished for absolute
     submission to her authority, the colonists for a repeal of every act that imposed taxes,
     or that interfered in their internal legislation. The ministry of England being
     determined not to repeal these acts, and the Congress equally determined not to
     submit to them, the claims of the two countries were so wide of each other as to afford
     no reasonable ground to expect a compromise. It was therefore concluded, that any
     notice taken of the petition would only afford an opportunity for the colonies to
     prepare themselves for the last extremity.

     A military opposition to the armies of Great-Britain being resolved upon by the
     colonies, it became an object of consequence to fix on a proper person to conduct that
     opposition.
     Many of the colonists had titles of high rank in the militia, and  1775
     several had seen something of real service, in the late war
     between France and England; but there was no individual of such superior military
     experience as to entitle him to a decided pre-eminence, or even [216] to qualify him,
     on that ground, to contend on equal terms with the British masters of the art of war. In
     elevating one man, by the free voice of an invaded country, to the command of
     thousands of his equal fellow citizens, no consideration was regarded but the interest



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     of the community. To bind the uninvaded provinces more closely to the common
     cause, policy directed the views of Congress to the south.

     Among the southern colonies Virginia, for numbers, wealth, and influence, stood pre-
     eminent. To attach so respectable a colony to the aid of Massachusetts, by selecting a
     commander in chief from that quarter, was not less warranted by the great military
     genius of one of her distinguished citizens, than dictated by sound policy.
     George Washington was, by an unanimous vote appointed,               June 15
     commander in chief of all the forces raised, or to be raised, for
     the defence of the colonies. It was a fortunate circumstance attending his election, that
     it was accompanied with no competition, and followed by no envy. That same general
     impulse on the public mind, which led the colonists to agree in many other particulars,
     pointed to as the most proper person for presiding over the military arrangements of
     America. Not only Congress but the inhabitants in the east and the west, in the north
     and, the south, as well before as at the time of embodying a continental army were in
     a great degree unanimous in his favour. An attempt to draw the character of this truly
     great man would look like flattery. Posterity will doubtless do it justice. His actions,
     especially now, while fresh in remembrance, are his amplest panegyric. Suffice it, in
     his life time, only to particularise those qualities, which being more common, may be
     mentioned without offending the delicate sensibility of the most modest of men.

     General Washington was born on the 11th of February 1732. His education was such
     as favoured the production of a solid mind and a vigorous body. Mountain air,
     abundant exercise in the open country—the wholesome toils of the chace, and the
     delightful scenes of rural life, expanded his limbs to an unusual but graceful [217] and
     well proportioned size.
     His youth was spent in the acquisition of useful knowledge, and 1775
     in pursuits, tending to the improvement of his fortune, or the
     benefit of his country. Fitted more for active, than for speculative life, he devoted the
     greater proportion of his time to the latter, but this was amply compensated by his
     being frequently in such situations, as called forth the powers of his mind, and
     strengthened them by repeated exercise. Early in life, in obedience to his country’s
     call, he entered the military line, and began his career of fame in opposing that power
     in concert with whose troops, he acquired his last and most distinguished honours. He
     was with general Braddock in 1755, when that unfortunate officer from an excess of
     bravery, chose rather to sacrifice his army than retreat from an unseen foe. The
     remains of that unfortunate corpse were brought off the field of battle chiefly by the
     address and good conduct of colonel Washington. After the peace of Paris 1763, he
     retired to his estate, and with great industry and success pursued the arts of peaceful
     life. When the proceedings of the British parliament alarmed the colonists with
     apprehensions that a blow was levelled at their liberties, he again came forward into
     public view, and was appointed a delegate to the Congress, which met in September
     1774. Possessed of a large proportion of common sense directed by a sound judgment,
     he was better fitted for the exalted station to which he was called, than many others
     who to a greater brilliancy of parts frequently add the eccentricity of original genius.
     Engaged in the busy scenes of life, he knew human nature, and the most proper
     method of accomplishing proposed objects. His passions were subdued and kept in
     subjection to reason. His soul superior to party spirit, to prejudice and illiberal views,



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     moved according to the impulses it received from an honest heart, a good
     understanding, common sense, and a sound judgment. He was habituated to view
     things on every side, to consider them in all relations, and to trace the possible and
     probable consequences of proposed measures. Much addicted to close thinking, his
     mind was constantly employed.
     By frequent exercise, [218] his understanding and judgment            1775
     expanded so as to be able to discern truth, and to know what was
     proper to be done in the most difficult conjunctures.

     Soon after general Washington was appointed commander in chief of the American
     army. Four major generals, one adjutant general, with the rank of a brigadier, and
     eight brigadiers general were appointed in subordination to him which were as
     follows.

     lst. Major General Artemas Ward
     2d.                Charles Lee
     3d.                Philip Schuyler
     4th.               Israel Putnam
     Adjutant General Horatio Gates

     The 8 Brigadiers were

     1st. Seth Pomeroy
     2d. Richard Montgomery
     3d. David Wooster
     4th. William Heath
     5th. Joseph Spencer
     6th. John Thomas
     7th. John Sullivan
     8th. Nathaniel Greene

     General Washington replied to the president of Congress, announcing his appointment
     in the following words.

     Mr. President,

     Though I am truly sensible of the high honour done me in this appointment, yet, I feel
     great distress from a consciousness, that my abilities and military experience may not
     be equal to the extensive and important trust: however as the Congress desire it, I will
     enter upon the momentous duty, and exert every power I possess in their service, and
     for support of the glorious cause. I beg they will accept my most cordial thanks for
     this distinguished testimony of their approbation.

     But, lest some unlucky event should happen unfavourable to my reputation, I beg it
     may be remembered by every gentleman in the room, that I this day declare with the
     utmost sincerity, I do not think myself equal to the command I am honoured with.




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     [219]
     As to pay sir, I beg leave to assure the Congress, that as no      1775
     pecuniary consideration could have tempted me to accept this
     arduous employment, at the expence of my domestic ease and happiness, I do not
     wish to make any profit from it. I will keep an exact account of my expences. Those I
     doubt not they will discharge, and that is all I desire.

     A special commission was drawn up and presented to him, and at the same time an
     unanimous resolution was adopted by Congress, “That they would maintain and assist
     him, and adhere to him with their lives and fortunes in the cause of American liberty.”
     Instructions were also given him for his government, by which after reciting various
     particulars he was directed, “to destroy or make prisoners of all persons who now are,
     or who hereafter shall appear in arms against the good people of the colonies:” but the
     whole was summed up in authorizing him “to order and dispose of the army under his
     command as might be most advantageous for obtaining the end for which it had been
     raised, making it his special care in discharge of the great trust committed to him, that
     the liberties of America received no detriment.”
     About the same time twelve companies of riflemen were ordered June 14–22
     to be raised in Pennsylvania, Maryland and Virginia. The men to
     the amount of 1430 were procured and forwarded with great expedition. They had to
     march from 4 to 700 miles, and yet the whole business was compleated and they
     joined the American army at Cambridge, in less than two months from the day on
     which the first resolution for raising them was agreed to.

     Coeval with the resolution for raising an army, was another for       June 22
     emitting a sum not exceeding two millions of Spanish milled
     dollars in bills of credit for the defence of America, and the colonies were pledged for
     the redemption of them. This sum was increased from time to time by farther
     emissions. The colonies having neither money nor revenues at their command, were
     forced to adopt this expedient, the only one which was in their power for supporting
     an army.
     No one delegate [220] opposed the measure. So great had been          1775
     the credit of the former emissions of paper in the greater part of
     the colonies, that very few at that time foresaw or apprehended the consequences of
     unfunded paper emissions, but had all the consequences which resulted from this
     measure in the course of the war been forseen, it must notwithstanding have been
     adopted, for it was a less evil, that there should be a general wreck of property, than
     that the essential rights and liberties of a growing country should be lost. A happy
     ignorance of future events combined with the ardor of the times, prevented many
     reflections on this subject, and gave credit and circulation to these bills of credit.

     General Washington soon after his appointment to the command of the American
     army set out for the camp at Cambridge. On his way thither, he received an address
     from the provincial congress of New-York, in which they expressed their joy at his
     appointment. They also said, “we have the fullest assurances that whenever this
     important contest shall be decided by that fondest wish of each American soul, an
     accommodation with our Mother Country, you will chearfully resign the important




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     deposit committed into your hands, and re-assume the character of our worthiest
     citizen.[”] The general after declaring his gratitude for the regard shewn him, added,

     Be assured that every exertion of my worthy colleagues and myself, will be extended
     to the re-establishment of peace and harmony between the Mother Country and these
     colonies. As to the fatal but necessary operations of war, when we assumed the
     soldier, we did not lay aside the citizen, and we shall most sincerely rejoice with you
     in that happy hour, when the re-establishment of American liberty, on the most firm
     and solid foundations shall enable us to return to our private stations, in the bosom of
     a free, peaceful, and happy country.

     The general on his way to camp was treated with the highest honours in every place
     through which he passed. Large detachments of volunteers composed of private
     gentlemen turned out to escort him.
     A committee from the Massachusetts Congress received him         1775
     about 100 miles [221] from Boston, and conducted him to the
     army. He was soon after addressed by the Congress of that colony in the most
     affectionate manner, in his answer he said,

     Gentlemen, your kind congratulations on my appointment and arrival, demand my
     warmest ackowledgements, and will ever be retained in grateful remembrance. In
     exchanging the enjoyments of domestic life for the duties of my present honourable
     but arduous station, I only emulate the virtue and public spirit of the whole province
     of Massachusetts, which, with a firmness and patriotism without example, has
     sacrificed all the comforts of social and political life, in support of the rights of
     mankind and the welfare of our common country. My highest ambition is to be the
     happy instrument of vindicating these rights, and to see this devoted province again
     restored to peace, liberty and safety.

     When general Washington arrived at Cambridge, he was                 July 3
     received with the joyful acclamations of the American army. At
     the head of his troops he published a declaration, previously drawn up by Congress, in
     the nature of a manifesto, setting forth the reasons for taking up arms. In this, after
     enumerating various grievances of the colonies, and vindicating them from a
     premeditated design of establishing independent states, it was added,

     In our own native land, in defence of the freedom which is our birthright, and which
     we ever enjoyed till the late violation of it—for the protection of our property,
     acquired solely by the industry of our forefathers and ourselves, against violence
     actually offered, we have taken up arms, we shall lay them down when hostilities
     shall cease on the part of the aggressors, and all danger of their being renewed shall
     be removed, and not before.

     When general Washington joined the American army, he found the British intrenched
     on Bunker’s-hill, having also three floating batteries in Mystic river, and a twenty gun
     ship below the ferry, between Boston and Charlestown. They had also a battery on
     Copse’s hill, and were strongly fortified on the neck.
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     The Americans were intrenched at Winter-hill, Prospect-hill, and Roxbury,
     communicating with one another by small posts, [222] over a distance of ten miles.
     There were also parties stationed in several towns along the sea coast. They had
     neither engineers to plan suitable works, nor sufficient tools for their erection.

     In the American camp was collected a large body of men, but without those
     conveniencies which ancient establishments have introduced for the comfort of
     regular armies. Instead of tents, sails now rendered useless by the obstructions of
     commerce, were applied for their covering; but even of them, there was not a
     sufficiency. The American soldiers having joined the camp in all that variety of
     clothing which they used in their daily labour, were without uniformity of dress. To
     abolish provincial distinctions, the hunting shirt was introduced. They were also
     without those heads of departments in the line of commissaries or quarter masters,
     which are necessary for the regular and economical supply of armies. The troops from
     Connecticut had proper officers appointed to procure them supplies, but they who
     came from the other colonies were not so well furnished. Individuals brought to camp
     their own provisions on their own horses. In some parts committees of supplies were
     appointed, who purchased necessaries at public expence, sent them on to camp, and
     distributed them to such as were in want, without any regularity or system; the
     country afforded provisions, and nothing more was wanting to supply the army than
     proper systems for their collection and distribution. Other articles, though equally
     necessary, were almost wholly deficient, and could not be procured but with
     difficulty. On the 4th of August the whole stock of powder in the American camp, and
     in the public magazines of the four New-England provinces, would make but little
     more than nine rounds a man. The continental army remained in this destitute
     condition for a fortnight or more. This was generally known among themselves, and
     was also communicated to the British, by a deserter, but they suspecting a plot would
     not believe it. A supply of a few tons was sent on to them from the committee of
     Elizabeth-town, but this was done privately, lest the adjacent inhabitants, who were
     equally destitute [223] should stop it for their own use.
     The public rulers in Massachusetts issued a recommendation to 1775
     the inhabitants, not to fire a gun at beast, bird or mark, in order
     that they might husband their little stock for the more necessary purpose of shooting
     men. A supply of several thousand pounds weight of powder, was soon after obtained
     from Africa in exchange for New-England rum. This was managed with so much
     address, that every ounce for sale in the British forts on the African coasts, was
     purchased up and brought off for the use of the Americans.

     Embarrassments from various quarters occurred in the formation of a continental
     army. The appointment of general officers made by Congress, was not satisfactory.
     Enterprising leaders had come forward with their followers on the commencement of
     hostilities, without scrupulous attention to rank. When these were all blended
     together, it was impossible to assign to every officer the station which his services
     merited, or his vanity demanded. Materials for a good army were collected. The
     husbandmen who flew to arms were active, zealous, and of unquestionable courage,
     but to introduce discipline and subordination, among free men who were habituated to
     think for themselves, was an arduous labour.




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     The want of system and of union, under proper heads, pervaded every department.
     From the circumstance that the persons employed in providing necessaries for the
     army were unconnected with each other, much waste and unnecessary delays were
     occasioned. The troops of the different colonies came into service under variant
     establishments—some were enlisted with the express condition of choosing their
     officers. The rations promised by the local legislatures varied both as to quantity,
     quality and price. To form one uniform mass of these discordant materials, and to
     subject the licentiousness of independent freemen to the controul of military
     discipline, was a delicate and difficult business.

     The continental army put under the command of general Washington, amounted to
     about 14,500 men.
     These had been so judiciously stationed round Boston, as [224] 1775
     to confine the British to the town, and to exclude them from the
     forage and provisions which the adjacent country and islands in Boston-bay afforded.
     This force was thrown into three grand divisions. General Ward commanded the right
     wing at Roxbury. General Lee the left at Prospect-hill, and the centre was commanded
     by general Washington. In arranging the army, the military skill of adjutant-general
     Gates was of great service. Method and punctuality were introduced. The officers and
     privates were taught to know their respective places, and to have the mechanism and
     movements as well as the name of an army.

     When some effectual pains had been taken to discipline the army, it was found that
     the term for which enlistments had taken place, was on the point of expiring. The
     troops from Connecticut and Rhode-Island were only engaged till the 1st day of
     December 1775, and no part of the army longer than the first day of January 1776.
     Such mistaken apprehensions respecting the future conduct of Great-Britain prevailed,
     that many thought the assumption of a determined spirit of resistance would lead to a
     redress of all their grievances.

     Towards the close of the year, general Gage sailed for England,       Oct. 10
     and the command devolved on general Howe.

     The Massachusetts assembly and continental Congress both              Nov.
     resolved, to fit out armed vessels to cruise on the American
     coast, for the purpose of interrupting warlike stores and supplies designed for the use
     of the British army. The object was at first limited, but as the prospect of
     accommodation vanished, it was extended to all British property afloat on the high
     seas. The Americans were diffident of their ability to do any thing on water in
     opposition to the greatest naval power in the world, but from a combination of
     circumstances, their first attempts were successful.

     The Lee privateer, captain Manly, took the brig Nancy, an        Nov. 29
     ordnance ship from Woolwich, containing a large brass mortar,
     several pieces of brass cannon, a large quantity of arms and ammunition, with all
     manner of tools, [225]
     utensils and machines, necessary for camps and artillery. Had    1775
     Congress sent an order for supplies, they could not have made



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     out a list of articles more suitable to their situation, than what was thus providentially
     thrown into their hands.

     In about 9 days after three ships, with various stores for the       Dec. 8
     British army, and a brig from Antigua with rum, were taken by
     capt. Manly. Before five days more had elapsed, several other store ships were
     captured. By these means the distresses of the British troops, in Boston, were
     increased, and supplies for the continental army were procured. Naval captures, being
     unexpected, were matter of triumph to the Americans, and of surprize to the British.
     The latter scarcely believed that the former would oppose them by land with a regular
     army, but never suspected that a people, so unfurnished as they were with many
     things necessary for arming vessels, would presume to attempt any thing on water. A
     spirit of enterprize, invigorated by patriotic zeal, prompted the hardy New
     Englandmen to undertake the hazardous business, and their success encouraged them
     to proceed.
     Before the close of the year, Congress determined to build 5         Dec. 13
     vessels of 32 guns, 5 of 28, and 3 of 24. While the Americans
     were fitting out armed vessels, and before they had made any captures, an event took
     place which would have disposed a less determined people to desist from provoking
     the vengeance of the British navy. This was the burning of Falmouth in the northern
     parts of Massachusetts.
     Captain Mowat, in the Canceaux of sixteen guns, destroyed 139 Oct. 18
     houses and 278 stores, and other buildings in that town.

     This spread an alarm on the coast, but produced no disposition to submit, many
     moved from the sea ports with their families and effects, but no solicitations were
     preferred for the obtaining of British protection.

     In a few days after the burning of Falmouth, the old south meeting house in Boston,
     was taken into possession by the British, and destined for a riding school, and the
     service of the light dragoons. These proceedings produced, in the minds of the
     colonists, a more determined spirit of resistance, and a more general aversion to
     Great-Britain.




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     CHAPTER VIII

     Ticonderoga Taken, And Canada Invaded.
     [226]
     It early occurred to many, that if the sword decided the             1775
     controversy between Great-Britain and her colonies, the
     possession of Ticonderoga would be essential to the security of the latter. Situated on
     a promontory, formed at the junction of the waters of lake George and lake
     Champlain, it is the key of all communication between New-York and Canada.
     Messrs. Deane, Wooster, Parsons, Stevens, and others of Connecticut, planned a
     scheme for obtaining possession of this valuable post. Having procured a loan of 1800
     dollars of public money, and provided a sufficient quantity of powder and ball, they
     set off for Bennington, to obtain the co-operation of colonel Allen of that place. Two
     hundred and seventy men, mostly of that brave and hardy people, who are called
     green mountain boys, were speedily collected at Castleton, which was fixed on as the
     place of rendezvous. At this place colonel Arnold, who, though attended only with a
     servant, was prosecuting the same object, unexpectedly joined them. He had been
     early chosen a captain of a volunteer company, by the inhabitants of New-Haven,
     among whom he resided. As soon as he recieved news of the Lexington battle, he
     marched off with his company for the vicinity of Boston, and arrived there, though
     150 miles distant, in a few days. Immediately after his arrival he waited on the
     Massachusetts committee of safety, and informed them, that there were at
     Ticonderoga many pieces of cannon and a great quantity of valuable stores, and that
     the fort was in a ruinous condition, and garrisoned only by about 40 men. They
     appointed him a colonel, and commissioned him to raise 400 men, and to take
     Ticonderoga. The leaders of the party which had previously rendezvoused at
     Castleton, admitted colonel Arnold to join them, and it was agreed that colonel Allen
     should be the commander in chief of the expedition, and that colonel Arnold should
     be his assistant. They proceeded without delay, and arrived in the night at lake
     Champlain, opposite to Ticonderoga. [227] Allen and Arnold crossed over with 83
     men, and landed near the garrison. They contended who should go in first, but it was
     at last agreed that they should both go in together.
     They advanced abreast, and entered the fort at the dawning of        May 9
     day.
     A sentry snapped his piece at one of them, and then retreated        May 10
     through the covered way to the parade. The Americans followed
     and immediately drew up. The commander surprised in his bed, was called upon to
     surrender the fort. He asked, by what authority? Colonel Allen replied, “I demand it in
     the name of the great Jehovah, and the Continental Congress.” No resistance was
     made, and the fort with its valuable stores, and forty-eight prisoners, fell into the
     hands of the Americans. The boats had been sent back for the remainder of the men,
     but the business was done before they got over. Colonel Seth Warner was sent off
     with a party to take possession of Crown-point, where a serjeant and 12 men
     performed garrison duty. This was speedily effected. The next object, calling for the



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     attention of the Americans, was to obtain the command of lake Champlain, but to
     accomplish this, it was necessary for them to get possession of a sloop of war, lying at
     St. John’s, at the northern extremity of the lake. With the view of capturing this sloop
     it was agreed to man and arm a schooner lying at South Bay, and that Arnold should
     command her, and that Allen should command some batteaux on the same expedition.
     A favourable wind carried the schooner a-head of the batteaux, and colonel Arnold
     got immediate possession of the sloop by surprise. The wind again favouring him, he
     returned with his prize to Ticonderoga, and rejoined colonel Allen. The latter soon
     went home, and the former with a number of men agreed to remain there in garrison.
     In this rapid manner the possession of Ticonderoga, and the command of lake
     Champlain was obtained, without any loss, by a few determined men. Intelligence of
     these events was in a few days communicated to Congress, which met for the first
     time, at 10 o’clock of the same day, in the morning of which, Ticonderoga was taken.
     They rejoiced in the spirit of enterprise, displayed by their [228] 1775
     countrymen, but feared the charge of being aggressors, or of
     doing any thing to widen the breach between Great-Britain and the colonies; for an
     accommodation was at that time, nearly their unanimous wish. They therefore
     recommended to the committees of the cities and counties of New-York and Albany,
     to cause the cannon and stores to be removed from Ticonderoga to the south end of
     lake George, and to take an exact inventory of them, “in order that they might be
     safely returned when the restoration of the former harmony between Great-Britain and
     the colonies, so ardently wished for by the latter, should render it prudent and
     consistent with the overruling law of self-preservation. ”

     Colonel Arnold having begun his military career with a series of June 13
     successes, was urged by his native impetuosity to project more
     extensive operations. He wrote a letter to Congress, strongly urging an expedition into
     Canada, and offering with 2000 men to reduce the whole province. In his ardent zeal
     to oppose Great-Britain, he had advised the adoption of offensive war, even before
     Congress had organised an army or appointed a single military officer. His
     importunity was at last successful, as shall hereafter be related, but not till two months
     had elapsed, subsequent to his first proposition of conducting an expedition against
     Canada. Such was the increasing fervor of the public mind in 1775, that what, in the
     early part of the year, was deemed violent and dangerous, was in its progress
     pronounced both moderate and expedient.

     Sir Guy Carleton, the king’s governor in Canada no sooner heard that the Americans
     had surprised Ticonderoga and Crown-point, and obtained the command of lake
     Champlain, than he planned a scheme for their recovery. Having only a few regular
     troops under his command, he endeavored to induce the Canadians and Indians to co-
     operate with him, but they both declined. He established martial law that he might
     compel the inhabitants to take arms. They declared themselves ready to defend the
     province, but refused to march out of it, or to commence hostilities on their neighbors.
     Colonel Johnston had, on the same occasion, repeated                 1775
     conferences with the [229] Indians, and endeavored to influence
     them to take up the hatchet, but they steadily refused. In order to gain their co-
     operation he invited them to feast on a Bostonian, and to drink his blood. This, in the
     Indian style, meant no more than to partake of a roasted ox and a pipe of wine, at a



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     public entertainment, which was given on design to influence them to co-operate with
     the British troops. The colonial patriots, affected to understand it in its literal sense. It
     furnished, in their mode of explication, a convenient handle for operating on the
     passions of the people.

     These exertions in Canada, which were principally made with a view to recover
     Ticonderoga, Crown-point, and the command of lake Champlain, induced Congress to
     believe that a formidable invasion of their northwestern frontier was intended, from
     that quarter. The evident tendency of the Quebec act favoured this opinion. Believing
     it to be the fixed purpose of the British ministry to attack the united colonies on that
     side, they conceived that they would be inexcusable if they neglected the proper
     means for warding off so terrible a blow. They were also sensible that the only
     practicable plan to effect this purpose, was to make a vigorous attack upon Canada,
     while it was unable to resist the unexpected impression. Their success at Ticonderoga
     and Crown-point, had already paved the way for this bold enterprize, and had broken
     down the fences which guarded the entrance into that province. On the other hand,
     they were sensible that by taking this step, they changed at once the whole nature of
     the war. From defensive it became offensive, and subjected them to the imputation of
     being the aggressors. They were well aware that several who had espoused their cause
     in Britain, would probably be offended at this measure, and charge them with
     heightening the mischiefs occasioned by the dispute. They knew that the principles of
     resistance, as far as they had hitherto acted upon them, were abetted by a considerable
     party even in Great-Britain; and that to forfeit their good opinion, might be of great
     disservice. Considerations of this kind made them weigh well the important step
     before [230] they ventured upon it.
     They on the other hand reflected that the eloquence of the            1775
     minority in parliament, and the petitions and remonstrances of
     the merchants in Great-Britain, had produced no solid advantages in their favour; and
     that they had no chance of relief, but from the smiles of heaven on their own
     endeavors. The danger was pressing. War was not only inevitable, but already begun.
     To wait till they were attacked by a formidable force at their backs, in the very instant
     when their utmost exertions would be requisite, perhaps insufficient, to protect their
     cities and sea coast against an invasion from Britain, would be the summit of folly.
     The laws of war and of nations justified the forestalling of an enemy. The colonists
     argued that to prevent known hostile intentions, was a matter of self defence; they
     were also sensible they had already gone such lengths as could only be vindicated by
     arms; and that if a certain degree of success did not attend their resistance, they would
     be at the mercy of an irritated government, and their moderation in the single instance
     of Canada, would be an unavailing plea for indulgence. They were also encouraged to
     proceed, by certain information that the French inhabitants of Canada, except the
     noblesse and the clergy, were as much discontented with their present system of
     government as even the British settlers. It seemed therefore probable, that they would
     consider the provincials, rather as friends than as enemies. The invasion of that
     province was therefore determined upon, if found practicable, and not disagreeable to
     the Canadians.

     Congress had committed the management of their military arrangements, in this
     northern department, to general Schuyler and general Montgomery. While the former



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     remained at Albany, to attend an Indian treaty, the latter was sent forward to
     Ticonderoga, with a body of troops from New-York and New-England. Soon after
     reaching Ticonderoga, he made a movement down Lake Champlain. General Schuyler
     overtook him at Cape le Motte; from thence they moved on to Isle aux Noix.
     About this time general Schuyler addressed the inhabitants           1775
     informing them, “that the only views of [231] Congress were to
     restore to them those rights which every subject of the British empire, of whatever
     religious sentiments he may be, is entitled to; and that in the execution of these truths
     he had received the most positive orders to cherish every Canadian, and every friend
     to the cause of liberty, and sacredly to guard their property.”
     The Americans, about 1000 in number, effected a landing at St. Sep. 10
     John’s, which being the first British post in Canada, lies only 115
     miles to the northward of Ticonderoga. The British piquets were driven into the fort.
     The environs were then reconnoitered, and the fortifications were found to be much
     stronger than had been suspected. This induced the calling of a council of war, which
     recommended a retreat to Isle aux Noix, twelve miles south of St. John’s, to throw a
     boom across the channel, and to erect works for its defence. Soon after this event, an
     extreme bad state of health induced general Schuyler to retire to Ticonderoga, and the
     command devolved on general Montgomery.

     This enterprising officer in a few days returned to the vicinity of St. John’s, and
     opened a battery against it. Ammunition was so scarce, that the siege could not be
     carried on with any prospect of speedy success. The general detached a small body of
     troops, to attempt the reduction of fort Chamblee, only six miles distant. Success
     attended this enterprize. By its surrender six tons of gun powder were obtained, which
     enabled the general to prosecute the siege of St. John’s with vigor. The garrison,
     though straitened for provisions, persevered in defending themselves with unabating
     fortitude. While general Montgomery was prosecuting this siege, the governor of the
     province collected, at Montreal, about 800 men chiefly militia and Indians. He
     endeavored to cross the river St. Lawrence, with this force, and to land at Lonqueil,
     intending to proceed thence to attack the besiegers, but colonel Warner with 300
     green mountain boys, and a four pounder, prevented the execution of the design. The
     governor’s party was suffered to come near the shore, but was then fired upon with
     such effect as to make them retire after sustaining great loss.

     [232] An account of this affair being communicated to the garrison in St. John’s,
     major Preston, the commanding officer surrendered, on receiving honorable terms of
     capitulation. By these it was agreed, that the garrison should march out with the
     honors of war, that the officers and privates should ground their arms on the
     plain—the oficers keep their side arms and their fire arms, be reserved for them, and
     that the people of the garrison should retain their effects. About 500 regulars and 100
     Canadians became prisoners to the provincials. They also acquired 39 pieces of
     cannon, seven mortars, and two howitzers, and about 800 stand of arms. Among the
     cannon were many brass field pieces, an article of which the Americans were nearly
     destitute.

     While the siege of St. John’s was pending, colonel Allen, who was returning with
     about 80 men from a tour on which he had been sent by his general, was captured by



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     the British near Montreal, loaded with irons, and in that condition sent to England.
     Major Brown proposed that colonel Allen should return to Lonqueil, procure canoes,
     and cross the river St. Lawrence, a little to the north of Montreal, while he with a
     force of about 200 men crossed a little to the south of it. The former crossed in the
     night, but the latter by some means failed on his part. Colonel Allen found himself the
     next morning unsupported, and exposed to immediate danger, but nevertheless
     concluded on maintaining his ground. General Carleton, knowing his weakness,
     marched out against him with a superior force. The colonel defended himself with his
     wonted bravery, but being deserted by several of his party, and having lost fifteen of
     his men, he was compelled to surrender with the remainder amounting to 38.

     After the reduction of St. John’s, general Montgomery proceeded towards Montreal.
     The few British forces there, unable to stand their ground, repaired for safety on board
     the shipping in hopes of escaping down the river, but they were prevented by colonel
     Easton, who was stationed at the point of Sorel river, with a number of continental
     troops, some cannon, and an armed gondola. [233]
     General Prescot, who was on board with several officers, and          1775
     about 120 privates, having no chance of escape, submitted to be
     prisoners on terms of capitulation. Eleven sail of vessels, with all their contents,
     consisting of ammunition, provision, and entrenching tools, became the property of
     the provincials. Governor Carleton, was about this time conveyed in a boat with
     muffled paddles, by a secret way to the Three Rivers, and from thence to Quebec in a
     few days.

     When Montreal was evacuated by the troops, the inhabitants applied to general
     Montgomery for capitulation. He informed them, that as they were defenseless, they
     could not expect such a concession, but he engaged upon his honour to maintain the
     individuals and religious communities of the city, in the peaceable enjoyment of their
     property, and the free exercise of their religion. In all his transactions, he spoke,
     wrote, and acted, with dignity and propriety, and in particular treated the inhabitants
     with liberality and politeness.

     Montreal which at this time surrendered to the provincials carried on an extensive
     trade, and contained many of those articles, which from the operation of the
     resolutions of Congress, could not be imported into any of the united colonies. From
     these stores the American soldiers, who had hitherto suffered from the want of
     suitable clothing, obtained a plentiful supply.

     General Montgomery, after leaving some troops in Montreal, and sending
     detachments into different parts of the province to encourage the Canadians, and to
     forward provisions, advanced towards the capital. His little army arrived with
     expedition before Quebec. Success had hitherto crowned every attempt of general
     Montgomery, but notwithstanding, his situation was very embarrassing. Much to be
     pitied is the officer, who having been bred to arms, in the strict discipline of regular
     armies, is afterwards called to command men who carry with them the spirit of
     freedom into the field.
     The greater part of the Americans, officers as well as soldiers,      1775
     having never seen any service, were ignorant of their duty, and



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     but feebly impressed with the military ideas of union, subordination [234] and
     discipline. The army was continental in name and pay, but in no other respect. Not
     only the troops of different colonies conceived themselves independent of each other,
     but in some instances the different regiments of the same colony, were backward to
     submit to the orders of officers in a higher grade of another line. They were also soon
     tired of a military life. Novelty and the first impulse of passion had led them to camp;
     but the approaching cold season, together with the fatigues and dangers incident to
     war, induced a general wish to relinquish the service. Though by the terms of their
     enlistment, they were to be discharged in a few weeks, they could not brook an
     absence from their homes for that short space of time. The ideas of liberty and
     independence, which roused the colonists to oppose the claims of Great-Britain,
     operated against that implicit obedience which is necessary to a well regulated army.

     Even in European states, where long habits have established submission to superiors
     as a primary duty of the common people, the difficulty of governing recruits, when
     first led to the field from civil occupations, is great; but to exercise discipline over
     freemen, accustomed to act only from the impulse of their own minds, required not
     only a knowledge of human nature, but an accommodating spirit, and a degree of
     patience which is rarely found among officers of regular armies. The troops under the
     immediate command of general Montgomery, were from their usual habits, averse to
     the ideas of subordination, and had suddenly passed from domestic ease, to the
     numberless wants and distresses which are incident to marches through strange and
     desert countries. Every difficulty was increased by the short term for which they were
     enlisted. To secure the affections of the Canadians, it was necessary for the American
     general to restrain the appetites, and control the licentiousness of his soldiery, while
     the appearance of military harshness was dangerous, lest their good will might be
     forfeited. In this choice of difficulties, the genius of Montgomery surmounted many
     obstacles.
     During his short but glorious [235 ] career, he conducted with so 1775
     much prudence, as to make it doubtful whether we ought to
     admire most the goodness of the man, or the address of the general.

     About the same time that Canada was invaded, in the usual route from New-York, a
     considerable detachment from the American army at Cambridge, was conducted into
     that royal province by a new and unexpected passage.
     Colonel Arnold, who successfully conducted this bold                 Sep. 13
     undertaking, thereby acquired the name of the American
     Hannibal. He was detached with a thousand men, from Cambridge to penetrate into
     Canada, by ascending the river Kennebeck, and descending by the Chaundiere to the
     river St. Lawrence. Great were the difficulties these troops had to encounter in
     marching by an unexplored route, 300 miles through an uninhabited country. In
     ascending the Kennebeck, they were constantly obliged to work upwards against an
     impetuous current. They were often compelled by cataracts or other impediments, to
     land and to haul their batteaux up rapid streams, and over falls of rivers. Nor was their
     march by land more eligible than this passage by water. They had deep swamps, thick
     woods, difficult mountains, and craggy precipices alternatively to encounter. At some
     places they had to cut their way for miles together through forests so embarrassed,
     that their progress was only four or five miles a day. The constant fatigue caused



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     many men to fall sick. One third of the number which set out, were from want of
     necessaries obliged to return; the others proceeded with unabated fortitude and
     constancy. Provisions grew at length so scarce, that some of the men ate their dogs,
     cartouch boxes, breeches and shoes. When they were an hundred miles from any
     habitation or prospect of a supply their whole store was divided, which yielded four
     pints of flour for each man. After they had baked and eaten their last morsel, they had
     thirty miles to travel before they could expect any farther supply. The men bore up
     under these complicated distresses with the greatest fortitude. They gloried in the
     hope of completing a march which would rival the fame of similar expeditions
     undertaken by the heroes of antiquity. [236]
     Having spent thirty one days in traversing a hideous wilderness, 1775
     without ever seeing anything human, they at length reached the
     inhabited parts of Canada. They were there well received, and supplied with every
     thing necessary for their comfort. The Canadians were struck with amazement when
     they saw this armed force emerging from the wilderness. It had never entered their
     conceptions that it was possible for human beings to traverse such immense wilds.
     The most pointed instructions had been given to this corps, to conciliate the affections
     of the Canadians. It was particularly enjoined upon them, if the son of lord Chatham,
     then an officer in one of the British regiments in that province, should fall into their
     hands, to treat him with all possible attention, in return for the great exertions of his
     father in behalf of American liberty. A manifesto subscribed by general Washington,
     which had been sent from Cambridge with this detachment, was circulated among the
     inhabitants of Canada. In this they were invited to arrange themselves under the
     standard of general liberty; and they were informed that the American army was sent
     into the province, not to plunder but to protect them.

     While general Montgomery lay at Montreal, colonel Arnold               Nov. 8
     arrived at Point Levy, opposite to Quebec. Such was the
     consternation of the garrison and inhabitants at his unexpected appearance, that had
     not the river intervened, an immediate attack in the first surprize and confusion, might
     have been successful. The bold enterprise of one American army marching through
     the wilderness, at a time when success was crowning every undertaking of another
     invading in a different direction, struck terror into the breasts of those Canadians who
     were unfriendly to the designs of Congress. The embarrassments of the garrison were
     increased by the absence of sir Guy Carleton. That gallant officer, on hearing of
     Montgomery’s invasion, prepared to oppose him in the extremes of the province.
     While he was collecting a force to attack invaders in one direction, a different corps,
     emerging out of the depths of an unexplored wilderness, suddenly appeared from
     another.
     In a few days after colonel Arnold [237] had arrived at Point          1775
     Levy, he crossed the river St. Lawrence, but his chance of
     succeeding by a coup de main was in that short space greatly diminished. The critical
     moment was past. The panic occasioned by his first appearance had abated, and solid
     preparations for the defence of the town were adopted. The inhabitants, both English
     and Canadians as soon as danger pressed, united for their common defence. Alarmed
     for their property, they were, at their own request, embodied for its security. The
     sailors were taken from the shipping in the harbour, and put to the batteries on shore.
     As colonel Arnold had no artillery, after parading some days on the heights near



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     Quebec, he drew off his troops, intending nothing more until the arrival of
     Montgomery, than to cut off supplies from entering the garrison.

     So favourable were the prospects of the united colonies at this period, that general
     Montgomery set on foot a regiment of Canadians, to be in the pay of Congress. James
     Livingston, a native of New York, who had long resided in Canada, was appointed to
     the command thereof, and several recruits were engaged for the term of twelve
     months. The inhabitants on both sides of the river St. Laurence, were very friendly.
     Expresses in the employ of the Americans, went without molestation, backwards and
     forwards, between Montreal and Quebec. Many individuals performed signal services
     in favour of the invading army. Among a considerable number Mr. Price stands
     conspicuous, who advanced 5000£. in specie, for their use.

     Various causes had contributed to attach the inhabitants of Canada, especially those of
     the inferior classes, to the interest of Congress, and to alienate their affections from
     the government of Great-Britain. The contest was for liberty, and there is something
     in that sound, captivating to the mind of man in a state of original simplicity. It was
     for the colonies, and Canada was also a colony. The objects of the war were therefore
     supposed to be for their common advantage. The form of government lately imposed
     on them by act of parliament, was far from being so free as the constitutions of the
     other [238] colonies, and was in many respects particularly oppressive.
     The common people had no representative share in enacting the 1775
     laws by which they were to be governed, and were subjected to
     the arbitrary will of persons, over whom they had no constitutional control.
     Distinctions so degrading were not unobserved by the native Canadians, but were
     more obvious to those who had known the privileges enjoyed in the neighbouring
     provinces. Several individuals educated in New-England and New-York, with the
     high ideas of liberty inspired by their free constitutions, had in the interval between
     the peace of Paris 1763, and the commencement of the American war, migrated into
     Canada. Such, sensibly felt the difference between the governments they had left, and
     the arbitrary constitution imposed on them, and both from principle and affection,
     earnestly persuaded the Canadians to make a common cause with the United
     Colonies.

     Though motives of this kind induced the peasantry of the country to espouse the
     interest of Congress, yet sundry individuals, and some whole orders of men, threw the
     weight of their influence into the opposite scale. The legal privileges which the
     Roman Catholic clergy enjoyed, made them averse to a change, lest they should be
     endangered by a more intimate connection with their protestant neighbours. They
     used their influence in the next world, as an engine to operate on the movements of
     the present. They refused absolution to such of their flocks as abetted the Americans.
     This interdiction of the joys of heaven, by those who were supposed to hold the keys
     of it, operated powerfully on the opinions and practices of the superstitious multitude.
     The seigneurs had also immunities unknown in the other colonies. Such is the
     fondness for power in every human breast, that revolutions are rarely favoured by any
     order of men who have reason to apprehend that their future situation will, in case of a
     change, be less pre-eminent than before. The sagacious general Montgomery, no less




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     a man of the world than an officer, discovered great address in accommodating
     himself to these clashing interests.
     Though he knew the part the popish clergy had acted in                 1775
     opposition [239] to him, yet he conducted towards them as if
     totally ignorant of the matter; and treated them and their religion with great respect
     and attention. As far as he was authorised to promise, he engaged that their
     ecclesiastical property should be secured, and the free exercise of their religion
     continued. To all he held forth the flattering idea of calling a convention of
     representatives, freely chosen, to institute by its own will, such a form of government
     as they approved. While the great mind of this illustrious man, was meditating
     schemes of liberty and happiness, a military force was collecting and training to
     oppose him, which in a short time put a period to his valuable life.

     At the time the Americans were before Montreal, general Carleton, as has been
     related, escaped through their hands, and got safe to Quebec. His presence was itself a
     garrison. The confidence reposed in his talents, inspired the men under his command
     to make the most determined resistance. Soon after his arrival he issued a
     proclamation, setting forth, “That all persons liable to do militia duty, and residing in
     Quebec, who refused to arm in conjunction with the royal army, should in four days
     quit Quebec with their families, and withdraw themselves from the limits of the
     district by the first of December, on pain of being treated afterwards as spies or
     rebels.” All who were unwilling to co-operate with the British army, being thus
     disposed of, the remaining inhabitants, though unused to arms, became in a little time
     so far acquainted with them as to be very useful in defending the town. They
     supported fatigues and submitted to command with a patience and chearfulness, that
     could not be exceeded by men familiarized to the hardships and subordination of a
     military life.

     General Montgomery having effected at Point aux Trembles, a          Dec. 1
     junction with colonel Arnold, commenced the siege of Quebec.
     Upon his arrival before the town, he wrote a letter to the British governor,
     recommending an immediate surrender, to prevent the dreadful consequences of a
     storm.
     Though the flag which conveyed this letter was fired upon, and 1775
     all communication refused, [240] general Montgomery found
     other means to convey a letter of the same tenor into the garrison, but the inflexible
     firmness of the governor could not be moved either by threats or dangers. The
     Americans soon after commenced a bombardment with five small mortars, but with
     very little effect. In a few days general Montgomery opened a six gun battery, at the
     distance of seven hundred yards from the walls, but his metal was too light to make
     any impression.

     The news of general Montgomery’s success in Canada had filled the colonies with
     expectations, that the conquest of Quebec would soon add fresh lustre to his already
     brilliant fame. He knew well the consequences of popular disappointment, and was
     besides of opinion that unless something decisive was immediately done, the benefit
     of his previous acquisitions would in a great degree be lost to the American cause. On
     both accounts, he was strongly impelled to make every exertion for satisfying the



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     expectations and promoting the interest of a people, who had honoured him with so
     great a share of their confidence. The government of Great-Britain, in the extensive
     province of Canada, was at that time reduced to the single town of Quebec. The
     astonished world saw peaceable colonists suddenly transformed into soldiers, and
     these marching through unexplored wildernesses, and extending themselves by
     conquests, in the first moment after they had assumed the profession of arms.
     Towards the end of the year, the tide of fortune began to turn. Dissentions broke out
     between colonel Arnold and some of his officers, threatening the annihilation of
     discipline. The continental currency had no circulation in Canada, and all the hard
     money furnished for the expedition, was nearly expended. Difficulties of every kind
     were daily increasing. The extremities of fatigue were constantly to be encountered.
     The American general had not a sufficient number of men to make the proper reliefs
     in the daily labours they underwent; and that inconsiderable number, worn down with
     toil, was constantly exposed to the severities of a Canada winter.
     The period for which a great part of his men had enlisted, being 1775
     on the point of expiration, [241] he apprehended that they who
     were entitled to it, would insist on their discharge. On the other hand, he saw no
     prospect of staggering the resolution of the garrison. They were well supplied with
     every thing necessary for their defence, and were daily acquiring additional firmness.
     The extremity of winter was fast approaching. From these combined circumstances,
     general Montgomery was impressed with a conviction, that the siege should either be
     raised, or brought to a summary termination. To storm the place was the only feasible
     method of effecting the latter purpose. But this was an undertaking, in which success
     was but barely possible. Great minds are seldom exact calculators of danger. Nor do
     they minutely attend to the difficulties which obstruct the attainment of their objects.
     Fortune, in contempt of the pride of man, has ever had an influence in the success or
     failure of military enterprises. Some of the greatest achievements, of that kind, have
     owed their success to a noble contempt of common forms.

     The upper part of Quebec was surrounded with very strong works, and the access
     from the lower town was excessively difficult, from its almost perpendicular
     steepness. General Montgomery, from a native intrepidity, and an ardent thirst for
     glory, overlooked all these dangers, and resolved at once either to carry the place or
     perish in the attempt. Trusting much to his good fortune—confiding in the bravery of
     his troops, and their readiness to follow whithersoever he should lead; and depending
     somewhat on the extensiveness of the works, he determined to attempt the town by
     escalade.

     The garrison of Quebec at this time consisted of about 1520 men, of which 800 were
     militia, and 450 were seamen, belonging to the king’s frigates, or merchant ships in
     the harbour. The rest were marines, regulars, or colonel Maclean’s new raised
     emigrants. The American army consisted of about 800 men. Some had been left at
     Montreal, and near a third of Arnold’s detachment, as has been related, had returned
     to Cambridge.

     General Montgomery having divided this little force into four detachments, ordered
     two feints to be made [242] against the upper town, one by colonel Livingston, at the
     head of the Canadians against St. John’s gate; and the other by major Brown, against



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     cape Diamond, reserving to himself and colonel Arnold the two principal attacks,
     against the lower town.
     At five o’clock in the morning general Montgomery advanced            Dec. 31
     against the lower town. He passed the first barrier, and was just
     opening to attack the second, when he was killed, together with his aid de camp,
     captain John M’Pherson, captain Cheesman, and some others. This so dispirited the
     men that colonel Campbell, on whom the command devolved, thought proper to draw
     them off. In the mean time colonel Arnold, at the head of about 350 men, passed
     through St. Roques, and approached near a two gun battery, without being discovered.
     This he attacked, and though it was well defended, carried it, but with considerable
     loss. In this attack colonel Arnold received a wound, which made it necessary to carry
     him off the field of battle. His party nevertheless continued the assault, and pushing
     on, made themselves masters of a second barrier. These brave men sustained the force
     of the whole garrison for three hours, but finding themselves hemmed in, and without
     hopes either of success, relief or retreat, they yielded to numbers, and the
     advantageous situation of their adversaries. The loss of the Americans in killed and
     wounded, was about 100, and 300 were taken prisoners. Among the slain were captain
     Kendricks, lieutenant Humphries, and lieutenant Cooper. The behaviour of the
     provincial troops was such as might have silenced those who had reproached them for
     being deficient in courage. The most experienced veterans could not have exceeded
     the firmness they displayed in their last attack. The issue of this assault relieved the
     garrison of Quebec from all apprehensions for its safety. The provincials were so
     much weakened, as to be scarcely equal to their own defence. However, colonel
     Arnold had the boldness to encamp within three miles of the town, and had the
     address, even with his reduced numbers, to impede the conveyance of refreshments
     and provisions into the garrison. His situation was extremely difficult.
     He was [243] at an immense distance from those parts where            1775
     effectual assistance could be expected. On his first entrance into
     the province, he had experienced much kind treatment from the inhabitants. The
     Canadians, besides being fickle in their resolutions, are apt to be biassed by success.
     Their disposition to aid the Americans, became therefore daily more precarious. It
     was even difficult to keep the provincial troops from returning to their respective
     homes. Their sufferings were great. While their adversaries were comfortably housed
     in Quebec, they were exposed in the open air to the extreme rigour of the season. The
     severity of a Canada winter was far beyond any thing with which they were
     acquainted. The snow lay above four feet deep on a level.

     This deliverance of Quebec may be considered as a proof how much may be done by
     one man for the preservation of a country. It also proves that soldiers may in a short
     time be formed out of the mass of citizens.

     The conflict being over, the ill will which had subsisted, during the siege, between the
     royal and provincial troops gave way to sentiments of humanity. The Americans, who
     surrendered, were treated with kindness. Ample provisions were made for their
     wounded, and no unnecessary severity shewn to any. Few men have ever fallen in
     battle, so much regretted by both sides, as general Montgomery. His many amiable
     qualities had procured him an uncommon share of private affection, and his great
     abilities an equal proportion of public esteem. Being a sincere lover of liberty, he had



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     engaged in the American cause from principle, and quitted the enjoyment of an easy
     fortune, and the highest domestic felicity, to take an active share in the fatigues and
     dangers of a war, instituted for the defence of the community of which he was an
     adopted member. His well known character was almost equally esteemed by the
     friends and foes of the side which he had espoused. In America he was celebrated as a
     martyr to the liberties of mankind; in Great-Britain as a misguided, good man,
     sacrificing to what he supposed to be the rights of his country. His name was
     mentioned in parliament with singular respect.
     Some of the most [244] powerful speakers in that illustrious          1775
     assembly, displayed their eloquence in sounding his praise and
     lamenting his fate. Those in particular who had been his fellow soldiers in the late
     war, expatiated on his many virtues. The minister himself acknowledged his worth,
     while he reprobated the cause for which he fell. He concluded an involuntary
     panegyric, by saying, “Curse on his virtues, they have undone his country.”

     Though the invasion of Canada was finally unsuccessful, yet the advantages which
     the Americans gained in the months of September and October, gave fresh spirits to
     their army and people. The boldness of the enterprise, might have taught Great-Britain
     the folly of persisting in the design of subjugating America. But instead of preserving
     the union, and restoring the peace of the empire by repealing a few of her laws, she
     from mistaken dignity, resolved on a more vigorous prosecution of the war.




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     CHAPTER IX

     Transactions In Virginia, The Carolinas, Georgia, And The
     General State Of Public Affairs In The Colonies.
     It has already been mentioned, that the colonists from the rising of Congress in
     October 1774, and particularly after the Lexington battle, were attentive to the
     training their militia, and making the necessary preparations for their defence.

     The effects of their arrangements, for this purpose, varied with circumstances.

     Where there were no royal troops, and where ordinary prudence was observed, the
     public peace was undisturbed. In other cases, the intemperate zeal of governors, and
     the imprudent warmth of the people, anticipated the calamities of war before its
     proper time. Virginia, though there was not a single British soldier within its limits,
     was, by the indiscretion of its governor, lord Dunmore, involved, for several months,
     in difficulties, but little short of those to which the inhabitants of Massachusetts were
     [245] subjected.
     His lordship was but illy fitted to be at the helm in this              1775
     tempestuous season. His passions predominated over his
     understanding, and precipitated him into measures injurious both to the people whom
     he governed, and to the interest of his royal master. The Virginians from the earliest
     stages of the controversy, had been in the foremost line of opposition to the claims of
     Great-Britain, but at the same time treated lord Dunmore with the attention that was
     due to his station. In common with the other provinces they had taken effectual
     measures to prepare their militia for the purposes of defence.

     While they were pursuing this object, his lordship engaged a         Apr. 20
     party belonging to a royal vessel in James’ river, to convey some
     public powder from a magazine in Williamsburg on board their ship. The value or
     quantity of the powder was inconsiderable, but the circumstances attending its
     removal begat suspicions that lord Dunmore meant to deprive the inhabitants of the
     means of defence. They were therefore alarmed, and assembled with arms to demand
     its restitution. By the interposition of the mayor and corporation of Williamsburg,
     extremities were prevented. Reports were soon after spread that a second attempt to
     rob the magazine was intended. The inhabitants again took arms, and instituted
     nightly patroles, with a determined resolution to protect it. The governor was irritated
     at these commotions, and in the warmth of his temper threatened to set up the royal
     standard–franchise the negroes, and arm them against their masters. This irritated, but
     did not intimidate. Several public meetings were held in the different counties, in all
     of which the removal of the powder from the magazine, and the governor’s threats,
     were severely condemned. Some of the gentlemen of Hanover and the neighbouring
     counties assembled in arms, under the conduct of Mr. Patrick Henry, and marched
     towards Williamsburg, with an avowed design to obtain restitution of the powder, and
     to take measures for securing the public treasury. This ended in a negotiation, by



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     which it was agreed that payment for the powder, by [246] the receiver general of the
     colony, should be accepted in lieu of restitution; and that upon the engagement of the
     inhabitants of Williamsburg to guard both the treasury and the magazine, the armed
     parties should return to their habitations.

     The alarm of this affair induced lord Dunmore to send his lady and family on board
     the Fowey man of war in James’ river. About the same time his lordship, with the
     assistance of a detachment of marines, fortified his palace and surrounded it with
     artillery. He soon after issued a proclamation, in which Mr. Henry and his associates
     were charged with rebellious practices, and the present commotions were attributed to
     a desire in the people of changing the established form of government. Several
     meetings were held in the neighbouring counties, in which the conduct of Mr. Henry
     and of his associates was applauded, and resolutions were adopted, that at every
     risque he and they should be indemnified. About this time copies of some letters from
     governor Dunmore to the minister of the American department were made public.
     These in the opinion of the Virginians contained unfair and unjust representations of
     facts, and also of their temper and disposition. Many severe things were said on both
     sides, and fame as usual, magnified or misrepresented whatever was said or done. One
     distrust begat another. Every thing tended to produce a spirit of discontent, and the
     fever of the public mind daily increased.

     In this state of disorder the governor convened the general assembly. The leading
     motive for this unexpected measure, was to procure their approbation and acceptance
     of the terms of the conciliatory motion agreed to in parliament, on the 20th of the
     preceding February. His lordship introduced this to their consideration, in a long and
     plausible speech. In a few days they presented their address in answer, in which,
     among other grounds of rejection they stated that, “the proposed plan only changed
     the form of oppression, without lessening its burthen;” but they referred the papers for
     a final determination, to Congress. For themselves they declared,

     [247]
     We have exhausted every mode of application which our               1775
     invention could suggest, as proper and promising. We have
     decently remonstrated with parliament. They have added new injuries to the old. We
     have wearied our king with supplications; he has not deigned to answer us. We have
     appealed to the native honour and justice of the British nation. Their efforts in our
     favour have been hitherto ineffectual.

     The assembly, among their first acts, appointed a committee to enquire into the causes
     of the late disturbances, and particularly to examine the state of the magazine. They
     found most of the remaining powder buried; the muskets deprived of their locks, and
     spring guns planted in the magazine. These discoveries irritated the people, and
     occasioned intemperate expressions of resentment.
     Lord Dunmore quitted the palace privately, and retired on board May 8
     the Fowey man of war, which then lay near York-town. He left a
     message for the house of burgesses, acquainting them




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     that he thought it prudent to retire to a place of safety, having reason to believe that he
     was in constant danger of falling a sacrifice to popular fury; he nevertheless, hoped
     they would proceed in the great business before them; and he engaged to render the
     communication between him and the house as easy and as safe as possible. He
     assured them that he would attend as heretofore, to the duties of his office, and that he
     was well disposed to restore that harmony which had been unhappily interrupted.

     This message produced a joint address from the council and house of burgesses, in
     which they represented his lordship’s fears to be groundless, and declared their
     willingness to concur in any measure he would propose for the security of himself and
     family; and concluded by entreating his return to the palace. Lord Dunmore in a reply,
     justified his apprehensions of danger from the threats which had been repeatedly
     thrown out. He charged the house of burgesses with countenancing the violent
     proceedings of the people, and with a design to usurp the executive power, and
     subvert the constitution. This produced a reply fraught with recrimination and
     defensive [248] arguments. Every incident afforded fresh room for altercation.
     There was a continued intercourse by addresses, messages and         1775
     answers, between the house of burgesses and the Fowey, but
     little of the public business was completed. His lordship was still acknowledged as the
     lawful governor of the province, but did not think proper to set his foot on shore, in
     the country over which his functions were to be exercised.

     At length, when the necessary bills were ready for ratification, the council and
     burgesses jointly intreated the governor’s presence, to give his assent to them and
     finish the session. After several messages and answers, lord Dunmore peremptorily
     refused to meet the assembly at the capital, their usual place of deliberation; but said
     he would be ready to receive them on the next Monday, at his present residence on
     board the Fowey, for the purpose of giving his assent to such bills as he should
     approve of. Upon receiving this answer, the house of burgesses passed resolutions in
     which they declared, that the message requiring them to attend the governor on board
     a ship of war, was a high breach of their rights and privileges—that they had reason to
     fear a dangerous attack was meditated against the colony, and it was therefore their
     opinion, that they should prepare for the preservation of their rights and liberties.
     After strongly professing loyalty to the king, and amity to the Mother Country, they
     broke up their session.
     The royal government in Virginia, from that day ceased. Soon           July 18
     after, a convention of delegates was appointed, to supply the
     place of the assembly. As these had an unlimited confidence reposed in them, they
     became at once possessed of undefined discretionary powers, both legislative and
     executive. They exercised this authority for the security of their constituents. They
     raised and embodied an armed force, and took other measures for putting the colony
     in a state of defence. They published a justification of their conduct, and set forth the
     necessity of the measures they had adopted.
     They concluded with professions of loyalty, and declared that          1775
     though they were determined at every hazard, to maintain their
     rights and privileges, [249] it was also their fixed resolution to disband such forces as
     were raised for the defence of the colony, whenever their dangers were removed. The
     headstrong passions of lord Dunmore precipitated him into farther follies. With the



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     aid of the loyalists, run away negroes, and some frigates that were on the station, he
     established a marine force. By degrees, he equipped and armed a number of vessels of
     different kinds and sizes, in one of which he constantly resided, except when he went
     on shore in a hostile manner. This force was calculated only for depredation, and
     never became equal to any essential service. Obnoxious persons were seized and
     taken on board. Negroes were carried off—plantations ravaged—and houses burnt.
     These proceedings occasioned the sending of some detachments of the new raised
     provincial forces to protect the coasts. This produced a predatory war, from which
     neither honour nor benefit could be acquired, and in which every necessary from on
     shore was purchased at the risque of blood.
     The forces under his lordship attempted to burn Hampton; but          Oct. 25
     the crews of the royal vessels employed in that business, though
     they had begun to cannonade it, were so annoyed by riflemen from on shore, that they
     were obliged to quit their station.
     In a few days after this repulse, a proclamation was issued by the Nov. 7
     governor, dated on board the ship William, off Norfolk,
     declaring, that as the civil law was at present insufficient to punish treason and
     traitors, martial law should take place and be executed throughout the colony; and
     requiring all persons capable of bearing arms, to repair to his majesty’s standard, or to
     be considered as traitors. He also declared all indented servants, negroes and others,
     appertaining to rebels, who were able and willing to bear arms, and who joined his
     majesty’s forces, to be free.

     Among the circumstances which induced the rulers of Great-Britain to count on an
     easy conquest of America, the great number of slaves had a considerable weight. On
     the sea coast of five of the most southern provinces, the number of slaves exceeded
     that of freemen.
     It was supposed that the proffer of freedom would detach them          1775
     [250] from their master’s interest, and bind them by strong ties to
     support the royal standard. Perhaps, under favourable circumstances, these
     expectations would in some degree have been realised; but lord Dunmore’s
     indiscretion deprived his royal master of this resource. Six months had elapsed since
     his lordship first threatened its adoption. The negroes had in a great measure ceased to
     believe, and the inhabitants to fear. It excited less surprize, and produced less effect,
     than if it had been more immediate and unexpected. The country was now in a
     tolerable state of defence, and the force for protecting the negroes, in case they had
     closed with his lordship’s offer, was far short of what would have been necessary for
     their security. The injury done the royal cause by the bare proposal of the scheme, far
     outweighed any advantage that resulted from it. The colonists were struck with horror,
     and filled with detestation of a government which was exercised in loosening the
     bands of society, and destroying domestic security. The union and vigor which was
     given to their opposition, was great, while the additional force, acquired by his
     lordship, was inconsiderable. It nevertheless produced some effect in Norfolk and the
     adjoining country, where his lordship was joined by several hundreds, both whites and
     blacks. The governor having once more got footing on the main, amused himself with
     hopes of acquiring the glory of reducing one part of the province by means of the
     other. The provincials had now an object against which they might direct their arms.
     An expedition was therefore concerted against the force which had taken post at



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     Norfolk. To protect his adherents lord Dunmore constructed a fort at the great bridge,
     on the Norfolk side, and furnished it with artillery. The provincials also fortified
     themselves near to the same place, with a narrow causeway in their front. In this state
     both parties continued quiet for some days.
     The royalists commenced an attack. Captain Fordyce, at the head Dec. 9
     of about 60 British grenadiers, passed the causeway, and boldly
     marched up to the provincial entrenchments with fixed bayonets.
     They were exposed without cover to the fire of the provincials       1775
     [251] in front, and enfiladed by another part of their works. The
     brave captain and several of his men fell. The lieutenant, with others, were taken, and
     all who survived were wounded. The slaves in this engagement were more prejudicial
     to their British employers than to the provincials. Captain Fordyce was interred by the
     victors, with military honors. The English prisoners were treated with kindness, but
     the Americans who had joined the king’s standard, experienced the resentment of
     their countrymen.

     The royal forces, on the ensuing night, evacuated their post at the great bridge, and
     lord Dunmore shortly after abandoned Norfolk, and retired with his people on board
     his ships. Many of the tories, a name which was given to those who adhered to the
     royal interest, sought the same asylum, for themselves and moveable effects. The
     provincials took possession of Norfolk, and the fleet, with its new incumberances,
     moved to a greater distance. The people on board, cut off from all peaceable
     intercourse with the shore, were distressed for provisions and necessaries of every
     kind. This occasioned sundry unimportant contests between the provincial forces and
     the armed ships and boats. At length, on the arrival of the Liverpool man of war from
     England, a flag was sent on shore to put the question, whether they would supply his
     majesty’s ships with provisions. An answer was returned in the negative. It was then
     determined to destroy the town.
     This was carried into effect, and Norfolk was reduced to ashes. Jan. 1, 1776
     The whole loss was estimated at 300,000£. sterling. The
     provincials, to deprive the ships of every resource of supply, destroyed the houses and
     plantations that were near the water, and obliged the people to move their cattle,
     provisions, and effects, farther into the country. Lord Dunmore, with his fleet,
     continued for several months on the coast and in the rivers of Virginia. His unhappy
     followers suffered a complication of distresses. The scarcity of water and provisions,
     the closeness and filth of the small vessels, produced diseases which were fatal to
     many, especially to the negroes. Though his whole force was trifling when compared
     with [252] the resources of Virginia, yet the want of suitable armed vessels made its
     expulsion impracticable. The experience of that day evinced the inadequacy of land
     forces for the defence of a maritime country; and the extensive mischief which may
     be done, by even an inconsiderable marine, when unopposed in its own way. The
     want of a navy was both seen and felt. Some arrangements to procure one, were
     therefore made. Either the expectation of an attack from this quarter, or the sufferings
     of the crews on board, induced his lordship in the summer 1776 to burn the least
     valuable of his vessels, and to send the remainder, amounting to 30 or 40 sail, to
     Florida, Bermuda, and the West-Indies. The hopes which lord Dunmore had
     entertained of subduing Virginia by the cooperation of the negroes, terminated with




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     this movement. The unhappy Africans who had engaged in it, are said to have almost
     universally perished.

     While these transactions were carrying on, another scheme, in which lord Dunmore
     was a party, in like manner miscarried. It was in contemplation to raise a considerable
     force at the back of the colonies, particularly in Virginia and the Carolinas. One
     Connelly, a native of Pennsylvania, was the framer of the design. He had gained the
     approbation of lord Dunmore, and had been sent by him to general Gage at Boston,
     and from him he received a commission to act as colonel commandant. It was
     intended that the British garrisons at Detroit, and some other remote posts, with their
     artillery and ammunition, should be subservient to this design. Connelly also hoped
     for the aid of the Canadians and Indians. He was authorised to grant commissions, and
     to have the supreme direction of the new forces. As soon as they were in readiness he
     was to penetrate through Virginia, and to meet lord Dunmore near Alexandria, on the
     river Potowmac. Connelly was taken up on suspicion, by one of the committees in
     Maryland, while on his way to the scene of action. The papers found in his possession
     betrayed the whole. Among these was a general sketch of the plan, and a letter from
     lord Dunmore to one of the Indian chiefs.
     He was imprisoned, [253] and the papers published. So many           1776
     fortunate escapes induced a belief among serious Americans, that
     their cause was favoured by heaven. The various projects which were devised and put
     in operation against them, pointed out the increasing necessity of union, while the
     havock made on their coasts—the proffer of freedom to their slaves, and the
     encouragement proposed to Indians for making war on their frontier inhabitants,
     quickened their resentment against Great-Britain.

     North-Carolina was more fortunate than Virginia. The governors of both were perhaps
     equally zealous for the royal interest, and the people of both equally attached to the
     cause of America, but the former escaped with a smaller portion of public calamity.
     Several regulations were at this time adopted by most of the provinces. Councils of
     safety, committees, and conventions, were common substitutes for regular
     government. Similar plans for raising, arming and supporting troops, and for training
     the militia, were from north to south generally adopted. In like manner royal
     governors throughout the provinces, were exerting themselves in attaching the people
     to the schemes of Great-Britain. Governor Martin, of North-Carolina, was particularly
     zealous in this business. He fortified and armed his palace at Newbern, that it might
     answer the double purpose of a garrison and magazine. While he was thus employed,
     such commotions were excited among the people, that he thought it expedient to retire
     on board a sloop of war in Cape Fear river. The people on examining, found powder
     and various military stores which had been buried in his garden and yard. Governor
     Martin, though he had abandoned his usual place of residence, continued his exertions
     for reducing North-Carolina to obedience. He particularly addressed himself to the
     regulators and Highland emigrants. The former had acquired this name from their
     attempting to regulate the administration of justice in the remote settlements, in a
     summary manner subversive of the public peace.
     They had suffered the consequences of opposing royal                 1776
     government, and from obvious principles of human nature, were
     disposed to [254] support the authority whose power to punish they had recently



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     experienced. The Highland emigrants had been but a short time in America, and were
     yet more under the influence of European ideas than those which their new situation
     was calculated to inspire. Governor Martin sent commissions among these people for
     raising and commanding regiments; and he granted one to Mr. M’Donald to act as
     their general. He also sent them a proclamation commanding all persons, on their
     allegiance, to repair to the royal standard. This was erected by general M’Donald,
     about the middle of February. Upon the first intelligence of their assembling brigadier
     general Moore, with some provincial troops and militia, and some pieces of cannon,
     marched to oppose them. He took possession of Rock fish bridge and threw up some
     works. He had not been there many days when M’Donald approached, and sent a
     letter to Moore, enclosing the governor’s proclamation, and advising him and his
     party to join the king’s standard; and adding, that in case of refusal they must be
     treated as enemies. To this Moore replied, that he and his officers considered
     themselves as engaged in a cause the most glorious and honourable in the world, the
     defence of mankind; and in his turn offered, that if M’Donald’s party laid down their
     arms they should be received as friends, but, otherwise they must expect
     consequences similar to those which they threatened. Soon after this, general
     M’Donald with his adherents pushed on to join governor Martin, but colonels
     Lillington and Caswell, with about 1000 militia men, took possession of Moore’s
     creek bridge, which lay in their way, and raised a small breast work to secure
     themselves.

     On the next morning the Highland emigrants attacked the militia 1776 Feb. 27
     posted at the bridge, but M’Cleod, the second in command, and
     some more of their officers being killed at the first onset, they fled with precipitation.
     General M’Donald was taken prisoner, and the whole of his party broken and
     dispersed. This overthrow produced consequences very injurious to the British
     interest. A royal fleet and army was expected on the coast. A [255] junction formed
     between them and the Highland emigrants in the interior country, might have made a
     sensible impression on the province. From an eagerness to do something, the
     insurgents prematurely took arms, and being crushed before the arrival of proper
     support, their spirits were so entirely broken, that no future effort could be expected
     from them.

     While the war raged only in Massachusetts, each province conducted as under the
     expectation of being next attacked. Georgia, though a majority of its inhabitants were
     at first against the measures, yet about the middle of this year, joined the other
     colonies. Having not concurred in the petitions from Congress to the king, they
     petitioned by themselves, and stated their rights and grievances, in firm and decided
     language. They also adopted the continental association, and sent on their deputies to
     Congress.

     In South-Carolina there was an eagerness to be prepared for defence, which was not
     surpassed in any of the provinces. Regiments were raised—forts were built—the
     militia trained, and every necessary preparation made for that purpose. Lord William
     Campbell, the royal governor, endeavoured to form a party for the support of
     government, and was in some degree successful. Distrusting his personal safety on




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     shore, about the middle of September, he took up his residence on board an armed
     vessel, then in the harbour.

     The royal government still existed in name and form; but the real power which the
     people obeyed, was exercised by a provincial congress, a council of safety, and
     subordinate committees. To conciliate the friendship of the Indians, the popular
     leaders sent a small supply of powder into their country. They who were opposed to
     Congress embodied, and robbed the waggons which were employed in its
     transportation. To inflame the minds of their adherents, they propagated a report that
     the powder was intended to be given to the Indians, for the purpose of massacring the
     friends of royal government. The inhabitants took arms, some to support royal
     government, but others to support the American measures.
     The royalists [256] acted feebly and were easily overpowered.         1776
     They were disheartened by the superior numbers that opposed
     them. They every where gave way and were obliged either to fly or feign submission.
     Solicitations had been made about this time for royal forces to awe the southern
     provinces, but without effect till the proper season was over. One scheme for this
     purpose was frustrated by a singular device. Private intelligence had been received of
     an express being sent from Sir James Wright, governor of Georgia, to general Gage.
     By him the necessity of ordering a part of the royal army to the southward was fully
     stated. The express was waylaid, and compelled by two gentle men to deliver his
     letters. One to general Gage was kept back, and another one forwarded in its room.
     The seal and hand writing were so exactly imitated that the deception was not
     suspected. The forged letter was received and acted upon. It stated such a degree of
     peace and tranquility as induced an opinion that there was no necessity of sending
     royal troops to the southward. While these states were thus left to themselves, they
     had time and opportunity to prepare for extremities, and in the mean time the friends
     of royal government were severally crushed. A series of disasters followed the royal
     cause in the year 1775. General Gage’s army was cooped up in Boston, and rendered
     useless. In the southern states, where a small force would have made an impression,
     the royal governors were unsupported. Much was done to irritate the colonists and to
     cement their union, but very little, either in the way of conquest or concession, to
     subdue their spirits or conciliate their affections.

     In this year the people of America generally took their side. Every art was made use
     of by the popular leaders to attach the inhabitants to their royal cause; nor were the
     votaries of the royal interest inactive. But little impression was made by the latter,
     except among the uninformed. The great mass of the wealth, learning, and influence,
     in all the southern colonies, and in most of the northern, was in favour of the
     American cause. Some aged persons were exceptions to the contrary.
     Attached to ancient habits, and enjoying the fruits of their          1776
     industry, [257] they were slow in approving new measures
     subversive of the former, and endangering the latter. A few who had basked in the
     sunshine of court favour, were restrained by honour, principle and interest, from
     forsaking the fountain of their enjoyments. Some feared the power of Britain, and
     others doubted the perseverance of America; but a great majority resolved to hazard
     every thing in preference to a tame submission. In the beginning of the year, the
     colonists were farmers, merchants and mechanics; but in its close they had assumed



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     the profession of soldiers. So sudden a transformation of so numerous, and so
     dispersed a people, is without a parallel.

     This year was also remarkable for the general termination of royal government. This
     was effected without any violence to its executive officers. The new system was not
     so much forcibly imposed or designedly adopted, as introduced through necessity, and
     the imperceptible agency of a common danger, operating uniformly on the mind of
     the public. The royal governors, for the most part, voluntarily abdicated their
     governments, and retired on board ships of war. They assigned for reason, that they
     apprehended personal danger, but this, in every instance, was unfounded. Perhaps
     these representatives of royalty thought, that as they were constitutionally necessary
     to the administration of justice, the horrors of anarchy would deter the people from
     prosecuting their opposition. If they acted from this principle, they were mistaken.
     Their withdrawing from the exercise of their official duties, both furnished an
     apology, and induced a necessity, for organising a system of government independent
     of royal authority. By encouraging opposition to the popular measures, they involved
     their friends in great distress. The unsuccessful insurrections which they fomented,
     being improperly timed, and unsupported, were easily overthrown, and actually
     strengthened the popular government, which they meant to destroy.




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     CHAPTER X

     Transactions In Massachusetts, And Evacuation Of Boston.
     [258]
     As the year 1775 drew near to a close, the friends of Congress          1776
     were embarrassed with a new difficulty. Their army was
     temporary, and only engaged to serve out the year. The object for which they had
     taken up arms was not yet obtained. Every reason which had previously induced the
     provinces to embody a military force still existed, and with increasing weight. It was
     therefore resolved to form a new army. The same flattering hopes were indulged, that
     an army for the ensuing year would answer every purpose. A committee of Congress,
     consisting of Dr. Franklin, Mr. Lynch, and Mr. Harrison, repaired to head quarters at
     Cambridge, and there in conjunction with general Washington made arrangements for
     organizing an army for the year 1776. It was presumed that the spirit which had
     hitherto operated on the yeomanry of the country, would induce most of the same
     individuals to engage for another twelve-month, but on experiment it was found that
     much of their military ardor had already evaporated. The first impulse of passion, and
     the novelty of the scene, had brought many to the field, who had great objections
     against continuing in the military line. They found, that to be soldiers required
     sacrifices of which, when they assumed that character, they had no idea. So
     unacquainted were the bulk of the people with the mode of carrying on modern war,
     that many of them flew to arms with the delusive expectation of settling the whole
     dispute by a few decisive and immediate engagements. Experience soon taught them
     to risque life in open fighting, was but a part of the soldier’s duty. Several of the
     inferior officers retired—the men frequently refused to enlist, unless they were
     allowed to chuse their officers. Others would not engage unless they were indulged
     with furloughs. Fifty would apply together for leave of absence; indulgence
     threatened less ruinous consequences than a refusal would probably have produced.
     On the whole enlistments went on slowly.
     Though the recruits [259] for the new army had not arrived, yet 1776
     the Connecticut troops, whose time expired on the first of
     December, could not be persuaded to continue in service. On their way home several
     of them were stopped by the country people and compelled to return. When every
     thing seemed to be exposed, by the departure of so great a part of the late army, the
     militia was called on for a temporary aid. A new difficulty obstructed, as well the
     recruiting of the army, as the coming in of the militia. Sundry persons infected with
     the small pox, were sent out of Boston and landed at Point Shirley. Such was the
     dread of that disease, that the British army scarcely excited equal terror. So many
     difficulties retarded the recruiting service, that on the last day of the year 1775, the
     whole American army amounted to no more than 9650 men. Of the remarkable events
     with which this important year was replete, it was not the least, that within musket
     shot of twenty British regiments, one army was disbanded and another enlisted.




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     All this time the British troops at Boston were suffering the inconvenience of a
     blockade. From the 19th of April they were cut off from those refreshments which
     their situation required. Their supplies from Britain did not reach the coast for a long
     time after they were expected. Several were taken by the American cruisers, and
     others were lost at sea. This was in particular the fate of many of their coal ships. The
     want of fuel was peculiarly felt in a climate where the winter is both severe and
     tedious. They relieved themselves in part from their sufferings on this account, by the
     timber of houses which they pulled down and burnt. Vessels were dispatched to the
     West-Indies to procure provisions; but the islands were so straitened, that they could
     afford but little assistance. Armed ships and transports were ordered to Georgia with
     an intent to procure rice, but the people of that province, with the aid of a party from
     South-Carolina, so effectually opposed them, that of eleven vessels, only two got off
     safe with their cargoes.
     It was not till the stock of the garrison was nearly exhausted that 1776
     the transports from England entered the port of [260] Boston,
     and relieved the distresses of the garrison.

     While the troops within the lines were apprehensive of suffering from want of
     provisions, the troops without were equally uneasy for want of employment. Used to
     labour and motion on their farms, they but illy relished the inactivity and confinement
     of a camp life. Fiery spirits declaimed in favour of an assault. They preferred a bold
     spirit of enterprize, to that passive fortitude which bears up under present evils, while
     it waits for favorable junctures. To be in readiness for an attempt of this kind, a
     council of war recommended to call in 7280 militia men, from New-Hampshire or
     Connecticut.
     This number added to the regular army before Boston, would            January 17–18
     have made an operating force of about 17,000 men.

     The provincials laboured under great inconveniences from the want of arms and
     ammunition. Very early in the contest, the king of Great-Britain, by proclamation,
     forbad the exportation of warlike forces to the colonies. Great exertions had been
     made to manufacture salt petre and gun powder, but the supply was slow and
     inadequate. A secret committee of Congress had been appointed, with ample powers
     to lay in a stock of this necessary article. Some swift sailing vessels had been
     dispatched to the coast of Africa to purchase what could be procured in that distant
     region. A party from Charleston forcibly took about 17000 lbs. of powder from a
     vessel near the bar of St. Augustine. Some time after, commodore Hopkins stripped
     Providence, one of the Bahama islands of a quantity of artillery and stores; but the
     whole, procured from all these quarters, was far short of a sufficiency. In order to
     supply the new army before Boston with the necessary means of defence, an
     application was made to Massachusetts for arms, but on examination it was found that
     their public stores afforded only 200. Orders were issued to purchase firelocks from
     private persons, but few had any to sell, and fewer would part with them. In the month
     of February, there were 2000 of the American infantry, who were destitute of arms.
     Powder was equally scarce, and yet daily applications were made 1776
     for dividends of the small quantity [261] which was on hand, for
     the defence of various parts threatened with invasion. The eastern colonies presented
     an unusual sight. A powerful enemy safely intrenched in their first city, while a fleet



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     was ready to transport them to any part of the coast. A numerous body of husbandmen
     was resolutely bent on opposition, but without the necessary arms and ammunition for
     self defence. The eyes of all were fixed on general Washington, and from him it was
     unreasonably expected that he would by a bold exertion, free the town of Boston from
     the British troops. The dangerous situation of public affairs led him to conceal the real
     scarcity of arms and ammunition, and with that magnanimity which is characteristical
     of great minds, to suffer his character to be assailed, rather than vindicate himself by
     exposing his many wants. There were not wanting persons, who judging from the
     superior numbers of men in the American army, boldly asserted, that if the
     commander in chief was not desirous of prolonging his importance at the head of an
     army, he might by a vigorous exertion gain possession of Boston. Such suggestions
     were reported and believed by several, while they were uncontradicted by the general,
     who chose to risque his fame, rather than expose his army and his country.

     Agreeably to the request of the council of war, about 7000 of the militia had
     rendezvoused in February. General Washington stated to his officers that the troops in
     camp, together with the reinforcements which had been called for, and were daily
     coming in, would amount nearly to 17,000 men—that he had not powder sufficient
     for a bombardment, and asked their advice whether, as reinforcements might be daily
     expected to the enemy, it would not be prudent before that event took place, to make
     an assault on the British lines. The proposition was negatived; but it was
     recommended to take possession of Dorchester heights. To conceal this design, and to
     divert the attention of the garrison, a bombardment of the town from other directions
     commenced, and was carried on for three days with as much briskness as a deficient
     stock of powder would admit.
     In this first essay, [262 ] three of the mortars were broken, either 1776
     from a defect in their construction, or more probably from
     ignorance of the proper mode of using them.

     The night of the 4th of March was fixed upon for taking possession of Dorchester
     heights. A covering party of about 800 men led the way. These were followed by the
     carts with the intrenching tools, and 1200 of a working party, commanded by general
     Thomas. In the rear there were more than 200 carts, loaded with fascines, and hay in
     bundles. While the cannon were playing in other parts, the greatest silence was kept
     by this working party. The active zeal of the industrious provincials completed lines
     of defence by the morning, which astonished the garrison. The difference between
     Dorchester heights on the evening of the 4th, and the morning of the 5th, seemed to
     realise the tales of romance. The admiral informed general Howe, that if the
     Americans kept possession of these heights, he would not be able to keep one of his
     majesty’s ships in the harbour. It was therefore determined in a council of war, to
     attempt to dislodge them. An engagement was hourly expected. It was intended by
     general Washington, in that case, to force his way into Boston with 4000 men, who
     were to have embarked at the mouth of Cambridge river. The militia had come
     forward with great alertness, each bringing three days provision, in expectation of an
     immediate assault. The men were in high spirits, and impatiently waiting for the
     appeal.




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     They were reminded that it was the 5th of March, and were called upon to avenge the
     death of their countrymen killed on that day. The many eminences in and near Boston,
     which overlooked the ground on which it was expected that the contending parties
     would engage, were crouded with numerous spectators. But general Howe did not
     intend to attack till the next day. In order to be ready for it, the transports went down
     in the evening towards the castle. In the night a most violent storm, and towards
     morning a heavy flood of rain, came on.
     A carnage was thus providentially prevented, that would                  1776
     probably have equalled, if not exceeded, the fatal [263] 17th of
     June, at Bunker’s-hill. In this situation it was agreed by the British, in a council of
     war, to evacuate the town as soon as possible.

     In a few days after, a flag came out of Boston, with a paper signed by four select men,
     informing,“that they had applied to general Robertson, who, on application to general
     Howe, was authorised to assure them, that he had no intention of burning the town,
     unless the troops under his command were molested, during their embarkation, or at
     their departure, by the armed force without.” When this paper was presented to
     general Washington, he replied, “that as it was an unauthenticated paper, and without
     an address, and not obligatory on general Howe, he could take no notice of it;” but at
     the same time intimated his good wishes for the security of the town.

     A proclamation was issued by general Howe, ordering all woollen and linen goods to
     be delivered to Crean Brush, Esq. Shops were opened and stripped of their goods. A
     licentious plundering took place. Much was carried off, and more was wantonly
     destroyed. These irregularities were forbidden in orders, and the guilty threatened
     with death, but nevertheless every mischief which disappointed malice could suggest,
     was committed.

     The British amounting to more than 7000 men, evacuated               March 17
     Boston, leaving their barracks standing, and also a number of
     pieces of cannon spiked, four large iron sea mortars, and stores, to the value of £
     30,000. They demolished the castle, and knocked off the trunnions of the cannon.
     Various incidents caused a delay of nine days after the evacuation, before they left
     Nantasket road.

     This embarkation was attended with many circumstances of distress and
     embarrassment. On the departure of the royal army from Boston, a great number of
     the inhabitants attached to their sovereign, and afraid of public resentment, chose to
     abandon their country. From the great multitude about to depart, there was no
     possibility of procuring purchasers for their furniture, neither was there a sufficiency
     of vessels for its convenient transportation. Mutual jealousy subsisted between the
     [264] army and navy; each charging the other as the cause of some part of their
     common distress. The army was full of discontent. Reinforcements though long
     promised, had not arrived. Both officers and soldiers thought themselves neglected.
     Five months had elapsed since they had received any advice of their destination.
     Wants and inconveniencies increased their ill humour. Their intended voyage to
     Halifax subjected them to great dangers. The coast at all times hazardous, was
     eminently so at that tempestuous equinoctial season. They had reason to fear they



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     would be blown off to the West-Indies, and without a sufficient stock of provisions.
     They were also going to a barren country. To add to their difficulties, this dangerous
     voyage when completed, was directly so much out of their way. Their business lay to
     the southward, and they were going northward. Under all these difficulties, and with
     all these gloomy prospects, the fleet steered for Halifax. Contrary to appearances, the
     voyage thither was both short and prosperous. They remained there for some time,
     waiting for reinforcements and instructions from England. When the royal fleet and
     army departed from Boston, several ships were left behind for the protection of
     vessels coming from England, but the American privateers were so alert that they
     nevertheless made many prizes. Some of the vessels which they captured, were laden
     with arms and warlike stores. Some transports, with troops on board, were also taken.
     These had run into the harbour, not knowing that the place was evacuated. The boats
     employed in the embarkation of the British troops, had scarcely completed their
     business when general Washington, with his army, marched into Boston. He was
     received with marks of approbation more flattering than the pomps of a triumph. The
     inhabitants released from the severities of a garrison life, and from the various
     indignities to which they were subjected, hailed him as their deliverer. Reciprocal
     congratulations between those who had been confined within the British lines, and
     those [who] were excluded from entering them, were exchanged with an ardor which
     cannot be discribed.
     General Washington [265] was honoured by Congress with a             1776
     vote of thanks. They also ordered a medal to be struck, with
     suitable devices to perpetuate the remembrance of the great event. The Massachusetts
     council and house of representatives complimented him in a joint address, in which
     they expressed their good wishes in the following words, “May you still go on
     approved by heaven—revered by all good men, and dreaded by those tyrants, who
     claim their fellow men as their property.” His answer was modest and proper.

     The evacuation of Boston had been previously determined upon by the British
     ministry, from principles of political expedience. Being resolved to carry on the war
     for purposes affecting all the colonies, they conceived a central position to be
     preferable to Boston. Reasoning of this kind had induced the adoption of the measure,
     but the American works on Roxbury expedited its execution. The abandonment of
     their friends, and the withdrawing their forces from Boston, was the first act of a
     tragedy in which evacuations and retreats were the scenes which most frequently
     occurred, and the epilogue of which was a total evacuation of the United States.




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     CHAPTER XI

     Transactions In Canada.
     The tide of good fortune which in the autumn of 1775 flowed in upon general
     Montgomery, induced Congress to reinforce the army under his command. Chamblee,
     St. Johns, and Montreal having surrendered to the Americans, a fair prospect opened
     of expelling the British from Canada, and of annexing that province to the united
     colonies. While they were in imagination anticipating these events, the army in which
     they confided was defeated, and the general whom they adored was killed.
     The intelligence transmitted from general Montgomery, previous Jan. 8, 1776
     to his assault on Quebec, encouraged Congress to resolve that
     nine battalions should be kept up and maintained in Canada. The repulse of their
     army, [266] though discouraging, did not extinguish the ardor of the Americans. It
     was no sooner known, at headquarters in Cambridge, than general Washington
     convened a council of war by which it was resolved, “That as no troops could be
     spared from Cambridge, the colonies of Massachusetts, Connecticut and New-
     Hampshire, should be requested to raise three regiments and forward them to
     Canada.[”]
     Congress also resolved to forward the reinforcements previously Jan. 19
     voted, and to raise four battalions in New-York, for the defence
     of that colony, and to garrison Crown-Point, and the several posts to the southward of
     that fortress. That the army might be supplied with blankets for this winter expedition,
     a committee was appointed to procure from householders, such as could be spared
     from their families. To obtain a supply of hard money for the use of the army in
     Canada, proper persons were employed to exchange paper money for specie. Such
     was the enthusiasm of the times that many thousand Mexican dollars were freely
     exchanged at par, by individuals for the paper bills of Congress. It was also resolved,
     to raise a corps of artillery for this service, and to take into the pay of the colonies one
     thousand Canadians, in addition to colonel Livingston’s regiment. Moses Hazen, a
     native of Massachusetts, who had resided many years in Canada, was appointed to the
     command of this new corps.

     Congress addressed a letter to the Canadians in which they            Jan. 24
     observed, “Such is the lot of human nature, that the best of
     causes are subject to vicissitudes; but generous souls, enlightened and warmed with
     the fire of liberty, become more resolute as difficulties increase.[”] They stated to
     them, “that eight battalions were raising to proceed to their province, and that if more
     force was necessary it should be sent.” They requested them to seize with eagerness
     the favourable opportunity then offered to co-operate in the present glorious
     enterprise, and they advised them to establish associations in their different
     parishes—to elect deputies for forming a provincial assembly, and for representing
     them in Congress.




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     The cause of the Americans had received such powerful aid from many patriotic
     publications in their gazettes, [267] and from the fervent exhortations of popular
     preachers, connecting the cause of liberty with the animating principles of religion,
     that it was determined to employ these two powerful instruments 1776
     of revolutions—printing and preaching, to operate on the minds
     of the Canadians. A complete apparatus for printing, together with a printer and a
     clergyman, were therefore sent into Canada.

     Congress also appointed Dr. Franklin, Mr. Chase and Mr. Carrol, the two first of
     whom were members of their body, and the last a respectable gentleman of the
     Roman catholic persuasion to proceed to Canada with the view of gaining over the
     people of that colony to the cause of America, and authorised them to promise on
     behalf of the united colonies, that Canada should be received into their association on
     equal terms, and also that the inhabitants thereof should enjoy the free exercise of
     their religion, and the peaceable possession of all their ecclesiastical property.

     The desire of effecting something decisive in Canada before the approaching spring,
     would permit relief to ascend the river St. Lawrence, added to the enthusiasm of the
     day, encountered difficulties which, in less animated times, would be reckoned
     unsurmountable. Arthur St. Clair who was appointed colonel of one of the
     Pennsylvania regiments received his recruiting orders on the 10th of January, and
     notwithstanding the shortness of the period, his regiment was not only raised, but six
     companies of it had, in this extreme cold season, completed their march from
     Pennsylvania to Canada, a distance of several hundred miles, and on the eleventh of
     April following, joined the American army before Quebec.

     Though Congress and the states made great exertions to support the war in Canada,
     yet from the fall of Montgomery their interest in that colony daily declined. The
     reduction of Quebec was an object to which their resources were inadequate. Their
     unsuccessful assault on Quebec made an impression both on the Canadians and
     Indians unfavorable to their views.
     A woman infected with the small-pox had either been sent out, or 1776
     voluntarily came out of Quebec, and by mixing with the
     American soldiers [268] propagated that scourge of the new world to the great
     diminution of the effective force of their army. The soldiers inoculated themselves,
     though their officers issued positive orders to the contrary. By the first of May so
     many new troops had arrived that the American army, in name, amounted to 3000, but
     from the prevalence of the small-pox there were only 900 fit for duty. The increasing
     number of invalids retarded their military operations, and discouraged their friends,
     while the opposite party was buoyed up with the expectation that the advancing
     season would soon bring them relief. To these causes of the declining interest of
     Congress, it must be added that the affections of the Canadians were alienated. They
     had many and well founded complaints against the American soldiers. Unrestrained
     by the terror of civil law and refusing obedience to a military code, the hope of
     impunity and the love of plunder, led many of the invading army to practices not less
     disgraceful to themselves, than injurious to the cause in which they had taken arms.
     Not only the common soldiers but the officers of the American army deviated, in their
     intercourse with the Canadians, from the maxims of sound policy. Several of them



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     having been lately taken from obscure life were giddy with their exaltation. Far from
     home they were unawed by those checks which commonly restrain the ferocity of
     man.

     The reduction of Chamblee, St. Johns’, and Montreal, together with the exposed
     situation of Quebec, being known in England, measures were without delay adopted
     by the British ministry to introduce into Canada, as soon as possible, a force sufficient
     for the double purpose of recovering what they had lost, and of prosecuting offensive
     operations from that quarter against the revolted colonies.
     The van of this force made good its passage, very early in the       May 5
     spring, through the ice up the river St. Lawrence. The
     expectation of their coming had for some time damped the hopes of the besiegers, and
     had induced them to think of a retreat. The day before the first of the British
     reinforcements arrived, that measure was resolved upon by a council of war, and
     arrangements were made for carrying it into execution.

     [269]
     Governor Carleton was too great a proficient in the art of war, to 1776
     delay seizing the advantages which the consternation of the
     besiegers, and the arrival of a reinforcement, afforded. A small detachment of soldiers
     and marines from the ships which had just ascended the river St. Lawrence, being
     landed and joined to the garrison in Quebec, he marched out at their head to attack the
     Americans. On his approach, he found every thing in confusion. The late besiegers
     abandoning their artillery and military stores, had in great precipitation retreated. In
     this manner at the expiration of five months, the mixed siege and blockade of Quebec
     was raised. The fortitude and perseverance of the garrison reflected honour on both
     officers and privates.

     The reputation acquired by general Carleton in his military char acter, for bravely and
     judiciously defending the province committed to his care, was exceeded by the
     superior applause, merited from his exercise of the virtues of humanity and
     generosity. Among the numerous sick in the American hospitals, several incapable of
     being moved were left behind.
     The victorious general proved himself worthy of success by his May 10
     treatment of these unfortunate men, he not only fed and cloathed
     them, but permitted them when recovered to return home, apprehending that fear
     might make some conceal themselves in the woods, rather than by applying for relief,
     make themselves known, he removed their doubts by a proclamation, in which he
     engaged, “that as soon as their health was restored, they should have free liberty of
     returning to the respective provinces.” This humane line of conduct was more
     injurious to the view of the leaders in the American councils, than the severity
     practised by other British commanders. The truly politic, as well as humane general
     Carleton, dismissed these prisoners after liberally supplying their wants with a
     recommendation, “to go home, mind their farms, and keep themselves and their
     neighbours from all participation in the unhappy war.”

     The small force which arrived at Quebec early in May, was             1776
     followed by several British regiments; together with [270] the



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     Brunswic troops in such a rapid succession, that in a few weeks the whole was
     estimated at 13,000 men.

     The Americans retreated forty five miles before they stopped. After a short halt, they
     proceeded to the Sorel, at which place they threw up some slight works for their
     safety. They were there joined by some battalions coming to reinforce them. About
     this time general Thomas, the commander in chief in Canada was seized with the
     small pox and died, having forbidden his men to inoculate, he conformed to his rule,
     and refused to avail himself of that precaution. On his death, the command devolved
     at first on general Arnold, and afterwards on general Sullivan. It soon became evident,
     that the Americans must abandon the whole province of Canada.

     From a desire to do something which might counterbalance in the minds of the
     Canadians, the unfavorable impression which this farther retreat would communicate,
     General Thomson projected an attack on the British post at the Three Rivers. This lies
     about half way between Quebec and Montreal, and is so called from the vicinity of
     one of the branches of a large river, whose waters are discharged through three
     mouths into the St. Lawrence. With this view a detachment of six hundred men was
     put under the command of colonel St. Clair. At their head he advanced to the village
     of Nicolette. When every thing was ready for the enterprise, intelligence was received
     that six transports escorted by two frigates from Quebec, had arrived and brought a
     large addition to the late force at the Three Rivers. This caused some new movements,
     and a delay till more troops could be brought forward. General Thomson then came
     on with a reinforcement and took the command of the whole. It was determined to
     make the proposed attack in four different places at the same time. One division
     commanded by colonel Wayne was to gain the eastern extremity of the town. One
     commanded by colonel Maxwell was to enter from the northward about the center,
     and the other two divisions commanded by colonels Sinclair and Irvine were to enter
     from the westward.
     The whole [271] having embarked at midnight, landed at the           1776
     Point du Lac, about three hours before day. At some distance
     from this point, there are two ways of approaching Three Rivers, one by a road that
     leads along the banks of the St. Lawrence, the other by a road almost parallel, but at a
     considerable distance. It had been determined to advance on the last. Intelligence was
     brought to general Thomson, soon after his landing that a party of 3 or 400 men were
     posted at three miles distance. The troops were instantly put in motion to dislodge
     them. The intelligence proved to be false but it had carried the detachment, some
     distance beyond the point, where the roads separated. To have returned, would have
     consumed time that could not be spared as the day was fast approaching. It was
     therefore resolved to proceed in a diagonal direction towards the road they had left.
     After being much retarded by very difficult grounds, they arrived at a morass which
     seemed impassable. Here the day broke, when they were six miles from the object.
     General Thomson suspecting the fidelity of his guides, put them under
     arrest—reversed the order of his march, and again reached the road by the river. He
     had advanced but a small distance before he was fired upon by two armed vessels. All
     expectation of succeeding by surprise, was now at an end. It was therefore instantly
     determined to make an open attack. The sun was rising. The drums were ordered to
     beat, and the troops moved on with the greatest alacrity. Having advanced three miles



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     farther, the ships of war began to fire on them. The American officer who led the
     advance, struck into a road on the left, which also led to the town, and was covered
     from the fire of the ships. This last road was circuitous and led through a vast tract of
     woodland at that season almost impassable. He nevertheless entered the wood, and the
     rest of the detachment followed. After incredible labour, and wading a rivulet breast
     deep, they gained the open country north of the village. A party of the British were
     soon discovered about a mile to the left of the Americans, and between them and the
     town. Colonel Wayne, ardent for action immediately attacked them. The onset was
     gallant [272] and vigorous, but the contest was unequal.
     The Americans were soon repulsed and forced to retreat. In the 1776
     beginning of the action general Thomson left the main body of
     his corps to join that which was engaged. The woods were so thick, that it was
     difficult for any person in motion, after losing sight of an object to recover it. The
     general therefore never found his way back. The situation of colonel St. Clair, the
     next in command became embarrassing. In his opinion a retreat was necessary, but
     not knowing the precise situation of his superior officer, and every moment expecting
     his return, he declined giving orders for that purpose. At last when the British were
     discovered on the river road, advancing in a direction to gain the rear of the
     Americans, colonel St. Clair in the absence of gen. Thomson, ordered a retreat. This
     was made by treading back their steps through the same dismal swamp by which they
     had advanced. The British marched directly for the point du Lac with the expectation
     of securing the American batteaux. On their approach major Wood, in whose care
     they had been left, retired with them to the Sorel. At the point du Lac, the British
     halted and took a very advantageous position. As soon as it was discovered that the
     Americans had retired, a party of the British pursued them. When the former arrived
     near the place of their embarkation, they found a large party of their enemies posted in
     their front, at the same time that another was only three quarters of a mile in their rear.
     Here was a new and trying dilemma, and but little time left for consideration. There
     was an immediate necessity, either to lay down their arms or attempt by a sudden
     March to turn the party in front and get into the country beyond it. The last was
     thought practicable. Colonel St. Clair having some knowledge of the country from his
     having served in it in the preceding war, gave them a route by the Acadian village
     where the river de Loups is fordable. They had not advanced far when colonel St.
     Clair found himself unable to proceed from a wound, occasioned by a root which had
     penetrated through his shoe.
     His men offered to carry him, but this generous proposal was           1776
     declined. [273] He and two or three officers, who having been
     worn down with fatigue, remained behind with him, found an asylum under cover of a
     large tree which had been blown up by the roots. They had not been long in this
     situation when they heard a firing from the British in almost all directions. They
     nevertheless lay still, and in the night stole off from the midst of surrounding foes.
     They were now pressed with the importunate cravings of hunger, for they were
     entering on the third day without food. After wandering for some time, they
     accidentally found some peasants, who entertained them with great hospitality. In a
     few days they joined the army at Sorel, and had the satisfaction to find that the
     greatest part of the detachment had arrived safe before them. In their way through the
     country, although they might in almost every step of it have been made prisoners, and
     had reason to fear that the inhabitants from the prospect of reward, would have been



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     tempted to take them, yet they met with neither injury nor insult. General Thomson
     was not so fortunate. After having lost the troops and falling in with colonel Irwine,
     and some other officers, they wandered the whole night in thick swamps, without
     being able to find their way out. Failing in their attempts to gain the river, they had
     taken refuge in a house, and were there made prisoners.

     The British forces having arrived, and a considerable body of them having
     rendezvoused at the Three Rivers, a serious pursuit of the American army
     commenced. Had Sir Guy Carleton taken no pains to cut off their retreat, and at once
     attacked their post, or rather their fortified camp at Sorel, it would probably have
     fallen into his hands; but either the bold, though unsuccessful attack, at the Three
     rivers had taught him to respect them, or he wished to reduce them without bloodshed.
     In the pursuit he made three divisions of his army, and arranged them so as to
     embrace the whole American encampment, and to command it in every part. The
     retreat was delayed so long that the Americans evacuated Sorel, only about two hours
     before one division of the British made its appearance.

     [274]
     While the Americans were retreating, they were daily assailed by 1776
     the remonstrances of the inhabitants of Canada, who had either
     joined or befriended them. Great numbers of Canadians had taken a decided part in
     their favour, rendered them essential services, and thereby incurred the heavy
     penalties annexed to the crime of supporting rebellion. These, though Congress had
     assured them but a few months before “that they would never abandon them to the
     fury of their common enemies” were from the necessity of the case left exposed to the
     resentment of their provincial rulers. Several of them with tears in their eyes,
     expostulated with the retreating army, and bewailing their hard fate prayed for
     support. The only relief the Americans could offer was an assurance of continued
     protection, if they retreated with them, but this was a hard alternative to men who had
     wives, children and immovable effects. They generally concluded, that it was the least
     of two evils to cast themselves on the mercy of that government, against which they
     had offended.

     The distresses of the retreating army were great. The British were close on their rear
     and threatening them with destruction. The unfurnished state of the colonies in point
     of ordnance, imposed a necessity of preserving their cannon. The men were obliged to
     drag their loaded batteaus up the rapids by mere strength, and when they were to the
     middle in water. The retreating army was also incumbered with great numbers
     labouring under the small-pox, and other diseases. Two regiments, at one time, had
     not a single man in health. Another had only six, and a fourth only forty, and two
     more were in nearly the same condition.

     To retreat in face of an enemy is at all times hazardous; but on this occasion it was
     attended with an unusual proportion of embarrassments. General Sullivan, who
     conducted the retreat, nevertheless acted with so much judgment and propriety, that
     the baggage and public stores were saved, and the numerous sick brought off. The
     American army reached Crown-Point on the first of July, and at that place made their
     first stand.



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     [275]
     A short time before the Americans evacuated the province of          1776
     Canada, General Arnold convened the merchants of Montreal,
     and proposed to them to furnish a quantity of specified articles, for the use of the
     army in the service of Congress. While they were deliberating on the subject, he
     placed centinels at their shop doors, and made such arrangements, that what was at
     first only a request, operated as a command. A great quantity of goods were taken on
     pretence that they were wanted for the use of the American army, but in their number
     were many articles only serviceable to women, and to persons in civil life. His
     nephew soon after opened a store in Albany, and publicly disposed of goods which
     had been procured at Montreal.

     The possession of Canada so eminently favoured the plans of defence adopted by
     Congress, that the province was evacuated with great reluctance. The Americans were
     not only mortified at the disappointment of their favourite scheme, of annexing it as a
     fourteenth link in the chain of their confederacy, but apprehended the most serious
     consequences from the ascending of the British power in that quarter. Anxious to
     preserve a footing there, they had persevered for a long time in stemming the tide of
     unfavorable events.

     General Gates was about this time appointed to command in          Jun. 17
     Canada, but on coming to the knowledge of the late events in
     that province, he concluded to stop short within the limits of New-York. The scene
     was henceforth reversed. Instead of meditating the recommencement of offensive
     operations, that army which had lately excited so much terror in Canada, was called
     upon to be prepared for repelling an invasion threatened from that province.

     The attention of the Americans being exclusively fixed on plans of defence, their
     general officers commanding in the northern department, were convened to deliberate
     on the place and means most suitable for that purpose. To form a judgment on this
     subject, a recollection of the events of the late war, between France and England, was
     of advantage. The same ground was to be fought over, [276] and the same posts to be
     again contended for. On the confines of Lake George and Lake Champlain two inland
     seas, which stretch almost from the sources of Hudson’s river to the St. Lawrence, are
     situated the famous posts of Ticonderoga and Crown-Point. These are of primary
     necessity to any power which contends for the possession of the adjacent country, for
     they afford the most convenient stand either for its annoyance or defence. In the
     opinion of some American officers, Crown-Point to which the army on the evacuation
     of Canada had retreated, was the most proper place for erecting works of defence, but
     it was otherwise determined, by the council convened, on this occasion. It was also by
     their advice resolved, to move lower down, and to make the principal work on the
     strong ground east of Ticonderoga, and especially by every means to endeavour to
     maintain a naval superiority in Lake Champlain. In conformity to these resolutions
     general Gates with about 12,000 men, which collected in the course of the summer,
     was fixed in command of Ticonderoga, and a fleet was constructed at Skenesborough.
     This was carried on with so much rapidity, that in a short time      August 22
     there were afloat, in Lake Champlain, one sloop, three
     schooners, and six gondolas, carrying in the whole 58 guns, 86 swivels, and 440 men.



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     Six other vessels were also nearly ready for launching at the same time. The fleet was
     put under the command of general Arnold, and he was instructed by general Gates, to
     proceed beyond Crown-Point, down Lake Champlain, to the Split Rock; but most
     peremptorily restrained from advancing any farther, as security against an
     apprehended invasion was the ultimate end of the armament.

     The expulsion of the American invaders from Canada, was but a part of the British
     designs in that quarter. They urged the pursuit no farther than St. John’s, but indulged
     the hope of being soon in a condition for passing the lakes, and penetrating through
     the country to Albany, so as to form a communication with New-York. The objects
     they had in view were great, and the obstacles in the way of their accomplishment
     equally so. [277]
     Before they could advance with any prospect of success, a fleet 1776
     superior to that of the Americans on the lakes, was to be
     constructed. The materials of some large vessels were, for this purpose, brought from
     England, but their transportation, and the labour necessary to put them together
     required both time and patience. The spirit of the British commanders rose in
     proportion to the difficulties which were to be encountered. Nevertheless it was so
     late as the month of October, before their fleet was prepared to face the American
     naval force, on Lake Champlain. The former consisted of the ship Inflexible,
     mounting 18 twelve pounders, which was so expeditiously constructed, that she sailed
     from St. John’s 28 days after laying her keel. One schooner mounting 14 and another
     12 six pounders. A flat bottomed radeau carrying six 24 and six 12 pounders, besides
     howitzers, and a gondola with seven nine pounders. There were also twenty smaller
     vessels with brass field pieces, from 9 to 24 pounders, or with howitzers. Some long
     boats were furnished in the same manner. An equal number of large boats acted as
     tenders. Besides these vessels of war, there was a vast number destined for the
     transportation of the army, its stores, artillery, baggage and provisions. The whole was
     put under the command of captain Pringle. The naval force of the Americans, from
     the deficiency of means, was far short of what was brought against them. Their
     principal armed vessel was a schooner, which mounted only 12 six and four pounders,
     and their whole fleet in addition to this, consisted of only fifteen vessels of inferior
     force.

     No one step could be taken towards accomplishing the designs of the British, on the
     northern frontiers of New-York, till they had the command of Lake Champlain.
     With this view their fleet proceeded up the lake, and engaged the Oct. 11
     Americans. The wind was so unfavorable to the British, that their
     ship Inflexible, and some other vessel of force, could not be brought to action. This
     lessened the inequality between the contending fleets so much, that the principal
     damage sustained by the Americans, was the loss of a schooner and gondola.
     At the [278] approach of night the action was discontinued. The 1776
     vanquished took the advantage, which the darkness afforded to
     make their escape. This was effected by general Arnold, with great judgment and
     ability. By the next morning the whole fleet under his command was out of sight. The
     British pursued with all the sail they could croud. The wind having become more
     favorable, they overtook the Americans, and brought them to action near Crown-
     Point.



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     A smart engagement ensued and was well supported on both              Oct. 13
     sides for about two hours. Some of the American vessels which
     were most ahead escaped to Ticonderoga. Two gallies and five gondolas remained
     and resisted an unequal force, with a spirit approaching to desperation. One of the
     gallies struck and was taken. General Arnold, though he knew that to escape was
     impossible, and to resist unavailing, yet instead of surrendering, determined that his
     people should not become prisoners, nor his vessels a re-inforcement to the British.
     This spirited resolution was executed with a judgment, equal to the boldness, with
     which it had been adopted. He ran the Congress galley, on board of which he was,
     together with the five gondolas on shore, in such a position, as enabled him to land his
     men and blow up the vessels. In the execution of this perilous enterprise, he paid a
     romantic attention to a point of honour. He did not quit his own galley till she was in
     flames, lest the British should board her, and strike his flag. The result of this action,
     though unfavorable to the Americans, raised the reputation of general Arnold, higher
     than ever. In addition to the fame of a brave soldier, he acquired that of an able sea
     officer.

     The American naval force being nearly destroyed, the British had undisputed
     possession of Lake Champlain. On this event a few continental troops which had been
     at Crown-Point, retired to their main body at Ticonderoga. General Carleton took
     possession of the ground from which they had retreated, and was there soon joined by
     his army. He sent out several reconnoitering parties, and at one time pushed forward a
     strong detachment on both sides of the lake, which approached near [279] to
     Ticonderoga.
     Some British vessels appeared at the same time, within cannon       1776
     shot of the American works, at that place. It is probable he had it
     in contemplation, if circumstances favoured to reduce the post, and that the apparent
     strength of the works, restrained him from making the attempt, and induced his return
     to Canada.

     Such was the termination of the northern campaign in 1776. Though after the
     surrender of Montreal evacuations, defeats, and retreats, had almost uninterruptedly
     been the portion of the Americans, yet with respect to the great object of defence on
     the one side, and of conquest on the other, a whole campaign was gained to them, and
     lost to their adversaries.

     The British had cleared Canada of its invaders, and destroyed the American fleet on
     the lakes, yet from impediments thrown in their way, they failed in their ulterior
     designs. The delays contrived by general Gates, retarded the British for so great a part
     of the summer, that by the time they had reached Ticonderoga, their retreat on account
     of the approaching winter, became immediately necessary. On the part of the
     Americans, some men, and a few armed vessels were lost, but time was gained, their
     army saved, and the frontier of the adjacent states secured from a projected invasion.
     On the part of the British, the object of a campaign, in which 13,000 men were
     employed, and near a million of money expended, was rendered in a great measure
     abortive.




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     CHAPTER XII

     The Proceedings Of Parliament, Against The Colonies, 1775–6.
     Operations In South-Carolina, New-York, And New-Jersey.
     The operations carried on against the united colonies, in the year 1775, were adapted
     to cases of criminal combination among subjects not in arms. The military
     arrangements for that year, were therefore made on the idea of a trifling addition to a
     peace establishment. [280]
     It was either not known, that a majority of the Americans had        1776
     determined to resist the power of Great-Britain, rather than
     submit to the late coercive laws, or it was not believed that they had spirit sufficient to
     act in conformity to that determination. The propensity in human nature, to believe
     that to be true, which is wished to be so, had deceived the royal servants in America,
     and the British ministry in England, so far as to induce their general belief, that a
     determined spirit on the part of government, and a few thousand troops to support that
     determination, would easily compose the troubles in America. Their military
     operations in the year 1775, were therefore calculated on the small scale of
     strengthening the civil power, and not on the large one of resisting an organised army.
     Though it had been declared by parliament in February, 1775, that a rebellion existed
     in Massachusetts, yet it was not believed that the colonists would dare to abet their
     opposition by an armed force. The resistance made by the militia at Lexington, the
     consequent military arrangements adopted, first by Massachusetts, and afterwards by
     Congress, together with the defence of Bunker’s-hill, all conspired to prove that the
     Americans were far from being contemptible adversaries. The nation finding itself, by
     a fatal progression of the unhappy dispute, involved in a civil war, was roused to
     recollection. Though several corporate bodies, and sundry distinguished individuals in
     Great-Britain, were opposed to coercive measures, yet there was a majority for
     proceeding. The pride of the nation was interested in humbling the colonists, who had
     dared to resist the power which had lately triumphed over the combined force of
     France and Spain. The prospect of freeing their own estates from a part of the heavy
     taxes charged thereon, induced numbers of the landed gentlemen in Great-Britain to
     support the same measures. They conceived the coercion of the colonies to be the
     most direct mode of securing their contribution towards sinking the national debt.
     Influenced by these opinions, such not only justified the adoption 1775
     of rigorous measures, but chearfully consented to present
     additional taxes with the same spirit [281] which induces litigants in private life to
     advance money for forwarding a lawsuit, from the termination of which great profits
     are expected. Lord North, the prime minister of England, finding himself supported
     by so many powerful interests, was encouraged to proceed. He had already subdued a
     powerful party in the city of London, and triumphed over the East-India company.
     The submission of the colonies was only wanting to complete the glory of his
     administration. Previous success emboldened him to attempt the arduous business. He
     flattered himself that the accomplishment of it would, not only restore peace to the




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     empire, but give a brilliancy to his name, far exceeding that of any of his
     predecessors.

     Such was the temper of a great part of the nation, and such the ambitious views of its
     prime minister, when the parliament was convened, on the 24th of October 1775. In
     the speech from the throne great complaints were made of the leaders in the colonies,
     who were said by their misrepresentatives to have infused into the minds of the
     deluded multitude opinions, repugnant to their constitutional subordination, and
     afterwards to have proceeded to the commencement of hostilities, and the usurpation
     of the whole powers of government. His majesty also charged his subjects in America
     with “meaning only to amuse by vague expressions of attachment to the Parent State,
     while they were preparing for a general revolt.” And he farther asserted “that the
     rebellious war now levied by them was become more general, and manifestly carried
     on for the purpose of establishing an independent empire, and that it was become the
     art of wisdom, and in its effects, of clemency to put a speedy end to these disorders,
     by the most decisive exertions.”

     Information was also given, that “the most friendly offers of foreign assistance had
     been received, and that his majesty’s electoral troops were sent to the garrison of
     Gibraltar and Port Mahon, in order that a large number of the established forces of the
     kingdom might be applied to the maintenance of its authority.”
     The severity of these assertions was mitigated by a declaration, 1775
     “that when the unhappy and deluded multitude against [282]
     whom this force should be directed, would become sensible of their error, his majesty
     would be ready to receive the misled with tenderness and mercy,” “and that to prevent
     inconveniences, he should give authority to certain persons on the spot, to grant
     general or particular pardons and indemnities to such as should be disposed to return
     to their allegiance.” The sentiments expressed in this speech and the heavy charges
     therein laid against the colonists, were re-echoed in addresses to the king from both
     houses of parliament, but not without a spirited protest in the house of lords. In this,
     nineteen dissenting members asserted the American war to be “unjust and impolitic in
     its principles, and fatal in its consequences.” They also declared, that they could not
     consent to an address, “which might deceive his majesty and the public into a belief of
     the confidence of their house in the present ministers, who had disgraced parliament,
     deceived the nation—lost the colonies, and involved them in a civil war against their
     clearest interests, and upon the most unjustifiable grounds wantonly spilling the blood
     of thousands of their fellow subjects.”

     The sanction of parliament being obtained for a vigorous prosecution of the American
     war, estimates for the public service, were agreed to on the idea of operating against
     the colonies as an hostile armed foreign power. To this end it was voted to employ
     28,000 sea-men, and 55,900 land forces, and the sanction of authority was not long
     after given to measures for engaging foreign mercenaries. No ministry had in any
     preceding war exerted themselves more to prosecute military operations against alien
     enemies, than the present to make the ensuing campaign decisive of the dispute
     between the Mother Country and the colonies.
     One legislative act was still wanting to give full efficacy to the   Nov. 20, 1775
     intended prosecution of hostilities. This was brought into



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     parliament in a bill interdicting all trade and intercourse with the thirteen united
     colonies. By it all property of Americans, whether of ships or goods, on the high seas,
     or in harbour, was declared “to be forfeited to the captors, being the officers and
     crews of his majesty’s ships of war.” It farther enacted [283] “that the masters, crews
     and other persons found on board captured American vessels, should be entered on
     board his majesty’s vessels of war, and there considered to be in his majesty’s service
     to all intents and purposes, as if they had entered of their own accord.” This bill also
     authorised the crown to appoint commissioners, who over and above granting pardons
     to individuals were empowered to “enquire into general and particular grievances, and
     to determine whether any colony or part of a colony was returned to that state of
     obedience, which might entitle it to be received within the king’s peace and
     protection.” In that case upon a declaration from the commissioners “the restrictions
     of the proposed law were to cease.”

     It was said in favour of this bill,

     that as the Americans were already in a state of war, it became necessary that
     hostilities should be carried on against them, as was usual against alien enemies. That
     the more vigorously and extensively military operations were prosecuted, the sooner
     would peace and order be restored. That as the commissioners went out with the
     sword in one hand, and terms of conciliation in the other, it was in the power of the
     colonists to prevent the infliction of any real or apparent severities, in the proposed
     statute.

     In opposition to it, it was said, “that treating the Americans as a foreign nation, was
     chalking out the way for their independence.” One member observed, that as the
     indiscriminate rapine of property authorised by the bill, would oblige the colonists to
     coalesce as one man, its title ought to be “A bill for carrying more effectually into
     execution the resolves of Congress.” The clause for vesting the property of the
     seizures in the captors, was reprobated as tending to extinguish in the breasts of
     seamen the principles of patriotism—of national pride and glory, and to substitute in
     their room habits of cruelty, of piracy and robbery. But of all parts of this bill none
     was so severely condemned as that clause by which persons taken on board the
     American vessels, were indiscriminately compelled to serve as common sailors in
     British ships of war. This was said to be “a refinement of [284] tyranny worse than
     death.”
     It was also said, “That no man could be despoiled of his goods as 1776
     a foreign enemy, and at the same time obliged to serve as a
     citizen, and that compelling captives to bear arms against their families, kindred,
     friends and country—and after being plundered themselves to become accomplices in
     plundering their brethren, was unexampled, except among pirates, the outlaws and
     enemies of human society.” To all these high charges the ministry replied, “that the
     measure was an act of grace and favour, for” said they, “the crews of American
     vessels, instead of being put to death, the legal punishment of their demerits, as
     traitors and rebels, are by this law to be rated on the king’s books, and treated as if
     they were on the same footing with a great body of his most useful and faithful
     subjects.” It was also said, “that their pay and emoluments in the service of their




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     lawful sovereign would be a compensation for all scruples that might arise from the
     supposed violation of their principles.”

     In the progress of the debates on this bill, lord Mansfield declared, “that the questions
     of original right and wrong were no longer to be considered—that they were engaged
     in a war, and must use their utmost efforts to obtain the ends proposed by it, that they
     must either fight or be pursued, and that the justice of the cause must give way to their
     present situation.” Perhaps no speech in or out of parliament operated more
     extensively on the irritated minds of the colonists than this one.

     The great abilities and profound legal knowledge of lord Mansfield were both known
     and admired in America. That this illustrious oracle of law should declare from the
     seat of legislation, that the justice of the cause was no longer to be regarded, excited
     the astonishment, and cemented the union of the colonists. “Great-Britain, said they,
     has commenced war against us for maintaining our constitutional liberties, and her
     lawgivers now declare they must proceed without any retrospect to the merits of the
     original ground of dispute. Our peace and happiness must be sacrificed to British
     honour and consistency, in their continuing to prosecute [285] an unjust invasion of
     our rights.”
     A number of lords, as usual, entered a spirited protest against the Dec. 21, 1775
     bill, but it was carried by a great majority in both houses of
     parliament, and soon after received the royal assent.

     This law arrived in the colonies in March 1776. The effects resulting from it were
     such as had been predicted by its opposers. It not only united the colonies in resisting
     Great-Britain, but produced a favorable opinion of independence in the minds of
     thousands, who previously reprobated that measure. It was considered from New-
     Hampshire to Georgia, as a legal discharge from allegiance to their native sovereign.
     What was wanting to produce a decided majority of the party for breaking off all
     connexion with Great-Britain, was speedily obtained from the irritation excited by the
     hiring of foreign troops to fight against the colonists. This measure was nearly
     coincident with the ratification of the prohibitory law just mentioned, and intelligence
     of both arrived in the colonies about the same time.

     The treaties which had been lately concluded with the Landgrave of Hesse Cassel, the
     duke of Brunswic, and the hereditary prince of Hesse Cassel for hiring their troops to
     the king of Great-Britain, to be employed in the American service being laid before
     the house of commons, a motion was made thereon for referring them to the
     committee of supply.
     This occasioned a very interesting debate on the propriety of        Feb. 29, 1776
     employing foreign troops against the Americans. The measure
     was supported on the necessity of prosecuting the war, and the impracticability of
     raising a sufficient number of domestic levies. It was also urged “that foreign troops
     inspired with the military maxims, and ideas of implicit submission, would be less apt
     to be biassed by that false lenity, which native soldiers might indulge, at the expence
     of national interest.” It was said,




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     Are we to sit still and suffer an unprovoked rebellion to terminate in the formation of
     an independent hostile empire? Are we to suffer our colonies, the object of the great
     national expence, and of two bloody wars to be lost forever to us, and given away to
     strangers from a scruple of [286]
     employing foreign troops to preserve our just rights, over           1775
     colonies for which we have paid so dear a purchase? As the
     Americans by refusing the obedience and taxes of subjects, deny themselves to be a
     part of the British empire, and make themselves foreigners, they cannot complain that
     foreigners are employed against them.

     On the other side the measure was severely condemned. The necessity of the war was
     denied, and the nation was represented as disgraced by applying to the petty princes
     of Germany, for succours against her own rebellious subjects. The tendency of the
     example to induce the Americans to form alliances with foreign powers, was strongly
     urged. It was said,

     hitherto the colonists have ventured to commit themselves singly in this arduous
     contest, without having recourse to foreign aid, but it is not to be doubted, that in
     future they will think themselves fully justified both by our example, and the laws of
     self preservation, to engage foreigners to assist them in opposing those mercenaries,
     whom we are about to transport for their destruction. Nor is it doubtful that in case of
     their application, European powers of a rank far superior to that of those petty princes,
     to whom we have so abjectly sued for aid, will consider themselves to be equally
     entitled to interfere in the quarrel between us and our colonies.

     The supposition of the Americans receiving aid from France or Spain, was on this and
     several other occasions ridiculed, on the idea that these powers would not dare to set
     to their own colonies the dangerous example of encouraging those of Great-Britain, in
     opposing their sovereign. It was also supposed, that they would be influenced by
     considerations of future danger to their American possessions, from the establishment
     of an independent empire in their vicinity.

     In this session of parliament between the 26th of October, 1775, and the 23d, of May
     1776, the ultimate plan for reducing the colonies was completely fixed. The
     Americans were declared out of the royal protection, and 16,000 foreign mercenaries,
     employed by national authority, to effect their subjugation.
     These measures [287] induced Congress in the following             1776
     summer to declare themselves independent, and to seek for
     foreign aid: Events which shall be hereafter more fully explained.

     Parliamentary sanction for carrying on the war against the colonists, as against alien
     enemies being obtained, it became necessary to fix on a commander of the royal
     forces to be employed on this occasion. This as a matter of right was, in the first
     instance, offered to general Oglethorpe, as being the first on the list of general
     officers. To the surprise of the minister that respectable veteran, readily accepted the
     command, on condition of his being properly supported. A numerous well appointed
     army and a powerful fleet were promised him, to which he replied, “I will undertake
     the business without a man or a ship of war, provided you will authorise me to assure



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     the colonists on my arrival among them, that you will do them justice.” He added
     farther, “I know the people of America well, and am satisfied, that his majesty has not
     in any part of his dominions, more obedient, or more loyal subjects. You may secure
     their obedience by doing them justice, but you will never subdue them by force of
     arms.” These opinions so favourable to the Americans, proved general Oglethorpe to
     be an improper person for the purpose intended by the British ministry. He was
     therefore passed over, and the command given to Sir William Howe.

     It was resolved to open the campaign, with such a powerful force as “would look
     down all opposition, and effectuate submission without bloodshed,” and to direct its
     operations to the accomplishment of three objects. The first was the relief of Quebec,
     and the recovery of Canada, which also included a subsequent invasion of the
     northwestern frontiers of the adjacent provinces. The second was a strong impression
     on some of the southern colonies. The third and principal, was to take possession of
     New-York, with a force sufficiently powerful to keep possession of Hudson’s-River,
     and form a line of communication with the royal army in Canada, or to over-run the
     adjacent country.

     The partial success of the first part of this plan, has been in the preceding chapter
     explained. The execution [288] of the second part was committed to general Clinton,
     and Sir Peter Parker. The former with a small force having called at New-York, and
     also visited in Virginia lord Dunmore, the late royal governor of that colony, and
     finding that nothing could be done at either place, proceeded to Cape-Fear-River. At
     that place he issued a proclamation from on board the Pallas transport, offering free
     pardon to all such as should lay down their arms, excepting Cornelius Hasnett, and
     Robert Howe, but the recent defeat of the regulators and Highlanders, restrained even
     their friends from paying any attention to this act of grace.

     At Cape-Fear a junction was formed between Sir Henry Clinton, and Sir Peter Parker,
     the latter of whom had sailed with his squadron directly from Europe. They concluded
     to attempt the reduction of Charleston as being, of all places within the line of their
     instructions, the object at which they could strike with the greatest prospect of
     advantage. They had 2,800 land forces, which they hoped, with the co-operation of
     their shipping, would be fully sufficient.

     For some months past every exertion had been made to put the colony of South-
     Carolina, and especially its capital Charleston, in a respectable posture of defence. In
     subserviency to this view, works had been erected on Sullivan’s island, which is
     situated so near the channel leading up to the town, as to be a convenient post for
     annoying vessels approaching it.

     Sir Peter Parker attacked the fort on that island, with two fifty gun ships, the Bristol
     and Experiment, four frigates, the Active, Acteon, Solebay and Syron, each of 28
     guns. The Sphynx of 20 guns, the Friendship armed vessel of 22 guns, Ranger sloop,
     and Thunder bomb, each of 8 guns. On the fort were mounted 26 cannon, 26, 18 and 9
     pounders. The attack commenced between ten and eleven in the forenoon, and was
     continued for upwards of ten hours. The garrison consisting of 375 regulars and a few




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     militia, under the command of colonel Moultrie, made a most gallant defence. They
     fired deliberately, for the most part took [289] aim and seldom missed their object.
     The ships were torn almost to pieces, and the killed and wounded 1776
     on board exceeded 200 men. The loss of the garrison was only
     ten men killed, and 22 wounded. The fort being built of palmetto, was little damaged.
     The shot which struck it were ineffectually buried in its soft wood. General Clinton
     had some time before the engagement, landed with a number of troops on Long-
     Island, and it was expected that he would have co-operated with Sir Peter Parker, by
     crossing over the narrow passage, which divides the two islands, and attacking the
     fort in its unfinished rear; but the extreme danger to which he must unavoidably have
     exposed his men, induced him to decline the perilous attempt. Colonel Thomson with
     7 or 800 men was stationed at the east end of Sullivan’s island, to oppose their
     crossing. No serious attempt was made to land either from the fleet, or the detachment
     commanded by Sir Henry Clinton. The firing ceased in the evening, and soon after the
     ships slipped their cables. Before morning they had retired about two miles from the
     island. Within a few days more the troops re-embarked and the whole sailed from
     New-York. The thanks of Congress were given to general Lee, who had been sent on
     by Congress to take the command in Carolina, and also to colonels Moultrie and
     Thomson, for their good conduct on this memorable day. In compliment to the
     commanding officer the fort from that time was called Fort Moultrie.

     During the engagement the inhabitants stood with arms in their hands at their
     respective posts, prepared to receive the enemy wherever they might land. Impressed
     with high ideas of British power and bravery, they were apprehensive that the fort
     would be either silenced or passed, and that they should be called to immediate action.
     They were cantoned in the various landing places near Charleston, and their
     resolution was fixed to meet the invaders at the water’s edge, and dispute every inch
     of ground, trusting the event to heaven.

     By the repulse of this armament the southern states obtained a respite from the
     calamities of war for two years and a half.
     The defeat the British met with at Charleston, [290] seemed in       1776
     some measure to counterbalance the unfavourable impression
     made, by their subsequent successes, to the northward. Throughout the whole
     summer, and till the close of the year, Congress had little else than the victory on
     Sullivan’s island, to console them under the various evacuations, retreats, and defeats,
     to which, as shall hereafter be related, their armies were obliged to submit in every
     other part of the union. The event of the expedition contributed greatly to establish the
     cause which it was intended to overset. In opposition to the bold assertions of some,
     and the desponding fears of others, experience proved that America might effectually
     resist a British fleet and army. Those, who from interested motives had abetted the
     royal government, ashamed of their opposition to the struggles of an infant people for
     their dearest rights, retired into obscurity.

     The effects of this victory, in animating the Americans, were much greater than could
     be warranted, by the circumstances of the action. As it was the first attack made by
     the British navy, its unsuccessful issue inspired a confidence which a more exact
     knowledge of military calculations would have corrected. The circumstance of its



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     happening in the early part of the war, and in one of the weaker provinces, were
     happily instrumental in dispelling the gloom which overshadowed the minds of many
     of the colonists, on hearing of the powerful fleets and numerous armies which were
     coming against them.

     The command of the force which was designed to operate against New-York in this
     campaign, was given to admiral lord Howe, and his brother Sir William, officers who,
     as well from their personal characters, as the known bravery of their family, stood
     high in the confidence of the British nation. To this service was allotted a very
     powerful army, consisting of about 30,000 men. This force was far superior to any
     thing that America had heretofore seen. The troops were amply provided with
     artillery, military stores, and warlike materials of every kind, and were supported by a
     numerous fleet. The admiral and general, in addition to their military powers, were
     appointed commissioners for restoring peace to the colonies.

     [291]
     General Howe having in vain waited two months at Halifax for 1776
     his brother, and the expected re-inforcements from England,
     impatient of farther delays, sailed from that harbour, with the force which he had
     previously commanded in Boston,
     and directing his course towards New-York, arrived in the latter Jun. 10
     end of June, off Sandy-Hook. Admiral lord Howe, with part of
     the re-inforcement from England, arrived at Halifax, soon after his brother’s
     departure.
     Without dropping anchor he followed, and soon after joined him Jun. 12
     near Staten-Island. The British general, on his approach, found
     every part of New-York island, and the most exposed parts of Long-Island fortified
     and well defended by artillery. About fifty British transports anchored near Staten-
     Island, which had not been so much the object of attention. The inhabitants thereof,
     either from fear, policy, or affection, expressed great joy on the arrival of the royal
     forces. General Howe was there met by Tryon, late governor of the province, and by
     several of the loyalists, who had taken refuge with him in an armed vessel. He was
     also joined by about sixty persons from New-Jersey, and 200 of the inhabitants of
     Staten-Island were embodied, as a royal militia. From these appearances, great hopes
     were indulged that as soon as the army was in a condition to penetrate into the
     country, and protect the loyalists, such numbers would flock to their standard as
     would facilitate the attainment of the objects of the campaign.

     On the fourth day after the British transports appeared off Sandy-Hook. Congress,
     though fully informed of the numbers and appointment of the force about to be
     employed against the colonies, ratified their famous declaration of independence. This
     was publicly read to the American army, and received by them with unfeigned
     acclamations of joy. Though it was well known, that Great-Britain had employed a
     force of 55,000 men, to war upon the new-formed states, and that the continental
     army was not near equal to half that number, and only engaged for a few months, and
     that Congress was without any assurance of foreign aid, yet both the American [292]
     officers and privates gave every evidence




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     of their hearty approbation of the decree which severed the        1776
     colonies from Great-Britain, and submitted to the decision of the
     sword, whether they should be free states, or conquered provinces. Now, said they,
     “we know the ground on which we stand. Now we are a nation. No more shall the
     opprobrious term of rebel, with any appearance of justice, be applied to us. Should the
     fortune of war throw us into the hands of our enemies, we may expect the treatment of
     prisoners, and not the punishment of rebels. The prize for which we contend is of such
     magnitude that we may freely risque our lives to obtain it.”

     It had early occurred to general Washington, that the possession of New-York, would
     be with the British a favourite object. Its central situation and contiguity to the ocean,
     enabled them to carry with facility the war to any part of the sea coast. The possession
     of it was rendered still more valuable by the ease with which it could be maintained.
     Surrounded on all sides by water, it was defensible by a small number of British
     ships, against adversaries whose whole navy consisted only of a few frigates.
     Hudson’s river, being navigable for ships of the largest size to a great distance,
     afforded an opportunity of severing the eastern from the more southern states, and of
     preventing almost any communication between them.

     From these well known advantages, it was presumed by the Americans, that the
     British would make great exertions to effect the reduction of New-York. General Lee,
     while the British were yet in possession of the capital of Massachusetts had been
     detached from Cambridge, to put Long-Island and New-York into a posture of
     defence. As the departure of the British from Boston became more certain, the
     probability of their instantly going to New-York, increased the necessity of collecting
     a force for its safety.
     It had been therefore agreed in a council of war, that five         March 13
     regiments, together with a rifle battalion should march without
     delay to New-York, and that the states of New-York and New-Jersey should be
     requested to furnish the former two thousand, and the [293] latter one thousand men
     for its immediate defence.
     General Washington soon followed, and early in April fixed his 1776
     head quarters in that city. A new distribution of the American
     army took place. Part was left in Massachusetts. Between two and three thousand
     were ordered to Canada: But the greater part rendezvoused at New-York.

     Experience had taught the Americans the difficulty of attacking an army, after it had
     effected a lodgment. They therefore made strenuous exertions to prevent the British
     from enjoying the advantages in New-York, which had resulted from their having
     been permitted to land and fortify themselves in Boston. The sudden commencement
     of hostilities in Massachusetts, together with the previous undisturbed landing of the
     royal army, allowed no time for deliberating on a system of war. A change of
     circumstances indicated the propriety of fixing on a plan for conducting the defence
     of the new formed states. On this occasion general Washington, after much thought,
     determined on a war of posts. This mode of conducting military operations gave
     confidence to the Americans, and besides, it both retarded and alarmed their
     adversaries. The soldiers in the American army were new levies, and had not yet
     learned to stand uncovered, before the instruments of death. Habituating them to the



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     sound of fire arms, while they were sheltered from danger, was one step towards
     inspiring them with a portion of mechanical courage. The British remembered
     Bunker’s-hill, and had no small reverence for even slight fortifications, when
     defended by freemen. From views of this kind, works were erected in and about New-
     York, on Long Island, and the heights of Haerlem. These, besides batteries, were field
     redoubts, formed of earth with a parapet and ditch. The former were sometimes
     fraised, and the latter palisadoed, but they were in no instance formed to sustain a
     siege. Slight as they were, the campaign was nearly wasted away before they were so
     far reduced, as to permit the royal army to penetrate into the country.

     [294]
     The war having taken a more important turn than in the               1776
     preceding year had been foreseen, Congress at the opening of the
     campaign, found themselves distitute of a force sufficient for their defence. They
     therefore in June determined on a plan to reinforce their continental army by bringing
     into the field, a new species of troops, that would be more permanent than the
     common militia, and yet more easily raised than regulars. With this view they
     instituted a flying camp, to consist of an intermediate corps, between regular soldiers
     and militia.
     Ten thousand men were called for from the states of                  June 3
     Pennsylvania, Maryland, and Delaware, to be in constant service
     to the first day of the ensuing December. Congress at the same time called for 13,800
     of the common militia from Massachusetts, Connecticut, New-York, and New-Jersey.
     The men for forming the flying camp were generally procured, but there were great
     deficiencies of the militia, and many of those who obeyed their country’s call, so far
     as to turn out, manifested a reluctance to submit to the necessary discipline of camps.

     The difficulty of providing the troops with arms while before Boston, was exceeded
     by the superior difficulty of supplying them, in their new position. By the returns of
     the garrison at fort Montgomery, in the Highlands in April, it appeared that there were
     208 privates, and only forty one guns fit for use. In the garrison at fort Constitution,
     there were 136 men, and only 68 guns fit for use. Flints were also much wanted. Lead
     would have been equally deficient, had not a supply for the musquetry been obtained
     by stripping dwelling houses.

     The uncertainty of the place, where the British would commence their operations,
     added much to the imbarrassment of general Washington. Not only each colony, but
     each seaport town, supposed itself to be the object of the British, and was ardent in its
     supplications, to the commander in chief for his puculiar attention. The people of
     Massachusetts were strongly impressed with an idea, that the evacuation of Boston
     was only a feint, and that the British army would soon return.
     They were for that reason very desirous, that the continental         1776
     troops should not be withdrawn [295] from their state. The
     inhabitants of Rhode-Island urged in a long petition, that their maritime situation
     exposed them to uncommon danger, while their great exertions in fitting out armed
     vessels, had deprived them of many of their citizens. They therefore prayed for a body
     of continental soldiers, to be stationed for their constant and peculiar defence. So
     various were the applications for troops, so numerous the calls for arms, that a



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     decided conduct became necessary to prevent the feeble American force, and the
     deficient stock of public arms from being divided and subdivided, so as to be unequal
     to the proper defence of any one place.

     In this crisis of particular danger, the people of New-York acted with spirit. Though
     they knew they were to receive the first impression of the British army, yet their
     convention resolved, “that all persons residing within the state of New-York, and
     claiming protection from its laws, owed it allegiance, and that any person owing it
     allegiance and levying war against the state, or being an adherent to the king of Great-
     Britain, should be deemed guilty of treason and suffer death.” They also resolved
     [“]that one fourth of the militia of West-Chester, Dutchess and Orange counties,
     should be forthwith drawn out for the defence of the liberties, property, wives and
     children, of the good people of the state, to be continued in service till the last day of
     December,” and, “that as the inhabitants of King’s county, had determined not to
     oppose the enemy, a committee should be appointed to enquire into the authenticity of
     these reports, and to disarm and secure the disaffected. To remove or destroy the stock
     of grain, and if necessary to lay the whole country waste.”

     The two royal commissioners, admiral and general Howe, thought proper, before they
     commenced their military operations, to try what might be done in their civil capacity,
     towards effecting a re-union between Great-Britain and the colonies. It was one of the
     first acts of lord Howe, to send on shore a circular letter to several of the royal
     governors in America, informing them of the late act of parliament,
     “for restoring peace to the colonies, [296] and granting pardon to 1776
     such as should deserve mercy,” and desiring them to publish a
     declaration which accompanied the same. In this he informed the colonists of the
     power with which his brother and he were intrusted “of granting general or particular
     pardons to all those who though they had deviated from their allegiance, were willing
     to return to their duty,” and of declaring “any colony, province, county or town, port,
     district or place to be at the peace of his majesty.” Congress, impressed with a belief,
     that the proposals of the commissioners, instead of disuniting the people, would have
     a contrary effect, ordered them to be speedily published in the several American
     news-papers. Had a redress of grievances been at this late hour offered, though the
     honour of the states was involved in supporting their late declaration of independence,
     yet the love of peace, and the bias of great numbers to their Parent State, would in all
     probability have made a powerful party for rescinding the act of separation, and for
     re-uniting with Great-Britain. But when it appeared that the power of the royal
     commissioners was little more than to grant pardons, Congress appealed to the good
     sense of the people, for the necessity of adhering to the act of independence. The
     resolution for publishing the circular letter, and the declaration of the royal
     commissioners, assigned as a reason thereof,

     that the good people of the United States may be informed of what nature are the
     commissioners, and what the terms, with expectation of which the insidious court of
     Great-Britain had endeavoured to amuse and disarm them, and that the few who still
     remain suspended by a hope, founded either in the justice or moderation of their late
     king, may now at length be convinced that the valour alone of their country is to save
     its liberties.



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     About the same time flags were sent ashore by lord Howe, with a letter directed to
     George Washington, Esq. which he refused to receive as not being addressed to him
     with the title due to his rank.
     In his letter to Congress on this subject, he wrote as follows, “I  1776
     would not on any occasion sacrifice essentials to punctilio, but in
     this instance I deemed it a duty to my country and appointment, to insist [297] on that
     respect, which in any other than a public view, I would willingly have waved.
     “Congress applauded his conduct in a public resolution, and at the same time directed
     [“]that no letter or message should be received on any occasion whatever, from the
     enemy, by the commander in chief, or others the commanders of the American army,
     but such as were directed to them in the characters they severally sustained.”

     Some time after, adjutant general Patterson was sent to New-York, by general Howe,
     with a letter addressed to George Washington, &c. &c. &c. On an interview the
     adjutant general, after expressing his high esteem for the person and character of the
     American general, and declaring, that it was not intended to derogate from the respect
     due to his rank, expressed his hopes, that the et ceteras would remove the
     impediments to their correspondence. General Washington replied, “That a letter
     directed to any person in a public character, should have some description of it,
     otherwise it would appear a mere private letter. That it was true the et ceteras implied
     every thing, but they also implied any thing, and that he should therefore decline the
     receiving any letter directed to him as a private person, when it related to his public
     station.[”] A long conference ensued, in which the adjutant general observed, that “the
     commissioners were armed with great powers, and would be very happy in effecting
     an accommodation.” He received for answer, “that from what appeared, their powers
     were only to grant pardon, that they who had committed no fault, wanted no pardon.”
     Soon after this interview, a letter from Howe, respecting prisoners, which was
     properly addressed to Washington was received.

     While the British, by their manifestoes and declarations, were endeavouring to
     separate those who preferred a reconciliation with Great-Britain from those who were
     the friends of independence, Congress, by a similiar policy, was attempting to detach
     the foreigners, who had come with the royal troops from the service of his Britannic
     majesty. Before hostilities had commenced, the following resolution was adopted and
     circulated among those [298] on whom it was intended to operate.

     Resolved, that these states will receive all such foreigners who      August 14
     shall leave the armies of his Britannic majesty in America, and
     shall chuse to become members of any of these states, and they shall be protected in
     the free exercise of their respective religions, and be invested with the rights,
     privileges and immunities of natives, as established by the laws of these states, and
     moreover, that this congress will provide for every such person, fifty acres of
     unappropriated lands in some of these states, to be held by him and his heirs, as
     absolute property.

     The numbers which were prepared to oppose the British, when they should
     disembark, made them for some time cautious of proceeding to their projected land




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     operations, but the superiority of their navy enabled them to go by water,
     whithersoever they pleased.

     A British forty gun ship, with some smaller vessels, sailed up       July 12
     North-River, without receiving any damage of consequence,
     though fired upon from the batteries of New-York, Paules-Hook, Red-Bank, and
     Governor’s Island. An attempt was made, not long after, with two fire ships, to
     destroy the British vessels in the North-River, but without effecting any thing more
     than the burning of a tender. They were also attacked with row gallies, but to little
     purpose. After some time the Phoenix and Rose men of war, came down the river, and
     joined the fleet. Every effort of the Americans from their batteries on land, as well as
     their exertions on the water, proved ineffectual. The British ships passed with less loss
     than was generally expected, but nevertheless the damage they received was such as
     deterred them from frequently repeating the experiment. In two or three instances they
     ascended the North-River, and in one or two the East-River, but those which sailed up
     the former, speedily returned, and by their return, a free communication was opened
     through the upper part of the state.

     The American army in and near New-York amounted to 17,225 men. These were
     mostly new troops, and were divided in many small and unconnected posts, some of
     which were fifteen miles removed from others.
     The [299] British force before New-York was increasing by         1776
     frequent successive arrivals from Halifax, South-Carolina,
     Florida, the West-Indies and Europe. But so many unforeseen delays had taken place,
     that the month of August was far advanced, before they were in a condition to open
     the campaign.

     When all things were ready, the British commanders resolved to make their first
     attempt on Long-Island. This was preferred to New-York, as it abounded with those
     supplies which their forces required.

     The British landed without opposition, between two small towns, Utrecht and
     Gravesend. The American works protected a small peninsula having Wallabout-Bay
     to the left, and stretching over to Red-Hook on the right, and the East-River being in
     their rear. General Sullivan, with a strong force, was encamped within these works at
     Brooklyne. From the east-side of the narrows runs a ridge of hills covered with thick
     wood, about five or six miles in length, which terminates near Jamaica. There were
     three passes through these hills, one near the narrows, a second on the Flatbush road,
     and a third on the Bedford road, and they are all defensible. These were the only roads
     which could be passed from the southside of the hills to the American lines, except a
     road which led round the easterly end of the hills to Jamaica. The Americans had 800
     men on each of these roads, and colonel Miles was placed with his battalion of
     riflemen, to guard the road from the south of the hills to Jamaica, and to watch the
     motions of the British.

     General de Heister, with his Hessians, took post at Flatbush, in    August 26
     the evening. In the following night the greater part of the British
     army, commanded by general Clinton, marched to gain the road leading round the



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     easterly end of the hills to Jamaica, and to turn the left of the Americans. He arrived
     about two hours before day, within half a mile of this road. One of his parties fell in
     with a patrol of American officers, and took them all prisoners, which prevented the
     early transmission of intelligence.
     Upon the first appearance of day general Clinton advanced, and 1776
     took possession of the heights over [300] which the road passed.
     General Grant, with the left wing, advanced along the coast by the west road, near the
     narrows; but this was intended chiefly as a feint.

     The guard which was stationed at this road, fled without making any resistance. A few
     of them were afterwards rallied, and lord Stirling advanced with 1500 men, and took
     possession of a hill, about two miles from the American camp, and in front of general
     Grant.

     An attack was made very early in the morning by the Hessians           Aug. 27
     from Flatbush, under general de Heister, and by general Grant on
     the coast, and was well supported for a considerable time by both sides. The
     Americans who opposed general de Heister were first informed of the approach of
     general Clinton, who had come round on their left. They immediately began to retreat
     to their camp, but were intercepted by the right wing under general Clinton, who got
     into the rear of their left, and attacked them with his light infantry and dragoons,
     while returning to their lines. They were driven back till they were met by the
     Hessians. They were thus alternately chased and intercepted, between general de
     Heister and general Clinton. Some of their regiments nevertheless found their way to
     the camp. The Americans under lord Stirling, consisting of colonel Miles’ two
     battalions, colonel Atlee’s, colonel Smallwood’s, and colonel Hatche’s, regiments,
     who were engaged with general Grant, fought with great resolution for about six
     hours. They were uninformed of the movements made by general Clinton, till some of
     the troops under his command, had traversed the whole extent of country in their rear.
     Their retreat was thus intercepted, but several notwithstanding, broke through and got
     into the woods. Many threw themselves into the marsh, some were drowned, and
     others perished in the mud, but a considerable number escaped by this way to their
     lines.

     The king’s troops displayed great valour throughout the whole day. The variety of the
     ground occasioned a succession of small engagements, pursuits and slaughter, which
     lasted for many hours.
     British discipline in every instance, triumphed over the native  1776
     valour of raw troops, [301] who had never been in action, and
     whose officers were unacquainted with the stratagems of war.

     The loss of the British and Hessians was about 450. The killed, wounded and
     prisoners of the Americans, including those who were drowned or perished in the
     woods or mud, considerably exceeded a thousand. Among the prisoners of the latter
     were two of their general officers, Sullivan and lord Stirling. Three Colonels, 4
     lieutenant colonels, 3 majors, 18 captains, 43 lieutenants, and 11 ensigns.
     Smallwood’s regiment, the officers of which were young men of the best families in
     the state of Maryland, sustained a loss of 259 men. The British after their victory were



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     so impetuous, that it was with difficulty, they could be restrained from attacking the
     American lines.

     In the time of, and subsequent to the engagement, General Washington drew over to
     Long-Island, the greatest part of his army. After he had collected his principal force
     there, it was his wish and hope, that Sir William Howe, would attempt to storm the
     works on the island. These though insufficient to stand a regular siege, were strong
     enough to resist a coup de main. The rememberance of Bunker’s-hill, and a desire to
     spare his men, restrained the British general from making an assault. On the contrary
     he made demonstrations of proceeding by siege, and broke ground within three
     hundred yards to the left at Putnam’s redoubt.
     Though general Washington wished for an assault, yet being           Aug. 30
     certain that his works would be untenable, when the British
     batteries should be fully opened, he called a council of war, to consult on the
     measures proper to be taken. It was then determined that the objects in view were in
     no degree proportioned to the dangers to which, by a continuation on the island, they
     would be exposed. Conformably to this opinion, dispositions were made for an
     immediate retreat. This commenced soon after it was dark from two points, the upper
     and lower ferries, on East river. General M‘Dougal, regulated the embarkation at one,
     and colonel Knox at the other.
     The intention of evacuating the island, had been so prudently        1776
     concealed [302] from the Americans, that they knew not whither
     they were going, but supposed to attack the enemy. The field artillery, tents, baggage,
     and about 9000 men were conveyed to the city of New-York over East River, more
     than a mile wide, in less than 13 hours, and without the knowledge of the British,
     though not six hundred yards distant. Providence, in a remarkable manner favoured
     the retreating army. For some time after the Americans began to cross the state of the
     tide, and a strong north-east wind made it impossible for them to make use of their
     sail boats, and their whole number of row boats was insufficient for completing the
     business, in the course of the night. But about eleven o’clock, the wind died away,
     and soon after sprung up at south-east, and blew fresh, which rendered the sail boats
     of use, and at the same time made the passage from the island to the city, direct, easy
     and expeditious. Towards morning an extreme thick fog came up, which hovered over
     Long-Island, and by concealing the Americans, enabled them to complete their retreat
     without interruption, though the day had begun to dawn some time before it was
     finished. By a mistake in the transmission of orders, the American lines were
     evacuated for about three quarters of an hour, before the last embarkation took place,
     but the British though so near, that their working parties could be distinctly heard,
     being enveloped in the fog knew nothing of the matter. The lines were repossessed
     and held till six o’clock in the morning, when every thing except some heavy cannon
     was removed. General Mifflin, who commanded the rear guard left the lines, and
     under the cover of the fog got off safe. In about half an hour the fog cleared away, and
     the British entered the works which had been just relinquished. Had the wind not
     shifted, the half of the American army could not have crossed, and even as it was, if
     the fog had not concealed their rear, it must have been discovered, and could hardly
     have escaped. General Sullivan, who was taken prisoner on Long-Island, was
     immediately sent on parole, with the following verbal message from lord Howe to
     Congress,



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     that though he could not at present treat [303] with them in that 1776
     character, yet he was very desirous of having a conference with
     some of the members, whom he would consider as private gentlemen; that he with his
     brother the general, had full powers to compromise the dispute between Great-Britain
     and America, upon terms advantageous to both—that he wished a compact might be
     settled, at a time when no decisive blow was struck, and neither party could say it was
     compelled to enter into such agreement. That were they disposed to treat, many things
     which they had not yet asked, might and ought to be granted, and that if upon
     conference they found any probable ground of accommodation, the authority of
     Congress would be afterwards acknowledged to render the treaty complete.

     Three days after this message was received, general Sullivan was requested to inform
     lord Howe,

     that Congress being the representatives of the free and independent states of America,
     they cannot with propriety send any of their members to confer with his lordship in
     their private characters, but that ever desirous of establishing peace on reasonable
     terms, they will send a committee of their body, to know whether he has any authority
     to treat with persons authorised by Congress, for that purpose, on behalf of America,
     and what that authority is; and to hear such propositions as he shall think fit to make
     respecting the same.

     They elected Dr. Franklin, John Adams, and Edward Rutledge their committee, for
     this purpose. In a few days they met lord Howe on Staten-Island, and were received
     with great politeness. On their return they made a report of their conference, which
     they summed up by saying,

     It did not appear to your committee that his lordship’s commission contained any
     other authority than that expressed in the act of parliament—namely, that of granting
     pardons, with such exceptions as the commissioners shall think proper to make, and
     of declaring America, or any part of it, to be in the king’s peace, on submission: For
     as to the power of enquiring into the state of America, which his lordship mentioned
     to us, and of conferring and consulting with any persons the commissioners might
     think proper,
     and representing the result [304] of such conversation to the         1776
     ministry, who, provided the colonies would subject themselves,
     might after all, or might not, at their pleasure, make any alterations in the former
     instructions to governors, or propose in parliament, any amendment of the acts
     complained of, we apprehended any expectation from the effect of such a power,
     would have been too uncertain and precarious, to be relied on by America, had she
     still continued in her state of dependence.

     Lord Howe, had ended the conference on his part, by expressing his regard for
     America, and the extreme pain he would suffer in being obliged to distress those
     whom he so much regarded. Dr. Franklin, thanked him for his regards, and assured
     him, [“]that the Americans would shew their gratitude, by endeavouring to lessen as
     much as possible, all pain he might feel on their account, by exerting their utmost
     abilities, in taking good care of themselves.”



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     The committee in every respect maintained the dignity of Congress. Their conduct
     and sentiments were such as became their character. The friends to independence
     rejoiced that nothing resulted from this interview, that might disunite the people.
     Congress, trusting to the good sense of their countrymen, ordered the whole to be
     printed for their information. All the states would have then rejoiced at less beneficial
     terms than they obtained about seven years later. But Great-Britain counted on the
     certainty of their absolute conquest, or unconditional submission. Her offers therefore
     comported so little with the feelings of America, that they neither caused demur nor
     disunion, among the new formed states.

     The unsuccessful termination of the action on the 27th, led to consequences more
     seriously alarming to the Americans, than the loss of their men. Their army was
     universally dispirited. The militia ran off by companies. Their example infected the
     regular regiments. The loose footing on which the militia came to camp, made it
     hazardous to exercise over them that discipline, without which, an army is a mob. To
     restrain one part of an army, while another claimed and exercised the right of doing as
     they pleased, was no less impracticable than absurd.

     [305]
     A council of war, recommended to act on the defensive, and not 1776
     to risque the army for the sake of New-York.
     To retreat, subjected the commander in chief to reflections          Sept. 7
     painful to bear, and yet impolitic to refute. To stand his ground,
     and by suffering himself to be surrounded, to hazard the fate of America on one
     decisive engagement, was contrary to every rational plan of defending the wide
     extended states committed to his care. A middle line between abandoning and
     defending was therefore for a short time adopted. The public stores were moved to
     Dobbs’ ferry, about 26 miles from New-York. 12,000 men were ordered to the
     northern extremity of New-York island, and 4500 to remain for the defence of the
     city, while the remainder occupied the intermediate space, with orders, either to
     support the city or Kingsbridge, as exigencies might require. Before the British
     landed, it was impossible to tell what place would be first attacked. This made it
     necessary to erect works for the defence of a variety of places, as well as of New-
     York. Though every thing was abandoned when the crisis came that either the city
     must be relinquished, or the army risqued for its defence, yet from the delays,
     occasioned by the redoubts and other works, which had been erected on the idea of
     making the defence of the states a war of posts, a whole campaign was lost to the
     British, and saved to the Americans. The year began with hopes, that Great-Britain
     would recede from her demands, and therefore every plan of defence was on a
     temporary system. The declaration of independence, which the violence of Great-
     Britain forced the colonies to adopt in July, though neither foreseen nor intended at
     the commencement of the year, pointed out the necessity of organising an army, on
     new terms, correspondent to the enlarged objects for which they had resolved to
     contend.
     Congress accordingly determined to raise 88 battalions, to serve Sep. 16
     during the war. Under these circumstances to wear away the
     campaign, with as little misfortune as possible, and thereby to gain time for raising a




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     permanent army against the next year, was to the Americans a matter of the last
     importance.
     Though the commander in chief abandoned those works, [306]        1776
     which had engrossed much time and attention yet the advantage
     resulting from the delays they occasioned, far overbalanced the expence incurred by
     their erection.

     The same shortsighted politicians, who had before censured general Washington, for
     his cautious conduct, in not storming the British lines at Boston, renewed their
     clamors against him, for adopting this evacuating and retreating system. Supported by
     a consciousness of his own integrity, and by a full conviction that these measures
     were best calculated for securing the independence of America, he for the good of his
     country, voluntarily subjected his fame to be overshadowed by a temporary cloud.

     General Howe having prepared every thing for a descent on              Sep. 15
     New-York island, began to land his men under cover of ships of
     war, between Kepps’-bay and Turtle bay. A breast work had been erected in the
     vicinity, and a party stationed in it to oppose the British, in case of their attempting to
     land. But on the first appearance of danger, they ran off in confusion. The commander
     in chief came up, and in vain attempted to rally them. Though the British in sight, did
     not exceed sixty, he could not either by example, intreaty, or authority, prevail on a
     superior force to stand their ground, and face that inconsiderable number. Such
     dastardly conduct raised a tempest in the usually tranquil mind of general
     Washington. Having embarked in the American cause from the purest principles, he
     viewed with infinite concern this shameful behaviour, as threatening ruin to his
     country. He recollected the many declarations of Congress, of the army, and of the
     inhabitants, preferring liberty to life, and death to dishonour, and contrasted them with
     their present scandalous flight. His soul was harrowed up with apprehensions that his
     country would be conquered—her army disgraced, and her liberties destroyed. He
     anticipated, in imagination, that the Americans would appear to posterity in the light
     of high sounding boasters, who blustered when danger was at a distance, but shrunk at
     the shadow of opposition. Extensive confiscations and numerous attainders presented,
     themselves in full view to his agitated mind.
     He saw, in imagination, new formed states, with [307] the means 1776
     of defence in their hands, and the glorious prospects of liberty
     before them, levelled to the dust, and such constitutions imposed on them as were
     likely to crush the vigour of the human mind, while the unsuccessful issue of the
     present struggle would for ages to come, deter posterity from the bold design of
     asserting their rights. Impressed with these ideas he hazarded his person for some
     considerable time in rear of his own men, and in front of the enemy with his horse’s
     head towards the latter, as if in expectation, that by an honourable death he might
     escape the infamy he dreaded from the dastardly conduct of troops on whom he could
     place no dependance. His aids and the confidential friends around his person, by
     indirect violence, compelled him to retire. In consequence of their address and
     importunity, a life was saved for public service, which otherwise from a sense of
     honour, and a gust of passion, seemed to be devoted to almost certain destruction.




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     On the day after this shameful flight of part of the American army, a skirmish took
     place between two battalions of light infantry and highlanders commanded by
     brigadier Leslie, and some detachments from the American army, under the command
     of lieutenant colonel Knowlton of Connecticut, and major Leitch of Virginia. The
     colonel was killed and the major badly wounded. Their men behaved with great
     bravery, and fairly beat their adversaries from the field. Most of these were the same
     men, who had disgraced themselves the day before, by running away[;] struck with a
     sense of shame for their late misbehaviour, they had offered themselves as volunteers,
     and requested the commander in chief to give them an opportunity to retrieve their
     honour. Their good conduct, at this second engagement, proved an antidote to the
     poison of their example on the preceding day. It demonstrated that the Americans
     only wanted resolution and good officers to be on a footing with the British, and
     inspired them with hopes that a little more experience would enable them to assume,
     not only the name and garb, but the spirit and firmness of soldiers.

     The Americans having evacuated the city of New-York, [308] a brigade of the British
     army marched into it.
     They had been but a few days in possession, when a dreadful            1776
     fire, most probably occasioned by the disorderly conduct of some
     British sailors, who had been permitted to regale themselves on shore, broke out, and
     consumed about a thousand houses. Dry weather, and a brisk wind, spread the flames
     to such an extent, that had it not been for great exertions of the troops and sailors, the
     whole city must have shared the same fate. After the Americans had evacuated New-
     York, they retired to the north end of the island, on which that city is erected. In about
     four weeks general Howe began to execute a plan for cutting off general
     Washington’s communication with the eastern states, and enclosing him so as to
     compel a general engagement on the island. With this view, the greater part of the
     royal army passed through Hellgate, entered the sound, and landed on Frog’s neck, in
     West-Chester county.
     Two days after they made this movement, general Lee arrived            Oct. 12
     from his late successful command to the southward.
     He found that there was a prevailing disposition among the             Oct. 14
     officers in the American army for remaining on New-York
     island.
     A council of war was called, in which general Lee gave such            Oct. 16
     convincing reasons for quitting it, that they resolved immediately
     to withdraw the bulk of the army. He also pressed the expediency of evacuating Fort
     Washington, but in this he was opposed by general Greene, who argued that the
     possession of that post would divert a large body of the enemy, from joining their
     main force, and in conjunction with Fort Lee, would be of great use in covering the
     transportation of provisions and stores up the North-River, for the service of the
     American troops. He added farther, that the garrison could be brought off at any time,
     by boats from the Jersey side of the river. His opinion prevailed. Though the system
     of evacuating and retreating was in general adopted, an exception was made in favour
     of Fort Washington, and near 3000 men were assigned for its defence.

                                                                            Oct. 18




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     The royal army, after a halt of six days, at Frog’s neck, advanced 1776
     near to New-Rochelle. On their march they [309] sustained a
     considerable loss by a party of Americans, whom general Lee posted behind a wall.
     After three days, general Howe moved the right and centre of his Oct. 21
     army two miles to the northward of New Rochelle, on the road to
     the White Plains, and there he received a large reinforcement.

     General Washington, while retreating from New-York island, was careful to make a
     front towards the British, from East-Chester, almost to White Plains, in order to
     secure the march of those who were behind, and to defend the removal of the sick, the
     cannon and stores of his army. In this manner his troops made a line of small detached
     and intrenched camps, on the several heights and strong grounds, from Valentine’s
     hill, on the right, to the vicinity of the White Plains, on the left.

     The royal army moved in two columns, and took a position with Oct. 25
     the Brunx in front, upon which the Americans assembled their
     main force at White Plains, behind entrenchments. A general action was hourly
     expected, and a considerable one took place, in which several hundreds fell.
     The Americans were commanded by general M‘Dougal, and the Oct. 28
     British by general Leslie. While they were engaged, the
     American baggage was moved off, in full view of the British army. Soon after this,
     general Washington changed his front, his left wing stood fast, and his right fell back
     to some hills. In this position, which was an admirable one in a military point of view,
     he both desired and expected an action; but general Howe declined it, and drew off his
     forces towards Dobbs’ ferry. The Americans afterwards retired to North-Castle.

     General Washington, with part of his army, crossed the North-River, and took post in
     the neighborhood of Fort-Lee. A force of about 7500 men was left at North-Castle,
     under general Lee.

     The Americans having retired, Sir William Howe determined to Nov. 12
     improve the opportunity of their absence, for the reduction of
     Fort Washington. This, the only post the Americans then held on New-York island,
     was under the command of colonel Magaw. The royal army made four attacks upon it.
     The first on the north [310] side, was led on by general Kniphausen. The second on
     the east by general Mathews, supported by lord Cornwallis.
     The third was under the direction of lieutenant colonel Stirling, Nov. 16
     and the fourth was commanded by lord Piercy. The troops under
     Kniphausen, when advancing to the fort, had to pass through a thick wood, which was
     occupied by colonel Rawling’s regiment of riflemen, and suffered very much from
     their well directed fire. During this attack, a body of the British light infantry
     advanced against a party of the Americans, who were annoying them from behind
     rocks and trees, and obliged them to disperse. Lord Piercy, carried an advance work
     on his side, and lieutenant colonel Stirling, forced his way up a steep height, and took
     170 prisoners. Their outworks being carried, the Americans left their lines, and
     crouded into the fort. Colonel Rahl, who led the right column of Kniphausen’s attack,
     pushed forward, and lodged his column within a hundred yards of the fort, and was
     there soon joined by the left column—the garrison surrendered on terms of



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     capitulation, by which the men were to be considered as prisoners of war, and the
     officers to keep their baggage and side arms. The number of prisoners amounted to
     2700. The loss of the British, inclusive of killed and wounded, was about 1200.
     Shortly after Fort Washington had surrendered.
     Lord Cornwallis, with a considerable force passed over to attack Nov. 18
     Fort Lee, on the opposite Jersey shore.

     The garrison was saved by an immediate evacuation, but at the expense of their
     artillery and stores. General Washington, about this time retreated to New-Ark.
     Having abundant reason from the posture of affairs, to count on the necessity of a
     farther retreat he asked colonel Reed—“Should we retreat to the back parts of
     Pennsylvania, will the Pennsylvanians support us?” The colonel replied, if the lower
     counties are subdued and give up, the back counties will do the same. The general
     replied, [“]we must retire to Augusta county, in Virginia. Numbers will be obliged to
     repair to us for safety, and we must try what we can do in carrying on a predatory war,
     and if overpowered, we must cross the Allegany mountains.”

     [311]
     While a tide of success, was flowing in upon general Howe, he        1776
     and his brother, as royal commissioners, issued a proclamation,
     in which they commanded, “All persons assembled in arms against his majesty’s
     government to disband, and all general or provincial congresses to desist from their
     treasonable actings, and to relinquish their usurped power.” They also declared “that
     every person who within sixty days should appear before the governor, lieutenant
     governor, or commander in chief of any of his majesty’s colonies, or before the
     general, or commanding officer of his majesty’s forces, and claim the benefit of the
     proclamation; and testify his obedience to the laws, by subscribing a certain
     declaration, should obtain a full and free pardon of all treasons by him committed, and
     of all forfeitures, and penalties for the same.” Many who had been in office, and taken
     an active part in support of the new government, accepted of these offers, and made
     their peace by submission. Some who had been the greatest blusterers in favour of
     independence, veered round to the strongest side. Men of fortune generally gave way.
     The few who stood firm, were mostly to be found in the middle ranks of the people.

     The term of time for which the American soldiers had engaged to serve, ended in
     November or December, with no other exception, than that of two companies of
     artillery, belonging to the state of New-York, which were engaged for the war. The
     army had been organized at the close of the preceding year, on the fallacious idea, that
     an accommodation would take place, within a twelve month. Even the flying camp,
     though instituted after the prospect of that event had vanished, was enlisted only till
     the first of December, from a presumption that the campaign would terminate by that
     time.

     When it was expected that the conquerors would retire to winter quarters, they
     commenced a new plan of operations more alarming, than all their previous
     conquests. The reduction of Fort Washington, the evacuation of Fort Lee, and the
     diminution of the American army, by the departure of those whose time of service had
     expired, encouraged the British,



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     notwithstanding the [312] severity of the winter, and the badness 1776
     of the roads, to pursue the remaining inconsiderable continental
     force, with the prospect of annihilating it. By this turn of affairs, the interior country
     was surprised into confusion, and found an enemy within its bowels, without a
     sufficient army to oppose it. To retreat, was the only expedient left. This having
     commenced, lord Cornwallis followed, and was close in the rear of general
     Washington, as he retreated successively to New-Ark, to Brunswick, to Princeton, to
     Trenton, and to the Pennsylvania side of the Delaware. The pursuit was urged with so
     much rapidity, that the rear of the one army, pulling down bridges was often within
     sight, and shot off the van of the other, building them up.

     This retreat into, and through New-Jersey, was attended with almost every
     circumstance that could occasion embarrassment, and depression of spirits. It
     commenced in a few days, after the Americans had lost 2700 men in Fort
     Washington. In fourteen days after that event, the whole flying camp claimed their
     discharge. This was followed by the almost daily departure of others, whose
     engagements terminated nearly about the same time. A farther disappointment
     happened to general Washington at this time. Gates had been ordered by Congress to
     send two regiments from Ticonderoga, to reinforce his army. Two Jersey regiments
     were put under the command of general St. Clair, and forwarded in obedience to this
     order, but the period for which they were enlisted was expired, and the moment they
     entered their own state, they went off to a man. A few officers without a single
     private, were all that general St. Clair brought off these two regiments, to the aid of
     the retreating American army. The few who remained with general Washington were
     in a most forlorn condition. They consisted mostly of the troops which had garrisoned
     Fort Lee, and had been compelled to abandon that post so suddenly, that they
     commenced their retreat without tents or blankets, and without any utensils to dress
     their provisions. In this situation they performed a march of about ninety miles, and
     had the address to prolong it to [313] the space of nineteen days.
     As the retreating Americans marched through the country,               1776
     scarcely one of the inhabitants joined them, while numbers were
     daily flocking to the royal army, to make their peace and obtain protection. They saw
     on the one side a numerous well appointed and full clad army, dazzling their eyes
     with the elegance of uniformity; on the other a few poor fellows, who from their
     shabby cloathing were called ragamuffins, fleeing for their safety. Not only the
     common people changed sides in this gloomy state of public affairs, but some of the
     leading men in New-Jersey and Pennsylvania adopted the same expedient. Among
     these Mr. Galloway, and the family of the Allens of Philadelphia, were most
     distinguished. The former, and one of the latter, had been members of Congress. In
     this hour of adversity they came within the British lines, and surrendered themselves
     to the conquerors, alledging in justification of their conduct, that though they had
     joined with their countrymen, in seeking for a redress of grievances in a constitutional
     way, they had never approved of the measures lately adopted, and were in particular,
     at all times, averse to independence.

     On the day general Washington retreated over the Delaware, the British took
     possession of Rhode-Island without any loss, and at the same time blocked up
     commodore Hopkins’ squadron, and a number of privateers at Providence.



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     In this period, when the American army was relinquishing its general—the people
     giving up the cause, some of their leaders going over to the enemy, and the British
     commanders succeeding in every enterprise, general Lee was taken prisoner at
     Baskenridge, by lieutenant colonel Harcourt. This caused a depression of spirits
     among the Americans, far exceeding any real injury done to their essential interests.
     He had been repeatedly ordered to come forward with his division and join general
     Washington, but these orders were not obeyed.
     This circumstance, and the dangerous crisis of public affairs,      1776
     together with his being alone at some distance, from the troops
     which he commanded, begat suspicions that he chose to [314] fall into the hands of
     the British. Though these apprehensions were without foundation, they produced the
     same extensive mischief, as if they had been realities. The Americans had reposed
     extravagant confidence in his military talents, and experience of regular European
     war. Merely to have lost such an idol of the states at any time, would have been
     distressful, but losing him under circumstances, which favoured an opinion that,
     despairing of the American cause, he chose to be taken a prisoner, was to many an
     extinguishment of every hope.

     By the advance of the British into New-Jersey, the neighbourhood of Philadelphia
     became the seat of war. This prevented that undisturbed attention to public business
     which the deliberations of Congress required.
     They therefore adjourned themselves to meet in eight days at         Dec. 12 20
     Baltimore, resolving at the same time, “that general Washington
     should be possessed of full powers to order and direct all things relative to the
     department, and the operations of war.”

     The activity of the British in the close of the campaign, seemed in some measure to
     compensate for their tardiness, in the beginning of it.

     Hitherto they had succeeded in every scheme. They marched up and down the Jersey
     side of the river Delaware, and through the country, without any molestation. All
     opposition to the re-establishment of royal government, seemed to be on the point of
     expiring. The Americans had thus far acted without system, or rather feebly executed
     what had been tardily adopted. Though the war was changed from its first ground, a
     redress of grievances to a struggle for sovereignty, yet some considerable time
     elapsed, before arrangements, conformable to this new system were adopted, and a
     much longer before they were carried into execution.

     With the year 1776, a retreating, half naked army, was to be dismissed, and the
     prospect of a new one was both distant and uncertain. The recently assumed
     independence of the States, was apparently on the verge of dissolution. It was
     supposed by many, that the record of their existence would have been no more than
     that

     a fickle people, impatient of the restraints of regular government, 1776
     [315] had in a fit of passion abolished that of Great-Britain, and
     established in its room free constitutions of their own, but these new establishments,
     from want of wisdom in their rulers, or of spirit in their people, were no sooner



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     formed than annihilated. The leading men, in their respective governments, and the
     principal members of Congress, (for by this name the insurgents distinguished their
     supreme council) were hanged, and their estates confiscated. Washington, the gallant
     leader of their military establishments—worthy of a better fate—deserted by his
     army—abandoned by his country—rushing on the thickest battalions of the foe,
     provoked a friendly British bayonet to deliver him from an ignominious death.

     To human wisdom it appeared probable, that such a paragraph would have closed
     some small section in the history of England, treating of the American troubles, but
     there is in human affairs an ultimate point of elevation or depression, beyond which
     they neither grow better nor worse, but turn back in a contrary course.

     In proportion as difficulties increased, Congress redoubled their exertions to oppose
     them.
     They addressed the states in animated language, calculated to       Dec. 10
     remove their despondency—renew their hopes—and confirm
     their resolutions.

     They at the same time dispatched gentlemen of character and influence, to excite the
     militia to take the field. General Mifflin was, on this occasion, particularly useful. He
     exerted his great abilities in rousing his fellow citizens, by animated and affectionate
     addresses, to turn out in defence of their endangered liberties.

     Congress also recommended to each of the United States “to           11
     appoint a day of solemn fasting and humiliation, to implore of
     Almighty God the forgiveness of their many sins, and to beg the countenance and
     assistance of his providence, in the prosecution of the present just and necessary war.”

     In the dangerous situation to which every thing dear to the friends of independence
     was reduced, Congress transferred extraordinary powers to general Washington, by a
     resolution, expressed in the following words:

     [316]
     The unjust, but determined purposes of the British court to         1776
     enslave these free states, obvious through every delusive
     insinuation to the contrary,
     having placed things in such a situation that the very existence of Dec. 27
     civil liberty now depends on the right execution of military
     powers, and the vigorous decisive conduct of these being impossible to distant,
     numerous, and deliberative bodies. This Congress, having maturely considered the
     present crisis; and having perfect reliance on the wisdom, vigour, and uprightness of
     general Washington, do hereby,

     Resolve, That general Washington shall be, and he is hereby vested with full, ample,
     and complete powers, to raise and collect together, in the most speedy and effectual
     manner, from any or all of these United States, sixteen battalions of infantry, in
     addition to those already voted by Congress; to appoint officers for the said battalions
     of infantry; to raise, officer, and equip 3000 light-horse; three regiments of artillery,



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     and a corps of engineers, and to establish their pay; to apply to any of the states for
     such aid of the militia as he shall judge necessary; to form such magazines of
     provisions, and in such places as he shall think proper; to displace and appoint all
     officers under the rank of brigadier general, and to fill up all vacancies in every other
     department in the American armies; to take, wherever he may be, whatever he may
     want, for the use of the army, if the inhabitants will not sell it, allowing a reasonable
     price for the same; to arrest and confine persons who refuse to take the continental
     currency, or are otherwise disaffected to the American cause; and return to the states,
     of which they are citizens, their names, and the nature of their offences, together with
     the witnesses to prove them: That the foregoing powers be vested in general
     Washington for and during the term of six months, from the date hereof, unless sooner
     determined by Congress.

     In this hour of extremity, the attention of the Congress was employed, in devising
     plans to save the states from sinking under the heavy calamities which were bearing
     them down.
     It is remarkable, that, neither in the present condition, though       1776
     trying and severe, nor in any other [317] since the declaration of
     independence, was Congress influenced either by force, distress, artifice, or
     persuasion, to entertain the most distant idea of purchasing peace, by returning to the
     condition of British subjects. So low were they reduced in the latter end of 1776, that
     some members, distrustful of their ability to resist the power of Great-Britain,
     proposed to authorise their commissioners at the court of France (whose appointment
     shall be hereafter explained) to transfer to that country the same monopoly of their
     trade, which Great-Britain had hitherto enjoyed. On examination it was found, that
     concessions of this kind would destroy the force of many arguments heretofore used
     in favour of independence, and probably disunite their citizens. It was next proposed
     to offer a monopoly of certain enumerated articles of produce. To this the variant
     interests of the different states were so directly opposed, as to occasion a speedy and
     decided negative. Some proposed offering to France, a league offensive and
     defensive, in case she would heartily support American independence; but this was
     also rejected. The more enlightened members of Congress argued, “Though the
     friendship of small states might be purchased, that of France could not.” They
     alledged, that if she would risque a war with Great-Britain, by openly espousing their
     cause, it would not be so much from the prospect of direct advantages, as from a
     natural desire to lessen the overgrown power of a dangerous rival. It was therefore
     supposed, that the only inducement, likely to influence France to an interference, was
     an assurance that the United States were determined to persevere in refusing a return
     to their former allegiance. Instead of listening to the terms of the royal
     commissioners, or to any founded on the idea of their resuming their character of
     British subjects, it was therefore again resolved, to abide by their declared
     independence, and proffered freedom of trade to every foreign nation, trusting the
     event to Providence, and risquing all consequences. Copies of these resolutions were
     sent to the principal courts of Europe, and proper persons were appointed to solicit
     their friendship to the new formed states.
     These despatches fell into the hands of the British, [318] and         1776
     were by them published. This was the very thing wished for by
     Congress. They well knew, that an apprehension of their making up all differences



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     with Great-Britain was the principal objection to the interference of foreign courts, in
     what was represented to be no more than a domestic quarrel. A resolution adopted in
     the deepest distress, and the worst of times that Congress would listen to no terms of
     reunion with their Parent State, convinced those, who wished for the dismemberment
     of the British empire, that it was sound policy to interfere, so far as would prevent the
     conquest of the United States.

     These judicious determinations in the cabinet, were accompanied with vigorous
     exertions in the field. In this crisis of danger 1500 of the Pennsylvania militia,
     embodied to re-inforce the continental army. The merchant, the farmer, the tradesman
     and the labourer, cheerfully relinquished the conveniences of home, to perform the
     duties of private soldiers, in the severity of a winter campaign. Though most of them
     were accustomed to the habits of a city life, they slept in tents, barns, and sometimes
     in the open air, during the cold months of December and January. There were,
     nevertheless, only two instances of sickness, and only one of death in that large body
     of men in the course if six weeks. The delay so judiciously contrived on the retreat
     through Jersey, afforded time for these volunteer reinforcements to join general
     Washington. The number of troops under his command at that time, fluctuated
     between two and three thousand men. To turn round and face a victorious and
     numerous foe, with this inconsiderable force was risquing much; but the urgency of
     the case required that something should be attempted. The recruiting business for the
     proposed new continental army was at a stand, while the British were driving the
     Americans before them. The present regular soldiers could, as a matter of right, in less
     than a week claim their discharge, and scarce a single recruit offered to supply their
     place. Under these circumstances, the bold resolution was formed of recrossing into
     the state of Jersey, and attacking that part of the enemy, which was posted at Trenton.

     [319]
     When the Americans retreated over the Delaware, the boats in        1776
     the vicinity were removed out of the way of their pursuers—this
     arrested their progress: But the British commanders in the security of conquest
     cantoned their army in Burlington, Bordenton, Trenton, and other towns of New-
     Jersey, in daily expectation of being enabled to cross into Pennsylvania, by means of
     ice, which is generally formed about that time.

     Of all events, none seemed to them more improbable, than that their late retreating
     half naked enemies, should in this extreme cold season, face about and commence
     offensive operations. They indulged themselves in a degree of careless inattention to
     the possibility of a surprise, which in the vicinity of an enemy, however contemptible,
     can never be justified. It has been said that colonel Rahl, the commanding officer in
     Trenton, being under some apprehension for that frontier post, applied to general
     Grant for a reinforcement, and that the general returned for answer. “Tell the colonel,
     he is very safe, I will undertake to keep the peace in New-Jersey with a corporal’s
     guard.”

     In the evening of Christmas day, general Washington, made arrangements for
     recrossing the Delaware in three divisions; at M. Konkey’s ferry, at Trenton ferry, and
     at or near Bordenton. The troops which were to have crossed at the two last places,



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     were commanded by generals Ewing, and Cadwallader, they made every exertion to
     get over, but the quantity of ice was so great, that they could not effect their purpose.
     The main body which was commanded by general Washington crossed at M.
     Konkey’s ferry, but the ice in the river retarded their passage so long, that it was three
     o’clock in the morning, before the artillery could be got over. On their landing in
     Jersey, they were formed into two divisions, commanded by general Sullivan, and
     Greene, who had under their command brigadiers, lord Stirling, Mercer and St. Clair:
     one of these divisions was ordered to proceed on the lower, or river road, the other on
     the upper or Pennington road. Col. Stark, with some light troops, was also directed to
     advance near to the river, and to possess himself [320] of that part of the town, which
     is beyond the bridge. The divisions having nearly the same distance to march, were
     ordered immediately on forcing the out guards, to push directly into Trenton, that they
     might charge the enemy before they had time to form. Though they marched different
     roads, yet they arrived at the enemy’s advanced post, within three minutes of each
     other. The out guards of the Hessian troops at Trenton soon fell back, but kept up a
     constant retreating fire. Their main body being hard pressed by the Americans, who
     had already got possession of half their artillery, attempted to file off by a road
     leading towards Princeton, but were checked by a body of troops thrown in their way.
     Finding they were surrounded, they laid down their arms. The number which
     submitted, was 23 officers, and 885 men. Between 30 and 40 of the Hessians were
     killed and wounded. Colonel Rahl, was among the former, and seven of his officers
     among the latter. Captain Washington of the Virginia troops, and five or six of the
     Americans were wounded. Two were killed, and two or three were frozen to death.
     The detachment in Trenton consisted of the regiments of Rahl, Losberg, and
     Kniphausen, amounting in the whole to about 1500 men, and a troop of British light
     horse. All these were killed or captured, except about 600, who escaped by the road
     leading to Bordenton.

     The British had a strong battalion of light infantry at Princeton, and a force yet
     remaining near the Delaware, superior to the American army. General Washington,
     therefore in the evening of the same day, thought it most prudent to recross into
     Pennsylvania, with his prisoners.

     The effects of this successful enterprize were speedily felt in recruiting the American
     army. About 1400 regular soldiers whose time of service was on the point of expiring,
     agreed to serve six weeks longer, on a promised gratuity of ten paper dollars to each.
     Men of influence were sent to different parts of the country to rouse the militia.
     The rapine, and impolitic conduct of the British, operated more 1776
     forcibly on the inhabitants, to expel them [323 (the original
     paging errs, skipping over 321–22)] from the state, than either patriotism or
     persuasion to prevent their overrunning it.

     The Hessian prisoners taken on the 26th being secured, general Dec. 28
     Washington re-crossed the Delaware, and took possession of
     Trenton. The detachments which had been distributed over New-Jersey, previous to
     the capture of the Hessians, immediately, after that event, assembled at Princeton, and
     were joined by the army from Brunswick under lord Cornwallis.




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     From this position they came forward towards Trenton in great 1777
     force, hoping by a vigorous onset to repair the injury their cause
     had sustained by the late defeat.
     Truly delicate was the situation of the feeble American army. To Jan. 2d
     retreat was to hazard the city of Philadelphia, and to destroy
     every ray of hope which had begun to dawn from their late success. To risque an
     action with a superior force in front, and a river in rear, was dangerous in the extreme.
     To get round the advanced party of the British, and by pushing forwards to attack in
     their rear, was deemed preferable to either.
     The British on their advance from Princeton, about 4 P.M.               Jan. 2d
     attacked a body of Americans which were posted with four field
     pieces, a little to the northward of Trenton, and compelled them to retreat. The
     pursuing British, being checked at the bridge over Sanpink creek, which runs through
     that town, by some field pieces, which were posted on the opposite banks of that
     rivulet, fell back so far as to be out of reach of the cannon, and kindled their fires. The
     Americans were drawn up on the other side of the creek, and in that position remained
     till night, cannonading the enemy and receiving their fire. In this critical hour, two
     armies on which the success or failure of the American revolution, materially
     depended, were crouded into the small village of Trenton, and only separated by a
     creek in many places fordable. The British believing they had all the advantages they
     could wish for, and that they could use them when they pleased, discontinued all
     further operations, and kept themselves in readiness to make the attack next morning.
     Sir William Erskine is reported to have advised an immediate attack, or at least to
     place a strong [324] guard at a bridge over Sanpink creek, which lay in the route the
     Americans took to Princeton, giving for reason that, otherwise, Washington if a good
     general, would make a move to the left of the royal army, and attack the post at
     Princeton in their rear. The next morning presented a scene as brilliant on the one
     side, as it was unexpected on the other. Soon after it became dark, gen. Washington
     ordered all his baggage to be silently removed, and having left guards for the purpose
     of deception, marched with his whole force, by a circuitous route to Princeton. This
     manoeuvre was determined upon in a council of war, from a conviction that it would
     avoid the appearance of a retreat, and at the same time the hazard of an action in a bad
     position, and that it was the most likely way to preserve the city of Philadelphia, from
     falling into the hands of the British. General Washington also presumed, that from an
     eagerness to efface the impressions, made by the late capture of Hessians at Trenton,
     the British commanders had pushed forward their principal force, and that of course
     the remainder in the rear at Princeton was not more than equal to his own. The event
     verified this conjecture. The more effectually to disguise the departure of the
     Americans from Trenton, fires were lighted up in front of their camp. These not only
     gave an appearance of going to rest, but as flame cannot be seen through, concealed
     from the British, what was transacting behind them. In this relative position they were
     a pillar of fire to the one army, and a pillar of a cloud to the other. Providence
     favoured this movement of the Americans. The weather had been for some time so
     warm and moist, that the ground was soft and the roads so deep as to be scarcely
     passable: but the wind suddenly changed to the northwest, and the ground in a short
     time was frozen so hard, that when the Americans took up their line of march, they
     were no more retarded, than if they had been upon a solid pavement.




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     General Washington reached Princeton, early in the morning,           Jan. 3
     and would have completely surprised the British, had not a party,
     which was on their way to Trenton, [325] descried his troops,         1776
     when they were about two miles distant, and sent back couriers
     to alarm their unsuspecting fellow soldiers in their rear. These consisted of the 17th,
     the 40th, & 55th regiments of British infantry and some of the royal artillery with two
     field pieces, and three troops of light dragoons. The center of the Americans,
     consisting of the Philadelphia militia, while on their line of march, was briskly
     charged by a party of the British, and gave way in disorder. The moment was critical.
     General Washington pushed forward, and placed himself between his own men, and
     the British, with his horse’s head fronting the latter. The Americans encouraged by his
     example, and exhortations, made a stand, and returned the British fire. The general,
     though between both parties, was providentially uninjured by either. A party of the
     British fled into the college and were there attacked with field pieces which were fired
     into it. The seat of the muses became for some time the scene of action. The party
     which had taken refuge in the college, after receiving a few discharges from the
     American field pieces came out and surrendered themselves prisoners of war. In the
     course of the engagement, sixty of the British were killed, and a greater number
     wounded, and about 300 of them were taken prisoners. The rest made their escape,
     some by pushing on towards Trenton, others by returning towards Brunswick. The
     Americans lost only a few, but colonels Haslet and Potter, and capt. Neal of the
     artillery, were among the slain. General Mercer received three bayonet wounds of
     which he died in a short time. He was a Scotchman by birth, but from principle and
     affection had engaged to support the liberties of his adopted country, with a zeal equal
     to that of any of its native sons. In private life he was amiable, and his character as an
     officer stood high in the public esteem.

     While they were fighting in Princeton, the British in Trenton were under arms, and on
     the point of making an assault on the evacuated camp of the Americans. With so
     much address had the movement to Princeton been conducted, that though from the
     critical situation of the two armies, every ear may be supposed to have been [326]
     open, and every watchfulness to have been employed,
     yet General Washington moved completely off the ground, with 1776
     his whole force, stores, baggage and artillery unknown to, and
     unsuspected by his adversaries. The British in Trenton, were so entirely deceived, that
     when they heard the report of the artillery at Princeton, though it was in the depth of
     winter, they supposed it to be thunder.

     That part of the royal army, which having escaped from Princeton, retreated towards
     New-Brunswick, was pursued for three or four miles. Another party which had
     advanced as far as Maidenhead, on their way to Trenton, hearing the frequent
     discharge of fire arms in their rear, wheeled round and marched to the aid of their
     companions. The Americans by destroying bridges, retarded these, though close in
     their rear, so long as to gain time for themselves, to move off, in good order, to
     Pluckemin.

     So great was the consternation of the British at these unexpected movements, that
     they instantly evacuated both Trenton and Princeton, and retreated with their whole



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     force to New-Brunswick. The American militia, collected and forming themselves
     into parties, waylaid their enemies, and cut them off whensoever an opportunity
     presented. In a few days they over-ran the Jerseys. General Maxwell surprised
     Elisabeth-town, and took near 100 prisoners. Newark was abandoned, and the late
     conquerors were forced to leave Woodbridge. The royal troops were confined to
     Amboy and Brunswick, which held a water communication with New-York. Thus, in
     the short space of a month, that part of Jersey, which lies between New-Brunswick
     and Delaware, was both overrun by the British, and recovered by the Americans. The
     retreat of the continental army, the timid policy of the Jersey farmers, who chose
     rather to secure their property by submission, than defend it by resistance, made the
     British believe their work was done, and that little else remained, but to reap a harvest
     of plunder as the reward of their labours.
     Unrestrained by the terrors of civil law, uncontrolled by the        1776
     severity of discipline, and elated with their success, the soldiers
     of the royal army, and particularly [327] the Hessians, gave full scope to the selfish
     and ferocious passions of human nature. A conquered country, and submitting
     inhabitants presented easy plunder, equal to their unbounded rapacity. Infants,
     children, old men and women were stripped of their blankets and cloathing. Furniture
     was burnt or otherwise destroyed. Domestic animals were carried off, and the people
     robbed of their necessary household provisions. The rapes and brutalities committed
     on women, and even on very young girls, would shock the ears of modesty, if
     particularly recited. These violences were perpetrated on inhabitants who had
     remained in their houses, and received printed protections, signed by order of the
     commander in chief. It was in vain, that they produced these protections as a
     safeguard. The Hessians could not read them, and the British soldiers thought they
     were entitled to a share of the booty, equally with their foreign associates.

     Such, in all ages, has been the complexion of the bulk of armies, that immediate and
     severe punishments are indispensably necessary, to keep them from flagrant
     enormities. That discipline, without which an army is a band of armed plunderers, was
     as far, as respected the inhabitants, either neglected, or but feebly administered in the
     royal army. The soldiers finding, they might take with impunity what they pleased,
     were more strongly urged by avarice, than checked by policy or fear. Had every
     citizen been secured in his rights, protected in his property, and paid for his supplies,
     the consequences might have been fatal to the hopes of those who were attached to
     independence. What the warm recommendations of Congress, and the ardent
     supplications of general Washington could not effect, took place of its own accord, in
     consequence of the plundering and devastations of the royal army.

     The whole country became instantly hostile to the invaders. Sufferers of all parties
     rose as one man, to revenge their personal injuries. Those, who from age, or
     infirmities, were incapable of bearing arms, kept a strict watch on the movements of
     the royal army, and from time to time, communicated information to their countrymen
     [328] in arms.
     Those who lately declined all military opposition, though called 1777
     upon by the sacred tie of honour pledged to each other on the
     declaration of independence, chearfully embodied, when they found submission to be
     unavailing for the security of their estates. This was not done originally in



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     consequence of the victories of Trenton and Princeton. In the very moment of these
     actions, or before the news of them had circulated, sundry individuals unknowing of
     general Washington’s movements, were concerting private insurrections, to revenge
     themselves on the plunderers. The dispute originated about property, or in other
     words, about the right of taxation. From the same source at this time, it received a
     new and forcible impulse. The farmer, who could not trace the consequences of
     British taxation, nor of American independence, felt the injuries he sustained from the
     depredation of licentious troops. The militia of New-Jersey, who had hitherto behaved
     most shamefully, from this time forward redeemed their character, and throughout a
     tedious war, performed services with a spirit and discipline in many respects, equal to
     that of regular soldiers.

     The victories of Trenton and Princeton, seemed to be like a resurrection from the
     dead, to the desponding friends of independence. A melancholy gloom, had in the first
     25 days of December overspread the United States; but from the memorable era of the
     26th of same month, their prospects began to brighten. The recruiting service, which
     for some time had been at a stand, was successfully renewed, and hopes were soon
     indulged, that the commander in chief would be enabled to take the field in the spring,
     with a permanent regular force. General Washington retired to Morristown, that he
     might afford shelter to his suffering army. The American militia had sundry
     successful skirmishes with detachments of their adversaries. Within four days after
     the affair at Princeton, between forty and fifty Waldeckers were killed, wounded, or
     taken at Springfield, by an equal number of the same New-Jersey militia, which but a
     month before, suffered the British to overrun their country [329] without opposition.
     This enterprise was conducted by colonel Spencer, whose            1777
     gallantry, on the occasion, was rewarded with the command of a
     regiment.

     During the winter movements, which have been just related, the soldiers of both
     armies underwent great hardships, but the Americans suffered by far the greater.
     Many of them were without shoes, though marching over frozen ground, which so
     gashed their naked feet, that each step was marked with blood. There was scarcely a
     tent in their whole army. The city of Philadelphia had been twice laid under
     contribution, to provide them with blankets. Officers had been appointed, to examine
     every house, and, after leaving a scanty covering for the family to bring off the rest,
     for the use of the troops in the field; but notwithstanding these exertions, the quantity
     procured was far short of decency, much less of comfort.

     The officers and soldiers of the American army were about this time inoculated in
     their cantonment at Morristown. As very few of them had ever had the small pox, the
     inoculation was nearly universal. The disorder had previously spread among them in
     the natural way, and proved mortal to many: but after inoculation was introduced
     though whole regiments were inoculated, in a day, there was little or no mortality
     from the small pox, and the disorder was so slight, that from the beginning to the end
     of it, there was not a single day in which they could not, and if called upon, would not
     have turned out and fought the British. To induce the inhabitants to accommodate
     officers and soldiers in their houses, while under the small pox, they and their families
     were inoculated gratis by the military surgeons. Thus in a short time, the whole army



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     and the inhabitants in and near Morristown were subjected to the small pox, and with
     very little inconvenience to either.

     Three months, which followed the actions of Trenton and Princeton, passed away
     without any important military enterprise on either side. Major general Putnam was
     directed to take post at Princeton, and cover the country in the vicinity. He had only a
     few hundred troops, though he was no more than eighteen miles distant from [330]
     the strong garrison of the British at Brunswick.
     At one period he had fewer men for duty than he had miles of         1777
     frontier to guard. The situation of general Washington at
     Morristown was not more eligible. His force was trifling, when compared with that of
     the British, but the enemy, and his own countrymen, believed the contrary. Their
     deception was cherished, and artfully continued by the specious parade of a
     considerable army. The American officers took their station in positions of difficult
     access, and kept up a constant communication with each other. This secured them
     from insult and surprise. While they covered the country, they harassed the foraging
     parties of the British, and often attacked them with success. Of a variety of these, the
     two following are selected as most worthy of notice.
     General Dickenson, with four hundred Jersey militia, and fifty of Jan. 20
     the Pennsylvania riflemen, crossed Millstone-river, near
     Somerset courthouse, and attacked a large foraging party of the British, with so much
     spirit that they abandoned their convoy, and fled. Nine of them were taken prisoners.
     Forty waggons, and upwards of one hundred horses, with a considerable booty, fell
     into the hands of the general. While the British were loading their waggons, a single
     man began to fire on them from the woods. He was soon joined by more of his
     neighbors, who could not patiently see their propertys carried away. After the foragers
     had been annoyed for some time by these unseen marksmen, they fancied on the
     appearance of general Dickenson, that they were attacked by a superior force, and
     began a precipitate flight.

     In about a month after the affair of Somerset courthouse, colonel. Feb. 18
     Nelson, of Brunswick, with a detachment of 150 militiamen,
     surprised and captured at Lawrence’s Neck, a major, and fifty-nine privates, of the
     refugees, who were in British pay.

     Throughout the campaign of 1776, an uncommon degree of sickness raged in the
     American army. Husbandmen, transferred at once from the conveniences of domestic
     life, to the hardships of a field encampment, could not accommodate themselves to
     the sudden change.
     The southern troops, sickened from the [331] want of salt            1777
     provisions. Linen shirts were too generally worn, in contact with
     the skin. The salutary influence of flannel, in preventing the diseases of camps, was
     either unknown or disregarded. The discipline of the army was too feeble to enforce
     those regulations which experience has proved to be indispensably necessary, for
     preserving the health of large bodies of men collected together. Cleanliness was also
     too much neglected. On the 8th of August the whole American army before New-
     York, consisted of 17,225 men, but of that number only 10,514 were fit for duty.
     These numerous sick suffered much, from the want of necessaries. Hurry and



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     confusion added much to their distresses. There was besides a real want of the
     requisites for their relief.

     A proper hospital establishment was beyond the abilities of Congress, especially as
     the previous arrangements were not entered upon till the campaign had begun. Many,
     perhaps some thousands in the American army, were swept off in a few months by
     sickness. The country every where presented the melancholy sight of soldiers
     suffering poverty and disease, without the aid of medicine or attendance. Those who
     survived gave such accounts of the sufferings of the sick, as greatly discouraged the
     recruiting service. A rage for plundering, under the pretence of taking tory property,
     infected many of the common soldiery, and even some of the officers. The army had
     been formed on such principles, in some of the states, that commissions were, in
     several instances, bestowed on persons who had no pretensions to the character of
     gentlemen. Several of the officers were chosen by their own men, and they often
     preferred those from whom they expected the greatest indulgences. In other cases, the
     choice of the men was in favour of those who had consented to throw their pay into a
     joint stock with the privates, from which officers and men drew equal shares.

     The army, consisting mostly of new recruits and unexperienced officers, and being
     only engaged for a twelve month, was very deficient in that mechanism and discipline
     which time and experience bestow on veteran troops. General Washington was
     unremitting in his [332] representations to Congress, favouring such alterations as
     promised permanency, order and discipline, in the army, but his judicious opinions on
     these subjects were slowly adopted. The sentiments of liberty, which then generally
     prevailed, made some distinguished members of Congress so distrustful of the future
     power and probable designs of a permanent domestic army, that they had well nigh
     sacrificed their country to their jealousies.

     The unbounded freedom of the savage who roams the woods must be restrained when
     he becomes a citizen of orderly government, and from the necessity of the case must
     be much more so, when he submits to be a soldier. The individuals composing the
     army of America, could not at once pass over from the full enjoyment of civil liberty
     to the discipline of a camp, nor could the leading men in Congress for some time be
     persuaded, to adopt energetic establishments. “God forbid, would such say, that the
     citizen should be so far lost in the soldiers of our army, that they should give over
     longing for the enjoyments of domestic happiness. Let frequent furloughs be granted,
     rather than the endearments of wives and children should cease to allure the
     individuals of our army from camps to farms. ” The amiableness of this principle,
     veiled the error of the sentiment. The minds of the civil leaders in the councils of
     America were daily occupied in contemplating the rights of human nature, and
     investigating arguments on the principles of general liberty, to justify their own
     opposition to Great-Britain. Warmed with these ideas, they trusted too much to the
     virtue of their countrymen, and were backward to enforce that subordination and
     order in their army, which, though it intrenches on civil liberty, produces effects in the
     military line unequaled by the effusions of patriotism, or the exertions of
     undisciplined valor.




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     The experience of two campaigns evinced the folly of trusting the defence of the
     country to militia, or to levies raised only for a few months, and had induced a
     resolution for recruiting an army for the war. The good effects of this measure will
     appear in the sequel.

     The campaign of 1776 did not end, till it had been [333] protracted into the first
     month of the year 1777.
     The British had counted on the complete and speedy reduction of 1777
     their late colonies, but they found the work more difficult of
     execution, than was supposed. They wholly failed in their designs on the southern
     states. In Canada they recovered what, in the preceding year, they had lost—drove the
     Americans out of their borders, and destroyed their fleet on the lakes, but they failed
     in making their intended impression on the northwestern frontier of the states. They
     obtained possession of Rhode-Island, but the acquisition was of little
     service—perhaps was of detriment. For near three years several thousand men
     stationed thereon for its security, were lost to every purpose of active cooperation
     with the royal forces in the field, and the possession of it secured no equivalent
     advantages. The British completely succeeded against the city of New-York, and the
     adjacent country, but when they pursued their victories into New-Jersey, and
     subdivided their army, the recoiling Americans soon recovered the greatest part of
     what they had lost.

     Sir William Howe, after having nearly reached Philadelphia, was confined to limits so
     narrow, that the fee simple of all he commanded would not reimburse the expence
     incurred by its conquest.

     The war, on the part of the Americans, was but barely begun. Hitherto they had
     engaged with temporary forces, for a redress of grievances, but towards the close of
     this year they made arrangements for raising a permanent army to contend with Great-
     Britain, for the sovereignty of the country. To have thus far stood their ground, with
     their new levies, was a matter of great importance, because of them, delay was
     victory, and not to be conquered was to conquer.




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     CHAPTER XIII

     Of Independence, State Constitutions, And The Confederation.
     [334]
     In former ages it was common for a part of a community to            1777
     migrate, and erect themselves into an independent society. Since
     the earth has been more fully peopled, and especially since the principles of Union
     have been better understood, a different policy has prevailed. A fondness for planting
     colonies has, for three preceding centuries, given full scope to a disposition for
     emigration, and at the same time the emigrants have been retained in a connexion
     with their Parent State. By these means Europeans have made the riches both of the
     east and west, subservient to their avarice and ambition. Though they occupy the
     smallest portion of the four quarters of the globe, they have contrived to subject the
     other three to their influence or command.

     The circumstances under which New-England was planted, would a few centuries ago
     have entitled them from their first settlement, to the privileges of independence. They
     were virtually exiled from their native country, by being denied the rights of
     men—they set out on their own expence, and after purchasing the consent of the
     native proprietors, improved an uncultivated country, to which, in the eye of reason
     and philosophy, the king of England had no title.

     If it is lawful for individuals to relinquish their native soil, and pursue their own
     happiness in other regions and under other political associations, the settlers of New-
     England were always so far independent, as to owe no obedience to their Parent State,
     but such as resulted from their voluntary assent. The slavish doctrine of the divine
     right of kings, and the corruptions of christianity, by undervaluing heathen titles,
     favoured an opposite system. What for several centuries after the christian era would
     have been called the institution of a new government, was by modern refinement
     denominated only an extension of the old, in the form of a dependent colony.
     Though the prevailing ecclesiastical and political creeds [335]         1777
     tended to degrade the condition of the settlers in New-England,
     yet there was always a party there which believed in their natural right to
     independence. They recurred to first principles, and argued, that as they received from
     government nothing more than a charter, founded on ideal claims of sovereignty, they
     owed it no other obedience than what was derived from express, or implied compact.
     It was not till the present century had more than half elapsed, that it occurred to any
     number of the colonists, that they had an interest in being detached from Great-
     Britain. Their attention was first turned to this subject, by the British claim of
     taxation. This opened a melancholy prospect, boundless in extent, and endless in
     duration. The Boston port act, and the other acts, passed in 1774, and 1775, which
     have been already the subject of comment, progressively weakened the attachment of
     the colonists to the birth place of their forefathers. The commencement of hostilities
     on the 19th of April, 1775, exhibited the Parent State in an odious point of view, and



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     abated the original dread of separating from it. But nevertheless at that time, and for a
     twelve month after, a majority of the colonists wished for no more than to be re-
     established as subjects in their antient rights. Had independence been their object even
     at the commencement of hostilities, they would have rescinded these associations,
     which have been already mentioned and imported more largely than ever. Common
     sense revolts at the idea, that colonists unfurnished with military stores, and wanting
     manufactures of every kind, should at the time of their intending a serious struggle for
     independence, by a voluntary agreement, deprive themselves of the obvious means of
     procuring such foreign supplies as their circumstances might make necessary. Instead
     of pursuing a line of conduct, which might have been dictated by a wish for
     independence, they continued their exports for nearly a year after they ceased to
     import. This not only lessened the debts they owed to Great-Britain, but furnished
     additional means for carrying on the war against themselves.
     To aim at independence, and at the same time to transfer their        1777
     resources to their enemies, could not have been [336] the policy
     of an enlightened people. It was not till some time in 1776, that the colonists began to
     take other ground, and contend that it was for their interest to be forever separated
     from Great-Britain. In favour of this opinion it was said, that in case of their
     continuing subjects, the Mother country, though she redressed their present
     grievances, might at pleasure repeat similar oppressions. That she ought not to be
     trusted, having twice resumed the exercise of taxation, after it had been apparently
     relinquished. The favourers of separation also urged, that Great-Britain was jealous of
     their increasing numbers, and rising greatness—that she would not exercise
     government for their benefit, but for her own. That the only permanent security for
     American happiness, was to deny her the power of interfering with their government
     or commerce. To effect this purpose they were of opinion, that it was necessary to cut
     the knot, which connected the two countries, by a public renunciation of all political
     connections between them.

     The Americans about this time began to be influenced by new views. The military
     arrangements of the preceding year—their unexpected union, and prevailing
     enthusiasm, expanded the minds of their leaders, and elevated the sentiments of the
     great body of their people. Decisive measures which would have been lately
     reprobated, now met with approbation.

     The favourers of subordination under the former constitution urged the advantages of
     a supreme head, to control the disputes of interfering colonies, and also the benefits
     which flowed from union. That independence was untried ground, and should not be
     entered upon, but in the last extremity.

     They flattered themselves that Great-Britain was so fully convinced of the determined
     spirit of America, that if the present controversy was compromised, she would not at
     any future period, resume an injurious exercise of her supremacy. They were therefore
     for proceeding no farther than to defend themselves in the character of subjects,
     trusting that ere long the present hostile measures would be relinquished,
     and the harmony [337] of the two countries reestablished. The       1777
     favourers of this system were embarrassed, and all their
     arguments weakened, by the perseverance of Great-Britain in her schemes of



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     coercion. A probable hope of a speedy repeal of a few acts of parliament, would have
     greatly increased the number of those who were advocates for reconciliation. But the
     certainty of intelligence to the contrary gave additional force to the arguments of the
     opposite party. Though new weight was daily thrown into the scale, in which the
     advantages of independence were weighed, yet it did not preponderate till about that
     time in 1776, when intelligence reached the colonists of the act of parliament passed
     in December 1775, for throwing them out of British protection, and of hiring foreign
     troops to assist in effecting their conquest. Respecting the first it was said, “that
     protection and allegiance were reciprocal, and that the refusal of the first was a legal
     ground of justification for withholding the last.” They considered themselves to be
     thereby discharged from their allegiance, and that to declare themselves independent,
     was no more than to announce to the world the real political state, in which Great-
     Britain had placed them. This act proved that the colonists might constitutionally
     declare themselves independent, but the hiring of foreign troops to make war upon
     them, demonstrated the necessity of their doing it immediately. They reasoned that if
     Great-Britain called in the aid of strangers to crush them, they must seek similar relief
     for their own preservation. But they well knew this could not be expected, while they
     were in arms against their acknowledged sovereign. They had therefore only a choice
     of difficulties, and must either seek foreign aid as independent states, or continue in
     the awkward and hazardous situation of subjects, carrying on war from their own
     resources both against their king, and such mercenaries as he chose to employ for
     their subjugation. Necessity not choice forced them on the decision. Submission
     without obtaining a redress of their grievances was advocated by none who possessed
     the public confidence.
     Some of the popular leaders may have [338] secretly wished for 1777
     independence from the beginning of the controversy, but their
     number was small and their sentiments were not generally known.

     While the public mind was balancing on this eventful subject, several writers placed
     the advantages of independence in various points of view. Among these Thomas
     Paine in a pamphlet, under the signature of Common Sense, held the most
     distinguished rank. The stile, manner, and language of this performance were
     calculated to interest the passions, and to rouse all the active powers of human nature.
     With the view of operating on the sentiments of a religious people, scripture was
     pressed into his service, and the powers, and even the name of a king was rendered
     odious in the eyes of the numerous colonists who had read and studied the history of
     the Jews, as recorded in the Old Testament. The folly of that people in revolting from
     a government, instituted by Heaven itself, and the oppressions to which they were
     subjected in consequence of their lusting after kings to rule over them, afforded an
     excellent handle for prepossessing the colonists in favour of republican institutions,
     and prejudicing them against kingly government. Hereditary succession was turned
     into ridicule. The absurdity of subjecting a great continent to a small island on the
     other side of the globe, was represented in such striking language, as to interest the
     honor and pride of the colonists in renouncing the government of Great-Britain. The
     necessity, the advantages, and practicability of independence, were forcibly
     demonstrated. Nothing could be better timed than this performance. It was addressed
     to freemen, who had just received convincing proof, that Great-Britain had thrown
     them out of her protection, had engaged foreign mercenaries to make war upon them,



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     and seriously designed to compel their unconditional submission to her unlimited
     power. It found the colonists most thoroughly alarmed for their liberties, and disposed
     to do and suffer any thing that promised their establishment. In union with the
     feelings and sentiments of the people, it produced surprising effects.
     Many thousands were convinced, and were led to approve [339] 1777
     and long for a separation from the Mother Country. Though that
     measure, a few months before, was not only foreign from their wishes, but the object
     of their abhorrence, the current suddenly became so strong in its favour, that it bore
     down all opposition. The multitude was hurried down the stream, but some worthy
     men could not easily reconcile themselves to the idea of an eternal separation from a
     country, to which they had been long bound by the most endearing ties. They saw the
     sword drawn, but could not tell when it would be sheathed. They feared that the
     dispersed individuals of the several colonies would not be brought to coalesce under
     an efficient government, and that after much anarchy some future Caesar would grasp
     their liberties, and confirm himself in a throne of despotism. They doubted the
     perseverance of their countrymen in effecting their independence, and were also
     apprehensive that in case of success, their future condition would be less happy than
     their past. Some respectable individuals whose principles were pure, but whose souls
     were not of that firm texture which revolutions require, shrunk back from the bold
     measures proposed by their more adventurous countrymen. To submit without an
     appeal to Heaven, though secretly wished for by some, was not the avowed sentiment
     of any. But to persevere in petitioning and resisting was the system of some
     misguided honest men. The favourers of this opinion were generally wanting in that
     decision which grasps at great objects, and influenced by that timid policy, which
     does its work by halves. Most of them dreaded the power of Britain. A few, on the
     score of interest or an expectancy of favours from royal government, refused to
     concur with the general voice. Some of the natives of the Parent State who, having
     lately settled in the colonies, had not yet exchanged European for American ideas,
     together with a few others, conscientiously opposed the measures of Congress: but the
     great bulk of the people, and especially of the spirited and independent part of the
     community, came with surprising unanimity into the project of independence.

     [340]
     The eagerness for independence resulted more from feeling than 1776
     reasoning. The advantages of an unfettered trade, the prospect of
     honours and emoluments in administering a new government, were of themselves
     insufficient motives for adopting this bold measure. But what was wanting from
     considerations of this kind, was made up by the perseverance of Great-Britain, in her
     schemes of coercion and conquest. The determined resolution of the Mother Country
     to subdue the colonists, together with the plans she adopted for accomplishing that
     purpose, and their equally determined resolution to appeal to Heaven rather than
     submit, made a declaration of independence as necessary in 1776, as was the non-
     importation agreement of 1774, or the assumption of arms in 1775. The last naturally
     resulted from the first. The revolution was not forced on the people by ambitious
     leaders grasping at supreme power, but every measure of it was forced on Congress,
     by the necessity of the case, and the voice of the people. The change of the public
     mind of America respecting connexion with Great-Britain, is without a parallel. In the




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     short space of two years, nearly three millions of people passed over from the love
     and duty of loyal subjects, to the hatred and resentment of enemies.

     The motion for declaring the colonies free and independent, was June 7
     first made in Congress, by Richard Henry Lee of Virginia. He
     was warranted in making this motion by the particular instructions of his immediate
     constituents, and also by the general voice of the people of all the states. When the
     time for taking the subject under consideration arrived, much knowledge, ingenuity
     and eloquence were displayed on both sides of the question. The debates were
     continued for some time, and with great animation. In these John Adams, and John
     Dickinson, took leading and opposite parts. The former began one of his speeches, by
     an invocation of the god of eloquence, to assist him in defending the claims, and in
     enforcing the duty of his countrymen. He strongly urged the immediate dissolution of
     all political connexion of the colonies with Great-Britain, from the voice of the [341]
     people,
     from the necessity of the measure in order to obtain foreign          1776
     assistance, from a regard to consistency, and from the prospects
     of glory and happiness, which opened beyond the war, to a free and independent
     people. Mr. Dickinson replied to this speech. He began by observing that the member
     from Massachusetts (Mr. Adams) had introduced his defence of the declaration of
     independence by invoking an heathen god, but that he should begin his objections to
     it, by solemnly invoking the Governor of the Universe, so to influence the minds of
     the members of Congress, that if the proposed measure was for the benefit of
     America, nothing which he should say against it, might make the least impression. He
     then urged that the present time was improper for the declaration of independence,
     that the war might be conducted with equal vigor without it, that it would divide the
     Americans, and unite the people of Great-Britain against them. He then proposed that
     some assurance should be obtained of assistance from a foreign power, before they
     renounced their connexion with Great-Britain, and that the declaration of
     independence should be the condition to be offered for this assistance. He likewise
     stated the disputes that existed between several of the colonies, and proposed that
     some measures for the settlement of them should be determined upon, before they lost
     sight of that tribunal, which had hitherto been the umpire of all their differences.

     After a full discussion, the measure of declaring the colonies free and independent
     was approved, by nearly an unanimous vote. The anniversary of the day on which this
     great event took place, has ever since been consecrated by the Americans to religious
     gratitude, and social pleasures. It is considered by them as the birth day of their
     freedom.

     The act of the united colonies for separating themselves from the government of
     Great-Britain, and declaring their independence, was expressed in the following
     words:

     When, in the course of human events, it becomes necessary for 1776
     one people to dissolve the political bands [342] which have
     connected them with another, and to assume among the powers of the earth, the
     separate and equal station to which the laws of nature and of nature’s God entitle



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     them, a decent respect to the opinions of mankind requires that they should declare
     the causes which impel them to the separation.

     We hold these truths to be self-evident, that all men are created equal, that they are
     endowed by their Creator with certain unalienable rights, that among these are life,
     liberty, and the pursuit of happiness—That to secure these rights, governments are
     instituted among men, deriving their just powers from the consent of the governed;
     that whenever any form of government becomes destructive of these ends, it is the
     right of the people to alter or to abolish it, and to institute new government, laying its
     foundation on such principles, and organizing its power in such form, as to them shall
     seem most likely to effect their safety and happiness. Prudence, indeed, will dictate
     that governments long established should not be changed for light and transient
     causes; and accordingly all experience hath shewn, that mankind are more disposed to
     suffer, while evils are sufferable, than to right themselves by abolishing the forms to
     which they are accustomed. But when a long train of abuses and usurpations, pursuing
     invariably the same object, evinces a design to reduce them under absolute despotism,
     it is their right, it is their duty, to throw off such government, and to provide new
     guards for their future security. Such has been the patient sufferance of these colonies,
     and such is now the necessity which constrains them to alter their former systems of
     government. The history of the present king of Great-Britain is a history of repeated
     injuries and usurpations, all having in direct object the establishment of an absolute
     tyranny over these states. To prove this, let facts be submitted to a candid world.

     He has refused his assent to laws, the most wholesome and necessary for the public
     good.

     He has forbidden his governors to pass laws of immediate and       1776
     pressing importance, unless suspended in their [343] operation
     till his assent should be obtained; and when so suspended he has utterly neglected to
     attend to them.

     He has refused to pass other laws for the accommodation of large districts of people,
     unless those people would relinquish the right of representation in the legislature, a
     right inestimable to them, and formidable to tyrants only.

     He has called together legislative bodies at places unusual, uncomfortable, and distant
     from the depository of their public records, for the sole purpose of fatiguing them into
     compliance with his measures.

     He has dissolved representative houses repeatedly, for opposing, with manly firmness,
     his invasions on the rights of the people.

     He has refused, for a long time after such dissolutions, to cause others to be elected;
     whereby the legislative powers, incapable of annihilation, have returned to the people
     at large for their exercise; the state remaining in the mean-time exposed to all the
     danger of invasion from without, and convulsions within.




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     He has endeavored to prevent the population of these states; for that purpose
     obstructing the laws for naturalization of foreigners; refusing to pass others to
     encourage their migration hither, and raising the conditions of new appropriations of
     lands.

     He has obstructed the administration of justice, by refusing his assent to laws for
     establishing judiciary powers.

     He has made judges dependent on his will alone, for the tenure of their offices, and
     the amount and payment of their salaries.

     He has erected a multitude of new offices, and sent hither swarms of officers to harass
     our people, and eat out their substance.

     He has kept among us, in times of peace, standing armies, without the consent of our
     legislatures.

     He has affected to render the military independent of, and superior to, the civil power.

     He has combined with others to subject us to a jurisdiction foreign to our constitution,
     and unacknowledged by our laws; giving his assent to their acts of pretended
     legislation:

     [344]
     For quartering large bodies of armed troops among us:                  1776

     For protecting them, by a mock trial, from punishment for any murders which they
     should commit on the inhabitants of these states:

     For cutting off our trade with all parts of the world:

     For imposing taxes on us without our consent:

     For depriving us, in many cases, of the benefits of trial by jury:

     For transporting us beyond seas to be tried for pretended offences:

     For abolishing the free system of English laws in a neighbouring province,
     establishing therein an arbitrary government, and enlarging its boundaries, so as to
     render it at once an example and fit instrument for introducing the same absolute rule
     into these colonies:

     For taking away our charters, abolishing our most valuable laws, and altering
     fundamentally the forms of our governments:

     For suspending our own legislatures, and declaring themselves invested with power to
     legislate for us in all cases whatsoever.




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     He has abdicated government here, by declaring us out of his protection, and waging
     war against us.

     He has plundered our seas, ravaged our coasts, burnt our towns, and destroyed the
     lives of our people.

     He is, at this time, transporting large armies of foreign mercenaries to complete the
     works of death, desolation and tyranny, already begun with circumstances of cruelty
     and perfidy, scarcely paralleled in the most barbarous ages, and totally unworthy the
     head of a civilized nation.

     He has constrained our fellow-citizens, taken captive on the high seas, to bear arms
     against their country, to become the executioners of their friends and brethren, or to
     fall themselves by their hands.

     He has excited domestic insurrections amongst us, and has endeavoured to bring on
     the inhabitants of our frontiers the merciless Indian savages, whose known rule of
     warfare is an undistinguished destruction of all ages, sexes and conditions.

     In every stage of these oppressions we have petitioned [345] for 1776
     redress in the most humble terms: our repeated petitions have
     been answered only by repeated injury. A prince, whose character is thus marked by
     every act which may define a tyrant, is unfit to be the ruler of a free people.

     Nor have we been wanting in attention to our British brethren. We have warned them
     from time to time of attempts made by their legislature, to extend an unwarrantable
     jurisdiction over us. We have reminded them of the circumstances of our emigration
     and settlement here. We have appealed to their native justice and magnanimity, and
     we have conjured them, by the ties of our common kindred, to disavow these
     usurpations, which would inevitably interrupt our connections and correspondence.
     They too have been deaf to the voice of justice and of consanguinity. We must,
     therefore, acquiesce in the necessity, which denounces our separation, and hold them,
     as we hold the rest of mankind, enemies in war, in peace, friends.

     We, therefore, the representatives of the United States of America, in General
     Congress assembled, appealing to the Supreme Judge of the world for the rectitude of
     our intentions, do, in the name, and by authority of the good people of these colonies,
     solemnly publish and declare, that these United Colonies are, and of right ought to be,
     free and independent states; that they are absolved from all allegiance to the British
     crown; and that all political connection between them and the state of Great-Britain is
     and ought to be totally dissolved; and that as free and independent states, they have
     full power to levy war, conclude peace, contract alliances, establish commerce, and to
     do all other acts and things which independent states may of right do. And for the
     support of this declaration, with a firm reliance on the protection of Divine
     Providence, we mutually pledge to each other our lives, our fortunes, and our sacred
     honour.

     John Hancock, President



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     New-Hampshire, Josiah Bartlett, William Whipple, Matthew Thornton.
     Massachusetts-Bay, Samuel Adams, John Adams, Robert-Treat Paine, Elbridge [346]
     Gerry. Rhode-Island, &c. Stephen Hopkins, William Ellery. Connecticut, Roger
     Sherman, Samuel Huntington, William Williams, Oliver Wolcott. New-York, William
     Floyd, Philip Livingston, Francis Lewis, Lewis Morris. New-Jersey, Richard
     Stockton, John Witherspoon, Francis Hopkinson, John Hart, Abraham Clark.
     Pennsylvania, Robert Morris, Benjamin Rush, Benjamin Franklin, John Morton,
     George Clymer, James Smith, George Taylor, James Wilson, George Ross. Delaware,
     Caesar Rodney, George Read. Maryland, Samuel Chase, William Paca, Thomas
     Stone, Charles Carroll, of Carrollton. Virginia, George Wythe, Richard Henry-Lee,
     Thomas Jefferson, Benjamin Harrison, Thomas Nelson, jun. Francis Lightfoot Lee,
     Carter Braxton. North-Carolina, William Hooper, Joseph Hewes, John Penn. South-
     Carolina, Edward Rutledge, Thomas Heyward, jun. Thomas Lynch, jun. Arthur
     Middleton. Georgia, Button Gwinnett, Lyman Hall, George Walton.

     From the promulgation of this declaration, every thing assumed a new form. The
     Americans no longer appeared in the character of subjects in arms against their
     sovereign, but as an independent people, repelling the attacks of an invading foe. The
     propositions and supplications for reconciliation were done away. The dispute was
     brought to a single point, whether the late British colonies should be conquered
     provinces, or free and independent states.

     The declaration of independence was read publicly in all the states, and was
     welcomed with many demonstrations of joy. The people were encouraged by it to
     bear up under the calamities of war, and viewed the evils they suffered, only as the
     thorn that ever accompanies the rose. The army received it with particular satisfaction.
     As far as it had validity, so far it secured them from suffering as rebels, and held out
     to their view an object, the attainment of which would be an adequate recompense
     for the [347] toils and dangers of war. They were animated by         1776
     the consideration that they were no longer to risque their lives for
     the trifling purpose of procuring a repeal of a few oppressive acts of parliament, but
     for a new organization of government, that would forever put it out of the power of
     Great-Britain to oppress them. The flattering prospects of an extensive commerce,
     freed from British restrictions, and the honours and emoluments of office in
     independent states now began to glitter before the eyes of the colonists, and
     reconciled them to the difficulties of their situation. What was supposed in Great-
     Britain to be their primary object, had only a secondary influence. While they were
     charged with aiming at independence from the impulse of avarice and ambition, they
     were ardently wishing for a reconciliation. But, after they had been compelled to
     adopt that measure, these powerful principles of human actions opposed its retraction,
     and stimulated to its support. That separation which the colonists at first dreaded as an
     evil, they soon gloried in as a national blessing. While the rulers of Great-Britain
     urged their people to a vigorous prosecution of the American war, on the idea that the
     colonists were aiming at independence, they imposed on them a necessity of adopting
     that very measure, and actually effected its accomplishment. By repeatedly charging
     the Americans with aiming at the erection of a new government, and by proceeding
     on that idea to subdue them, predictions which were originally false, eventually
     became true. When the declaration of independence reached Great-Britain the



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     partisans of ministry triumphed in their sagacity. “The measure, said they, we have
     long foreseen, is now come to pass.” They inverted the natural order of things.
     Without reflecting that their own policy had forced a revolution contrary to the
     original design of the colonists, the declaration of independence was held out to the
     people of Great-Britain as a justification of those previous violences, which were its
     efficient cause.

     The act of Congress for dissevering the colonies from their Parent State, was the
     subject of many animadversions.

     [348]
     The colonists were said to have been precipitate in adopting a       1776
     measure, from which there was no honourable ground of
     retreating. They replied that for eleven years they had been incessantly petitioning the
     throne for a redress of their grievances. Since the year 1765, a continental Congress
     had at three sundry times stated their claims, and prayed for their constitutional rights.
     That each assembly of the thirteen colonies had also, in its separate capacity,
     concurred in the same measure. That from the perseverance of Great-Britain in her
     schemes for their coercion, they had no alternative, but a mean submission, or a
     vigorous resistance; and that as she was about to invade their coasts with a large body
     of mercenaries, they were compelled to declare themselves independent, that they
     might be put into an immediate capacity for soliciting foreign aid.

     The virulence of those who had been in opposition to the claims of the colonists, was
     increased by their bold act in breaking off all subordination to the Parent State.“Great-
     Britain, said they, has founded colonies at great expence—has incurred a load of debt
     by wars on their account—has protected their commerce, and raised them to all the
     consequence they possess, and now in the insolence of adult years, rather than pay
     their proportion of the common expences of government, they ungratefully renounce
     all connexion with the nurse of their youth, and the protectress of their riper years.’’
     The Americans acknowledged that much was due to Great-Britain, for the protection
     which her navy procured to the coasts, and the commerce of the colonies, but
     contended that much was paid by the latter, in consequence of the restrictions
     imposed on their commerce by the former. “The charge of ingratitude would have
     been just,” said they, “had allegiance been renounced while protection was given, but
     when the navy, which formerly secured the commerce and seaport towns of America,
     began to distress the former, and to burn the latter, the previous obligations to obey or
     be grateful, were no longer in force.”

     That the colonists paid nothing, and would not pay to the support 1776
     of government, was confidently asserted, and [349] no credit was
     given for the sums indirectly levied upon them, in consequence of their being
     confined to the consumption of British manufactures. By such illfounded observations
     were the people of Great-Britain inflamed against their fellow subjects in America.
     The latter were represented as an ungrateful people, refusing to bear any part of the
     expences of a protecting government, or to pay their proportion of a heavy debt, said
     to be incurred on their account. Many of the inhabitants of Great-Britain deceived in
     matters of fact, considered their American brethren as deserving the severity of



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     military coercion. So strongly were the two countries rivetted together, that if the
     whole truth had been known to the people of both, their separation would have been
     scarcely possible. Any feasible plan by which subjection to Great-Britain could have
     been reconciled with American safety, would at any time, previous to 1776, have met
     the approbation of the colonists. But while the lust of power and of gain, blinded the
     rulers of Great-Britain, mistated facts and uncandid representations brought over their
     people to second the infatuation. A few honest men properly authorised, might have
     devised measures of compromise, which under the influence of truth, humility and
     moderation, would have prevented a dismemberment of the empire; but these virtues
     ceased to influence, and falsehood, haughtiness and blind zeal usurped their places.
     Had Great-Britain, even after the declaration of independence, adopted the
     magnanimous resolution of declaring her colonies free and independent states, interest
     would have prompted them to form such a connexion as would have secured to the
     Mother Country the advantages of their commerce, without the expence or trouble of
     their governments. But misguided politics continued the fatal system of coercion and
     conquest. Several on both sides of the Atlantic, have called the declaration of
     independence, “a bold, and accidentally, a lucky speculation,” but subsequent events
     proved, that it was a wise measure. It is acknowledged, that it detatched some timid
     friends from supporting the Americans in their opposition to Great-Britain,
     but it increased the [350] vigour and union of those, who            1776
     possessed more fortitude and perseverance. Without it, the
     colonists would have had no object adequate to the dangers to which they exposed
     themselves, in continuing to contend with Great-Britain. If the interference of France
     was necessary to give success to the resistance of the Americans, the declaration of
     independence was also necessary, for the French expressly founded the propriety of
     their treaty with Congress on the circumstance, “that they found the United States in
     possession of independence.”

     All political connexion between Great-Britain and her colonies being dissolved, the
     institution of new forms of government became unavoidable. The necessity of this
     was so urgent that Congress,
     before the declaration of independence, had recommended to the May 15
     respective assemblies and conventions of the United States, to
     adopt such governments as should, in their opinion, best conduce to the happiness and
     safety of their constituents. During more than twelve months the colonists had been
     held together by the force of antient habits, and by laws under the simple stile of
     recommendations. The impropriety of proceeding in courts of justice by the authority
     of a sovereign, against whom the colonies were in arms, was self-evident. The
     impossibility of governing, for any length of time, three millions of people, by the ties
     of honour, without the authority of law, was equally apparent. The rejection of British
     sovereignty therefore drew after it the necessity of fixing on some other principle of
     government. The genius of the Americans, their republican habits and sentiments,
     naturally led them to substitute the majesty of the people, in lieu of discarded royalty.
     The kingly office was dropped, but in most of the subordinate departments of
     government, antient forms and names were retained. Such a portion of power had at
     all times been exercised by the people and their representatives, that the change of
     sovereignty was hardly perceptible, and the revolution took place without violence or




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     convulsion. Popular elections elevated private citizens to the same offices, which
     formerly had been conferred by royal appointment.
     The people felt an uninterrupted continuation of the blessings        1776
     [351] of law and government under old names, though derived
     from a new sovereignty, and were scarcely sensible of any change in their political
     constitution. The checks and balances which restrained the popular assemblies under
     the royal government, were partly dropped, and partly retained, by substituting
     something of the same kind. The temper of the people would not permit that any one
     man, however exalted by office, or distinguished by abilities, should have a negative
     on the declared sense of a majority of their representatives, but the experience of all
     ages had taught them the danger of lodging all power in one body of men. A second
     branch of legislature, consisting of a few select persons, under the name of senate, or
     council, was therefore constituted in eleven of the thirteen states, and their
     concurrence made necessary to give the validity of law to the acts of a more numerous
     branch of popular representatives. New-York and Massachusetts went one step
     farther. The former constituted a council of revision, consisting of the governor and
     the heads of judicial departments, on whose objecting to any proposed law, a
     reconsideration became necessary, and unless it was confirmed by two thirds of both
     houses, it could have no operation. A similar power was given to the governor of
     Massachusetts. Georgia and Pennsylvania were the only states whose legislature
     consisted of only one branch. Though many in these states, and a majority in all the
     others, saw and acknowledged the propriety of a compounded legislature, yet the
     mode of creating two branches out of a homogeneous mass of people, was a matter of
     difficulty. No distinction of ranks existed in the colonies, and none were entitled to
     any rights, but such as were common to all. Some possessed more wealth than others,
     but riches and ability were not always associated. Ten of the eleven states, whose
     legislatures consisted of two branches, ordained that the members of both should be
     elected by the people. This rather made two co-ordinate houses of representatives than
     a check on a single one, by the moderation of a select few. Maryland adopted a
     singular plan for constituting an independent senate.
     By her constitution the members of that body [352] were elected 1776
     for five years, while the members of the house of delegates held
     their seats only for one. The number of senators was only fifteen, and they were all
     elected indiscriminately from the inhabitants of any part of the state, excepting that
     nine of them were to be resident on the west, and six on the east side of the Chesapeak
     Bay. They were elected not immediately by the people, but by electors, two from each
     county, appointed by the inhabitants for that sole purpose. By these regulations the
     senate of Maryland consisted of men of influence, integrity and abilities, and such as
     were a real and beneficial check on the hasty proceedings of a more numerous branch
     of popular representatives. The laws of that state were well digested, and its interest
     steadily pursued with a peculiar unity of system; while elsewhere it too often
     happened in the fluctuation of public assemblies; and where the legislative department
     was not sufficiently checked, that passion and party predominated over principle and
     public good.

     Pennsylvania instead of a legislative council or senate, adopted the expedient of
     publishing bills after the second reading, for the information of the inhabitants. This
     had its advantages and disadvantages. It prevented the precipitate adoption of new



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     regulations, and gave an opportunity of ascertaining the sense of the people on those
     laws by which they were to be bound; but it carried the spirit of discussion into every
     comer, and disturbed the peace and harmony of neighbourhoods. By making the
     business of government the duty of every man, it drew off the attention of many from
     the steady pursuit of their respective businesses.

     The state of Pennsylvania also adopted another institution peculiar to itself, under the
     denomination of a council of censors. These were to be chosen once every seven
     years, and were authorised to enquire whether the constitution had been
     preserved—whether the legislative and executive branch of government, had
     performed their duty, or assumed to themselves, or exercised other or greater powers,
     than those to which they were constitutionally entitled.
     To enquire whether the public taxes had [353] been justly laid         1776
     and collected, and in what manner the public monies had been
     disposed of, and whether the laws had been duly executed. However excellent this
     institution may appear in theory, it is doubtful whether in practice it will answer any
     valuable end. It most certainly opens a door for discord, and furnishes abundant
     matter for periodical altercation. Either from the disposition of its inhabitants, its form
     of government, or some other cause, the people of Pennsylvania have constantly been
     in a state of fermentation. The end of one public controversy, has been the beginning
     of another. From the collision of parties, the minds of the citizens were sharpened,
     and their active powers improved, but internal harmony has been unknown. They who
     were out of place, so narrowly watched those who were in, that nothing injurious to
     the public could be easily effected, but from the fluctuation of power, and the total
     want of permanent system, nothing great or lasting could with safety be undertaken,
     or prosecuted to effect. Under all these disadvantages, the state flourished, and from
     the industry and ingenuity of its inhabitants acquired an unrivalled ascendancy in arts
     and manufactures. This must in a great measure be ascribed to the influence of habits,
     of order and industry, that had long prevailed.

     The Americans agreed in appointing a supreme executive head to each state, with the
     title either of governor or president. They also agreed in deriving the whole powers of
     government, either mediately or immediately from the people. In the eastern states,
     and in New York, their governors were elected by the inhabitants, in their respective
     towns or counties, and in the other states by the legislatures: but in no case was the
     smallest title of power exercised from hereditary right. New-York was the only state
     which invested its governor with executive authority without a council. Such was the
     extreme jealousy of power which pervaded the American states, that they did not
     think proper to trust the man of their choice with the power of executing their own
     determinations, without obliging him in many cases to take the advice of such
     counsellors as they thought proper to nominate. [354] The disadvantages of this
     institution far outweighed its advantages. Had the governors succeeded by hereditary
     right, a council would have been often necessary to supply the real want of abilities,
     but when an individual had been selected by the people as the fittest person for
     discharging the duties of this high department, to fetter him with a council was either
     to lessen his capacity of doing good, or to furnish him with a skreen for doing evil. It
     destroyed the secrecy, vigor and dispatch, which the executive power ought to
     possess, and by making governmental acts the acts of a body, diminished individual



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     responsibility. In some states it greatly enhanced the expences of government, and in
     all retarded its operations, without any equivalent advantages.

     New-York in another particular, displayed political sagacity superior to her neighbors.
     This was in her council of appointment, consisting of one senator from each of her
     four great election districts, authorised to designate proper persons for filling
     vacancies in the executive departments of government. Large bodies are far from
     being the most proper depositaries of the power of appointing to offices. The
     assiduous attention of candidates is too apt to biass the voice of individuals in popular
     assemblies. Besides in such appointments, the responsibility for the conduct of the
     officer, is in a great measure annihilated. The concurrence of a select few on the
     nomination of one, seems a more eligible mode for securing a proper choice, than
     appointments made either by one, or by a numerous body. In the former case there
     would be danger of favoritism, in the latter that modest unassuming merit would be
     overlooked, in favour of the forward and obsequious.

     A rotation of public officers made a part of most of the American constitutions.
     Frequent elections were required by all, but several still farther, and deprived the
     electors of the power of continuing the same office in the same hands, after a
     specified length of time. Young politicians suddenly called from the ordinary walks of
     life, to make laws and institute forms of government, turned their attention to the
     histories of ancient republics [355] and the writings of speculative men on the subject
     of government.
     This led them into many errors and occasioned them to adopt           1776
     sundry opinions, unsuitable to the state of society in America,
     and contrary to the genius of real republicanism.

     The principle of rotation was carried so far, that in some of the states, public officers
     in several departments scarcely knew their official duty, till they were obliged to retire
     and give place to others, as ignorant as they had been on their first appointment. If
     offices had been instituted for the benefit of the holders, the policy of diffusing these
     benefits would have been proper, but instituted as they were for the convenience of
     the public, the end was marred by such frequent changes. By confining the objects of
     choice, it diminished the privileges of electors, and frequently deprived them of the
     liberty of choosing the man who, from previous experience, was of all men the most
     suitable. The favourers of this system of rotation contended for it, as likely to prevent
     a perpetuity of office and power in the same individual or family, and as a security
     against hereditary honours. To this it was replied, that free, fair and frequent elections
     were the most natural and proper securities, for the liberties of the people. It produced
     a more general diffusion of political knowledge, but made more smatterers than
     adepts in the science of government.

     As a farther security for the continuance of republican principles in the American
     constitutions, they agreed in prohibiting all hereditary honours and distinction of
     ranks.

     It was one of the peculiarities of these new forms of government, that all religious
     establishments were abolished. Some retained a constitutional distinction between



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     Christians and others, with respect to eligibility to office, but the idea of supporting
     one denomination at the expence of others, or of raising any one sect of protestants to
     a legal pre-eminence, was universally reprobated. The alliance between church and
     state was completely broken, and each was left to support itself, independent of the
     other.

     The far famed social compact between the people and their            1776
     rulers, did not apply to the United States. The [356] sovereignty
     was in the people. In their sovereign capacity by their representatives, they agreed on
     forms of government for their own security, and deputed certain individuals as their
     agents to serve them in public stations agreeably to constitutions, which they
     prescribed for their conduct.

     The world has not hitherto exhibited so fair an opportunity for promoting social
     happiness. It is hoped for the honor of human nature, that the result will prove the
     fallacy of those theories, which suppose that mankind are incapable of self
     government. The ancients, not knowing the doctrine of representation, were apt in
     their public meetings to run into confusion, but in America this mode of taking the
     sense of the people, is so well understood, and so completely reduced to system, that
     its most populous states are often peaceably convened in an assembly of deputies, not
     too large for orderly deliberation, and yet representing the whole in equal proportions.
     These popular branches of legislature are miniature pictures of the community, and
     from the mode of their election are likely to be influenced by the same interests and
     feelings with the people whom they represent. As a farther security for their fidelity,
     they are bound by every law they make for their constituents. The assemblage of these
     circumstances gives as great a security that laws will be made, and government
     administered for the good of the people, as can be expected from the imperfection of
     human institutions.

     In this short view of the formation and establishment of the American constitutions,
     we behold our species in a new situation. In no age before, and in no other country,
     did man ever possess an election of the kind of government, under which he would
     choose to live. The constituent parts of the antient free governments were thrown
     together by accident. The freedom of modern European governments was, for the
     most part, obtained by the concessions, or liberality of monarchs, or military leaders.
     In America alone, reason and liberty concurred in the formation of constitutions.
     It is true, from the infancy of political knowledge in the United 1776
     States, there were [357] many defects in their forms of
     government. But in one thing they were all perfect. They left the people in the power
     of altering and amending them, whenever they pleased. In this happy peculiarity they
     placed the science of politics on a footing with the other sciences, by opening it to
     improvements from experience, and the discoveries of future ages. By means of this
     power of amending American constitutions, the friends of mankind have fondly hoped
     that oppression will one day be no more, and that political evil will at least be
     prevented or restrained with as much certainty, by a proper combination or separation
     of power, as natural evil is lessened or prevented by the application of the knowledge
     or ingenuity of man to domestic purposes. No part of the history of antient or modem
     Europe, can furnish a single fact that militates against this opinion, since in none of its



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     governments have the principles of equal representation and checks been applied, for
     the preservation of freedom. On these two pivots are suspended the liberties of most
     of the states. Where they are wanting, there can be no security for liberty, where they
     exist they render any farther security unnecessary.

     The rejection of British sovereignty not only involved a necessity of erecting
     independent constitutions, but of cementing the whole United States by some
     common bond of union. The act of independence did not hold out to the world
     thirteen sovereign states, but a common sovereignty of the whole in their united
     capacity. It therefore became necessary to run the line of distinction, between the
     local legislatures, and the assembly of the states in Congress. A committee was
     appointed for digesting articles of confederation between the states or united colonies,
     as they were then called, at the time the propriety of declaring independence was
     under debate, and some weeks previously to the adoption of that measure, but the plan
     was not for sixteen months after so far digested, as to be ready for communication to
     the states. Nor was it finally ratified by the accession of all the states, till nearly three
     years more had elapsed.
     In discussing its articles, many difficult questions occurred. One 1776
     was to ascertain the ratio of [358] contributions from each state.
     Two principles presented themselves, numbers of people, and the value of lands. The
     last was preferred as being the truest barometer of the wealth of nations, but from an
     apprehended impracticability of carrying it into effect, it was soon relinquished, and
     recurrence had to the former. That the states should be represented in proportion to
     their importance, was contended for by those who had extensive territory, but they
     who were confined to small dimensions, replied, that the states confederated as
     individuals, in a state of nature, and should therefore have equal votes. From fear of
     weakening their exertions against the common enemy, the large states for the present
     yielded the point, and consented that each state should have an equal suffrage.

     It was not easy to define the power of the state legislatures, so as to prevent a clashing
     between their jurisdiction, and that of the general government. On mature deliberation
     it was thought proper, that the former should be abridged of the power of forming any
     other confederation or alliance—of laying on any imposts or duties that might
     interfere with treaties made by Congress—or keeping up any vessels of war, or
     granting letters of marque or reprisal. The powers of Congress were also defined. Of
     these the principle were as follows: To have the sole and exclusive right of
     determining on peace and war—of sending and receiving ambassadors—of entering
     into treaties and alliances,—of granting letters of marque and reprisal in times of
     peace.—To be the last resort on appeal, in all disputes between two or more states—to
     have the sole and exclusive right of regulating the alloy and value of coin, of fixing
     the standard of weights and measures—regulating the trade and managing all affairs
     with the Indians—establishing and regulating post offices—to borrow money or emit
     bills on the credit of the United States—to build and equip a navy—to agree upon the
     number of land forces, and to make requisitions from each state for its quota of men,
     in proportion to the number of its white inhabitants.

     No coercive power was given to the general government, nor         1776
     was it invested with any legislative power over [359] individuals,



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     but only over states in their corporate capacity. As at the time the articles of
     confederation were proposed for ratification, the Americans had little or no regular
     commercial intercourse with foreign nations, a power to regulate trade or to raise a
     revenue from it, though both were essential to the welfare of the union, made no part
     of the federal system. To remedy this and all other defects, a door was left open for
     introducing farther provisions, suited to future circumstances.

     The articles of confederation were proposed at a time when the citizens of America
     were young in the science of politics, and when a commanding sense of duty,
     enforced by the pressure of a common danger, precluded the necessity of a power of
     compulsion. The enthusiasm of the day gave such credit and currency to paper
     emissions, as made the raising of supplies an easy matter. The system of federal
     government was therefore more calculated for what men then were, under these
     circumstances, than for the languid years of peace, when selfishness usurped the place
     of public spirit, and when credit no longer assisted, in providing for the exigencies of
     government.

     The experience of a few years after the termination of the war, proved, as will appear
     in its proper place, that a radical change of the whole system was necessary, to the
     good government of the United States.

     the end of the first volume

     [1.]Noah Webster, Dissertations on the English Language (Boston, 1789), pp.
     397–398. See Lawrence J. Friedman, Inventors of the Promised Land (New York,
     1975) and Richard M. Rollins, The Long Journey of Noah Webster (Philadelphia,
     1980).

     [2.]Columbian Magazine, or Monthly Miscellany, 1 (1786): 22–25; Rev. James
     Madison to Thomas Jefferson, March 27, 1786, in Robert H. Brunhouse, ed., David
     Ramsay, 1749–1815: Selections from His Writings, American Philosophical Society,
     Transactions, New Series, 55 (1965), Part IV, p. 226; Columbian Magazine, 4 (1790):
     373–377.

     [3.]See Arthur H. Shaffer, The Politics of History: Writing the History of the
     American Revolution, 1783–1815 (Chicago, 1975); Lester H. Cohen, The
     Revolutionary Histories: Contemporary Narratives of the American Revolution
     (Ithaca, 1980), Chapter 6.

     [4.]Ramsay to Jedidiah Morse, May 5, 1813, in Brunhouse, pp. 118–119, 174. See
     Ramsay to Benjamin Lincoln, January 29, 1788.

     [5.]Ramsay to Benjamin Rush, February 17, 1788, in Brunhouse, p. 119. Ramsay was
     a staunch Federalist delegate to his state’s constitution-ratifying convention; he wrote
     to Rush, April 21, 1788, exulting: “I hope in my next [letter] to congratulate you on
     South Carolina being the 7th pillar of the new Government.” Ibid., p. 120.

     [6.]Ramsay’s “An Oration,” for July 4, 1794. Ibid., p. 195. However, Ramsay’s was
     not a naive vision of homogeneity, for he also thought that “Even the prejudices,


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     peculiarities, and local habits of the different states, should be respected and tenderly
     dealt with.” Ibid. He emphasized unity of vision—an intellectual consensus—rather
     than a bland uniformity of customs or conduct.

     [7.]“An Address to the Freemen of South-Carolina, on the Subject of the Federal
     Constitution,” (Charleston, S.C., 1788), p. 13; rpt. Paul Leicester Ford, ed., Pamphlets
     on the Constitution of the United States, Published During Its Discussion by the
     People, 1787–1788 (Brooklyn, 1888), p. 379.

     [8.]Ramsay to Eliot, March 11, 1795, in Brunhouse, p. 139.

     [9.]Ramsay to Belknap, March 11, 1795, in Brunhouse, pp. 139–140.

     [10.]See Lester H. Cohen, “Creating a Useable Future: The Revolutionary Historians
     and the National Past,” in Jack P. Greene, ed., The American Revolution: Its
     Character and Limits (New York, 1987), pp. 309–330.

     [11.]David Ramsay, The History of the American Revolution (hereafter HAR), I, p. 26.

     [12.]HAR, I, pp. 31, 27.

     [13.]HAR, I, pp. 334–337, 27–33.

     [14.]HAR, I, pp. 29–33. Even the colonists’ readings, though few in number,
     “generally favoured the cause of liberty.” They included Cato’s Letters, the
     Independent Whig, and, in New England, histories of the Puritans, which “kept alive
     the remembrance of the sufferings of their forefathers, and inspired a warm
     attachment, both to the civil and the religious rights of human nature.” Ibid., p. 30.
     Ramsay, who wrote of the powerful unifying force exerted by New England histories,
     was no doubt influenced by them in his own writings.

     [15.]HAR, I, p. 350.

     [16.]The major sources are Bernard Bailyn, The Ideological Origins ofthe American
     Revolution (Cambridge, Mass., 1967) and The Originsof American Politics (New
     York, 1971); Gordon S. Wood, The Creation of the American Republic, 1776–1787
     (Chapel Hill, N.C., 1969); and J.G.A. Pocock, The Machiavellian Moment: Florentine
     Political Thought and the Atlantic Republican Tradition (Princeton, N.J., 1975).
     Three excellent historiographical essays are Robert Shalhope, “Toward a Republican
     Synthesis: The Emergence of an Understanding of Republicanism in American
     Historiography,” William and Mary Quarterly, 3d Series, 29 (1972): 49–80, and
     “Republicanism and Early American Historiography,” ibid., 39 (1982): 334–356; and
     Linda K. Kerber, “The Republican Ideology of the Revolutionary Generation,”
     American Quarterly, 37 (1985): 474–495. I have discussed the impact of
     republicanism on one historian in “Mercy Otis Warren: The Politics of Language and
     the Aesthetics of Self,” American Quarterly, 35 (1983): 481–498.

     [17.]In fact, Ramsay publicly opposed slavery and branded the slave trade an
     “infamous traffic.” [See Ramsay to Rush, August 22, 1783, September 9, 1783,


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     January 31, 1785, December 14, 1785, April 12, 1786, in Brunhouse, pp. 76, 77,
     86–87, 94, 99.] According to Winthrop Jordan, moreover, Ramsay was the only
     Southerner who, upon receipt of a copy of Thomas Jefferson’s Notes on the State of
     Virginia, wrote that he thought Jefferson had “depressed the negroes too low.”
     Ramsay was as strong a proponent of the Lockean principle that environment shapes
     human nature as one could find in eighteenth-century America. He believed that “all
     mankind [is] originally the same & only diversified by accidental circumstances.”
     [Ramsay to Jefferson, May 3, 1786, in Brunhouse, p. 101. Jordan, White Over Black:
     American Attitudes Toward the Negro, 1550–1812 (Chapel Hill, N.C., 1968), p. 456.]
     While Ramsay’s attitudes toward slavery are beyond the scope of this essay, it is
     useful to note that his failure to condemn slavery more vehemently in his History was
     integral to his strategy of diminishing the importance of the forces that could tear the
     nation apart. For a fine discussion of Ramsay and slavery, see Arthur H. Shaffer,
     “Between Two Worlds: David Ramsay and the Politics of Slavery,” Journalof
     Southern History, 50 (1984): 175–196.

     [18.]See Ramsay to Jefferson, April 7, 1787, in Brunhouse, p. 110; “An Oration” for
     July 4, 1794, Ibid., p. 195.

     [19.]Ramsay to Drayton, September 1, 1779; to Rush, July 18, 1779; to Rush, July 11,
     1783; to Eliot, August 6, 1785; to Rush, August 6, 1786; in Brunhouse, pp. 64, 62, 75,
     90, 105.

     [20.]Ramsay to Eliot, August 6, 1785, in Brunhouse, pp. 90–91.

     [21.]Ramsay to Eliot, April 7, 1810, in Brunhouse, p. 166.

     [22.]Ramsay to John Coakley Lettsom, October 29, 1808, in Brunhouse, p. 163. This
     analogy raises the issue of “truth” in historical writing, which I have addressed in
     “Creating a Useable Future,” and TheRevolutionary Histories, particularly chapters 6
     and 8.

     [23.]The History of the Revolution of South-Carolina was, thanks to Jefferson’s
     brokering, translated into French. The fascinating story of Jefferson’s efforts is
     contained in several letters: Ramsay to Jefferson, June 15, 1785; Ramsay to Jefferson,
     July 13, 1785; Ramsay to Jefferson, August 8, 1785; Jefferson to Ramsay, August 31,
     1785; Jefferson to Ramsay, October 12, 1785; Ramsay to Jefferson, December 10,
     1785; Jefferson to Ramsay, January 26, 1786; Jefferson to Ramsay, January 27, 1786;
     Ramsay to Jefferson, May 3, 1786; Jefferson to Ramsay, July 10, 1786; Ramsay to
     Jefferson, November 8, 1786; Jefferson to Ramsay, August 4, 1786; Jefferson to
     Ramsay, May 7, 1788; Ramsay to Jefferson, October 8, 1788, in Brunhouse, pp.
     88–94, 97, 101, 104, 107, 112–113, 121, 123. The History of the American Revolution
     was translated into Dutch and German, and The Life of George Washington was
     translated into French and Spanish.

     [24.]Rush quoted in Robert Y. Hayne, “Biographical Memoir of David Ramsay,
     M.D.,” Analectic Magazine, 6 (1815): 206. I have relied on Brunhouse, pp. 12–48 for
     biographical material.



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     [25.]Ramsay was married three times: first, in February 1775, to Sabina Ellis, who
     died in June 1776; then in March 1783 to Frances Witherspoon—daughter of John
     Witherspoon, president of the College of New Jersey (Princeton)—who died while
     delivering their child December 9, 1784; and finally in January 1787 to Martha
     Laurens—daughter of Henry Laurens, one of the giants of South Carolina politics and
     commerce; this marriage lasted some twenty-five years.

     [26.]Ramsay’s loss to Smith was almost certainly related to his anti-slavery
     sentiments. See Shaffer, “Between Two Worlds”; George C. Rogers, Jr., Evolution of
     a Federalist: William Loughton Smith of Charleston (1758–1812) (Columbia, S.C.,
     1962), especially pp. 162–171.

     [27.]Ramsay to Jefferson, June 15, 1785, in Brunhouse, p. 88. Ramsay, along with
     other prominent Charlestonians, was arrested by the British on May 12, 1780, upon
     the capitulation of the city. On August 27 he was exiled to St. Augustine; a year later
     he was released.

     [28.]Ramsay to Rush, February 11, 1786 and Ramsay to Jefferson, April 7, 1787, in
     Brunhouse, pp. 98, 110.

     [29.]David Ramsay, The History of South-Carolina, II, pp. 238–240, 83–84.

     [30.]“An Oration on the Advantages of American Independence … ,” in Brunhouse,
     pp. 184–185.

     [31.]Ramsay was referred to as the “Tacitus” of America by J. Kingston, in The New
     American Biographic Dictionary (Baltimore, 1810), and as America’s “Polybius” in
     Niles’ Weekly Register, 11 (October 5, 1816), both quoted in Brunhouse, p. 220;
     Ramsay to Gordon, January 18, 1786, in Brunhouse, p. 96.

     [32.]Ramsay to Rush, May 3, 1786, in Brunhouse, pp. 101–102. He added: “For some
     months past I have spent from five to 8 hours every day at this work. The drudery is
     nearly done. I have got my facts & I shall put them together in Carolina.”

     [33.]Ramsay to Rush, April 13, 1786, September 26, 1786, May 1, 1787, and August
     18, 1787, in Brunhouse, pp. 99–100, 105–106, 112, 113–114; Ramsay to Boudinot,
     April 13, 1786, to Morris, May 12, 1786, to Thomson, November 4, 1786, to Adams,
     September 20, 1787, in Brunhouse, pp. 100, 102, 107, 114. Thomson’s lengthy letter
     responding to Ramsay’s manuscript has been reprinted by Paul H. Smith, Quarterly
     Journal of the Library of Congress, 28 (1971): 158–172.

     [34.]Ramsay to Ashbel Green, October 4, 1791, in Brunhouse, p. 130. Aitken had a
     very good reputation, and he attempted to explain his procedures to the irate author.
     See Brunhouse’s index for several references to Aitken; Isaiah Thomas, The History
     of Printing in America (1810), rev. ed., by Marcus A. McCorison (New York, 1970).~
     ~~~~~~

     [35.]Ramsay to Eliot, October 19, 1789, April 13, 1792, April 7, 1810, and April 12,
     1793, in Brunhouse, pp. 126, 131, 166, 135.


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                  Online Library of Liberty: The History of the American Revolution, vol. 1



     [36.]Orrin Grant Libby, “Ramsay as a Plagiarist,” American Historical Review 7
     (1901–02): 697–703. Libby also demonstrated that William Gordon had plagiarized
     from the same source in “A Critical Examination of William Gordon’s History of the
     American Revolution,” American Historical Association, Annual Report (1899), I:
     367–388. Brunhouse has pointed out that two other historians followed Libby’s lead:
     Josephine Fitts, “David Ramsay . . .” (Unpub. M.A. thesis, Columbia University,
     1936); and Elmer D. Johnson, “David Ramsay: Historian or Plagiarist?” South
     Carolina Historical Magazine, 57 (1956).

     [37.]Burke’s role on the Annual Register is still, apparently, a matter of controversy.
     See Thomas W. Copeland, “Burke and Dodsley’s Annual Register,” PMLA, 54
     (1939): 223–245; Bertram D. Sarason, “Edmund Burke and the Two Annual
     Registers,” PMLA, 68 (1953): 496–508.

     [38.]Libby adduced eight examples of plagiarism in Ramsay’s The History of the
     American Revolution. Fitts added ten more, Brunhouse six. Ironically, Libby searched
     only the Annual Register, whereas Ramsay himself mentioned that the
     Remembrancer, another English periodical, also was available to him. See Ramsay to
     Rush, May 3, 1786, in Brunhouse, p. 102. Brunhouse lists the examples of plagiarism
     at p. 219.

     [39.]Libby, “Ramsay as a Plagiarist,” p. 703.




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                          CORRESPONDEN CE, PROCEEDINGS, kc., .SEPTEMBER, 1775.                                                                620

   Isaac Lytle,           John McNeale,      John White,                                         Protince of New-York, Cumberland County, !
                                                                                                               Townshend, July 12, 1775. \
   David ,'Jetty,
   ,Robert Getty,
   Isaac ftopkins,
                          Jonathan Baker,
                          George Fowler
                          John Duncan,
                                             John Reed,
                                             John l\foKinsey,
                                             James  Burns,
                                             John l\1c"Mullcn,
                                                                              ,ve, the subscribers, heartily and sincerely adhere to the
                                                                           proceedings of the Continental Congress, held at Philadel-
   James Gamel,           Jonathan Barber,
   George McKnight,       Daniel McCloud,    Peter Garcy,                  phia on the 5th day of September, 1775, more especially
    Adam Getty,           John Munson,       Ananias Cormac,               the Association Agreement; as witness our hands:
    Samuel Gii:inel,      John l\foDonal,    Josiah Parrish, Jr.,
    David Wheden,         Oliver Fowler,     Nathaniel Munson,                John Hazeltine,   Amos Holbrook,        John Burt,
    So1omon Wecde,        Alexander Gamel,    John Peck,                      Timothy Holbrook, John Wright,          Paul Hazeltine,
    David Wilson,          Norman MoCloud,   John Gary,                       William Hayward,  John How,             John Hazeltine, Jr.,
    Josiah Parrish,       Alexander Simpson, Duncan l\IcC!oud.                Silas Hayward,    John How, Jr.,        Thomas Walker,
                                                                              Caleb Hayward,    Jamee Watkins,        Jesman Walker,
                                                                              Peter Hazeltine,  Jonathan Claton,      Samuel Wisell,
                                                                              Paul Hayward,     ·William Christopher, John Dyer,
       SIGNEltS IN SPRINGFIELD, CUllffiERL.\ND COUNTY.                                           Ezra Holbrook,        Benjamin Dyer,
                                                                              Joseph How,
    Sir~10;;: i':\tevens~- - John Nott, -          John Barr~ti, -            Benjamin How,     ,villiamJohnson,      Isaac Harhart,
    George Hall,             Noah Porter,          Daniel Sartwell,           Daniel Blanchard, Joseph Tyler,         John Barns,
    Samuel Scott,            Emanuel Case,         Robert Millard,            Benjamin Hayward, Ebenezer Ober,         Epherim-Barns,
    Abner 'Bisbee,           Anthony Sheldon,      Jcrahmeel Powers,          Amariah Tost,      Matthew Martin,       Lemuel Rol.iings,
    Josiah Johnson,          John Hammond,         Platt J>arker,             Calvin Hayward,    Abraham Martin,       William Robings,
    Asah!lLMighell,          William Kellog,       Nicholas Bragg,             Eli Hayward,     David Linsey,          Benjamin Fletcher,
    Timothy Spencer,         Joseph Little,        Jacob Sartwell,            Josiah Fish,      James Linsey,          Thomas Reed,
    Hezekiah Holmes,         Nicholas Bragg,       Coumcs House,              John Wood,         Mike Johnson,         Benjamin Rngg,
    Simon Spencer,           Jacob Lockwood,       William McClellan,          Moses Holbrook,   Caleb Darling,        Asa Ober.
    J:uiiii_M'1J'!in, Jr.,    John Griswold,        Thomas Corton,
    James Martin,             Daus Goodwin,                       The above subscribers are all the men now in Town-
                                                    Simeon Bradford,
    Nathaniel Weston,        John M. Roberts,                  shend; those out of Town are: Samuel Fletcher, Benjamin
                                                   John ,veeams,
    Taylor Spencer,           Isaac Lockwood,       Robert Tavers,
                                                               Moredock, Oliver Moredock, Aaron Johnson, Samuel Par-
    Ichabod ,voddams,        Jesse Richardson,      Ebenezer Hildrith,
    .fasepnLoclrn'ooo,        Oliver· Sartwell,                kis, Thomas Barns, Ebenezer Burt .
                                                    George Hall, Jr.,
     Abraham Lockwood, Joseph ,vebb,                           - · These are in the service at Roxbury, under Gen. Wash-
                                                    James Dm1ghy,
     Nathaniel Sheldon,       Thomas Edwards,       John Barrett,
                                                                ington. The above completed July 12, 1775, but no safe
    . ffigned by o~<l°er of the Committee of Safety in Spring- opportunity till now, the 6th day of December, 1775.
  field.                                    JoHN BARB&TT.          This from a real friend to liberty. JouN HAZELTINE.
     Dcc~mber 21, 1775.
            ·-.

                                         Whitehall, September 1, 1775.    but not a word of any thing -spirited on your part, so that
        The House of Representatives of the Province of Nova-             our people are altogether ignorant of the true state of
   Scoti~orth-Amer ica, having unanimously agreed to a                    affairs with you.
   loyal and dutiful address, petition, and memorial, to the                  Dear countrymen and fellow-sufferers, wl10 have been
   Kfog's most exce\lent Majesty, the Lords spiritual and tem-            so happy as to have your lot in a land Qf liberty, though
   poral, and the Commons of Great Britain, in Parliament                 now persecuted and your rig11ts in.viirl~d, suffer not your
   assembkd, containing declarations of their obediePce and               most precious inheritance, your liberty and property, your
   suhm.iss_ion to the authority of the Parliament of Great               noble Constitution, to be torn from you. You are con-
              as
   'B"iiiiiin~· the supreme legislature of that Province, and             tending for what is of more value than life ; fear not to risk
                                                                          your lives freely in defence of it. Keep your presses free,
   of all the British Dominions, and of their readiness, as an
    in_dispensable ·a·uty' to submit to the payment of such taxes,        that the people may know all that concerns Lhem and all
    tc(bex~Ised upon a permanent plan, and at the disposal of             that is doing against them. By every mea_n-sixryourpmver
    Varliamifrif,- as sha\1 be their due proportion of the expenses       keep corruption from influencing any of your offices of
    of ffie__ Empire; and William Nesbitt, Esq., Spmi7<.ir of the         publick trust; you cannot possibly be too~rnucn-guarded
    said Hq__u_s~ of Representatives, having transmitted a tran-          against this terrible evil, whicl1 has almost undone u.s h.ere.
     script of the said loyal and dutiful acldress, petition, and         Let not arb}trnry power and despotism have any footing
     m!t.n'?JEf, to].!,i~ -~arl _of Darh'!outh, on_e of His Majesty's     among you. Many in this Country, who groan under it,
     pl'in-ClpaT'B"ecretanes of State, 1t was tl11s day presented to      would be glad to give their utmost assi.sta...n...ce, and ho_pe to
     His Mai~~ty,_~n~ most graciously received.                            be over with you before the contest is ended,_ ____ _
                                                                              It is my opinion that if you continue firm, you will, with-
                                                                           out doubt, succeed in your glorious struggle ; justice will
   EXTRACT OF A LETTER FROM IRELAND TO AN ACQ,UAINTANCE                    give strength to your arms, and weaken tnose oTyour ene-
        -~·nt"'N.EW-YORK, 'nATED SEPTE~IBER 1, 1775.                       mies. _God himself is on your side, and will cause them
      'Though most of the people here wish well to the cause               to  fall before you. Meanwhile, letme caution you against
   in which you are engaged,           and  would  rejoice  to  find you   the   least appearance of su:bmission,_ Youcan hJJr.dly con-
   continue firm and steadfast, yet it is the prevaiJing opinion,          ceive    the ill effects of every thing that may feed the hopes
   esp~ially among the friends to Government, ( so called,) that           of   your   enamnis ; even base complaisance in this case is
   you will be at last frightened into submission to ministerial           criminal,     for like drowning men they are ready to catch at
   measures. They are raising recruits throughout this King-               straws,    and,    if possible, interpret every thing you say or
   dom. The          men  are told they are only going   to Edinbnrgh      do    in  favour     of their own Qe~igns, whereby they are en-
   to learn military discipline, and are then to return. The               couraged       to  coutinue    thei.r e_ffg_rJs to subdtill_you. It be-
   com:mon people are industriously kept         frorn  the  knowledge     hooves     you,     therefore,   to be resolute, plain, and abrnlutc,
   of publick affairs. They know nothing but what the great                in  your   refusal     of every   proposal that im:plies giving up one
   people please to let them. Newspapers, since the Stamp                  tittle  of   your    rights  and  li_berties, or migiit brfog them into
                                                                                                                                            them with
   Act, are so high, the poor and middling people cannot pur- the least danger, and resist every attempt against
   chas!]...!Qf!.Q, nor_-even an almanack; not one of which is to          all  your    might.      Tbe   least   slackn~ss  or  C0l!lpliance  on-your
                                miles, except among    the  1ireat folks;   part   will  embolden      them    to  proceed   in  their  endeavours   to
    be found wjt_h_i_n _sixty
                                                                            enforce    their   laws,  to tax  and   enslave  you.    J\Iay God   guide
    hpw~~s.? few are solcl, that it is thought there will be no                                                                            _
    mi'fr'ei,t'fffteu, un1ess the act is repealed, which is expected and protect you. Amen.
    next ses~Qn.--                                                             I  am   a   sincere   friend to   the  natural   rights  ana  lioerty of
       It is most grievous to bear the innumerable burdens they             mankind,       and   yours,  &c.                                M.   W.
    have hnposed upon the people here. It is intended to send                  P. S. It is reported tliat Charles Stuart is, preparing to
    severaf B1s_hops- to America, ( one at least to every city,) for        make an attempt to obtain the Crown of Scotland. l wait
    wjth salaries     of four  hundred   Pounds   sterling   each,  to be        further intelligence.
    paid 6y the people where they are stationed. It is expected
    that ,N_ei_v-Xo.,-kwill be the first to submit to anyterrns tbat EXTRACT OF _A- LETTER FRmi:' A 'lftNTLEll{AN"JN
                                                                                                                                             -vuHU.NL\

    sh~.Il~eo!fer~Cr;_ and great pains_ have been tak~n fo spread              TO   HIS    FR~E.ND    I~  EDIN'BUR{fH,     SCOTLAl'l~DATED-1\U D-
                                                                               DLESEX, SEPTEMBER 1, 1775.
    a general l:ielieT that the people m all the Colonfes llre .mere
    cowards, ready to run at the sight of an army. The news-                   DEAi' S11t: -I embni.Qe.(l1is=tii"iour11b~ opportunity of
    papefs_ _!!i_<l_~ are most circulated are filled with SJlCh stuff, writing you by a gentlemarrwho intends to reside in Scot-




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621                    CORRESPONDENCE, PROCEEDINGS, &c., SEPTEMBER, 1775.

land with his lady and family. As to the present state of          as fast as may be. The great difficulty is the want of am-
 Virginia, I refer you to them. Tears stand in my eyes             munition. They evidently have a design upon Fort Char•
wl~en I !hink or write of this once happy, thrice happy            wtte, an_d our friends cannot collect to defend it, unless
land of liberty.                                                   they are supplied; I have therefore promised them a sup-
    All is anarchy and confusion. A brave people strug-            ply. If you, therefore, gentlemen, think it proper, it will
gling in opposition to the acts of the Britisli Parliament.        be o_f the greatest utility to send up one hundred or one
 We are all in arms, exercising and training old and young         hundred and fifly pounds weight of powder, and some lead,
to the use of the gun. No person goes abroad without his           by the bearer, Samuel Reid, who will effectually secrete
sword, or gun, or pistols. The sound of war echoes from            it until delivered safe into Jhe bands of the vQ}u_nteer Com-
north to south. Every plain is full of armed men, who all          panies, to be subject to the order of the Council in cas~ it
wear a hunting shirt, on the left breast of which are sewed,       is not used for the defence of the Colony. It will be effect-
in very legible letters, '' Liberty or Death." May God put         ually secured, and a small delay may be greatly dangerous.
a speedy and happy end to this grand and important con-            The same measure will be necessary on the other side of
test between the mother an_d her children. The Colonies            Broad River.                                       - ·- --
do not wish to be independent; they only deny the right               I could wish that Virginia might be alarmed and ready,
of taxation in the Parliament. They would freely grant             and that a categorical answer might be demanded of the
the King whatever he pleases to request_ of their own As-           Cherokees before the time of danger. The Creeks are in
se_mblies, provided the Parliament has no hand in the dis-         some danger from one Thompson, an emissal'y, now amoncr
posing of it.                                                      them. I shall \'isit Fort Charlotte before I return, and hop~
   Tfiis dispute has put an end to all trade and commerce.         to let you hear more particularly on these subjects next
The Country is on the brink of destruction. The rising             week.
glory of America is totally eclipsed, and, unless some pru-
dent means be fallen on to bring about a reconciliation, I                     PlllLAPELPHIA COUNTY CO~nlf'.J.''.l"E.E.,
tremble for the consequences. The troubles of the year                                     Philadelphi~.County, September I, li75,
1745 were but like a flea-bite to the present commotions.
Never was there heard ofsuch an unanimity as prevails                 In Committee, Resolved, That it be rccomnie~-delto-tf;e
through this exten~,ive _Empire in the glorious cause of           Township Committees and the Captains 0Ftf1e different
Jioerty. All ranks and conaitions of men have laid aside           Companies, and they are hereby enjoined to make returns
all sorts of extravagance in living and dressing, vieing ,-rith    to this Committee of the Associators, Non-Associators, &c.,
one another who shall wean11ost of their own manufactory.          in their respectire Districts, agreeable to tb_e directions of
You would. hardly_ believe t_he quantity of cotton clot11 that     the Commiuee of Safety, on Friday, the 22d instant; and
is annually manufactured here could be made. I do assure           that the Colonels of each Battalion in this_County do, at
you nu women in 11n:7 part of the world can be more indus-         the same time, return the names of the Officer_s of th.eir
trious than those in Virginia. They labour under one               respective Battalions, with their ranks and se11iorit)'i1J Ba.t-
                                                                   talion.                                        -- ~- - -
great disadvantage; which is, tbeir being·entirely ignorant of
the ways of making of linen, which they will severely feel            The Committee acljourneil to Friday, the ~2_!1 iQstanf, to
next year, this warm climate requiring more of that article        meet at the ho.use of Jacob Neajf, at ten o'clock in the
                                                                   forenoon.                                         .- --     --
than any other.
  WILLIAM TENNENT TO THE C'OUN'CIL OF SAFETY FOR                                      NEW-YORK COMMl'r~E.
                SOUTH-CAROLINA,                                         The Committee met Friday, Scpternier I, 1775. p{:e-
                                     Long Cane, September 1, 177 5.  sent: Henry Remsen, Chairman, anj (hirty-five Membe1·s.
    This comes by Captain George Reid's wagon from the                  The Deposition of George Van &hamp-;-reTat,veto Ser-
 Long Canes, where I am at present. I parted from Mr.                geant    Graham's conduc.t in Boston, received iind ££[!9,_
 Drayton on ~Monday morning ; he steered his course to                  The Memorial of Stephen Skinrrer~_ ~sq., -received and
Augusta, and thence designed for the camp at Amelia. I read, praying leave to 1and some Trunks and Bedding, the
thougbt it necessary to visit the settlements on this side of property of Miss Johnwri, Miss Kemb1e, and Mrs. Lee.
 S_a_ly,aa. _Met _a large congregation yesterday, and found              Ordered, That leave be given ac-cordingly, and that
 the -people oivicled fu tiieir s:entiments. Spoke at least two      Mr.    O. Templeton and l\Ir. John Bruomebe a Sub-Com-
hours to them, to good effect. The prevailing party here mittee to examine the same.
is for American measures, by the agency of some _of our                  Ordered, That the Chairman be requested to write a
 worthy members; but_ th~y need confirmation. - I have letter of thanks to tlie different Committees in New-Jersey
therefore appointed three meetings, at which I expect to and Orangetown, for their polite behaviour to Captain
see the greater number of the disaffected. I shall then Dobbs.
crossover into Ji'letchall's-Regiment once more, to be at an
elect!ori-appointed at Ford's 1 on Enoree, where we expect                           New.York Committee Chamber, September I, I7i5.
great opposition,ifnot violence, from Cunningham's 11ai-ty.             Whereas this Committee, by their Resct1utwn oft!~~ 1st
Brown will bring them to blood if he can, but I stjII hope of May last, and the Continental Congress, by their Resolve
it may be prevented. J f~nsider myself as running great of the 27th of said month, ordered, that no Provisions should
risfi:s;-outiT1mlufiriy duty,                                       be exported to Quebeclc, Nova-Scotza, Georgia, -New-
    Our visit has given their party a great shock, divided foundland, or any pnrt of the fishing co:itsCc>r n_shing islaTids
their friends, and strength_ened our interest much. One of to the eastward of Nantucket: And wJJ~rea_s i!,_!!ppears to
their chiefs confessed to me, at Little River, that he brought this Committee, by the_ Depositions of G_harJ_es Pe l{izy,
up the thanks of the Governour to Mr. Cunningham, for master, and Thomas JJ1illroy, mate of the Sloop /:,ally,
what he had done and is doing. The Governour's intrigue whereof John Christian Drewidts arid 7J!iJseBDelis Der-
l1ere. 1s as evident as the Ii.~~it of the sun. The evidences ni~r are owners, that ~bey, th~ saiq_ :Tolm _Ch_r_isti9n 1Jre-
of their d~sign, by the Jn_d_ians, is no doubt clear to the w1.dts and Mo!ies Delis Dernier; did lo!lcLJbe said sloop
Council, from the papers :i;e_n_t down already.                     with Provisions: and the said Moses De_lis Dernier did
    The inhabitants liere ure in great terrour, as far as they proceed with h-er, so loaded, to Nov1_1~.';;_£_otig-: a~d th;;.e
have heard of thcir danger, and that because they have no disposed of the same, in_ vi.olation of _the_ Refil:llve_ of the
am:n:nrniJ:ion._ The leaJf_ers_haye frequent!{ dropped in com- said Continen~a.l Congress: And wh;reas it furtl_i,e.r appears,
pany that they intendJo form_ a carrip.          am sure they will by the Deposition of Captam_Je71kzng, late rn__a,5Jer ofthe
find a__filllil_TieLIJumber _ri:a:_dy to befriend them than they Sloop Elizabeth,_ whereof Thomas Ludfo_w_ ..JD!LOwnei',
imJlgine. But their dependaiice i5upon the savages to join that the said Tho1!1__as Ludlow_ did_ loiid tb~ Mid aJoop in
their army, and that the rest of the inhabitants will be the Port of New-York, with Provisions; ancf~it1:i-ber so
for_reo-::tp JOl!l tnem, to save tbeir families from l!, !Ps~Sacre, loaded, did proceed to the Island of Neu;JounclJ.and,_ apA
I am_ fiik_Tog - proper meaS!lres, in this District, ro prevent there disposed of the same, in violation of Jbe :i]fil,;:~~jd
the horrible couspiracy; -Tbr~.e vohinteer comparilts are Resolve:                        __ _ _                 -~:----=~~~~ _
                                                                                                                 °"
formed; one under Majo(X~.rl:.1l,~vho ~o~ seem[~[l:~ared               'fl_,;solved, 1st, That the Dr.positions of tM said G_lrnrles
mJP~ c;__aus~; anothernµJkr _<;~all_H\1n P1ckms; ~.WJJ~~"~pder De. Kay, Thorims 1flillroy, and. RfohJir.d=~rikmg~be pub-
C~ptai11 James AlcCa_lL_ _M,:QreQ( the like kind rs going on lished in the ne~'spapers in this City.




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  628                    CORRESPONDENCE, l'H.OC~EDINGS, &c., SEPTEMBER, 1775.                                                        624
  · ll.esolved. 2d. That the said John Christian Drewidts.                York, on board the said sloop, as mate thereof, with a
  A-las~ D elis JJernier, Charles De Kn.y, and 1'h-0mas Lud- cargo consisting of flour, rye meal, bread, pork, Indian
  knu, have knowin)!;ly violated the beforementioned Resolve corn, rum, and some boards, bound for the West-Indies, as
  of the Continental Congress, and the General Association                he was informed by the master of the said sloop. When
  entered into by' the inhabitants of this City and County;               they had got out at sea about eighteen hours' sail, Captain
  and that th'e said John Christian Drewidts, .Moses Delis                Charles De Kay told the deponent they were bound for
  D ernier. Charles De Kav. and Thomas Ludlow, have                       the B ay of Fundy. At their arrival in the Bay of Fundy,
  severally acted inimically to, an<l baveoccn guiTty of a                at a place called Pettiquit Jack, where our supercargo,
  high mfringemeot of a Resolve of the associated American                Mr. Moses Delis Dernier, sold some of the cargo; from
  Colonies.                                                               thenc~ w_e ~~nt to the Township of Shippody River, and
      By order of the Committee:                                          there we discharged part of the cargo, by the directions of
                             R&.NltY REM SEN , Dep'y Chairman.            said ~'Hoses Delis Dernier; from thence we went to Cumber-
   Citv of NEW-YORK, ss.                                                  land, in the P rovince aforesaid, and there we discharged
       Charles De E au. of the City of New-Yoac, 'Mariner,                the wf1ole ort11e cargo ·we
                                                                                                    T1a<l left, ·by the order of our super-
  and commander of the Sloop Sally, now lying in the Port                 cargo; a:nd then took in ballast, and filled our casks with
                                                                          water, and sailed from thence to New-Yl)rk, where we
  of New-York. being duly sworn, makes oath, that on .or
  about the beginning of June last, he sailed from the said               arrived tbe 25th of August, 1775, at Sandy-Honk, or near
  Port of New- rork. on board of the said. sloop, as master               the Narrows, where the Captain left the sloop and went
  anct commander thereof. with a cargo consisting of flour,               up to New-York. B efore he left the sloop he desired me,
  rye meal, bread, pork, lndian corn, rum, and some boards,               if any person inq'uired where they came from, should say
  to the river called l!ettiquit Jack, in Nova-&otia, where               from St. Eustatia; and also desired me to give the peo-
  Mr. Moses Delis Uemier, supercargo and part owner of                    ple a caution; which I accordingly did.
                                                                                                                  THOMA S M1LLROY.
  the said sloon and carM. rlisoosed of a small part of the
  said cargo, to wit: or some or thQ ifo.ur__aoJ .fillllle of the           Sworn this 31 st day of A ugust, 1775, ~efore me,
                                                                                - ·-         -   Wn,LJ.t!lf WADDELL, Alderman.
  br~id; · that from thence ho proceeded with the remainder
  of the said camo on boa.rel of the said sloop, to the Town-                 I , Richard Jen king, sailed from New-York on ihe 28th
  ship of Shipp_ody, in the Province of Nova-Scotia afore-                of May last, as master of the Sloop Elizabeth, belonging
  saio. ~n?.~thcrc _discfiar~ed some part. of the ~aid cargo, by          to Mr. Thomas Ludlow, laden with provisions, to wit: bread,
  the d1rcct1on of the said Moses Debs l).ermer; that from                flour, pork, Indian corn, and a small parcel of iron; that
  the Township of Sliippody he proc·eeded with the said sloop             tbe said Thomas L udlow went with me, as owner and super-
  and tbe residue of the said cargo to the Town of Cumber-                cargo, and took with him four negroes, three of which I
  land1 in the P rovince aforesaid, where the said sloop was              understood were his own. We came to an anchor that <lay
  discharged of hor said cargo, and the same was disposed of              within Sandy-Ilook light-house; next day about noon got
  in t.hP. mnnnP.r fr11lowing, to wit: part to Mr. John Avary,            under way, and put to sea. I took the log-book and marke<l
  or Windsor. then at CuiiiDerland aforesaid, who loaded Qr               it towards Bermuda; and that he then told me not to be
  put tile part so purchased by him on board·of a schooner ,              surprised, that he intended to go to Newfoundland. I found
  to go to Windsor aforesaid, part consisting of flour, bread,            myself obliged to follow his orders, and shaped a course for
  iron, a·nd steel, amounting to about the sum of two .hun-                Cape Ra.ce. The 14th of June;arrived at the harbour of
  dred and nioetv ode! P ounds stflrliug in value, to Mr,                  1hspass, in Newfoundland, and there landed the c::irgo,
  Thomas Clough, of the Town of B oston, ( which he told                  wb.ich he sold to Jackson~ Hallet, merchant!:, of '1'opshn.m,
  the deponent he intended to carry or cor:rvey to Windsor                for sixteen and sixpence sterling, round, as ·h e.inforrne_d me.
  oforesaid, or Mac!tias~ in order th.erewi.th to p!.!r.chase a           I differed with him .tbere, for deceiving me, and would have
  cauto for the West-lndies, which the deponent believed to               leftJiiii, coiil<l I have got a passage ·home. He took a pas-
  ~e true.) and the rest in small parcels to the inhabitarus Qf           sage in a small vessel belonging to Mr. Jackson, forQu.ebcck,
  the smu T own of Oimberland; that that part or the said                 and gave me my sailing orders to follow him, which I did:
  cargo :;old to the said '.l'lwmas Ulough, as aforesaid, was sold        he arrived at Quebeck some days before me. At my arrival,
  for the same nricc that the said .TolmAvary purcb.a.se_d at;            he order.ed me to haul the vessel close into the Town in the
  thll!. tqc_ j(lponent had no knowledge or expectation, or               mud..__..lrul Jc\'[ days he informed me that he was going to
  belief, at the time of the sale of part of the said cargo t.o           take.on board cattle for the West-hidies. 1 d<.'manded my
  the·  sa,d Tlwmas CTough, that he:intendcd to convey any                discharge, and told him l would not proceed any further
  part thereof so purchased by him to. any other place than               with him. H e insisted I should; on which high words
   fflindsor or ft'T1u:hi'.as afore~:iirl, for the purposes aforesaid;    arose between us. r still persisted · in my resolution to
  and_.thqt he, the de11onent, verily believes, and is well as-           leave him. ln a few davs he provided another master,
  sured, that t11e said Thomas Clough did not con·vcy anj'j>art           and discharged me. 1 procured a passage to Saybrook, in
  of the said cargo, so purchased by him as aforesaid, to the             the Sloop B etsey, Norman ~M orrison, master, and arrived at
  T own of lloslon: anc1 this deponent further saith, that the            ,Saybrook the 20th instant; from thence I proceeded here,
  said sloop's car2:o bein!! discharzed and disposed of a~ afore-         and arrived the 27th.                   R1 cHARD JENX ING.
  said, he proceeded fiym Cumber{arJd afon:s.aid, on board of                Sworn the 30th August, 1775, before me,
  tbe said sloop, in oallast, to this C.ity, where he <1rrived                                          WmT E IIEA D H1r,Ks , ll'1ayo1·.
  about the 2!3d instant: and this deponent further saith, that
  besides the slooo's canro beforementiooed, he had an adven-                      OAVID BURGF.R TO NEW-YO RK CONGRESS.
  ture belon_gin_g to him, the deponent, on board, of two lnm~.                                            New.York, September 1, 1775.
  dred and · liftV' wei!!ht of hamsJ !}~d o!lc_hun_dre_~,.and Jilly_
  gallons of 1:uni, which were disposed of at Cumberland afol'e=            GENTC.EM"RN:    I take this opportunity, from the regard
  saiij, in small parcels, to tlie inltah11ants; and li.trther the        that J have for the cause of American freedom, to acquaint
  aeponent saith, that before be left -New--Yorlc, in the .said           you that there is a set of judicious people that live on Sto-
  voy;'l~e, he, the deponent, was jn(<>tmed by 1lloses D elis             ten-lslctnd, who, for the sake of a little gain, would sell
  D ermc,-. one 01 the owners_of t}e ·~aig_ves~el1 that. she              their and the Country's privileges, as appears by their sell-
  was bound for the Bav o( Fundy; ao<l the said Mcise.1. to!<l            ing to the Troops, which they have done last Tuesday,
  hirn, that he would have applied to the Committee, to                   such as hogs, sheep, geese, ducks, and fowls, to go on
  have ~oi letl\·e to have gone there, but that he tyas afraid            board tbe ship that lies now in the Nortlt River, to go
  tlrnt the nort would have been shut; and further the de-                to Bosto·n , and arc determined to continue thus in lettinO'  0

  poneot saith not.                           . C1HRr,F.s DE Kw.          them bµve SIJ..Ch stock as .th_ey want, as far as they are able
      Sworn the 31st ./lugust, l 775, before me .                         to -supply tl1em, and will spare no pains to provide for
                                    W .HITF;HF.AD H1cKs, .Mayor.
                                                                          them. .Mr. Cubberly is to let them have some stock. As
                                                                          he is not willing to bring them up himself, for fenr of b<.:io"
   Cit11 of N.:w-Y011K, ss.                                               disco\·crcd in so doing, so that they are to call for th en~
       Thomas M.illro.11, of the l sle-o.f-Jl'lan, ::VJariner, and mate   and he will IP.t them lrnve as far as he can spare. Last
  of the Sloop Sally, now lying in the Port of New- York,                 'l'u.e1tda11 thcv had the abovementioned stock from John
  be\ug duly sworn, iuaketh oath, that on or about the begin-              Van l:'elt, Uorncfius Martin, Benjamin Martin, Jolm
  ning of J1me last,_ he sailed from the said Port of New-                K eteltas, JacfJU Barre1rar, and Mar11 Barrel!W'. The




                                                       EXHIBIT 20
                                                         0756
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           EXHIBIT "21"




                                EXHIBIT 21
                                  0757
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                                                                                     ÿ1ÿ316ÿ5
      FROM THOMAS JEFFERSON TO GIOVANNI FABBRONI,
      8 JUNE 1778
      ÿÿ 
      *mn                                                                                       :4&&4315B#$=7ÿ48ÿ\4$=4843ÿ^#8',ÿl,ÿ-//l
          !"#$ÿ&'(('$ÿ")ÿ*'+,ÿ-.,ÿ-//0ÿ)$"1ÿ23$45ÿ631'ÿ53)'ÿ("ÿ7389,ÿ:'ÿ73;'ÿ8"(ÿ7"<';'$ÿ739ÿ(7'ÿ+&'35#$'ÿ")ÿ5''48=ÿ>$,ÿ?'
      @$'845Aÿ(7'ÿB'3$'$ÿ")ÿ4(ÿ48ÿ(745ÿ6"#8($CAÿ35ÿ7'ÿD"48'9ÿ(7'ÿ3$1Cÿ48ÿ2'885C&;3843ÿ35ÿ5""8ÿ35ÿ7'ÿ3$$4;'9,ÿEÿ57"#&9ÿ73;'ÿ(3F'8
      +3$(46#&3$ÿ+&'35#$'ÿ48ÿ5'$;48=ÿ741ÿ"8ÿC"#$ÿ$'6"11'893(4"8,ÿG$"1ÿ(7'ÿF489ÿ38H4'(Cÿ'H+$'55'9ÿ48ÿC"#$ÿ&'(('$5ÿ35ÿ<'&&ÿ35
      )$"1ÿ"(7'$ÿ5"#$6'5ÿ")ÿ48)"$13(4"8ÿ<'ÿ9456";'$ÿ(73(ÿ"#$ÿ'8'14'5ÿ73;'ÿ)4&&'9ÿI#$"+'ÿ<4(7ÿJ7$35"846ÿ366"#8(5ÿ")ÿ;46("$4'5
      (7'Cÿ739ÿ8';'$ÿ<"8ÿ389ÿ6"8K#'5(5ÿ(7'Cÿ<'$'ÿ)3('9ÿ8';'$ÿ("ÿ13F',ÿ:74&'ÿ(7'5'ÿ366"#8(5ÿ3&3$1'9ÿ"#$ÿ)$4'895ÿ48ÿI#$"+'
      (7'Cÿ3))"$9'9ÿ#5ÿ94;'$54"8,ÿ:'ÿ73;'ÿ&"8=ÿB''8ÿ"#(ÿ")ÿ3&&ÿ)'3$ÿ)"$ÿ(7'ÿ';'8(ÿ")ÿ(7'ÿ<3$,ÿ    -Eÿ486&"5'ÿC"#ÿ3ÿ&45(ÿ")ÿ(7'ÿF4&&'9A
      <"#89'9Aÿ389ÿ63+(4;'5ÿ")ÿ(7'ÿ'8'1Cÿ)$"1ÿ(7'ÿ@"11'86'1'8(ÿ")ÿ7"5(4&4(4'5ÿ3(ÿL'H48=("8ÿ48ÿM+$4&ÿ-//.Aÿ(4&&ÿN";'1B'$ÿ-///,
      5486'ÿ<7467ÿ(7'$'ÿ735ÿB''8ÿ8"ÿ';'8(ÿ")ÿ38Cÿ6"85'K#'86',ÿJ745ÿ45ÿ(7'ÿB'5(ÿ745("$Cÿ")ÿ(7'ÿ<3$ÿ<7467ÿ638ÿB'ÿB$"#=7(ÿ<4(748
      (7'ÿ6"1+355ÿ")ÿ3ÿ&'(('$,ÿEÿB'&4';'ÿ(7'ÿ366"#8(ÿ("ÿB'ÿ8'3$ÿ(7'ÿ($#(7Aÿ(7"Oÿ4(ÿ45ÿ94))46#&(ÿ("ÿ='(ÿ3(ÿ(7'ÿ8#1B'$5ÿ&"5(ÿBCÿ38ÿ'8'1C
      <4(7ÿ3B5"&#('ÿ+$'6454"8,ÿ>38Cÿ")ÿ(7'ÿ3$(46&'5ÿ73;'ÿB''8ÿ6"11#8463('9ÿ("ÿ#5ÿ)$"1ÿI8=&389ÿ35ÿ(3F'8ÿ)$"1ÿ(7'ÿ"))4643&
      $'(#$85ÿ139'ÿBCÿ(7'4$ÿP'8'$3&,ÿEÿ<457ÿ4(ÿ<'$'ÿ48ÿ1Cÿ+"<'$ÿ("ÿ5'89ÿC"#ÿ35ÿD#5(ÿ38ÿ366"#8(ÿ")ÿ"#$ÿQ&"55'5RÿB#(ÿ(745ÿ6388"(ÿB'
      9"8'ÿ<4(7"#(ÿ38ÿ3++&463(4"8ÿ("ÿ(7'ÿ<3$ÿ"))46'ÿ<7467ÿB'48=ÿ48ÿ38"(7'$ÿ6"#8($Cÿ45ÿ3(ÿ(745ÿ(41'ÿ"#(ÿ")ÿ1Cÿ$'367,ÿEÿ(748Fÿ(73(
      #+"8ÿ(7'ÿ<7"&'ÿ4(ÿ735ÿB''8ÿ3B"#(ÿ"8'ÿ73&)ÿ(7'ÿ8#1B'$ÿ&"5(ÿBCÿ(7'1,ÿE8ÿ5"1'ÿ485(386'5ÿ1"$'AÿB#(ÿ48ÿ"(7'$5ÿ&'55,ÿJ745
      94))'$'86'ÿ45ÿ356$4B'9ÿ("ÿ"#$ÿ5#+'$4"$4(Cÿ48ÿ(3F48=ÿ341ÿ<7'8ÿ<'ÿ)4$'Sÿ';'$Cÿ5"&94'$ÿ48ÿ"#$ÿ3$1Cÿ73;48=ÿB''8ÿ48(413('ÿ<4(7
      745ÿ=#8ÿ)$"1ÿ745ÿ48)386C,ÿE)ÿ(7'$'ÿ6"#&9ÿ73;'ÿB''8ÿ3ÿ9"#B(ÿB')"$'ÿ35ÿ("ÿ(7'ÿ';'8(ÿ")ÿ(7'ÿ<3$Aÿ4(ÿ45ÿ8"<ÿ("(3&&Cÿ$'1";'9ÿBC
      (7'ÿ48('$+"54(4"8ÿ")ÿG$386'Sÿ389ÿ(7'ÿ='8'$"#5ÿ3&&4386'ÿ57'ÿ735ÿ'8('$'9ÿ48("ÿ<4(7ÿ#5,
          J7"Oÿ1#67ÿ")ÿ1Cÿ(41'ÿ45ÿ'1+&"C'9ÿ48ÿ(7'ÿ6"#864&5ÿ")ÿM1'$463ÿEÿ73;'ÿC'(ÿ3ÿ&4((&'ÿ&'45#$'ÿ("ÿ489#&='ÿ1Cÿ)"898'55ÿ)"$
      +74&"5"+7463&ÿ5(#94'5,ÿEÿ6"#&9ÿ<457ÿ("ÿ6"$$'5+"89ÿ<4(7ÿC"#ÿ"8ÿ5#BD'6(5ÿ")ÿ(73(ÿF489,ÿE(ÿ14=7(ÿ8"(ÿB'ÿ#8366'+(3B&'ÿ("ÿC"#ÿ("
      B'ÿ48)"$1'9ÿ)"$ÿ485(386'ÿ")ÿ(7'ÿ($#'ÿ+"<'$ÿ")ÿ"#$ÿ6&413('ÿ35ÿ9456";'$3B&'ÿ)$"1ÿ(7'ÿJ7'$1"1'('$Aÿ)$"1ÿ(7'ÿ)"$6'ÿ389
      94$'6(4"8ÿ")ÿ(7'ÿ<4895Aÿ(7'ÿK#38(4(Cÿ")ÿ$348Aÿ(7'ÿ+&38(5ÿ<7467ÿ=$"<ÿ<4(7"#(ÿ57'&('$ÿ48ÿ(7'ÿ<48('$ÿT6,ÿU8ÿ(7'ÿ"(7'$ÿ7389ÿ<'
      57"#&9ÿB'ÿ1#67ÿ+&'35'9ÿ<4(7ÿ6"('1+"$3$Cÿ"B5'$;3(4"85ÿ"8ÿ(7'ÿ531'ÿ+3$(46#&3$5ÿ48ÿC"#$ÿ6"#8($CAÿ<7467ÿ<4&&ÿ=4;'ÿ#5ÿ3
      6"1+3$3(4;'ÿ;4'<ÿ")ÿ(7'ÿ(<"ÿ6&413('5,ÿ   WG3$'87'4(O5ÿ(7'$1"1'('$ÿ45ÿ(7'ÿ"8&Cÿ"8'ÿ48ÿ#5'ÿ<4(7ÿ#5,ÿEÿ13F'ÿ1Cÿ934&C
      "B5'$;3(4"85ÿ35ÿ'3$&Cÿ35ÿ+"554B&'ÿ48ÿ(7'ÿ1"$848=ÿ389ÿ3=348ÿ3B"#(ÿV,ÿ"O6&"6Fÿ48ÿ(7'ÿ3)('$8""8Aÿ(7'5'ÿ='8'$3&&Cÿ57"<48=ÿ(7'
      13H413ÿ")ÿ6"&9ÿ389ÿ7'3(ÿ48ÿ(7'ÿ6"#$5'ÿ")ÿWVÿ7"#$5,ÿEÿ<457ÿEÿ6"#&9ÿ=$3(4)CÿC"#$ÿX"(38463&ÿ(35('SÿB#(ÿEÿ31ÿ36K#348('9ÿ<4(7
      8"(748=ÿ1"$'ÿ(738ÿ(7'ÿ)4$5(ÿ+$4864+&'5ÿ")ÿ(73(ÿ564'86'AÿC'(ÿ1C5'&)ÿ389ÿ1Cÿ)$4'895ÿ13Cÿ)#$8457ÿC"#ÿ<4(7ÿ38CÿX"(38463&
      5#BD'6(5ÿ<7467ÿ(745ÿ6"#8($Cÿ3))"$95Aÿ389ÿ3$'ÿ8"(ÿ("ÿB'ÿ739ÿ<4(7ÿC"#Yÿ389ÿEÿ573&&ÿ(3F'ÿ+&'35#$'ÿ48ÿ+$"6#$48=ÿ(7'1ÿ<7'8
      +"48('9ÿ"#(ÿBCÿC"#,ÿJ7'ÿ=$'3('5(ÿ94))46#&(Cÿ<4&&ÿB'ÿ(7'ÿ1'385ÿ")ÿ6"8;'C386'ÿ9#$48=ÿ(7'ÿ6"8(48#386'ÿ")ÿ(7'ÿ<3$,
          E)ÿ(7'$'ÿ45ÿ3ÿ=$3(4)463(4"8ÿ<7467ÿEÿ'8;Cÿ38Cÿ+'"+&'ÿ48ÿ(745ÿ<"$&9ÿ4(ÿ45ÿ("ÿC"#$ÿ6"#8($Cÿ4(5ÿ1#546,ÿJ745ÿ45ÿ(7'ÿ)3;"$4('
      +3554"8ÿ")ÿ1Cÿ5"#&Aÿ389ÿ)"$(#8'ÿ735ÿ635(ÿ1Cÿ&"(ÿ48ÿ3ÿ6"#8($Cÿ<7'$'ÿ4(ÿ45ÿ48ÿ3ÿ5(3('ÿ")ÿ9'+&"$3B&'ÿB3$B3$451,ÿG$"1ÿ(7'ÿQ&48'R
      ")ÿ&4)'ÿ48ÿ<7467ÿ<'ÿ6"8D'6(#$'ÿC"#ÿ("ÿB'AÿEÿ73;'ÿ)"$ÿ5"1'ÿ(41'ÿ&"5(ÿ(7'ÿ7"+'ÿ")ÿ5''48=ÿC"#ÿ7'$',ÿ*7"#&9ÿ(7'ÿ';'8(ÿ+$";'ÿ5"AÿE
      573&&ÿ35FÿC"#$ÿ35545(386'ÿ48ÿ+$"6#$48=ÿ3ÿ5#B5(4(#('ÿ<7"ÿ13CÿB'ÿ3ÿ+$")464'8(ÿ48ÿ548=48=ÿ389ÿ"8ÿ(7'ÿ73$+5467"$9,ÿEÿ57"#&9ÿB'
      6"8('8('9ÿ("ÿ$'6'4;'ÿ5#67ÿ38ÿ"8'ÿ(<"ÿ"$ÿ(7$''ÿC'3$5ÿ7'86'Aÿ<7'8ÿ4(ÿ45ÿ7"+'9ÿ7'ÿ13Cÿ6"1'ÿ1"$'ÿ53)'&CAÿ389ÿ)489ÿ7'$'ÿ3
      =$'3('$ÿ+&'8(Cÿ")ÿ(7"5'ÿ#5')#&ÿ(748=5ÿ<7467ÿ6"11'$6'ÿ3&"8'ÿ638ÿ)#$8457,ÿJ7'ÿB"#895ÿ")ÿ38ÿM1'$4638ÿ)"$(#8'ÿ<4&&ÿ8"(
      3914(ÿ(7'ÿ489#&='86'ÿ")ÿ3ÿ9"1'5(46ÿB389ÿ")ÿ1#5464385,ÿ!'(ÿEÿ73;'ÿ(7"#=7(ÿ(73(ÿ3ÿ+3554"8ÿ)"$ÿ1#546ÿ14=7(ÿB'ÿ$'6"864&'9
      <4(7ÿ(73(ÿ"'6"8"1Cÿ<7467ÿ<'ÿ3$'ÿ"B&4='9ÿ("ÿ"B5'$;',ÿEÿ$'(348ÿ)"$ÿ485(386'ÿ31"8=ÿ1Cÿ9"1'5(46ÿ5'$;38(5ÿ3ÿ=3$9'8'$
      ZU$("&38"[Aÿ<'3;'$ÿZJ'554("$'ÿ94ÿ&48"ÿ'ÿ&38Q3[ARÿ3ÿ63B48'(ÿ13F'$ÿZ*(4+'((34"[ÿ389ÿ3ÿ5("8'6#(('$ÿZ563&+'&&48"ÿ&3;"$38('ÿ48
      +438"[ÿ("ÿ<7467ÿEÿ<"#&9ÿ399ÿ3ÿ\4=8'$"8,ÿE8ÿ3ÿ6"#8($Cÿ<7'$'Aÿ&4F'ÿC"#$5Aÿ1#546ÿ45ÿ6#&(4;3('9ÿ389ÿ+$36(45'9ÿBCÿ';'$Cÿ6&355ÿ")
      1'8ÿEÿ5#++"5'ÿ(7'$'ÿ14=7(ÿB'ÿ)"#89ÿ+'$5"85ÿ")ÿ(7"5'ÿ($39'5ÿ<7"ÿ6"#&9ÿ+'$)"$1ÿ"8ÿ(7'ÿG$'867ÿ7"$8Aÿ6&3$48'(ÿ"$ÿ73#(B"C
      389ÿB355""8Aÿ5"ÿ(73(ÿ"8'ÿ14=7(ÿ73;'ÿ3ÿB389ÿ")ÿ(<"ÿG$'867ÿ7"$85Aÿ(<"ÿ6&3$48'(5ÿ389ÿ73#(B"C5ÿ389ÿ3ÿB355""8Aÿ<4(7"#(
      '8&3$=48=ÿ(7'4$ÿ9"1'5(Q46Rÿ'H+'86'5,ÿMÿ6'$(348(Cÿ")ÿ'1+&"C1'8(ÿ)"$ÿ3ÿ73&)ÿ9"]'8ÿC'3$5Aÿ389ÿ3(ÿQ(7'Rÿ'89ÿ")ÿ(73(ÿ(41'ÿ("ÿ)489
      (7'1ÿ4)ÿ(7'Cÿ67"5'ÿ4(ÿ3ÿ6"8;'C386'ÿ("ÿ(7'4$ÿ"<8ÿ6"#8($Cÿ14=7(ÿ489#6'ÿQ(7'1Rÿ("ÿ6"1'ÿ7'$'ÿ"8ÿ$'35"83B&'ÿ<3='5,ÿ:4(7"#(
      1'3848=ÿ("ÿ=4;'ÿC"#ÿ($"#B&'Aÿ+'$73+5ÿ4(ÿ14=Q7(RÿB'ÿ+$36(463B&'ÿ)"$ÿC"#ÿ48ÿC"#$ÿ"$9483$Cÿ48('$6"#$5'ÿ<4(7ÿC"#$ÿ+'Q"+&'Rÿ("
      )489ÿ"#(ÿ5#67ÿ1'8ÿ945+"5'9ÿ("ÿ6"1'ÿ("ÿM1'$463,ÿ*"B$4'(Cÿ389ÿ=""9ÿ83(#$'ÿ<"#&9ÿB'ÿ9'54$'3B&'ÿ+3$(5ÿ")ÿ(7'4$ÿ673$36('$5,ÿE)
      C"#ÿ(748Fÿ5#67ÿ3ÿ+&38ÿ+$36(463B&'Aÿ389ÿ<4&&ÿB'ÿ5"ÿF489jÿ35ÿ("ÿ48)"$1ÿ1'ÿ<73(ÿ<4&&ÿB'ÿ8'6'553$Cÿ("ÿB'ÿ9"8'ÿ"8ÿ1Cÿ+3$(AÿE
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  Fall 2015

  The Posse Comitatus And The Office Of Sheriff:
  Armed Citizens Summoned To The Aid Of Law
  Enforcement
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            THE POSSE COMITATUS AND THE OFFICE
                OF SHERIFF: ARMED CITIZENS
               SUMMONED TO THE AID OF LAW
                       ENFORCEMENT

                                                       DAVID B. KOPEL*


                  Posse comitatus is the legal power of sheriffs and other officials to
           summon armed citizens to aid in keeping the peace. The posse comitatus
           can be traced back at least as far as the reign of Alfred the Great in ninth-
           century England. The institution thrives today in the United States; a study
           of Colorado finds many county sheriffs have active posses. Like the law of
           the posse comitatus, the law of the office of sheriff has been remarkably
           stable for over a millennium. This Article presents the history and law of
           the posse comitatus and the office of sheriff from their earliest days to the
           present. This Article also describes how the past and present of the posse
           comitatus can be used in interpretation of the Second Amendment.




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           O’SHEA, FIREARMS LAW AND THE SECOND AMENDMENT (2012). Kopel’s website is
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           Were Cass Sunstein’s Fault, VOLOKH CONSPIRACY (Sept. 6, 2010, 10:18 PM),
           http://www.volokh.com/2010/09/06/because-we-thought-the-errors-in-your-article-were-
           cass-sunsteins-fault/ (last visited Dec. 26, 2013), archived at http://perma.cc/FDY4-D7A3;
           Others’ Mistakes, Maybe, 17 GREEN BAG 2D 128 (2014) (discussing Kopel’s use of
           footnote * to identify responsibility for errors).

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                                                       INTRODUCTION

                 Most people know that in the American frontier West, sheriffs
           sometimes summoned “the posse” to assist in keeping the peace. The
           sheriff’s posse comitatus authority to call forth armed citizens to aid law
           enforcement is deeply rooted in the Anglo-American legal system,
           originating no later than the ninth century. The posse comitatus power
           thrives in the twenty-first century United States. Sheriffs today use their
           posse comitatus power frequently, sometimes daily. This Article describes
           the historical roots, the modern uses, and the Second Amendment
           implications of posse comitatus.
                 The posse comitatus power does not belong exclusively to sheriffs, but
           the power was originally created for them, and they remain its most
           frequent users. Accordingly, Part I of this Article describes the origins and
           history of the office of sheriff. This Part explains how the nature of the
           Anglo-Saxon office provided the foundation for the American sheriff’s role
           as a constitutional officer who is elected directly by the people and enjoys
           great independence in the performance of his duties. While police chiefs
           are appointed to their place within (and not at the top of) the chain of
           command of a city government, sheriffs are autonomous.
                 Part II explicates the law and history of the posse comitatus from
           Anglo-Saxon times to the present. The posse comitatus law of the twenty-
           first century United States is essentially the same as the posse comitatus law
           of England during the ninth century. The sheriff in carrying out his
           peacekeeping duty may summon to his aid the able-bodied adults of the




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           county. He has complete discretion about whom to summon and how the
           persons summoned shall be armed.
                 Part III provides a case study of the posse comitatus in modern
           Colorado. Posses play numerous roles in Colorado. They have thwarted
           the escapes of criminals, including serial killer Ted Bundy. They also
           function as a citizen volunteer corps on a regular, structured basis; they
           assist sheriffs during county fairs, weather emergencies, and hostage
           situations, among many other duties. The most highly trained posse in
           Colorado is the Colorado Mounted Rangers, which provides armed
           assistance to many sheriffs’ offices and police departments as needed.
                 Finally, Part IV considers the relationship between the posse comitatus
           and the Second Amendment. The Second Amendment aims to foster a
           “well-regulated militia,” and, in furtherance of this purpose, the right of the
           people to keep and bear arms is safeguarded. The posse comitatus and the
           militia are not identical, but they overlap and are intertwined to such a
           degree that the disarmament of one would inevitably destroy the other. The
           Second Amendment’s protection of the arms rights of citizens has the
           necessary effect of ensuring that there can be an effective posse comitatus.
           Accordingly, sheriffs and other officials who have the authority to summon
           the posse comitatus are intended third-party beneficiaries of the individual
           right to keep and bear arms. Sheriffs thus have proper third party standing
           to defend and advocate for the Second Amendment rights of citizens in
           their jurisdictions.
                 Following this Article, a lengthy Appendix summarizes state statutes
           related to the posse comitatus; almost all states continue the longstanding
           legal tradition that armed citizens may be summoned to aid of law
           enforcement.
                 The founding father of the posse comitatus was the first true King of
           England: Alfred the Great, who ruled from A.D. 871–899. One reason he is
           the only English king called “the Great” is that he recognized that he could
           not fulfill his own duties solely through his own appointees. To keep “the
           King’s peace,” the government needed the active participation of the
           people. Routine suppression of violent crime and emergency community
           defense against riots, insurrections, and invasions all require that the armed
           people actively defend the authority of the government. This is a moral
           point of the Second Amendment and of its counterparts in state
           constitutions. This is the “active liberty” extolled by Justice Breyer.1



              1
                 STEPHEN BREYER, ACTIVE LIBERTY (2005) (defining “active liberty” to mean citizen
           participation in collective governance, as opposed to the “negative liberty” of an individual
           not being restrained by government).




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           Armed citizens, under the guidance of the leaders chosen by the citizens,
           can embody and effectuate law and order.

                              I. THE CONSTITUTIONAL OFFICE OF SHERIFF
                This Part explains the history of the office of sheriff, from its Anglo-
           Saxon origins through its present role in the United States. Section A
           explores why the Anglo-Saxon model was so revered by the American
           Founders. Section B then describes the origins and features of the office of
           sheriff in Anglo-Saxon England. Section C shows the continuity and
           changes in the office in the three centuries following the Norman Conquest
           of 1066. The most important development was the demise of the custom of
           electing sheriffs. Section D describes the long, slow decline of the office of
           sheriff in England from the seventeenth century to the present. Finally,
           Section E shows how the office of sheriff has thrived in America, from
           colonial days to the present. On both sides of the Atlantic, the sheriff was
           legally autonomous, but in America, the practical autonomy, responsibility,
           influence, and power of the sheriff were much greater. In addition, the
           custom of electing sheriffs was restored in America after centuries of
           disuse. Popular elections became an explicit requirement of most state
           constitutions.

           A. ANGLO-SAXON LIBERTIES
                 To the American Founders, England before the Norman Conquest of
           1066 was a land of liberty.2 The American Revolution began because of
           violations of “the rights of Englishmen” (including the right to bear arms)
           as those rights existed in the late eighteenth century.3 However, as with
           many revolutions, the ambitions for reform grew as the war continued.4
                 The importance of the people’s right to bear arms was clear from the
           start of the Revolution. The war began on April 19, 1775, when Americans
           used their firearms to fight British soldiers who confiscated firearms and


              2
                See, e.g., Letter from John Adams to Abigail Adams (Aug. 14, 1776), in 2 ADAMS
           FAMILY CORRESPONDENCE 96 (L.H. Butterfield ed., 1963); MERRILL D. PETERSON, THOMAS
           JEFFERSON AND THE NEW NATION 57 (1970).
              3
                David B. Kopel, How the British Gun Control Program Precipitated the American
           Revolution, 6 CHARLESTON L. REV. 283, 291–92 (2012); William F. Swindler, “Rights of
           Englishmen” Since 1776: Some Anglo-American Notes, 124 U. PA. L. REV. 1083, 1089–91
           (1976).
              4
                GORDON S. WOOD, THE RADICALISM OF THE AMERICAN REVOLUTION (1992) (while the
           Revolution began because of specific grievances related to the British government’s
           violations of the traditional rights of Englishmen, its length and ultimate success led many
           Americans to aim to create a new political system, rather than simply an improved version of
           the British one).




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           gunpowder by conducting house-to-house searches in Lexington and
           Concord.5 The Americans chased and harried the Redcoats back to Boston,
           besieged them there, and fought several battles.6 On March 17, 1776, the
           British departed Boston by ship.7
                The revolutionaries valued Anglo-Saxon traditions.             After the
           Declaration of Independence was announced, the Continental Congress had
           to decide on the public symbols of the new nation, so on July 6, 1776, a
           committee discussed the design of the Great Seal of the United States.
           Thomas Jefferson urged that the reverse of the seal depict “Hengist and
           Horsa, the Saxon Chiefs, from whom We claim the Honour of being
           descended and whose Political Principles and Form of Government We
           have assumed.”8 Hengist and Horsa were the first Anglo-Saxon rulers in
           England, from the fifth century A.D.9
                The American Revolutionaries and their European intellectual
           ancestors believed that societies of liberty had existed in ancient times, and
           that one purpose of political activity was to recover that lost liberty—
           especially to ensure that the government ruled under The Law, and not
           above it.10
                The eighteenth century Americans who (like many Englishmen of the
           time) viewed Anglo-Saxon England as a historical model of freedom were
           part of a longstanding tradition of idealizing the ancient free Germanic
           tribes, who seemed so different from the despotic Roman Empire and the
           European governments of the second millennium A.D. The idealization of
           Germanic liberty can be traced back as far as the first-century Roman
           historian Tacitus. He extolled the liberties and democracy of the German


              5
                  Kopel, supra note 3, at 291–92.
              6
                  Id. at 309–10.
               7
                  NATHANIEL PHILBRICK, BUNKER HILL: A CITY, A SIEGE, A REVOLUTION 285 (2013).
               8
                  Letter from John Adams to Abigail Adams, supra note 2, at 96.
               9
                  It is not clear whether Hengist and Horsa were historical figures, or legendary.
           Allegedly, they were brothers who founded the Anglo-Saxon kingdom of Kent, the first such
           kingdom in England. See BEDE, 1 ECCLESIASTICAL HISTORY OF THE ENGLISH PEOPLE ch. 15
           (circa 731); GEOFFREY OF MONMOUTH, THE HISTORY OF THE KINGS OF BRITAIN 155−66,
           186−93 (Lewis Thorpe trans., Penguin 1966) (c. 1136).
               10
                   For example, in 1644, the Scottish Presbyterian Samuel Rutherford published Lex,
           Rex, or the Law and the Prince. The point of the title was that the law precedes the king,
           and so the monarch is bound to obey the law. The great Anglo-American ideal of “the rule
           of law” embodies Rutherford’s principle. The law, not the individual who heads the
           government, is the supreme ruler. Further, the true source of law is not the King’s will, but
           God’s will. Accordingly, king-made “law” which is inconsistent with God’s law of natural
           justice and goodness is merely a pretended law, not true law. SAMUEL RUTHERFORD, LEX,
           REX, OR THE LAW AND THE PRINCE 113–19, 125–39 (Sprinkle Pubs., 1982) (1644) (consisting
           of Questions XXIV, XXVI, and XXVII).




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           tribes, whom the Romans attempted to conquer but failed.11 These German
           tribes later became the ancestors of the English (the Anglo-Saxons) and, to
           at least some degree, of the French.12 The French author François
           Hotman’s Francogallia lauded the ancient liberties of the era of
           Charlemagne (ruled A.D. 768–814), implicitly contrasting France’s ancient,
           primitive freedom with the contemporary centralized despotism of the
           Bourbon kings.13 In the Anglosphere, and especially in America, many
           believed that the liberties of the Anglo-Saxons had been destroyed by the
           Norman Conquest in 1066.14

               11
                  TACITUS, DE ORIGINE ET SITU GERMANORUM §§ 11–12 (c. A.D. 98). The book is
           commonly known as Germania. See CHRISTOPHER B. KREBS, A MOST DANGEROUS BOOK:
           TACITUS’S GERMANIA FROM THE ROMAN EMPIRE TO THE THIRD REICH 17 (2011). It was
           published during the reign of Trajan, one of the “five good emperors.” Trajan regarded
           himself as bound by the law, not above it. See Robert G. Natelson, The Government as
           Fiduciary: A Practical Demonstration from the Reign of Trajan, 35 U. RICH. L. REV. 191,
           211 (2001).
               Germania was lost during the Dark Ages and rediscovered in 1425. KREBS, supra, at 56.
           It remained influential for centuries afterward. For example, English opponents of the
           absolutist Stuart monarchs in the seventeenth century relied on Tacitus as part of their
           account of ancient Anglo-Saxon liberty. Ralph E. Giesey & J.H.M. Salmon, Introduction to
           FRANÇOIS HOTMAN, FRANCOGALLIA 120–21 (Ralph E. Giesey & J.H.M. Salmon eds.,
           Cambridge Univ. Press, 2010) (1586). Montesquieu’s 1748 The Spirit of Laws attributed the
           admirable features of the English system of government (such as a limited rather than
           absolute monarchy and an independent legislature) to the ancient Germanic liberty, as
           described by Tacitus. KREBS, supra, at 157–62.
               12
                  WILLIAM STUBBS, SELECT CHARTERS AND OTHER ILLUSTRATIONS OF ENGLISH
           CONSTITUTIONAL HISTORY 1–7 (H.W.C. Davis ed., 9th ed. 1913); KREBS, supra note 11, at
           158–59.
               13
                  HOTMAN, supra note 11. The English radical Whig Algernon Sidney adopted and
           cited Hotman’s argument. ALGERNON SIDNEY, DISCOURSES CONCERNING GOVERNMENT 237
           (London, Booksellers of London and Westminster 1698). (Sidney was revered by the
           American founders; his Discourses synthesized and advanced a vast sweep of prior Western
           authors, from the Bible to his own time, which supported the legitimacy of armed resistance
           to tyranny); Giesey & Salmon, supra note 11, at 121–22. Thomas Jefferson credited Sidney
           as one of four key intellectual sources for the Declaration of Independence. Letter from
           Thomas Jefferson to Henry Lee (May 8, 1825), in THOMAS JEFFERSON, WRITINGS 1500,
           1500–01 (Merrill D. Peterson ed., 1984).
               The first English translations of Francogallia were published in the eighteenth century,
           with an introduction in which the prominent and influential Whig Robert Molesworth traced
           contemporary Whig principles to the ancient Franks and Saxons. Giesey & Salmon, supra
           note 11, at 123–25. A 1775 reprint was published and read by Englishmen who were
           sympathetic to the armed resistance of the Americans. Justin Champion, Introduction to
           ROBERT MOLESWORTH, AN ACCOUNT OF DENMARK, at ix, xxxii–xxxiii (Justin Champion ed.,
           2011).
               14
                  See, e.g., DAVID HUME, 1 HISTORY OF ENGLAND 160–85, 194–98, 208, 226–27
           (Liberty Fund 1983) (1778); id. at 226–27 (“[I]t would be difficult to find in all history a
           revolution more destructive, or attended with a more complete subjection of the antient
           inhabitants.”); id. at 437 (the majority of Anglo-Saxons were reduced “to a state of real




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                 The ideal of ancient Anglo-Saxon England became a powerful
           influence upon the new American nation, which was striving to create what
           Jefferson called “an Empire of liberty.”15
                 The American view of Anglo-Saxon England as a land of liberty has
           influenced American law; the view is one of the sources of the
           Confrontation Clause in the Bill of Rights.16 Anglo-Saxon history would
           also help to shape the office of sheriff in the United States. To Jefferson,
           “the office of sheriff” was “the most important of all the executive officers
           of the county.”17 As the United States in the nineteenth century grew from
           a thinly populated nation on the Atlantic seaboard into a nation stretching
           from ocean to ocean, there was a nearly constant process of forming new
           territories and states, both of them composed of counties. In creating the
           “most important” of all the county offices, the American people modeled
           the office on the best features of the Anglo-Saxon office of sheriff. The
           Americans also included what they considered to be improvements that had
           taken place in the centuries after the Norman Conquest.18 As one historian
           would observe in 1930, “in America today . . . the sheriff retains many of
           his Anglo-Saxon and Norman characteristics.”19 The same is true today:
           the fundamental structure of the American office of sheriff is as it was in
           the nineteenth century and is similar in many ways to its structure in the
           ninth century.




           slavery”); FORREST MCDONALD, NOVUS ORDO SECLORUM: THE INTELLECTUAL ORIGINS OF
           THE CONSTITUTION 76–77 (1985) (noting influence of “the Norman yoke” in American
           Revolution ideology); CHARLES WRIGHT & KENNETH W. GRAHAM, JR., FEDERAL PRACTICE
           AND PROCEDURE § 6342, at n. 80–107 (summarizing the common view of Americans and of
           English Whigs about the imposition of “the Norman yoke” in 1066).
               15
                  See Letter from Thomas Jefferson to George Rogers Clark (Dec. 25, 1780), in 4 THE
           PAPERS OF THOMAS JEFFERSON 237, 237–38 (Julian P. Boyd ed., 1951) (“[W]e shall form to
           the American union a barrier against the dangerous extension of the British Province of
           Canada and add to the Empire of liberty an extensive and fertile Country thereby converting
           dangerous Enemies into valuable friends.”); Letter from Thomas Jefferson to James Madison
           (Apr. 27, 1809), in 1 THE PAPERS OF THOMAS JEFFERSON: RETIREMENT SERIES 168, 169 (J.
           Jefferson Looney ed., 2004) (“[W]e should have such an empire for liberty as she has never
           surveyed since the creation: & I am persuaded no constitution was ever before so well
           calculated as ours for extensive empire & self government.”).
               16
                  WRIGHT & GRAHAM, supra note 14, § 6342.
               17
                  Letter from Thomas Jefferson to Samuel Kercheval (July 12, 1816), in 12 THE WORKS
           OF THOMAS JEFFERSON 3, 6 (Paul Leicester Ford ed., 1905).
               18
                  See infra text accompanying notes 60–146.
               19
                  CYRUS HARRELD KARRAKER, THE SEVENTEENTH-CENTURY SHERIFF: A COMPARATIVE
           STUDY OF THE SHERIFF IN ENGLAND AND IN THE CHESAPEAKE COLONIES, 1607−1689, at 159
           (1930).




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           B. THE ANGLO-SAXON SHERIFF
                This Section describes the origins and early characteristics of the office
           of sheriff. The formalization of that office into what is essentially the same
           office in modern America was one consequence of King Alfred the Great’s
           victories against Danish invaders. Therefore, this Section proceeds
           chronologically from ancient times until 1066, describing developments in
           the office of sheriff in the context of contemporary political events.
                After Roman rule receded from England, Germanic tribes—
           specifically, the Angles and the Saxons20—repeatedly invaded Britain. The
           tribes settled in England, which became a heptarchy (seven distinct
           kingdoms).21 The Anglo-Saxons needed an official who would directly
           enforce the king’s laws and look out for the king’s interests. Thus was born
           “the king’s reeve”—a man of the shire directly appointed by the king,
           whose duty was to carry out the king’s commands.22
                In the English system of government, the second oldest title of office is
           “sheriff.”23 The Anglo-Saxon word for what we today call a “county” was
           “shire.”24 The word “sheriff” is a compound of “seyre” (meaning “shire”)
           and “reve” (meaning “bailiff” or “guardian”).25 The sheriff is therefore the


              20
                  THE ANGLO-SAXON CHRONICLE 25–32 (James H. Ford ed., James Ingram trans., El
           Paso Norte Press 2005) (describing events of years A.D. 449–607); STUBBS, supra note 12, at
           1.
               21
                  The seven kingdoms were Wessex, Mercia, Northumbria, East Anglia, Essex, Kent,
           and Sussex. The first four of these were usually the most powerful. These kingdoms later
           consolidated into larger states. HUME, supra note 14, at 23–54; STUBBS, supra note 12, at
           10–11.
               22
                  The king also had great landowners, “ealdormen” (who outranked the reeves), but on a
           practical basis, the reeves did more of the day-to-day work. RICHARD ABELS, ALFRED THE
           GREAT 270–74 (1998).
               23
                  Thomas Garden Barnes, Introduction to MICHAEL DALTON, OFFICIUM VICECOMITUM:
           THE OFFICE AND AUTHORITIE OF SHERIFS iii (The Lawbook Exchange 2009) (1623) (“Older
           than the great officers of state, older than Parliament, older than the courts of law.”). The
           oldest title is “king.” WILLIAM ALFRED MORRIS, THE MEDIEVAL ENGLISH SHERIFF 1 (1927)
           (“With the single exception of kingship, no secular dignity now known to English-speaking
           people is older.”).
               24
                  Consistent with the original title of “shire-reeve,” the Colorado sheriffs who have filed
           suit against gun control laws enacted in 2013 (see Part III, infra) see themselves as
           protecting their counties against oppressive intrusions.
               25
                  WILLIAM HENRY WATSON, A PRACTICAL TREATISE ON THE OFFICE OF SHERIFF 1
           (London, S. Sweet 1848); EDWARD COKE, 2 THE FIRST PART OF THE INSTITUTES OF THE LAWS
           OF ENGLAND; OR, A COMMENTARY UPON LITTLETON 168(a) (London 1823) (1628)
           (“‘Sherife.’ Shireve is a word compounded of two Saxon words, viz. shire, and reve. Shire,
           satrapia, or comitatus, commeth of the Saxon verbe shiram, i.e. partiri, for that the whole
           realme is parted and divided into shires; and reve is praefectus, or praepositus; so as shireve
           is the reve of the shire, praefectus satrapiae, provinciae, or comitatûs.”). Coke upon
           Littleton is the first volume of Coke’s Institutes of the Laws of England. Prior to Blackstone,




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           guardian of the county. One can find some references to “sheriffs” in
           Anglo-Saxon texts preceding Alfred the Great.26 Nevertheless, we can trace
           the regularization of the office of sheriff and its posse comitatus power, as
           well as the militia that was later recognized by the Second Amendment, to
           Alfred’s reign.
                 Of all English monarchs from post-Roman times to Queen Elizabeth
           II, only one is called “the Great.” He is Alfred. As a second son, Alfred
           was not expected to become king. Well-educated, multilingual, and deeply
           religious, he studied for a while in Rome.27 He ascended to the throne
           during a war with the Danes in which his older brother was killed.28 The
           English lived in near-constant fear of Danish invasion and pillage; they
           were frequently oppressed by the Danes who had conquered parts of
           England.29
                 In A.D. 878, as The Anglo-Saxon Chronicle (a historical work begun
           during Alfred’s time) explains, the Danes triumphed completely, and all the
           people of England were “subdued to their will;—ALL BUT ALFRED THE
           KING. He, with a little band, uneasily sought the woods and fastnesses of
           the moors.”30 With nothing but a guerilla band hiding in the swamps,
           Alfred kept alive the principle of English sovereignty and led the English
           back from the brink of annihilation. The bookish man became one of the
           greatest military strategists of his century. Once, he disguised himself as a
           harper, and entered the Danish camp—entertaining the Danes with song and
           story, meeting with the Danish prince Guthrum in his tent—and acquiring
           military intelligence.31 His growing army finally expelled the most recent
           Danish invaders.32 The Danish settlements in England were brought under


           Institutes was the foundational text for Anglo-American courts, lawyers, and law students.
           “Littleton” was Thomas Littleton’s Treatise on Tenures, first published in 1481 or 1482,
           although Coke’s commentaries go far beyond the subjects covered by Littleton.
               26
                  See EDWARD COKE, 1 THE SELECTED WRITINGS OF SIR EDWARD COKE 61 (Steve
           Sheppard ed., Liberty Fund 2003) (1602) (“[T]he learned know that Sheriffes were great
           officers and ministers of justice, as now they are, long before the Conquest . . . .”); id. at 302
           (“[A]s far as the Reign of the often named King Arthur . . . the Offices of the Keepers or
           Senators of the Shires or Counties, Custodes seu Praepositi Comitatus, of later times called
           Shireves . . . .”); COKE, supra note 25, at 168(a).
               27
                  HUME, supra note 14, at 64.
               28
                  Id. at 63–64. Their father had died earlier.
               29
                  Id. at 57–59, 62–63.
               30
                  THE ANGLO-SAXON CHRONICLE, supra note 20, at 67 (discussing the events of A.D.
           878). See also HUME, supra note 14, at 66–68 (explaining that for a while, Alfred disguised
           himself as a peasant and found refuge working as an assistant to a cowherd, then later
           assembled guerillas on two acres of firm ground in a bog in Somersetshire from whence he
           led raids for a year).
               31
                  HUME, supra note 14, at 68.
               32
                  Id. at 69.




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           his sovereignty and were no longer able to plunder the English at will. He
           was the first King of England.33
                 King Alfred recognized that another wave of Danish invasion was
           inevitable, so he began building England’s capacity for self-defense. This
           capacity was founded on the idea that all the freemen were to be armed,
           trained, and ready to fight to defend their local and national communities.
           He created the English militia, which consisted of all armed people.34 In the
           1939 case United States v. Miller, the Supreme Court unanimously
           acknowledged the militia of the Second Amendment to be the institution
           founded by Alfred.35
                 Among Alfred’s most important ideas was dividing the militia in each
           shire into two parts, only one of which would be required to serve at a given
           time.36 The practical benefit was enormous. The men who were not
           serving in a particular campaign could work the farms, keep the economy
           functioning, and take care of the women and children. Meanwhile, the men
           who were actively serving in the militia were willing to go on longer
           campaigns because they did not feel compelled to return home as fast as
           possible in order to plant, cultivate, or harvest the crops.37 When the Danes
           tried invading again, they were routed.38
                 During the American Revolution nearly a millennium later, the militia
           system would again be a foundation of victory. Soldiers in the Continental
           Army might be away from home for years, but the majority of American
           fighters came from the militia. Because they were not full-time soldiers,
           they could return home to take care of their farms and keep the American
           economy functioning.39
                 A second security reform of Alfred the Great was reformation of the
           office of sheriff.40 After the period of Danish oppression, the English had


              33
                  Id. at 70. Alfred’s grandfather, Egbert, was the first to style himself King of England,
           but Egbert never ruled the large inland kingdom of Mercia. Id.
               34
                  Id. at 70−72.
               35
                  United States v. Miller, 307 U.S. 174, 179 (1939) (“Blackstone’s Commentaries, Vol.
           2, Ch. 13, p. 409 points out ‘that king Alfred first settled a national militia in this kingdom’
           and traces the subsequent development and use of such forces.”).
               36
                  ABELS, supra note 22, at 196–98; HUME, supra note 14, at 70−71; THE ANGLO-SAXON
           CHRONICLE, supra note 20, at 71 (“A.D. 894 . . . The king had divided his army into two
           parts; so that they were always half at home, half out; besides the men that should maintain
           the towns.”). Alfred may have copied the example of the legendary female warrior kingdom
           of the Amazons, which divided its military in half. ABELS, supra note 22, at 197−98.
               37
                  See HUME, supra note 14, at 70–71.
               38
                  Id. at 71−74.
               39
                  NICHOLAS J. JOHNSON, DAVID B. KOPEL, GEORGE A. MOCSARY & MICHAEL P. O’SHEA,
           FIREARMS LAW AND THE SECOND AMENDMENT 164–67 (2012).
               40
                  HUME, supra note 14, at 78. Hume here cites “Ingulf p. 870.” This cite is to HISTORIA




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           devolved into lawlessness and robbery.41 Alfred fixed England’s county
           boundaries with greater precision and used the counties to organize national
           and community self-defense.42 The sheriff was the pillar of this self-
           defense system and often the leader of the county militia.43 As will be
           detailed in Part II, the sheriff exercised the authority to summon and
           command the armed body of the people not only in the militia, but also in
           several related forms: posse comitatus, “hue and cry,” and “watch and
           ward.”44
                Thus, according to medieval historian Frank Barlow, “[i]t is not
           unlikely that every freeman had the duty, and right, to bear arms” in Anglo-
           Saxon times.45 When carrying out the duty to bear arms, the freeman would
           most commonly be under the leadership of the sheriff. The Second
           Amendment also recognizes the individual right to keep and bear arms for
           all lawful purposes and the duty to bear arms when summoned to the
           defense of community, as in the militia or the posse comitatus; the legal
           implications will be explored in Part IV.46
                As the county leader of the armed people, “the reeve became the
           guarantor of the survival of the group.”47 “[T]he people maintained law and
           order among themselves” because the central government of the king had
           no practical ability to do so.48


           CROYLANDENSIS (Chronicle of the Abbey of Croyland), which covers A.D 655–1486, and
           whose first named author is claimed to be “Ingulf” (or “Ingulph”). The document was
           probably written around the thirteenth or fourteenth centuries, but purported to be older,
           probably in order to support some of the Abbey’s land claims. W.G. SEARLE, INGULF AND
           THE HISTORIA CROYLANDENSIS (1894). On the issue of sheriffs, Historia is a credible source,
           in that it likely reflects an oral tradition that was well established and widely known.
               41
                  HUME, supra note 14, at 75–76.
               42
                  COKE, supra note 26, at 303; JUDITH A. GREEN, ENGLISH SHERIFFS TO 1154, at 9
           (1990); THE ANGLO-SAXON CHRONICLE, supra note 20, at 65–75.
               43
                  COKE, supra note 26, at 303; WATSON, supra note 25, at 1–2. Shire boundaries were
           stabilized in the south earlier than elsewhere; they did not take their final shape until well
           after the Norman Conquest. GREEN, supra note 42, at 9. The Anglo-Saxon Chronicle’s first
           mention of sheriffs is for the year A.D. 778, which is a century before Alfred’s reign. THE
           ANGLO-SAXON CHRONICLE, supra note 20, at 54. For more on Anglo-Saxon sheriffs and the
           historical uncertainties surrounding them, see GREEN, supra note 42, at 9–11. Another of
           Alfred’s reforms was the division of counties into smaller districts for maintenance of law
           and order; the armed community assemblies with twelve freeholders to resolve disputes were
           a foundation of the jury system. HUME, supra note 14, at 76–77. Alfred’s law code became
           a basis of the common law. Id. at 78.
               44
                  See discussion infra Part II.
               45
                  FRANK BARLOW, EDWARD THE CONFESSOR 172 (1970). Barlow is the head of the
           History Department at the University of Exeter.
               46
                  See discussion infra Part IV.
               47
                  DAVID R. STRUCKHOFF, THE AMERICAN SHERIFF 3 (1994).
               48
                  Id. at 4.




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                 A millennium later, Alfred the Great was still revered by Englishmen
           and Americans of all political persuasions.49 He had brought peace and
           security to England, while, in the words of the English political philosopher
           David Hume, “[he] preserved the most sacred regard to the liberty of his
           people; and it is a memorable sentiment preserved in his will, that it was
           just the English should for ever remain as free as their own thoughts.”50
                 Government records from Anglo-Saxon England are hardly complete,
           but there are records of sheriffs present in all English counties by A.D.
           992.51 The duties of sheriffs were numerous:
              [T]he original role of the sheriff was to act as the personal representative of the King
              in each county. Mediaeval government was not based on any concept of separation of
              powers and the duties of sheriffs were therefore both executive and judicial. They
              were responsible for commanding the local military [the militia] in cases of invasion
              or rebellion, they collected local taxes, investigated suspicious deaths, executed Royal
              Writs and generally maintained law and order. In their law enforcement role they
              could call upon the local freemen to form a posse comitatus to hunt for outlaws and,
              in their judicial role, they presided over the shire court, exercising both civil and
              criminal jurisdiction.52
                The sheriff’s responsibilities included mobilizing the people to resist
           invasion or for other military purposes, as leaders of the county militias.53
           So when William the Conqueror invaded in 1066, “[h]is primary
           adversaries were King Harold’s Sheriffs.”54 Sheriff Esgar defended London




               49
                  See, e.g., Daniel Webster, Oration at the Dedication of the Bunker Hill Monument,
           (June 17, 1825) (concluding paragraph extols “our fathers” as men like “Alfred, and other
           founders of states”), in WEBSTER’S FIRST BUNKER HILL ORATION 42 (Boston, Leach,
           Shewell, and Sanborn 1889); Barbara Yorke, The Most Perfect Man in History?, HIST.
           TODAY 49 (October 1999).
               50
                  HUME, supra note 14, at 79.
               51
                  Steve Gullion, Sheriffs in Search of a Role, 142 NEW L.J. 1156, 1156 (1992). There
           are also records of “shire-reeves” during the reign of King Edgar (950–75). Id.
               52
                  Id.
               53
                  MORRIS, supra note 23, at 27; see also ANGLO-SAXON CHRONICLE, supra note 20, at
           147 (A.D. 1056, “Elnoth the Sheriff” slain during war against the Welsh king); BARLOW,
           supra note 45, at 173 (in Anglo-Saxon times, “[w]hereas the earl and the sheriffs would
           normally lead the troops on campaign, it would often fall to the bishop to see to the defence
           of his diocese, particularly at times when it was denuded of its best fighting men.”). See also
           ABELS, supra note 22, at 273 (ealdormen were responsible for levying men for the king’s
           army; sheriffs were responsible for the defense of the village-based fortifications). Sheriffs
           also occasionally summoned the militia (or “fyrd”). C. WARREN HOLLISTER, ANGLO-SAXON
           MILITARY INSTITUTIONS ON THE EVE OF THE NORMAN CONQUEST 68 (1962). However, by
           late Saxon times, earls were probably higher ranked as military leaders than sheriffs. Id. at
           94–95.
               54
                  STRUCKHOFF, supra note 47, at 8.




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           against William’s army.55 At the Battle of Hastings, “King Harold’s last
           battle was led by his sheriffs.”56
                 Sheriffs tended to be from the lesser nobility.57 A baron might be a
           great landholder with real property in several counties (and, later, as a
           Member of Parliament, a player on the national political stage). In contrast,
           the sheriff would usually be man of the shire. His interests and property
           were within a single county.58 The sheriff needed to be man of independent
           means, because the national government provided him with no support, not
           even a salary. He was responsible for paying all the expenses of his office
           (e.g., the salaries of the undersheriff and the deputies), and he would keep
           whatever revenues he earned from his services (e.g., fees for serving
           writs).59

           C. THE SHERIFF’S OFFICE FROM THE NORMAN CONQUEST TO THE
               FOURTEENTH CENTURY
                Although the office of sheriff in tenth century England has much in
           common with the office in twenty-first century America, there were some
           important changes in the centuries following the Norman Conquest of 1066.
           Two of these changes would later be incorporated by Americans: the
           elimination of the sheriff’s judicial role60 and the requirement that sheriffs
           take an oath and post a bond.61 Another Norman innovation—making the
           sheriff’s office appointive rather than elective—was eventually accepted in
           England.62 But it would later be rejected in the United States.63

              55
                  MORRIS, supra note 23, at 27.
              56
                  STRUCKHOFF, supra note 47, at 8.
              57
                  See GREEN, supra note 42, at 15 (stating that on the eve of the Norman Conquest,
           sheriffs were “men of substance in their own shires, but their landed wealth was not on the
           same scale as that of the earls or the stallers . . .”).
              58
                  The custom of local sheriffs did not always prevail. In the fourteenth century, several
           Sheriffs served successively in multiple counties. RICHARD GORSKI, THE FOURTEENTH-
           CENTURY SHERIFF 59, 159, 162–70 (2003). During the thirteenth century, the issue was often
           contested, with locally-oriented sheriffs gaining temporary ascendency by the latter part of
           the century. J.R. Madicott, Edward I and the Lessons of Baronial Reform: Local
           Government, 1258–80, in 1 THIRTEENTH CENTURY ENGLAND 27 (P.R. Coss & S.D. Lloyd
           eds., 1986).
              59
                  Although for concision I usually refer to pre-modern sheriffs as “he,” there were some
           female sheriffs, such as the Countess of Salisbury, who was Sheriff of Whiltshire during
           Henry III (reigned 1227–1272). J. H. BAKER, AN INTRODUCTION TO ENGLISH LEGAL HISTORY
           530 n.4 (3d ed. 1990). Also, “Ann Countess of Pembroke . . . had the office of hereditary
           sheriff of Westmoreland, and exercised it in person.” COKE, supra note 25, at 326(a) n.2.
              60
                  Discussed infra at Part I(C)(1).
              61
                  Discussed infra at Part I(C)(3).
              62
                  Discussed infra at Part I(C)(2).
              63
                  Discussed infra at Part I(E).




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                                             1. Sheriffs’ Courts
                The most important step towards the end of the sheriffs’ judicial
           function came with Magna Carta in 1215, although Magna Carta confirmed
           a trend that had been going on for a while.
                The Norman Conquest had been disastrous for many of the English
           people, as they were subjugated to tyranny and poverty. 64 The problem was
           exacerbated by the conduct of King John (reigned 1199–1216).65 According
           to David Hume’s The History of England, “[t]he only happiness was, that
           arms were never yet ravished from the hands of the barons and people: The
           nation, by a great confederacy, might still vindicate its liberties.”66
                An armed revolt forced King John to agree to Magna Carta on June 12,
           1215. Later monarchs were repeatedly compelled to declare that they too
           were bound by the Great Charter and would rule in accordance with it.67
           Magna Carta was created by the barons and contained great universal
           principles of ordered liberty, as well as items involving the narrower
           concerns of the barons of the time.
                One broad principle of liberty contained in Magna Carta was the “law
           of the land” article, which is an ancestor of the U.S. Constitution’s
           guarantees that no persons shall be deprived of life, liberty, or property
           without due process of law.68 The Magna Carta of 1215 (although not its
           subsequent reissues by other monarchs) even included a provision
           authorizing the use of force against the king if he violated Magna Carta.69
                One clause of Magna Carta required the discontinuance of the sheriffs’
           courts for holding pleas of the crown.70 At the time, “pleas of the crown”
           was a legal term of art for certain cases involving issues where a royal
           interest was involved.71 Efforts to restrict sheriffs’ judicial role had been

              64
                 See HUME, supra note 14, at 437.
              65
                 Id. at 436–38.
              66
                 Id. at 437.
              67
                 WILLIAM SHARP MCKECHNIE, MAGNA CARTA 36–40, 139–59 (1914).
              68
                 U.S. CONST. amends. V, XIV:
              No free man shall be seized or imprisoned, or stripped of his rights or possessions, or
              outlawed or exiled, or deprived of his standing in any other way, nor will we proceed
              with force against him, or send others to do so, except by the lawful judgement of his
              equals or by the law of the land.
           Magna Carta of 1215, reprinted in G.R.C. DAVIS, MAGNA CARTA 21 (1963).
              69
                 Magna Carta of 1215, reprinted in J.C. HOLT, MAGNA CARTA app. at 469–73 (2d ed.
           1992) (quoting art. 61); David I. Caplan & Sue Wimmershoff-Caplan, Magna Carta, in 2
           GUNS IN AMERICAN SOCIETY 371 (Gregg Lee Carter ed., 2d ed., 2007); David B. Kopel, The
           Catholic Second Amendment, 29 HAMLINE L. REV. 519, 540–41 (2006).
              70
                 Magna Carta of 1215 § 24, supra note 69, at 457 (“No sheriff, constable, coroners or
           other of our bailiffs may hold pleas of our Crown.”); HUME, supra note 14, at 445.
              71
                 See MCKECHNIE, supra note 67, at 305–06.




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           going on for the last century.72 The standard view of historians has been
           that the sheriffs and their courts were oppressive,73 although a modern
           commentator suggests that the upper nobility’s actions against the sheriffs’
           courts came about “not because of general dissatisfaction with their
           conduct, but because the earls and barons were displeased at the local
           feudal courts’ loss of ‘business’ (from which they derived revenue) to the
           increasingly popular sheriffs’ courts.”74
                Regardless, Magna Carta was a major step in sheriffs losing their
           judicial role. Magna Carta did not by its terms apply in Scotland, so
           sheriffs continued to preside over the sheriffs’ courts there, and these courts
           are the heart of the Scottish judicial system today.75 The Scottish sheriffs
           also had the same law enforcement powers and duties as their English
           counterparts, such as raising the hue and cry.76 In the United States, sheriffs
           retain many traditional duties to the courts, such as providing court security
           and serving warrants, but they have no judicial role in presiding over courts
           or deciding cases.

                                           2. Election of Sheriffs
                In the United States, it is axiomatic that the sheriff is elected by the
           people.77 The American principle is based on the Anglo-Saxon custom of
           electing sheriffs, although precisely how many sheriffs were elected in
           either Anglo-Saxon or Norman times is difficult to say.
                There is some debate about whether sheriffs were elected or appointed
           during the Anglo-Saxon era. According to Blackstone, in Anglo-Saxon
           times, “sheriffs were elected: following still that old fundamental maxim of
           the Saxon constitution, that where any officer was entrusted with such

               72
                  See, e.g., STUBBS, supra note 12, at 121–22 (stating that Henry I (reigned 1100–1135)
           forbade sheriffs to hold sheriffs’ courts more frequently than at customary times).
               73
                  See e.g., GREEN, supra note 42, at 17; MCKECHNIE, supra note 67, at 311.
               74
                  MCKECHNIE, supra note 67, at 311; Tamara Buckwold, From Sherwood Forest to
           Saskatchewan: The Role of the Sheriff in a Redesigned Judgment Enforcement System, 66
           SASK. L. REV. 219, 227 n.40 (2003); Gullion, supra note 51, at 1156. It should be noted that
           at least some sheriffs had supported the Magna Carta movement. Once King John regained
           his political power, these sheriffs were promptly dismissed from office. MORRIS, supra note
           23, at 161. “The spirit of the sheriff and his office permeated Magna Carta from start to
           finish and considered in this aspect alone it is the finest example we possess to prove the
           importance of the sheriff’s role in the governance of medieval England.” IRENE GLADWIN,
           THE SHERIFF 124 (1974). Five clauses in Magna Carta directly dealt with the operation of
           sheriffs’ offices; another clause removed certain named sheriffs; and nineteen others
           involved administrative reforms which the sheriffs would help to effectuate. Id. at 123–24.
               75
                  Gullion, supra note 51, at 1157.
               76
                  WILLIAM C. DICKINSON, THE SHERIFF COURT BOOK OF FIFE 1515–1522, at xxxix
           (1928), cited in STRUCKHOFF, supra note 47, at 18. “Hue and cry” is discussed infra Part II.
               77
                  See infra text accompanying notes 136–146.




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           power, as if abused might tend to the oppression of the people, that power
           was delegated to him by the vote of the people themselves.”78
                 While the sheriffs of nineteenth century England were appointed and
           not elected, the author of an 1848 treatise on sheriff law explained that
           “[s]heriffs were formerly chosen by the inhabitants of their respective
           counties; in confirmation of which it was ordained by the statute of 28 Edw.
           1, c. 8 and 13, that ‘the people should have the election of sheriffs in every
           shire, when the shrievalty is not of inheritance.’”79 It was not surprising
           that Americans embraced the principle of election of sheriffs or that most
           states have constitutionalized this principle.80 In the twentieth century,
           however, legal historians suggested that earlier writers had overstated the
           extent to which English sheriffs were elected.81 Modern historians have
           shown that from the time of the Norman Conquest onward, most sheriffs




               78
                  1 WILLIAM BLACKSTONE, COMMENTARIES *409. See also HUME, supra note 14, at 163
           (citing § 35 of the laws of Edward the Confessor). What Hume did not know is that the
           document known as “The Laws of Edward the Confessor” (Leges Edwardi Confessoris) is
           not original to the reign of Edward the Confessor (an Anglo-Saxon king who reigned 1042–
           66). Rather, the document likely dates to the early 1100s, after the Norman Conquest, and is
           regarded as a reasonably accurate description of English law at the time it was actually
           written. BRUCE R. O’BRIEN, GOD’S PEACE AND KING’S PEACE: THE LAWS OF EDWARD THE
           CONFESSOR 3–6 (1999). As for sheriffs, election was certainly not standard in the early
           twelfth century. It might be inferred that the document’s assertions about Anglo-Saxon
           sheriff elections reflected a popular understanding or national memory that was credible to
           the document’s twelfth century readers.
               To make matters all the more complicated, the provision in The Laws of Edward the
           Confessor about the election of sheriffs was probably not in the original version. Rather, it
           may be an interpolation that was added as some later unknown date. At least that appears to
           be the conclusion of Benjamin Thorpe, whose 1840 compilation of Anglo-Saxon laws
           relegates to a footnote the material about sheriff elections. See Leges Regis Edwardi
           Confessoris in BENJAMIN THORPE, ANCIENT LAWS AND INSTITUTES OF ENGLAND 197
           (London, 1840) (note to § 32 explains that Thorpe is using Lambard’s edition of The Laws of
           Edward the Confessor and that the language appears to be an interpolation; the sheriff
           language is part of a long paragraph which states in relevant part: “sicut et vicecomites
           provinciarum et comitatum eligi debent.” In English: “and also the sheriffs [vicecomites] of
           the provinces and counties ought to be elected.”).
               79
                  WATSON, supra note 25, at 9. The statutory citation is to the twenty-eighth year of the
           reign of King Edward I, which would have been 1300.
               80
                  See infra text accompanying notes 136–146.
               81
                  GORSKI, supra note 58, at 34–35; GREEN, supra note 42, at 13–14 (describing
           appointment of sheriffs in the century following the Norman Conquest); MORRIS, supra note
           23, at 17.




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           were appointed. As far as we know, they were elected only in London82
           and in some southwestern counties.83
                We may never have a full sense of how the office of sheriff functioned
           in Anglo-Saxon times. But we can be certain that when King Edward I and
           Parliament in 1300 promulgated the election statute (Articuli supra Cartas),
           the election of sheriffs was a change, rather than a “confirmation” of a then-
           current general practice.84 Edward Coke, an enormously influential legal
           writer, described Edward I as having “restored to his people the ancient
           election of sheriffes . . . .”85 But even after Edward I’s statute of 1300, we
           have only one record from the following decade for a sheriff election taking
           place.86
                The next king, Edward II, was unpopular during his reign, and most
           historians have regarded him as mediocre or worse. 87 Among the problems
           was his very close relationship with his best friend, Piers Gaveston, whom
           much of the rest of the nobility believed unhinged Edward’s judgment.88
           There was also Edward’s propensity for seizing whatever property he

               82
                  HUME, supra note 14, at 278 (indicating that Henry I, upon his coronation in 1100,
           issued a charter to London granting the city the right to elect its own sheriff); id. at 453–54
           (noting that, later, King John granted to London the “power to elect and remove its sheriffs
           at pleasure”).
               83
                  MORRIS, supra note 23, at 182–83 (noting that men of these counties paid a fee to the
           king for the privilege of electing the sheriff); WILLIAM STUBBS, 2 THE CONSTITUTIONAL
           HISTORY OF ENGLAND 217 (4th ed. 1896) (“[T]he freeholders of Cornwall and Devon had
           purchased the like privilege from John and Henry III.”).
               84
                  GORSKI, supra note 58, at 12, 34–37; JOHN M. KEMBLE, ANGLO-SAXON LAWS AND
           INSTITUTES 60 (London, Richard & John E. Taylor 1841) (explaining that during the Anglo-
           Saxon period, elective sheriffs were replaced by appointed ones as kings gained more
           power); STUBBS, supra note 83, at 217–18 (Section 8 of the Articuli Super Cartas provided
           for election of sheriffs, except in counties where the office is hereditable or held in fee); cf.
           GORSKI, supra note 58, at 51 (King’s rejection of 1361 petition from the people of
           Cumberland to elect their sheriff).
               In 1258, the Provisions of Oxford required that sheriffs should live in their county, and
           should serve for only one year. STUBBS, supra note 83, at 216–17. The next year, it was
           provided that the king’s discretion on appointments would be limited; he would have to
           appoint one of four men nominated by the county court. Id. at 217.
               85
                  EDWARD COKE, 2 INSTITUTES OF THE LAWS OF ENGLAND 175 (The Lawbook Exchange
           2002) (1628); id. at 558 (“Of ancient time,” sheriffs were “in every severall county chosen in
           full or open county by the freeholders of that county . . . .”). Coke served as Attorney
           General, Speaker of the House of Commons, and Chief Justice in the early seventeenth
           century. Payton v. New York, 445 U.S. 573, 594 n.36 (1980) (citing A. E. DICK HOWARD,
           THE ROAD FROM RUNNYMEDE 118–119 (1968)).
               86
                  MORRIS, supra note 23, at 184–85.
               87
                  E.g., SEYMOUR PHILLIPS, EDWARD II 5 (2012) (“The general opinion of Edward II
           from his own day to the present has been that he was a failure.”); STUBBS, supra note 83, at
           323–25.
               88
                  STUBBS, supra note 83, at 319–32. See, e.g. PHILLIPS, supra note 87, at 161–62.




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           wanted. These seizures were to support either his military adventures or the
           extravagant lifestyle that he and the Gaveston family led during the periods
           when the Gavestons had not been forced into temporary exile by
           Parliament.89
                 Rising tensions led an ad hoc assembly of barons to proclaim the
           Ordinances of 1311.90 Like Magna Carta, the Ordinances of 1311 contained
           provisions regarding civil liberty (e.g., a provision against uncompensated
           seizure of property) and provisions relating to the barons’ narrow self-
           interests. Item 17 demanded an end to the election of sheriffs. The varying
           political balance of power affected how much heed Edward II was willing
           to pay to the Ordinances of 1311, but he did eventually accede to the
           demand about sheriffs by promulgating the Sheriff’s Act of 1315.91 He thus
           gave statutory force to Item 17 of the Ordinances of 1311.92
                 Two other portions of the Ordinances, Items 10 and 39, perhaps
           provide some context for Item 17. Many of the Ordinances attempted to
           end the King’s habit of helping himself to other people’s property; the
           formal term for such monarchical theft was “prises.” Item 10 of the
           Ordinances of 1311 stated, “[a]nd because it is to be feared that the people
           of the land will arise on account of the prises and divers oppressions
           inflicted before this time . . . .” Given the continuing role of sheriffs as
           military leaders,93 and given their continuing role in leading bodies of


              89
                  PHILLIPS, supra note 87, at 156–71.
              90
                  Edward II, 4 ENCYLOPAEDIA BRITANNICA 375 (15th ed., 2002); THE NEW
           ORDINANCES, 1311 (1311), reprinted in 3 ENGLISH HISTORICAL DOCUMENTS 527–39 (Harry
           Rothwell ed., 1975).
               91
                  “That the Sheriffs from henceforth shall be assigned by the Chancellor, Treasurer,
           Barons of the Exchequer, and by the Justices . . . .” Statute of Lincoln, 1315, 9 Edw. 2 stat.
           2; WATSON, supra note 25, at 9 (noting that appointment is “on the morrow of All Souls”);
           see also 14 Edw. 3, ch. 7 1 STATUTES OF THE REALM 283 (1340) (sheriffs to be appointed by
           the Exchequer). The process for appointment was that on November 1 (All Souls Day), high
           government officials would meet at the Exchequer in London. They would choose three
           persons per county, and the king would from each list of three appoint a sheriff to a one-year
           term. KARRAKER, supra note 19, at 7. “The Exchequer was a court of audit meeting twice
           each year at Easter and Michaelmas in the treasury, to scrutinize the accounts presented by
           sheriffs and other financial agents. Its name was taken from the checked cloth on a table
           round which sat leading members of the royal household.” GREEN, supra note 42, at 12. In
           Anglo-Saxon times, the king’s revenue was kept in boxes or barrels in the king’s bedroom.
           BARLOW, supra note 45, at 186.
               92
                  “In addition, we ordain that sheriffs be appointed henceforth by the chancellor,
           treasurer and the others of the council that are present . . . .” THE NEW ORDINANCES, 1311,
           supra note 90, at 530.
               93
                  See GORSKI, supra note 58, at 52 (explaining the fourteenth century role of sheriffs in
           the northern counties bordering Scotland as military leaders); MORRIS, supra note 23, at 58,
           117, 151–53; MICHAEL POWICKE, MILITARY OBLIGATION IN MEDIEVAL ENGLAND 157 (1962)
           (in 1319, Sheriff of York ordered to lead a fifteen day expedition against the Scots); STUBBS,




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           armed men in the posse comitatus and other law enforcement activities
           (discussed infra), the possibility could arise that elected sheriffs would
           serve as the leaders of a discontented populace which might revolt against
           an oppressive, kleptocratic king.
                Greater context for the abolition of sheriff elections comes from Item
           39, which required that various officials, including sheriffs, “shall be
           sworn . . . to keep and hold all the ordinances made by the prelates, earls,
           and barons . . . without contravening any point of them.”94 The motive for
           this clause appears to be that sheriffs (and some other officials) were not
           enforcing various decrees issued by the upper nobility. In situations where
           the great baron of a county issued a decree the electorate did not like,
           perhaps some elected sheriffs had been reluctant to enforce such decrees.
                In 1338, King Edward III ordered that the counties elect their sheriffs,
           but this was abandoned in 1340, replaced by appointment by the Exchequer,
           the treasury office of the monarchy.95 The “Good Parliament” of 1376
           unsuccessfully demanded that sheriffs be elected.96 Still, kings continued to


           supra note 83, at 220 (noting that, militarily, the sheriff was “the proper leader” for “minor
           tenants-in-chief” and for “the body of freemen sworn under the assize of arms”; furthermore,
           the leading tenants of the king directly commanded their own vassals, but sometimes the
           sheriffs were put in charge of them, too); id. at 230, 288 (noting that sheriff was responsible
           for enforcing the Assize of Arms, which required all free men to own various arms and
           armor).
              94
                  THE NEW ORDINANCES, 1311, supra note 90, at 539. The barons were plainly not
           opposed to the principle of using armed force against a monarch. They had a long history of
           doing so, against Edward II and several of his predecessors. However, it would be
           understandable for the great barons and earls to try to ensure that only they would have the
           ability to make the decision to use force.
              95
                  STUBBS, supra note 83, at 281, 401–02.
              96
                  THE PARLIAMENT ROLLS OF MEDIEVAL ENGLAND 1275–1504, vol. 5, EDWARDS III
           1351–1377, at 373 (item 186, no. CXXVIII in petitions from the commons):
              [T]he sheriffs of the counties of the realm should be chosen in the same manner [“by
              election from the best men of said counties”] from year to year, and not appointed by
              bribery in the king’s court, as they used to do, for their own profit and by procurement
              of the maintainers of the region, to sustain their deceits and evils and their false
              quarrels, as they have commonly done before this time, in destruction of the people.

           King Edward III brushed off the petition, responding “there is a bill which has been
           answered.” Id. Presumably he was referring to the legislation described above, providing
           for appointment of sheriffs in most counties. See also STUBBS, supra note 83, at 453–54.
           The “Good Parliament” was a widely supported effort to tame the massive corruption,
           military incompetence, and other abuses of the latter part of the reign of Edward III. See
           GEORGE HOLMES, THE GOOD PARLIAMENT (1975). To present the Parliament’s position to
           the King, the Parliament chose Sheriff Peter de la Mare; he is today regarded as the first
           Speaker of the House of Commons. Id. at 101–110, 134–38. Sheriff de la Mare was later
           imprisoned after Edward III regained his political footing and then pardoned after Edward III
           was close to death. Id. at 192.




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           need money, and for the right price, they would grant a locality the right of
           electing its own sheriff; by the eighteenth century, twenty-one cities or
           boroughs enjoyed the right of election.97
                 However the sheriff was chosen, he was supposed to be a defender of
           liberty. As historian William Morris puts it, “[i]n the time of Henry III,98 he
           was still regarded by the king and council as their agent in the maintenance
           of popular liberties and private rights.”99

                                    3. Sheriff’s Oath of Office and Bond
                 Item 39 of the Ordinances of 1311 had also said that sheriffs should
           take an oath of office. This had been a longstanding baronial demand.100
           The oath requirement became a well-established and uncontroversial part of
           the common law.101 Thus, almost every American state constitution that
           provides for an office of sheriff requires that the sheriff take an oath, as
           must all other constitutional officers. In England, the sheriff’s oath was to
           the supreme ruler, the monarch; in the United States, the sheriff’s oath is
           also to the supreme ruler, the law itself—an oath to uphold the U.S.
           Constitution and the constitution of the sheriff’s state.102
                 In the sixteenth century, a statute mandated that before taking office, a
           sheriff must post a bond as a surety against any malfeasance for which he or
           his deputies might be found liable.103 This requirement is still standard for
           American sheriffs, although the sheriff may now choose to instead purchase
           liability insurance.

           D. THE ENGLISH OFFICE OF SHERIFF IN THE SEVENTEENTH CENTURY
               AND THEREAFTER
                By the time that emigrants from Great Britain were establishing
           colonies in America, the duties and scope of the office of sheriff were well
           understood and noncontroversial. In legal treatises, the laws concerning
           sheriffs tended to be addressed in larger treatises on other subjects, such as
           criminal law. The treatise entirely devoted to sheriffs was Michael Dalton’s

              97
                  GLADWIN, supra note 74, at 357–58.
              98
                  Reigned 1216–1272. Henry III, 5 ENCYCLOPAEDIA BRITANNICA 837 (15th ed., 2002).
              99
                  MORRIS, supra note 23, at 213. For example, King Henry III instructed various
           sheriffs “to preserve the liberties of the church” and to enforce Magna Carta. Id. at 213 n.44.
              100
                   STRUCKHOFF, supra note 47, at 13.
              101
                   MORRIS, supra note 23, at 170–71 (discussing original oath from 1258); see also The
           Oath of the Sheriffs, 1 STATS. OF THE REALM 247 (Dawson’s of Pall Mall 1963) (1810).
              102
                   WATSON, supra note 25, at 17–21 (oath in nineteenth century). Previously, the oath
           was much more detailed. DALTON, supra note 23, at 4b–6a (reprinting seventeenth century
           oath in full).
              103
                   DALTON, supra note 23, at 3a (citing 2 & 3 Edw. 6, ch. 34).




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           The Office and Authoritie of Sherifs.104 Dalton was also the author of a very
           popular treatise on justices of the peace, which contained much content
           about sheriffs since both offices had similar powers and duties, such as
           summoning the posse comitatus.105

                                      1. Autonomous and Indivisible
                By the seventeenth century, two other important principles of the
           office of sheriff had been established: the office is autonomous and the
           office is indivisible. An early twentieth century case from Alberta, Canada,
           explained autonomy in terms that were no different than what had been said
           by Dalton and other commentators from centuries before:
              [T]he connection between the State and the sheriff after his appointment or election is
              of a very casual character. He is practically placed in the sole and undisturbed
              discharge of the duties of the shrievalty. He takes to his own use the emoluments of
              the office and out of them meets the expenditures of it. He employs under sheriffs or
              deputy sheriffs and bailiffs of his own selection. He assigns to them the work that
              they are to do, pays them their salaries and dismisses them at his pleasure. His office
              is in its management entirely free from outside dictatorship or control. He runs it as
              an institution for which he and he alone is responsible to those whose business passes
              through it. And so in those jurisdictions he is held liable for the misconduct of those
              whom he employs in his office.106
           The monarch could choose the sheriff, but could in no way limit the office
           of sheriff: “neither can she [the queen] abridge the sheriff of any thing
           incident or belonging to his office, for the office is entire and
           indivisible.”107
                The autonomy of sheriffs and of justices of the peace may have been
           one reason for slack enforcement of the arms control laws that were
           introduced in the Tudor period (1485–1603). In general, the Tudor
           monarchs were trying to keep handguns and crossbows out of the hands of
           everyone except the gentry.108 A 1526 proclamation by King Henry VIII
           told the sheriffs and mayor of London to stop being “negligent, slack, or


              104
                   DALTON, supra note 23.
              105
                   THOMAS GARDEN BARNES, SHAPING THE COMMON LAW 136–51 (Allen D. Boyer ed.,
           2008); MICHAEL DALTON, THE COUNTREY JUSTICE (London, William Rollins & Samuel
           Roycroft 1622).
              106
                   Great N. Ins. Co. v. Young (1916), [1917] 32 D.L.R. 238, 241 (Can. Alta.). Cf.
           MORRIS, supra note 23, at 167 (stating that the development of the sheriff’s independence
           from the king began in the period 1206–1307, under Henry III and Edward I).
              107
                   Mitton’s Case, (1584) 76 Eng. Rep. 965 (K.B.); 4 Co. Rep. 32 b ; DALTON, supra note
           23, at 6b; WATSON, supra note 25, at 8. Mitton’s Case is cited in State v. Cummins, 99 Tenn.
           667, 42 S.W. 880, 882 (1897) (sheriff may not be deprived of exclusive supervision of the
           county jails).
              108
                   JOHNSON, KOPEL, MOCSARY & O’SHEA, supra note 39, at 82–85.




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           remiss” in enforcing the arms restrictions.109 In 1537, the King expressed
           his “displeasure and indignation” about the unenforcement of arms bans.110
           In 1600, a proclamation of Queen Elizabeth I complained about the “slack
           execution” of the arms control laws, and “the common carrying and use of
           guns contrary to the said statutes” by “common and ordinary persons
           traveling by the highways to carry pistols and other kind of pieces,” and by
           “ruffians and other lewd and dissolute men.”111
                Another innovation was that a sheriff may not practice as an attorney
           during his term of office.112 Given the sheriff’s intimate involvement with
           the judicial system, the prohibition is a sensible prevention of conflicts of
           interest. The prohibition was carried forward into America113 and today is
           often expressly stated in state statutes.114

                                 2. Modern Role in the United Kingdom
                The office of justice of the peace had been formally created in the
           fourteenth century, with roots from the previous century.115 By the time
           Michael Dalton was writing in the early seventeenth century, the justices of
           the peace were supplanting the sheriffs as having the greatest practical role
           in keeping the peace. Other traditional sheriff duties, such as serving and
           enforcing writs, including by executing judgments, remained primarily the
           responsibility of sheriffs.116
                Sheriffs in the seventeenth century continued to have a military role:
           “The sheriff was often appointed one of the commissioners of musters”117—
           the periodic assemblies of the militia to ensure that every militiaman had
           provided himself with appropriate equipment. Likewise, the sheriff
           sometimes received assistance from the “trained bands,”118 militia units that


              109
                    1 TUDOR ROYAL PROCLAMATIONS 151–52 (Paul L. Hughes & James F. Larkin eds.,
           1964).
              110
                    Id. at 249–50.
              111
                    3 TUDOR ROYAL PROCLAMATIONS 218–19 (Paul L. Hughes & James F. Larkin eds.,
           1969).
              112
                  DALTON, supra note 23, at 175–76.
              113
                  See GEORGE WEBB, THE OFFICE AND AUTHORITY OF A JUSTICE OF PEACE 306
           (Williamsburg, William Parks 1736).
              114
                  E.g., COLO. REV. STAT. § 30-10-520 (2013) (“No sheriff, undersheriff, or deputy shall
           appear or advise as attorney or counselor in any case in any court.”).
              115
                  MCKECHNIE, supra note 67, at 16.
              116
                  Barnes, supra note 23, at iv (describing sheriffs’ other duties as services to the
           common law courts, including maintaining the jail; collection of crown revenues; ministerial
           services to various local government bodies, such as commissions; and keeping a limited
           “court” which heard replevin cases and which supervised elections to Parliament).
              117
                  KARRAKER, supra note 19, at 22.
              118
                  Id.




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           engaged in extra practice to maintain high proficiency. During the English
           Civil War (1642–1651), both sides attempted to order sheriffs “to rally the
           counties to their support as though the military command were still theirs,
           ex officio.”119
                Everyone may have agreed the office of sheriff is indivisible, but in a
           constitutional system based on shared understandings, and lacking an
           authoritative text which supersedes all else, things that were once plainly
           illegal may become accepted innovations. So in England, the sheriffs were
           over the centuries stripped of all responsibilities.120 Today the English
           office of sheriff is barely even ceremonial, consisting of holding an annual
           dinner for local judges and other important persons.121

           E. THE SHERIFF IN AMERICA
                 Colonial Americans took the office of sheriff as they had inherited it
           from England, with one important exception: they restored the right of
           electing sheriffs, a task that was completed in the nineteenth century. While
           the office of sheriff was waning in England, the office became increasingly
           important in America.
                 Magna Carta applied in the American colonies, so sheriffs never
           served as judges.122 In the colonies, the sheriffs used all the traditional
           powers of the office to the fullest. American sheriffs were more active than
           their English counterparts at finding criminals and delivering them to court,
           taking “an active law enforcement role.”123
                 By all indications, the formal seventeenth century American
           understanding of the office was mostly the same as the English. A study of
           Maryland and Virginia in the seventeenth century “proves the similarities in
           the office of sheriff in England and in her colonies to have been decidedly
           more numerous than the differences.”124 Michael Dalton’s English treatise


              119
                   Id. at 22–23. See generally DALTON, supra note 23, at 13a (“[W]hen any of the kings
           enemies shall come into the land, the Sherife in defence of the realme, may commaund all
           the people of his countie to attend him; and he and they are to attend the king and defend the
           land.”); id. at 136b (“Also the Sherife may take Posse Comitatus, in defence of the realme,
           when any of the kings enemies shall invade the land &c.”). But in practice, the military role
           of sheriffs had declined to an auxiliary role, beginning in the latter thirteenth century, under
           Henry III. MORRIS, supra note 23, at 167, 234–38.
               120
                   Barnes, supra note 23, at iii; Gullion, supra note 51, at 1156.
               121
                   Barnes, supra note 23, at iii (explaining that sheriffs are almost entirely ceremonial,
           but professional undersheriffs oversee the execution of judicial writs); Gullion, supra note
           51, at 1156.
               122
                   BARNES, supra note 105, at 30–31.
               123
                   Gullion, supra note 51, at 1157.
               124
                   KARRAKER, supra note 19, at 151.




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           Office of the Sheriffs is known to have been used as a guide in Maryland.125
           Dalton’s Country Justice treatise (about the justice of the peace, and also
           containing much information about sheriffs and their posse powers) was
           also influential in America.126 Virginian George Webb’s 1736 treatise on
           sheriffs and other local officials was conventional in its treatment of
           sheriffs, the posse comitatus, and so on, relying on mainstream English
           sources such as Dalton.127
                However, while the office looked the same on paper on both sides of
           the Atlantic, there were very significant practical differences, all of which
           had the effect of elevating the sheriff in America. To begin with, the
           American colonial sheriff was even more independent of central authority.
           In the American colonies, sheriffs were formally appointed by the crown, as
           they were in England and Scotland.128 The royal governor typically made
           appointments taking into account the advice of the county justices.129 The
           governor rarely questioned the county’s nominees of individuals to become
           sheriff.130
                Although nominally appointed by the royal governor, the American
           sheriff “was more of a county than a colonial official . . . .”131 Unlike the
           English counties, the American counties were self-governing.132 “[A]s a
           member of the ruling group in the county, the sheriff shared its
           independence.”133
                The colonial sheriff enjoyed “little of the social functions and prestige
           of the English official, but economic and political forces more than
           compensated for this loss . . . restoring to him some of the importance his
           ancestor early had in England as conservator of the peace . . . .” In sum,
           “[t]he office was taking on new strength in the colonies while continuing to
           decline in England.”134
                An important American innovation was that the sheriff either had a
           salary or could only charge fees (e.g., for executing a civil judgment) that
           were fixed by law. This reform recognized the problem of some of the




             125
                 Id. at 111.
             126
                 BARNES, supra note 105, at 137–51.
             127
                 WEBB, supra note 113, at 292–306.
             128
                 STRUCKHOFF, supra note 47, at 23.
             129
                 Id. at 24.
             130
                 KARRAKER, supra note 19, at 157.
             131
                 Id. at 156.
             132
                 Id. at 156–57.
             133
                 Id. at 157.
             134
                 Id. at 158–59.




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           unsalaried English sheriffs who had used their office for personal
           enrichment.135
                 The return of the long-lost practice of electing sheriffs began in
           1652,136 when the Royal Governor of Virginia told each county to choose
           its own sheriffs. The commissioners of Northampton County asked the
           people of the county to elect the sheriff. William Waters became the first
           sheriff elected in America.137 It was not surprising that the reestablishment
           of popular election of sheriffs came from a county government; other than
           the New England town meetings, the first democratic governments in the
           American colonies were county governments.138 New England already had
           the tradition of electing constables—low-level officers responsible for
           suppression of minor crimes; this was in contrast to the English custom of
           constables being appointed by the justices of the peace.139
                 The restoration of direct election of sheriffs “encouraged them to adopt
           an active role, whilst the fact that they were officials of county government
           helped to give them the opportunity to do so.”140 Election “meant that
           sheriffs were amongst the first public officials to be elected in any newly
           settled area and were therefore able to develop their role with little
           opposition from competing organisations or officials.”141 Americans came
           to understand the election of the sheriff as a right of the people.142 The
           1802 Ohio Constitution was the first state constitution to formally specify
           that sheriffs must be elected.143 Today, the large majority of American state
           constitutions require that sheriffs be elected by the people of the county.144


              135
                  BRADLEY CHAPIN, CRIMINAL JUSTICE IN COLONIAL AMERICA 1600–1660, at 95–96
           (1983).
              136
                  The year was 1652 by the modern calendar, which begins the new year on January 1.
           The year was 1651 by the “Old Style” calendar then in use, which began the year on March
           25, the date on which Jesus was said to have been conceived by the Virgin Mary. 1751, 24
           Geo. II ch. 23; ROBERT POOLE, TIME'S ALTERATION: CALENDAR REFORM IN EARLY MODERN
           ENGLAND 118–23 (1998).
              137
                  KARRAKER, supra note 19, at 74. The surviving records from Virginia and Maryland,
           through 1689, do not specifically demonstrate the election of other sheriffs in those colonies
           during that period. Id.
              138
                  Gullion, supra note 51, at 1157.
              139
                  CHAPIN, supra note 135, at 96.
              140
                  Gullion, supra note 51, at 1157.
              141
                  Id.
              142
                  STRUCKHOFF, supra note 47, at 23.
              143
                  Id. at 27; OHIO CONST. of 1802, art. VI § 1. The 1836 Constitution of the independent
           Republic of Texas likewise required election of sheriffs. TEX. CONST. of 1836, art. IV, § 12.
              144
                  ALA. CONST. art. V, § 138; ARIZ. CONST. art. XII, § 3; ARK. CONST. art. VII, § 46;
           CAL. CONST. art. XI, §§ 1(b), 4(c); COLO. CONST. art. XIV, § 8; DEL. CONST. art. III, § 22;
           FLA. CONST. art. VIII, § 1; GA. CONST. art. IX, § 1, para. III; IDAHO CONST. art. XVIII, § 6;
           ILL. CONST. art. VII, § 4; IND. CONST. art. VI, § 2; KY. CONST. § 99; LA. CONST. art. V, § 27;




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                Developments in the United States confirmed the importance and
           independence of sheriffs, whose power came directly from the people. The
           classic American treatise on sheriff law, written in 1884 by William L.
           Murfee, observed,
              the sheriff is, in each of the United States, a constitutional officer, recognized eo
              nomine as part of the machinery of the state government, and therefore, although it is
              competent for legislatures to add to his powers or exact from him the performance of
              additional duties, it is, upon well established legal principles, beyond their powers to
              circumscribe his common-law functions or to transfer them to other officers. 145
                Today, American sheriffs are elected in all states except Alaska (which
           has no counties), Hawaii, Rhode Island, and Connecticut (where the office
           of sheriff was abolished in 2000).146

                      II. THE POSSE COMITATUS FOR THE KEEPER OF THE PEACE
                The traditional American view is that the legislature may add new
           duties or powers to the office of sheriff, but may not remove any of the
           sheriff’s inherent common law powers or duties.147 An example of a new
           duty, not traceable to the common law, is that by Colorado statute, the
           sheriff is the chief fire warden in his or her county.148
                In America, the most important traditional responsibility of the sheriff
           has been keeping the peace. This is the third item of what Edward Coke
           described as the “three-fold custody” of the sheriff. First, the sheriff has
           custody of justice, because no suit begins without a sheriff serving process,

           ME. CONST. art. IX, § 10; MD. CONST. art. IV, § 44; MASS. CONST. art. XIX; MICH. CONST.
           art. VII, § 4; MISS. CONST. art. V, § 138; NEV. CONST. art. IV, § 32; N.H. CONST. pt. 2, art.
           71; N.J. CONST. art. VII, § 2, para. 2; N.M. CONST. art. X, § 2; N.Y. CONST. art. XIII, § 13;
           N.C. CONST. art. VII, § 2; N.D. CONST. art. VII, § 8; OR. CONST. art. VI, § 6; PA. CONST. art.
           IX, § 4; S.C. CONST. art. V, § 24; TENN. CONST. art. VII, § 1; TEX. CONST. art. V, § 23; VT.
           CONST. ch. II, §§ 43, 50; VA. CONST. art. VII, § 4; WASH. CONST. art. XI, § 5; W. VA. CONST.
           art. IX, § 1; WIS. CONST. art. VI, § 4.
               145
                   WILLIAM L. MURFEE, A TREATISE ON THE LAW OF THE SHERIFFS AND OTHER
           MINISTERIAL OFFICERS, at v (St. Louis, F.H. Thomas & Co., 1884); see also id. at 22 (“It is
           competent for the state legislature to impose upon him new duties growing out of public
           policy and convenience, but it cannot strip him of his time-honored and common-law
           functions and devolve them upon the incumbents of other offices created by legislative
           authority.”); CLYDE F. SNYDER & IRVING HOWARDS, COUNTY GOVERNMENT IN ILLINOIS 78
           (Carbondale: U. of Ill. Pr. 1960) (“[T]he sheriff . . . possesses certain common-law powers
           and duties of which he cannot be deprived by legislative enactment . . . .” The “common-law
           powers” are “vested in the sheriff by constitutional implication.”) (citing People v. Clampitt,
           200 N.E. 332 (Ill. 1936); Cnty. of Edgar v. Middleton, 86 Ill. App. 3d 502 (1899); Cnty. of
           McDonough v. Thomas, 84 Ill. App. 3d 408 (1899)).
               146
                   STRUCKHOFF, supra note 47, at 47; Connecticut Sheriffs Ride into Sunset,
           WORCESTER TEL. & GAZETTE, Nov. 9, 2000, at B3.
               147
                   MURFEE, supra note 145, at 22.
               148
                   COLO. REV. STAT. § 30-10-512 (2013).




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           and because sheriffs are responsible for returning jurors to hear a trial.
           Second, the sheriff has custody of the law, since the sheriff executes the
           decisions in civil and criminal cases.149 And third, the sheriff has custody
           of the commonwealth, for “he is [principal Conservator of the Peace],
           within the countie, which is the life of the common wealth . . . .”150
                This Article is principally concerned with the sheriff’s duty of keeping
           the peace. For various aspects of that duty, the sheriff has traditionally had
           the authority to summon assistance from armed citizens. Formally, there
           are four separate prongs to this common law authority, although in practice
           they can easily overlap. The first prong stems from the English sheriff’s
           specific duty of keeping “watch and ward,” to guard towns, which was
           given statutory expression during the reign of King Richard I (1189–
           1199).151 This is the power to arrange watches and patrols, and to require
           townsfolk to take turns on guard duty.152 “Ward” was the daytime activity,
           and “watch” the nighttime activity.153 Closely related to “watch and ward”
           was “hue and cry,” the second traditional power. Under English law
           originating long before the Norman Conquest of 1066, all able-bodied men
           were obliged to join in the hutesium et clamor (hue and cry) to pursue
           fleeing criminals. Pursuing citizens were allowed to use deadly force if


               149
                    COKE, supra note 25, at 168(a) (BOOK 3, CH.1, § 248) (noting that the sheriff is
           custodian of “vitae republicae; he is principalis conservator pacis, within the countie, which
           is the life of common wealth, vita republicae pax.”).
               150
                    Id. Other commentators took the same view. See, e.g, GEORGE ATKINSON, A
           PRACTICAL TREATISE ON SHERIFF LAW 424 (London, William Crofts 1839); DALTON, supra
           note 23, at 12b–13a; DALTON, supra note 105, at 3; ISAAC GOODWIN, NEW ENGLAND SHERIFF
           13 (Worcestor, Dorr & Howland 1830) (“He is the principal conservator of the peace for his
           jurisdiction, and has power to call to his aid the posse comitatus or physical force of the
           county.”); CHARLES W. HARTSHORN, NEW ENGLAND SHERIFF 13 (Worcester, Warren Lazell
           1844) (same quotation); WILLIAM HAWKINS, 2 A TREATISE OF THE PLEAS OF THE CROWN 33
           (2nd ed., London, Nutt & Gosling 1724) (ch. 8 § 4); WEBB, supra note 113, at 292 (noting
           that the sheriff was “Chief Conservator of the Peace of his County, almost 300 Years before
           Justices of Peace were instituted”). The role of the sheriff as keeper of “the king’s peace”—
           and of “the sheriff’s peace”—was well established in Anglo-Saxon and Norman times.
           MORRIS, supra note 23, at 149, 196.
               151
                    DALTON, supra note 23, at 6a–6b (sheriff’s oath included supervising the watch and
           ward, by reference to his oath specifically to uphold the Statute of Winchester); MORRIS,
           supra note 23, at 150, 228–29, 278. The Statute of Winchester was enacted by Edward I. It
           required all free men to possess arms on a sliding scale based on their wealth: the wealthier
           the individual, the more extensive the required arms and armor. Statute of Winchester, 1285,
           13 Edw. 1, stat. 2.
               152
                    WILLIAM LAMBARDE, EIRENARCHA 185, 341 (London, Newbery & Bynneman 1581);
           FERDINANDO PULTON, DE PACE REGIS & REGNI 153a–153b (Lawbook Exchange 2007)
           (1609). See also GOODWIN, supra note 150, at 234–35 (noting that justices of the peace may
           order constables to organize the watch and ward).
               153
                    ELIZABETH C. BARTELS, VOLUNTEER POLICE IN THE UNITED STATES 2 (2014).




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           necessary to prevent escape.154 The third power of the sheriffs, to summon
           the posse comitatus, is described in the remainder of Part II. The fourth
           power is to summon the militia. The use of this military force is supposed
           to be rare and only for situations that the posse comitatus is incapable of
           resolving.

           A. POSSE COMITATUS IN ENGLAND
                 Richard Abels, a modern historian of the Anglo-Saxon period, reports
           that “[t]he reeves of the late ninth and the early tenth century also led posses
           in pursuit of thieves . . . .”155 The Latin phrase which was applied to this
           popular use of armed force for keeping the peace is posse comitatus,
           literally “[t]he power or force of the county.”156 Historian Richard Kemble
           wrote that from the early days of the heptarchy and throughout the Anglo-
           Saxon period, the sheriff was “leader of the constitutional force, the posse

              154
                   For details about the hue and cry, see Statute of Winchester, 1285, 13 Edw. I, stat. 2,
           chs. 4–6 (formalizing hue and cry system; requiring all men aged fifteen to sixty to possess
           arms and armor according to their wealth; lowest category, having less than “Twenty Marks
           in Goods,” must have swords, knives, bows, and other small arms); 4 WILLIAM
           BLACKSTONE, COMMENTARIES *293–94 (describing hue and cry system as still in effect);
           EDWARD COKE, THE THIRD PART OF THE INSTITUTES OF THE LAWS OF ENGLAND; CONCERNING
           HIGH TREASON, AND OTHER PLEAS OF THE CROWN AND CRIMINAL CAUSES 116–18 (William
           S. Hein & Co. 2008 (1628); COKE, supra note 85, at 171–73 (ch. 9); DALTON, supra note 23,
           at 6a–6b (noting that the sheriff’s oath included the hue and cry, by reference to his oath
           specifically to uphold the Statute of Winchester); id. at 14a (all men must “be ready at the
           commandement of the sherife (& at the cry of the countrey) to pursue and arrest all felons”);
           LAMBARDE, supra note 152, at 185, 233 (Book I, ch. 22), 341 (Book II, ch. 4); MORRIS, supra
           note 23, at 221–22, 227; FREDERICK POLLOCK & FREDERIC W. MAITLAND, 2 THE HISTORY OF
           ENGLISH LAW BEFORE THE TIME OF EDWARD I 576–81 (Liberty Fund 2010) (1895); PULTON,
           supra note 152, at 152b § 1 (“That all men generally shall be readie at the commandement
           and summons of the Sherifes, and at the crie of the Countrie to pursue and arrest felons when
           neede shall be.”); STUBBS, supra note 83, at 123 (Statute of Winchester “carries us back to
           the earliest institutions of the race; it revises and refines the action of the hundred, hue and
           cry, watch and ward, the fyrd and the assize of arms.” It “shows the permanence and
           adaptability of ancient popular law.” The statute is “the culminating point” of Edward I’s
           “legislative activity,” being of “great constructive power”); WEBB, supra note 113, at 294
           (“If a Felony is committed, the Sheriff may raise Hue and Cry, without other Warrant, to
           pursue and apprehend the Felon; and if he resists, or will not surrender himself, so that he
           cannot otherwise be taken, he may be kill’d by any Officer, or his Assistants.”).
               155
                   ABELS, supra note 22, at 274; see also MORRIS, supra note 23, at 18 (stating that
           records show the Reeve of London led Londoners in pursuit of thieves during the reign of
           King Aethelstan in the early tenth century).
               156
                   BLACK’S LAW DICTIONARY 1046 (5th ed. 1979) (“The power or force of the county.
           The entire population of the county above the age of fifteen, which a sheriff may summon to
           his assistance, in certain cases, as to aid him in keeping the peace, in pursuing and arresting
           felons, etc. Williams v. State, 253 Ark. 973, 490 S.W.2d 117, 121.”); see also BLACK’S LAW
           DICTIONARY 1281 (9th ed. 2009) (“A group of citizens who are called together to help the
           sheriff keep the peace or conduct rescue operations. — Often shortened to posse.”).




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           comitatus or levée en masse of the free men.”157 Kemble used this fact in
           support of his argument that in the early Anglo-Saxon period:
              The graviones, gerêfan, or shire-reeves (by whatever name they may then have been
              called), were the essentially the people’s officers; whether they were hereditary or not,
              these offices depended upon the popular will; and in a vast majority of cases, it is
              obvious that they must have been immediately dependent upon it,—that is to say,
              elective, and not hereditary.158
                 So it may well be that Alfred the Great did not invent the posse
           comitatus; it may also be that King Alfred’s better organization of the
           shires, the shire-reeves, and the shire-based militias may have helped make
           the posse comitatus more effective.
                 William Henry Watson’s 1848 treatise on the English sheriff explained
           that the posse comitatus power of the nineteenth century was formally the
           same as it had been in the ninth century.
              He may, and is bound, ex officio, to pursue and take all traitors, murderers, felons, and
              rioters; he hath also the custody and safe-keeping of the county gaol; he is to defend
              the same against rioters, and for this purpose, as well as for taking rioters and others
              breaking the peace, and also for attending the queen to the war when enemies come;
              he may command all the people of his county to attend him, which is called the posse
              comitatus, or power of the county, and this summons every person above fifteen years
              old, and under the degree of a peer, is bound to attend upon warning, under pain of
              fine and imprisonment.159
                 Posse comitatus was available whenever the sheriff needed a citizen
           armed force to enforce the law.160 The sheriff could use posse comitatus to
           suppress riots and also to enforce civil process—if and only if there was
           resistance to the civil process.161 Examples for use of posse comitatus in

              157
                    KEMBLE, supra note 84, at 60.
              158
                    Id.
               159
                    WATSON, supra note 25, at 2 (citing 1414, 2 Hen. 5, stat. 1 c. 8); see also Statute of
           Winchester, 1285, 13 Edw. 1, stat. 2, c. 39; DALTON, supra note 105, at 314 (seventeenth
           century); KARRAKER, supra note 19, at 22 (seventeenth century).
               160
                    COKE, supra note 85, at 192–94; cf. STUBBS, supra note 83, at 289 (describing
           instances in 1220, 1224, 1231, 1264, and 1267 when posses fought for or against the
           monarchy during the times when barons were resisting the king).
               161
                    RICHARD CROMPTON, L’OFFICE ET AUCTHORITIE DE IUSTICES DE PEACE 123 (2014)
           (1584) (print-on-demand reprint of 1584 edition; posse comitatus is in section on
           “Vicountes,” a Norman French term for “Sheriff”; the page numbers of this edition disappear
           after 74, but the table of contents lists “posse comitatus” as 123); DALTON, supra note 23, at
           13a–15b, 136a–137a; WILLIAM HAWKINS, 1 A TREATISE OF THE PLEAS OF THE CROWN 156,
           158–61 (2nd ed., London, Nutt & Gosling 1724); id. at 159 (noting also that even without
           the direction of a sheriff, “private Persons may arm themselves in order to suppress a Riot;
           from whence it seems clearly to follow, that they may make use of Arms in the suppressing
           of it . . .”); LAMBARDE, supra note 152, at 233 (riot suppression); PULTON supra note 152, at
           29a (in case of a riot, “the Justices of peace, the Shirife or undershirife shall come with the
           power of the Countie, if neede be, to arrest them”); JOHN STEPHEN, SUMMARY OF THE




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           cases of resistance of civil process included a Precept of Restitution,162 and
           Writs of Execution, Replevin, Estrepement, Capias, “or other Writ.”163 The
           posse comitatus could be used to “to apprehend Felons, &c. Or disturbers of
           the peace.”164 In other words, the posse could be used for the arrest of all
           types of criminals. This included the power to arrest even “a great Lord.”165
                By the eighteenth century, the government of Great Britain was
           moving towards reduced use of the posse comitatus and sheriffs,
           notwithstanding protests from political writers who argued that the sheriffs
           and the posse comitatus were the law enforcement system that complied
           with England’s unwritten constitutional tradition.166 The posse comitatus
           was still used in the early nineteenth century,167 but, by the late nineteenth
           century, it, like many other formal powers of the sheriff, had fallen into
           disuse in England.168 America was different.


           CRIMINAL LAW 46 (Philadelphia: J.S. Littell, 1840) (suppressing of unlawful riots, routs, and
           assemblies).
              162
                  HAWKINS, supra note 150, at 152. A precept of restitution is used to restore the
           rightful owner to real property that is wrongly possessed by another. “Precept” in this
           context is an order from an authority to compel an officer to perform some act. BLACK’S
           LAW DICTIONARY 1059 (5th ed. 1979).
              163
                  DALTON, supra note 105, at 314. A writ of replevin is for the return of personal
           property wrongly held by another. A writ of execution is to satisfy the judgment of a court,
           such as by selling a defendant’s property to pay his creditors. FED. R. CIV. P. 69; BLACK’S
           LAW DICTIONARY 510 (5th ed. 1979). A writ of estrepement compels a party not to commit
           waste on real property. BLACK’S LAW DICTIONARY 496 (5th ed. 1979). A writ of capias is
           for the sheriff to arrest a defendant in a civil case who has refused to appear in court.
           Edmund M. Morgan, The Court of Common Pleas in Fifteenth Century England, 61 HARV.
           L. REV. 914, 915–16 (1948) (book review).
              164
                  DALTON, supra note 105, at 315.
              165
                  Id. at 314.
              166
                  WILLIAM JONES, AN INQUIRY INTO THE LEGAL MODE OF SUPPRESSING RIOTS, WITH A
           CONSTITUTIONAL PLAN OF FUTURE DEFENCE (2d ed., London, C. Dilly 1782) (calling for an
           organized and thorough plan for training the posse comitatus and ensuring that it was armed;
           arguing that law enforcement by posse comitatus was much safer for civil liberty than law
           enforcement by a standing army); LEON RADZINOWICZ, 2 A HISTORY OF ENGLISH CRIMINAL
           LAW AND ITS ADMINISTRATION FROM 1750, at 28–29 (1956) [hereinafter 2 RADZINOWICZ];
           LEON RADZINOWICZ, 3 A HISTORY OF ENGLISH CRIMINAL LAW AND ITS ADMINISTRATION
           FROM 1750, at 93–96, 375–77 (1956); ANONYMOUS, REGULATIONS OF PAROCHIAL POLICE 24–
           42 (4th ed., London, J. Hatchard 1803) (also proposing a plan to train the population in posse
           service).
              167
                  2 RADZINOWICZ, supra note 166, at 221 n.89 (citing 1816 use of posse to guard the
           Gas Light Company). The last known use of the posse comitatus in England was in 1830 by
           the Sheriff of Oxfordshire to suppress riots. GLADWIN, supra note 74, at 375. During World
           War I and World War II, the power of sheriffs to raise the posse comitatus in case of
           invasion was reaffirmed. Id. But there being no invasion during either war, the power was
           apparently not exercised. Id.
              168
                  In 1885, the legal historian Frederic Maitland wrote: “Now the whole history of
           English Justice and Police might be brought under this rubric, The Decline and Fall of




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           B. POSSE COMITATUS IN COLONIAL AMERICA AND THE
               REVOLUTION
                The sheriff’s role as conservator of the peace—with the authority to
           summon the posse comitatus, raise the hue and cry, and administer watch
           and ward—was straightforwardly recognized in the American colonies.169
           But the changes in the posse began to reflect—and intensify—the ways in
           which the Americans were reshaping their English legal heritage towards
           greater self-government and liberty.
                Gautham Rao’s article The Federal Posse Comitatus Doctrine
           explains: “In its migration to America, however, colonists transformed the
           posse comitatus from an instrument of royal prerogative to an institution of
           local self-governance.”170 The posse “functioned through, rather than upon,
           the local popular will.”171 In other words, the Americans brought the posse
           back to its traditional Anglo-Saxon role, shaking off six centuries of how
           the Norman Conquest and succeeding monarchs had partially
           undemocratized the posse and the sheriff.
                According to Rao, “[t]he colonists’ control of the posse comitatus—of
           the legal means of coercion—all but precipitated the American
           Revolution.”172 The policies of the government in London had so alienated
           the Americans that they were no longer willing to enforce what London
           wanted. The Prime Minister, Lord North, recognized the problem: the
           posse had switched sides; rather than providing the manpower to enforce
           Parliament’s will, the posse was now actively resisting that will: “[O]ur
           regulations here are of no import, if you have nobody in that country to give



           Sheriff.” FREDERIC WILLIAM MAITLAND, JUSTICE AND POLICE 69 (London, MacMillan & Co.
           1885). Maitland traced the beginning of the decline to “the Norman reigns.” Id. So “there
           are many things which according to law books he might do, but which he never does. He
           might call out the power of the county (posse comitatus) to apprehend a criminal with hue
           and cry, but justices of the peace and police constables have long rendered needless this
           rusty machinery.” Id. at 70.
               169
                   CHAPIN, supra note 135, at 31; KARRAKER, supra note 19, at 147 (Virginia); JOHN
           MILTON NILES, THE CONNECTICUT CIVIL OFFICER 188–89, 214 (Hartford, Huntington &
           Hopkins 1823); cf. BARTELS, supra note 153, at 2 (night watches created in Boston in 1636
           and New York City in 1686). In Delaware, the role is affirmed in the state constitution.
           “Sheriffs shall be conservators of the peace within the counties respectively in which they
           reside.” DEL. CONST. art. XV, § 1; see also sources in note 144 supra (describing
           constitutional office of sheriff).
               170
                   Gautham Rao, The Federal Posse Comitatus Doctrine: Slavery, Compulsion, and
           Statecraft in Mid-Ninetenth-Century America, 26 LAW & HIST. REV. 1, 10 (2008); see also
           PAULINE MAIER, FROM RESISTANCE TO REVOLUTION 16–20 (1991) (noting, inter alia, use of
           posse comitatus to prevent impressment of Americans into the British navy).
               171
                   Rao, supra note 170, at 10.
               172
                   Id.




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           them force.”173 The problem was exacerbated by the fact that most sheriffs
           leaned Whig (towards citizen rights) rather than Tory (towards the authority
           of the monarch).174
                So at the advice of Lord North and his party, the British government
           attempted to resort to military coercion of the Americans, and, starting in
           the fall of 1774, a gun control program designed to disarm them. Forcible
           disarmament with house-to-house searches by the British redcoats was
           attempted at Lexington and Concord on the morning of April 19, 1775. The
           Americans resisted with their personal arms, and the Revolutionary War
           began.175

           C. AFTER INDEPENDENCE
                 In the Early Republic, the posse comitatus was an accepted and
           uncontroversial institution; the federal government only rarely used its
           posse comitatus powers.
                 One of the first legal treatises of the new United States of America was
           produced by James Wilson, the preeminent lawyer of his day, soon to be
           appointed to the Supreme Court by President Washington.176 Quite
           conventionally, Wilson described posse comitatus as “the high power of
           ordering to [the sheriff’s] assistance the whole strength of the county over
           which he presides” in order “to suppress . . . unlawful force and
           resistance.”177
                 Joel Barlow’s essay Advice to the Privileged Orders argued that if the
           state represented the people as a whole, not just one class, society would be
           more stable.178 Barlow noted that in Europe, an armed populace would be
           regarded “as a mark of an uncivilized people, extremely dangerous to a well



              173
                   House of Commons Debate, Mar. 28, 1774, 17 PARL. HIST. ENG. 1192–93, in JOHN
           PHILLIP REID, IN DEFIANCE OF THE LAW 230–33 (1981); Rao, supra note 170, at 10–11.
              174
                   REID, supra note 173, at 203.
              175
                   Kopel, supra note 3, at 308.
              176
                   OXFORD COMPANION TO THE SUPREME COURT OF THE UNITED STATES 1092 (2d ed.
           2005).
              177
                   JAMES WILSON, Of Government, in 2 COLLECTED WORKS OF JAMES WILSON 1016
           (Kermit L. Hall & Mark David Hall eds., 2007). The treatise is based on series of lectures
           that Wilson delivered in 1790 and 1791 at the College of Philadelphia, which he revised for
           publication. He was aiming to become the American Blackstone. Mark David Hall,
           Bibliographical Essay: History of James Wilson’s Law Lectures in id. at 401.
              178
                   JOEL BARLOW, ADVICE TO THE PRIVILEGED ORDERS IN THE SEVERAL STATES OF
           EUROPE (Cornell University Press, 1956) (1792). Barlow was a leading diplomat and writer
           during the 1780s and 1790s. He was one of the “Connecticut wits,” a group of writers
           centered around Yale. Joel Barlow: A Biographical Note, in id. at ix. He challenged the
           typical European belief that Europeans were more civilized than Americans.




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           ordered society.”179 But unlike the European rabble, which had no
           experience with self-government, Americans were their own sovereigns,
           and self-government brought out the best in man’s character. Thus, the
           American people could be trusted with guns: “It is because the people are
           civilized, that they are with safety armed.”180 Barlow praised the “very
           important” “discoveries” which “had been made in modern nations,
           especially in England, and carried into successful practice, for the security
           of citizens against an undue exercise of the governing power; and some that
           were equally original for the regular assistance of the governing power
           against the turbulence of citizens.”181 These were the posse comitatus,
           habeas corpus, the jury, and the rule that “parliament holds the purse.”182
                 When the proposed Constitution was put before the American people,
           one of the objections of Anti-Federalists was that the new federal
           government did not have an enumerated posse comitatus power, but did
           have an enumerated militia power. The Anti-Federalists argued that
           therefore the federal government would use the militia (that is, military
           force) to carry out its powers on a routine basis.183 In Federalist Number
           29, Alexander Hamilton responded that the federal government did have
           posse comitatus power, by virtue of the Necessary and Proper Clause.184

              179
                    Id. at 16.
              180
                    Id.
               181
                    JOEL BARLOW, THE MARCH OF THIS GOVERNMENT, quoted in Christine M. Lizanich,
           “The March of This Government”: Joel Barlow’s Unwritten History of the United States, 33
           WM. & MARY Q. 315, 325–26 (1976). Barlow’s appointment as Ambassador to France
           interrupted his work on the book, and he died before completing it. Id. at 320.
               182
                    Id. at 325 n.24.
               183
                    Letter from the Federal Farmer III (Oct. 10, 1787), reprinted in 2 THE COMPLETE
           ANTI-FEDERALIST 234–45 (Herbert J. Storing ed., 1981); Brutus, Essay IV, reprinted in id. at
           382–87 (claiming that the power to use the militia for law enforcement “is a novel one, in
           free governments—these have depended for the execution of the laws on the Posse
           Comitatus, and never raised an idea, that the people would refuse to aid the civil magistrate
           in executing those laws they themselves had made”).
               184
                    THE FEDERALIST No. 29 (Alexander Hamilton):
               In order to cast an odium upon the power of calling forth the militia to execute the
               laws of the Union, it has been remarked that there is nowhere any provision in the
               proposed Constitution for calling out the POSSE COMITATUS, to assist the magistrate in
               the execution of his duty, whence it has been inferred, that military force was intended
               to be his only auxiliary . . . . The same persons who tell us in one breath, that the
               powers of the federal government will be despotic and unlimited, inform us in the
               next, that it has not authority sufficient even to call out the POSSE COMITATUS. The
               latter, fortunately, is as much short of the truth as the former exceeds it. It would be
               as absurd to doubt, that a right to pass all laws necessary and proper to execute its
               declared powers, would include that of requiring the assistance of the citizens to the
               officers who may be intrusted with the execution of those laws, as it would be to
               believe, that a right to enact laws necessary and proper for the imposition and
               collection of taxes would involve that of varying the rules of descent and of the




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                 After ratification of the Constitution, Hamilton’s necessary and proper
           view of the federal posse comitatus power was uncontroversial. In addition,
           the federal government has all the normal powers of local government in
           areas, such as territories, where the federal government has the authority to
           exercise local government.185 Thus, during the Jefferson administration,
           Secretary of State James Madison sent a written order that a French official
           “call for the assistance of the good citizens of the district, as the posse
           comitatus” to enforce the terms of the Louisiana Purchase.186 In an 1833
           treatise on American constitutional law, Supreme Court Justice Joseph
           Story explained that while the posse comitatus would suffice for
           maintaining law and order in most situations, there were some
           circumstances in which either a militia or a standing army would be
           necessary.187
                 For local law enforcement, posse comitatus in the decades before 1850
           thrived as a well-developed and popular institution. Edward Livingston
           extolled the posse because “the same ties of property, of family, of love of
           country and of liberty” which make possemen “effective instruments for the
           suppression of disorder” also make them “unfit . . . to promote any scheme
           of usurpation. The people can apprehend no danger to their liberties from



                 alienation of landed property, or of abolishing the trial by jury in cases relating to it.
                 It being therefore evident that the supposition of a want of power to require the aid of
                 the POSSE COMITATUS is entirely destitute of color, it will follow, that the conclusion
                 which has been drawn from it, in its application to the authority of the federal
                 government over the militia, is as uncandid as it is illogical. What reason could there
                 be to infer, that force was intended to be the sole instrument of authority, merely
                 because there is a power to make use of it when necessary?
           Id.
                 185
                  See U.S. CONST., art. IV § 3, cl. 2; Block v. Hirsh, 256 U.S. 135, 156 (1921); Shively
           v. Bowlby, 152 U.S. 1 (1894); Am. Ins. Co. v. 356 Bales of Cotton, 26 U.S. 511, 542 (1828).
              186
                  Madison’s instruction was quoted in a Supreme Court case a few years later.
           Livingston v. Dorgenois, 11 U.S. 577, 578–79 (1813).
              187
                  JOSEPH STORY, 3 COMMENTARIES ON THE CONSTITUTION 81–82 (Boston, Hilliard,
           Gray, & Co. 1833) (§ 1196):
              In ordinary cases, indeed, the resistance to the laws may be put down by the posse
              comitatus, or the assistance of the common magistracy . . . . The general power of the
              government to pass all laws necessary and proper to execute its declared powers,
              would doubtless authorize laws to call forth the posse comitatus, and employ the
              common magistracy, in cases, where such measures would suit the emergency. But if
              the militia could not be called in aid, it would be absolutely indispensable to the
              common safety to keep up a strong regular force in time of peace.
           See also Luther v. Borden, 48 U.S. 1, 76 (1849) (Woodbury, J., dissenting) (“The State
           courts, with the aid of the militia, as in Shays’s rebellion and the Western insurrection,
           could, for aught which appears, by help of the posse comitatus, or at least by that militia,
           have in this case dispersed all opposition.”).




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           such a force . . . .”188 Citizens served in the posse readily and with pride.189
           It was used for a wide variety of local enforcement, ranging from stopping
           illegal fishing up to riots.190 Like jury service, posse service was a
           mandatory duty of a citizen, one that should be performed with pride as part
           of free citizen’s rights and duties in a self-governing republic.191
                 In the early decades of the republic, before slavery became a major
           conflict, federal use of posse comitatus in the states was rare and sporadic.
           The Judiciary Act of 1789 gave U.S. Marshals authority to summon the
           posse comitatus.192


              188
                   EDWARD LIVINGSTON, A SYSTEM OF PENAL LAW FOR THE STATE OF LOUISIANA 209–10
           (Lawbook Exchange 2010) (1833). Livingston was one of the parties in Livingston v.
           Dorgenois, supra note 186. He also served as Secretary of State for Andrew Jackson, and
           also as a United States Senator for Louisiana and United States Representative for two states,
           New York and Louisiana. Roger J. Champagne, Livingston, Edward, in 17 ENCYCLOPEDIA
           AMERICANA 615 (1980).
               189
                   Rao, supra note 170, at 11–12.
               190
                   Id. See also Reed v. Bias, 8 Watts & Serg. 189, 191 (Pa. 1844) (“The sheriff, to
           prevent personal damage to himself and his ordinary assistants from a mob assembled in
           extraordinary numbers, and with a show of force to overawe the civil power, may call in the
           assistance of the military. He has the right, and it is his duty to use the proper and necessary
           force to suppress all mobs and disturbers of the peace. Without this power our liberty would
           be but a name, and our lives and property insecure.”); GOODWIN, supra note 150, at 13, 76,
           149–50, 155 (conservation of the peace, recapture of escaped prisoners, suppression of riots,
           arrest warrants); HARTSHORN, supra note 150, at 13, 123, 230–31 (any criminal case,
           preservation of the peace, recapture of prisoners); JOHN H.B. LATROBE, THE JUSTICES’
           PRACTICE UNDER THE LAWS OF MARYLAND 22 (Baltimore, Fielding Lucas, Jr. 1826)
           (constable may order any person to assist him in making an arrest); MORDECAI M’KINNEY,
           THE UNITED STATES CONSTITUTIONAL MANUAL 151, 160, 260 (Harrisburg, Penn.: Hickock &
           Cantine, 1845) (sheriffs may raise the posse comitatus to suppress riots or affrays and to
           arrest criminals); NILES, supra note 169, at 17, 190, 214, 270, 275–76 (suppression of riots,
           execution of arrests; final item is form for a constable’s return after having summoned
           assistance and suppressed a riot); WILLIAM J. NOVAK, THE PEOPLE’S WELFARE 212 (1996)
           (quarantine enforcement in Albany in 1832); HENRY POTTER, THE OFFICE AND DUTY OF A
           JUSTICE OF THE PEACE 243–44 (Raleigh, Joseph Gales 1816) (noting posse use for riots and
           affrays, forcible entry and detainer, pursuit and apprehension of all felons and all breakers or
           disturbers of the pace; execution of any lawful writ, process, or warrant; preservation of the
           peace).
               191
                   Avery v. Seely, 3 Watts & Serg. 494, 498 (Pa. 1841) (stating that sheriff may not take
           his posse out of his own county); Comfort v. Commonwealth, 5 Whart. 437, 440 (Pa. 1840)
           (holding that the constable has the same power as the sheriff to summon posse, including for
           assistance in execution of a writ on a debt); Coyles v. Hurtin, 10 Johns. 85, 88 (N.Y. Sup. Ct.
           1813) (holding that sheriff can order a person to perform a posse task, and can then leave the
           person’s presence; persons in posse service have the same civil immunities as the sheriff);
           STEPHEN, supra note 161, at 29.
               192
                   1 Stat. 73, 87 (1789) (creating, in § 27, office of U.S. Marshal in each federal judicial
           district, who “shall have power to command all necessary assistance in the execution of his
           duty”).




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                A modern scholar, Wesley Campbell, uses ratification history to argue
           against the Supreme Court decisions such as Printz v. United States, which
           forbid federal commandeering of state officials.193 Campbell infers from
           the ratification history not only a federal posse comitatus power, but also a
           federal power to commandeer county sheriffs to lead the posse comitatus in
           federal service.194 This is problematic because of the nature of the posse.
           The posse is an ad hoc organization. It has no organization until it enters
           into the service of whoever lawfully summoned it. As in England, the
           American common law recognized that many officials, not just the sheriffs,
           had the authority to summon a posse. These officials were a “Judge of
           Record, Sheriff, Coroner,195 Constable, or other Officer to whose Office
           belongs the Conservation of the Peace . . . .”196 The Appendix to this
           Article sets forth the modern state posse comitatus statutes; they follow the
           common law in providing that a variety of state or local officials, not just
           sheriffs, may summon a posse comitatus.
                If a coroner summons the posse on Tuesday, then he is the posse
           commander that day. If a judge summons the posse on Friday, then she is
           the posse commander for that day. Accordingly, the power of a federal
           officer to summon a posse for his own use does not necessarily imply that
           the federal officer also has the power to summon any of the state officials—
           such as sheriffs, judges, and coroners—who also has posse-summoning
           power.
                It is useful to contrast the posse with the state militia. There are a
           variety of possible posse commanders, depending on the exigencies of law
           enforcement need. There is no process for compulsory training of persons
           who might be summoned to posse service. In contrast, the state militia is a
           regular body. It is subject to periodic training and to musters (where militia
           members show that they possess the requisite arms for militia duty).197


              193
                  Wesley J. Campbell, Commandeering and Constitutional Change, 122 YALE L.J.
           1104 (2013).
              194
                  Id. at 1139–44.
              195
                  The Office of Coroner in England was created in 1194. Articles of the Eyre, 1 Stats.
           of the Realm 233 (art. 20). The office was originally much broader than today, when
           forensic autopsies are the office’s only routine law enforcement role. Coroners presided at
           some judicial hearings and had arrest powers. See, e.g., WEBB, supra note 113, at 97–104.
              196
                  WEBB, supra note 113, at 253.
              197
                  See, e.g., District of Columbia v. Heller, 554 U.S. 570, 650 n.12 (Stevens, J.,
           dissenting) (quoting an Act for Establishing a Militia, 1785 Del. Laws § 7) (“And be it
           enacted, That every person between the ages of eighteen and fifty . . . shall at his own
           expense, provide himself . . . with a musket or firelock, with a bayonet, a cartouch box to
           contain twenty three cartridges, a priming wire, a brush and six flints, all in good order, on or
           before the first day of April next, under the penalty of forty shillings, and shall keep the
           same by him at all times, ready and fit for service, under the penalty of two shillings and six




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           Unlike the posse, the militia is led by a regular set of officers.198 The man
           who is the militia captain on Monday will still be the militia captain on
           Friday. The U.S. Constitution expressly grants Congress the power to
           summon the state militias, including their state officers, into federal
           service.199 When the Constitution means to grant to the federal government
           the extraordinary power of commandeering state officers, the Constitution
           says so expressly.
                Early practice shows that the federal posse comitatus power was not
           exercised as a power to commandeer state officers. The Judiciary Act of
           1789 authorized federal marshals to summon posses. There appears to be
           no evidence indicating that from 1789 to the present, the federal posse
           power has ever been used by a federal marshal, or anyone else, to
           commandeer a state official in his official capacity (e.g., a sheriff or a state
           judge) into serving as posse commander in federal service.
                In Prigg v. Pennsylvania, the Supreme Court ruled that the 1793
           federal Fugitive Slave Act was constitutional. Even though Article I had
           not given Congress an enumerated power over fugitive slaves, the fugitive
           slave provisions in Article IV created an implied power, according to the
           Court.200 At the same time, state and local officials had absolutely no
           obligation to assist in the recapture of fugitives, according to the Prigg
           Court.201

           D. POSSE COMITATUS AND THE CIVIL WAR

                                               1. Before the War
                Everything changed with the congressional enactment of the
           Compromise of 1850. In exchange for admission of California to the Union
           as a free state, northern legislators accepted a massive new federal Fugitive
           Slave Act.202 This time, the Act explicitly declared that citizens were
           required to serve when summoned in a federal posse comitatus hunting for


           pence for each neglect or default thereof on every muster day”).
              198
                   See, e.g., S.D. CONST. art. 15, § 4.
              199
                   U.S. CONST. art. I, § 8, cl. 15–16: “To provide for calling forth the Militia to execute
           the Laws of the Union, suppress Insurrections and repel Invasions”; “[t]o provide for
           organizing, arming, and disciplining, the Militia, and for governing such Part of them as may
           be employed in the Service of the United States, reserving to the States respectively, the
           Appointment of the Officers, and the Authority of training the Militia according to the
           discipline prescribed by Congress . . . .”
              200
                   Prigg v. Pennsylvania, 41 U.S. 539 (1842).
              201
                   Id. at 615.
              202
                   FERGUS M. BORDEWICH, AMERICA’S GREAT DEBATE: HENRY CLAY, STEPHEN A.
           DOUGLAS, AND THE COMPROMISE THAT PRESERVED THE UNION (2012).




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           fugitive slaves.203 The federal posse comitatus had been transformed, as
           Rao puts it, “from emergency to routine . . . from sporadic to ubiquitous.”204
           The posse comitatus provisions of the Fugitive Slave Act of 1850 forced the
           North to become complicit in enforcing slavery, and thus to become part of
           the slave system.205 To many northerners, forced service to recapture slaves
           felt little different from slavery itself.206 The posse comitatus was supposed
           to be the people of the county participating in self-government by enforcing
           their own laws. Now, federal posse comitatus had been perverted into a
           weapon that transformed free citizens into the minions of distant slave
           owners.
                 Making things even worse, the federal government began using federal
           soldiers on slave hunts and claimed that these men were merely acting as
           posse comitatus.207 To call the federal standing army a “posse comitatus”
           was as Orwellian as calling the federal army “the Massachusetts State
           Militia.” The posse and the militia were supposed to be the institutions that
           minimized the need for domestic use of a standing army. The posse was
           not supposed to be used as a legal fiction to justify use of the military for
           ordinary law enforcement in a state that was not under martial law.
                 An 1854 poem by Walt Whitman, “A Boston Ballad,” denounced the
           sight of federal troops—“the Federal foot and dragoons”—marching
           through Boston to transport a fugitive slave.208 King George’s despotic
           principles had triumphed: “You have got your revenge, old buster! The
           crown is come to its own, and more than its own.”209
                 The innovative use of posse comitatus to enforce the Fugitive Slave
           Act brought slavery home to the North. Indifference to slavery as a far-
           away institution was no longer possible. According to the abolitionists,
           there were now only two choices for a free northern man: one option was to
           himself become a servant of the slave power in the federal posse comitatus.
           The only other choice was to put slavery everywhere in America on the


               203
                   Fugitive Slave Act of 1850, 9 Stat. 462, 462–63 (explaining that U.S. Marshals are
           authorized “to summon and call to their aid the bystanders, or posse comitatus of the proper
           county, when necessary to ensure a faithful observance of the clause of the Constitution
           referred to, in conformity with the provisions of this act; and all good citizens are hereby
           commanded to aid and assist in the prompt and efficient execution of this law, whenever
           their services may be required, as aforesaid, for that purpose . . . ”); see also Extradition of
           Fugitives from Service, 6 Op. Att’y Gen. 466 (1854).
               204
                   Rao, supra note 170, at 25–26.
               205
                   Id. at 5, 20, 26–31.
               206
                   Id. at 27–28.
               207
                   Id. at 29.
               208
                   WALT WHITMAN, THE COMPLETE POEMS 292–03 (Penguin Classics 2005).
               209
                   Id. at 204.




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           road to destruction.210 All sides agreed that Abraham Lincoln’s plan to
           block any expansion of slavery into federal territories would eventually lead
           to the economic collapse of slavery in all the slave states.211 Ascendant in
           Congress, the South had nationalized the issue of slavery, and thereby
           radicalized much of the North. The locally controlled posse comitatus of
           ordered liberty had helped bring about the American Revolution. The
           federally controlled posse comitatus of slavery would help cause the Civil
           War.

                                          2. After the War
                 Victorious after four years of the bloodiest war in American history,
           the Radical Republicans and their political allies embarked upon a
           Reconstruction plan to demolish the slave power root and branch.212 The
           Thirteenth Amendment and the abolition of de jure slavery was just the first
           step.
                 Prigg v. Pennsylvania had found an implicit pro-slavery federal power
           in the Fugitive Slave Clause of the Constitution.213 So Congress looked to
           the other clauses of Article IV and found the guarantee that “[t]he Citizens
           of each State shall be entitled to all Privileges and Immunities of Citizens in
           the several States.”214 To the most ardent reconstructionists, this was
           enough to imply a congressional power to enact civil rights legislation—
           especially in conjunction with the enforcement power granted by Section
           Two of the Thirteenth Amendment.215 Such legislation was enacted,216 but
           Congress decided to put it on a more solid constitutional footing by
           proposing the Fourteenth Amendment for ratification, Section One of which
           provided that “[n]o State shall make or enforce any law which shall abridge
           the privileges or immunities of citizens of the United States . . . .”217
           Section Five gave Congress the power to enforce the Amendment by
           appropriate legislation.218
                 Likewise, federal slavery powers were later used for civil rights ends:
           the Civil Rights Act of 1866, the Enforcement Acts of 1870 and 1871, and

             210
                  Rao, supra note 170, at 26–31.
             211
                  DOUGLAS R. EGERTON, YEAR OF METEORS: STEPHEN DOUGLAS, ABRAHAM LINCOLN,
           AND THE ELECTION THAT BROUGHT ON THE CIVIL WAR 28, 35 (2010).
              212
                  See GARRETT EPPS, DEMOCRACY REBORN: THE FOURTEENTH AMENDMENT AND THE
           FIGHT FOR EQUAL RIGHTS IN POST-CIVIL WAR AMERICA (2006).
              213
                  U.S. CONST. art. IV, § 2, cl. 3.
              214
                  U.S. CONST. art. IV, § 2, cl. 1.
              215
                  MICHAEL KENT CURTIS, NO STATE SHALL ABRIDGE 42–43 (1986).
              216
                  Civil Rights Act of 1866, 14. Stat. 27–30.
              217
                  U.S. CONST. amend. XIV. CURTIS, supra note 215, at 42–43.
              218
                  Id.




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           the Ku Klux Klan Act of 1871 all gave federal marshals authority to
           summon the posse comitatus.219 Anti-slavery Senator Lyman Trumbull
           noted that the posse comitatus provision of the 1866 Civil Rights Act was
           “copied from the late fugitive slave act, adopted in 1850 . . . .”220 But in the
           South in 1872 as in the North in 1852, there was resistance to serving in a
           federal posse comitatus for routine enforcement of federal laws which many
           local people did not accept.221 Again, the federal military was sometimes
           used as posse comitatus, under the pretext that the men were merely acting
           as citizens, rather than as soldiers.222 Finally in 1878, Congress passed the
           Posse Comitatus Act to forbid use of the army in law enforcement, except
           when expressly authorized by Congress.223
                Today, the modern version of the civil rights statute provides that
           United States Magistrate Judges may appoint persons to serve warrants and
           process:
              [These] persons so appointed shall have authority to summon and call to their aid the
              bystanders or posse comitatus of the proper county, or such portion of the land or
              naval forces of the United States, or of the militia, as may be necessary to the
              performance of the duty with which they are charged . . . .224
                   The statutory authority of federal judges to raise the posse comitatus,
           as described above, is consistent with the American common law
           understanding of who may invoke the power.225 As U.S. Attorney General
           Edward Bates wrote, “[t]he right of the courts to call out the whole power
           of the county to enforce their judgments, is as old as the common law
           . . . .”226

              219
                   14 Stat. 27, 28 (1866) (Civil Rights Act) (Empowering federal civil rights
           commissioners to appoint “suitable persons . . . to summon and call to their aid the
           bystanders or posse comitatus of the proper county, or such portion of the land or naval
           forces of the United States, or of the militia, as may be necessary to the performance of the
           duty . . .”); 16 Stat. 140, 142 (1870) (Enforcement Act); 16 Stat. 433, 437 (1871) (voting
           rights).
              220
                   CONG. GLOBE, 39th Cong., 1st Sess. 475 (1866).
              221
                   Rao, supra note 170, at 50.
              222
                   Id. at 50–51.
              223
                   20 STAT. 145, 152 (1878). The law remains in effect today, albeit with major
           loopholes created for the “War on Drugs.” See David B. Kopel, Smash-up Policing: When
           Law Enforcement Goes Military, in BUSTED: STONE COWBOYS, NARCO-LORDS AND
           WASHINGTON’S WAR ON DRUGS 155–58 (Mike Gray ed., 2002).
              224
                   42 U.S.C. § 1989 (2006).
              225
                   WEBB, supra note 113, at 253 (“By the Common Law, every Judge of Record,
           Sheriffs, Coroner, Constable, or other Office to whose office belongs the Conservation of the
           Peace, may command and take the Aid and Force of Others to pacify Riots, or
           Affrays . . . .”) (citing 28 Edw. 3, c. 8).
              226
                   Suspension of the Privilege of the Writ of Habeas Corpus, 10 Op. Att’y Gen. 74, 80
           (1861).




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           E. POSSE COMITATUS IN LATE NINETEENTH CENTURY AMERICA TO
               THE PRESENT
                With the federal posse comitatus crisis of 1850–1878 finally resolved,
           the posse comitatus returned to its traditional American role, with the power
           of the county to be used in support of popularly-supported laws.227
                This is the period about which most people today have their greatest
           familiarity with the posse comitatus—of the western sheriff summoning the
           posse to pursue an escaped outlaw or to confront a violent gang. Frank
           Richard Prassel’s The Western Peace Officer is the leading study of the
           office of sheriff in the western United States during the late nineteenth and
           early twentieth centuries. As Prassel observes, the original legal structure
           of the office of sheriff in the western territories and states is nearly identical
           to the modern structure of the office.228
                The posse comitatus power continued to be a core, essential power of
           the county sheriff.229 To this day, in almost every American state, the
           sheriff’s common law posse comitatus power230 is given expression by a
           statute on the subject.231 As noted above, the power to raise the hue and cry


              227
                    The federal posse comitatus power never went away. The Supreme Court in 1890
           and 1895 affirmed the responsibility of every U.S. citizen to assist the federal government
           when needed in the posse comitatus. Cunningham v. Neagle, 135 U.S. 1, 65 (1890)
           (“marshals of the United States, with a posse comitatus properly armed and equipped . . .”);
           In re Quarles, 158 U.S. 532, 535 (1895) :
               It is the duty and the right, not only of every peace officer of the United States, but of
               every citizen, to assist in prosecuting, and in securing the punishment of, any breach
               of the peace of the United States. It is the right, as well as the duty, of every citizen,
               when called upon by the proper officer, to act as part of the posse comitatus in
               upholding the laws of his country.
           Cf. Wright v. United States, 158 U.S. 232, 239 (1895) (enforcing federal statute protecting
           federal officers, including posse comitatus, on Indian lands when in performance of their
           official duties, or after they have performed such duties). The actual use of the federal posse
           comitatus had returned to its pre-1850 norm of being rare and uncontroversial.
               228
                    “Virtually no significant changes have occurred in the American system of county
           law enforcement during the past century. Most sheriffs and constables operate under the
           same basic laws and customs as existed at the creation of their posts.” FRANK RICHARD
           PRASSEL, THE WESTERN PEACE OFFICER 119 (1972).
               229
                    MURFEE, supra note 145, at 21 (“For a thousand years the sheriff has been the
           principal conservator of the peace in his county, with full power to command, whenever
           necessary, the power of the county.”).
               230
                    “He is also required, in his capacity as conservator of the peace, to suppress riots,
           mobs, and insurrections, and, in the discharge of his duty, to employ the whole power of the
           county, including any military force that may be necessary and available for that purpose.”
           MURFEE, supra note 145, at 629; see also WEBB, supra note 113, at 252–53, 293–94.
               231
                    For example, in Colorado,
               It is the duty of the sheriffs, undersheriffs, and deputies to keep and preserve the peace
               in their respective counties, and to quiet and suppress all affrays, riots, and unlawful




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           is closely related to the posse comitatus power. American sheriffs
           continued to have the power of hue and cry.232
                One of the longstanding rules of the English law of sheriffs was that
           the sheriff is civilly liable for the acts performed by his undersheriff, his
           deputies, or anyone else in his service. This principle applies to the posse
           comitatus.233 Concomitantly, persons serving in the sheriff’s posse have the
           same legal immunities as does the sheriff herself.234 Once workman’s
           compensation was established, it was straightforwardly applied so that a
           person who is injured while serving in the posse is entitled to workman’s
           compensation just as are full-time deputies.235
                The posse comitatus is familiar enough to the Supreme Court that it
           figured in part of the questioning during oral argument in Plyer v. Doe in

              assemblies and insurrections. For that purpose, and for the service of process in civil
              or criminal cases, and in apprehending or securing any person for felony or breach of
              the peace, they, and every coroner, may call to their aid such person of their county as
              they may deem necessary.
           COLO. REV. STAT. § 30-10-516. A list of all state posse comitatus statutes is contained in the
           Appendix to this Article.
              232
                  For example, the first statutes of the Colorado Territory, created in 1861, stated:
              When any felonious offense shall be committed, public notice thereof shall be
              immediately given in all public places near where the same was committed, and fresh
              pursuit shall forthwith be made after every person guilty thereof by sheriffs, coroners,
              constables, and all other persons who shall be by any of them commanded or
              summoned for that purpose.
           1861 Colo. Sess. Laws 326; see also KARRAKER supra note 19, at 147–48 (explaining that
           colonial Virginia sheriffs could raise hue and cry, but “[i]t was probably little resorted to in
           Virginia because of the wide scattering of the population.”); cf. NILES, supra note 169, at
           188–89 (constables’ hue and cry).
              The New Mexico Territory specifically authorized the sheriff to cross county lines in
           order to perform an arrest and to take the posse comitatus with him for that purpose. N.M.
           STAT. § 15-40-14 (West 1953) (referencing historical law of 1868–69).
              233
                  Scott v. Vandiver, 476 F.2d 238, 242–43 (4th Cir. 1973). Conversely, when persons
           with no connection to a sheriff’s office falsely call themselves “posse comitatus,” the sheriff
           has no liability for the acts of these unauthorized imposters. See Canlis v. San Joaquin
           Sheriff’s Posse Comitatus, 641 F.2d 711, 717 (9th Cir. 1981). A particularly pernicious set
           of fraudsters was a private extremist organization of tax evaders in the latter twentieth
           century which wrongly called itself “Posse Comitatus.” See generally JAMES CORCORAN,
           BITTER HARVEST: GORDON KAHL AND THE POSSE COMITATUS (1990) (describing the history
           of Kahl and his misguided followers).
              234
                  Filarsky v. Delia, 132 S. Ct. 1657, 1665 (2012) (citing numerous precedents and
           MURFEE, supra note 145); State v. Parker, 199 S.W.2d 338, 339–40 (Mo. 1947); Monterey
           Cnty. v. Rader, 248 P. 912, 914 (Cal. 1926); Robinson v. State, 18 S.E. 1018, 1019 (Ga.
           1893).
              235
                  CAL. LAB. CODE § 3366 (2011); COLO. REV. STAT. § 8-40-202 (2013); Eaton v.
           Bernalillo Cnty., 128 P.2d 738 (N.M. 1942); Monterey Cnty., 248 P. at 916; Annotation, One
           Temporarily Impressed into Public Service in Emergency, as Within Workmen's
           Compensation Act, 142 A.L.R. 657 (1943).




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           1982.236 The case involved whether illegal aliens were entitled to attend
           American public schools; one hypothetical raised by a Justice involved the
           judicial authority to summon posse comitatus.237 More recently, the 2012
           Supreme Court case Filarsky v. Delia featured a mini-treatise on posse
           comitatus, recapitulating some of the leading precedents on the subject.238

           F. WHO IS SUBJECT TO POSSE COMITATUS DUTY?
                 Posse comitatus is like the jury: it is a law enforcement duty of the
           citizen, and a person who fails to perform either duty may be criminally
           punished.239 This principle is not in desuetude, but has been affirmed by
           state court cases from the late twentieth century.240 The posse duty inheres
           in the inhabitants of the county; that is, the Sheriff of Hinsdale County can
           command posse service only from the inhabitants of Hinsdale County.241
                 Exemptions of able-bodied males from posse duty are rare.242 One
           1848 English treatise243 said that nobles did not have to serve in the posse

              236
                   457 U.S. 202 (1982).
              237
                   Q. What about a posse comitatus, where a judge is theoretically, he may have
               difficulty doing it, but he is entitled to call upon bystanders to enforce an order of a
               court. Wouldn’t the people escorting these people to the border be much like a posse
               comitatus? They are not officially endowed with status, but they are helping to
               enforce a federal statute?
           Quoted in E. Barrett Prettyman, Jr., The Supreme Court’s Use of Hypothetical Questions at
           Oral Argument, 33 CATH. U. REV. 555, 585–86 (1984). The correct answer to the question,
           by the way, is “no.” If you are not summoned by a government officer, then you are not
           acting as posse comitatus. Posse comitatus is a status, which confers, inter alia, the same
           civil immunities as enjoyed by other law enforcement officers, as well the same liabilities for
           supervisors for an agent’s misconduct. See supra text accompanying note 233.
               238
                   Filarsky, 132 S.Ct. at 1664. As the Court explained, Sheriffs executing a warrant
           were empowered by the common law to enlist the aid of the able-bodied men of the
           community in doing so (citing 1 WILLIAM BLACKSTONE, COMMENTARIES *343); while
           serving as part of this “posse comitatus,” a private individual had the same authority as the
           sheriff and was protected to the same extent. See, e.g., Robinson, 18 S.E. at 1019.
               239
                   Sutton v. Allison, 47 N.C. 339 (1855); Houser v. Hampton, 29 N.C. 333 (1847);
           MURFEE, supra note 145, at 78 (citing Coyles v. Hurtin, 10 Johns. 85 (N.Y. Sup. Ct. 1813)).
               240
                   State v. Floyd, 584 A.2d 1157, 1159 (Conn. 1991); Williams v. State, 490 S.W.2d
           117, 119 (Ark. 1973).
               241
                   State ex rel. Att’y Gen. v. McLain, 50 N.E. 907, 908 (Ohio 1898) (“[H]e may
           command the inhabitants of the county to assist him.”). But see OKLA. STAT. ANN. tit. 22, §
           94 (West 2003) (under extraordinary circumstances, governor must summon posses of other
           counties to assist in a county where county’s posse comitatus cannot solve the problem);
           MORRIS supra note 23, at 227 n. 178 (noting one thirteenth century example of the king
           ordering a sheriff to summon men from two counties, if necessary).
               242
                   LAMBARDE, supra note 152, at 233 (Book I, ch. 22) (ministers, the infirm or decrepit);
           PULTON, supra note 152, at 29a (“which be not of the Clergie”); STEPHEN, supra note 161, at
           46 (citing Blackstone, “except women, clergymen, persons, decrepit and infants under the
           age of fifteen”); WEBB, supra note 113, at 252 (“But Clergy-men, and sick, lame, or




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           comitatus, but many other prominent English commentators have viewed
           posse duty as encompassing everyone regardless of rank.244 As with militia
           service, persons who are not able-bodied are exempt; some but not all
           commentators state that clergymen are exempt.245
                 Unlike with militia service, there is not necessarily an upper age limit
           for posse comitatus. In the view of some commentators, if you are sixty-
           five years old and able-bodied, you may be exempt from the militia, but not
           from posse comitatus.246 James Wilson stated in 1790 that “[n]o man above
           fifteen and under seventy years of age, ecclesiastical or temporal, is
           exempted from this service.”247 The traditional lower age limit for posse
           comitatus duty was fifteen years old, which was six years below the age of
           majority in England and the United States.248 One might argue that
           changing views about the legal responsibilities of minors might militate for
           eighteen years as the limit in the United States today.
                 Women were traditionally exempt.249 Arguably, the exemption has
           continuing legal validity by analogy to women still being exempt from



           impotent Persons are excepted.”).
               243
                   WATSON, supra note 25, at 2.
               244
                   COKE, supra note 85, at 193 (ch. 17) (“no man ecclesiasticall or temporall is
           exempted from this service”); DALTON, supra note 105, at 313; HAWKINS, supra note 150, at
           ch. 28 § 201 (“all Persons whatsoever, and even noblemen, and all others of what condition
           or degree soever they may be, except women, clergymen, persons decrepit, and infants under
           the age of fifteen years”); see also DALTON, supra note 23, at 136b (similar list to Pulton,
           except “villaines” omitted); LAMBARDE, supra note 152, at 233 (Book I, ch. 22) (“all manner
           of Gentlemen, Yeomen . . .”); PULTON, supra note 152, at 29a (“Al Lords and other liege
           people of the Realme, as KNIGHTS, Esquires, gentlemen, yeomen, laborers, servants,
           apprentices, villaines [serfs], and all other of the age of 15 years or above.”) (citing 13 Henry
           IV, ch. 7).
               245
                   LAMBARDE, supra note 152, at 233 (Book I, ch. 22) (ministers, the infirm or decrepit);
           PULTON, supra note 152, at 29a (“which be not of the Clergie”); STEPHEN, supra note 161, at
           46 (“except women, clergymen, persons decrepit and infants under fifteen”); WEBB, supra
           note 113, at 252 (“But Clergy-men, and sick, lame, or impotent Persons are excepted.”).
               246
                   KARRAKER, supra note 19, at 176–77 (reprinting an April 29, 1643, warrant for
           summoning the posse comitatus, applying to persons above the age of sixteen years and
           “under the age of three score years and able to travel, with such arms or weapons as they
           have or can provide”); M’KINNEY, supra note 190, at 260 (requiring all men above the age of
           fifteen years, “not aged or decrepid”); WEBB, supra note 113, at 252 (“all Males Persons
           therein, whether Freemen, or Servants, above the Age of 15 Years, and able to travel”)
           (citing LAMBARDE, supra note 152, at 309). But see COKE, supra note 85, at 193 (ch. 17)
           (“being above 15 and under 70”).
               247
                   WILSON, supra note 177, at 1017. Cf. STEPHEN, supra note 161, at 46 (citing ages
           fifteen and over, with no upper age limit).
               248
                   South v. Maryland ex rel. Pottle, 59 U.S. 396, 402 (1855); P OTTER, supra note 190, at
           243.
               249
                   See e.g., PULTON, supra note 152, at 29a.




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           conscription into the U.S. military250 and into the statutory militia of the
           United States.251 On the other hand, the Virginia Military Institute case
           forbids women being excluded from state military service and training
           unless the exclusion has an “exceedingly persuasive justification.”252
           Moreover, posse members will be assisting state or federal law enforcement
           officers, and these days, many such officers are female. Given that women
           are universally recognized as capable of serving as sworn law enforcement
           officers, it seems difficult to argue that any inherent characteristics of
           women in general disable them from being able to participate in a posse. At
           the least, the authority of a twenty-first century American sheriff to choose
           to accept female volunteers in the posse comitatus seems incontestable. As
           for the number of persons which a sheriff or other authorized official may
           summon, the decision is entirely up to that officer.253

           G. ARMS OF THE POSSE COMITATUS
                Because the sheriff must keep the peace, it is axiomatic that he “may
           lawfully beare armour or weapons.”254 Because the sheriff and his officers
           may lawfully bear armour or weapons, so may his posse comitatus.255
           Thus, persons summoned to the posse comitatus “may take with them such
           Weapons as shall be necessary to enable them effectually to do it . . . .”256
           The posse member must bring not only arms, but also whatever other
           instruments, such as automobiles, are necessary for service, as Justice

              250
                   See generally Rostker v. Goldberg, 453 U.S. 57 (1981) (upholding men-only draft
           registration as not violating the Equal Protection standards of the Fifth Amendment’s Due
           Process Clause).
               251
                   10 U.S.C §§ 310–311 (2012).
               252
                   United States v. Virginia, 518 U.S. 515, 524 (1996) (citing Mississippi Univ. for
           Women v. Hogan, 458 U.S. 718, 724 (1982)).
               253
                   DALTON, supra note 23, at 136a–136b; LAMBARDE, supra note 152, at 233 (Book I,
           ch. 22) (“And it resteth in the discretion of the Justices [of the Peace] and Shirife or
           Undershirife how many, or, how fewe, they will have assist them . . . .”); PULTON, supra note
           152, at 29a (“[S]aid Justices [of the Peace] and Shirife may take so many to assist them as
           they thinke good to arrest the offenders, and to cary them to the Gaole.”); WEBB, supra note
           113, at 252 (“of such a Number in his Discretion shall appear necessary”). Dalton noted a
           case in which a sheriff’s bailiff in order to execute a replevy “tooke with him three hundred
           men armed (modo guerino) with Brigandines, Jacks, and Gunness, and it was holden
           lawfull.” DALTON, supra note 23, at 136b; DALTON, supra note 105, at 314. The case was
           cited by many subsequent commentators.
               254
                   Statute of Winchester, 1285, 13 Edw. 1, stat. 2; Patton v. State, 86 S.W.2d 774 (Tex.
           Crim. App. 1935); DALTON, supra note 105, at 31; see also WEBB, supra note 113, at 294
           (“In the Execution of his Office he may arm himself, and his Assistants, with Arms offensive
           and defensive . . . .”).
               255
                   DALTON, supra note 23, at 14b.
               256
                   Id. at 136b; HAWKINS, supra note 150, at 161; see also CROMPTON, supra note 161, at
           62.




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           Benjamin Cardozo explained in 1928.257 However, the person who is
           summoning the posse has “discretion” as to “how many, or few, they have
           to attend them in their business, and in what form they shall be armed,
           weaponed, or otherwise furnished for it.”258
                As will be detailed below, Colorado sheriffs’ policies for posse
           armament vary depending on the circumstances and the exigencies of the
           situation. Usually, Colorado posses are used in situations where advance
           planning and training are possible. Sometimes, the sheriff prefers that they
           not be armed, as when providing gate security at a county fair. Other
           sheriffs might allow posse members in such a situation to carry a handgun if
           the person has a concealed handgun carry permit; the posse member would
           simply carry whatever handgun he or she usually carries for lawful
           protection.     At other times, posses are deployed in higher-risk
           environments. These trained members may be called upon, for example, to
           assist in the service of high-risk warrants, or in a hostage siege. For such
           posse members, the sheriffs’ policies may be prescriptive about particular
           arms to be carried. Finally, there are situations in which the citizens of a
           county may need to provide assistance on an ad hoc basis in an emergency,
           such as the manhunts for the escaped serial killer Ted Bundy or for the
           murderers of the Hinsdale County Sheriff.259 Then, the citizens simply
           bring whatever arms they happen to own.
                As a general policy, it is often best when posse members have the
           same types of firearms as those carried by a full-time certified sheriff’s
           deputy. Having similar arms means that in an emergency, the firearms,
           magazines, and ammunition are interchangeable. For example, if a deputy
           runs out of ammunition, a posse member can quickly provide a fresh
           magazine that will fit the deputy’s gun.
                Broadly speaking, compatibility with American law enforcement
           firearms would mean the following:
                       For handguns, a full-size (not compact or subcompact)260 semiautomatic
                        pistol in the calibers of 9mm, .40, or .45, made by a reputable manufacturer


              257
                   “A person, who, after having been lawfully commanded to aid an officer in arresting
           any person, or in re-taking any person who has escaped from legal custody, or in executing
           any legal process, willfully neglects or refuses to aid such officer is guilty of a
           misdemeanor.” Babington v. Yellow Taxi Corp., 164 N.E. 726, 727 (N.Y. 1928) (citing
           Penal Law (Consol. Laws, c. 40) § 1848.).
               258
                   DALTON, supra note 23, at 136b; DALTON, supra note 105, at 101, 313.
               259
                   See infra Parts III.A.1 and III.A.2.
               260
                   For modern semiautomatic handguns, typical barrel lengths are about three inches up
           to five or six inches. Some grips can accommodate all four fingers, while some can only fit
           three fingers. The longer barrels and a full-hand grip would characterize a full-size handgun.
           A three-inch barrel for a three-finger grip would be a subcompact. The dividing lines
           between full, compact, and subcompact do not have formal definitions.




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                        such as Smith & Wesson, Glock, or Ruger. Some sheriffs’ offices may use
                        a standardized .40 caliber only.
                       The magazines for such firearms generally hold up to twenty or twenty-one
                        rounds in 9mm, up to sixteen rounds in .40, and up to thirteen in .45 caliber.
                        A sheriff’s office may or may not allow the use of extenders to add one to
                        three rounds of ammunition capacity.
                       A person should carry at least two spare magazines.261 For rifles, an AR-15
                        platform semiautomatic rifle in .223 or .308 caliber.
                       For the rifle, a magazine of twenty or thirty rounds, although a few allow
                        the choice of ten.
                       For shotguns, a pump-action shotgun, most commonly the Remington 8700,
                        at least two spare magazines of the same size.262
                The above are not the firearms of tactical officers such as “SWAT” or
           “emergency services.” These special teams often use machine guns, stun
           grenades, and the like. Rather, the aforesaid arms such as the 9mm
           handgun or the AR-15 rifle are the typical firearms of an ordinary deputy on
           road patrol, ready to face a wide variety of possible situations.

                             III. COLORADO SHERIFFS AND THEIR POSSES
                This Part describes the use of posse comitatus in modern Colorado.
           Most of the materials presented are based on interrogatory and document
           production discovery responses from sheriffs’ offices in the case of
           Colorado Outfitters Association et al. v. Hickenlooper.263 In that case, fifty-
           five of Colorado’s sixty-two elected county sheriffs, as well as other
           plaintiffs, have filed a federal civil rights lawsuit against two gun bills
           passed by the Colorado legislature in March 2013. The plaintiffs contend


              261
                   Nationally, 100% of sheriffs’ offices authorize sworn personnel to use a
           semiautomatic handgun as the primary duty sidearm; 22% allow the choice to use a revolver
           instead. For a backup weapon, the semiautomatic pistol is authorized by eighty percent, and
           the revolver by 52%. ANDREA M. BURCH, BUREAU OF JUSTICE STATISTICS, U.S. DEP’T OF
           JUSTICE, NO. NCJ 238558, SHERIFFS’ OFFICES, 2007—STATISTICAL TABLES, 13 (2012) (Table
           28).
               262
                   The above is based on the author’s experience based on representing law enforcement
           and law enforcement training organizations in numerous cases, including as amici in District
           of Columbia v. Heller and McDonald v. Chicago, and on the author’s participation as an
           instructor at the annual meetings of the International Law Enforcement Educators and
           Trainers Association (ILEETA). Information about modern American law enforcement
           choices for firearms can be found at the ILEETA website, http://www.ileeta.org, the website
           of the International Association of Law Enforcement Firearms Instructors, http://www.
           ielefia.com, the websites of the many state associations of law enforcement firearms
           instructors, and the products page of the law enforcement news website PoliceOne.com,
           http://www.policeone.com/police-products/firearms/.
               263
                   See text accompanying notes 284–318.




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           that the bills violate the Second Amendment, the Fourteenth Amendment,
           and the Americans with Disabilities Act.264 I am the attorney for the fifty-
           five sheriff plaintiffs and for one retired police officer.265
                This Part first provides the definitions and legal standards for various
           types of peace officers in Colorado. Section A then details some modern
           uses of the posse comitatus in Colorado during crime emergencies. The
           remainder of Part III describes a relatively new development in the posse
           comitatus: sheriffs using a posse of trained volunteers on a regular basis.
           Section B briefly describes volunteer posse use for routine non-crime
           situations, such as providing security at a parade or fair. Section C
           summarizes how Colorado sheriffs use their trained posses for violent crime
           control. Finally, Section D describes a civic organization called the
           Colorado Mounted Rangers, whose members train to high standards, and
           who make themselves available as posse comitatus to the twenty-eight law
           enforcement agencies with whom they have memoranda of understanding.
           Sheriffs and other chief law enforcement officers call out the Colorado
           Mounted Rangers during fire emergencies and in many other situations.
                Let us begin by describing some terms for persons who serve Colorado
           in law enforcement. Most states have analogous statutes or rules. A
           “certified” or “sworn” officer is a person who has completed a certain
           number of hours of training pursuant to the statewide standards for Peace
           Officer Standards and Training (POST). The training may be provided by
           law enforcement offices themselves, by community colleges, or by some
           other institution. A person who has completed the course of instruction and
           passed a test thereon is eligible to be hired as a full-time certified peace
           officer. A person who completes a shorter course of training is eligible to
           be a “reserve” officer. Reserve officers typically serve as volunteers for a
           local law enforcement agency and are called to duty as necessary. Reserve
           officers are “peace officers” for all legal purposes in Colorado.266


               264
                   Plaintiff’s Trial Brief at Civil Action No. 13-CV-1300-MSK-MJW, Colorado
           Outfitters Ass’n. v. Hickenlooper, (D. Colo. Mar. 14, 2014), available at http://
           coloradoguncase.org/Colorado-Outfitters-plaintiffs-pretrial-brief.pdf, archived at http://
           perma.cc/7U7E-HBT7.
               265
                   The major filings in the case are available at http://www.ColoradoGunCase.org. A
           nine day trial in the case concluded on April 9, 2013, and District Judge Marcia S. Krieger
           ruled against the plaintiffs on June 26, 2014. In November 2012, the District Court had
           ruled that the “political subdivision doctrine” precludes standing for the sheriffs in their
           official capacities. The court allowed eleven sheriffs who will be retiring in January 2015 to
           join the suit in their individual capacities as American citizens. The case is presently on
           appeal to the Tenth Circuit, including on the sheriff standing issues.
               266
                   COLO. REV. STAT. §§ 24-31-301, 24-31-305 (2013). The minimum number of
           required hours for full Peace Officer Standards and Training certification in Colorado is 540;
           however, all the programs include many more hours than that. For the reserves, a minimum




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                 By the practices of all Colorado sheriffs’ offices, every full-time
           deputy who is engaged in dealing with the general public (e.g., road patrol,
           detective work, undercover) will be a POST-certified officer who has
           passed a 1,500-hour course. These full-time employees may sometimes be
           supplemented by volunteer reserve officers. By Colorado statute (and by
           common law), sheriffs have the authority to hire and fire whomever they
           like, and to summon posses.267 Unlike in a municipal police department,
           sheriffs’ deputies are not part of the civil service and do not engage in
           collective bargaining.
                 Based on available manpower, sometime sheriffs hire “noncertified”
           full-time deputies for more limited roles. The most common such role is
           being a jail deputy (“detention deputy”).268 Other duties include providing
           security at courts and for the transport of prisoners, and in special
           situations, such as guarding a trial witness or a victim who has received
           death threats.
                 Not all jail deputies carry firearms, while deputies in these other roles
           typically do. Any deputy (whether certified or noncertified) who carries a
           firearm must periodically “qualify” with the firearm. That is, the deputy
           must pass a firearms shooting proficiency test. All offices require
           qualification before first using a gun; some offices require requalification
           annually and others require it several times a year. The particular form of
           the shooting qualification test and the required score are determined by the
           sheriff or by a deputy to whom he or she delegates the standard-setting.
           Some offices provide noncertified deputies with firearms; some offices
           allow or require deputies to provide their own firearms. Some offices have
           rules that allow noncertified deputies to carry guns depending on the
           deputy’s experience or other factors.
                 At least seventeen county sheriffs’ offices have organized posses,
           composed of citizen volunteers.269 Some posse members are certified
           reserve peace officers, but most are not. All posse members are trained by


           of 253 hours of training is required. Telephone conversation with Sarah J. Bouma,
           Operations Assistant, Independence Institute, and Lori Jencks, Administrative Assistant for
           Colorado POST (June 11, 2014).
              267
                   COLO. REV. STAT. §§ 16-2.5-103(2), 30-10-506 (2013).
              268
                   See, e.g., Pl.’s Resp. to Def.’s Interrog. No. 4 (James L. Beicker, Sheriff of Fremont
           County).
              269
                   Counties with posses include Adams, Alamosa, Baca, Custer, Grand, Hinsdale,
           Larimer, Lincoln, Logan, Mesa, Montezuma, Montrose, Morgan, Prowers, Rio Blanco,
           Teller, and Weld. See Section A, infra. Of these, the most populous are Adams County
           (460,000), Larimer County (310,000), Weld County (264,000), and Mesa County (148,000).
           These four counties comprise over one-fifth of the Colorado population. State & County
           Quick Facts, Colorado, U.S. CENSUS BUREAU (Mar. 27, 2014), http://quickfacts.census.gov/
           qfd/states/08000.html, archived at http://perma.cc/B7XJ-Q8J9.




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           the sheriff’s office and are required to follow regulations promulgated by
           the sheriff. Posses perform a wide range of duties based on the
           determination of the sheriff. For posse members who are allowed to carry
           firearms, they are almost always required to pass the same firearms
           qualification as full-time deputies, and they have usually been given
           firearms training by the sheriff’s office.
                The organized and trained posse is an important development in the
           story of the posse comitatus. A sheriff’s posse comitatus authority, from
           Anglo-Saxon England to the modern United States, includes the authority to
           summon all able-bodied men. In modern Colorado, sheriffs have used only
           volunteers for their posses. Further, while there have sometimes been
           emergencies when a brand new posse is assembled (e.g., the incidents in
           Pitkin County, Hinsdale County, and Rio Blanco County270), the more
           common practice is that the posse volunteers are a particular group of
           individuals who have volunteered and undergone training and now assist
           the sheriff’s office in a wide variety of ways. The need for assistance is
           sometimes known in advance (e.g., gate security at the county fair), or it
           may arise suddenly (e.g., a hostage situation or a wildfire). Regardless, the
           possemen and possewomen who assist in such situations are people who
           have previously come forward to volunteer for long-term service in the
           posse and who have received training appropriate for their duties.
                Universally, the only rifle or handgun ammunition allowed is jacketed
           hollowpoint cartridges. The copper jacket surrounding a lead bullet reduces
           lead fouling in the firearm, and thereby reduces the risk of misfeeds or
           malfunctions. Hollowpoint bullets are designed to open up when they
           impact the target. This substantially reduces the risk that the bullet might
           overpenetrate (exit the target) and thereby endanger an innocent bystander.
           Because hollowpoints do not exit the target, all their kinetic energy is
           expended in the target. This significantly increase the possibility of
           delivering a “fight-stopping hit” that makes the target unable to inflict
           injury on whomever is being threatened.271
                As will be described below, in addition to the posses organized by a
           particular sheriff’s office, there is a statewide civic organization called the
           Colorado Mounted Rangers. The Rangers are ordinary citizens who train
           themselves to very high standards (in accordance with the POST
           curriculum). They have memoranda of understanding to provide aid to
           local law enforcement agencies upon request; that aid may include


             270
                 See infra text accompanying notes 272–86.
             271
                 Joshua F. Berry, Hollow Point Bullets: How History Has Hijacked Their Use in
           Combat and Why It Is Time to Reexamine the 1899 Hague Declaration Concerning
           Expanding Bullets, 206 MIL. L. REV. 88, 137–42 (2010).




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           everything from crowd management at a parade to backcountry search and
           rescue. Many but not all of the Rangers are armed. They carry the same
           handguns and rifles as described in the preceding paragraphs.
                 Finally, there are sometimes situations in which the sheriffs need to
           call upon the armed assistance of whatever armed citizens may be available
           in an emergency. Such situations range from manhunts to securing a
           burglarized building to deterring looting after a natural disaster. Specific
           details of all the above situations are described in the next Section.

           A. POSSE COMITATUS IN CRIME EMERGENCIES

                                          1. Pitkin Sheriff’s Office
                Ted Bundy was perhaps the most notorious serial killer in American
           history. Before his execution in 1989, he confessed to thirty murders,
           which were often accompanied by rape and torture of the victims.272 On
           June 6, 1977, Bundy jumped out a courthouse window during a break in a
           preliminary hearing at a state court in Aspen, Colorado.273 A posse was
           immediately assembled. As one author observed, “[t]he men who tracked
           Ted Bundy looked like something out of a Charles Russell or Frederick
           Remington painting, garbed in Stetsons, deer-skin vests, jeans, cowboy
           boots, and carrying sidearms. They could have been possemen of a century
           earlier, looking for Billy the Kid or the James boys.”274 Some “[p]ossemen
           in high-country rigs and on horseback started up the mountain roads around
           Aspen that afternoon . . . .”275 Other “deputies and volunteers made a
           house-by-house search” through Aspen.276 By June 10, the FBI had joined
           the manhunt. The number of other searchers (certified law enforcement
           plus the posse) had declined from 150 to 70, given the feeling that Bundy
           was by then long gone from Pitkin County.277
                Bundy, in the meantime, had broken into a mountain cabin in Castle
           Creek (just south of Aspen), and stolen some clothing and provisions.278
           His effort to head south to get to U.S. Highway 50 was cut off by the
           snowpack that remained in the high mountains even in the late spring. On
           June 10, he headed back to the Castle Creek cabin, but saw that the posse

              272
                   This is the one incident in Part III for which the information was not produced as a
           result of sheriff responses to discovery in the Colorado sheriffs’ case. The Pitkin County
           Sheriff is one of seven elected Colorado sheriffs who did not file suit as a plaintiff.
              273
                   RICHARD W. LARSEN, BUNDY: THE DELIBERATE STRANGER 179–82 (1980).
              274
                   ANN RULE, THE STRANGER BESIDE ME 219 (2000).
              275
                   LARSEN, supra note 273, at 182.
              276
                   RULE, supra note 274, at 219.
              277
                   Id. at 220.
              278
                   Id. at 221.




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           was already there.279 He snuck away, hungry and exhausted, suffering from
           the broken ankle that had resulted from his jump out of the courthouse
           window.280 After a night in the cold wilderness, Bundy found a Cadillac
           with the keys in the ignition. By 2 A.M. on June 13, he was driving down
           Colorado Highway 82 on his way to Interstate 70, and from there, to a
           completed escape.281 But he was so exhausted he drove poorly, weaving
           around the road. Some deputies on road patrol stopped the apparently
           drunk driver and immediately recognized that they had just apprehended
           Ted Bundy.282
                A return to the Castle Creek cabin with its food and shelter would have
           restored some of Bundy’s energy, perhaps sufficiently so that he would
           have been able to drive the stolen car without attracting attention to himself.
           Had he made good on the final step of his escape, more young women
           would very likely have been the next victims of the serial killer. Bundy
           escaped again on December 30, 1977, and he was not recaptured until
           February 12, 1978, in Pensacola, Florida. In the interim, he had murdered
           three women. Thus, the posse’s success in thwarting his June 1977 escape
           very likely saved innocent lives.

                                       2. Hinsdale Sheriff’s Office
                Hinsdale County is the most remote county in the lower forty-eight
           states and “contains some of the most rugged mountains in Colorado.”283
           As detailed infra, the Hinsdale County Sheriff’s Office has a regular posse
           with trained volunteers. But on one occasion, a much larger posse was
           needed. Hinsdale Sheriff Ron Bruce described the events in that county of
           November 1994 in a series of answers to interrogatories.284
                In 1994, Hinsdale Sheriff Roger Coursey was short-staffed. In fact, he
           was the office’s only law enforcement officer. Not long before, there had
           been much upheaval in the Sheriff’s Office, with the former sheriff and
           undersheriff having been indicted by the U.S. Attorney for illegal electronic
           surveillance. The Board of County Commissioners appointed Deputy
           Roger Coursey Sheriff in August 1994. He was elected to a four-year term
           that November.


              279
                  Id.
              280
                  Id.
              281
                  Id.
              282
                  Id. at 221–22.
              283
                  John Duer Irving & Howard Bancroft, Geology and Ore Deposits near Lake City,
           Colo., U.S. GEOLOGICAL SURVEY BULLETIN 478, at 10 (D.C.: G.P.O. 1911).
              284
                  All information in Subsection 2 is taken from Pl.’s Resp. to Def.’s Interrog. (Ron
           Bruce, Sheriff of Hinsdale County).




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                 Sheriff Coursey reached out for the best help he could find in the most
           thinly populated county in Colorado. Ray Blaum was a retired Air Force
           Lieutenant Colonel and was willing to serve. Mr. Blaum was appointed
           Undersheriff and became a salaried employee of the Hinsdale County
           Sheriff’s Office. Mr. Blaum was not POST-certified. For a duty sidearm,
           Mr. Blaum used a Beretta semiautomatic pistol, which he already
           personally owned.
                 At about 5:35 A.M. on the morning of November 18, 1994, the
           Sheriff’s Office received a phone call from the Mineral County Sheriff’s
           Office: there had been an attempt to break into a bank in Creede. The bank
           manager had observed a light colored pick-up truck with a camper shell
           fleeing north on Highway 149, towards Lake City, the only incorporated
           municipality in Hinsdale County. Sheriff Coursey and Undersheriff Blaum
           got into their respective patrol cars and drove to Highway 149. The
           robbers’ vehicle was stopped shortly before 5:50 A.M. near Highway 149, in
           the driveway of the Alferd Packer Massacre Site.
                 Sheriff Coursey and Undersheriff Blaum took positions outside the
           robbers’ vehicle. They ordered the suspects (one male and one female) to
           exit the vehicle. The male suspect fired one shot with a .44 revolver, killing
           Sheriff Coursey nearly instantly. As the vehicle fled, Undersheriff Blaum
           emptied the thirteen rounds of his Beretta semiautomatic towards the
           vehicle. Apparently he had loaded the Beretta with a short stack. Instead of
           having the full capacity of seventeen rounds in the magazine, plus one in
           the firing chamber, the gun had only twelve rounds in the magazine plus
           one in the chamber.
                 In a report immediately thereafter, Undersheriff Blaum described his
           shots as having “no apparent effect.” In fact, all thirteen shots hit the truck.
           Most of the shots were absorbed by the camper shell, protecting the
           suspects inside the cab. But at least one shot hit a tire. The truck was
           abandoned within a couple miles of the scene of the crime.
                 The trail of the suspects’ footprints in the snow, leading away from the
           truck, ran out after four and one-half miles when it intersected a dirt road.
           Bloodhounds attempted to follow the scent, but never succeeded. During
           the manhunt for two suspects, over one hundred local citizens were sworn
           in to assist the approximately two hundred law enforcement officers in
           conducting the search. Regarding the latter, Gunnison County Sheriff Rick
           Murdie and Gunnison Chief of Police Stu Ferguson were a significant help.
                 During this time, almost everyone in Lake City was carrying one kind
           of gun or another and usually more than one. Several hundred buildings
           and the surrounding land mass was searched without any report of a single
           shot being fired. There is no information on the firearms and magazines
           since they ran the gamut of nearly everything available at the time.




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                 After the manhunt had gone on for a month, on December 17, 1994,
           the suspects were both found dead not far from their abandoned truck.
           They had killed themselves not long after the crime, when they failed their
           attempt to climb the treacherously steep mountain. Their bodies were
           concealed underneath the low branches of a tree. Given the location of the
           bodies, the suspects had likely seen that the manhunt was in progress.
           Undersheriff Blaum’s shot to the tire had ended the suspects’ multistate
           crime spree, which had begun in Provo, Utah, on June 21. The murderer,
           Mark Allen Vredenburg, had been a career criminal; his accomplice, Ruth
           Slater, an extreme alcoholic and abuser of prescription drugs. Vredenburg
           had used the revolver to kill Ruth Slater and then himself.285
                 The large citizens’ posse aided in preventing the murderers from
           escaping. Given that there were two people at large who were apparently
           ready to kill, it would have been foolish for individuals to go out on a
           manhunt alone or even in pairs. The searchers had to operate in groups, so
           the armed citizen volunteers significantly increased the number of groups
           that could be in the field.
                 We will never know exactly how the killers perceived their tactical
           situation at the end, but it is reasonable to infer that the presence of so many
           groups of armed searchers in the field made it clear to the killers that there
           was no possibility of sneaking out through any accessible path, and no
           possibility of shooting their way past so many armed people. Accordingly,
           the killers determined that their only possibility of escape was to climb a
           very steep mountain under difficult winter conditions. When this proved
           impossible, the killers committed suicide.

                                        3. Rio Blanco Sheriff’s Office
                Sheriff Si Woodruff recounted Rio Blanco County’s experience with
           posse use.286 On September 8, 2003, two men in a stolen car fled on foot
           from a traffic stop. The Sheriff deputized two individuals to assist the
           nighttime manhunt, allowing the deputies to get some rest. The posse
           members were previously known to the Sheriff’s Office as very experienced


              285
                   Newspaper articles about the events include: Michael Booth, Sheriff’s Killers Left
           Note, DENVER POST, Dec. 23, 1994, at 1B; Charlie Brennan, Pair Sought in Slaying of
           Sheriff, ROCKY MOUNTAIN NEWS, Nov. 19, 1994, at 6A; Colorado Sheriff Killed in Pursuit,
           FRESNO BEE, Nov. 20, 1994; Fawn Germer, Grisly Discovery Lifts Burden, ROCKY
           MOUNTAIN NEWS, Dec. 19, 1994, at 5A; Greg Lopez, The New Sheriff, ROCKY MOUNTAIN
           NEWS, Dec. 11, 1994, at 16A; Mountain Avenges Sheriff, NEW ORLEANS TIMES PICAYUNE,
           Dec. 20, 1994; Marilyn Robinson et al., Sheriff’s Killers Hunted, DENVER POST, Nov. 19,
           1994, at 1A; Tracy Seipel, Dogs Sniffed out Suspects, DENVER POST, Dec. 19, 1994, at 1A.
              286
                   All information in Subsection 3 is taken from Pl.’s Resp. to Def.’s Interrog. No. 3 (Si
           Woodruff, Sheriff of Rio Blanco County).




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           pistol and rifle shooters. They had had Glock .40 handguns, AR-15 rifles,
           shotguns, and perhaps other arms. They joined the Sheriff’s Office in an
           Office vehicle, assisting with patrol of the highway and operating the
           thermal vision camera. Both suspects were apprehended with no shots
           fired.

                                         4. Jackson Sheriff’s Office
                 Sheriff Scott Fischer reported that an armed posse was used after a
           jailbreak in September of 2003 or 2004, where the inmate fled to the town
           limits of Walden.287

                                         5. Larimer Sheriff’s Office
                Erik Nilsson, presently an employee of the Sheriff’s Office, recalled
           being deputized for posse comitatus service following the July 31, 1976,
           Big Thompson River flood.288 At the time, Mr. Nilsson was a civilian
           member of the Larimer County Mountain Rescue Team. On August 4,
           1976, he was transported by helicopter to the small town of Drake, which is
           located in a canyon. He acted as a visible law enforcement presence to
           maintain order and deter looting, and carried a loaded firearm.
                In late June and early July 2012, during the High Park fire, Sheriff
           Justin Smith was prepared to use posse comitatus to provide armed security
           in evacuated areas, because the Colorado National Guard had to demobilize
           before the fire was fully contained. However, the weather changed quickly
           and the fire was contained before armed citizens were necessary.
                During the September 2013 floods and aftermath, Sheriff Smith
           exercised posse comitatus authority on three occasions. On September 14,
           he deputized members of the Glenhaven Volunteer Fire Department to
           provide protection to the firefighters or the citizens of that community. On
           September 18, he deputized fire department personnel present in the Storm
           Mountain community above Drake. Later that day, he deputized a citizen
           who was assisting a Colorado State Trooper (who was a trapped resident of
           the neighborhood).
                The posse comitatus deputizations were used because of concerns
           about the risk of looting and other disorder. The posse comitatus members
           had full authority to carry firearms in the performance of those duties as
           they saw necessary.



              287
                  Pl.’s Resp. to Def.’s Interrog. (Scott Fisher, Sheriff of Jackson County).
              288
                  All information in Subsection 5 is taken from Pl.’s Resp. to Def.’s Interrog. (Justin
           Smith, Sheriff of Larimer County).




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                                         6. Morgan Sheriff’s Office
                    Sheriff Jim Crone recalled that when he was a deputy:
              I was involved in a specific incident in March of 1985 where I was in pursuit of a
              stolen vehicle from Texas. The vehicle left the roadway and went cross-county into
              Adams County, and we were unable to pursue due to having no four-wheel drive
              vehicles. A local rancher offered himself and his pickup so he and I could follow the
              vehicle’s tracks through the snow (in the middle of a blizzard at night). Locating the
              pickup, the rancher pursued it back into Morgan County.
              We went across country for several minutes and went back into Adams County. After
              the stolen pickup rammed us and I fired a shot into the front of the pickup, it stopped
              shortly thereafter. I gave the rancher my shotgun and had him cover me while I
              arrested both occupants of the pickup. The rancher fired no shots but stood armed, in
              view of the suspects, as my backup. I made the arrests alone in a remote area in
              which road signs were covered with snow and my radio could not reach out to the
              other cars looking for us.289
                While citizen assistance in chases of suspects is rare, Sheriff Crone
           also noted the more common scenarios in which armed citizens,
              usually local farmers or ranchers, back us [sheriffs] up when involved with a
              combative suspect, a felony stop, or a crime in progress. In these instances, the
              citizens had told us they had ready access to a firearm (inside the house, vehicle, or on
              their person), if so needed.
              When searching a private residence or a business where a burglar alarm has gone off,
              I have had instances where an armed home/business/property owner has accompanied
              me while armed with a handgun, when I had no backup close at hand.
                So when Sheriff Crone is the only law enforcement officer at crime
           scenes and has to clear a building, not knowing whether he will encounter
           violent criminals waiting to ambush him, he has been backed up by citizens
           armed with their personal handguns.

           B. POSSE COMITATUS IN LOW-RISK SITUATIONS
                The posse of the Weld County Sheriff’s Office is divided into various
           classes, depending on whether the posse member is a POST-certified
           Reserve officer, and on whether the posse member can provide his or her
           own horse.290
                The large majority of posse members who are not POST-certified do
           not carry firearms while on duty, although there is a “Special Deputy”




              289
                  All information in Subsection 6 is taken from Pl.’s Resp. to Def.’s Interrog. No. 3
           (Jim Crone, Sheriff of Morgan County).
              290
                  Pl.’s Resp. to Def.’s Interrog. No. 3 (John Cooke, Sheriff of Weld County).




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           program to allow a few of them to do so.291 The situations in which the
           unarmed posse members assist the sheriff’s office include:
              The Greeley Independence Stampede, The Farm Show, The County Fair, and The
              Cattle Baron’s Ball. Other miscellaneous events they assist with include United Way
              events, Pheasants Forever, sporting events, UNC Graduation, Rocky Mountain Senior
              Games, community celebrations, assisting other agencies when needed, Ducks
              Unlimited, election security, school events, Law Enforcement and Military memorial
              ceremonies, National Drug Take Back day, children’s safety events, and Santa
              Cops.292
           These events are typical of the event security provided by posse members
           throughout Colorado.

           C. TRAINED POSSE COMITATUS IN FORCIBLE LAW
               ENFORCEMENT SITUATIONS
                Below are descriptions of how some sheriffs’ offices have used or
           considered using armed posses on a regular basis.

                                    1. Alamosa County Sheriff’s Office
                Posse members assist the day-to-day operation of the Alamosa County
           Sheriff’s Office.293 After training provided by the office and after passing a
           qualification test, posse members are required to carry firearms. Posse
           members provide their own firearms.

                                      2. Baca County Sheriff’s Office
              The posse is typically comprised of twelve-to-twenty volunteer
           members, and, at the time of answering the interrogatories, had fifteen
           members.294
              The Baca County Sheriff’s Posse’s primary purpose is to support the Baca County
              Sheriff’s Office during large public events, natural disasters, and incidents where the
              Baca County Sheriff’s Office alone may be unable to provide the level of security or
              safety the public requires. The Baca County Posse most frequently assists in yearly
              road closures for winter storms requiring manned road closures and during road
              closures due to large-scale fires. During these events, their goal is to keep the public
              out of the area and provide scene security . . . . Posse members are required to be
              armed, and they provide their own firearms.




              291
                  Id.; Cooke’s Dep. 218:20–220:5, Oct. 23, 2013.
              292
                  Pl.’s Resp. to Def.’s Interrog. No. 3 (John Cooke, Sheriff of Weld County).
              293
                  All information in Subsection 1 is taken from Pl.’s Resp. to Def.’s Interrog. No. 4
           (Dave Stong, Sheriff of Alamosa County).
              294
                  All information in Subsection 2 is taken from Pl.’s Resp. to Def.’s Interrog. No. 3
           (Dave Campbell, Sheriff of Baca County).




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                                    3. Custer County Sheriff’s Office
                The Custer County Sheriff’s Office posse was established April 2,
           2003. “The posse assists with parades, traffic control, crowd control, road
           closures, searches, inmate transfers and detention detail.”295 It has also
           assisted with searches for escaped inmates, fugitives, or missing persons;
           with watching inmates; in searches and in the service of search warrants; in
           a hostage situation; in drug surveillance of a house; and in guarding the
           home of a teacher who had received death threats. There is a limit of forty
           members, and currently twenty-five are certified to carry handguns, while
           sixteen are additionally certified to carry shotguns. Posse members receive
           firearms training from the Custer County Sheriff’s Office; they are not
           required to be POST-certified.

                                     4. Delta County Sheriff’s Office
                “After the 9-11 terrorist attacks [the Delta County Sheriff’s Office]
           considered deputizing non certified personnel to provide security for
           infrastructure in our county, mines, railroad, dams, etc.” This was not acted
           upon.296

                                   5. Douglas County Sheriff’s Office
                As of 1975, the office had a posse and a special deputies program. 297
           Members would provide backup on a call when needed (especially at
           night); assist with search and rescue (notably, on horseback in the
           mountains); or provide security at events. They provided their own
           firearms, vehicles, horses, and so on. The most common firearms were .38
           or .357 revolvers. The programs were dissolved during the administration
           of Sheriff Zotos (1983–2002).

                                    6. Elbert County Sheriff’s Office
                The posse was removed by the previous Sheriff of Elbert County and
           has been restored by the current Sheriff.298 Posse members serve as a force
           multiplier for the Office.299 For example, they have guarded the scenes of
           the small plane crashes.300 At present, the posse has been trained and


              295
                  All information in Subsection 3 is taken from Pl.’s Resp. to Def.’s Interrog. No. 3
           (Fred Jobe, Sheriff of Custer County).
              296
                  Pl.’s Resp. to Def.’s Interrog. No. 4 (Fred McKee, Sheriff of Delta County).
              297
                  All information in Subsection 5 is taken from Pl.’s Resp. to Def.’s Interrog. No. 3
           (David Weaver, Sheriff of Douglas County).
              298
                  Heap Dep. 99:2–6, Oct. 16, 2013 (Shayne Heap, Sheriff of Elbert County).
              299
                  Id. at 99:12.
              300
                  Id. at 102:6–16.




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           qualified in the Office’s use of force practices for everything except
           firearms. The Sheriff expects to issue new policies providing for the
           training, qualification, and use of firearms by the posse.301

                                   7. Hinsdale County Sheriff’s Office
                 Currently, the Hinsdale County Sheriff’s Office receives armed
           volunteer services from six men who are not POST-certified. Two of them
           are retired Air Force Colonels.302 The volunteers get the same in-house
           training as do the sworn office staff. All of the Hinsdale County Sheriff’s
           Office volunteers are encouraged to carry a firearm when in the field; they
           are required to have completed a concealed handgun permit class and
           qualification. Some Hinsdale volunteers have been issued patrol carbines
           with either a thirty or sixty round magazine; sometimes “they have provided
           their own carbine with the same capacity magazines.” The Office trains
           “with standard capacity magazines for our carbines and select-fire firearms,
           up to and including sixty-round magazines.” “Most [non-sworn staff] also
           personally own such firearms, including select-fire firearms (BATFE
           licensed).”

                                    8. Kiowa County Sheriff’s Office
                 The Kiowa County Sheriff’s posse is used for search and rescue,
           traffic control, and to man road closure sites.303

                                    9. Lincoln County Sheriff’s Office
                 The Lincoln County Sheriff started a posse in 2007 for events,
           evidence searches, and missing person searches.304 There are currently
           twenty members. The posse has also been deployed for gate security at the
           annual Lincoln County Fair. Posse members are authorized for ride-alongs
           with certified deputies. Posse members are allowed, but not required, to
           carry a handgun (of the same types authorized for sworn deputies) if the
           posse member has been through concealed carry training. Additional
           training for them is available through a simulator.




              301
                  Id. at 97:8–101:22
              302
                  All information in Subsection 7 is taken from Pl.’s Resp. to Def.’s Interrog. No. 4
           (Ron Bruce, Sheriff of Hinsdale County).
              303
                  Pl.’s Resp. to Def.’s Interrog. No. 3 (Forest Frazee, Sheriff of Kiowa County).
              304
                  All information in Subsection 9 is taken from Pl.’s Resp. to Def.’s Interrog. No. 3
           (Tom Nestor, Sheriff of Lincoln County).




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                                    10. Logan County Sheriff’s Office
                Created in approximately 1960, the Logan County Sheriff’s posse
           currently has fifteen members.305 The posse’s duties are to perform
           “security for local sports activities, county fair, occasional medical security
           on an inmate, or any other duties assigned to them by the sheriff. They are
           required to go through firearms training and qualify quarterly.” The current
           captain is a certified peace officer who is not an employee of the county.

                                 11. Montezuma County Sheriff’s Office
                Created in 1968, the Montezuma Sheriff’s posse currently has twenty-
           nine members and assists the office with law enforcement and search and
           rescue missions.306 They also provide security for community events, guard
           crime scenes, and have also assisted with court security and the
           transportation of inmates. Posse members may carry a firearm as permitted
           or required by the sheriff. Each posse member must complete a mandatory
           basic firearms training course and a qualification test. They furnish their
           own firearms in accordance with office standards.307

                                   12. Morgan County Sheriff’s Office
                At present, the posse has one member, who does not carry a firearm.
           He assists deputies directing traffic at accident scenes, handcuffing a
           suspect when ordered by a deputy, and so on. The Sheriff is in the early
           stages of a creating a new policy which would enlarge the posse and would
           allow posse members to carry arms.308

                                   13. Prowers County Sheriff’s Office
               The posse has fifteen members, four of whom are certified reserve
           peace officers, and eleven of whom are noncertified members.309 Posse
           members may be issued a Glock .40 handgun.310

           D. THE COLORADO MOUNTED RANGERS
                Some armed citizens have long-running close relationships with the
           sheriffs to provide aid. One such group is the Colorado Mounted Rangers

              305
                  All information in Subsection 10 is taken from Pl.’s Resp. to Def.’s Interrog. No. 3
           (Brett L. Powell, Sheriff of Logan County).
              306
                  All information in Subsection 11 is taken from Pl.’s Resp. to Def.’s Interrog. Nos. 3,
           6 (Dennis Spruell, Sheriff of Montezuma County).
              307
                  Pl.’s Resp. to Def.’s Interrog. No. 3 (Dennis Spruell, Sheriff of Montezuma County).
              308
                  Pl.’s Resp. to Def.’s Interrog. No. 4 (Jim Crone, Sheriff of Morgan County).
              309
                  Pl.’s Resp. to Def.’s Interrog. No. 4 (Jim Faull, Sheriff of Prowers County).
              310
                  Id.




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           (also known as the Colorado Rangers).311 The Colorado Mounted Rangers
           were founded in 1861 and for many decades were the only statewide law
           enforcement organization.312 They were recently recognized by state
           statute.313
                The Colorado Mounted Rangers provide approximately 50,000 hours
           of community service during a typical year. This amounts to a contribution
           of over $2 million of law enforcement resources, at no cost to the taxpayer.
           They are an unpaid, volunteer organization.314 The Colorado Mounted
           Rangers currently have Memoranda of Understanding to provide support to
           numerous law enforcement agencies in Colorado.315
                One of the important posse roles of the Colorado Mounted Rangers is
           aiding law enforcement officers during forest wildfires. For example, in the
           summer of 2013, the Colorado Mounted Rangers provided forest roadblock
           support for the Douglas and Jefferson County Sheriffs’ Offices during the
           Lime Gulch Fire.316 Likewise, in Fremont County, the Rangers have been
           used during four wildfires in the last decade to close roads and maintain
           roadblocks.317


              311
                  This Section is based on the deposition of Major Ronald Abramson, who is head of
           Training for the Colorado Mounted Rangers, and on documents produced by the Colorado
           Mounted Rangers. Abramson Dep., Oct. 23, 2013.
              312
                  Id. at 7:19–23.
              313
                  COLO. REV. STAT. § 24-33.5-822 (2013) (specifically authorizing law enforcement
           agencies to enter into memoranda of understanding with the Colorado Mounted Rangers).
              314
                  Colorado Mounted Rangers, COLORADO MOUNTED RANGERS, https://www.
           coloradoranger.org/index.php/organization, (last visited May 26, 2014), archived at https://
           perma.cc/Z2XE-BA5V.
              315
                  Id. Sheriff’s Offices (SOs): Archuleta County SO, Crowley County SO, Douglas
           County SO, Fremont County SO, Kiowa County SO, La Plata County SO, Weld County SO;
           Police Departments (PDs): Ault PD, Durango PD, Elizabeth PD, Fairplay PD, Fort Lupton
           PD, Fowler PD, Green Mountain Falls Marshal, Manitou Springs PD, Rocky Ford PD,
           Salida PD, Windsor PD; County Governments: Adams County Office of Emergency
           Management, Teller County; Municipal Governments: Town of Bayfield, Town of
           Monument, Town of Ordway, Town of Palmer Lake; Fire Protection and Other: Canon
           City Area Fire Protection District, Community College of Aurora. Id.
              316
                  Pl.’s Resp. to Def.’s Interrog. No. 6 (David Weaver, Sheriff of Douglas County).
              317
                  Fremont County Sheriff James L. Beicker stated:
              Since January 1, 2004 I have requested the assistance of the Colorado Mounted
              Rangers “J Troop.” The majority of these individuals are not POST certified peace
              officers, but my understanding is that a few members of their organization are.
              I have used their assistance on four wildfires in my county: Duckett Fire/ Park Fire/
              Wetmore Fire/ Royal Gorge Fire. On these incidents they were assigned to road
              closures, manning road blocks for evacuated areas.
              They were allowed, but not required to carry firearms for this duty. I have no
              documented evidence of who did carry or did not carry during these events.
              The Fremont County Sheriff’s Office has also utilized the J Troop Rangers for some




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                The Rangers go deep into Colorado’s twenty-four million acres of
           forest for fires, for search and rescue, and for other law enforcement tasks,
           where they are at risk of bear, mountain lion, and coyote attacks, and other
           extremely dangerous conditions. Often, the Rangers are beyond any radio
           communication; their patrol rifle is their only protection.
                The Rangers’ firearm training is a modified version of the Colorado
           State Patrol Academy course. Many of the Colorado Mounted Rangers, and
           especially the female Rangers, carry the Glock 17 or Springfield Armory
           XD 9mm pistols.318 As in most sheriffs’ offices, the AR-15 type carbine
           with several magazines of thirty rounds is the standard patrol rifle for the
           Colorado Mounted Rangers.

              IV. POSSE COMITATUS: THE RIGHT—AND DUTY—TO KEEP AND BEAR
                                          ARMS
                Posse comitatus is expressly part of the Constitution of Puerto Rico,319
           and understanding the posse comitatus aids in understanding the
           constitutions of the fifty states and of the federal government. To most
           Americans of the nineteenth century, the Second Amendment had been easy
           to understand: a right of everyone to possess and carry arms, including
           firearms.320 The protection of that right ensured that there would be an


               annual community events . . . .
           Pl.’s Resp. to Def.’s Interrog. No. 6 (James L. Beicker, Sheriff of Fremont County).
               318
                   The Glock and Springfield 9mm handguns are very controllable for persons with
           smaller bodies. Most female Rangers strongly prefer these handguns. They have less recoil
           than larger-caliber handguns, and are thus easier for them to shoot accurately. Because the
           9mm cartridge is less powerful than larger calibers, greater magazine capacity is particularly
           important. The Glock 17 has a standard seventeen-round magazine, while Springfields have
           standard magazines of sixteen or more rounds.
               Many certified law enforcement officers, including certified deputies, also carry the
           Glock 17 9mm pistol. Commonality of arms among full-time law enforcement officers and
           posse volunteers makes everyone safer, allowing interchangeability of magazines in a critical
           incident. Transcript of Record at 861–64, Colo. Outfitters Ass’n v. Hickenlooper, No. 13-
           CV-1300-MSK-MJW (D. Colo. argued Apr. 3, 2014); Plaintiff’s Response Brief to
           Defendant’s Motion to Dismiss at 33–34, Cooke v. Hickenlooper (D. Colo. filed Aug. 22,
           2013).
               319
                   CONST. P.R. art. IV, § 4 (explaining that governor may “call out the militia and
           summon the posse comitatus in order to prevent or suppress rebellion, invasion or any
           serious disturbance of the public peace”); see also HAWAIIAN ORGANIC ACT OF 1900, § 67
           (Among the powers of the Territorial Governor are that “whenever it becomes necessary he
           may call upon the commanders of the military and naval forces of the United States in the
           Territory of Hawaii, or summon the posse comitatus, or call out the militia of the Territory to
           prevent or suppress lawless violence, invasion, insurrection, or rebellion in said
           Territory . . .”). 31 STAT. 153 (1900), 48 U. S. C. § 532 (1940).
               320
                   See David B. Kopel, The Second Amendment in the Nineteenth Century, 1998 BYU
           L. REV. 1359.




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           armed people from whom a well-regulated militia could be drawn when
           necessary.321 The Supreme Court’s decision in District of Columbia v.
           Heller322 accurately followed that understanding.
                However, for several decades in the latter twentieth century, and a few
           years in the early twenty-first century, there was confusion about the
           meaning of the Second Amendment. Various theories were invented for the
           purpose of negating the individual right. A 1905 decision by the Kansas
           Supreme Court interpreted the right to arms in the Kansas State
           Constitution Bill of Rights as merely affirming the state government’s own
           power over the militia.323 In dicta, the Kansas court said that the Second
           Amendment meant the same thing.324 This was the beginning of the “states’
           right” theory of the Second Amendment.325 In 1968, the New Jersey
           Supreme Court announced that the Second Amendment was a “collective
           right.”326 The right belonged to all the people collectively, but could never
           be asserted by any individual.
                In 1989, Dennis Henigan, an attorney for Handgun Control, Inc.,
           invented the “narrow individual right” theory of the Second Amendment.327
           Historian Saul Cornell later elaborated on the theory.328 Under the “narrow
           individual right,” the Second Amendment is an individual right, but solely
           for the purpose of militia service. If a person is not the militia, the person
           has no right to arms.
                The Heller Court unanimously rejected the “states’ right” and
           “collective right” theories which had been dominant in the lower federal
           courts in the latter part of the twentieth century. The Court split five-to-
           four between the standard model of the Second Amendment (the Scalia
           majority) and the Henigan–Cornell narrow individual right (the Stevens
           dissent).329 The Heller Court correctly viewed the Second Amendment in


              321
                   Id.
              322
                   District of Columbia v. Heller, 554 U.S. 570 (2008).
               323
                   City of Salina v. Blaksley, 83 P. 619, 620 (Kan. 1905).
               324
                   Id.
               325
                   See Kopel, supra note 320, at 1510–12.
               326
                   Burton v. Sills, 248 A.2d 521, 526 (N.J. 1968). Thus, like “collective property” in a
           communist country, the right nominally belonged to the people, but really belonged to the
           government.
               327
                   Keith A. Ehrman & Dennis A. Henigan, The Second Amendment in the Twentieth
           Century: Have You Seen Your Militia Lately?, 15 U. DAYTON L. REV. 5, 47–48 (1989) (“It
           may well be that the right to keep and bear arms is individual in the sense that it may be
           asserted by an individual. But it is a narrow right indeed, for it is violated only by laws that,
           by regulating the individual’s access to firearms, adversely affect the state’s interest in a
           strong militia.”).
               328
                   SAUL CORNELL, A WELL-REGULATED MILITIA (2008).
               329
                   District of Columbia v. Heller, 554 U.S. 570 (2008); id. at 636 (Stevens, J.,




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           the context of Anglo-American common law and of American state
           constitutions. As Heller recognized, keeping and bearing arms is a right (as
           protected by the Second Amendment, and its state and common law
           analogues), and it can be a duty (as in Congress’s powers in Article I,
           Section 8, cl. 15–16 to call forth the militia, and to provide for militia
           training and armament, and in the militia powers of state governments).330
                 The story of the posse comitatus in this Article provides additional
           perspective on the dual nature of the right/duty to keep and bear arms.
           Arguments about the duty side of original meaning of the body of the
           Constitution and its Amendments have focused exclusively on arms bearing
           in the militia. This is incomplete. As detailed in Part II, the Constitution
           also gave the new federal government posse comitatus power.
                 Historically, the posse comitatus is broader than the militia in
           membership. When the state carries out its duties of training the militia, the
           militia is an organized body. The posse comitatus, however, is often ad
           hoc. The sheriff or other proper official can call out the posse when needed
           and compel service of the posse, but there is no legal theory, or historical
           practice, for a government official to require unwilling persons to undergo
           posse training. Of course, since the sheriff has complete discretion about
           who may join the posse, a sheriff can require that volunteers undergo
           training, and that is what all Colorado sheriffs with regular posses do.
                 A common phrase in early state constitutions was that the people had
           the right to arms “for the defence of themselves and the state.”331 Later in
           the nineteenth century, the phrasing changed, but the principles remained
           the same. For example, in Missouri and Colorado: “[T]o keep and bear
           arms in defense of his home, person and property, or in aid of the civil
           power when thereto legally summoned . . . .”332 Modern commentators
           have sometimes broken the phrases into a dichotomy: “themselves” means
           personal self-defense, and “the state” means militia service.333 It is true that


           dissenting) (“a right that can be enforced by individuals”).
              330
                  Heller, 554 U.S. at 596, 600 n.17 (2008).
              331
                  E.g. PA. CONST. art. XIII (1776).
              332
                  COLO. CONST. art II, § 13.
              333
                  But see Nathan Kozuskanich, Defending Themselves: The Original Understanding of
           the Right to Bear Arms, 38 RUTGERS L.J. 1041 (2007) (arguing that “themselves” and “the
           State” both refer exclusively to militia service). For a pro/con discussion, see David B.
           Kopel & Clayton E. Cramer, The Keystone of the Second Amendment: The Quakers, the
           Pennsylvania Constitution, and the Flawed Scholarship of Nathan Kozuskanich, 19
           WIDENER L.J. 277 (2010); Nathan Kozuskanich, History or Ideology? A Response to David
           B. Kopel and Clayton E. Cramer, 19 WIDENER L.J. 321 (2010) (reply article); David B.
           Kopel & Clayton E. Cramer, Credentials Are No Substitute for Accuracy: Nathan
           Kozuskanich, Stephen Halbrook, and the Role of the Historian, 19 WIDENER L.J. 343 (2010)
           (sur-reply).




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           the phrase includes self-defense and the militia, but it is inaccurate to divide
           the phrase into two totally separate categories. The duty to keep and bear
           arms was not solely for the militia. It was also for all the other common
           law practices by which armed citizens aided in the protection of their
           communities: hue and cry, watch and ward, and, especially, posse
           comitatus. When individuals are helping local law enforcement search for
           an escaped serial killer, or for the people who just murdered the sheriff, or
           who just perpetrated some other violent felony, they are certainly helping to
           defend the state. But they are also defending themselves. Apprehending
           murderers, robbers, and rapists who have harmed a third party is one way
           that the individual protects himself from surprise attack by these criminals.
           Moreover, the reason for the creation of the state in the first place was the
           protection of the rights and personal security of individuals. In the
           American theory of government, the state has no autonomous existence
           prior to the individuals; the state is an artificial entity created by the people,
           and the state’s purpose is to serve as the agent of the people in safeguarding
           their lives, liberty, and property. Thus, the “defense of the state” is really a
           form of self-defense. When you aid the state in keeping the peace, you are
           protecting yourself. Inseparable from the “defense of the state” (in state
           constitutions) or “the security of a free state” (in the Second Amendment) is
           preventing tyranny. Tyranny could come from a hostile foreign invader,
           and the people must be armed so that they can resist such an invasion, just
           as Alfred the Great’s militia was armed for that same purpose.
                 Alternatively, tyranny could come from within. As James Madison
           wrote in The Federalist No. 46, armed resistance by the state militias is the
           emergency, last resort against central government tyranny, although tyranny
           might at present appear very unlikely.334 Senator and later Vice President
           Hubert Humphrey, the avatar of post–World War II American liberalism,
           agreed.335
                 The widespread armament of the people is itself a deterrent to any
           attempt to impose tyranny. As John Mitchell Kemble observed in his legal
           history of Anglo-Saxon England, “[t]he strength of the popular power was
           felt in a negative, not positive, action upon the governing body; the people



              334
                  THE FEDERALIST NO. 46 (James Madison).
              335
                  “Certainly one of the chief guarantees of freedom under any government, no matter
           how popular and respected, is the right of citizens to keep and bear arms . . . . [T]he right of
           citizens to bear arms is just one more guarantee against arbitrary government, one more
           safeguard against a tyranny which now appears remote in America, but which historically
           has proved to be always possible.” Hubert H. Humphrey, Know Your Lawmakers, GUNS,
           Feb. 1960, at 4 (letter by then-Senator Humphrey to the magazine in response to a question
           about his views on the Second Amendment).




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           were by far the strongest armed force, and the conviction of this, even if not
           worthier motives, kept the ruling body from enacting oppressive laws.”336
                 Like the state constitutions, the Second Amendment intertwines the
           purposes of personal defense and defense of civil order in a republic. As
           explained in Heller, “[t]he phrase ‘security of a free State’ meant ‘security
           of a free polity,’ not security of each of the several States . . . .”337 That is
           why the Second Amendment applies in the District of Columbia and other
           federal areas and not just in the fifty states. The principle is that all of the
           polities in the United States are supposed to be secure in their freedom.
           Secure freedom includes a polity’s ability to repel invasion or suppress
           insurrection.338 Secure freedom includes sheriffs’ ability to call on law-
           abiding armed citizens to “suppress all affrays, riots, and unlawful
           assemblies and insurrections.”339
                 The Second Amendment right to keep and bear arms is an individual
           right belonging to all Americans for all lawful purposes, like the First
           Amendment freedom of speech and other fundamental rights.340 Thus,
           individual citizens have standing to raise Second Amendment claims.341
                 In addition, the Second Amendment formally announces an intended
           third-party beneficiary: the state militias. Before Heller, some lower courts
           misread the Second Amendment and thought that the individual Second
           Amendment right exists only when it is in direct service of state militias.342
           Heller corrects this error and affirms the traditional American
           understanding that the Second Amendment right to keep and bear arms is
           for all law-abiding citizens, and that an intended beneficiary of that right is
           the state militia system. Article I of the Constitution makes it clear that the
           militias exist for the benefit of both the states and the federal government,
           and are subject to the overlapping control of both.343 Thus the Second
           Amendment is partly a structural right enacted for the benefit of state and
           local governments. Accordingly, state militia officers, including governors,

              336
                  KEMBLE, supra note 84, at 88.
              337
                  District of Columbia v. Heller, 554 U.S. 570, 597 (2008).
              338
                  Id.
              339
                  COLO. REV. STAT. § 30-10-516 (2013).
              340
                  McDonald v. City of Chicago, 130 S. Ct. 3020, 3031, 3036, 3044 (2010); id. at 3054–
           56 (Scalia, J., concurring); Heller, 554 U.S. at 578–89, 582, 591, 595, 606, 625–30. See also
           David B. Kopel, The First Amendment Guide to the Second Amendment, 81 TENN. L. REV.
           419 (2014).
              341
                  On this point, the nine Justices in Heller were unanimous. See Heller, 554 U.S. at
           592 (The provisions of the Second Amendment “guarantee the individual right to possess
           and carry weapons in case of confrontation”); id. at 636 (Stevens, J., dissenting) (“Surely it
           protects a right that can be enforced by individuals.”).
              342
                  See, e.g., cases cited in Heller, supra note 337, at 638 n.2 (Stevens, J., dissenting).
              343
                  U.S. CONST. art. I, § 8, cl. 15–16.




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           should have standing to raise Second Amendment claims regarding laws or
           actions that interfere with the militia of their state.344
                 Besides the militia, there is another beneficiary of the Second
           Amendment and its state analogues: the posse comitatus. Creating the
           conditions for a well-regulated, functional militia also has the obvious and
           inescapable benefit of ensuring a strong and vigorous posse comitatus. A
           well-armed population fosters both. The original meaning of the
           Constitution was that the militia and the posse could be used to assist the
           federal government. The militia and the posse are complementary
           institutions, each of them requiring that the people as a whole be armed.
           The U.S. Constitution follows the model set down by Alfred the Great: the
           security of a free state requires that the entire people be armed, so that they
           may defend themselves and the state, in the militia, in the posse comitatus,
           and in whatever other capacity (e.g., hue and cry) the government needs the
           aid of the armed people.
                 The power to employ the posse comitatus was originally a power that
           belonged only to sheriffs.345 Today, they remain the most frequent users of
           that power. Accordingly, sheriffs should be recognized as having standing
           under the Second Amendment and its state analogues to challenge laws or
           practices that interfere with the posse comitatus.

                                                 CONCLUSION
                Historian Frank Richard Prassel observes: “An unwritten but basic
           tenet of democracy places enforcement of the law within the domain of
           ordinary citizens.”346 This was true, he writes, in early England, when “the
           task of upholding order fell to the over-all community.”347 Later,
           sophisticated law enforcement agencies were created, “but under principles
           of common law any man still possesses wide authority to protect himself,
           his family, and to some extent the general peace of the land.”348 This is one
           application of a fundamental principle of American law: “the people, not
           the government, possess the sovereignty.”349


              344
                   In Perpich v. Department of Defense, 496 U.S. 334, 338 (1990), the Court recognized
           that a state governor had standing to sue over federal interference with his state’s National
           Guard. However, the governor in that case did not assert Second Amendment claims, and
           the issue (federal deployment, without gubernatorial consent or declaration of a national
           emergency, of the Minnesota National Guard into Honduras for training exercises) did not
           involve any interference with anyone’s possession of arms. Id.
              345
                   See supra text accompanying notes 155–157.
              346
                   PRASSEL, supra note 228, at 126.
              347
                   Id.
              348
                   Id.
              349
                   Mandel v. Mitchell, 325 F. Supp. 620, 629 (E.D.N.Y. 1971), overruled by Kleindienst




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                A modern historian of sheriffs urges that their contemporary role
           should be recognized as one of “tribune of the people” who champions their
           rights.350 This description is consistent with the most admirable aspects of
           the role of sheriffs, from Anglo-Saxon times to the present. The people
           elect a sheriff to be the guardian to their county: to lead the people in
           keeping the peace, in maintaining civil order, and in defending themselves
           against threats to their lives and liberties.
                The posse comitatus has always been a vital part of this system. It was
           important well over a thousand years ago, and it remains important today.
           Whether in manhunts for escaped murderers or in augmenting the daily
           operations of a sheriff’s office, the posse comitatus is one example of how
           in the American system of government, elected officials and armed citizens
           work together successfully to keep the peace.




           v. Mandel, 408 U.S. 753 (1972).
              350
                  Johannes F. Spreen, The Future Shire Reeve—Tribune of the People, in CRIME AND
           JUSTICE IN AMERICA 43, 45 (John T. O’Brien & Marvin Marcus eds., 1979).




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                                                APPENDIX
                This Appendix compiles posse comitatus statutes from across the
           United States. For each state, this Appendix lists the statutory citation, the
           person or persons authorized to summon the posse comitatus, and the
           language of each relevant statute.

                                                 ALABAMA

             ALA. CODE        Sheriff         If resistance is apprehended by the sheriff in the
              § 9-12-2                        execution of this chapter, he may summon to his aid
            (LexisNexis                       the posse comitatus of his county, armed and
               2001)                          equipped as the occasion may require, and may
                                              press into his service any steamboat or other vessel
                                              not actually engaged in carrying the public mail at
                                              the risk and expense of the state; and, if resistance is
                                              made by the boatmen of the boat or vessel attempted
                                              to be seized, such resistance is punishable in the
                                              same manner as is now provided by law for
                                              resistance to process.
            ALA. CODE      Campus Police      [Safety officials appointed by heads of educational
           §§ 16-47-10,   and State Health    and health institutions “shall have authority to
             16-48-12,    Facility Officers   summon a posse comitatus.” Institutions authorized
              16-50-4,                        include:
             16-51-12,                             Auburn University (§ 16-48-12)
             16-52-12,                             Alabama State University (§ 16-50-4)
            16-54-13.1,                            University of Northern Alabama (§ 16-51-12)
             16-56-12,                             Jacksonville State University (§ 16-52-12)
             16-59A-1,                             University of Montevallo (§ 16-54-13.1)
             22-50-21                              Troy University (§ 16-56-12)
           (LexisNexis                             Oakwood University (§ 16-59A-1)
               2001)                               State mental health facilities (§ 22-50-21)]



                                                  ALASKA

           ALASKA STAT.    Peace Officer      A peace officer making an arrest may orally
            § 12.25.090                       summon as many persons as the officer considers
               (2012)                         necessary to aid in making the arrest. A person
                                              when required by an officer shall aid in making the
                                              arrest.




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                                               ARIZONA

            ARIZ. REV.   Peace Officer      A. Public offenses may be prevented by intervention
            STAT. ANN.                      of peace officers as follows:
            § 13-3801                       1. By requiring security to keep the peace.
              (2010)                        2. Forming a police detail in cities and towns and
                                            requiring their attendance in exposed places.
                                            3. Suppressing riots.
                                            B. When peace officers are authorized to act in
                                            preventing public offenses, other persons, who, by
                                            their command, act in their aid, are justified in so
                                            doing.
            ARIZ. REV.   Sheriff or Other   A. When a sheriff or other public officer authorized
            STAT. ANN.   Public Officer     to execute process finds, or has reason to believe
            § 13-3802                       that resistance will be made to execution of the
              (2010)                        process, such officer may command as many
                                            inhabitants of the county as the officer deems proper
                                            to assist in overcoming such resistance.
                                            B. The officer shall certify to the court from which
                                            the process issued the names of those persons
                                            resisting, and they may be proceeded against for
                                            contempt of court.
            ARIZ. REV.   Peace Officer      A. A person commits refusing to aid a peace officer
            STAT. ANN.                      if, upon a reasonable command by a person
            § 13-2403                       reasonably known to be a peace officer, such person
              (2010)                        knowingly refuses or fails to aid such peace officer
                                            in:
                                            1. Effectuating or securing an arrest; or
                                            2. Preventing the commission by another of any
                                            offense.
                                            B. A person who complies with this section by
                                            aiding a peace officer shall not be held liable to any
                                            person for damages resulting therefrom, provided
                                            such person acted reasonably under the
                                            circumstances known to him at the time.
                                            C. Refusing to aid a peace officer is a class 1
                                            misdemeanor.




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                                                 ARKANSAS

            ARK. CODE      Police Officers     The police officer may summon a posse comitatus,
           ANN. § 12-63-                       if necessary.
             203(b)(3)
              (2003)
            ARK. CODE        Institutional     [An institutional law enforcement officer] shall have
           ANN. § 25-17-         Law           the authority to summon a posse comitatus if
           305(b) (2009)     Enforcement       necessary.
                                Officer
            ARK. CODE      Judge, Justice of    (a) When three (3) or more persons shall be
           ANN. § 12-11-      the Peace,       riotously, unlawfully, or tumultuously assembled, it
            103 (2009)     Sheriff, Coroner    shall be the duty of any judge, justice of the peace,
                             or Constable.     county sheriff, county coroner, or constable . . . to
                                               make a proclamation . . . , charging and
                                               commanding them immediately to disperse
                                               themselves and peaceably to depart to their
                                               habitations or lawful business.
                                               (b) If upon the proclamation being made, the
                                               persons so assembled shall not immediately disperse
                                               and depart as commanded or if they shall resist the
                                               officer or prevent the making of the proclamation,
                                               then the officer shall command those present, and
                                               the power of the county if necessary, and shall
                                               disperse the unlawful assembly, arrest the offenders,
                                               and take them before some judicial officer, to be
                                               dealt with according to law.

                                                CALIFORNIA

            CAL. GOV’T         Sheriff         The sheriff shall command the aid of as many
           CODE § 26604                        inhabitants of the sheriff’s county as he or she
            (West 2008)                        thinks necessary in the execution of his or her
                                               duties.
                                               If any person, under any pretense of any claim
                                               inconsistent with the sovereignty and jurisdiction of
                                               the State, intrudes upon any of the waste or
                                               ungranted lands of the State . . . the Governor . . .
                                               shall direct the sheriff of the county to remove the
                                               intruder . . . the sheriff may call to his aid the power
                                               of the county, as in cases of resistance to the writs of
                                               the people.




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            CAL. GOV’T     Chief of Police   His lawful orders shall be promptly executed by
           CODE § 41602                      deputies, police officers, and watchmen in the city.
            (West 2012)                      Every citizen shall also lend his aid when required
                                             for the arrest of offenders and maintenance of public
                                             order.
           CAL. PENAL                        Persons making arrest may summon assistance.
           CODE § 839                        Any person making an arrest may orally summon as
           (West 2008)                       many persons as he deems necessary to aid him
                                             therein.

                                               COLORADO

            COLO. REV.         Sheriff       (1) Fees collected by sheriffs shall be as follows:
           STAT. § 30-1-                      (o) For serving writ with aid of posse comitatus
            104 (2013)                       with actual expenses necessarily incurred in
                                             executing said writ, in counties of every class, actual
                                             expenses, but not more than sixty dollars; for
                                             serving same without aid in counties of every class,
                                             actual expenses, but not more than four dollars . . . .
           Colo. R. Civ.                     WRIT OF ASSISTANCE—PETITION FOR
            P. Form 24                       COMES NOW the Plaintiff, above-named, by and
                                             through its attorneys of record, and moves this
                                             Honorable Court issue a Writ of Assistance to the
                                             Sheriff of the County of ______, State of Colorado,
                                             enabling the Sheriff to call to his aid the powers of
                                             his County, in accordance with Rule 104(h), in order
                                             that the Sheriff may execute the Writ of Replevin
                                             heretofore entered in the premises . . . .
           Colo. R. Civ.                     (i) Sheriff May Break Building; When. If the
              P. 104                         property or any part thereof is in a building or
                &                            enclosure, the sheriff shall demand its delivery,
           CO ST CTY                         announcing his identity, purpose, and the authority
           CT RCP Rule                       under which he acts. If it is not voluntarily
               404                           delivered, he shall cause the building or enclosure to
                                             be broken open in such manner as he reasonably
                                             believes will cause the least damage to the building
                                             or enclosure, and take the property into his
                                             possession. He may call upon the power of the
                                             county to aid and protect him . . . .




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                                                  CONNECTICUT

            CONN. GEN.         County Sheriffs    [§ 6-31. Repealed. (2000, P.A. 00-99, § 153, eff.
             STAT. ANN.          Eliminated       Dec. 1, 2000.)351
                § 6-31
            (West 2008)
              (repealed
                2000)

            CONN. GEN.         State Marshals     A state marshal may, on any special occasion,
            STAT. ANN.         May “Depute”       depute, in writing on the back of the process, any
           § 52-53 (West                          proper person to serve it. After serving the process,
               2013)                              such person shall make oath before a justice of the
                                                  peace that he or she faithfully served the process
                                                  according to such person’s endorsement thereon and
                                                  did not fill out the process or direct any person to
                                                  fill it out; and, if such justice of the peace certifies
                                                  on the process that such justice of the peace
                                                  administered such oath, the service shall be valid.
           CONN. GEN.           Peace Officer,    (a) A person is guilty of failure to assist a peace
           STAT. ANN.              Special        officer, special policeman, motor vehicle inspector
           § 53a-167b             Policeman,      or firefighter when, commanded by a peace officer,
           (West 2012)         Motor Vehicle      special policeman appointed under § 29-18b, motor
                                 Inspector or     vehicle inspector designated under § 14-8 and
                               Firefighter May    certified pursuant to § 7-294d or firefighter
                                 “Command         authorized to command assistance, such person
                                 Assistance”      refuses to assist such peace officer, special
                                                  policeman, motor vehicle inspector or firefighter in
                                                  the execution of such peace officer’s, special
                                                  policeman’s, motor vehicle inspector’s or
                                                  firefighter’s duties.
                                                  (b) Failure to assist a peace officer, special
                                                  policeman, motor vehicle inspector or firefighter is a
                                                  class A misdemeanor.




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                       For more information about Connecticut’s repeal, see sources supra note 146.




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                                                DELAWARE

             DEL. CODE       Police Officer   A person is guilty of refusing to aid a police officer
            ANN. tit. 11,                     when, upon command by a police officer
           § 1241 (2007)                      identifiable or identified by the officer as such, the
                                              person unreasonably fails or refuses to aid the police
                                              officer in effecting an arrest, or in preventing the
                                              commission by another person of any offense.
                                              Refusing to aid a police officer is a class B
                                              misdemeanor.

                                                 FLORIDA

            FLA. STAT.          Sheriff       (1) Sheriffs, in their respective counties, in person or
               ANN.                           by deputy, shall:
           § 30.15(1)(h)                      (h) Have authority to raise the power of the county
           (West 2010)                        and command any person to assist them, when
                                              necessary, in the execution of the duties of their
                                              office; and, whoever, not being physically
                                              incompetent, refuses or neglects to render such
                                              assistance, shall be punished by imprisonment
                                              in jail not exceeding 1 year, or by fine not
                                              exceeding $500.
             FLA. STAT.         Sheriff       In executing the writ of replevin, if the sheriff has
               ANN.                           reasonable grounds to believe that the property or
              § 78.10                         any part thereof is secreted or concealed in any
            (West 2004)                       dwelling house or other building or enclosure, the
                                              sheriff shall publicly demand delivery thereof; and,
                                              if it is not delivered by the defendant or some other
                                              person, the sheriff shall cause such house, building,
                                              or enclosure to be broken open and shall make
                                              replevin according to the writ; and, if necessary, the
                                              sheriff shall take to his or her assistance the power
                                              of the county.




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                                            GEORGIA

             GA. CODE                    Any person who renders assistance reasonably and
               ANN.                      in good faith to any law enforcement officer who is
            § 16-3-22(a)                 being hindered in the performance of his official
            (West 2003)                  duties or whose life is being endangered by the
                                         conduct of any other person or persons while
                                         performing his official duties shall be immune to the
                                         same extent as the law enforcement officer from any
                                         criminal liability that might otherwise be incurred or
                                         imposed as a result of rendering assistance to the
                                         law enforcement officer.

                                             HAWAII

             HAW. REV.         Law       (1) A person commits the offense of refusing to aid
            STAT. ANN.     Enforcement   a law enforcement officer when, upon a reasonable
            § 710-1011       Officer     command by a person known to him to be a law
            (LexisNexis                  enforcement officer, he intentionally refuses or fails
               2007)                     to aid such law enforcement officer, in:
                                         (a) Effectuating or securing an arrest; or
                                         (b) Preventing the commission by another of any
                                         offense.
                                         (2) Refusing to aid a law enforcement officer is a
                                         petty misdemeanor.
                                         (3) A person who complies with this section by
                                         aiding a law enforcement officer shall not be held
                                         liable to any person for damages resulting
                                         therefrom, provided he acted reasonably under the
                                         circumstances known to him at the time.




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                                                   IDAHO

            IDAHO CODE          Sheriff       The sheriff shall forthwith take the property, if it be
                ANN.                          in the possession of the defendant or his agent, and
              § 8-305                         retain it in his custody, either by removing the
               (2010)                         property to a place of safekeeping or, upon good
                                              cause shown, by installing a keeper.
                                              If the property or any part thereof is in a building or
                                              inclosure, the sheriff shall demand its delivery,
                                              announcing his identity, purpose, and the authority
                                              under which he acts. If it is not voluntarily
                                              delivered, he shall cause the building or inclosure to
                                              be broken open in such manner as he reasonably
                                              believes will cause the least damage to the building
                                              or inclosure, and take the property into his
                                              possession. He may call upon the power of the
                                              county to aid and protect him . . . .
            IDAHO CODE      Sheriff, Deputy   Every male person above eighteen (18) years of age
                ANN.           Sheriff,       who neglects or refuses to join the posse comitatus
              § 18-707         Coroner,       or power of the county . . . being thereto lawfully
               (2004)         Constable,      required by any sheriff, deputy sheriff, coroner,
                            Judge or Other    constable, judge or other officer concerned in the
                                Officer       administration of justice, is punishable by fine of
                             Concerned in     not less than fifty dollars ($50.00) nor more than
                                  the         $1,000.
                            Administration
                              of Justice.

                                                  ILLINOIS

           55 ILL. COMP.        Sheriff       To keep the peace, prevent crime, or to execute any
             STAT. ANN.                       warrant, process, order or judgment he or she may
              5/3-6022                        call to his or her aid, when necessary, any person or
            (West 2005)                       the power of the county.




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                                            INDIANA

            IND. CODE      Sheriff &    The sheriff shall:
               ANN.       Members of    suppress breaches of the peace, calling the power of
           § 36-2-13-5     Sheriff’s    the county to the sheriff’s aid if necessary . . . .
           (West 2006)    Department
            IND. CODE                   (a) Each member of the department:
           ANN. § 36-8-                  shall suppress all breaches of the peace within his
            10-9 (West                  knowledge, with authority to call to his aid the
              2006)                     power of the county . . . .

                                             IOWA

            IOWA CODE       Sheriff     The sheriff, when necessary, may summon the
               ANN.                     power of the county to carry out the responsibilities
           § 331.652(2)                 of office.
           (West 2013)

                                            KANSAS

            KAN. STAT.        Law       (1) A law enforcement officer making an arrest may
               ANN.       Enforcement   command the assistance of any person who may be
            § 22-2407       Officer     in the vicinity.
              (2007)                    (2) A person commanded to assist a law
                                        enforcement officer shall have the same authority to
                                        arrest as the officer who commands his assistance.
                                        (3) A person commanded to assist a law
                                        enforcement officer in making an arrest shall not be
                                        civilly or criminally liable for any reasonable
                                        conduct in aid of the officer or any acts expressly
                                        directed by the officer.




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                                                KENTUCKY

             KY. REV.      Sheriff, Deputy    Any sheriff, deputy sheriff or other like officer may
            STAT. ANN.     Sheriff or Other   command and take with him the power of the
              § 70.060      Like Officer      county, or a part thereof, to aid him in the execution
            (LexisNexis                       of the duties of his office, and may summon as
               2004)                          many persons as he deems necessary to aid him in
                                              the performance thereof.
              KY. REV.       No Foreign       No person shall, except with the consent of the
             STAT. ANN.    Posses Allowed     General Assembly or of the Governor when the
              § 432.550                       General Assembly is not in session, bring or cause
            (West 2006)                       to be brought into this state any armed person, not a
                                              citizen of this state, to preserve the peace, suppress
                                              domestic violence or to serve as a deputy of any
                                              officer or as a member of a posse comitatus, nor
                                              shall any officer knowingly summon any such
                                              person or any other person who has come into the
                                              state for that purpose to aid in suppressing
                                              violence . . . .


                                                LOUISIANA

           LA. CODE CIV.    Peace Officer     In the execution of a writ, mandate, order, or
            PROC. ANN.                        judgment of a court, the sheriff may enter on the
              art. 325                        lands, and into the residence or other building,
               (1999)                         owned or occupied by the judgment debtor or
                                              defendant. If necessary to effect entry, he may break
                                              open any door or window. If resistance is offered or
                                              threatened, he may require the assistance of the
                                              police, of neighbors, and of persons present or
                                              passing by.
            LA. CODE                          A peace officer making a lawful arrest may call
           CRIM. PROC.                        upon as many persons as he considers necessary to
           ANN. art. 219                      aid him in making the arrest. A person thus called
             (2003)                           upon shall be considered a peace officer for such
                                              purposes.




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                                                     MAINE

            ME. REV.              Law           1. Officer may require aid. Any law enforcement
           STAT. tit. 30-     Enforcement       officer may require suitable aid in the execution of
             A, § 402           Officer         official duties in criminal and traffic infraction cases
              (2011)                            for the following reasons:
                                                A. For the preservation of the peace; or
                                                B. For apprehending or securing any person for the
                                                breach of the peace or in case of the escape or
                                                rescue of persons arrested on civil process.
                                                2. Violation and penalty. Any person required to
                                                aid a law enforcement officer under this section who
                                                neglects or refuses to do so commits a civil violation
                                                for which a forfeiture of not less than $3 nor more
                                                than $50 to be paid to the county may be adjudged.

                                                  MARYLAND

                                  Any           [Not presently in statute. Common law power to
                              Government        summon a posse comitatus remains valid. City of
                            Official Who Is     Baltimore v. Siler, 263 Md. 439 (1971) (Mayor of
                            a Conservator of    Baltimore could have raised a posse to attempt to
                               the Peace        suppress riots in April 1968).]



                                                MASSACHUSETTS

           MASS. ANN.           Sheriff         They may require suitable aid in the execution of
           LAWS ch. 37,                         their office in a criminal case, in the preservation of
               § 13                             the peace, in the apprehending or securing of a
           (LexisNexis                          person for a breach of the peace and in cases of
              2006)                             escape or rescue of persons arrested upon civil
                                                process.

                                                  MICHIGAN

           MICH. COMP.       Sheriff (Other     In making the arrest the sheriff or other person so
             LAWS ANN.       Person When        directed may call to his aid the power of the county
           § 600.4331(5)     Court Orders       as in other cases.
            (West 2013)     Sheriff’s Arrest)




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                                         MINNESOTA

            MINN. STAT.      Sheriff   The sheriff shall keep and preserve the peace of the
               ANN.                    county, for which purpose the sheriff may require
             § 387.03                  the aid of such persons or power of the county as the
            (West 1997)                sheriff deems necessary . . . .

            MINN. STAT.                The sheriff is authorized to effect repossession of
                ANN.                   the property according to law, including, but not
             § 491A.01                 limited to: (1) entry upon the premises for the
              Subd. 5                  purposes of demanding the property and
            (West 2014)                ascertaining whether the property is present and
                                       taking possession of it; and (2) causing the building
                                       or enclosure where the property is located to be
                                       broken open and the property taken out of the
                                       building and if necessary to that end, the sheriff may
                                       call the power of the county to the sheriff’s aid . . . .

                                         MISSISSIPPI

            MISS. CODE       Sheriff   If the sheriff finds that resistance will be made
               ANN.                    against the execution of any process, he shall
            § 19-25-39                 forthwith go in his proper person, taking the power
              (2012)                   of the county if necessary, and execute the same.
                                       He shall certify to the court the names of the persons
                                       making resistance, their aiders, assistants, favorers,
                                       and procurers.

                                          MISSOURI

             MO. ANN.        Officer   In all cases where, by the common law or a statute
               STAT.                   of this state, any officer is authorized to execute any
             § 105.210                 process, he may call to his aid all male inhabitants
            (West 1997)                above the age of twenty-one years in the county in
                                       which the officer is authorized to act.
             MO. ANN.                  In the execution of such writs of attachment and
               STAT.                   precept, or either of them, the sheriff or other person
             § 532.600                 to whom they shall be directed may call to his aid
            (West 1953)                the power of the county, as is provided by law in the
                                       execution of writs and process by any officer.




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                                         MONTANA

           MONT. CODE      Sheriff    If the property or any part of the property is
               ANN.                   concealed in a building or enclosure, the sheriff
           § 27-17-206                shall publicly demand its delivery. If the property is
              (2013)                  not delivered, the sheriff shall cause the building or
                                      enclosure to be broken open and take the property
                                      into the sheriff’s possession and, if necessary, the
                                      sheriff may call to the sheriff’s aid the power of the
                                      county.



                                        NEBRASKA

            NEB. REV.     Sheriff &   The sheriff and his deputies are conservators of the
               STAT.      Deputies    peace, and to keep the same, to prevent crime, to
            § 23-1704                 arrest any person liable thereto, or to execute
              (2012)                  process of law, they may call any person to their
                                      aid; and, when necessary, the sheriff may summon
                                      the power of the county.

                                          NEVADA

             NEV. REV.    Sheriff &   Sheriffs and their deputies shall keep and preserve
            STAT. ANN.    Deputies    the peace in their respective counties, and quiet and
             § 248.090                suppress all affrays, riots and insurrections, for
            (LexisNexis               which purpose, and for the service of process in
               2011)                  civil or criminal cases, and in apprehending or
                                      securing any person for felony, or breach of the
                                      peace, they may call upon the power of their county
                                      to aid in such arrest or in preserving the peace.

                                      NEW HAMPSHIRE

             N.H. REV.     Officer    An officer having authority to serve process or make
            STAT. ANN.                an arrest may require suitable aid in the execution of
              § 104:12                his office. Any person who neglects or refuses to
            (LexisNexis               give such aid when so required shall be fined not
               2012)                  more than $20.




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                                             NEW JERSEY

                                            [Recognized in common law. Snyder v. Van Natta, 7
                                            N.J.L. 25, 1823 WL 1309 (1823); Patten v. Halsted,
                                            1 N.J.L. 277 (1795). A 1941 statute exempted the
                                            New Jersey Guard from posse comitatus duty.
                                            L.1941, c. 109, p. 249, § 16. The exemption statute,
                                            N.J. Stat. Ann. 38:5-4.1 was repealed in 1963, as
                                            part of a general revision of the militia statutes.
                                            L.1963, c. 109.]

                                             NEW MEXICO

            N.M. STAT.     Local Sheriff    Any sheriff is hereby authorized at any time to
               ANN.       and Sheriffs of   appoint respectable and orderly persons as special
            § 4-41-10     Other Counties    deputies to serve any particular order, writ or
              (2013)                        process or when in the opinion of any sheriff the
                                            appointment of special deputies is necessary and
                                            required for the purpose of preserving the peace,
                                            and it shall not be necessary to give or file any
                                            notice of such special appointment; however, the
                                            provision authorizing the carrying of concealed
                                            arms shall not apply to such persons. Provided, no
                                            person shall be eligible to appointment as a deputy
                                            sheriff unless he is a legally qualified voter of the
                                            state of New Mexico, and further provided that there
                                            shall be no additional fees or per diem paid by the
                                            counties for any additional deputies other than as
                                            provided by law.
            N.M. STAT.        Sheriff       The various sheriffs of the several counties of this
               ANN.                         state shall have the right to enter any county of this
            § 4-41-12                       state, or any part of this state, for the purpose of
              (2013)                        arresting any person charged with crime . . . and any
                                            sheriff entering any county as above mentioned,
                                            shall have the same power to call out the power of
                                            said county to aid him, as is conferred on sheriffs in
                                            their own counties.




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                                             NEW YORK

               N.Y.          Sheriff       If a sheriff, to whom a mandate is directed and
             JUDICIARY                     delivered, finds, or has reason to apprehend, that
             LAW § 400                     resistance will be made to the execution thereof, he
            (West 2005)                    may command all persons in his county, or as many
                                           as he thinks proper, and with such arms as he
                                           directs, to assist him in overcoming the resistance
                                           and, if necessary, in arresting and confining the
                                           resisters, their aiders and abettors, to be dealt with
                                           according to law.

                                          NORTH CAROLINA

             N.C. GEN.    Sheriff & Law    The sheriff shall execute the order by arresting the
            STAT. ANN.     Enforcement     defendant and keeping him in custody until
              § 1-415        Officer       discharged by law. The sheriff may call the power
            (West 2013)                    of the county to his aid in the execution of the arrest.



                                          NORTH DAKOTA

            N.D. CENT.       Officer       Any officer making an arrest may summon as many
               CODE                        persons orally as the officer deems necessary to aid
            § 29-06-03                     the officer therein.
              (2006)

                                                 OHIO

             OHIO REV.       Sheriff       In the execution of official duties of the sheriff, the
             CODE ANN.                     sheriff may call to the sheriff’s aid such persons or
            § 311.07(A)                    power of the county as is necessary.
            (West 2005)

            OHIO REV.                      . . . [F]ailure to aid a law enforcement officer [is] a
            CODE ANN.                      minor misdemeanor.
           § 2921.23(B)
           (West 2014)




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                                                 OKLAHOMA

           OKLA. STAT.       Sheriff, Under-   It shall be the duty of the sheriff, under-sheriffs and
           ANN. tit. 19,      sheriffs and     deputies to keep and preserve the peace of their
            § 516(A)           Deputies        respective counties, and to quiet and suppress all
           (West 2000)                         affrays, riots and unlawful assemblies and
                                               insurrections, for which purpose and for the service
                                               of process in civil and criminal cases, and in
                                               apprehending or securing any person for felony or
                                               breach of the peace, they and every constable may
                                               call to their aid such person or persons of their
                                               county as they may deem necessary.
           OKLA. STAT.                         If it appears to the Governor that the power of the
                 ANN.                          county is not sufficient to enable the sheriff to
            tit. 22, § 94                      execute process delivered to him, or to suppress
           (West 2003)                         riots and to preserve the peace, he must, on the
                                               application of the sheriff, or the judge, of any court
                                               of record of such county, order such a force from
                                               any other county or counties as is necessary, and all
                                               persons so ordered or summoned by the Governor or
                                               acting Governor, are required to attend and act; and
                                               any such persons who, without lawful cause, refuse
                                               or neglect to obey the command, are guilty of a
                                               misdemeanor.

                                                   OREGON

             OR. REV.        Police Officer    When an officer finds, or has reason to apprehend,
               STAT.                           that resistance will be made to the execution or
           § 206.050(1)                        service of any process, order or paper delivered to
              (2013)                           the officer for execution or service, and authorized
                                               by law, the officer may command as many adult
                                               inhabitants of the county of the officer as the officer
                                               may think proper and necessary to assist the officer
                                               in overcoming the resistance, and if necessary, in
                                               seizing, arresting and confining the resisters and
                                               their aiders and abettors, to be punished according
                                               to law.




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                                                 PENNSYLVANIA

           42 PA. CONS.         Sheriff &        For the services performed in the capacity as a
            STAT. ANN.          Mayors352        conservator of the peace or police officer in
            § 21115(a)                           suppressing riots, mobs or insurrections, and when
           (West 1982)                           discharging any duty requiring the summoning of a
                                                 posse, comitatus or special deputy sheriffs, the
                                                 sheriff shall receive per diem compensation at the
                                                 rate of $50 in a county for eight hours service,
                                                 together with the mileage and necessary expenses,
                                                 including subsistence for the sheriff and those under
                                                 him, all to be paid by the county.

                                                 RHODE ISLAND

             R.I. GEN.                           The provisions of § 11-47-42 [prohibiting the
               LAWS                              carrying of certain weapons], . . . so far as they
            § 11-47-43                           relate to the possession or carrying of any billy,
              (2002)                             apply to sheriffs, constables, police, or other officers
                                                 or guards whose duties require them to arrest or to
                                                 keep and guard prisoners or property, nor to any
                                                 person summoned by those officers to aid them in
                                                 the discharge of their duties while actually engaged
                                                 in their duties.

                                                SOUTH CAROLINA

            S.C. CODE        Sheriff, Deputy,    The sheriff or constable shall execute the order by
               ANN.           Constable, or      arresting the defendant and keeping him in custody
            § 15-17-90        Other Officer      until discharged by law and may call the power of
              (1977)                             the county to his aid in the execution of the arrest, as
                                                 in case of process.




              352
                   “The power to summon a posse comitatus is ‘the power which is devolved upon a
           sheriff to suppress riots . . . ,’ which, in turn, was conferred by Third Class City Code upon
           the mayor.” Jenkins Sportswear v. City of Pittston, 22 Pa. D. & C.2d 566, 575 (Pa. Com. Pl.
           1961).




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            S.C. CODE      Sheriff, Deputy,   Any sheriff, deputy sheriff, constable or other
               ANN.         Constable, or     officer specially empowered may call out the
            § 23-15-70      Other Officer     bystanders or posse comitatus of the proper county
              (1989)                          to his assistance whenever he is resisted or has
                                              reasonable grounds to suspect and believe that such
                                              assistance will be necessary in the service or
                                              execution of process in any criminal case and any
                                              deputy sheriff may call out such posse comitatus to
                                              assist in enforcing the laws and in arresting violators
                                              or suspected violators thereof. Any person refusing
                                              to assist as one of the posse . . . shall be guilty of a
                                              misdemeanor and, upon conviction shall be fined
                                              not less than thirty nor more than one hundred
                                              dollars or imprisoned for thirty days.

                                              SOUTH DAKOTA

           S.D. CODIFIED       Sheriff        If the property, or any part thereof, be concealed in a
               LAWS                           building or enclosure, the sheriff shall publicly
             § 21-15-7                        demand its delivery. If it be not forthwith delivered,
              (2004).                         he shall cause the building or enclosure to be broken
                                              open, and take the property into his possession and
                                              if necessary he may call to his aid the power of his
                                              county.
           S.D. CODIFIED       Sheriff        The sheriff shall keep and preserve the peace within
               LAWS                           his county, for which purpose he is empowered to
             § 7-12-1                         call to his aid such persons or power of his county
              (2004)                          as he may deem necessary.



                                                TENNESSEE

            TENN. CODE        Governor        If it appears to the governor that the power of any
                ANN.                          county is not sufficient to enable the sheriff to
             § 38-3-112                       execute process delivered to that sheriff, the
            (West 2013)                       governor may, on the application of the sheriff,
                                              order a posse or military force as is necessary from
                                              any other county or counties.
           TENN. CODE          Sheriff        The sheriff shall furnish the necessary deputies to
               ANN.                           carry out the duties . . . and, if necessary, may
           § 8-8-213(b)                       summon to the sheriff’s aid as many of the
           (West 2013)                        inhabitants of the county as the sheriff thinks
                                              proper.




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                                                    TEXAS

            TEX. CODE           Officer        When any officer authorized to execute process is
           CRIM. PROC.                         resisted, or when he has sufficient reason to believe
           ANN. art. 8.01                      that he will meet with resistance in executing the
           (West 2005)                         same, he may command as many of the citizens of
                                               his county as he may think proper; and the sheriff
                                               may call any military company in the county to aid
                                               him in overcoming the resistance, and if necessary,
                                               in seizing and arresting the persons engaged in such
                                               resistance.

            TEX. CODE        Peace Officer     In order to enable the officer to disperse a riot, he
           CRIM. PROC.                         may call to his aid the power of the county in the
           ANN. art. 8.05                      same manner as is provided where it is necessary for
           (West 2005)                         the execution of process.

            TEX. CODE        Peace Officer     Whenever a peace officer meets with resistance in
           CRIM. PROC.                         discharging any duty imposed upon him by law, he
           ANN. art. 2.14                      shall summon a sufficient number of citizens of his
           (West 2005)                         county to overcome the resistance; and all persons
                                               summoned are bound to obey.



                                                    UTAH

            UTAH CODE        Peace Officer     A person is guilty of a class B misdemeanor if, upon
                ANN.                           command by a peace officer identifiable or
             § 76-8-307                        identified by him as such, he unreasonably fails or
            (LexisNexis                        refuses to aid the peace officer in effecting an arrest
                2012)                          or in preventing the commission of any offense by
                                               another person.

                                                  VERMONT

            VT. STAT.       Sheriff or Other   A sheriff or other officer in the discharge of the
           ANN. tit. 24,        Officer        duties of his office, for the preservation of the
           § 300 (2005)                        peace, or the suppression or prevention of any
                                               criminal matter or cause, may require suitable
                                               assistance.




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                                                VIRGINIA

            VA. CODE           Law           If any person on being required by any sheriff or
               ANN.        Enforcement       other officer refuse or neglect to assist him: (1) in
            § 18.2-463       Officer         the execution of his office in a criminal case, (2) in
              (2009)                         the preservation of the peace, (3) in the
                                             apprehending or securing of any person for a breach
                                             of the peace, or (4) in any case of escape or rescue,
                                             he shall be guilty of a Class 2 misdemeanor.



                                              WASHINGTON

            WASH. REV.        Sheriff        The sheriff is the chief executive officer and
             CODE ANN.                       conservator of the peace of the county. In the
            § 36.28.010                      execution of his or her office, he or she and his or
            (West 2003)                      her deputies:
                                             (6) Shall keep and preserve the peace in their
                                             respective counties, and quiet and suppress all
                                             affrays,    riots,   unlawful      assemblies    and
                                             insurrections, for which purpose, and for the
                                             service of process in civil or criminal cases, and in
                                             apprehending or securing any person for felony or
                                             breach of the peace, they may call to their aid such
                                             persons, or power of their county as they may deem
                                             necessary.

                                             WEST VIRGINIA

           W. VA. CODE    Sheriff or Other   If any person shall, on being required by any sheriff
              ANN.            Officer        or other officer, refuse or neglect to assist him in the
            § 61-5-14                        execution of his office in a criminal case, or in the
           (LexisNexis                       preservation of the peace, or the apprehending or
              2010)                          securing of any person for a breach of the peace, or
                                             in any case of escape or rescue, he shall be guilty of
                                             a misdemeanor, and, upon conviction, shall be
                                             confined in jail not more than six months and be
                                             fined not exceeding one hundred dollars.




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                                             WISCONSIN

             WIS. STAT.      Sheriff,      Sheriffs and their undersheriffs and deputies shall
                ANN.      Undersheriff &   keep and preserve the peace in their respective
             § 59.28(1)     Deputies       counties and quiet and suppress all affrays, routs,
            (West 2013)                    riots, unlawful assemblies and insurrections; for
                                           which purpose, and for the service of processes in
                                           civil or criminal cases and in the apprehending or
                                           securing any person for felony or breach of the
                                           peace they and every coroner and constable may call
                                           to their aid such persons or power of their county as
                                           they consider necessary.

                                             WYOMING

            WYO. STAT.      Sheriff &      Each county sheriff and deputy shall preserve the
               ANN.         Deputies       peace in the respective counties and suppress all
            § 18-3-606                     affrays, riots, unlawful assemblies and insurrections.
              (2013)                       Each sheriff or deputy sheriff may call upon any
                                           person to assist in performing these duties or for the
                                           service of process in civil and criminal cases or for
                                           the apprehension or securing of any person for
                                           felony or breach of peace.




                                           EXHIBIT 23
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